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                          EXHIBIT G
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                        EXHIBIT G
              BORROWER DISCLOSURE SCHEDULES
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CashCloudInc.andSubsidiaries
(dbaCoinCloud)
ConsolidatedFinancialStatements
YearsEndedDecember31,2021,2020,and2019
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                  Report of Independent Registered Public Accounting Firm


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error or fraud. The Company is not required to have, nor were we engaged to perform, an audit of its
internal control over financial reporting. As part of our audits we are required to obtain an
understanding of internal control over financial reporting but not for the purpose of expressing an
opinion on the effectiveness of the Company’s internal control over financial reporting. Accordingly,
we express no such opinion.
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Our audits included performing procedures to assess the risks of material misstatement of the
financial statements, whether due to error or fraud, and performing procedures that respond to those
risks. Such procedures included examining, on a test basis, evidence regarding the amounts and
disclosures in the financial statements. Our audits also included evaluating the accounting principles
used and significant estimates made by management, as well as evaluating the overall presentation of
the financial statements. We believe that our audits provide a reasonable basis for our opinion.

Critical Audit Matters

The critical audit matters communicated below are matters arising from the current period audit of the
financial statements that were communicated or required to be communicated to the board of
directors and that: (1) relate to accounts or disclosures that are material to the financial statements and
(2) involved our especially challenging, subjective, or complex judgments. The communication of
critical audit matters does not alter in any way our opinion on the financial statements, taken as a
whole, and we are not, by communicating the critical audit matters below, providing separate
opinions on the critical audit matters or on the accounts or disclosures to which they relate.

Existence and Valuation of Digital Currencies and Transactions Denominated in Digital Currencies

As described in Note 2, digital currencies are non-financial assets. They lack physical substance and
are built on blockchain technology. Digital assets are classified as indefinite-lived intangible assets
and recorded at cost, less impairment charges, if any. Cost is determined using the first-in-first-out
(“FIFO”) method of accounting. Management tests digital currencies for impairment annually, or
more frequently, when events or changes in circumstances occur indicating that it is more likely than
not that the indefinite-lived asset is impaired.

Additionally, the Company issues notes payable denominated in digital currencies that are initially
recorded at the fiat currency equivalent and marked to market each reporting period end. The fiat
currency equivalent is measured using the quoted price of the digital currencies (primarily, bitcoin) at
the time of remeasurement utilizing third-party exchange data.

At times, the Company may settle various accounts payable and accrued liabilities in digital
currencies within the normal course of operations. Gains and losses arising from transactions settled
in digital currencies are included as a component of realized or unrealized gain (loss) in the
consolidated statements of income and comprehensive income.

The principal considerations for our determination that performing procedures relating to the
valuation of digital currencies and transactions denominated in digital currencies is a critical audit
matter are (i) lack of authoritative guidance regarding the valuation of digital currencies, (ii) price
volatility of digital currencies and potential impairment, (iii) reliability of third-party exchange
pricing data and (iv) lack of physical substance of digital currencies.




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Addressing the matter involved performing procedures and evaluating audit evidence in connection
with forming our overall opinion on the consolidated financial statements. These procedures included,
among others:

    x   Reviewed the American Institute of Certified Public Accountants (“AICPA”) Practice Aid:
        Accounting for and Auditing of Digital Assets and compared management’s accounting for
        digital assets to this non-authoritative guidance.
    x   Performed testing over existence of digital currencies including:
            o Confirmation with third-party custodians.
            o Observation of the Company’s digital currency balances via custodian platform,
                 including observation of management performing transactions with digital currencies
                 to verify control and ownership.
            o Export of transaction activity for each wallet since inception from auditor-run bitcoin
                 node.
            o Review of transactions on a public block viewer for digital asset transactions not
                 denominated in bitcoin
            o IT general control procedures over the Company’s digital currency transaction
                 platform to test software development and change controls and ensure accuracy of
                 software reporting.
    x   Performed testing over the valuation of digital currencies recorded on the consolidated
        balance sheets, including the following:
            o Tested a sample of transactions to source documentation (i.e. bitcoin node, exchange
                 pricing data or transaction confirmation) to validate accuracy of management’s
                 calculation.
            o Reviewed and tested the Company’s impairment analysis. Compared the value of
                 each unit of digital currency to the price of the respective digital currency at the end
                 of the reporting period.
    x   Recalculated the gain or loss recorded on digital currency denominated transactions and
        mark-to market calculations on digital currency denominated debt.
    x   Utilized pricing data from a variety of third-party exchange-data pricing sources when
        performing audit procedures over digital currency transactions. Investigated any significant
        differences between third-party exchange data.

Accounting for Trading Activities with Decentralized Finance (DeFi) Protocols

The Company holds investments in various DeFi protocols and participated in significant trading
activity within and between these protocols. These protocols achieve their investment purposes
through self-executing smart contracts. In some cases, other users can borrow without requiring an
intermediate party to facilitate these transactions. These investments may earn returns for the investor
similar to interest income based on the rates at which borrowers pay and the Company’s investment
can generally be withdrawn with no restrictions.



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The principal considerations for our determination that performing procedures relating to accounting
for DeFi transactions is a critical audit matter are (i) lack of authoritative guidance regarding
transactions on DeFi protocols, (ii) the variety of DeFi protocols involved (iii) the complexity of
understanding such protocols and (iv) timing of recognition and de-recognition of DeFi assets and
DeFi leverage on the Company’s financial statements.

Addressing the matter involved performing procedures and evaluating audit evidence in connection
with forming our overall opinion on the consolidated financial statements. These procedures included,
among others:

    x   Reviewed the American Institute of Certified Public Accountants (“AICPA”) Practice Aid:
        Accounting for and Auditing of Digital Assets and compared management’s accounting for
        digital assets to this non-authoritative guidance.
    x   Performed testing over a sample of DeFi protocols including:
            o Review the protocol whitepaper or website to understand mechanics of the DeFi
                 protocol.
            o Analogize such DeFi transactions to transactions within the traditional finance
                 ecosystem and existing accounting guidance.
            o Conclude on reasonableness of accounting for transactions within such DeFi
                 protocols.
    x   Reviewed the Company’s accounting policies for leveraged yield farming and leveraged
        liquidity providing and determination of proper financial statement presentation of such
        transactions.
    x   Recompute the Company’s realized gain and loss for a sample of transactions.
    x   Reconcile and test a sample of proceeds going into and coming out of the Company’s DeFi
        wallet to supplement testing of the cost of DeFi assets.
    x   Reviewed management’s policy elections for recognition and de-recognition of DeFi assets
        and DeFi leverage on the Company’s financial statements based on existing guidance and
        non-authoritative guidance to determine reasonableness of management’s policy elections.
    x   Reviewed and tested the Company’s impairment analysis for digital currencies in DeFi
        protocols.




We have served as the Company's audi
                                auditor since 2019.

Boston, Massachusetts

April 7, 2022




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                                     CashCloudInc.andSubsidiaries
                                             ConsolidatedBalanceSheets
                                            (Inthousands,exceptsharedata)
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                                                                                         As of December 31,
                                                                                       2021              2020
    Current assets
       Cash                                                                     $           11,277       $     6,616
       Digital currencies                                                                   28,836            16,668
       Prepaid expenses and other current assets                                             1,211             2,437
         Total current assets                                                               41,324            25,721

    Other assets
       Property and equipment, net                                                         73,679             13,758
       Other long-term assets                                                               1,774                 18
           Total assets                                                         $         116,777        $    39,497


    Current liabilities
       Accounts payable                                                         $           5,764        $     1,389
       Accounts payable - DCMs                                                              9,015              2,921
       Accrued expenses                                                                     3,195              2,618
       DeFi leverage                                                                        2,537                -
       Accrued interest                                                                       849                 73
       Current portion of debt                                                             90,758              9,419
       Notes payable - related parties                                                      2,949              3,429
         Total current liabilities                                                        115,067             19,849

    Non-current liabilities
       Long-term debt and financing obligations                                              5,228              4,690
       Other long-term liabilities                                                            328                  -
          Total liabilities                                                               120,623             24,539
       Commitments and contingencies - see Note 6
    Equity (deficit)
       Series B common stock, $0.0001 par value, 10,000 shares
         authorized, issued and outstanding                                                       -*                -*
       Series A common stock, $0.001 par value, 1,000 shares
         authorized, 650 shares issued and outstanding                                           -*                -*
       Additional paid-in capital                                                            3,729             3,729
       Stockholder note receivable                                                          (4,989)           (4,898)
       Retained earnings (accumulated deficit)                                              (2,589)           16,128
       Accumulated other comprehensive income (loss)                                              3               (1)
            Total equity (deficit)                                                          (3,846)           14,958

           Total liabilities and equity (deficit)                               $         116,777        $    39,497
       *Par value of share amounts rounds to less than $1 thousand

                     The accompanying notes are an integral part of these consolidated financial statements              



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                              CashCloudInc.andSubsidiaries
             ConsolidatedStatementsofIncome(Loss)andComprehensiveIncome(Loss)
                                             (Inthousands)


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                                                                     Year Ended December 31,
                                                                   2021       2020        2019
    Revenue                                                    $ 303,348      $ 202,800      $   87,223
    Cost of sales                                                247,660        163,397          75,985
       Gross profit                                               55,688         39,403          11,238
    Operating expense
    Direct operating                                               28,667          9,429           2,746
    Payroll and related                                            14,228          6,889           2,218
    Selling, general, and administrative                           28,484          3,673           1,769
    Depreciation                                                    4,336          1,416             341
    Loss on disposal of property and equipment                        239             89              31
      Total operating expense                                      75,954         21,496           7,105
        Operating (loss) income                                    (20,266)       17,907           4,133
    Non-operating expense (income)
    Interest expense, net of interest income                         5,512           715             214
    Decentralized finance rewards                                  (11,076)          -               -
    Gains on option trading                                           (897)          -               -
    Unrealized loss on digital currencies                            7,542         3,173             726
    Realized loss (gain) on digital currency transactions          (12,034)         (105)            385
    Gain on debt forgiveness                                           -            (343)            -
    Other                                                              -               (3)           -
       Total non-operating expense (income), net                   (10,953)        3,437           1,325
        Income (loss) before taxes                                  (9,313)       14,470           2,808
    Provision (benefit) for income taxes                               (70)          375             27
        Net (loss) income                                      $    (9,243)   $   14,095     $     2,781

    Other comprehensive income (loss)
    Foreign currency translation adjustment                              4             (1)           -

        Comprehensive (loss) income                            $    (9,239)   $   14,094     $     2,781

          The accompanying notes are an integral part of these consolidated financial statements           
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                                     CashCloudInc.andSubsidiaries
                                        ConsolidatedStatementsofCashFlow
                                                       (Inthousands)
                                                                                  Year Ended December 31,
                                                                               2021        2020         2019
    Operating activities
      Net Income (loss)                                                    $    (9,243)     $   14,095      $   2,781
       Adjustments to reconcile net income to net cash
           provided by operating activities
       Depreciation                                                              4,336            1,416           341
       Loss on disposal of property and equipment                                  239               89            31
       Unrealized loss on digital asset transactions                             7,542            3,173           726
       Realized loss (gain) on digital asset transactions                      (12,034)            (105)          385
       Gains on option trading                                                    (897)             -             -
       Paid-in-kind interest                                                       136               48
       Gain on debt forgiveness                                                    -               (343)           -
       Accrued interest income - related party                                    (267)            (189)           -
       Changes in operating assets and liabilities:
           Digital currencies                                                   (5,278)         (17,192)         (843)
           Deposits                                                               (444)             -             -
           Prepaid expenses and other current assets                              (706)            (226)          (52)
           Accounts payable                                                      4,375            1,282            17
           Accrued expenses                                                      1,352            2,409           135
           Deferred lease                                                          328              -             -
       Other                                                                         9              -             -
           Net cash provided by (used in) operating activities                 (10,552)           4,457         3,521
    Investing activities
       Purchase of property and equipment                                      (58,367)         (10,432)        (1,317)
       Receipts on notes receivable - related party                                136              135            -
       Issuance of notes receivable - related party                             (1,259)             -              -
       Other                                                                      (169)             (18)           -
            Net cash used in investing activities                              (59,659)         (10,315)        (1,317)
    Financing activities
       Net proceeds from open term loans                                        80,790            7,985           -
       Repayment of digital asset loan                                             -                -            (654)
       Proceeds from digital asset loan                                            -                830           647
       DeFi leverage                                                             2,537              -             -
       Proceeds (repayments) on revolving lines of credit                        1,250             (250)        1,000
       Proceeds from financing arrangement                                         -              3,285           -
       Amounts held-back (returned) from financing arrangement                   2,054           (2,159)          -
       Payments on financing arrangement                                          (692)            (309)          -
       Proceeds from forgiven Paycheck Protection Program loan                     -                343           -
       Debt issuance costs                                                         (17)               (8)         -
       Distributions to stockholders                                            (9,474)          (1,177)          -
       Receipts on note payable - related party                                      14               57          -
       Repayments of note payable - related party                               (1,593)             -            (238)
            Net cash provided by financing activities                           74,869            8,597           755
         Effect of exchange rate on cash                                             3               (1)          -
           Change in cash                                                        4,661            2,738         2,959
         Cash at beginning of year                                               6,616            3,878           919
           Cash at end of year                                             $    11,277      $     6,616     $   3,878
    Supplemental cash flow information and non-cash transactions
      Cash paid for interest                                               $     5,331      $       656     $      14
      Issuance of notes receivable for BTC                                      27,881              -             -
      Redemption of notes receivable for BTC                                    29,103              -             -
      Repayment of debt with BTC                                                   -              2,124           -
      Receipt of BTC exchanged for note receivable - related party                 -                  33          -
      Digital assets paid for interest                                             -                196           145
      Repurchase of Series A common stock in exchange for
        note payable - related party                                                -             1,115           -
      Series B common stock issued for stockholder note receivable                  -               -           4,844

                  The accompanying notes are an integral part of these consolidated financial statements                 
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                                                                                                                                                                            Retained       Accumulated         Vendor
                                                                                            Series A                 Series B              Additional    Stockholder        Earnings          Other          Businesses'
                                                                Common Stock              Common Stock             Common Stock             Paid-in         Note          (Accumulated    Comphrensive        Members'
                                                                Shares     Amount       Shares      Amount       Shares       Amount        Capital       Receivable         Deficit)     Income (Loss)        Equity           Total

         Balance as of December 31, 2018                         1,000      $ -             -       $     -           -       $    -       $      -       $        -      $       429     $        -         $       -      $      429
                                                                                                                                                                                                                                                                                                                                                                                 Case 23-10423-mkn




         Exchange of common stock for Series A common stock     (1,000)         -*        1,000           -*          -            -              -                -               -               -                 -              -

         Issuance of Series B common stock                         -            -           -             -       10,000            -*         4,844           (4,844)             -               -                 -              -

         Net income                                                -            -           -             -           -            -              -                -           (23,449)            -             26,230          2,781

             Balance as of December 31, 2019                       -            -         1,000           -       10,000           -           4,844           (4,844)         (23,020)            -             26,230          3,210
                                                                                                                                                                                                                                                                                                                                                                                 Doc 36-2




         Vendor businesses termination                             -            -           -             -           -            -              -                -           26,230              -             (26,230)

         Repurchase of Series A common stock                       -            -          (350)          -*          -            -           (1,115)             -               -               -                 -          (1,115)

         Distributions to stockholders                             -            -           -             -           -            -              -                -            (1,177)            -                 -          (1,177)




    8
         Accrued interest on Stockholder Note Receivable,
           net of payments received                                -            -           -             -           -            -              -                (54)            -               -                 -              (54)

         Net income                                                -            -           -             -           -            -              -                -           14,095              -                 -          14,095

         Currency translation adjustment                           -            -           -             -           -            -              -                -               -                   (1)           -                  (1)

             Balance as of December 31, 2020                       -            -           650           -       10,000           -           3,729           (4,898)         16,128                  (1)           -          14,958

         Distributions to stockholders                             -            -           -             -           -            -              -                -            (9,474)            -                 -          (9,474)
                                                                                                                                                                                                                                              (Inthousands,exceptsharedata)




         Accrued interest on Stockholder Note Receivable,
           net of payments received                                -            -           -             -           -            -              -                (91)            -               -                 -              (91)
                                                                                                                                                                                                                                                                                                                                             CashCloudInc.andSubsidiaries




         Net loss                                                  -            -           -             -           -            -              -                -            (9,243)            -                 -          (9,243)
                                                                                                                                                                                                                                                                                                                                                                                 Entered 02/08/23 19:55:21




         Currency translation adjustment                           -            -           -             -           -            -              -                -               -                   4             -                  4
                                                                                                                                                                                                                                                                                   ConsolidatedStatementsofChangesinEquity(Deficit)




             Balance as of December 31, 2021                       -        $ -             650     $     -       10,000      $    -       $ 3,729        $    (4,989)    $     (2,589)   $            3     $       -      $ (3,846)
         *Par value of shares rounds to less than $1 thousand
                                                                          The accompanying notes are an integral part of these consolidated financial statements




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                                                                                                                                                                                                                                                                                                                                                                                 Page 13 of 217
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                                CashCloudInc.andSubsidiaries
                                NotestoConsolidatedFinancialStatements
                                                     

1        ORGANIZATIONANDNATUREOFOPERATIONS

Businessandpresentation

CashCloudInc.(dbaCoinCloud)(“CashCloud”)wasorganizedonApril1,2014,asaNevadacorporationforthe
purposeofprovidingaplatformforcustomerstobuyandselldigitalcurrenciesthroughDigitalCurrencyMachines
(“DCMs”)distributedacrosstheUnitedStates.

In2020,CashCloudformedCoinCloudAtivosDigitaisBrasilLTDA(“CoinCloudBrazil”)asawhollyͲowned
subsidiaryofCashCloudforthepurposeofexpandingitsoperationstoBrazil.CoinCloudBrazilbeganoperations
inNovember2020,andasofDecember31,2021had22DCMsinoperation.

TheCompanyformedEviveTrading,LLC(“Evive”)inAugust2021asaCaymanIslandsLimitedLiabilityCompany,
whichisawhollyͲownedsubsidiaryofCashCloud,forthepurposeofaccessingcertaindigitalassettrading
markets.AsofDecember31,2021,Evivehadnotcommencedcommercialactivity.

TheconsolidatedfinancialstatementsincludethefinancialstatementsofCashCloudanditswhollyͲowned
subsidiaries(the“Company”).Allintercompanytransactionsandbalanceshavebeeneliminatedinconsolidation.

ThemajorityoftheCompany’sDCMtransactionsaredenominatedinbitcoin(“BTC”)andgovernmentͲbacked
currencies(DollarsintheUSandCaymanIslandsandReaisinBrazil,“fiatcurrency”),withasmallnumberof
transactionsdenominatedinalternativedigitalcurrencies,alsoknownasaltcoinsorstablecoins.TheCompany’s
DeFitransactionsaredenominatedinvariousdigitalcurrencies.AtDecember31,2021theCompanyoperated
approximately4,650DCMsthroughouttheUnitedStatesandBrazil.

TheCompanypreviouslyusedcertainpassͲthroughentitiescreatedtoactforthebenefitoftheCompany.These
entitiesincludedCCVending,LoFloLLC,andBBVendingLLC(collectively,the“VendorBusinesses”).TheVendor
BusinesseswereorganizedforthebenefitofCashCloudbycertainkeyemployeesofCashCloudassinglemember
Nevadalimitedliabilitycompanies.TheseVendorBusinesseswereformedforthepurposeofsupportingCash
Cloud’soperationsandperformedsomebusinessactivitiesthatarenowperformedbytheCompany.During2020,
BBVendingwasdissolvedandsubsequenttoDecember31,2019theCompanyeffectivelyceasedutilizingthe
VendorBusinessesandaccordingly,allappropriateassetsoftheseentitiesweretransferredtoCashCloud.The
balanceoftheVendorBusinesses’equityatDecember31,2019of$26,230thousandwastransferredtoCash
CloudduringtheyearendedDecember31,2020aspartofthisVendorBusinessestermination.Theincomerelated
totheseentitieswasincludedwithCashCloud’sincomefor2019taxreportingpurposes.

Riskanduncertainties

AsaresultoftheCompany’sinvolvementinthedigitalcurrencymarket,theCompanyissubjecttomarketrisk
includingpricevolatility,liquidityrisk,andconcentrationrisk.Thedigitalcurrencymarketmaybevolatileanda
varietyoffactorsthatareinherentlydifficulttopredict,suchasdomesticorinternationaleconomicandpolitical
developments,maysignificantlyaffecttheCompany'soperations.

Thedigitalcurrencymarketissubjecttoahighdegreeofriskfromexternalfactorssuchaspricefluctuation,cyber
theftfromonlinewalletprovidersandDeFiprotocoldevelopers,marketacceptanceanduseradoption,regulation
ofaccesstoandoperationofdigitalcurrencynetworks,legislativechanges,andchangesinconsumerpreferences
orperceptionsofdigitalcurrencies.SuchfactorscouldhaveamaterialadverseeffectontheCompany'sbusiness
andoperations.
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                                  CashCloudInc.andSubsidiaries
                                 NotestoConsolidatedFinancialStatements
                                                      
2         SUMMARYOFSIGNIFICANTACCOUNTINGPOLICIES

Useofestimates

Thepreparationoftheconsolidatedfinancialstatementsinconformitywithgenerallyacceptedaccounting
principlesrequiresmanagementtomakeestimatesandassumptionsthataffectthereportedamountsofassets,
liabilities,revenues,expenses,andrelateddisclosuresofcontingentassetsandliabilities.Actualresultscoulddiffer
fromthoseestimates.

Cashandconcentrationofcreditrisk

TheCompany’scashismaintainedwithhighcreditqualityfinancialinstitutions.Attimes,depositsheldatthese
financialinstitutionsmayexceedthefederallyinsuredlimits.Additionally,theCompanyhasasignificantamountof
cashoutsideoffinancialinstitutions,includingcashonhand,cashinDCMs,andcashintransitthathasnotyet
beendepositedintofinancialinstitutions.AsofDecember31,2021and2020,thebalanceofcashincludes
approximately$9,541thousandand$5,532thousand,respectively,ofcashonhand,cashinDCMs,andcashin
transitthatwasnotfederallyinsured.

TheCompanyhasnotexperiencedanysignificantlossesinsuchaccountsandbelievesitisnotexposedtoany
significantcreditriskoncash.

Digitalcurrencies

DigitalcurrenciesarenonͲfinancialassets.Theylackphysicalsubstanceandarebuiltonblockchaintechnology.
Accordingly,digitalcurrenciesareclassifiedasindefiniteͲlivedintangibleassetsandarerecordedatcost,less
impairmentcharges,ifany.CostisdeterminedusingthefirstͲinͲfirstͲout(“FIFO”)methodofaccounting.

Anintangibleassetwithanindefiniteusefullifeisnotamortizedbutassessedforimpairmentannually,ormore
frequently,wheneventsorchangesincircumstancesoccurindicatingthatitismorelikelythannotthatthe
indefiniteͲlivedassetisimpaired.Impairmentexistswhenthecarryingamountexceedsitsfairvalue.Subsequent
reversalofimpairmentlossesisnotpermitted.

AsofDecember31,2021and2020,digitalcurrenciesconsistofBTCheldforsaleanddigitalcurrenciesinvestedin
variousDeFiprotocolsrecordedatcost,lessimpairmentcharges,of$28,836thousandand$16,668thousand,
respectively.ThesedigitalcurrenciesarepresentedincurrentassetsontheCompany’sconsolidatedbalance
sheets.TheCompanyrecordedanimpairmentchargeof$5,456thousandand$0fortheyearsendedDecember
31,2021and2020,respectively,relatedtodigitalcurrencieswhosecostexceededitsfairvalue.Impairment
chargesarerecordedasanunrealizedlossondigitalcurrenciesintheconsolidatedstatementsofincome(loss)
andcomprehensiveincome(loss).

TheCompanyhasissuednotespayabledenominatedinBTC.BTCdenominatednotespayableareinitiallyrecorded
atthefiatcurrencyequivalentandmarkedtomarketeachreportingperiodend.Thefiatcurrencyequivalentis
measuredusingthequotedpriceofBTCatthetimeofremeasurementutilizingthirdͲpartyexchangedata.The
carryingvalueoftheBTCdenominatednotespayableapproximatesitsfairvaluesinceitprovidesformarketterms
andinterestrates.

Attimes,theCompanymaysettlevariousaccountspayableandaccruedliabilitiesinBTCorotherdigitalcurrencies
withinthenormalcourseofoperations.GainsandlossesarisingfromtransactionsdenominatedinBTCorany
otherdigitalcurrencies,includingBTCͲdenominatednotespayable,areincludedasacomponentofrealizedor
unrealizedgain(loss)intheconsolidatedstatementsofincome(loss)andcomprehensiveincome(loss).
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                                CashCloudInc.andSubsidiaries
                                NotestoConsolidatedFinancialStatements
                                                     
Decentralizedfinance

InJanuary2021,theCompanybeganparticipatingindecentralizedfinance(“DeFi”),whichallowstheCompanyto
contributedigitalassetstoblockchainprotocolsbuiltonsmartcontractstoearnrewardssimilartointerestincome
oninvestments.Therewardsarerecordedatthefairvalueoftheunderlyingdigitalassetwhenearned,whichis
whenthedigitalassetisreceived.DuringtheyearendedDecember31,2021,theCompanyrecordedDeFirewards
of$11,076thousand.Additionally,theCompanyrecognizesarealizedgainorlossonthedigitalcurrencies
participatinginDeFiatthetimethetokenistransferredoutofaprotocol.Netrealizedgainstotaled$10,337
thousandduring2021.BoththeDeFirewardsandnetrealizedgainswererecordedasnonͲoperatingincomeinthe
consolidatedstatementsofincome(loss)andcomprehensiveincome(loss).

Incertainprotocols,theCompanycanleverageitsdigitalassetsinordertoincreaseitsyieldsintwoforms:intraͲ
contractleverageandextraͲcontractleverage.ExtraͲcontractleverageallowstheCompanytowithdrawdigital
assetsfromasmartcontract,usuallyastablecoin,bypledginganotherdigitalassettoasmartcontractinanoverͲ
collateralizedmanner.IntraͲcontractleverageallowstheCompanytoincreaseitsyieldandriskexposureinaDeFi
protocolbymultiplyingitsinvestmentintotheprotocolbutdoesnotallowwithdrawaloftheleveragefromthe
smartcontract.AsofDecember31,2021,theCompanyhadextraͲcontractleverageof$2,537thousand,recorded
asacurrentliabilityontheCompany’sbalancesheet,comparedtoDeFidigitalassetcollateralof$3,353thousand.
ASofDecember31,2021,theCompany’sintraͲcontractleveragewasapproximately$24,124thousand,whichwas
recordednetofitsotherdigitalassetsintheconsolidatedbalancesheet,duetotheprotocols’rightsofoffset.

Notesreceivable

InJanuary2021,theCompanyenteredintoanotereceivableagreementwiththecounterpartytoitsOpenTerm
Loan(seeNote4).ThenotereceivableagreementallowstheCompanytoloananunspecifiednumberofBTC,ata
rateof3.5%Ͳ4.0%.Thenotereceivableagreementhasatermofoneyear,withautomaticoneͲyearextensions
shouldneitherpartyterminate.TheCompanyissued$27,881thousandrepresentingapproximately707BTCin
notesreceivableandcollectedthefullbalanceduring2021,recognizingagainuponredemptionof$1,222
thousand.TheCompanyrecognizedinterestincomeof$463thousandfromthenotesreceivableduringtheyear
endedDecember31,2021.

Propertyandequipment

Propertyandequipmentarestatedatcost,netofaccumulateddepreciation,andconsistsprimarilyofthe
Company'sDCMs.TheCompanyprovidesfordepreciationofitsDCMsandotherequipmentusingthestraightͲline
methodbasedontheestimatedusefullifeoffiveyears,withcapitalizedinstallationcostsofDCMsdepreciated
overausefullifeofthreeyears.TheCompanydoesnotrecorddepreciationuntilmachinesandpartsareplacedin
service.Expendituresformaintenanceandrepairsarechargedtooperatingexpenseasincurred.

Internallydevelopedsoftware

TheCompanyreviewscertaininternalandexternalcostsincurredduringtheapplicationdevelopmentstageof
internalͲusesoftwareprojectsforcapitalization.Costsincurredduringtheplanning,trainingandpostͲ
implementationstagesofthesoftwaredevelopmentlifecycleareexpensedasincurred.Internallydeveloped
softwareexpensesincurredduringtheapplicationdevelopmentstagearecapitalizedasacomponentofproperty
andequipmentandhavenotyetbeenplacedinserviceasofDecember31,2021.

Notesreceivable–relatedparty

During2021,theCompanyissuedfournotestotaling$1,259thousandtotheCompany’ssolestockholdereach
withatermoftwoyears.Thenotesaccrueinterestat4%perannumwithinterestpayableannuallyandthetotal
principalbalancedueatmaturity.Thebalanceofthenotesreceivable–relatedparty,includingaccruedinterest,

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                                  CashCloudInc.andSubsidiaries
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                                                       
was$1,297thousandasofDecember31,2021,andwasrecordedwithinotherlongͲtermassetsonthe
consolidatedbalancesheet.

Foreigncurrency

CoinCloudBrazilusestheBrazilianRealasthefunctionalcurrency.Resultingtranslationgainsorlossesare
recognizedasacomponentofaccumulatedothercomprehensiveincome(loss).Netforeigncurrencytransaction
lossesincludedintheCompany'sconsolidatedstatementsofincome(loss)andcomprehensiveincome(loss)were
immaterialfortheyearsendedDecember31,2021and2020.

Options

TheCompanyenteredintoanumberofBTCdenominatedputandcalloptioncontractsduring2021withthe
counterpartytoitsOpenTermLoan(seeNote4).Alltheoptionsexpiredorwereexitedpriortosettlement.During
theyearendedDecember31,2021,theCompanyrecordedanetgainof$897thousandintheconsolidated
statementsofincome(loss)andcomprehensiveincome(loss).

Revenuerecognition

TheCompany’srevenueisderivedfromthepurchaseandsaleofdigitalcurrencieswithitscustomersthroughits
DCMsandPrivateClientDesk(“PCD”).CustomersinitiatecontractswiththeCompanythroughuseofaDCMorvia
anPCDcommunication.Foreachcontract,theCompanyconsidersthepromisetopurchasefromorselltothe
customerdigitalcurrenciestobeitsonlyperformanceobligation.Eachtransactionapprovedbyacustomer
throughaDCMorPCDcommunicationisconsideredaseparateperformanceobligation.TheCompanydetermines
thetransactionpriceastheamountofconsiderationitexpectstoreceiveinexchangeforthedigitalcurrencies
purchasedfromorsoldtotheCustomer.

Alltransactionshavefixedprices,whichincludepremiumswhenacustomerbuysadigitalcurrency,anddiscounts
whenacompanysellsusadigitalcurrency,comparedtothespotpriceatthetimeofthetransaction.

Inmosttransactions,theCompanyissellingdigitalcurrenciestoitscustomers.Thetransactionpriceisdetermined
bythefiatcurrencythattheCompanyreceivesinexchangeforthedeliveryofthedigitalcurrencies.Insome
instances,theCompanyispurchasingdigitalcurrenciesfromitscustomersinexchangeforfiatcurrency.The
receiptofdigitalcurrenciesisconsiderednonͲcashconsiderationunderAccountingStandardsCodificationTopic
606andisrecordedatthefairvalueofthedigitalcurrenciesatthetimeofthetransaction.

WithtransactionsatbothDCMsandPCD,theCompanyrecognizesrevenueatthepointintimewhenittransfers
to,orreceivesfrom,thecustomerthepromiseddigitalcurrencies.

TheCompanyrecordspromotionalexpense,representingthevalueofamountsgiventocustomersassales
incentives,asareductioninrevenuewithintheconsolidatedstatementsofincome(loss)andcomprehensive
income(loss).

Revenuewascomprisedofthefollowing:

                                                                              Year Ended December 31,
                                                                       2021            2020                  2019
                                                                                        (In thousands)
Sales of digital currencies                                       $      283,336    $         183,973    $     73,728
Purchases of digital currencies                                           19,684               18,373          13,495
Other                                                                        483                  454             -
Less promotions                                                             (155)                 -               -
                                                                  $      303,348    $         202,800    $     87,223 


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                                CashCloudInc.andSubsidiaries
                                NotestoConsolidatedFinancialStatements
                                                     

Costofgoodssold

CostofgoodssoldisthehistoricalcostofthedigitalassetdeterminedonaFIFObasissoldtoacustomer,andthe
amountoffiatcurrencyprovidedwhenpurchasingdigitalcurrency.TheCompanyalsorecordstherealizedgains
andlossesrecordedonitsdigitalassetssoldtocustomersasacomponentofcostofgoodssold.

Advertising

Advertisingcosts,amountingto$21,516thousand,$438thousand,and$85thousandduringtheyearsended
December31,2021,2020,and2019,respectively,areexpensedasincurredandarerecordedasacomponentof
selling,general,andadministrativeexpensesontheconsolidatedstatementsofincome(loss)andcomprehensive
income(loss).

Fairvalueofassetsandliabilities

TheCompanygroupsitsassetsandliabilitiesmeasuredatfairvalueinthreelevels,basedonthemarketsinwhich
theassetsandliabilitiesaretraded,andthereliabilityoftheassumptionsusedtodeterminefairvalue.

Level1—Valuationisbasedonquotedpricesinactivemarketsforidenticalassetsorliabilities.Valuationsare
obtainedfromreadilyavailablepricingsourcesformarkettransactionsinvolvingidenticalassetsorliabilities.

Level2—ValuationisbasedonobservableinputsotherthanLevel1prices,suchasquotedpricesforsimilar
assetsorliabilities.quotedpricesinmarketsthatarenotactive;orotherinputsthatareobservableorcanbe
corroboratedbyobservablemarketdataforsubstantiallythefulltermoftheassetsorliabilities.

Level3—Valuationisbasedonunobservableinputsthataresupportedbylittleornomarketactivityandthatare
significanttothefairvalueoftheassetsorliabilities.

Thelevelofthefairvaluehierarchyinwhichthefairvaluemeasurementfallsisdeterminedbythelowestlevel
inputthatissignificanttothefairvaluemeasurement.

Incometaxes

CashCloud,withtheconsentofitsstockholder(s),haselectedtobetaxedinaccordancewithSubchapterSofthe
InternalRevenueCode.AsaSubchapterScorporation,CashCloud'staxableincomeisreportedonthe
stockholders'federalincometaxreturns.CashCloud'staxableincomeissubjecttostateincomeandexcisetaxes
inaccordancewithstatutoryrequirements.ThecurrentprovisionfortheyearsendedDecember31,2021,2020
and2019areforstateincometaxesnetoftaxcredits.

TheCompanyfollowsaccountingguidanceregardingtherecognition,measurement,presentation,anddisclosure
ofuncertaintaxpositionsinthefinancialstatements.Taxpositionstakenorexpectedtobetakeninthecourseof
preparingtheCompany'staxreturns,includingthepositionthattheCompanyqualifiesasapassͲthroughentity,
arerequiredtobeevaluatedtodeterminewhetherthetaxpositionsaremorelikelythannotofbeingsustainedby
theapplicabletaxauthorities.TaxpositionsnotdeemedtomeetamoreͲlikelyͲthanͲnotthresholdwouldbe
recordedinthefinancialstatements.TheCompany’spolicyistorecognizeinterestandpenaltiesrelatedtoincome
taxmattersinincometaxexpense.TheCompanydidnotprovideforanyuncertaintaxpositionsfortheyear
endedDecember31,2021.Generally,theCompanyisnolongersubjecttofederalandstatetaxexaminationsby
taxauthoritiesforyearspriortoDecember31.2018.TheCompany’s2018taxreturnwasauditedbytheInternal
RevenueServiceduring2020andnomaterialassessmentswereassessedupontheshareholders.



                                                         13

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                                 CashCloudInc.andSubsidiaries
                                 NotestoConsolidatedFinancialStatements
                                                      
TheCompanyrecognizesdeferredtaxliabilitiesandassetsfortheexpectedfuturestatetaxconsequencesof
eventsthathavebeenincludedintheCompany’sfinancialstatementsortaxreturns.Deferredtaxliabilitiesand
assetsaredeterminedbasedonthedifferencesbetweenthefinancialstatementcarryingamountsandtaxbases
ofexistingassetsandliabilities.usingenactedtaxratesineffectintheyearinwhichthedifferencesareexpected
toreverse.Deferredtaxliabilitiesandassetshavebeendeterminedtobeimmaterialtotheconsolidatedfinancial
statements.

3        PROPERTYANDEQUIPMENT,NET

Propertyandequipmentconsistofthefollowing:

                                                                                           As of December 31,
                                                                                         2021                 2020
                                                                                             (In thousands)
Digital currency machines and parts                                             $        34,617       $          7,575
Digital currency machines and parts - not in service                                     41,051                  7,311
Internally developed software                                                             2,652                    638
Other equipment                                                                             261                      6
                                                                                         78,581                 15,530
Less accumulated depreciation                                                            (4,902)                (1,772)
                                                                                $        73,679        $        13,758
                                                                                                                           

DepreciationexpensefortheyearsendedDecember31,2021,2020,and2019,was$4,336thousand,$1,416
thousand,and$341thousand,respectively.

4      DEBTANDOTHERFINANCINGOBLIGATIONS

Debtandotherfinancingobligationsconsistofthefollowing:

                                                                                As of December 31,
                                                                              2021                2020
                                                                                             (In thousands)
Revolving line of credit                                                        $          2,000      $            750
Open term loan                                                                            87,878                 7,985
Financing arrangement                                                                      2,284                 2,976
Service agreement BTC obligation                                                           3,841                 2,406
                                                                                          96,003                14,117
Less debt issuance costs                                                                     (17)                   (8)
Less current portion of long-term debt                                                   (90,758)               (9,419)
                                                                                $          5,228       $         4,690 

                                    




                                                           14

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                                  CashCloudInc.andSubsidiaries
                                  NotestoConsolidatedFinancialStatements
                                                       
Interestexpense,netconsistedofthefollowing:

                                                                             Year Ended December 31,
                                                                      2021            2020                      2019
                                                                                       (In thousands)
Revolving line of credit                                          $         62     $                44      $           28
Open term loan                                                           5,324                     191                 -
Digital currency loan                                                      -                       129                 151
Financing arrangement                                                      700                     481                 -
Related party                                                              136                      47                  35
Other                                                                       21                      12                 -
Interest income                                                           (464)                    -                   -
Interest income - related party                                           (267)                   (189)                -
                                                                  $      5,512     $               715      $          214 


Maturitiesofdebtandotherfinancingobligationsareasfollows:


                                                                                               (In thousands)
2022                                                                                       $              90,775
2023                                                                                                       1,163
2024                                                                                                         224
2025                                                                                                         -
2026                                                                                                       3,841
                                                                                       $                  96,003 
Revolvinglineofcredit

InOctober2020,theCompanyenteredintoarevolvinglineofcredit(the“Revolver”)withoneofitsbankswitha
capacityof$750thousand.InSeptember2021,theCompanyexpandeditscapacityundertheRevolverto$2,000
thousand.TheRevolverallowstheCompanytodrawuptothefullcapacity,andrepayitanypointduringits
duration,exceptthattheCompanymustrepaythefulloutstandingbalanceoftheRevolverfora30Ͳdayperiod
eachyear,afterwhichitcanreͲdrawontheRevolver.AsofDecember31,2021,theCompanyhadfullydrawnthe
Revolver.TheRevolvermaturesOctober2022.

TheRevolverincursaninterestrateoftheUSprimerateplus3%,witha5%minimumfloor,whichispayable
monthlyontheoutstandingbalance.TheRevolvercontainscertainfinancialandnonͲfinancialcovenantsand
borrowingsaresecuredbycashheldinthebankandotherassetsoftheCompany.

InDecember2019,theCompanyenteredintoarevolvingcreditagreementwithaventurecapitalfirmwhich
allowedforborrowingofBTCorUSDstablecoin(“USDC”)uptoanaggregateoutstandingprincipalof$1,000
thousand.ThelinewasrepaidinJuly2020andthereafterterminateduponmutualagreementofbothparties.

Opentermloan

TheCompanyenteredintoanunsecuredopentermloanagreement(“OpenTermLoan”)withadigitalcurrency
exchangeoperator,whichallowstheCompanytoborroweitherUSdollarsordigitalcurrencywitheitherfixedor
openmaturitiesdenominatedinUSdollars,thoughtheCompanyonlyborrowsopenmaturities.Eachadvance
undertheOpenTermLoaniscallablebythelenderwith180days’noticeandcanbeprepaidatanytimewithout
penalty.TheOpenTermLoanhasnodefinedexpirationandiscancellablebyeitherpartyifnooutstandingbalance
exists.EachadvanceundertheOpenTermLoanbearsinterestatarateof11.5%peryear.Thetotalcapacityofthe
OpenTermLoanwas$100,000thousandasofDecember31,2021,andtheCompanyhadatotaloutstanding
balanceof$87,878thousandand$7,985thousandasofDecember31,2021and2020,respectively.

                                                         15

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                                CashCloudInc.andSubsidiaries
                               NotestoConsolidatedFinancialStatements
                                                    

Financingarrangement

InJune2020,theCompanyenteredintoasaleͲleasebackfinancingarrangement(“FinancingArrangement”)witha
thirdͲpartylessorwherebytheCompanysold519DCMstothelessorfortotalproceedsof$3,285thousand,
subjectaholdͲbackof62.5%,asdefined.During2021,$2,054thousandoftheholdͲbackwasreturnedtothe
Company,with$106thousandremainingundertheholdͲbackandrecordedasanotherlongͲtermassetasof
December31,2021.TheinitialtermoftheFinancingArrangementis30months,buttheCompanydetermined
thatrenewalofanadditional12monthswasprobable,giventhetermsoftheFinancingArrangement.Accordingly,
theCompanywillpaythelessormonthlyrentpaymentsof$116thousandforaperiodof42months,plustaxes.

ServiceagreementBTCobligation

TheCompanyenteredintoaserviceagreementwithathirdpartyin2016.Inconnectionwiththeservice
agreement,thethirdpartyfinancedthepurchaseofcertainDCMsandprovidedfundstopurchaseBTCtoassist
theCompanyincommencingitsoperations.TheserviceagreementrequirestheCompanytorepaythethirdparty
fortheDCMsandfundsusedtopurchaseBTCbythethirdpartyin2026.Theobligationisdenominatedinafixed
amountof82.9BTCandbearsnointerest.AtDecember31,2021and2020,theCompany’sobligationunderthis
serviceagreementisrecordedatthefairvalueoftheunderlyingBTContheCompany'sconsolidatedbalance
sheetsintheamountof$3,841thousandand$2,406thousand,respectively,asanonͲcurrentliability,with
changestothebalancerecordedasanunrealizedlossontheconsolidatedstatementofincomeand
comprehensiveincome.

DigitalCurrencyLoan

InAugust2018,theCompanyenteredintoaDigitalCurrencyLoan(“DigitalCurrencyLoan”)agreementwhereby
theCompanycouldrequesttoborrowfundsintheformofcertaindigitalcurrencies,principallyBTCdenominated
loans,asdefined,uponrequestoftheCompany.ThetermoftheDigitalCurrencyLoanwasoneyear,with
automaticoneͲyearrenewals,unlessterminatedbyeitherparty.TheCompanyrepaidtheDigitalCurrencyLoan
July2020.

PaycheckProtectionProgramloan

InApril2020,theCompanyappliedforandreceivedaPaycheckProtectionProgramloan(“PPPLoan”)underthe
CaresActintheamountof$343thousand.Theloanaccruesinterestatarateof1%andtheloanmaybeforgiven,
allorinpart,ifitisusedtopayqualifyingcostssuchaspayroll,rentandutilities.TheCompanysubmittedits
applicationforforgivenessofthePPPloanandreceivedapprovaloffullforgivenessinNovember2020.Assuch,
theCompanyrecordedagainonforgivenessofdebtforthefullamountof$343thousandontheconsolidated
statementofincomeandcomprehensiveincome.

Othernotepayable

lnMay2020,theCompanyenteredintoanotepayableagreementfor50BTC,requiring9.75%interest,payable
monthlyinBTC.TheCompanyrepaidthenoteinJuly2020,recordinga$96thousandrealizedlossonthe
consolidatedstatementofincome(loss)andcomprehensiveincome(loss).

5         NOTESPAYABLEͲRELATEDPARTIES

NotespayableͲrelatedpartiesconsistofpromissorynotesissuedtorelatedpartiesoftheCompanyincluding
stockholders,directors,andformerexecutives.Theinterestrateontherelatedparty,promissorynotesrangefrom
4%to10%.InterestonthesepromissorynotesispaidͲinͲkind,accruedmonthly,andaddedtotheprincipalbalance
ofthenotes.ThepromissorynotesmatureonvaryingdatesrangingfromJune10,2022toDecember31,2022and

                                                        16

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                                CashCloudInc.andSubsidiaries
                               NotestoConsolidatedFinancialStatements
                                                    
requireaballoonpaymentatmaturity.CertainnotesprovidefortheoptiontorenewforadditionaloneͲyear
terms.

AsofDecember31,2021and2020,theCompanyhasanoutstandingbalanceof$2,949and$3,429,respectively,
whichincludespromissorynotesdenominatedinUSDandBTCandtherelatedpaidͲinͲkindinterest.SeeNote9for
redemptionofaportionofnotespayable–relatedparties.

6       COMMITMENTSANDCONTINGENCIES

Operatingleases

During2021,theCompanyenteredintoaleaseagreementforanofficefacilityinLasVegas,Nevadawithaten
yeartermexpiring2031.Theleaseprovidescertainrentholidayperiods,withthestraightͲlineexpensetotaling
$2,011thousandperyear.TheCompanyrecordedadeferredleaseliabilityof$328thousand,recordedasanother
longͲtermliabilityontheconsolidatedbalancesheetasofDecember31,2021.

During2019theCompanyenteredintotwoleaseagreementsforofficefacilitiesinLasVegas,Nevadathrough
April2021andNovember2021.InMayof2020,theCompanyamendedandextendeditsleaseexpiringAprilto
November2021,tocoincidewithitsotherleaseexpiringatthesametime.

AtDecember31,2021,theCompany’sfutureminimumleasepaymentobligationsundernonͲcancellable
operatingleaseswereasfollows:

                                                                                            (In thousands)
2022                                                                                    $             1,391
2023                                                                                                  1,892
2024                                                                                                  1,949
2025                                                                                                  2,007
2026                                                                                                  2,067
Thereafter                                                                                           10,289
                                                                                        $            19,595 

Totaloperatingleaseexpensewas$1,306thousand,$380thousand,and$67thousandfortheyearsended
December31,2021,2020,and2019,respectively.

DCMhostagreements

TheCompanyentersintoagreementswithvariousretaillocationsincludingconveniencestores,malls,and
enterprisegrocerystores(“hosts”)wherebytheCompanyinstallsaDCMatthehost’slocation.TheCompany
agreestopaythehosteitherafixedmonthlyrentalpaymentandinternetcharges,oravariableportionofthe
profitofthemachine(asdefinedintheagreements),fortheabilitytoutilizethehost’sstorefrontlocationto
facilitatethebuyingandsellingofdigitalcurrencies.Thehostagreementstypicallyhavea3to7Ͳyearterm,with
automaticrenewals,unlessterminatedbyeitherparty.TheCompanymayterminatetheagreementsundercertain
circumstances,asdefinedintheagreements.

                                     




                                                        17

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                                CashCloudInc.andSubsidiaries
                                NotestoConsolidatedFinancialStatements
                                                     
AtDecember31,2021,futureminimumrentpaymentsunderfixedDCMhostagreementsareasfollows:

                                                                                             (In thousands)
2022                                                                                     $            11,916
2023                                                                                                  11,713
2024                                                                                                  11,159
2025                                                                                                  10,245
2026                                                                                                   9,867
Thereafter                                                                                            12,402
                                                                                         $            67,302 

TotalrentexpenserelatedtoDCMhostagreements,includingvariablecoststotaled$9,057thousand,$2,957
thousand,and$1,049during2021,2020,and2019,respectively.

Legalmatters

TheCompanyisapartytocertainlawsuitsandclaimsarisingoutofthenormalcourseofbusiness.Litigationis
inherentlyunpredictable,andtheoutcomeofthesematterscannotpresentlybedetermined.Althoughthe
Companybelievesithasvaliddefensesinthesematters,itcouldinthefutureincurjudgmentsorenterinto
settlementsorclaimsthatcouldhaveanadverseeffectonitsresultsofoperationsinanyparticularperiod.

7        EQUITY(DEFICIT)

OnDecember31,2019,CashCloudamendeditsarticlesofincorporationtoauthorizethepurchaseofupto1,000
sharesofitsSeriesAcommonstock("SeriesA”)and10,000sharesofitsSeriesBcommonstock(“SeriesB”).In
connectionwiththisamendment,thethenoutstanding1,000sharesofcommonstockwereexchangedfor1,000
sharesofSeriesA.

Rightsandpreferences

TheholdersoftheSeriesAandSeriesBshallbeentitledto1and10votes,respectively,foreachshareheldwith
respecttoallmattersvotedonbythestockholdersoftheCompany.

Stockholdernotereceivable

OnDecember31,2019,theCompanyissued10,000sharesofSeriesBasanoffsettoequitytoastockholderin
exchangeforapromissorynoteintheamountof$4,844.Thepromissorynotewasrecordedasastockholdernote
receivableandanoffsettoequityintheconsolidatedbalancesheet.Thestockholdernotereceivableaccrues
interestatarateof4%perannum.Theentireunpaidprincipalbalanceandallaccruedinterestaredueon
December31,2022.Thebalanceofthestockholdernotereceivablewas$4,989and$4,898asofDecember31,
2021and2020,respectively.

Minorityinterestpurchaseagreement

OnOctober31,2020,theCompanyenteredintoaninterestpurchaseagreement(“InterestPurchaseAgreement”)
withitssoleminorityshareholder(“MinorityShareholder”),whichincludedthefullbuyoutoftheMinority
Shareholder’s350SeriesAsharesfor$1,115thousand,whichwasrecordedasacurrentliabilitywithinnotes
payable–relatedpartiesontheconsolidatedbalancesheetasofDecember31,2020.




                                                         18

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                                CashCloudInc.andSubsidiaries
                               NotestoConsolidatedFinancialStatements
                                                    
InMarch2021,theCompanysettleditsobligationunderitsInterestPurchaseAgreementbypayingitsobligation
of$1,115thousand.TheCompanyalsorepaidtheminorityshareholder’sBTCdenominatednoteof5.72BTC,with
avalueatthetimeofsettlementofapproximately$330thousand.


8         FAIRVALUEOFASSETSANDLIABILITIES

Liabilitiesmeasuredatfairvalueonarecurringbasisaresummarizedasfollows:

                                                                             As of December 31, 2021
                                                                   Level 1      Level 2   Level 3    Fair Value
Liabilities                                                                        (In thousands)
      Notes payable - related parties                          $     2,571    $     -       $       -   $   2,571
      Long-term obligations                                          3,841          -               -       3,841
                                                               $     6,412    $     -       $       -   $   6,412

                                                                             As of December 31, 2020
                                                                   Level 1      Level 2   Level 3    Fair Value
Liabilities                                                                        (In thousands)
      Notes payable - related parties                          $     2,038    $     -       $       -   $   2,038
      Long-term obligations                                          2,406          -               -       2,406
                                                               $     4,444    $     -       $       -   $   4,444 

TherearenoassetsmeasuredatfairvalueonarecurringbasisornonͲrecurringbasis,anddigitalassetsare
measuredatfairvalueonanonͲrecurringbasisifindicatorsofimpairmentexist.

9       SUBSEQUENTEVENTS

TheCompanyhasevaluatedsubsequenteventsthroughApril7,2022,thedatewhichthefinancialstatements
wereavailabletobeissued.Otherthandescribedbelow,therewerenosubsequenteventsthatrequire
adjustmenttoordisclosureintheconsolidatedfinancialstatements.

Notespayable–relatedpartiesredemption

InFebruary2022,aDirectorredeemedthefullbalanceofthetheirUSDdenominatedNote,aswellas2.0BTCof
theirBTCdenominatednote,foratotalpaymentof$126thousand.




                                                       19

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   ,1'(%7('1(66 6HF UCC-1 REPORTS




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Name :                             Cash Cloud, Inc.

Service :                          Judgments

Jurisdiction :                     US - NV - Clark County

Thru Date:                         09/28/2022

Results :



                                   0 Judgment(s)
                                   No County Recorder Judgments - 2 Cases Found for
                                   Partial Judgments at the Clark County District Court -
                                   Listing and copies attached




    Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
       of the public records rests with the filing officer, we accept no liability for the report contained herein.
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Name :                             Cash Cloud, Inc.

Service :                          UCC/FTL - Certified

Jurisdiction :                     US - NV - Secretary of State

Thru Date:                         08/30/2022

Results :



                                   6 Financing Statement(s)

                                   0 Federal Tax Lien(s)




    Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
       of the public records rests with the filing officer, we accept no liability for the report contained herein.
         Case 23-10423-mkn               Doc 36-2       Entered 02/08/23 19:55:21                Page 28 of 217

                                                STATE OF NEVADA                          Commercial Recordings Division
   BARBARA K. CEGAVSKE                                                                           202 N. Carson Street
             Secretary of State                                                                Carson City, NV 89701
                                                                                              Telephone (775) 684-5708
                                                                                                 Fax (775) 684-7138
    KIMBERLEY PERONDI                                                                         North Las Vegas City Hall
                                                                                         2250 Las Vegas Blvd North, Suite 400
           Deputy Secretary for
                                                                                             North Las Vegas, NV 89030
          Commercial Recordings                       OFFICE OF THE                           Telephone (702) 486-2880
                                             SECRETARY OF STATE                                  Fax (702) 486-2888




                                                UCC Search Report
 The Nevada Secretary of State hereby certifies that the attached list is a true and exact list of all financing statements
 or federal tax liens and related subsequent documentation for the debtor below as filed with the Secretary of State’s
 office, Uniform Commercial Code Division, as of the Through Date below.

Date Searched: 9/30/2022 10:05:12 AM Search Criteria:                      Filing Status:ALL(Lapsed and Unlapsed)
Searched by: Sebast Camua                                                  Include Records: N/A
Filing Chains: 6
Good Through Filing Date: 08/30/2022                                       Organization: CASH CLOUD, INC.
Date Range: All Available Filings
Include Filings Outside Range?: All Available Filings                      Cities:


Filing Chain#: 1                                                      Lapse Date: 05/06/2025
Original File#: 2020093806-4                                          Lien Type:UCC Lien


Filing #: 2020093806-4            Filing Date: 05/06/2020      Filing Type: Initial      Page Count:7
                                  10:00 AM                     Financing Statement UCC-1
Debtors
Name                                   Type                    Address
CASH CLOUD INC.                        Organization            9580 W. SAHARA AVE, SUITE 200 LAS VEGAS, NV
                                                               89117, USA
Secured Parties
Name                                   Type                    Address
ENIGMA SECURITIES LTD                  Organization            GOSSARD HOUSE, 7/8 SAVILE ROW LONDON
                                                               MILLS, W1S 3-PE, UKR




Filing #: 2020124230-3            Filing Date: 08/12/2020      Filing Type: Termination        Page Count:1
                                  12:04 PM                     UCC-3




Filing Chain#: 2                                                      Lapse Date: 05/12/2025
Original File#: 2020095113-1                                          Lien Type:UCC Lien




                                                 http://www.nvsos.gov
                                                       Page 1 of 4
         Case 23-10423-mkn               Doc 36-2      Entered 02/08/23 19:55:21            Page 29 of 217

                                                STATE OF NEVADA                    Commercial Recordings Division
   BARBARA K. CEGAVSKE                                                                     202 N. Carson Street
            Secretary of State                                                           Carson City, NV 89701
                                                                                        Telephone (775) 684-5708
                                                                                           Fax (775) 684-7138
    KIMBERLEY PERONDI                                                                   North Las Vegas City Hall
                                                                                   2250 Las Vegas Blvd North, Suite 400
          Deputy Secretary for
                                                                                       North Las Vegas, NV 89030
         Commercial Recordings                       OFFICE OF THE                      Telephone (702) 486-2880
                                             SECRETARY OF STATE                            Fax (702) 486-2888




Filing #: 2020095113-1           Filing Date: 05/12/2020    Filing Type: Initial Financing Page Count:1
                                 10:00 AM                   Statement UCC-1
Debtors
Name                                  Type                  Address
CASH CLOUD INC.                       Organization          9580 WEST SAHARA AVENUE, SUITE 200 LAS
                                                            VEGAS, NV 89117, USA
Secured Parties
Name                                  Type                  Address
CORPORATION SERVICE                   Organization          PO BOX 2576 SPRINGFIELD, IL 62708, USA
COMPANY, AS
REPRESENTATIVE



Filing #: 2020103557-0           Filing Date: 06/09/2020    Filing Type: Assignment      Page Count:1
                                 10:00 AM                   UCC-3
Secured Parties
Name                                  Type                  Address
PRIME ALLIANCE BANK, INC              Organization          1868 SOUTH 500 WEST WOODS CROSS, UT 84087,
                                                            USA



Filing #: 2020128915-5           Filing Date: 09/08/2020    Filing Type: Amendment       Page Count:2
                                 10:00 AM                   Collateral Change UCC-3




Filing Chain#: 3                                                   Lapse Date: 06/09/2025
Original File#: 2020103422-6                                       Lien Type:UCC Lien


Filing #: 2020103422-6           Filing Date: 06/09/2020    Filing Type: Initial Financing Page Count:2
                                 10:00 AM                   Statement UCC-1
Debtors
Name                                  Type                  Address
CASH CLOUD INC.                       Organization          9580 WEST SAHARA AVENUE, SUITE 200 LAS
                                                            VEGAS, NV 89117, USA




                                                http://www.nvsos.gov
                                                      Page 2 of 4
         Case 23-10423-mkn               Doc 36-2      Entered 02/08/23 19:55:21            Page 30 of 217

                                                STATE OF NEVADA                    Commercial Recordings Division
   BARBARA K. CEGAVSKE                                                                     202 N. Carson Street
            Secretary of State                                                           Carson City, NV 89701
                                                                                        Telephone (775) 684-5708
                                                                                           Fax (775) 684-7138
    KIMBERLEY PERONDI                                                                   North Las Vegas City Hall
                                                                                   2250 Las Vegas Blvd North, Suite 400
          Deputy Secretary for
                                                                                       North Las Vegas, NV 89030
         Commercial Recordings                       OFFICE OF THE                      Telephone (702) 486-2880
                                             SECRETARY OF STATE                            Fax (702) 486-2888




Secured Parties
Name                      Type                              Address
PRIME ALLIANCE BANK, INC. Organization                      1868 SOUTH 500 WEST WOODS CROSS, UT 84087,
                                                            USA

Name                                  Type                  Address
CORPORATION SERVICE                   Organization          P.O. BOX 2576 SPRINGFIELD, IL 62708, USA
COMPANY, AS
REPRESENTATIVE




Filing Chain#: 4                                                   Lapse Date: 03/29/2027
Original File#: 2022236448-3                                       Lien Type:UCC Lien


Filing #: 2022236448-3           Filing Date: 03/29/2022    Filing Type: Initial Financing Page Count:1
                                 10:00 AM                   Statement UCC-1
Debtors
Name                                  Type                  Address
CASH CLOUD INC.                       Organization          9580 WEST SAHARA AVENUE, SUITE 200 LAS
                                                            VEGAS, NV 89117, USA
Secured Parties
Name                                  Type                  Address
CORPORATION SERVICE                   Organization          PO BOX 2576 UCCSPREP CSCINFO.COM
COMPANY, AS                                                 SPRINGFIELD, IL 62708, USA
REPRESENTATIVE



Filing #: 2022242549-8           Filing Date: 04/25/2022    Filing Type: Termination     Page Count:2
                                 10:00 AM                   UCC-3




Filing Chain#: 5                                                   Lapse Date: 05/25/2027
Original File#: 2022243917-2                                       Lien Type:UCC Lien


Filing #: 2022243917-2           Filing Date: 05/25/2022    Filing Type: Initial Financing Page Count:1
                                 12:46 PM                   Statement UCC-1




                                                http://www.nvsos.gov
                                                      Page 3 of 4
         Case 23-10423-mkn               Doc 36-2      Entered 02/08/23 19:55:21            Page 31 of 217

                                                STATE OF NEVADA                    Commercial Recordings Division
   BARBARA K. CEGAVSKE                                                                     202 N. Carson Street
            Secretary of State                                                           Carson City, NV 89701
                                                                                        Telephone (775) 684-5708
                                                                                           Fax (775) 684-7138
    KIMBERLEY PERONDI                                                                   North Las Vegas City Hall
                                                                                   2250 Las Vegas Blvd North, Suite 400
          Deputy Secretary for
                                                                                       North Las Vegas, NV 89030
         Commercial Recordings                       OFFICE OF THE                      Telephone (702) 486-2880
                                             SECRETARY OF STATE                            Fax (702) 486-2888




Debtors
Name                                  Type                  Address
CASH CLOUD INC                        Organization          10190 COVINGTON CROSS DRIVE LAS VEGAS, NV
                                                            89144, USA
Secured Parties
Name                      Type                              Address
COLE KEPRO INTERNATIONAL, Organization                      4170-103 DISTRIBUTION CIRCLE NORTH LAS VEGAS,
LLC                                                         NV 89030, USA



Filing #: 2022245297-6           Filing Date: 06/03/2022    Filing Type: Amendment       Page Count:1
                                 09:06 AM                   Party UCC-3
Debtors
Name                                  Type                  Address
COIN CLOUD LLC                        Organization          10190 COVINGTON CROSS DRIVE LAS VEGAS, NV
                                                            89144, USA




Filing Chain#: 6                                                   Lapse Date: 06/03/2027
Original File#: 2022245388-7                                       Lien Type:UCC Lien


Filing #: 2022245388-7           Filing Date: 06/03/2022    Filing Type: Initial Financing Page Count:1
                                 12:48 PM                   Statement UCC-1
Debtors
Name                                  Type                  Address
CASH CLOUD INC.                       Organization          10190 COVINGTON CROSS DRIVE LAS VEGAS, NV
                                                            89144, USA

Name                                  Type                  Address
COIN CLOUD                            Organization          10190 COVINGTON CROSS DRIVE LAS VEGAS, NV
                                                            89144, USA
Secured Parties
Name                      Type                              Address
COLE KEPRO INTERNATIONAL, Organization                      4170-103 DISTRIBUTION CIRCLE NORTH LAS VEGAS,
LLC                                                         NV 89030, USA




                                                http://www.nvsos.gov
                                                      Page 4 of 4
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                                         Filed in the Office of    Filing Number
                                                                   2020124230-3
                                                                   Initial Filing Number
                                                                   2020093806-4
                                                                   Filed On
                                         Secretary of State        August 12, 2020 12:04 PM
                                         State Of Nevada           Number of Pages
                                                                   1
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21          Page 33 of 217




                                         Filed in the Office of    Filing Number
                                                                   2020128915-5
                                                                   Initial Filing Number
                                                                   2020095113-1
                                                                   Filed On
                                         Secretary of State        September 8, 2020 10:00 AM
                                         State Of Nevada           Number of Pages
                                                                   2
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 34 of 217
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21          Page 35 of 217




                                         Filed in the Office of    Filing Number
                                                                   2020103557-0
                                                                   Initial Filing Number
                                                                   2020095113-1
                                                                   Filed On
                                         Secretary of State        June 9, 2020 10:00 AM
                                         State Of Nevada           Number of Pages
                                                                   1
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21          Page 36 of 217




                                         Filed in the Office of    Initial Filing Number
                                                                   2020103422-6
                                                                   Filed On
                                                                   June 9, 2020 10:00 AM
                                                                   Number of Pages
                                         Secretary of State        2
                                         State Of Nevada
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 37 of 217
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                                         Filed in the Office of    Filing Number
                                                                   2022242549-8
                                                                   Initial Filing Number
                                                                   2022236448-3
                                                                   Filed On
                                         Secretary of State        April 25, 2022 10:00 AM
                                         State Of Nevada           Number of Pages
                                                                   2
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 39 of 217
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21          Page 40 of 217




                                         Filed in the Office of    Initial Filing Number
                                                                   2022236448-3
                                                                   Filed On
                                                                   March 29, 2022 10:00 AM
                                                                   Number of Pages
                                         Secretary of State        1
                                         State Of Nevada
                            Case 23-10423-mkn                                  Doc 36-2          Entered 02/08/23 19:55:21                             Page 41 of 217




    UCC FINANCING STATEMENT
    FOLLOW INSTRUCTIONS                                                                                                    Filed in the Office of             Initial Filing Number
     A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                                           2022243917-2
         SUSAN R. MCMASTER 8727-1485                                                                                                                          Filed On
     B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                                                              May 25, 2022 12:46 PM
         SMCMASTER@JAFFELAW.COM
     C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                                              Number of Pages
                                                                                                                           Secretary of State                 1
         JAFFE RAITT
                                                                                                                           State Of Nevada
         27777 FRANKLIN ROAD, SUITE 2500
         SOUTHFIELD, MI 48150, USA




    1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
         name will not fit in line 1b, leave all of item 1 blank, check here    and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

          1a. ORGANIZATION'S NAME
—
           CASH CLOUD INC
    OR
          1b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX



    1c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY
    10190 COVINGTON CROSS DRIVE                                                                LAS VEGAS                                         NV           89144                     USA

    2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
         name will not fit in line 2b, leave all of item 2 blank, check here    and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

          2a. ORGANIZATION'S NAME

    OR
          2b. INDIVIDUAL'S SURNAME                                                             FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX


    2c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY



    3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
          3a. ORGANIZATION'S NAME
           COLE KEPRO INTERNATIONAL, LLC
    OR
          3b. INDIVIDUAL'S SURNAME                                                             FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX


    3c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY
    4170-103 DISTRIBUTION CIRCLE                                                               NORTH LAS VEGAS                                   NV           89030                     USA
    4. COLLATERAL: This financing statement covers the following collateral:
—
     ANY AND ALL 1095-C-2960-01-000-FEN04 COIN CLOUD BITCOIN DOMESTIC KIOSKS WITH BNR AND ASSOCIATED SPARE PARTS SOLD BY
     SECURED PARTY TO DEBTOR, INCLUDING THOSE SOLD PURSUANT TO PURCHASE ORDER NUMBERS:
     #04302021-2, #1102022-1, #152022-1 , #1132021-1 , #11220221, #12152021-2, #1312022-2, #212022-1, #2142022-1, #1152022-1, #1252022-1 AND #1272022-1.




    5. Check only if applicable and check only one box: Collateral is             held in a Trust (see UCC1Ad, item 17 and Instructions)    being administered by a Decedent’s Personal Representative
    6a. Check only if applicable and check only one box:                                                                                     6b. Check only if applicable and check only one box:
                Public-Finance Transaction                  Manufactured-Home Transaction              A Debtor is a Transmitting Utility                Agricultural Lien       Non-UCC Filing

    7. ALTERNATIVE DESIGNATION (if applicable):                           Lessee/Lessor           Consignee/Consignor             Seller/Buyer           Bailee/Bailor          Licensee/Licensor

    8. OPTIONAL FILER REFERENCE DATA:




    FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
                               Case 23-10423-mkn                          Doc 36-2                 Entered 02/08/23 19:55:21                                    Page 42 of 217




    UCC FINANCING STATEMENT AMENDMENT
    FOLLOW INSTRUCTIONS                                                                                                         Filed in the Office of                Filing Number
     A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                                                   2022245297-6
          SUSAN R. MCMASTER 8727-1485                                                                                                                                 Initial Filing Number
     B. E-MAIL CONTACT AT FILER (optional)                                                                                                                            2022243917-2
          SMCMASTER@JAFFELAW.COM                                                                                                                                      Filed On
     C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              Secretary of State                    June 3, 2022 09:06 AM
          JAFFE RAITT                                                                                                           State Of Nevada                       Number of Pages
          27777 FRANKLIN ROAD, SUITE 2500
                                                                                                                                                                      1
          SOUTHFIELD, MI 48150, USA




    1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                             1b.      This FINANCING STATEMENT AMENDMENT is to be filed [for record]
                                                                                                                     (or recorded) in the REAL ESTATE RECORDS
    2022243917-2                                                                                                      Filer: attach Amendment Addendum(Form UCC3Ad) and provide Debtor’s name in item 13
—   2.         TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of Secured Party authorizing this Termination
             Statement

    3.       ASSIGNMENT (full or partial ): Provide name of Assignee in item 7a or 7b, and address of Assignee in item 7c and name of Assignor in item 9
             For partial assignment, complete items 7 and 9 and also indicate affected collateral in item 8

    4.         CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is
              continued for the additional period provided by applicable law

    5.        PARTY INFORMATION CHANGE:
         Check one of these two boxes:                                      AND Check one of these three boxes to:
                                                                                   CHANGE name and/or address: Complete                      ADD name: Complete item              DELETE name: Give record name
         This Change affects        Debtor or   Secured Party of record            item 6a or 6b; and item 7a or 7b and item 7c              7a or 7b, and item 7c                to be deleted in item 6a or 6b
    6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only one name (6a or 6b)
          6a. ORGANIZATION'S NAME
           CASH CLOUD INC.
    OR 6b. INDIVIDUAL'S SURNAME
                                                                                                  FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


    7. CHANGED OR ADDED INFORMATION: Complete for Assignment or Party Information Change - provide only one name (7a or 7b) ( USE exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name)
           7a. ORGANIZATION'S NAME
           COIN CLOUD LLC
    OR
           7b. INDIVIDUAL'S SURNAME



                INDIVIDUAL'S FIRST PERSONAL NAME

                INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                            SUFFIX


    7c. MAILING ADDRESS                                                                         CITY                                                     STATE        POSTAL CODE                     COUNTRY
—
    10190 COVINGTON CROSS DRIVE                                                                  LAS VEGAS                                                NV           89144                          USA

    8.        COLLATERAL CHANGE: Also check one of these four boxes:                        ADD collateral             DELETE collateral              RESTATE covered collateral                 ASSIGN collateral
             Indicate collateral:




    9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (9a or 9b) (name of Assignor, if this is an Assignment)
         If this is an Amendment authorized by a DEBTOR, check here               and provide name of authorizing Debtor
           9a. ORGANIZATION'S NAME
           COLE KEPRO INTERNATIONAL, LLC
    OR
           9b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX



    10. OPTIONAL FILER REFERENCE DATA:




    FILING OFFICE COPY — UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)
                            Case 23-10423-mkn                                  Doc 36-2          Entered 02/08/23 19:55:21                             Page 43 of 217




    UCC FINANCING STATEMENT
    FOLLOW INSTRUCTIONS                                                                                                    Filed in the Office of             Initial Filing Number
     A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                                           2022245388-7
         SUSAN R. MCMASTER 8727-1485                                                                                                                          Filed On
     B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                                                              June 3, 2022 12:48 PM
         SMCMASTER@JAFFELAW.COM
     C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                                              Number of Pages
                                                                                                                           Secretary of State                 1
         JAFFE RAITT
                                                                                                                           State Of Nevada
         27777 FRANKLIN ROAD, SUITE 2500
         SOUTHFIELD, MI 48150, USA




    1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
         name will not fit in line 1b, leave all of item 1 blank, check here    and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

          1a. ORGANIZATION'S NAME
—
           CASH CLOUD INC.
    OR
          1b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX



    1c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY
    10190 COVINGTON CROSS DRIVE                                                                LAS VEGAS                                         NV           89144                     USA

    2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
         name will not fit in line 2b, leave all of item 2 blank, check here    and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

          2a. ORGANIZATION'S NAME
           COIN CLOUD
    OR
          2b. INDIVIDUAL'S SURNAME                                                             FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX


    2c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY
    10190 COVINGTON CROSS DRIVE                                                                LAS VEGAS                                         NV           89144                     USA

    3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
          3a. ORGANIZATION'S NAME
           COLE KEPRO INTERNATIONAL, LLC
    OR
          3b. INDIVIDUAL'S SURNAME                                                             FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)         SUFFIX


    3c. MAILING ADDRESS                                                                        CITY                                              STATE       POSTAL CODE               COUNTRY
    4170-103 DISTRIBUTION CIRCLE                                                               NORTH LAS VEGAS                                   NV           89030                     USA
    4. COLLATERAL: This financing statement covers the following collateral:
—
     ANY AND ALL 1095-C-2960-01-000-FEN04 COIN CLOUD BITCOIN DOMESTIC KIOSKS WITH BNR AND ASSOCIATED SPARE PARTS SOLD BY
     SECURED PARTY TO DEBTOR, INCLUDING THOSE SOLD PURSUANT TO PURCHASE ORDER NUMBERS:
     #04302021-2, #1102022-1, #152022-1 , #1132021-1 , #11220221, #12152021-2, #1312022-2, #212022-1, #2142022-1, #1152022-1, #1252022-1 AND #1272022-1.
     5.




    5. Check only if applicable and check only one box: Collateral is             held in a Trust (see UCC1Ad, item 17 and Instructions)    being administered by a Decedent’s Personal Representative
    6a. Check only if applicable and check only one box:                                                                                     6b. Check only if applicable and check only one box:
                Public-Finance Transaction                  Manufactured-Home Transaction              A Debtor is a Transmitting Utility                Agricultural Lien       Non-UCC Filing

    7. ALTERNATIVE DESIGNATION (if applicable):                           Lessee/Lessor           Consignee/Consignor             Seller/Buyer           Bailee/Bailor          Licensee/Licensor

    8. OPTIONAL FILER REFERENCE DATA:




    FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
   Case 23-10423-mkn        Doc 36-2    Entered 02/08/23 19:55:21        Page 44 of 217

                                  STATE OF NEVADA                Commercial Recordings Division
BARBARA K. CEGAVSKE                                                      202 N. Carson Street
      Secretary of State                                               Carson City, NV 89701
                                                                      Telephone (775) 684-5708
                                                                         Fax (775) 684-7138
KIMBERLEY PERONDI                                                     North Las Vegas City Hall
                                                                 2250 Las Vegas Blvd North, Suite 400
     Deputy Secretary for
                                                                     North Las Vegas, NV 89030
    Commercial Recordings            OFFICE OF THE                    Telephone (702) 486-2880
                                SECRETARY OF STATE                       Fax (702) 486-2888




                               Copy Request Exception List

 Copy Request Filing Date: 09/30/2022
 Work Order Item Number: W2022093001091
 Copy Request Number:      2417712

  Online images for the following document numbers were unavailable and are not included
  with this request. Copies of these documents will be delivered at a later date under a
  separate cover. We apologize for any inconvenience.

                                                                                  Number
                                                                         Expected
Filing                                                                            Of
          Filing Number Transaction Type                        Doc ID Number
Date/Time                                                                         Pages
                                                                         of Pages
                                                                                  Found
05/06/2020 2020093806-4     UCC-1 - Initial Financing Statement 20342368 7        0
05/12/2020 2020095113-1     UCC-1 - Initial Financing Statement 20342367 1        0
   Case 23-10423-mkn               Doc 36-2         Entered 02/08/23 19:55:21                 Page 45 of 217




Name :                             Cash Cloud, Inc.

Service :                          Judgments

Jurisdiction :                     US - NV - Clark County

Thru Date:                         09/28/2022

Results :



                                   0 Judgment(s)
                                   Preliminary search indicates no results found




    Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
       of the public records rests with the filing officer, we accept no liability for the report contained herein.
   Case 23-10423-mkn               Doc 36-2         Entered 02/08/23 19:55:21                 Page 46 of 217




Name :                             Cash Cloud, Inc.

Service :                          UCC/FTL - Prelim

Jurisdiction :                     US - NV - Secretary of State

Thru Date:                         08/29/2022

Results :



                                   8 Financing Statement(s)

                                   0 Federal Tax Lien(s)




    Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
       of the public records rests with the filing officer, we accept no liability for the report contained herein.
9/29/22, 10:30 AM Case 23-10423-mkn               Doc 36-2 Nevada
                                                            Entered    02/08/23Cloud,
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                                                                                                       Search Date: September 29, 2022




                                                           Telos Legal Corp.

    UCC Search Report

                    Type of Search         UCCs and Federal Tax Liens
       Jurisdiction/Filing Office          State of Nevada, Secretary of State Uniform Commercial Code Division
       Estimated Currency Date             Aug. 29, 2022
                      Last File Date       Sep 27 2022
            Subject Search Name            Cash Cloud, Inc.
              Search Key Entered           CASH


    Results


    Based on a search of the indices of the Uniform Commercial Code Division of the Secretary of State of Nevada, there are no active
    liens of record other than those set out below. Liens reflected in this report were based on the searcher’s individual search
    parameters, the search key entered, as well as the searcher’s choice of the liens ultimately included or excluded herein. Certification
    can only be obtained through the office of the Nevada Secretary of State.

       1. Initial Financing Statement
                      Document No. 2020093806-4                                     Lapses 5/6/2025
                             Filed 5/6/2020
                              Debtor CASH CLOUD INC.
                                     9580 W. SAHARA AVE, SUITE 200
                                     LAS VEGAS NV
                      Secured Party ENIGMA SECURITIES LTD
                                    GOSSARD HOUSE, 7/8 SAVILE ROW
                                    LONDON MILLS W1S 3PE
                  Amendment Type Termination
                         File No. 2020124230-3
                            Filed 8/12/2020 12:00:00 AM

       2. Initial Financing Statement
                      Document No. 2020095113-1                                     Lapses 5/12/2025
                             Filed 5/12/2020
                              Debtor CASH CLOUD INC.
                                     9580 WEST SAHARA AVENUE, SUITE 200
                                     LAS VEGAS NV
                      Secured Party CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
                                    PO BOX 2576
                                    SPRINGFIELD IL
                      Secured Party PRIME ALLIANCE BANK, INC
                                    1868 SOUTH 500 WEST
                                    WOODS CROSS UT
                  Amendment Type Assignment
                         File No. 2020103557-0
https://online.ficoso.com/Online/Search/UCCLien/FinalResults/3096677?ReportType=1                                                             1/3
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                                 Filed 6/9/2020 12:00:00 AM
                  Amendment Type Amendment Collateral Change
                         File No. 2020128915-5
                            Filed 9/8/2020 12:00:00 AM

       3. Initial Financing Statement
                      Document No. 2020103422-6                                     Lapses 6/9/2025
                             Filed 6/9/2020
                              Debtor CASH CLOUD INC.
                                     9580 WEST SAHARA AVENUE, SUITE 200
                                     LAS VEGAS NV
                      Secured Party CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
                                    P.O. BOX 2576
                                    SPRINGFIELD IL
                      Secured Party PRIME ALLIANCE BANK, INC.
                                    1868 SOUTH 500 WEST
                                    WOODS CROSS UT

       4. Initial Financing Statement
                      Document No. 2020141100-3                                     Lapses 11/20/2025
                             Filed 11/20/2020
                              Debtor CASH CLOUD, INC., A NEVADA CORPORATION
                                     9580 W. SAHARA AVE, SUITE 200
                                     LAS VEGAS NV
                      Secured Party SURETY BANK
                                    990 N. WOODLAND BOULEVARD
                                    DELAND FL

       5. Initial Financing Statement
                      Document No. 2022236448-3                                     Lapses 3/29/2027
                             Filed 3/29/2022
                              Debtor CASH CLOUD INC.
                                     9580 WEST SAHARA AVENUE, SUITE 200
                                     LAS VEGAS NV
                      Secured Party CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
                                    PO BOX 2576 UCCSPREP CSCINFO.COM
                                    SPRINGFIELD IL
                  Amendment Type Termination
                         File No. 2022242549-8
                            Filed 4/25/2022 12:00:00 AM

       6. Initial Financing Statement
                      Document No. 2022242595-7                                     Lapses 4/25/2027
                             Filed 4/25/2022
                              Debtor CASH CLOUD INC. DBA COIN CLOUD
                                     10190 COVINGTON CROSS DRIVE
                                     LAS VEGAS NV
                      Secured Party ENIGMA SECURITIES LIMITED
                                    6TH FLOOR, 30 PANTON STREET
                                    LONDON SW1Y 4AJ

       7. Initial Financing Statement
                      Document No. 2022243917-2                                     Lapses 5/25/2027
                             Filed 5/25/2022
                              Debtor CASH CLOUD INC
                                     10190 COVINGTON CROSS DRIVE
                                     LAS VEGAS NV
                              Debtor COIN CLOUD LLC
                                     10190 COVINGTON CROSS DRIVE
                                     LAS VEGAS NV

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                      Secured Party COLE KEPRO INTERNATIONAL, LLC
                                    4170-103 DISTRIBUTION CIRCLE
                                    NORTH LAS VEGAS NV
                  Amendment Type Amendment Party - Debtor Change
                         File No. 2022245297-6
                            Filed 6/3/2022 12:00:00 AM

       8. Initial Financing Statement
                      Document No. 2022245388-7                                     Lapses 6/3/2027
                             Filed 6/3/2022
                              Debtor CASH CLOUD INC.
                                     10190 COVINGTON CROSS DRIVE
                                     LAS VEGAS NV
                              Debtor COIN CLOUD
                                     10190 COVINGTON CROSS DRIVE
                                     LAS VEGAS NV
                      Secured Party COLE KEPRO INTERNATIONAL, LLC
                                    4170-103 DISTRIBUTION CIRCLE
                                    NORTH LAS VEGAS NV

    We assume no liability with respect to the identity of any party named or referred to in this report, nor with respect to the validity,
    legal effect or priority of any matter shown herein; nor, due to our inability to independently verify the accuracy of this data as
    provided by government and other sources, do we make any guaranty or representation as to its accuracy.

                                                  ---------- END OF REPORT ----------


    Report Parameters
    The UCC Revised Article 9 Model Administrative Rules (MARS) provide state filing offices with a set of guidelines for producing a
    legally compliant UCC lien search report. The search tool used to create this search report was designed to satisfy the requirements
    under MARS while providing the searcher with increased flexibility.

    Flexible search logic generates a more inclusive search report and addresses the inconsistencies in searches performed within
    states that did not effectively adopt the MARS guidelines. Further, these specially designed broad-based searching features aid in
    the location of involuntary liens such as Federal and State Tax Liens and Judgment Liens and liens that may not be located in state
    databases limited to the MARS guidelines for the reporting of UCCs.




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                                                              Telos Legal Corp.

   Nevada Similar Name Report
          Subject Search Name         Cash Cloud, Inc.
       Truncated Search Name          CASH
      Estimated Currency Date         August 29, 2022
                   Last File Date     Sep 27 2022
                                      Contains all debtor names not included on the final results report.


       Filing #           Debtor Name                 Address                               City             State     Zip            Type
       2001008637-        CASHMAN                     3660 CINDER LANE                      LAS VEGAS        NV        89103          UCC
       1                  ENTERPRISES INC
       2005027566-        CASH 1, LLC                 P.O. BOX 3070                         INCLINE          NV        89450          UCC
       1                                                                                    VILLAGE
       2005027575-        CASH 1, LLC                 P.O. BOX 3070                         INCLINE          NV        89450          UCC
       0                                                                                    VILLAGE
       2006003592-        CASH-ON-                    255 GOLD RIVERS ROAD,                 BASALT           CO        81621          UCC
       0                  DEMAND, LLC                 THIRD FLOOR
       2006031365-        CASHMAN                     3660 CINDER LANE                      LAS VEGAS        NV        89103          UCC
       3                  PROFESSIONAL,
                          INC.
       2007023956-        CASHMAN                     3101 E CRAIG RD                       NORTH LAS        NV        89030          UCC
       8                  EQUIPMENT                                                         VEGAS
                          COMPANY
       2007034900-        CASHMAN                     3660 CINDER LANE                      LAS VEGAS        NV        89103          UCC
       4                  ENTERPRISES,
                          INC.
       2009004079-        CASH                        754 SW 6TH STREET                     GRANTS           OR        97526          UCC
       9                  CONNECTION                                                        PASS
                          MANAGEMENT
                          INC.
       2012003755-        CASH                        5421 KIETZKE LN STE 100               RENO             NV        89511          UCC
       9                  PROCESSING
                          SERVICES, LLC
       2012008893-        CASH CENTRAL                7001 POST ROAD, SUITE                 DUBLIN           OH        43016          UCC
       6                  OF NEVADA, LLC              200
       2012009045-        CASH 1, LLC                 985DAMONTERANCHPKWY                   RENO             NV        89521          UCC
       0                                              #206
       2012019334-        CASH AVENUE                 3716 DUSTIN LEE ST                    LAS VEGAS        NV        89129-         FTL
       5                                                                                                               7898
       2013004719-        CASHMAN                     3660 CINDER LANE                      LAS VEGAS        NV        89103-         UCC
       6                  ENTERPRISES,                                                                                 3008
                          INC.
       2013004719-        CASHMAN PHOTO               3660 CINDER LANE                      LAS VEGAS        NV        89103-         UCC
       6                  ENTERPRISES OF                                                                               3008
                          NEVADA
       2013024831-        CASHMAN                     3300 ST ROSE PARKWAY                  HENDERSON        NV        89052          UCC
       8                  EQUIPMENT
                          COMPANY
       2013029198-        CASHMAN                     3595 SOUTH HIGHLAND                   LAS VEGAS        NV        89103-         UCC
       9                  PROFESSIONAL,               DRIVE SUITE 3                                                    5711
                          INC.

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       2015004271-        CASH NETWORK,             385 W IRONWOOD DR              SALT LAKE       UT      84115-   UCC
       0                  LLC                                                      CITY                    2912
       2016024050-        CASHMAN                   3595 S HIGHLAND DR STE         LAS VEGAS       NV      89103    UCC
       8                  PROFESSIONAL,             3
                          INC.
       2016024050-        CASHMAN PHOTO             3660 MORGAN CASHMANS           LAS VEGAS       NV      89103    UCC
       8                  ENTERPRISES OF            WAY
                          NEVADA
       2016024050-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV      89103    UCC
       8                  ENTERPRISES,              WAY
                          INC.
       2016026018-        CASHMAN                   3300 ST ROSE PKWY              HENDERSON       NV      89052    UCC
       2                  EQUIPMENT
                          COMPANY
       2016032972-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS      67205    UCC
       2                  LLC
       2017001119-        CASHELL,                  3654 ANCESTOR CIRCLE           SPARKS          NV      89436-   UCC
       9                  THOMAS JJ                                                                        8305
       2017003633-        CASH OR                   455 E. CHARLESTON BLVD         LAS VEGAS       NV      89104    UCC
       1                  PAYMENTS AUTO             SUITE 108
                          SALES
       2017003758-        CASH ON CASH              848 N RAINBOW BLVD.            LAS VEGAS       NV      89107    UCC
       5                  ENTERPRISES,              #1579
                          LLC
       2017003889-        CASH OR                   4555 E CHARLESTON BLVD         LAS VEGAS       NV      89104    UCC
       2                  PAYMENTS AUTO             300
                          SALES
       2017004465-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS      67205    UCC
       5                  LLC
       2017005029-        CASHMAN                   3300 ST ROSE PARKWAY           HENDERSON       NV      89052    UCC
       2                  EQUIPMENT
       2017009234-        CASH ON CASH              848 N RAINBOW BLVD.            LAS VEGAS       NV      89107    UCC
       1                  ENTERPRISES,              #1579
                          LLC
       2017012846-        CASH OR                   4555 E CHARLESTON              LAS VEGAS       NV      89104    UCC
       3                  PAYMENTS AUTO             BLVD, SUITE 108
                          SALES
       2017013588-        CASH CENTRAL              6785 BOBCAT WAY, SUITE         DUBLIN          OH      43016    UCC
       6                  OF NEVADA, LLC            200
       2017020597-        CASH OR                   4555 E CHARLESTON              LAS VEGAS       NV      89104    UCC
       4                  PAYMENTS AUTO             BLVD, SUITE 108
                          SALES
       2017024316-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS      67205    UCC
       4                  LLC
       2017029545-        CASH ON CASH              848 N RAINBOW BLVD.            LAS VEGAS       NV      89107    UCC
       4                  ENTERPRISES,              #1579
                          LLC
       2017033764-        CASH OR                   4555 E CHARLESTONE             LAS VEGAS       NV      89104    UCC
       4                  PAYMENTS AUTO             BLVD #108 N
                          SALES
       2017034969-        CASHMAN,                  18482 PARK VILLA PLACE         VILLA PARK      CA      92861    UCC
       9                  ROBERT LYNN
       2018001715-        CASHMAN                   3300 ST. ROSE PARKWAY          HENDERSON       NV      89052    UCC
       5                  EQUIPMENT
                          COMPANY
       2018007831-        CASH, VIA MARIA           6831 SATSUMA DR                HOUSTON         TX      77041    UCC
       7
       2018013042-        CASHMAN PHOTO             3660 MORGAN CASHMAN'S          LAS VEGAS       NV      89103    UCC
       2                  ENTERPRISES OF            WAY
                          NEVADA
       2018013615-        CASH, VIA MARIA           13333 WEST RD APT 422          HOUSTON         TX      77041    UCC
       7
       2018013615-        CASH, VIA MARIA           6831 SATSUMA DR UNIT 16        HOUSTON         TX      77041    UCC
       7
       2018013615-        CASH, VIA MARIA           9745 FERN CANYON AVE           LAS VEGAS       NV      89117    UCC
       7
       2018018401-        CASHMAN PHOTO             3660 CINDER LN                 LAS VEGAS       NV      89103    UCC

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       9                  ENTERPRISES OF
                          NEVADA
       2018022076-        CASH OR                   4555 E. CHARLESTON             LAS VEGAS       NV      89104       UCC
       4                  PAYMENTS AUTO             BLVD #108
                          SALES
       2018025142-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS      67205       UCC
       8                  LLC
       2018030617-        CASHMAN                   3300 ST. ROSE PARKWAY          HENDERSON       NV      89052       UCC
       2                  EQUIPMENT
                          COMPANY
       2018039501-        CASH FLOW                 3150 SOUTH NELLIS              LAS VEGAS       NV      89121       UCC
       6                  TRANSPORTATION            BOULEVARD
                          LLC
       2019003074-        CASHMAN PHOTO             3660 MORGAN CASHMANS           LAS VEGAS       NV      89103       UCC
       9                  ENTERPRISES OF            WAY
                          NEVADA
       2019003074-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV      89103       UCC
       9                  PROFESSIONAL,             WAY
                          INC.
       2019003074-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV      89103       UCC
       9                  ENTERPRISES,              WAY
                          INC.
       2019003074-        CASH PHOTO                3660 MORGAN CASHMANS           LAS VEGAS       NV      89103       UCC
       9                  ENTERPRISES OF            WAY
                          NEVADA
       2019014162-        CASH OR                   4555 E CHARLESTON BLVD         LAS VEGAS       NV      89104       UCC
       9                  PAYMENTS AUTO             STE 108
                          SALES
       2019018165-        CASHMON,                  950 SILVERBELL RIDGE ST        HENDERSON       NV      89014       UCC
       9                  EDWARD
       2019022583-        CASHMON,                  1944 SAYLOR WAY                LAS VEGAS       NV      89108       UCC
       1                  GERTRUDE
       2019031578-        CASH BROTHERS             101 CONVENTION CENTER          LAS VEGAS       NV                  UCC
       1                  LLC                       DRIVE STE 700
       2019041564-        CASHMAN                   3300 ST ROSE PKWY              HENDERSON       NV                  UCC
       5                  EQUIPMENT
                          COMPANY
       2019041827-        CASH ON CASH              848 N RAINBOW BLVD 1579        LAS VEGAS       NV                  UCC
       6                  ENTERPRISES,
                          LLC
       2019043458-        CASH VISION               5053 AUBURN SKYLINE ST.        LAS VEGAS       NV                  UCC
       5                  ENTERPRISES
       2019043458-        CASH VISION               5053 AUBURN SKYLINE ST.        LAS VEGAS       NV                  UCC
       5                  ENTERPRISES
                          LLC
       2019047035-        CASHMAN PHOTO             3580 POLARIS AVE               LAS VEGAS       NV                  UCC
       0                  ENTERPRISES OF
                          NEVADA
       2019053433-        CASH NETWORK,             118 W WINCHESTER               MURRAY          UT                  UCC
       8                  LLC                       STREET STE 201
       2020085116-        CASH OR                   4555 E CHARLESTON BLVD         LAS VEGAS       NV                  UCC
       4                  PAYMENTS AUTO             108
                          SALES
       2020090262-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS                  UCC
       1                  LLC
       2020092425-        CASHMAN PHOTO             3660 MORGAN CASHMANS           LAS VEGAS       NV                  UCC
       8                  ENTERPRISES OF            WAY
                          NEVADA
       2020094865-        CASH KAO LLC              467 E SILVERADO RANCH          LAS VEGAS       NV                  UCC
       0                                            BLVD STE 100
       2020096833-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV                  UCC
       1                  PROFESSIONAL,             WAY
                          INC.
       2020104284-        CASH NOW LLC              4040 W CRAIG ROAD 113          NORTH LAS       NV                  UCC
       9                                                                           VEGAS
       2020113647-        CASH, MARISSA             7736 GOLDEN FILL ST            LAS VEGAS       NV      891314683   UCC
       7


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       2020117722-        CASHMAN,                  2200 PURPLE MAJESTY CT         LAS VEGAS       NV                  UCC
       3                  MORGAN
       2020120389-        CASHMAN                   3300 SAINT ROSE PKWY           HENDERSON       NV                  UCC
       9                  EQUIPMENT
                          COMPANY
       2020120534-        CASH, VIA                 7329 VISTA GRANDE DRIVE        LAS VEGAS       NV                  UCC
       6
       2020121728-        CASH INC                  236 PALMETTO POINTE DR         HENDERSON       NV                  UCC
       7
       2020133779-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV                  UCC
       7                  PROFESSIONAL,             WAY
                          INC.
       2020133779-        CASHMAN PHOTO             3660 MORGAN CASHMANS           LAS VEGAS       NV                  UCC
       7                  ENTERPRISES OF            WAY
                          NEVADA
       2020133779-        CASHMAN                   3660 MORGAN CASHMANS           LAS VEGAS       NV                  UCC
       7                  ENTERPRISES,              WAY
                          INC.
       2021151775-        CASH ON CASH              3773 HOWARD HUGHES             LAS VEGAS       NV                  UCC
       0                  ENTERPRISES,              PKWY STE 500S
                          LLC
       2021152915-        CASH, STEVE               1410 W BELL VISTA AVE          PAHRUMP         NV      890602438   UCC
       0
       2021158998-        CASHGRAB INC              4944 CROOKED STICK WAY         LAS VEGAS       NV                  UCC
       0
       2021170354-        CASH CLINICAL,            2310 S CARSON ST STE 7A        CARSON          NV      897014529   UCC
       0                  INC.                                                     CITY
       2021172886-        CASH ON CASH              3773 HOWARD HUGHES             LAS VEGAS       NV                  UCC
       4                  ENTERPRISES,              PKWY STE 500S
                          LLC
       2021176553-        CASHGRAB INC              4944 CROOKED STICK WAY         LAS VEGAS       NV                  UCC
       1
       2021185105-        CASH COLORADO,            3527 NORTH RIDGE ROAD          WICHITA         KS                  UCC
       5                  LLC
       2021197777-        CASHMAN                   6265 & 6295 S. PIONEER         LAS VEGAS       NV                  UCC
       8                  ENTERPRISES,              WAY
                          INC.
       2021197777-        CASHMAN PHOTO             6265 & 6295 S. PIONEER         LAS VEGAS       NV                  UCC
       8                  ENTERPRISES OF            WAY
                          NEVADA
       2021197777-        CASHMAN                   6265 & 6295 S. PIONEER         LAS VEGAS       NV                  UCC
       8                  PROFESSIONAL,             WAY
                          INC.
       2021197777-        CASHMAN PHOTO             6265 & 6295 S. PIONEER         LAS VEGAS       NV                  UCC
       8                  PROPERTIES, LLC           WAY
       2021198976-        CASHGRAB, INC             8925 W FLAMINGO RD             LAS VEGAS       NV                  UCC
       4                                            UNIT 227
       2021199017-        CASH2GO, INC              1005 EAGLEWOOD DR              LAS VEGAS       NV                  UCC
       7
       2022217844-        CASH ON CASH              3773 HOWARD HUGHES             LAS VEGAS       NV                  UCC
       9                  ENTERPRISES,              PKWY STE 500S
                          LLC
       2022242020-        CASHMAN                   3300 ST ROSE PARKWAY           HENDERSON       NV                  UCC
       0                  EQUIPMENT
                          COMPANY
       2022246509-        CASH ON CASH              3773 HOWARD HUGHES             LAS VEGAS       NV                  UCC
       9                  ENTERPRISES,              PKWY STE 500S
                          LLC
       2022264658-        CASH, DONNA               6309 SANTA MARIA AVE           LAS VEGAS       NV      891083313   UCC
       7
       2022267598-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH                  UCC
       1                  LLC                       SUITE 100
       2022267600-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH                  UCC
       5                  LLC                       SUITE 100
       2022267601-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH                  UCC
       4                  LLC                       SUITE 100
       2022267603-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH                  UCC

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       2                  LLC                       SUITE 100
       2022267605-        CASH COLORADO,            5165EMERALD PARKWAY,           DUBLIN          OH               UCC
       0                  LLC                       SUITE 100
       2022269026-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH               UCC
       3                  LLC                       SUITE 100
       2022269027-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH               UCC
       2                  LLC                       SUITE 100
       2022269044-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH               UCC
       9                  LLC                       SUITE 100
       2022269184-        CASH COLORADO,            5165 EMERALD PARKWAY,          DUBLIN          OH               UCC
       6                  LLC                       SUITE 100
       9615064            CASHMAN                   3660 CINDER LANE               LAS VEGAS       NV      89103    UCC
                          ENTERPRISES,
                          INC.
       9615064            CASHMAN PHOTO             3660 CINDER LN                 LAS VEGAS       NV      89103    UCC
                          ENTERPRISES INC
       9615064            CASHMAN PHOTO             3660 CINDER LN                 LAS VEGAS       NV      89103    UCC
                          ENTERPRISES OF
                          NEVADA




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                                                                   Filed On
                                                                   November 20, 2020 10:00 AM
                                                                   Number of Pages
                                         Secretary of State        10
                                         State Of Nevada
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                                         Filed in the Office of    Initial Filing Number
                                                                   2022242595-7
                                                                   Filed On
                                                                   April 25, 2022 10:00 AM
                                                                   Number of Pages
                                         Secretary of State        36
                                         State Of Nevada
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Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 75 of 217
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Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 84 of 217
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 85 of 217
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Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 89 of 217
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Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 94 of 217
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 %DQN&RQWDFWV

First Name         Last Name            Accounts Status             Email                 Phone Number
Christopher        McAlary              All Access-signer ability   chris@coin.cloud
Jim                Hall                 All Access-signer ability   jim.hall@coin.cloud   702-283-2051



Bank Name           Bank phone number   First Name                  Last Name             Role           Email                              Individual phone number Bank Fax Number Bank Address                             Address Description Bank Description
Surety Bank         386-734-1647        Ryan                        James                 President      rjames@mysuretybank.com                                                    990 N Woodland Blvd. De Land, FL 32720   Head Office         Bank is headquartered in Florida, with one additional branch office in another state.
Surety Bank                             Drew                        Gerhart               Everything     dgerhart@mysuretybank.com
Surety Bank                             Suzette                     Hill                  Loan related   shill@mysuretybank.com
The Commercial Bank 706-743-8184        Andy                        Thomas                President      athomas@thecommercialbank.net                                               102 N Church St. Crawford, GA 30630     Head Office            Bank is headquartered in Georgia, with three additional branch offices in other states.
The Commercial Bank                     Will                        Thornhill             Everything     wthornhill@thecommercialbank.net   706-743-7821
PeopleFirst Bank   815-207-6200         Matt                       Bibo                   President      mbibo@peoplefirstbank.com                                  (815) 207-8049   3100 Theodore St, Joliet, IL            Head Office            Bank is headquartered in Illinoi, with one additional branch offices in another states.
PeopleFirst Bank                        Joseph                     Nowdomski              Everything     JNowdomski@peoplefirstbank.com 815-207-6208
                                        <<Illustrative Placeholder
                                        <<Illustrative Placeholder
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Bank Name             Account Number Purpose of Account                                                                                                                                                                                                                           Money In Accounts 2/3/2023
Surety Bank               1962024665 Operating account. Main account that is used. Generally, funds flow in from armored carriers. Wires for inventory purchase, private client desk transactions, professionals. Any kind of wire comes out of this account. Loomis only.                        $26,634.32
                         Payroll account. Funded from -4665                                                                                                                                                                                                                           $158,889.56
                         Accounts Payable Account. Any time checks are issued they come from this account. Weekly AP transfer funds from 4665 to cover checks. Typically for vendor services.                                                                                           $52,266.34
                           1962044804 Trust Account. Machines in NV need to be deposited into a specific account. Then it is swept over to -4665                                                                                                                                                   $1,395.00
                           1962049993 Extra account with zero activity. Never been used.                                                                                                                                                                                                               $0.00
The Commercial Bank            543844 Main Operating Account. Brinks and Loomis. Similar in purpose to SB4665, but w/ geographical difference.                                                                                                                                                    $36,206.37
                               543833 Accounts Payable Account. Similar in purpose to SB4699, but w/ geographical difference.                                                                                                                                                                     $60,967.04
                               543855 Spare account with $10 never used.                                                                                                                                                                                                                             $386.49
                               543866 Less than $400 balance. Just an extra account.                                                                                                                                                                                                                  $10.00
PeopleFirst Bank              1036240 Backup account; few deposits. From armored carriers. Deposit account for armored carriers have vaults with certain carriers and certain regions. Very few machines in that area. Just left here or may move to main accounts with surety.                   $71,964.72

                              2/3/2023
Cash in Machines            $5,200,000 <<Illustrative Placeholder
Cash in Transit             $3,000,000 <<Illustrative Placeholder
                                                                                                                                                                                                                                                                                                               Case 23-10423-mkn
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asset_id type native_balance conversion_currency conversion_price fiat_balance date_of_balance
AMP      crypto      0.453941 USD                 $          0.00 $           - 2023-02-03T20:09:00.554Z
ATOM crypto          0.079792 USD                 $         14.86 $       1.19 2023-02-03T20:09:00.554Z
BTC      crypto      0.000068 USD                 $     23,475.16 $       1.59 2023-02-03T20:09:00.554Z
DOGE     crypto 6,812.839500 USD                  $          0.09 $ 624.11 2023-02-03T20:09:00.554Z
ETH      crypto      0.080347 USD                 $      1,649.50 $ 132.53 2023-02-03T20:09:00.554Z
MATIC crypto         0.041543 USD                 $          1.20 $       0.05 2023-02-03T20:09:00.554Z
RBN      crypto      0.008793 USD                 $          0.27 $           - 2023-02-03T20:09:00.554Z
SHIB     crypto      0.878725 USD                 $          0.00 $           - 2023-02-03T20:09:00.554Z
SUSHI    crypto      0.004624 USD                 $          1.54 $       0.01 2023-02-03T20:09:00.554Z
UNI      crypto      0.000001 USD                 $          7.11 $           - 2023-02-03T20:09:00.554Z
USD      fiat        0.007787 USD                 $          1.00 $       0.01 2023-02-03T20:09:00.554Z
USDC     crypto      0.000000 USD                 $          1.00 $           - 2023-02-03T20:09:00.554Z
USDT     crypto      0.007770 USD                 $          1.00 $       0.01 2023-02-03T20:09:00.554Z
YFI      crypto      0.000001 USD                 $      7,726.05 $           - 2023-02-03T20:09:00.554Z
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DeFi Portfolio- A portfolio of crypto assets the company owns. We manage/fund these
portfolios from our own company treasury.

Ethereum Wallet Addresses
0xd50f649a2c9fd7ae88c223da80e985d71de45593
0x2fbb88ec97c4ffc513c837c566d801b368aa671e
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Note- disregard the machines labeled “Wearhouse” in the CC Inventory Assets file. Due to our
inventory moving I have provided 4 files with our wearhouse addresses and total number of
machines in those warehouses.
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Sloan Warehouse
13850 Decatur
Sloan, NV 89054
699 Machines

HQ
10190 Covington Cross
Las Vegas, NV 89144
336 Machines
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Red Tag
150909 150909       2022-01-20 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150914 150914       2022-01-20 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151055 151055       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151048 151048       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151050 151050       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151057 151057       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151085 151085       2022-01-26 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151083 151083       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151098 151098       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151079 151079       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151120 151120       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151116 151116       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151117 151117       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151115 151115       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151114 151114       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151110 151110       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151140 151140       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151133 151133       2022-01-26 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151195 151195       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151173 151173       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151160 151160       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151156 151156       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151161 151161       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151183 151183       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151234 151234       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151242 151242       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151239 151239       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151240 151240       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151244 151244       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151245 151245       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151247 151247       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151246 151246       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151250 151250       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151228 151228       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151220 151220       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151226 151226       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151231 151231       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151199 151199       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151230 151230       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151238 151238       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151237 151237       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151209 151209       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151219 151219       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151212 151212       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151218 151218       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151217 151217       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151216 151216       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151221 151221       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151222 151222       2022-01-28 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151273 151273       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151274 151274       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151267 151267       2022-01-31 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151269 151269       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151259 151259       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151255 151255       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151252 151252       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151207 151207       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151211 151211       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151210 151210       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151205 151205       2022-01-31 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151265 151265       2022-02-01 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151262 151262       2022-02-01 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151260 151260       2022-02-01 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151258 151258       2022-02-01 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151285 151285       2022-02-01 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151316 151316       2022-02-02 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151268 151268       2022-02-02 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151311 151311       2022-02-03 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151317 151317       2022-02-03 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151362 151362       2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150995 150995       2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151008 151008       2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
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151345 151345           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151342 151342           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151352 151352           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151035 151035           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151029 151029           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151033 151033           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151377 151377           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151376 151376           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151380 151380           2022-02-14 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151409 151409           2022-02-15 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151320 151320           2022-02-15 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151327 151327           2022-02-15 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151325 151325           2022-02-15 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151334 151334           2022-02-15 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151322 151322           2022-02-18 2022.02.24 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150676 150676           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150674 150674           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151028 151028           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151020 151020           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151016 151016           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151010 151010           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150994 150994           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150990 150990           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150996 150996           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151001 151001           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150665 150665           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151011 151011           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150669 150669           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150671 150671           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151005 151005           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151007 151007           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151006 151006           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151392 151392           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151399 151399           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151398 151398           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151396 151396           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151401 151401           2022-02-18 2022.02.23 08:00:00 DLI Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
151402 151402           2022-02-18 2022.02.23 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150725 150725                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150726 150726                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150723 150723                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150803 150803                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150783 150783                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150793 150793                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150794 150794                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150750 150750                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150837 150837                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150834 150834                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150835 150835                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150832 150832                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150842 150842                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150844 150844                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150831 150831                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150838 150838                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150856 150856                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150852 150852                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150853 150853                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150855 150855                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150850 150850                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150848 150848                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150731 150731                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150796 150796                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150808 150808                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150809 150809                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150798 150798                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150759 150759                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150758 150758                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150760 150760                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150762 150762                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150763 150763                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150765 150765                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150764 150764                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150768 150768                      2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
          Case 23-10423-mkn   Doc 36-2          Entered 02/08/23 19:55:21                        Page 110 of 217


150767 150767                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150771 150771                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150769 150769                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150770 150770                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150772 150772                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150774 150774                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150777 150777                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150776 150776                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150775 150775                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150828 150828                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150827 150827                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150830 150830                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150824 150824                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150829 150829                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150825 150825                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150813 150813                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150822 150822                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150814 150814                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150815 150815                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150820 150820                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150812 159812                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150816 150816                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150818 150818                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
150819 150819                  2022.02.25 08:00:00 TG Sloan, NV RED TAG. No CCOS. No Router. No New Camera. Flashed & Hardware Kitted
             Case 23-10423-mkn                   Doc 36-2                 Entered 02/08/23 19:55:21                                     Page 111 of 217


Green Tag
150871    150871   1222000488079   2021-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150872    150872   1222000485921   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150873    150873   1222000486181   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150874    150874   5121000361428   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150875    150875                   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150877    150877                   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150878    150878   1222000486211   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150894    150894   4921000349251   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150899    150899   1222000486081   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150861    150861   5121000362314   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150864    150864   5121000362950   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150865    150865   5121000362279   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150866    150866   1222000487994   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150867    150867                   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150868    150868                   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150869    150869   1222000488066   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150892    150892   1222000488316   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150888    150888   5121000362151   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150886    150886   1222000488237   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150885    150885   1222000488053   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150884    150884   4921000349474   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150880    150880   1222000488214   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150879    150879                   2022-01-19 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150924    150924   5121000362941   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150923    150923   4921000348779   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150922    150922   1222000485497   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150900    150900   1222000488083   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150904    150904   1222000486922   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150906    150906   1222000486221   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150907    150907   1222000486611   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150934    150934                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150930    150930   5121000361437   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150929    150929   1222000483391   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150928    150928                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150926    150926   4921000348183   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150927    150927                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150908    150908   1222000488094   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150910    150910   1222000485314   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150915    150915   1222000483433   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150913    150913   4921000348108   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150916    150916   5121000362002   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150918    150918   1222000488168   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150919    150919   5121000356814   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150920    150920   1222000488132   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150955    150955   5121000362217   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150954    150954   1222000488037   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150953    150953                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150949    150949   1222000486068   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150950    150950                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150948    150948   1222000488258   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150947    150947   1222000488056   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150941    150941   5121000362449   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150940    150940                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150937    150937                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150971    150971   4821000336459   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150968    150968   4921000348765   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150965    150965   1222000488216   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150964    150964   5821000336680   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150963    150963                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150962    150962   4821000339746   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150961    150961   1222000486604   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150960    150960   5121000362284   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150959    150959   1222000488030   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150987    150987   1222000486757   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150984    150984                   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150985    150985   4921000347986   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150983    150983   1222000486230   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150978    150978   1222000484005   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150977    150977   4921000347574   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150976    150976   1222000488305   2022-01-20 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151067    151067   4821000335942   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151063    151063   5121000362136   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151064    151064   5121000356826   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151065    151065   4821000338385   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151058    151058   354440452       2022-01-26 2022.05.27 07:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151059    151059   5121000362332   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151053    151053                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151054    151054   5121000356840   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151049    151049                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151043    151043   1222000486196   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151045    151045   1222000484363   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151039    151039   1222000488116   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151062    151062   1222000483488   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151066    151066                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151072    151072   4921000349757   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151082    151082                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
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151061   151061                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151046   151046   5121000362946   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151047   151047   1222000486399   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151080   151080   4921000348113   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151036   151036   4921000348868   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151037   151037   4921000347707   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151089   151089   1222000488211   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151090   151090   5121000362277   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151092   151092   5121000361850   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151086   151086   1222000483415   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151093   151093   1222000483456   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151108   151108   1222000486085   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151106   151106   4921000349089   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151101   151101   4921000349050   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151099   151099   5121000361513   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151105   151105   1222000484011   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151100   151100   1222000488310   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151052   151052   1222000484016   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151075   151075   1222000488040   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151130   151130   5121000362953   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151127   151127                   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151129   151129   1222000487431   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151124   151124   5121000362308   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151123   151123   1222000484509   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151122   151122   4921000349050   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151119   151119   1222000488202   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151118   151118   1222000485322   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151121   151121   1222000483947   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151111   151111   1222000486148   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151113   151113   1222000485254   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151112   151112   1222000485883   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151141   151141   1222000486105   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151138   151138   1222000488318   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151132   151132   1222000488045   2022-01-26 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151188   151188   1222000485718   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151203   151203   1222000488719   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151189   151189                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151186   151186   1222000488326   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151187   151187                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151193   151193   4921000347723   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151198   151198                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151249   151249   T06235          2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151142   151142   4821000362472   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151248   151248   1222000488204   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151154   151154   1222000488071   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151166   151166                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151171   151171   1222000488200   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151165   151165   382060048       2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151170   151170   5121000362291   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151169   151169                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151176   151176   5121000362293   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151177   151177   5121000362155   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151163   151163   1222000485733   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151164   151164   1222000485742   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151157   151157   1222000488302   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151159   151159   1222000487998   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151153   151153                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151143   151143   1222000487224   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151146   151146   1222000486104   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151182   151182   1222000486124   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151180   151180   1222000486942   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151196   151196   1222000488064   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151174   151174   4821000339740   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151184   151184   4921000349230   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151202   151202   4921000349576   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151235   151235   1222000485895   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151243   151243   4821000339764   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151241   151241   1222000488059   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151251   151251   1222000485179   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151227   151227                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151224   151224   1222000488062   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151225   151225   1222000486187   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151232   151232   1222000486397   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151233   151233   1222000485629   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151229   151229   1222000488086   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151204   151204                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151215   151215   1222000484004   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151213   151213   1222000485274   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151214   151214   1222000487996   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151223   151223                   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151191   151191   5121000362500   2022-01-28 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151263   151263   1222000486769   2022-01-31 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151257   151257   1222000488137   2022-01-31 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151206   151206   1222000487984   2022-01-31 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151256   151256   1222000485325   2022-02-01 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151254   151254   5121000362164   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151299   151299   5121000362237   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
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151253   151253   4921000351197   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151300   151300   4821000339724   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151295   151295                   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151270   151270   4921000348865   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151277   151277   1222000486621   2022-02-01 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151315   151315                   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151291   151291   4121000356665   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151301   151301   5121000362501   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151287   151287   1222000486193   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151292   151292   1222000486616   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151275   151275   1222000485348   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151297   151297   5121000356828   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151280   151280   1222000488256   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151279   151279   4821000336485   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151284   151284   1222000488075   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151283   151283   4921000348761   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151272   151272   1222000486143   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151271   151271                   2022-02-02 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151307   151307   1222000485367   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151305   151305   1222000488008   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151303   151303   1222000488097   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151313   151313   1222000486369   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151304   151304   1222000485917   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151312   151312   1222000485897   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151302   151302   1222000484364   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151310   151310   1222000485754   2022-02-03 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151361   151361   4921000348000   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151371   151371   1222000483728   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150992   150992   4921000348859   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150997   150997                   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150999   150999   4921000347697   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151000   151000   1222000483384   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151337   151337   1222000485782   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151347   151347   4921000348276   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151343   151343   1222000487992   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151353   151353   1222000486370   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150657   150657   1222000488308   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150679   150679   1222000488078   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151031   151031   5121000362215   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151013   151013                   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151019   151019   5121000361982   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151023   151023   1222000486135   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151367   151367                   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151368   151368   1222000488215   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151375   151375   1222000485927   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151374   151374   1222000485893   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151382   151382   3421000825068   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151383   151383   1222000486627   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151354   151354   4921000349763   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151364   151364   1222000483735   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151381   151381   5121000361979   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151372   151372   1222000488250   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151349   151349   1222000486220   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151350   151350   4921000348884   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151348   151348   1222000486130   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151358   151358   1222000487999   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151359   151359   1222000488011   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151357   151357   1222000488229   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151355   151355   1222000486231   2022-02-14 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151410   151410   4821000336437   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151321   151321   1222000488323   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151319   151319   1222000488074   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151318   151318   5121000362472   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151326   151326   4921000347720   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151329   151329   1222000488252   2022-02-15 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151412   151412   4921000348222   2022-02-18 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150656   150656   1222000484389   2022-02-18 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150678   150678   4921000348798   2022-02-18 2022.02.24 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151034   151034   1222000488017   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151030   151030   1222000488236   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151026   151026   1222000487978   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151024   151024   1222000488013   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151022   151022   5121000362160   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151018   151018   1222000486619   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150998   150998   1222000488034   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151002   151002   1222000488262   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151003   151003   1222000488312   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151009   151009   1222000488036   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151397   151397   1222000486197   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151404   151404                   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151405   151405                   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
151406   151406   4921000348872   2022-02-18 2022.02.23 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150715   150715   4921000347554              2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150748   150748   4921000349175              2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150737   150737   5121000362260              2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150747   150747   5121000362289              2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150754   150754                              2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
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150752   150752   5121000361549    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150717   150717   4821000339488    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150753   150753   5121000362302    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150716   150716   1222000486072    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150728   150728   4921000349020    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150724   150724   5121000362143    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150735   150735   1222000488057    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150801   150801   1222000485513    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150802   150802   4921000349669    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150804   150804   1222000488224    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150807   150807   4921000347714    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150782   150782   1222000488039    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150785   150785   1222000488099    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150791   150791                    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150788   150788   4921000348348    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150792   150792   4921000347704    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150859   150859   1222000486618    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150833   150833   1222000486945    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150840   150840   81222000485732   2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150839   150839   5121000362166    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150843   150843   1222000486923    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150845   150845   1222000488098    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150847   150847   4921000348034    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150751   150751   1222000488264    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150857   150857   1222000486154    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150846   150846   1222000483908    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150739   150739   4921000349059    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150746   150746   1222000485515    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150797   150797   1222000486116    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150800   150800   1222000488026    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150757   150757   1222000488085    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150761   150761   1222000483432    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150773   150773   1222000486764    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150826   150826   1222000486109    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150823   150823   4921000347555    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150817   150817   1222000484233    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150811   150811   5121000362181    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
150810   150810   1222000488139    2022.02.25 08:00:00   Other Sloan, NV GREEN TAG. Loaded CCOS Front & Back End. Camera Kit Installed. Opt Connect Neo 2 Install. Parked
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Blue Tag
150526     150526   2021.11.19 16:10:56 T05325   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150523     150523   2021.11.19 16:15:37 T04498   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150528     150528   2021.11.19 16:18:58 T04487   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150599     150599   2021.11.19 16:20:10 T04497   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150597     150597   2021.11.19 16:20:43 T04488   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150598     150598   2021.11.19 16:21:09 T05323   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150600     150600   2021.11.19 16:22:33 T05498   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150602     150602   2021.11.19 16:23:01 T05524   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150601     150601   2021.11.19 16:23:30 T05520   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150524     150524   2021.11.19 16:23:55 T05518   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150525     150525   2021.11.19 16:25:09 T05507   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150527     150527   2021.11.19 16:25:41 T04478   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150589     150589   2021.11.19 17:37:53 T05411   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150596     150596   2021.11.19 16:42:12 T05314   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150595     150595   2021.11.19 16:43:13 T05402   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150582     150582   2021.11.19 16:44:06 T05396   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150583     150583   2021.11.19 16:45:07 T05400   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150529     150529   2021.11.19 16:46:05 T04506   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150530     150530   2021.11.19 16:46:57 T05333   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150593     150593   2021.11.19 17:12:39 T05397   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150592     150592   2021.11.19 17:14:08 T05322   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150591     150591   2021.11.19 17:27:20 T05394   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150586     150586   2021.11.19 17:35:59 T05514   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150587     150587   2021.11.19 17:34:14 T05512   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150577     150577   2021.11.19 22:16:48 T05515   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150572     150572   2021.11.19 18:16:45 T05390   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150575     150575   2021.11.19 18:17:55 T04502   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150580     150580   2021.11.19 19:25:18 T04504   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150574     150574   2021.11.19 22:21:39 T05508   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150609     150609   2021.11.29 20:52:00 T04514   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150585     150585   2021.11.19 21:27:22 T05378   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150634     150634   2021.11.29 21:30:00 T05418   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150633     150633   2021.11.29 21:32:00 T05448   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150632     150632   2021.11.29 21:42:00 T05376   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150631     150631   2021.11.29 21:33:00 T05444   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150630     150630   2021.11.29 21:34:00 T05414   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150629     150629   2021.11.29 21:35:00 T05415   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150628     150628   2021.11.29 20:50:00 T05432   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150641     150641   2021.11.29 21:48:00 T05386   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150640     150640   2021.11.29 21:48:00 T05433   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150639     150639   2022.02.18 08:00:00 T05436   2021-10-252022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150638     150638   2021.11.29 21:50:00 T05403   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150637     150637   2021.11.29 21:51:00 T05424   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150636     150636   2021.11.29 21:51:00 T05385   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150590     150590   2021.11.19 22:12:48 T05309   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150576     150576   2021.11.19 22:17:48 T05504   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150573     150573   2021.11.19 22:20:35 T05513   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150581     150581   2021.11.19 22:22:40 T05510   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150588     150588   2021.11.19 22:23:28 T05381   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150578     150578   2021.11.19 22:25:12 T04513   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150579     150579   2021.11.19 22:27:44 T05319   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150604     150604   2021.11.19 22:46:49 T05310   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150627     150627   2021.11.29 22:48:00 T05291   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150603     150603   2021.11.23 20:45:06 T05345   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150605     150605   2021.11.19 20:46:00 T05318   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150606     150606   2021.11.29 20:47:00 T05413   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150607     150607   2021.11.29 20:48:00 T05375   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150608     150608   2021.11.29 20:49:00 T05357   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150565     150565   2021.11.23 20:53:24 T05463   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150584     150584   2021.11.23 20:57:20 T05516   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150594     150594   2021.11.23 20:59:10 TO5407   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150566     150566   2021.11.23 21:24:21 T05454   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150567     150567   2021.11.23 21:25:34 T05543   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150568     150568   2021.11.23 21:27:17 T05540   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150559     150559   2021.11.23 22:34:59 T05542   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150558     150558   2021.11.23 22:36:09 T05537   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150650     150650   2021.11.23 22:37:43 T05483   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150649     150649   2021.11.23 22:39:53 T05492   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150648     150648   2021.11.23 22:41:21 T05478   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150647     150647   2021.11.23 22:42:02 T05484   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150646     150646   2021.11.23 22:43:28 T05479   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150644     150644   2021.11.23 22:44:18 T05429   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150654     150654   2021.11.23 22:45:33 T05490   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150534     150534   2021.11.29 22:15:43 T05517   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150535     150535   2021.11.29 22:16:47 T05496   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150542     150542   2021.11.29 22:17:28 T05364   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150541     150541   2021.11.29 22:18:04 T05377   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150540     150540   2021.11.29 22:18:38 T05369   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150539     150539   2021.11.29 22:19:17 T05366   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150538     150538   2021.11.29 22:19:56 T05519   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150537     150537   2021.11.29 22:20:42 T05523   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
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150550   150550   2021.11.29 22:21:38 T05365   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150549   150549   2021.11.29 22:24:00 T05380   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150548   150548   2021.11.29 22:24:52 T05399   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150547   150547   2021.11.29 22:25:49 T04512   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150546   150546   2021.11.29 22:26:22 T05368   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150642   150642   2021.11.30 19:49:37 T05416   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150651   150651   2021.12.01 15:30:10 T05480   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150545   150545   2021.12.01 15:32:17 T05398   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150652   150652   2021.12.01 15:34:25 T05481   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150653   150653   2021.12.01 15:35:33 T05485   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150544   150544   2021.12.01 15:36:12 T05313   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150556   150556   2021.12.01 15:36:51 T05311   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150557   150557   2021.12.01 15:37:21 T05361   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150643   150643   2021.12.01 16:01:27 T05421   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150570   150570   2021.12.01 16:04:15 T05546   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150569   150569   2021.12.01 16:05:13 T05544   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150560   150560   2021.12.01 16:06:52 T05401   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150561   150561   2021.12.01 16:08:08 T05312   2021-12-272022.03.23 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150562   150562   2021.12.01 16:09:11 T05554   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150564   150564   2021.12.01 16:27:53 T05382   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150551   150551   2021.12.01 16:27:53 T05552   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150563   150563   2021.12.01 16:29:29 T05545   2021-12-272022.03.22 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150552   150552   2021.12.01 16:34:28 T05315   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150553   150553   2021.12.01 16:35:50 T05324   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150554   150554   2021.12.01 16:37:03 T05317   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150555   150555   2021.12.01 16:37:57 T05335   2021-12-272022.03.24 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150521   150521   2021.12.01 08:00:00 T05295   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150522   150522   2021.12.01 08:00:00 T05527   2021-12-272022.03.17 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150571   150571   2021.12.01 08:00:00 T05541   2021-12-272022.03.16 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150645   150645   2021.12.01 08:00:00 T05440   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
150655   150655   2021.12.01 08:00:00 T05482   2021-12-272022.03.18 07:00:00 TG   Sloan, NV   BLUE TAG - PR   CCOS loaded. Camera Kit Installed. Opt Connect NEO 2. Parked.
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Orange Tag
147985     147985 2021.05.25 21:08:26   S97803                     2022.11.04 21:28:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
147990     147990 2021.05.25 21:11:15   S95625                     2022.10.28 21:11:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
147993     147993 2021.05.25 21:13:18   957954                     2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
147995     147995 2021.05.25 21:14:06   S97978          2022-08-30 2022.08.30 17:53:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148007     148007 2021.05.25 21:39:14   A10886          2022-09-19 2022.09.19 18:01:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148020     148020 2021.05.27 15:19:23   S98044                     2022.11.04 19:24:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148039     148039 2021.06.02 17:30:27   850419                     2022.11.04 21:13:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148046     148046 2021.06.03 19:28:26   S47417                     2022.11.04 21:13:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148050     148050 2021.06.03 19:35:56   4920000111194   2022-08-30 2022.08.30 14:02:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148043     148043 2021.06.04 19:52:50   352220245       2022-08-05 2022.08.05 20:50:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148067     148067 2021.06.04 22:09:19   534869          2022-09-19 2022.09.19 21:01:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148072     148072 2021.06.07 20:06:26   S97933          2022-09-19 2022.09.19 20:54:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148073     148073 2021.06.04 22:28:29   S63629                     2022.10.28 21:01:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148078     148078 2021.06.07 20:25:24   2521000191416              2022.10.28 21:07:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148077     148077 2021.06.07 20:26:17   4920000111210   2022-09-19 2022.09.19 21:06:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148097     148097 2021.06.07 20:51:18   941369                     2022.10.28 14:21:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148109     148109 2021.06.07 21:14:10   S63089                     2022.10.28 14:45:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148115     148115 2021.06.07 21:16:55   850054          2022-08-05 2022.08.05 14:46:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148150     148150 2021.06.09 16:12:58   S90225                     2022.10.28 13:35:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148153     148153 2021.06.09 16:47:52   354480848                  2022.11.04 13:34:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148161     148161 2021.06.09 22:15:05   S95501                     2022.10.28 13:50:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148166     148166 2021.06.09 22:20:48   323270338                  2022.10.28 13:43:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148171     148171 2021.06.10 20:31:46   354480330       2022-08-30 2022.08.30 13:47:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148182     148182 2021.06.10 21:05:17   4920000110809              2022.10.28 21:38:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148183     148183 2021.06.10 21:05:35   354440477                  2022.11.04 21:38:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148192     148192 2021.06.15 15:29:15   1821000167680              2022.11.04 21:40:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148211     148211 2021.06.14 21:04:54   3021000219856   2022-09-19 2022.09.19 14:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148230     148230 2021.06.15 21:21:03   2321000169895              2022.11.04 17:07:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148231     148231 2021.06.15 21:30:30   544631          2022-09-19 2022.09.19 16:55:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148244     148244 2021.06.16 18:24:50   358942054668380            2022.11.04 21:36:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148295     148295 2021.06.22 15:12:08   4920000111220   2022-09-19 2022.09.19 13:55:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148304     148304 2021.06.22 15:28:13   35894205198397             2022.11.04 21:02:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148359     148359 2021.06.23 20:58:43   354480161                  2022.10.28 13:53:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148397     148397 2021.06.25 14:48:42   S30560                     2022.10.28 13:53:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148438     148438 2021.06.30 14:35:06   358942054706073            2022.11.04 13:25:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148418     148418 2021.06.30 14:40:43   1821000168363              2022.11.04 13:22:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148471     148471 2021.06.30 15:52:58   3439260107                 2022.11.04 15:03:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148433     148433 2021.06.30 19:37:52   4920000109348              2022.11.04 15:02:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148501     148501 2021.07.01 19:26:26   382060537       2022-09-19 2022.09.19 14:54:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148524     148524 2021.07.02 17:35:28   1821000165404   2022-08-05 2022.08.05 13:51:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148528     148528 2021.07.02 17:38:13   382060039                  2022.10.28 13:50:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148545     148545 2021.07.06 15:19:34   2921000219082              2022.10.28 13:42:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148541     148541 2021.07.06 15:22:06   354440672                  2022.10.28 13:43:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148554     148554 2021.07.06 15:34:44   1821000167743   2022-09-19 2022.09.19 17:42:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148576     148576 2021.07.06 20:00:15   354430606       2022-09-19 2022.09.19 13:53:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148567     148567 2021.07.06 20:34:24   902782          2022-09-19 2022.09.19 13:53:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148638     148638 2021.07.09 19:57:14   4920000109875   2022-08-30 2022.08.30 13:48:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148642     148642 2021.07.09 20:53:15   4720000108776   2022-09-19 2022.09.19 13:57:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148650     148650 2021.07.09 21:39:22   S17778                     2022.10.28 13:59:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148742     148742 2021.07.14 20:13:31   4920000111364              2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148052     148052 2021.06.03 22:49:00   1222000484870              2022.11.04 22:49:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148856     148856 2021.07.16 16:12:46   S95690          2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148896     148896 2021.07.19 21:46:41   1821000168811   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148903     148903 2021.07.20 14:27:03   352220181                  2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148897     148897 2021.07.20 14:30:06   4720000108705   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148831     148831 2021.07.22 14:59:29   350100305                  2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148943     148943 2021.07.23 20:39:15   2521000190419              2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148965     148965 2021.07.26 20:08:20   3021000219765              2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
148969     148969 2021.07.27 15:42:07   2521000190270   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149011     149011 2021.07.28 16:59:08   4920000110251              2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149008     149008 2021.07.28 17:29:31   S95634          2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149057     149057 2021.07.28 20:57:55   4920000109333   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149051     149051 2021.07.28 21:27:44   4920000111247   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149052     149052 2021.07.28 21:51:02   902857                     2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149094     149094 2021.07.29 16:28:03   382060346       2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149139     149139 2021.08.02 18:06:01   901975          2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149229     149229 2021.08.03 21:00:37   S95212          2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149223     149223 2021.08.03 21:19:34   3021000219743   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149202     149202 2021.08.03 21:40:01   382060391                  2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149258     149258 2021.08.04 21:02:54   1821000168337   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149157     149157 2021.08.05 15:24:39   354440843       2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149291     149291 2021.08.05 21:34:04   4920000111236   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149328     149328 2021.08.09 16:04:30   4920000109886   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149329     149329 2021.08.09 16:04:48   354480300                  2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149312     149312 2021.08.09 19:28:23   354480072       2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149255     149255 2021.08.05 07:00:00   5121000362965   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149314     149314 2021.08.10 15:14:26   382280166                  2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149348     149348 2021.08.10 18:24:55                   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149366     149366 2021.08.10 21:57:05   S93219          2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149412     149412 2021.08.11 19:28:35   354440319       2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149399     149399 2021.08.11 20:54:00   4920000109452   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149393     149393 2021.08.11 21:02:52   1821000166684   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149428     149428 2021.08.12 20:34:16   358942054701850 2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149441     149441 2021.08.12 20:56:43   3421000257172   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149450     149450 2021.08.12 21:04:38   S47027          2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149430     149430 2021.08.13 15:35:22   4921000348860   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
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149506   149506 2021.08.17 20:51:41   1821000168073   2021-10-15 2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149636   149636 2021.08.19 15:57:03   2521000192191   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149662   149662 2021.08.19 21:25:04   S93753          2021-10-15 2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149598   149598 2021.08.20 15:23:23   358942054696928            2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149591   149591 2021.08.20 17:42:09   2521000190451   2022-09-19 2022.09.19 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149682   149862 2021.08.25 20:13:09   382280869       2021-10-15 2022.11.04 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149875   149875                       354440671       2021-10-15 2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149593   149593 2021.08.26 14:44:55   1222000484672              2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149914   149914 2021.08.26 19:27:08   3021000220248   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149732   149732 2021.08.26 21:13:23   2521000191684   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
149744   149744 2021.08.31 19:51:10   354440642       2021-10-15 2022.10.28 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
150006   150006 2021.09.02 15:30:55   2521000190723   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
150017   150017 2021.09.02 21:59:13   2921000218392   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
150020   150020 2021.09.02 22:00:18   3021000219740   2022-08-05 2022.08.05 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
150011   150011 2021.09.28 15:43:22   4920000110241   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143467   143467                       4920000109379   2022-08-05 2022.08.05 15:29:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
146439   146439                       S94895          2022-08-05 2022.08.05 15:30:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143427   143427                       1821000165797   2022-08-05 2022.08.05 15:31:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143281   143281                       2521000192113   2022-08-05 2022.08.05 15:33:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143990   143990                       354440168       2022-08-05 2022.08.05 15:34:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145586   145586                       4920000110385   2022-08-05 2022.08.05 15:35:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
146224   146224                       S95500          2022-08-05 2022.08.05 15:36:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145240   145240                       1821000167462   2022-08-05 2022.08.05 15:37:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145806   145806                       2521000198663   2022-08-05 2022.08.05 15:37:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145684   145684                       4920000109873   2022-08-05 2022.08.05 15:38:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145874   145874                       354420788       2022-08-05 2022.08.05 15:39:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145395   145395                       A11152          2022-08-05 2022.08.05 15:40:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143682   143682                       3021000220027   2022-08-05 2022.08.05 15:41:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
134672   143672                                       2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143484   143484                       4720000108504   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
147647   147647                       1821000165877   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
145232   145232                       351999098020579 2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
143678   143678                       1821000168231   2022-08-30 2022.08.30 07:00:00   Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
146105   146105                       35894205890471 2022-08-30 2022.08.30 07:00:00    Other Sloan, NV ORANGE TAG. HQ to Sloan. CCOS loaded. Camera Kit Installed. Opt Connect Neo. Parked.
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FF                          BNR              JCM                   MEI              ASPM
CC      Serial Type of Unit CC      Serial CC              Serial CC       Serial CC       Serial
TOTAL:                   24 TOTAL:        59 TOTAL:            199 TOTAL:        54 TOTAL:       0
   4534 148068 BNR             5786 149317            2387 144425    2774 145300
   5607 149138 BNR             5100 148631            2951 145602      814 142048
   4831 148362 BNR             5374 148905            4210 147744      737 142088
   5888 149419 BNR             4582 148114            2443 144483    1514 143549
   4620 148152 BNR             5445 148976            2696 145231    2097 144132
   5901 149432 BNR             5105 148636            3912 146492 NA       141935
   5879 149410 BNR             5677 149208            3228 145901      861 142179
   5814 149345 BNR             4553 148085            3394 145876    1791 143826
   5015 148546 BNR             5115 148646            2971 145626    1543 143578
   6058 149589 BNR             5425 148956            3240 145765    1605 142051
   5127 148658 BNR             5611 149142            3202 145836      733 142107
   4637 148169 BNR             5347 148878 NA              141934    1826 143861
   5097 148628 BNR             6485 150016            2573 145141    1685 143720
   5658 149189 BNR             4963 148494            4040 147574      800 142155
   4934 148465 BNR             5131 148662            3186 145841    2342 144295
   5584 149115 BNR             4659 148190            3650 146223      734 142097
   6096 149627 BNR             5938 149469            3312 145958    2271 144306
   5286 148817 BNR          n/a     150614            1604 143639    2251 144307
   5188 148719 BNR             5766 149297            2582 145249      717 142106
   6407 149938 BNR             5670 149201            3376 146007      732 142090
   5729 149260 BNR             4590 148122            4238 147772    2246 144319
   4730 148261 BNR             4705 148236            1181 143216    1517 143552
   4510 148044 BNR             5503 149034            1260 143295    2350 144392
   4895 148426 BNR             4524 148058            1076 143111      723 141997
                               4662 148193            2385 144426    2065 144100
                               5686 149217            1067 143102    1793 143828
                               5976 149507            1434 143169    2189 144224
                               5502 149033            1108 143143    2331 144284
                               5453 148984            3196 145830    2256 144382
                               4510 148044            1268 143303      777 141938
                               4669 148200            1259 143294    2221 144256
                               4408 147942            3007 145627      752 142187
                               6845 150376            1403 143438    4375 147909
                               4895 148426            4060 147594    2248 144316
                               4956 148487            1196 143231    2033 144068
                               4471 148005            4029 147563    1567 143602
                               4990 148521            3785 146442      826 142025
                               4730 148261            1412 143447    1786 143821
                               5246 148777            3522 146054      837 142053
                               4607 148139            2672 145356    2198 144233
                               5070 148601            1115 143150      714 142092
                               6445 149976             999 143034    2088 144123
                               5542 149073            4336 147900    1577 143612
                               6109 149640            4251 147785    2234 144266
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                  5348 148879         3963 146543   2162 144197
                  4841 148372         3966 147500   1506 143541
                  4545 148079         2568 145129   1772 143807
                  5909 149440         2229 144262   1524 143559
                  5451 148982         2751 145285    889 142175
                  4487 148021         3262 145908   2190 144225
                  4432 147966         2772 145282   2261 144379
                demo 111111           3306 145774   2258 144371
                  6205 149736         3786 146441    745 142185
                  4530 148064         3995 147530   1538 143573
                  5846 149377         2168 144203
                  5373 148904         4346 147880
                  4813 148344         1730 143765
                  4632 148164         3265 145824
                  6220 149751         3274 145773
                                      2976 145549
                                      2032 144067
                                      2627 145150
                                      2545 145105
                                      2642 145268
                                      4229 147763
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                                      3609 146200
                                      3903 146470
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                                      2376 144402
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                                     3238 145911
                                     3000 145542
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                                     2529 145050
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                               N/A        145069
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                                     2137 144172
                                     2411 144442
                                      214 145275
                                     1863 143898
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                                     4340 147874
                                     3850 146407
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                                     1151 143186
                                     3052 145674
                                     1494 143529
                                     1091 143126
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                                     1131 143166
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                                     2099 144134
                                     2206 144241
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                                     2185 144220
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                                     1490 143525
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                                     1426 143461
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                                        3660 146226
                                        2110 144145
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                                        2544 145106
                                        1249 143284
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                                        2728 145202
                                        3329 145942
                                         987 143022
                                        2597 145261
                                        3195 145839
                                        1041 143076
                                        2878 145463
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                                     2116 144151
                                     3047 145650
                                     3680 146266
                                     4370 147904
                                     1163 143198
                                     4341 147875
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                                     1885 143920
                                     1361 143396
                                     4256 147790
       Case 23-10423-mkn        Doc 36-2    Entered 02/08/23 19:55:21       Page 124 of 217


SLABB/ TANKS         DECOM          VAULTS SPECIAL
CC           Serial CC      Serial Serial    CC      Serial Notes
TOTAL:             0 TOTAL:       0       51    3140 145709 placed in 3rd floor classroom
                                                5272 148803 placed in 3rd floor classroom
                                                2081 144116 placed in 3rd floor classroom
                                                4120 147654 JCM Test Machine (David Ellingson)
        Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 125 of 217


DATE
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Kiosk ID          Unit Type             Serial         CCOS     Opt Connect Serial #     3PL Location          Status         LID    CCWEB Banner                                   Street                              City               State   Zip           Machine Age
coincloud2149     ColeKepro 3.0        145195                         146038                                 Warehouse      146037          ATM Advisory                            9402 Uptown Drive, Suite 300        Indianapolis       IN            46256    10/2/2020
coincloud150872   ColeKepro 5.0        150872                                           Las Vegas, NV          Active       136616   136616 XWA International Airport               14127 Jensen Ln                     Williston          ND            58801    8/7/2021
coincloud4700     ColeKepro 5.0        148231                                              Sloan, NV         Warehouse      143169          Sloan                                                                                                                 8/7/2021
coincloud151038   ColeKepro 5.0        151038       151038.USA                            Sterling, VA       Warehouse                      Victory Vans                            128 Terminal Drive                  Sterling           VA            20166    8/7/2021
coincloud4832     ColeKepro 5.0        148363                         849779         Elk Grove Village, IL     Active       124295   124295 Galleria Liqueurs                       1559 N Wells St                     Chicago            IL            60610    8/7/2021
coincloud4815     ColeKepro 5.0        148346                         849786              Dayton, OH           Active       150956   150956 Minit Mart                              1970 Richmond St                    Mt Vernon          KY            40456    8/7/2021
coincloud4799     ColeKepro 5.0        148330       148330.USA        849809            Westbury, NY           Active       103211   103211 Owen Mini Mart                          163 Bridge St.                      East Winsor        CT             6088    8/7/2021
coincloud4752     ColeKepro 5.0        148283       148283.USA        849915            Shreveport, LA         Active       150652   150652 Cumberland Farms                        2012 Acushnet Ave                   New Bedford        MA             2745    8/7/2021
coincloud4983     ColeKepro 5.0        148514       148514.USA        849926             Lubbock, TX           Active       127219   127219 Toot'n Totum                            1801 S Grand                        Amarillo           TX            79103    8/7/2021
coincloud4560     ColeKepro 5.0        148092       148092.USA        849938           New Orleans, LA         Active       120428   120428 Shoppers Value Foods                    13555 Old Hammond Hwy               Baton Rouge        LA            70816    8/7/2021
coincloud4964     ColeKepro 5.0        148495                         849971           Indianapolis, IN        Active       150454   150454 Minit Mart                              709 Complex Dr                      Grand Rivers       KY            42045    8/7/2021
coincloud151197   ColeKepro 5.0        151197                                            Sterling, VA        Warehouse                      Victory Vans                            134 Terminal Drive                  Sterling           VA            20166    8/7/2021
coincloud4870     ColeKepro 5.0        148401       148401.USA        849977            Westbury, NY           Active       136710   136710 The Gallery                             278 N Deer Isle Rd                  Deer Isle          ME             4627    8/7/2021
coincloud4583     ColeKepro 5.0        148115                                              Sloan, NV         Warehouse      121906          Sloan                                                                                                                 8/7/2021
coincloud4798     ColeKepro 5.0        148329       148329.USA        850066            Westbury, NY           Active       137416   137416 Master Cut Meat Market                  175 Boston Post Rd E                Marlborough        MA             1752    8/7/2021
coincloud4493     ColeKepro 5.0        148027                         850067          Grand Rapids, MI         Active       150636   150636 Cumberland Farms                        705 Migeon Ave                      Torrington         CT             6790    8/7/2021
coincloud4762     ColeKepro 5.0        148293                         850084              Dayton, OH           Active       139992   139992 Ken's SuperFair Foods & Shell Express   756 7th St                          Britton            SD            57430    8/7/2021
coincloud4885     ColeKepro 5.0        148416       148416.USA        850085             Lubbock, TX           Active       127225   127225 Toot'n Totum                            1300 SE 10th Ave #4151              Amarillo           TX            79102    8/7/2021
coincloud4783     ColeKepro 5.0        148314       148314.USA        850111            Westbury, NY           Active       101594   101594 JV Market                               560 Washington Ave                  Chelsea            MA             2150    8/7/2021
coincloud150882   ColeKepro 5.0        150882       150882.USA        850245             Sterling, VA          Active       152103   152103 6134 Edmondson Ave                      6134 Edmondson Ave                  Catonsville        MD            21228    8/7/2021
coincloud4775     ColeKepro 5.0        148306       148306.USA        850308            Westbury, NY           Active       126513   126513 City Bubbles Laundry                    316 Warren Ave                      East Providence    RI             2914    8/7/2021
coincloud4812     ColeKepro 5.0        148343                         850310            Westbury, NY           Active       136308   136308 Harvest Market                          36 Center St                        Wolfeboro          NH             3894    8/7/2021
coincloud4978     ColeKepro 5.0        148509                         850356             Lubbock, TX           Active       127242   127242 Toot'n Totum                            5300 Canyon Dr                      Amarillo           TX            79109    8/7/2021
coincloud4641     ColeKepro 5.0        148173                         850359         Elk Grove Village, IL     Active       134741   134741 Best Wash Laundromat                    3601 Dunn Rd                        Florissant         MO            63033    8/7/2021
coincloud4896     ColeKepro 5.0        148427                         850380             Lubbock, TX           Active       127216   127216 Toot'n Totum                            5409 E Amarillo Blvd                Amarillo           TX            79107    8/7/2021
coincloud4591     ColeKepro 5.0        148123                         850468         Elk Grove Village, IL     Active       130599   130599 iWorld Everything Wireless              1221 Washington Ave                 St. Louis          MO            63103    8/7/2021
coincloud4765     ColeKepro 5.0        148296                         850471              Dayton, OH           Active       139993   139993 Ken's SuperFair Foods & Shell Express   4 E Hwy 12                          Groton             SD            57445    8/7/2021
coincloud4979     ColeKepro 5.0        158510                         850477             Lubbock, TX           Active       127221   127221 Toot'n Totum                            1735 S Nelson St                    Amarillo           TX            79103    8/7/2021
coincloud4595     ColeKepro 5.0        148127       148127.USA        850486         Elk Grove Village, IL     Active       122276   122276 Paradise City                           1780 US-183                         Elm Creek          NE            68836    8/7/2021
coincloud4878     ColeKepro 5.0        148409                         850499           San Antonio, TX         Active       135584   135584 H-E-B                                   120 E Mile 3 Rd                     Palmhurst          TX            78573    8/7/2021
coincloud4906     ColeKepro 5.0        148437       148437.USA        850506           San Antonio, TX         Active       135479   135479 H-E-B                                   2250 Boca Chica Blvd                Brownsville        TX            78521    8/7/2021
coincloud4736     ColeKepro 5.0        148267                         850514            Shreveport, LA         Active       103226   103226 City Gas                                2100 Two Notch Rd                   Columbia           SC            29204    8/7/2021
coincloud5274     ColeKepro 5.0        148805       148805.USA        850528            MAGNOLIA,TX            Active       122410   122410 ACE Cash Express                        10959 Cypress Creek Pkwy            Houston            TX            77070    8/7/2021
coincloud4914     ColeKepro 5.0        148445       148445.USA        850565             Lubbock, TX           Active       127244   127244 Toot'n Totum                            4420 S Bell                         Amarillo           TX            79109    8/7/2021
coincloud4564     ColeKepro 5.0        148096       148096.USA        850596           New Orleans, LA         Active       120431   120431 Shoppers Value Foods                    280 Main St                         Baker              LA            70714    8/7/2021
coincloud3960     ColeKepro 3.0        146540       146540.USA        850613                                   Active       125721   125721 Pwi                                     2507 W business I-10                San Simon          AZ            85632    10/2/2020
coincloud4610     ColeKepro 5.0        148142       148142.USA        850663           New Orleans, LA         Active       121912   121912 ACE                                     2222 Ambassador Caffery Pkwy        Lafayette          LA            70506    8/7/2021
coincloud4667     ColeKepro 5.0        148198       148198.USA        850665           Sacramento, CA          Active       143103   143103 Smitty's Smoke Shop                     11601 N Rodney Parham Rd #4         Little Rock        AR            72212    8/7/2021
coincloud4578     ColeKepro 5.0        148110       148110.USA        850709           New Orleans, LA         Active       141089   141089 Sullivan's Grocery                      9201 Hwy 67                         Clinton            LA            70722    8/7/2021
coincloud5050     ColeKepro 5.0        148581       148581.USA        850784           Indianapolis, IN        Active       128173   128173 Richland Mall                           2209 Richland Mall                  Mansfield          OH            44906    8/7/2021
coincloud4963     ColeKepro 5.0        148494       148494.USA        850825           Indianapolis, IN        Active       129946   129946 Barrels and Brews                       200 Burkitt Commons Ave             Nolensville        TN            37135    8/7/2021
coincloud4975     ColeKepro 5.0        148506       148506.USA        850832          Riviera Beach, FL        Active       129161   129161 Techy By Dr Phone Fix Sunrise           8359 W Sunrise Blvd                 Plantation         FL            33322    8/7/2021
coincloud4790     ColeKepro 5.0        148321       148321.USA        850876            Westbury, NY           Active       135868   135868 Orono IGA                               6 Stillwater Ave                    Orono              ME             4473    8/7/2021
coincloud4500     ColeKepro 5.0        148034                         850917          Grand Rapids, MI         Active       150632   150632 Cumberland Farms                        376 Danbury Rd                      New Milford        CT             6776    8/7/2021
coincloud4772     ColeKepro 5.0        148303       148303.USA        851022            Westbury, NY           Active       138779   138779 McKinnon's Market                       2454 Lafayette Rd                   Portsmouth         NH             3801    8/7/2021
coincloud4845     ColeKepro 5.0        148376                         851033              Dayton, OH           Active       146504   146504 Thorntons                               2291 Elkhorn Rd                     Lexington          KY            40505    8/7/2021
coincloud6551     ColeKepro 5.0        150082       150082.USA        851043           New Orleans,LA          Active       144559   144559 Vowell's Marketplace                    716 Pecan Ave                       Philadelphia       MS            39350    8/7/2021
coincloud4597     ColeKepro 5.0        148129       148129.USA        851085         Elk Grove Village, IL     Active       127996   127996 Corner Store                            305 N. Sawyer Avenue                Oshkosh            WI            54902    8/7/2021
coincloud4499     ColeKepro 5.0        148033                         851087          Grand Rapids, MI         Active       150773   150773 Cumberland Farms                        343 Hartford Turnpike               Vernon             CT             6066    8/7/2021
coincloud1578     ColeKepro 3.0        143613                         851127                                   Active       141249   141249 Spicy Multiservice                      90 Washington St                    Quincy             MA             2169    10/2/2020
coincloud4733     ColeKepro 5.0        148264                         851134            Shreveport, LA         Active       150604   150604 Cumberland Farms                        2886 Acushnet Ave                   New Bedford        MA             2745    8/7/2021
coincloud4611     ColeKepro 5.0        148143       148143.USA        851172           New Orleans, LA         Active       121921   121921 ACE                                     3802 Jewella Ave                    Shreveport         LA            71109    8/7/2021
coincloud4755     ColeKepro 5.0        148286                         901744            Shreveport, LA         Active       103753   103753 Conoco (Classic Star)                   1100 W Reno Ave                     Oklahoma City      OK            73106    8/7/2021
coincloud4675     ColeKepro 5.0        148206                         901800           Sacramento, CA          Active       139030   139030 B Awesome                               3974 W 4100 S #Suite A              West Valley City   UT            84120    8/7/2021
coincloud4744     ColeKepro 5.0        148275       148275.USA        901847            Shreveport, LA         Active       151369   151369 Marketon                                1500 S Wells Ave                    Reno               NV            89502    8/7/2021
coincloud4849     ColeKepro 5.0        148380       148380.USA        901855              Dayton, OH           Active       146506   146506 Thorntons                               524 Lexington Rd                    Versailles         KY            40383    8/7/2021
coincloud5608     ColeKepro 5.0        149139                                              Sloan, NV         Warehouse      141263          Sloan                                                                                                                 8/7/2021
coincloud4942     ColeKepro 5.0        148473       148473.USA        901977           Indianapolis, IN        Active       130168   130168 Sullivan IGA                            431 S Hamilton St                   Sullivan           IL            61951    8/7/2021
coincloud4856     ColeKepro 5.0        148387                         902045              Dayton, OH           Active       150459   150459 Minit Mart                              557 S L Rogers Wells Blvd           Glasgow            KY            42141    8/7/2021
coincloud5053     ColeKepro 5.0        148584                         902055           Indianapolis, IN        Active       128339   128339 WEST TOWN JEWELRY & LOAN                2059 W Chicago Ave                  Chicago            IL            60622    8/7/2021
coincloud4699     ColeKepro 5.0        148230                         902102           Sacramento, CA        Warehouse      126250          CCHQ                                                                                                                  8/7/2021
coincloud4864     ColeKepro 5.0        148395                         902108              Dayton, OH           Active       150441   150441 Minit Mart                              100 Prince Royal Dr                 Berea              KY            40403    8/7/2021
coincloud4665     ColeKepro 5.0        148196       148196.USA        902131           Sacramento, CA          Active       138202   138202 Smokeshop plus more LLC                 314 Washington Blvd                 Ogden              UT            84404    8/7/2021
coincloud4847     ColeKepro 5.0        148378                         902193              Dayton, OH           Active       146510   146510 Thorntons                               1120 Winchester Rd                  Lexington          KY            40505    8/7/2021
coincloud4676     ColeKepro 5.0        148207       148207.USA        902195           Sacramento, CA          Active       139850   139850 Xvertuz Vapes                           1175 US-40 #Suite B                 Vernal             UT            84078    8/7/2021
coincloud553      APSM 1.1          5.41539E+14 539000000046USA.      902196                                   Active       103460   103460 A to Z Mini Mart                        299 West Shady Ln.                  Enola              PA            17025    9/19/2019
coincloud4720     ColeKepro 5.0        148251                         902210            Shreveport, LA         Active       151072   151072 Cumberland Farms                        162 Main St                         Keene              NH             3431    8/7/2021
coincloud4525     ColeKepro 5.0        148059       148059.USA        902244             Nashville, TN         Active       137177   137177 88 Tobacco & Vape                       1600 Church St                      Conway             SC            29526    8/7/2021
coincloud5059     ColeKepro 5.0        148590                         902272             Lubbock, TX           Active       127262   127262 Toot'n Totum                            624 Denver Ave                      Dalhart            TX            79022    8/7/2021
coincloud4501     ColeKepro 5.0        148035       148035.USA        902316          Grand Rapids, MI         Active       150669   150669 Cumberland Farms                        69 Friendship St                    Westerly           RI             2891    8/7/2021
coincloud598      APSM 1.1          5.42015E+15 20150000000016.U      902678                                   Active       104341   104341 K Food Mart                             4101 Oneal St                       Greenville         TX            75401    9/19/2019
coincloud4753     ColeKepro 5.0        148284                         902721            Shreveport, LA         Active       120364   120364 HEB                                     1702 11th St.                       Huntsville         TX            77340    8/7/2021
coincloud4598     ColeKepro 5.0        148130                         902722              Dayton, OH           Active       146507   146507 Thorntons                               802 N Broadway                      Lexington          KY            40508    8/7/2021
coincloud4863     ColeKepro 5.0        148394       148394.USA        902730              Dayton, OH           Active       150955   150955 Minit Mart                              1565 Richmond St                    Mt Vernon          KY            40456    8/7/2021
coincloud4688     ColeKepro 5.0        148219                         902750            Shreveport, LA         Active       151068   151068 Cumberland Farms                        25 Pleasant St                      Bristol            NH             3222     8/7/2021
coincloud5036     ColeKepro 5.0        148567                                              Sloan, NV         Warehouse      137041          Sloan                                                                                                                 8/7/2021
coincloud4930     ColeKepro 5.0        148461                         902857           San Antonio, TX         Active       135585   135585 H-E-B                                   512 E Edinburg Ave                  Elsa               TX            78543    8/7/2021
coincloud4749     ColeKepro 5.0        148280       148280.USA        940789            Shreveport, LA         Active       146043   146043 Lewis Drug                              1950 Dakota Ave S                   Huron              SD            57350    8/7/2021
coincloud5034     ColeKepro 5.0        148565                         940807           Indianapolis, IN        Active       127788   127788 ConexionCafe                            5100 W Fullerton Ave                Chicago            IL            60639    8/7/2021
coincloud4704     ColeKepro 5.0        148235       148235.USA        940873           Sacramento, CA          Active       128484   128484 Koodegras CBD Oil                       4356 S 900 E                        Millcreek          UT            84107    8/7/2021
coincloud4626     ColeKepro 5.0        148158       148158.USA        940903         Elk Grove Village, IL     Active       138445   138445 Ideal Markets                           2690 William Penn Ave               Johnstown          PA            15909    8/7/2021
coincloud4769     ColeKepro 5.0        148300                         940929              Dayton, OH           Active       146505   146505 Thorntons                               1311 Versailles Rd                  Lexington          KY            40504    8/7/2021
coincloud5704     ColeKepro 5.0        149235       149235.USA        940947          Grand Prairie, TX        Active       125498   125498 Spec's Wines, Spirits & Finer Foods     9972 Marsh Ln                       Dallas             TX            75220    8/7/2021
coincloud4787     ColeKepro 5.0        148318       148318.USA        941093            Westbury, NY           Active       141575   141575 Village Market                          95 Main St                          Fairfield          ME             4937    8/7/2021
coincloud4536     ColeKepro 5.0        148070       148070.USA        941096             Nashville, TN         Active       134739   134739 Best Wash Laundromat                    1907 Camp Jackson Rd                Cahokia            IL            62206    8/7/2021
coincloud1875     ColeKepro 3.0        143910       143910.USA        941127                                   Active       124414   124414 Allsup's Convenience Store              1603 Chico Hwy                      Bridgeport         TX            76426    10/2/2020
coincloud4727     ColeKepro 5.0        148258                         941182            Shreveport, LA         Active       147162   147162 Timmons Market                          747 Timmons Blvd                    Rapid City         SD            57703    8/7/2021
coincloud4644     ColeKepro 5.0        148176       148176.USA        941272              Dayton, OH           Active       139995   139995 Ken's SuperFair Foods & Shell Express   511 W 5th Ave                       Ipswich            SD            57451    8/7/2021
148132.USA        ColeKepro 5.0        148132                         941298             Elk Grove, IL         Active       130638   130638 THE VR ARCADE                           1624 Market St ##110                Denver             CO            80202    8/7/2021
coincloud4561     ColeKepro 5.0        148093                         941306           New Orleans, LA         Active       120427   120427 Shoppers Value Foods                    3623 Jefferson Hwy                  Jefferson          LA            70121    8/7/2021
coincloud4542     ColeKepro 5.0        148076       148076.USA        941427             Nashville, TN         Active       103306   103306 Skymart                                 1828 Ashley River Rd                Charleston         SC            29407    8/7/2021
coincloud4734     ColeKepro 5.0        148265                         941489            Shreveport, LA         Active       151119   151119 Cumberland Farms                        1860 Main Rd                        Tiverton           RI             2878    8/7/2021
coincloud4973     ColeKepro 5.0        148504                         941546           Indianapolis, IN        Active       126413   126413 Elite Sportscards & Comics              2028 W Montrose Ave                 Chicago            IL            60618    8/7/2021
coincloud27       Lynna 1.0       BTM201710110003                     941591                               Decommissioned   103568          Decommissioned                                                                                                         1/1/2018
coincloud4725     ColeKepro 5.0        148256       148256.USA        941624            Shreveport, LA         Active       128671   128671 ISPcomputer                             15610 1st Ave S                     Burien             WA            98148    8/7/2021
coincloud4723     ColeKepro 5.0        148254                         957411            Shreveport, LA         Active       124337   124337 Yesway                                  2728 1st Ave                        Spearfish          SD            57783     8/7/2021
coincloud4497     ColeKepro 5.0        148031                         957438          Grand Rapids, MI         Active       150817   150817 Cumberland Farms                        2643 Hartford Ave                   Johnston           RI             2919    8/7/2021
coincloud4850     ColeKepro 5.0        148381                         957507              Dayton, OH           Active       146544   146544 Thorntons                               12412 La Grange Rd                  Louisville         KY            40245    8/7/2021
coincloud5035     ColeKepro 5.0        148566                         957513           Indianapolis, IN        Active       128147   128147 Moreno's Liquors                        3724 W 26th St                      Chicago            IL            60623    8/7/2021
coincloud4883     ColeKepro 5.0        148414                         957514             Lubbock, TX           Active       127238   127238 Toot'n Totum                            7149 S Bell                         Amarillo           TX            79109    8/7/2021
coincloud4774     ColeKepro 5.0        148305       148305.USA        957527            Westbury, NY           Active       141576   141576 Friends and Family Market               390 State St                        Ellsworth          ME             4605    8/7/2021
coincloud4789     ColeKepro 5.0        148320       148320.USA        957561            Westbury, NY           Active       139457   139457 Wireless Xperts                         1051 Main St                        Worcester          MA             1603    8/7/2021
coincloud4879     ColeKepro 5.0        148410                         957570           San Antonio, TX         Active       125467   125467 Feldman's Liquor & Wines                100 N 10th St                       McAllen            TX            78501    8/7/2021
coincloud4931     ColeKepro 5.0        148462       148462.USA        957615           San Antonio, TX         Active       135442   135442 H-E-B                                   813 Miller Ave                      Donna              TX            78537    8/7/2021
coincloud4743     ColeKepro 5.0        148274                         957625            Shreveport, LA         Active       151113   151113 Cumberland Farms                        176 S Main St                       Acushnet           MA             2743    8/7/2021
coincloud4740     ColeKepro 5.0        148271                         957639            Shreveport, LA         Active       148600   148600 Thorntons                               559 Waldron Rd                      La Vergne          TN            37086    8/7/2021
coincloud1475     ColeKepro 3.0        143510       143510.USA        957646                                   Active       121557   121557 Manchester High Mart                    252 Spencer St                      Manchester         CT             6040    10/2/2020
coincloud5051     ColeKepro 5.0        148582     148582USA.USA       957679           Indianapolis, IN        Active       130166   130166 Foodliner IGA                           220 E Van Buren St                  Clinton            IL            61727    8/7/2021
coincloud4547     ColeKepro 5.0        148081                         958089             Nashville, TN         Active       134899   134899 Handy Mart                              6605 US-79                          Pine Bluff         AR            71603    8/7/2021
coincloud4802     ColeKepro 5.0        148333                         958108            Westbury, NY           Active       103209   103209 Fairis Mobil Mini Mart                  427 Hartford Rd.                    Manchester         CT             6040    8/7/2021
coincloud4638     ColeKepro 5.0        148170                         958172         Elk Grove Village, IL     Active       134897   134897 Audiolust Records                       127 6th St S                        La Crosse          WI            54601    8/7/2021
coincloud4917     ColeKepro 5.0        148448                         958173             Lubbock, TX           Active       127235   127235 Toot'n Totum                            4500 S Western                      Amarillo           TX            79109    8/7/2021
coincloud6503     ColeKepro 5.0        150034       150034.USA        958178           New Orleans,LA          Active       144564   144564 Vowell's Marketplace                    595 E Main St                       Philadelphia       MS            39350    8/7/2021
coincloud4821     ColeKepro 5.0        148352       148352.USA        958185           New Orleans, LA         Active       144561   144561 Vowell's Marketplace                    2214 S Church Ave                   Louisville         MS            39339    8/7/2021
coincloud4838     ColeKepro 5.0        148369       148369.USA        958193         Elk Grove Village, IL     Active       137627   137627 Piggly Wiggly                           810 N Monroe St                     Waterloo           WI            53594    8/7/2021
coincloud4921     ColeKepro 5.0        148452                         958197             Lubbock, TX           Active       125633   125633 Main Street Market                      10400 E Interstate 20               Midland            TX            79706    8/7/2021
coincloud4949     ColeKepro 5.0        148480                         958208           Indianapolis, IN        Active       128158   128158 Hammond Super Pawn                      6715 Indianapolis Blvd              Hammond            IN            46324    8/7/2021
coincloud4554     ColeKepro 5.0        148086                         958222             Nashville, TN         Active       137107   137107 Ohmies Vape And Glass Emporium #1       2518 W, M.L.K. Jr Blvd              Fayetteville       AR            72701    8/7/2021
coincloud4916     ColeKepro 5.0        148447       148447.USA        958228             Lubbock, TX           Active       125635   125635 Main Street Market                      5934 Interstate 20 Frontage Rd      Odessa             TX            79763    8/7/2021
                                         Case 23-10423-mkn                                                Doc 36-2                   Entered 02/08/23 19:55:21                                                    Page 127 of 217


coincloud4754     ColeKepro 5.0          148285                        958232        Shreveport, LA         Active       151110   151110 Cumberland Farms                                626 Main St                       Yarmouth         MA      2673    8/7/2021
coincloud4875     ColeKepro 5.0          148406                         958238       Westbury, NY           Active       136709   136709 Burnt Cove                                      1 Burnt Cove Rd                   Stonington       ME      4681    8/7/2021
coincloud4797     ColeKepro 5.0          148328                        958471        Westbury, NY           Active       137176   137176 The Head Shop                                   1812 Wilbraham Rd                 Springfield      MA      1119    8/7/2021
coincloud4778     ColeKepro 5.0          148309                        958563        Westbury, NY           Active       157500   157500 Royal Farms                                     6430 Baltimore National Pike      Catonsville      MD     21228    8/7/2021
coincloud4794     ColeKepro 5.0          148325       148325.USA       958568        Westbury, NY           Active       141583   141583 Jerry's Thriftway                               63 Houlton Rd                     Island Falls     ME      4747    8/7/2021
coincloud6436     ColeKepro 5.0          149967       149967.USA       958641         Magnolia,TX           Active       141010   141010 Arlan's                                         1231 E Kingsbury St               Seguin           TX     78155    8/7/2021
coincloud4701     ColeKepro 5.0          148232       148232.USA       958770       Sacramento, CA          Active       135678   135678 H-E-B                                           8801 S Congress Ave               Austin           TX     78745    8/7/2021
coincloud4603     ColeKepro 5.0          148135                        958854         Dayton, OH            Active       139994   139994 Ken's SuperFair Foods & Shell Express           106 N Commercial St               Clark            SD     57225    8/7/2021
coincloud4746     ColeKepro 5.0          148277                         958898       Shreveport, LA         Active       153381   153381 H-E-B                                           19348 Ronald Reagan Blvd          Leander          TX     78641    8/7/2021
coincloud4929     ColeKepro 5.0          148460       148460.USA       958913       San Antonio, TX         Active       135472   135472 H-E-B                                           405 W Hidalgo Ave                 Raymondville     TX     78580    8/7/2021
coincloud4672     ColeKepro 5.0          148203       148203.USA       958915       Sacramento, CA          Active       128662   128662 Koodegras CBD Oil                               1005 Fort Union Blvd              Midvale          UT     84047    8/7/2021
coincloud4808     ColeKepro 5.0          148339                        958932        Westbury, NY           Active       136604   136604 Country Farms Market                            84 Center Rd                      Easton           ME      4740    8/7/2021
coincloud4673     ColeKepro 5.0          148204                        958934       Sacramento, CA          Active       155661   155661 Boost Mobile                                    3830 E Flamingo Rd #C1            Las Vegas        NV     89121    8/7/2021
coincloud4926     ColeKepro 5.0          148457                        961787       San Antonio, TX         Active       135465   135465 H-E-B                                           3601 Pecan Blvd                   McAllen          TX     78501    8/7/2021
coincloud4915     ColeKepro 5.0          148446       148446.USA       961827         Lubbock, TX           Active       127253   127253 Toot'n Totum                                    4501 Soncy Rd                     Amarillo         TX     79119    8/7/2021
coincloud4623     ColeKepro 5.0          148155                         961832    Elk Grove Village, IL     Active       135673   135673 H-E-B                                           1801 E 51st St                    Austin           TX     78723    8/7/2021
coincloud4707     ColeKepro 5.0          148238                        961858       Sacramento, CA          Active       128663   128663 Koodegras CBD Oil                               8757 State St                     Sandy            UT     84070    8/7/2021
coincloud4721     ColeKepro 5.0          148252                        961886        Shreveport, LA         Active       151105   151105 Cumberland Farms                                160 Main St                       Bourne           MA      2532     8/7/2021
coincloud4800     ColeKepro 5.0          148331       148331.USA       961933        Westbury, NY           Active       139458   139458 Wireless Xperts                                 385 Main St                       Hartford         CT      6106    8/7/2021
coincloud4913     ColeKepro 5.0          148444                        961959         Lubbock, TX           Active       127228   127228 Toot'n Totum                                    2222 S Polk St                    Amarillo         TX     79109    8/7/2021
coincloud4933     ColeKepro 5.0          148464       148464.USA       962113       San Antonio, TX         Active       125601   125601 Spec's Wines, Spirits & Finer Foods             2700 W Expy 83 #Suite 200         McAllen          TX     78501    8/7/2021
coincloud4674     ColeKepro 5.0          148205       148205.USA       962254       Sacramento, CA          Active       140004   140004 Supervalue IGA                                  601 Middleton Rd                  Winona           MS     38967    8/7/2021
coincloud151071   ColeKepro 5.0          151071       151071.USA       964511         Sterling, VA          Active       152095   152095 Royal Farms                                     75 Monocacy Blvd                  Frederick        MD     21701    8/7/2021
coincloud4574     ColeKepro 5.0          148106     148106USA.USA      964547       New Orleans, LA         Active       120432   120432 Food Depot                                      100 Cumberland St                 Bogalusa         LA     70427    8/7/2021
coincloud4861     ColeKepro 5.0          148392                         964568        Dayton, OH            Active       146520   146520 Thorntons                                       13302 W Hwy 42                    Prospect         KY     40059    8/7/2021
coincloud4549     ColeKepro 5.0          148083                         964581        Nashville, TN         Active       152094   152094 Royal Farms                                     5200 Auth Rd                      Camp Springs     MD     20746    8/7/2021
coincloud4826     ColeKepro 5.0          148357       148357.USA       964700       New Orleans, LA         Active       121928   121928 ACE                                             4609 Jackson St                   Alexandria       LA     71303    8/7/2021
coincloud4948     ColeKepro 5.0          148479       148479.USA       964768       Indianapolis, IN        Active       128463   128463 Swan Cleaners & Shirt Laundry                   1228 Walnut St                    Owensboro        KY     42301    8/7/2021
coincloud4829     ColeKepro 5.0          148360       148360.USA       964795     Elk Grove Village, IL     Active       138908   138908 Jong's                                          217 N Hood St                     Lake Providence  LA     71254    8/7/2021
coincloud4732     ColeKepro 5.0          148263                        964802        Shreveport, LA         Active       125174   125174 7-Eleven                                        608 Highland Ave                  New Castle       PA     16101    8/7/2021
coincloud4631     ColeKepro 5.0          148163       148163.USA       964917     Elk Grove Village, IL     Active       127278   127278 Fort Madison Tobacco & Liquor Outlets           1735 Ave H                        Fort Madison     IA     52627    8/7/2021
coincloud4944     ColeKepro 5.0          148475       148475.USA       964998       Indianapolis, IN        Active       130163   130163 Metamora IGA                                    610 W Mt Vernon St                Metamora         IL     61548    8/7/2021
coincloud4957     ColeKepro 5.0          148488                         972584        Lubbock, TX           Active       127245   127245 Toot'n Totum                                    2621 S Osage St                   Amarillo         TX     79103    8/7/2021
coincloud4593     ColeKepro 5.0          148125                         972593    Elk Grove Village, IL     Active       137626   137626 Piggly Wiggly                                   1330 Memorial Dr                  Watertown        WI     53098    8/7/2021
coincloud4958     ColeKepro 5.0          148489                        972664         Lubbock, TX           Active       127229   127229 Toot'n Totum                                    1701 S Eastern St                 Amarillo         TX     79104    8/7/2021
coincloud4668     ColeKepro 5.0          148199       148199.USA       972701       Sacramento, CA          Active       136299   136299 Thumb Butte Pit Stop- Gas, Convenience & Deli   1451 W Gurley St                  Prescott         AZ     86305    8/7/2021
coincloud4786     ColeKepro 5.0          148317                        972707        Westbury, NY           Active       151093   151093 Cumberland Farms                                64 Broad St                       Plainville       CT      6062    8/7/2021
coincloud4570     ColeKepro 5.0          148102       148102.USA       972736       New Orleans, LA         Active       120429   120429 Shoppers Value Foods                            5932 Airline Hwy                  Baton Rouge      LA     70805    8/7/2021
coincloud5504     ColeKepro 5.0          149035       149035.USA       977189            Other              Active       148391   148391 18bin                                           107 E Charleston Blvd ##150       Las Vegas        NV     89104    8/7/2021
coincloud2990     ColeKepro 3.0          145681                        977211      Riviera Beach, FL        Active       139633   139633 La Familia Grocery Store                        3420 NW 2nd Ave                   Miami            FL     33127    10/2/2020
coincloud4779     ColeKepro 5.0          148310                        977312        Westbury, NY           Active       151039   151039 Cumberland Farms                                66 Turnpike Rd                    Ipswich          MA      1938    8/7/2021
coincloud4706     ColeKepro 5.0          148237       148237.USA       977360       Sacramento, CA          Active       139847   139847 Delta Jubilee                                   377 W Main St                     Delta            UT     84624    8/7/2021
coincloud4855     ColeKepro 5.0          148386                         978984        Dayton, OH            Active       150959   150959 Minit Mart                                      1376 US-25 E                      Barbourville     KY     40906     8/7/2021
coincloud4625     ColeKepro 5.0          148157                        979033     Elk Grove Village, IL     Active       134736   134736 Best Wash Laundromat                            4010 Pontoon Rd                   Pontoon Beach    IL     62040    8/7/2021
coincloud4981     ColeKepro 5.0          148512       148512.USA        979035        Lubbock, TX           Active       127218   127218 Toot'n Totum                                    1500 S Grand St                   Amarillo         TX     79104    8/7/2021
coincloud4770     ColeKepro 5.0          148301                        979053        Westbury, NY           Active       135764   135764 WEST HAVEN VAPORS, CBD & DELTA                  38 Saw Mill Rd                    West Haven       CT      6516    8/7/2021
coincloud3842     ColeKepro 3.0          146359                        979060         Memphis, TN           Active       146466   146466 Thorntons                                       2815 Lebanon Pike                 Nashville        TN     37214    10/2/2020
coincloud4745     ColeKepro 5.0          148276                        979073        Shreveport, LA         Active       151076   151076 Cumberland Farms                                79 Milton Rd                      Rochester        NH      3868     8/7/2021
coincloud4737     ColeKepro 5.0          148268                        982212        Shreveport, LA         Active       150657   150657 Cumberland Farms                                100 Shank Painter Rd              Provincetown     MA      2657    8/7/2021
coincloud150778   ColeKepro 5.0          150778                         S94078        Sterling, VA        Warehouse                      Victory Vans                                    139 Terminal Drive                Sterling         VA     20166    8/7/2021
coincloud4935     ColeKepro 5.0          148466       148466.USA       985028       San Antonio, TX         Active       135467   135467 H-E-B                                           1679 Hwy 100                      Port Isabel      TX     78578    8/7/2021
coincloud4571     ColeKepro 5.0          148103       148103.USA       985067       New Orleans, LA         Active       120433   120433 Shoppers Value Foods                            5355 Government St                Baton Rouge      LA     70806    8/7/2021
coincloud4490     ColeKepro 5.0          148024       148024.USA       985123         Revere, MA            Active       123212   123212 Zach's General Store                            641 Gurnet Rd                     Brunswick        ME      4011    8/7/2021
coincloud1929     ColeKepro 3.0          143964       143964.USA       985133                               Active       118028   118028 Washboard 24 Hour Laundromat                    805 S Water Ave                   Gallatin         TN     37066    10/2/2020
coincloud3536     ColeKepro 3.0          146122       146122.USA        985143                              Active       120281   120281 HEB                                             9503 Jones Rd                     Houston          TX     77065    10/2/2020
coincloud4932     ColeKepro 5.0          148463       148463.USA       985146       San Antonio, TX         Active       135449   135449 H-E-B                                           2409 E Expressway 83              Mission          TX     78572    8/7/2021
coincloud4922     ColeKepro 5.0          148453                        985177         Lubbock, TX           Active       127231   127231 Toot'n Totum                                    2015 S Western St                 Amarillo         TX     79106    8/7/2021
coincloud4559     ColeKepro 5.0          148091       148091.USA       985178       New Orleans, LA         Active       120434   120434 Shoppers Value Foods                            3826 Moss St                      Lafayette        LA     70507    8/7/2021
coincloud4628     ColeKepro 5.0          148160       148160.USA       985181     Elk Grove Village, IL     Active       140016   140016 Supervalue                                      1880 Veterans Memorial Blvd S     Eupora           MS     39744    8/7/2021
coincloud4678     ColeKepro 5.0          148209                        985206        Shreveport, LA         Active       146041   146041 Lewis Drug                                      2700 W 12th St                    Sioux Falls      SD     57104    8/7/2021
coincloud4718     ColeKepro 5.0          148249                        991824        Shreveport, LA         Active       141091   141091 Market Square                                   220 Main St                       Hinton           OK     73047     8/7/2021
coincloud4756     ColeKepro 5.0          148287                        993075        Shreveport, LA         Active       141090   141090 Market Square                                   300 S Males Blvd                  Cheyenne         OK     73628    8/7/2021
coincloud4854     ColeKepro 5.0          148385                        993116         Dayton, OH            Active       146502   146502 Thorntons                                       1040 Georgetown Rd                Lexington        KY     40511    8/7/2021
coincloud4969     ColeKepro 5.0          148500                        993163       Indianapolis, IN        Active       128852   128852 P C Foods                                       618 E Grant St                    Granville        IL     61326    8/7/2021
coincloud4550     ColeKepro 5.0          148084                        993176         Nashville, TN         Active       129547   129547 Boardwalk Vapes                                 981 US-98 ##2                     Destin           FL     32541    8/7/2021
coincloud4803     ColeKepro 5.0          148334       148334.USA       993177        Westbury, NY           Active       103210   103210 Goodwin Mini Mart                               50 Fenn Rd.                       Newington        CT      6111    8/7/2021
coincloud4781     ColeKepro 5.0          148312                        993179        Westbury, NY           Active       129740   129740 IÃ¢â‚¬â„¢M Convenience & Smoke Center           311 Norwich-New London Turnpike   Montville        CT      6382    8/7/2021
coincloud5049     ColeKepro 5.0          148580       148580.USA       993197       Indianapolis, IN        Active       128168   128168 Circle Center                                   49 W Maryland St                  Indianapolis     IN     46204    8/7/2021
coincloud1612     ColeKepro 3.0          143647       143647.USA      323270430                             Active       101552   101552 Chevron                                         3160 E Chandler Heights Rd        Gilbert          AZ     85298    10/2/2020
coincloud422      APSM 1.1            5.41535E+14 41535000000040.US   323270268                             Active       101520   101520 7-Eleven                                        1685 Jet Wing Dr                  Colorado Springs CO     80916    9/19/2019
coincloud432      APSM 1.1            5.41535E+14 41535000000050.US   323270172                             Active       103025   103025 Exxon                                           5306 N Broadway St                Knoxville        TN     37918    9/19/2019
coincloud957      APSM 1.1            5.42027E+14 42027000000047.US   323270403                             Active       104370   104370 Quick Stop Market                               10120 25th St                     Rancho Cucamonga CA     91730    9/19/2019
coincloud1991     ColeKepro 3.0          144026                       323270223                             Active       125268   125268 Spec's Wines, Spirits & Finer Foods             9430 Hwy 6                        Houston          TX     77095    10/2/2020
coincloud80       Bitaccess        BTM201801310095                    323270486                         Decommissioned   101473          Decommissioned                                                                                                    12/12/2014
coincloud131      Lynna 1.0       0200203T233145402Z                  323270216                         Decommissioned                   Decommissioned                                                                                                      1/1/2018
coincloud170      Lynna 1.0        BTM201801220075                    323270242                         Decommissioned   101563          Decommissioned                                                                                                      1/1/2018
coincloud213      Slabb 1.0          0310-003-1095                    323270320                         Decommissioned   101606          Decommissioned                                                                                                    12/18/2018
coincloud228      Slabb 1.0          0310-003-1256                    323270338                         Decommissioned   103209          Decommissioned                                                                                                    12/18/2018
coincloud61       Lynna 1.0        BTM201801220059                    336540048                         Decommissioned   103903          Decommissioned                                                                                                      1/1/2018
coincloud6632     ColeKepro 5.0          150163       150163.USA      349260138        Raleigh,NC           Active       143609   143609 Pops                                            6930 N Main St                    Columbia           SC   29203    8/7/2021
coincloud6633     ColeKepro 5.0          150164       150164.USA      349260359        Raleigh,NC           Active       143610   143610 Pops                                            4905 N Main St                    Columbia           SC   29203    8/7/2021
coincloud151158   ColeKepro 5.0          151158       151158.USA      349260253       Sterling, VA          Active       152268   152268 Royal Farms                                     301 Londontown Rd                 Edgewater          MD   21037    8/7/2021
coincloud2711     ColeKepro 3.0          145197                       349260244                             Active       147045   147045 Boost Mobile                                    2448 Freedom Dr                   Charlotte          NC   28208    10/2/2020
coincloud29       Lynna 1.0        BTM201710110021                    349260188                             Stolen       103549          Loss Event                                                                                                         1/1/2018
coincloud359      APSM 1.1            5.41325E+14 41325000000027.US   350100560                             Active       103755   103755 Vallarta Supermarket                            1801 W Ave I                      Lancaster          CA   93534    9/19/2019
coincloud344      APSM 1.1            5.41325E+14                     350100782                             Active       103823   103283 4 Seasons Town Centre                           410 Four Seasons Town Centre      Greensboro         NC   27407    9/19/2019
coincloud294      Slabb 1.0          0310-003-1355                    350100036                         Decommissioned   103537          Decommissioned                                                                                                    12/18/2018
coincloud363      APSM 1.1            5.41325E+14 41325000000031.US   350100803                             Active       103827   103827 Westwood Mall                                   1850 W Michigan Ave               Jackson            MI   49202    9/19/2019
coincloud342      APSM 1.1            5.41325E+14 41325000000010.US   350100833                             Active       103821   103821 Independence Mall                               3500 Oleander Drive               Wilmington         NC   28403    9/19/2019
coincloud343      APSM 1.1            5.41325E+14 41325000000011.US   350100793                             Active       103822   103822 Greenville Mall                                 714 Greenville Blvd SE            Greenville         NC   27858    9/19/2019
coincloud346      APSM 1.1            5.41325E+14 41325000000014.US   350100375                             Active       103819   103819 Quail Springs Mall                              2501 W Memorial Rd                Oklahoma City      OK   73134    9/19/2019
coincloud365      APSM 1.1            5.41325E+14 41325000000033.US   350100639                             Active       103830   103830 Grand Traverse Mall                             3200 W South Airport Rd           Traverse City      MI   49684    9/19/2019
coincloud150943   ColeKepro 5.0          150943                                       Sterling, VA        Warehouse                      Victory Vans                                    124 Terminal Drive                Sterling           VA   20166    8/7/2021
coincloud882      ColeKepro 1.0          141975       141975.USA      352220393                             Active       101407   101407 Cool Mart                                       10019 Mills Ave                   Whittier           CA   90604    5/7/2020
coincloud1051     ColeKepro 2.0          143086       143086.USA      352260305                             Active       135635   135635 H-E-B                                           5808 Burnet Rd                    Austin             TX   78756    8/28/2020
coincloud1055     ColeKepro 2.0          143086       143086.USA      352260305                             Active       108347   108347 OMG Liquor and Wine                             302 N Bridge St                   Yorkville          IL   60560    8/28/2020
coincloud5006     ColeKepro 5.0          148537       148537.USA      352260107       Magnolia, TX          Active       149379   149379 Cashman Field                                   850 Las Vegas Blvd N              Las Vegas          NV   89101    8/7/2021
coincloud5398     ColeKepro 5.0          148929       148929.USA      352250326     San Antonio,TX          Active       135578   135578 H-E-B                                           2314 S Zapata Hwy                 Laredo             TX   78046    8/7/2021
coincloud150784   ColeKepro 5.0          150784       150784.USA      352230465       Sterling, VA          Active       152172   152172 31954 Summer Dr                                 31954 Summer Dr                   Salisbury          MD   21804    8/7/2021
coincloud150905   ColeKepro 5.0          150905       150905.USA      352260025       Sterling, VA          Active       152109   152109 Royal Farms                                     1033 S Salisbury Blvd #1          Salisbury          MD   21801    8/7/2021
coincloud151040   ColeKepro 5.0          151040       151040.USA      352230069       Sterling, VA          Active       152175   152175 Royal Farms                                     105 Clay Dr                       Queenstown         MD   21658     8/7/2021
coincloud151356   ColeKepro 5.0          151356       151356.USA      352250217       Sterling, VA          Active       152151   152151 2130 West Chester Pike                          2130 West Chester Pike            Broomall           PA   19008    8/7/2021
coincloud151365   ColeKepro 5.0          151365       151365.USA      352260018       Sterling, VA          Active       152302   152302 6411 Fort Smallwood Rd                          6411 Fort Smallwood Rd            Baltimore          MD   21226    8/7/2021
coincloud323      Slabb 1.0            5.4116E+14 41160000000004.US   352220209                             Active       103766   103766 Tucson Mall                                     4500 N Oracle Rd                  Tucson             AZ   85705   12/18/2018
coincloud358      APSM 1.1            5.41325E+14 41325000000026.US   352260276                             Active       103825   103825 Visalia Mall                                    2031 South Mooney Boulevard       Visalia            CA   93277    9/19/2019
coincloud362      APSM 1.1            5.41325E+14 41325000000030.US   352250043                             Active       103824   103824 Brass Mill Center                               495 Union St                      Waterbury          CT    6706    9/19/2019
coincloud387      APSM 1.1            5.41535E+14 41535000000007.US   352230487                             Active       103959   103959 Ocean County Mall                               1201 Hooper Ave                   Toms River         NJ    8753    9/19/2019
coincloud394      APSM 1.1            5.41535E+14 41535000000012.US   352240690                             Active       103436   103436 7 Food Store                                    1830 Benning Rd NE                Washington         DC   20002    9/19/2019
coincloud396      APSM 1.1            5.41535E+14 41535000000014.US   352240663                             Active       103978   103978 Oxford Valley Mall                              2300 Lincoln Hwy                  Langhorne          PA   19047    9/19/2019
coincloud401      APSM 1.1            5.41535E+14 41535000000019.US   352230207                             Active       103231   103231 Super Express                                   1237 Gordon Hwy                   Augusta            GA   30901    9/19/2019
coincloud390      APSM 1.1            5.41535E+13 4153500000005.US    352230479                             Active       103968   103968 Crystal Mall                                    850 Hartford Turnpike             Waterford          CT    6385    9/19/2019
coincloud435      APSM 1.1            5.41537E+14 41537000000003.US   352240640                             Active       103961   103961 Sierra Vista Mall                               1050 Shaw Ave                     Clovis             CA   93612    9/19/2019
coincloud437      APSM 1.1            5.41537E+14 41537000000005.US   352230204                             Active       103951   103951 The Citadel Mall                                750 Citadel Dr E                  Colorado Springs   CO   80909    9/19/2019
coincloud442      APSM 1.1            5.41537E+14 537000000010USA.    352260498                             Active       103953   103953 Jackson Crossing                                1092 Jackson Crossing             Jackson            MI   49202    9/19/2019
coincloud446      APSM 1.1            5.41537E+14 537000000014USA.    352260052                             Active       103955   103955 Heritage Mall                                   1895 14th Ave SE                  Albany             OR   97322    9/19/2019
coincloud447      APSM 1.1            5.41537E+14 41537000000015.US   352260033                             Active       103957   103957 Chambersburg Mall                               3055 Black Gap Rd                 Chambersburg       PA   17202    9/19/2019
coincloud459      APSM 1.1            5.41537E+14 41537000000027.US   352260063                             Active       103947   103947 Chapel Hills Mall                               1710 Briargate Blvd               Colorado Springs   CO   80920    9/19/2019
coincloud511      APSM 1.1            5.41539E+14 41539000000004.US   352260013                             Active       103652   103652 Fizz Liquors                                    11021 S Parker Rd                 Parker             CO   80134    9/19/2019
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coincloud436      APSM 1.1           5.41537E+14                      352240649                       Active       113824   113824 Holly Food market                                5538 E 33rd Ave                                Denver             CO   80207    9/19/2019
coincloud385      APSM 1.1          No serial # found                 352240167                       Active       108737   108737 Paradise Smoke & Vape                            1821 West Virginia Ave NE                      Washington         DC   20002   9/19/2019
coincloud1896     ColeKepro 3.0         143931                        352260046                       Active       150847   150847 Cumberland Farms                                 616 Chandler St                                Worcester          MA    1602    10/2/2020
coincloud393      APSM 1.1           5.41535E+14                      352240760                       Active       103981   103981 Apple Blossom Mall                               1850 Apple Blossom Dr                          Winchester         VA   22601   9/19/2019
coincloud86       Bitaccess        BTM201801220086                    352240693                   Decommissioned   101479          Decommissioned                                                                                                                  12/12/2014
coincloud106      Lynna 1.0        BTM201801310103                    352220358                   Decommissioned   103646          Decommissioned                                                                                                                   1/1/2018
coincloud112      Lynna 1.0        BTM201801310121                    352220079                   Decommissioned   103645          Decommissioned                                                                                                                   1/1/2018
coincloud134      Lynna 1.0        BTM201801310123                    352220300                   Decommissioned                   Decommissioned                                                                                                                   1/1/2018
coincloud157      Lynna 1.0        BTM201803110138                    352260028                   Decommissioned   103491          Decommissioned                                                                                                                   1/1/2018
coincloud383      APSM 1.1              148153                        352230242                   Decommissioned                   Decommissioned                                                                                                                   9/19/2019
coincloud384      APSM 1.1              148228                        352240617                   Decommissioned                   Decommissioned                                                                                                                   9/19/2019
coincloud397      APSM 1.1             5.42E+14                       352240985                   Decommissioned   103982          Decommissioned                                                                                                                   9/19/2019
coincloud691      APSM 1.1             5.42E+14                       352260002   Las Vegas, NV     Warehouse      104344   104344 CCHQ                                                                                                                             9/19/2019
coincloud356      APSM 1.1             5.41E+14                       352250006                     Warehouse      103814          CCHQ                                                                                                                             9/19/2019
coincloud456      APSM 1.1              148468                        352260140                     Warehouse                      CCHQ                                                                                                                             9/19/2019
coincloud451      APSM 1.1              148703                        352260347                     Warehouse                      Decommissioned                                                                                                                  9/19/2019
coincloud439      APSM 1.1        41537000000007.U41537000000007.US   352230865                       Active       103863   103863 Market Place Shopping Center                     2000 N Neil St                                 Champaign        IL     61820    9/19/2019
coincloud334      APSM 1.1           5.41325E+14 41325000000002.US    352250465                       Active       103816   103816 The CrossroadsMall                               6650 S. Westnedge Ave                          Portage          MI     49024    9/19/2019
coincloud366      APSM 1.1           5.41325E+14 41325000000034.US    352250448                       Active       103831   103831 Southland Center                                 23000 Eureka Road                              Taylor           MI     48180    9/19/2019
coincloud381      APSM 1.1           5.41535E+14 41535000000007.US    352230487                       Active       103841   103841 Singh Mart #3                                    4160 S Sam Houston Pkwy W                      Houston          TX     77053    9/19/2019
coincloud448      APSM 1.1           5.41537E+14 41537000000016.US    352260020                       Active       103956   103956 Logan Valley Mall                                5580 Goods Ln                                  Altoona          PA     16602    9/19/2019
coincloud453      APSM 1.1           5.41537E+14 41537000000021.US    352260463                       Active       113827   113827 Z CORNER STORE                                   6428 Denton Hwy                                Watauga          TX     76148    9/19/2019
coincloud398      APSM 1.1           5.41535E+14 41535000000016.US    352240791                       Active       103984   103984 Rockaway Townsquare                              301 Mt Hope Ave                                Rockaway Townshi NJ      7866    9/19/2019
coincloud341      APSM 1.1           5.41325E+14 41325000000009.US    352260282                       Active       103817   103817 Columbia Mall                                    2300 Bernadette Dr                             Columbia         MO     65203    9/19/2019
coincloud347      APSM 1.1           5.41325E+14 41325000000015.US    352250247                       Active       103820   103820 Sooner Mall                                      3301 West Main St                              Norman           OK     73072    9/19/2019
coincloud353      APSM 1.1           5.41325E+14 41325000000021.US    352250064                       Active       103818   103818 Sikes Senter Mall                                3111 Midwestern Pkwy                           Wichita Falls    TX     76308    9/19/2019
coincloud364      APSM 1.1           5.41325E+14 41325000000032.US    352250426                       Active       103829   103829 Lansing Mall                                     5330 W Saginaw Hwy                             Lansing          MI     48917    9/19/2019
coincloud370      APSM 1.1           5.41325E+14 41325000000038.US    352220372                       Active       103191   103191 Tobacco House                                    116 W 1st St.                                  Lowell           NC     28098    9/19/2019
coincloud377      APSM 1.1           5.41325E+14 41325000000045.US    352250438                       Active       103826   103826 Woodbridge Center Mall                           250 Woodbridge Center Drive                    Woodbridge Towns NJ      7095    9/19/2019
coincloud378      APSM 1.1           5.41325E+13 41325000000046.US    352260296                       Active       103837   103837 Neshaminy Mall                                   707 Neshaminy Mall                             Bensalem         NJ     19020    9/19/2019
coincloud386      APSM 1.1           5.41535E+14 41535000000006.US    352240607                       Active       103958   103958 Livingston Mall                                  112 Eisenhower Pkwy                            Livingston       NJ      7039    9/19/2019
coincloud388      APSM 1.1           5.41535E+14 41535000000008.US    352240281                       Active       103970   103970 The Mills at Jersey Gardens                      651 Kapkowski Rd                               Elizabeth        NJ      7201    9/19/2019
coincloud391      APSM 1.1        41535000000009US41535000000009.US   352230867                       Active       103967   103967 St Charles Towne Center Mall                     11110 Mall Cir                                 Waldorf          MD     20603    9/19/2019
coincloud392      APSM 1.1           5.41535E+14 41535000000010.US    352230858                       Active       103964   103964 The Lakes Mall                                   5600 Harvey St                                 Muskegon         MI     49444    9/19/2019
coincloud440      APSM 1.1        41537000000008US41537000000008.US   352240604                       Active       104171   104171 Towne East Square                                7700 E Kellogg Dr                              Wichita          KS     67207    9/19/2019
coincloud441      APSM 1.1        41537000000009US41537000000009.US   352230448                       Active       103952   103952 Fashion Square Mall                              4787 Fashion Square Mall                       Saginaw          MI     48604   9/19/2019
coincloud450      APSM 1.1           5.41537E+14 41537000000018.US    352260316                       Active       103950   103950 North Hanover Mall                               1155 Carlisle St                               Hanover          PA     17331    9/19/2019
coincloud467      APSM 1.1           5.41537E+14 41537000000035.US    352260333                       Active       104181   104181 Woodland Hills Mall                              7021 S Memorial Dr                             Tulsa            OK     74133    9/19/2019
coincloud539      APSM 1.1           5.41539E+14 41539000000032.US    352240772                       Active       104233   104233 Mobil                                            29026 County Rd 20                             Elkhart          IN     46517    9/19/2019
coincloud617      APSM 1.1           5.42015E+14 42015000000035.US    352260034                       Active       103356   103356 Exxon                                            593 New Shackle Island Rd                      Hendersonville   TN     37075    9/19/2019
coincloud4509     ColeKepro 5.0         148043                                      Sloan, NV       Warehouse                      Sloan                                                                                                                            8/7/2021
coincloud150841   ColeKepro 5.0         150841        150841.USA      382060479    Sterling, VA       Active       152182   152182 Royal Farms                                      1820 Markley St                                Norristown         PA   19401     8/7/2021
coincloud150870   ColeKepro 5.0         150870                                     Sterling, VA     Warehouse                      Victory Vans                                     117 Terminal Drive                             Sterling           VA   20166    8/7/2021
coincloud151290   ColeKepro 5.0         151290        151290.USA      352260421    Sterling, VA       Active       152204   152204 Royal Farms                                      1201 S Church St                               Smithfield         VA   23430    8/7/2021
coincloud794      ColeKepro 1.0         141933        141933.USA      354421121                       Active       108024   108024 Gateway 28                                       7025 Cedar Ridge Dr                            Dallas             TX   75236    5/7/2020
coincloud795      ColeKepro 1.0         141939        141939.USA      354420818                       Active       108026   108026 Chevron                                          9031 W Northern Ave                            Glendale           AZ   85305    5/7/2020
coincloud771      ColeKepro 1.0         141972        141972.USA      354420452                       Active       107963   107963 Natural Mart                                     1726 SW 4th Ave                                Portland           OR   97201    5/7/2020
coincloud793      ColeKepro 1.0         141974        141974.USA      354450470                       Active       108023   108023 Gateway 27                                       440 W Kiest Blvd                               Dallas             TX   75224    5/7/2020
coincloud782      ColeKepro 1.0         141978        141978.USA      354450105                       Active       103329   103329 S & S Foodmart                                   255 W Woodrow Wilson Ave                       Jackson            MS   39213    5/7/2020
coincloud860      ColeKepro 1.0         141984        141984.USA      354420754                       Active       108331   108331 Faust Market & Disc Cigarette                    813 E State St                                 Rockford           IL   61104    5/7/2020
coincloud778      ColeKepro 1.0         141986        141986.USA      354420012                       Active       108005   108005 Friendly Market                                  830 W Broadway Rd                              Tempe              AZ   85282    5/7/2020
coincloud780      ColeKepro 1.0         141990        141990.USA      354450347                       Active       107995   107995 Dodge City Market                                2101 W Adams St                                Phoenix            AZ   85009    5/7/2020
coincloud760      ColeKepro 1.0         141996        141996.USA      354420033                       Active       103915   103915 Quick Stop                                       496 Washington St                              Norwood            MA    2062    5/7/2020
coincloud725      ColeKepro 1.0         142000        142000.USA      354420934                       Active       104349   104349 J's Q-Mart                                       6500 Precinct Line Rd ## A                     Hurst              TX   76054    5/7/2020
coincloud719      ColeKepro 1.0         142005        142005.USA      354420703                       Active       104327   104327 One Stop Food Store                              3065 N Josey Ln ## 1                           Carrollton         TX   75007    5/7/2020
coincloud756      ColeKepro 1.0         142008        142008.USA      354421063                       Active       103799   103799 BP Gas                                           536 W Lapham Blvd                              Milwaukee          WI   53204    5/7/2020
coincloud741      ColeKepro 1.0         142010        142010.USA      354430881                       Active       107886   107886 Campus Corner                                    818 S State St                                 Ann Arbor          MI   48104    5/7/2020
coincloud757      ColeKepro 1.0         142011        142011.USA      354420756                       Active       103794   103794 V J's Food Mart                                  9206 W Schlinger Ave                           Milwaukee          WI   53214    5/7/2020
coincloud743      ColeKepro 1.0         142014        142014.USA      354430661                       Active       107959   107959 JayÃ¢â‚¬â„¢s                                     5715 Altama Ave                                Brunswick          GA   31525    5/7/2020
coincloud736      ColeKepro 1.0         142018        142018.USA      354430857                       Active       120254   120254 HEB                                              5251 Farm to Market 2920                       Spring             TX   77379    5/7/2020
coincloud742      ColeKepro 1.0         142019        142019.USA      354420765                       Active       107907   107907 Fast Stop                                        705 E 75th St                                  KCMO               MO   64131    5/7/2020
coincloud755      ColeKepro 1.0         142022        142022.USA      354420960                       Active       103174   103174 Citgo                                            55 E Caldwood Dr                               Beaumont           TX   77707    5/7/2020
coincloud852      ColeKepro 1.0         142028        142028.USA      354430474                       Active       108097   108097 Speedy Stop                                      14611 N Mopac Expy #200                        Austin             TX   78728    5/7/2020
coincloud843      ColeKepro 1.0         142034        142034.USA      354430723                       Active       108078   108078 Food Basket #8                                   3600 E University Ave                          Georgetown         TX   78626    5/7/2020
coincloud833      ColeKepro 1.0         142036        142036.USA      354420739                       Active       108059   108059 USA TRAVEL CENTER                                953 W Beale St                                 Kingman            AZ   86401    5/7/2020
coincloud849      ColeKepro 1.0         142038        142038.USA      354430477                       Active       108092   108092 Kwik Stop                                        906 Buchanan Dr                                Burnet             TX   78611    5/7/2020
coincloud822      ColeKepro 1.0         142040        142040.USA      354420742                       Active       118441   118441 Garden Fresh Market                              400 Townline Rd                                Mundelein          IL   60060    5/7/2020
coincloud835      ColeKepro 1.0         142043        142043.USA      354430571                       Active       107948   107948 Super Star Liquor, Inc                           1436 W Beverly Blvd                            Montebello         CA   90640    5/7/2020
coincloud855      ColeKepro 1.0         142046        142046.USA      354420732                       Active       108076   108076 Stop N Go                                        619 S 1st St                                   Temple             TX   76504    5/7/2020
coincloud836      ColeKepro 1.0         142047        142047.USA      354441008                       Active       108063   108063 Kind Connection Smoke Shop                       911 N Lake Havasu Ave                          Lake Havasu City   AZ   86403    5/7/2020
coincloud824      ColeKepro 1.0         142049        142049.USA      354430872                       Active       108087   108087 Gulf                                             1727 E Riverside Dr                            Austin             TX   78741    5/7/2020
coincloud839      ColeKepro 1.0         142052        142052.USA      354430637                       Active       108089   108089 Shell                                            212 TX-71                                      Bastrop            TX   78602    5/7/2020
coincloud821      ColeKepro 1.0         142054        142054.USA      354420706                       Active       118443   118443 Webster Avenue Market                            1220 S Webster Ave                             Green Bay          WI   54301    5/7/2020
coincloud829      ColeKepro 1.0         142056        142056.USA      354441004                       Active       117052   117052 Edgemere Mini Mart                               734 Grafton St                                 Worcester          MA    1604    5/7/2020
coincloud823      ColeKepro 1.0         142056        142056.USA      354441004                       Active       117855   117855 Jubilee Foods                                    2131 Commerce Blvd                             Mound              MN   55364    5/7/2020
coincloud848      ColeKepro 1.0         142057        142057.USA      354421150                       Active       108073   108073 Shopper's Food Mart Eatery                       1401 Cedar Ave                                 Austin             TX   78702    5/7/2020
coincloud859      ColeKepro 1.0         142058        142058.USA      354421067                       Active       108094   108094 Kool Corner Store                                401 N Mesquite Ave                             Luling             TX   78648    5/7/2020
coincloud830      ColeKepro 1.0         142060        142060.USA      354430521                       Active       117468   117468 Macfood Mart at Sunoco                           12635 Coldwater Rd                             Fort Wayne         IN   46845    5/7/2020
coincloud819      ColeKepro 1.0         142062        142062.USA      354420791                       Active       108039   108039 C Store                                          2903 Royal Ln                                  Dallas             TX   75229    5/7/2020
coincloud828      ColeKepro 1.0         142064        142064.USA      354440075                       Active       116648   116648 Zellar's Bottle Shop                             168 Louis Campau Promenade NW Basement Level   Grand Rapids       MI   49503    5/7/2020
coincloud866      ColeKepro 1.0         142065        142065.USA      354430578                       Active       103271   103271 Gulf                                             499 Frelinghuysen Ave                          Newark             NJ    7114     5/7/2020
coincloud847      ColeKepro 1.0         142070        142070.USA      354440064                       Active       108079   108079 Food Basket #6                                   13201 Pond Springs Rd #101                     Austin             TX   78729    5/7/2020
coincloud818      ColeKepro 1.0         142071        142071.USA      354441246                       Active       108040   108040 Roy Orr Food Mart                                2970 Roy Orr Blvd                              Grand Prairie      TX   75050    5/7/2020
coincloud813      ColeKepro 1.0         142072        142072.USA      354430602                       Active       108048   108048 Midtown Tavern                                   3620 N 1st Ave                                 Tucson             AZ   85719    5/7/2020
coincloud811      ColeKepro 1.0         142074        142074.USA      354420737                       Active       108047   108047 Head Hunters Smoke Shop #1                       5846 E. Speedway Blvd.                         Tucson             AZ   85712    5/7/2020
coincloud817      ColeKepro 1.0         142075        142075.USA      354430494                       Active       108025   108025 Amigos C-Store                                   950 S Carrier Pkwy                             Grand Prairie      TX   75051    5/7/2020
coincloud815      ColeKepro 1.0         142079        142079.USA      354440097                       Active       108049   108049 Mobil                                            5124 S Mill Ave                                Tempe              AZ   85282    5/7/2020
coincloud810      ColeKepro 1.0         142080        142080.USA      354440053                       Active       108038   108038 T & B Mart                                       8316 W Indian School Rd                        Phoenix            AZ   85033    5/7/2020
coincloud873      ColeKepro 1.0         142082        142082.USA      354440928                       Active       108140   108140 Shell                                            3995 Silverton Rd NE                           Salem              OR   97305    5/7/2020
coincloud884      ColeKepro 1.0         142082        142082.USA      354440928                       Active       108339   108339 Nice & Clean Laundromat                          2201 N Big Spring St                           Midland            TX   79705    5/7/2020
coincloud812      ColeKepro 1.0         142087        142087.USA      354420724                       Active       108046   108046 Head Hunters Smoke Shop #2                       3101 N Stone Ave                               Tucson             AZ   85705    5/7/2020
coincloud712      ColeKepro 1.0         142089        142089.USA      354430146                       Active       103394   103394 Seven Hills Convenience Store                    368 Euclid Ave                                 Canonsburg         PA   15317    5/7/2020
coincloud710      ColeKepro 1.0         142093        142093.USA      354420097                       Active       103858   103858 Convenient Food Mart                             1401 East Ave                                  Elyria             OH   44035    5/7/2020
coincloud724      ColeKepro 1.0         142094        142094.USA      354420807                       Active       104338   104338 1st Stop Food Store                              2237 W Parker Rd                               Plano              TX   75023    5/7/2020
coincloud718      ColeKepro 1.0         142099        142099.USA      354430761                       Active       104103   104103 Fuel Zone Gas Station & Krispy Krunchy Chicken   4100 E 8 Mile Rd                               Detroit            MI   48234    5/7/2020
coincloud788      ColeKepro 1.0         142100        142100.USA      354450112                       Active       108013   108013 Puff Munkey Smoke Shop                           1520 E Abram St                                Arlington          TX   76010    5/7/2020
coincloud789      ColeKepro 1.0         142101        142101.USA      354450350                       Active       108017   108017 3rd St Handy Shop                                2128 SW 3rd St                                 Grand Prairie      TX   75051    5/7/2020
coincloud792      ColeKepro 1.0         142102        142102.USA      354450070                       Active       108004   108004 Bobby's Food Mart                                1420 W 6th St                                  Irving             TX   75060    5/7/2020
coincloud709      ColeKepro 1.0         142109        142109.USA      354420929                       Active       104269   104269 Jacksonville Stop and Shop                       1116 S Highway 161                             Jacksonville       AR   72076    5/7/2020
coincloud786      ColeKepro 1.0         142110        142110.USA      354450103                       Active       108008   108008 E-Z Trip #13                                     9811 Walnut Hill Ln                            Dallas             TX   75238    5/7/2020
coincloud775      ColeKepro 1.0         142152        142152.USA      354420016                       Active       108003   108003 Amigos Grocery Beer Tacos                        2332 Rock Island Rd                            Irving             TX   75060    5/7/2020
coincloud776      ColeKepro 1.0         142154        142154.USA      354450365                       Active       107998   107998 Shop N Go                                        1885 Esters Rd #110                            Irving             TX   75061    5/7/2020
coincloud774      ColeKepro 1.0         142156        142156.USA      354420014                       Active       108006   108006 Speedy B Mart                                    2302 W Walnut Hill Ln                          Irving             TX   75038    5/7/2020
coincloud765      ColeKepro 1.0         142165        142165.USA      354420035                       Active       107985   107985 BP                                               1301 Prospect Ave                              Kansas City        MO   64127    5/7/2020
coincloud801      ColeKepro 1.0         142170        142170.USA      354430553                       Active       147407   147407 Good2Go                                          915 W Beale St                                 Kingman            AZ   86401     5/7/2020
coincloud750      ColeKepro 1.0         142172        142172.USA      354430671                       Active       104452   104452 Phillips 66                                      100 W Dewey Ave                                Sapulpa            OK   74066    5/7/2020
coincloud749      ColeKepro 1.0         142174        142174.USA      354420613                       Active       103839   103839 Pantry                                           2100 Lawndale Dr                               Greensboro         NC   27408    5/7/2020
coincloud803      ColeKepro 1.0         142176        142176.USA      354430444                       Active       108030   108030 KWIK STOP                                        1905 Old Forest Rd                             Lynchburg          VA   24501     5/7/2020
coincloud888      ColeKepro 1.0         142177        142177.USA      354440281                       Active       108035   108035 N Food Mart                                      12850 N 19th Ave                               Phoenix            AZ   85029    5/7/2020
coincloud748      ColeKepro 1.0         142180        142180.USA      354420684                       Active       103268   103268 Zino's                                           1009 S Grand St #Ste 200                       Amarillo           TX   79104    5/7/2020
coincloud805      ColeKepro 1.0         142184        142184.USA      354430694                       Active       108044   108044 Axis Food Mart                                   1540 E Broadway Blvd                           Tucson             AZ   85719    5/7/2020
coincloud968      ColeKepro 1.0         143003        143003.USA      354440696                       Active       108333   108333 IGA of Mason                                     201 W Elm St                                   Mason City         IL   62664    5/7/2020
coincloud969      ColeKepro 1.0         143004        143004.USA      354440608                       Active       108207   108207 Main St Convenience                              1919 S Main St                                 Bloomington        IL   61704    5/7/2020
coincloud970      ColeKepro 1.0         143005        143005.USA      354440637                       Active       108337   108337 Christiana Wine & Spirits                        1101 Churchmans Rd                             Newark             DE   19713    5/7/2020
coincloud971      ColeKepro 1.0         143006        143006.USA      354440617                       Active       108346   108346 Pockets Discount Liquors                         337 S Dupont Hwy                               New Castle         DE   19720    5/7/2020
coincloud973      ColeKepro 1.0         143008        143008.USA      354440682                       Active       108210   108210 707 Liquors                                      707 S Main St                                  Normal             IL   61761    5/7/2020
coincloud975      ColeKepro 1.0         143010        143010.USA      354480296                       Active       108260   108260 K-Stop Gas & Grocery                             4305 S Lowell Blvd                             Denver             CO   80236    5/7/2020
coincloud977      ColeKepro 1.0         143012        143012.USA      354440455                       Active       108341   108341 Aj's Liquorland                                  2150 W Galena Blvd unit #A3                    Aurora             IL   60506    5/7/2020
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coincloud978    ColeKepro 1.0   143013     143013.USA    354480912                    Active   108372   108372 BP Gas                                                        5100 S 108th St                   Hales Corners    WI   53130    5/7/2020
coincloud979    ColeKepro 1.0   143014     143014.USA    354440472                    Active   108349   108349 Depews Liquors                                                5505 W 20th Ave                   Edgewater        CO   80214    5/7/2020
coincloud981    ColeKepro 1.0   143016     143016.USA    354440695                    Active   108236   108236 City Mart                                                     3457 S Wadsworth Blvd             Lakewood         CO   80227   5/7/2020
coincloud982    ColeKepro 1.0   143017     143017.USA    354480266                    Active   108296   108296 Sinclair                                                      8275 E Colfax Ave                 Denver           CO   80220    5/7/2020
coincloud983    ColeKepro 1.0   143018     143018.USA    354440642                    Active   108285   108285 Super Saver Liquor & Grocery                                  6259 W Belmont Ave                Chicago          IL   60634   5/7/2020
coincloud985    ColeKepro 1.0   143020     143020.USA    354441240                    Active   108246   108246 Phillips 66                                                   720 S Van Buren St                Shipshewana      IN   46565    5/7/2020
coincloud988    ColeKepro 1.0   143023     143023.USA    354480230                    Active   108229   108229 Grab-n-Go                                                     630 W Center St                   Lexington        NC   27292    5/7/2020
coincloud991    ColeKepro 1.0   143026     143026.USA    354441040                    Active   108313   108313 Warehouse Liquor Mart                                         829 E Main St                     Carbondale       IL   62901   5/7/2020
coincloud992    ColeKepro 1.0   143027     143027.USA    354480243                    Active   108359   108359 Villa Liquor Store                                            5108 N State Line Ave             Texarkana        AR   71854    5/7/2020
coincloud993    ColeKepro 1.0   143028     143028.USA    354440602                    Active   108277   108277 Express food mart                                             7026 W 16th St                    Berwyn           IL   60402    5/7/2020
coincloud1000   ColeKepro 1.0   143035     143035.USA    354480225                    Active   108405   108405 MD's Market                                                   240 Riverside Dr                  Augusta          ME    4330    5/7/2020
coincloud1004   ColeKepro 1.0   143039     143039.USA    354480212                    Active   108268   108268 Stanley Express                                               104 Mariposa Rd                   Stanley          NC   28164   5/7/2020
coincloud1006   ColeKepro 1.0   143041     143041.USA    354440653                    Active   108456   108456 Veterans Convenience Store                                    145 N Spruce St                   Colorado Springs CO   80905   5/7/2020
coincloud1007   ColeKepro 1.0   143042     143042.USA    354480009                    Active   108171   108171 Beer and Tobacco Outlet                                       2700 Broad River Rd               Columbia         SC   29210    5/7/2020
coincloud1009   ColeKepro 1.0   143044     143044.USA    354440664                    Active   108288   108288 777 Mart                                                      14450 E 6th Ave                   Aurora           CO   80011    5/7/2020
coincloud1010   ColeKepro 1.0   143045     143045.USA    354480248                    Active   108299   108299 Grab-n-Go                                                     13920 S Tryon St                  Charlotte        NC   28278    5/7/2020
coincloud1018   ColeKepro 2.0   143053     143053.USA    354440618                    Active   108247   108247 Marathon                                                      51451 State Rte 19                Elkhart          IN   46514   8/28/2020
coincloud1020   ColeKepro 2.0   143055     143055.USA    354480240                    Active   108334   108334 Midway Discount Liquor                                        1000 Midway Dr #5                 Harrington       DE   19952   8/28/2020
coincloud1024   ColeKepro 2.0   143059     143059.USA    354480210                    Active   108270   108270 East Quincy Liquor Store                                      16342 E Quincy Ave                Aurora           CO   80015   8/28/2020
coincloud1025   ColeKepro 2.0   143060     143060.USA    354440883                    Active   108374   108374 Sussex Hometown                                               N62W23456 Silver Spring Dr        Sussex           WI   53089   8/28/2020
coincloud1026   ColeKepro 2.0   143061     143061.USA    354440623                    Active   108399   108399 Cigarette Time                                                10295 Washington St               Denver           CO   80229   8/28/2020
coincloud1027   ColeKepro 2.0   143062     143062.USA    354440468                    Active   108261   108261 Sheridan Liquors                                              1295 S Sheridan Blvd              Denver           CO   80232   8/28/2020
coincloud1033   ColeKepro 2.0   143068     143068.USA    354480910                    Active   108274   108274 GLOBAL LIQUOR                                                 9590 W Colfax Ave                 Lakewood         CO   80215   8/28/2020
coincloud1035   ColeKepro 2.0   143070     143070.USA    354440271                    Active   108250   108250 Our Little Store                                              4821 Yellowstone Dr               Greeley          CO   80634   8/28/2020
coincloud1036   ColeKepro 2.0   143071     143071.USA    354441019                    Active   108433   108433 Galley Liquor                                                 4311 Galley Rd                    Colorado Springs CO   80915   8/28/2020
coincloud1037   ColeKepro 2.0   143074   143072USA.USA   354440646                    Active   108367   108367 In & Out Liquor                                               7101 West 183 unit#107            Tinley Park      IL   60477   8/28/2020
coincloud1040   ColeKepro 2.0   143075     143075.USA    354440644                    Active   108369   108369 Spirit World Liquor                                           7156 N Pecos St                   Denver           CO   80221   8/28/2020
coincloud1050   ColeKepro 2.0   143085     143085.USA    354440634                    Active   108209   108209 Hoffman Heights Liquors                                       728 Peoria St                     Aurora           CO   80011   8/28/2020
coincloud1052   ColeKepro 2.0   143087     143087.USA    354440473                    Active   108438   108438 Fountain Discount Liquor                                      7070 US-85                        Fountain         CO   80817   8/28/2020
coincloud1053   ColeKepro 2.0   143088     143088.USA    354440656                    Active   108393   108393 Night Skye Spirits                                            10254 Ura Ln                      Thornton         CO   80260   8/28/2020
coincloud1054   ColeKepro 2.0   143089     143089.USA    354440924                    Active   108240   108240 Brothers Express Mart                                         3901 S Main St                    Elkhart          IN   46517   8/28/2020
coincloud1058   ColeKepro 2.0   143093     143093.USA    354440884                    Active   108238   108238 Phillips 66                                                   1819 Lincolnway E                 Goshen           IN   46526   8/28/2020
coincloud1059   ColeKepro 2.0   143094     143094.USA    354440673                    Active   108455   108455 Veterans Convenience                                          1910 E Fountain Blvd              Colorado Springs CO   80910   8/28/2020
coincloud1063   ColeKepro 2.0   143098     143098.USA    354421036                    Active   108343   108343 Famous Liquors                                                2604 Locust St                    Davenport        IA   52804   8/28/2020
coincloud1064   ColeKepro 2.0   143099     143099.USA    354440858                    Active   101441   101441 Stop N Shop                                                   1700 E Lake St                    Minneapolis      MN   55407   8/28/2020
coincloud1066   ColeKepro 2.0   143101     143101.USA    354440611                    Active   108200   108200 Clark Mini Mart                                               6761 N Clark St                   Chicago          IL   60626   8/28/2020
coincloud1068   ColeKepro 2.0   143103     143103.USA    354440872                    Active   108409   108409 MZ Tobacco and Cigars                                         1555 S Havana St #Unit U          Aurora           CO   80012   8/28/2020
coincloud1069   ColeKepro 2.0   143104     143104.USA    354480304                    Active   108484   108484 Vallarta Supermarket                                          8510 Painter Ave. Suite L         Whittier         CA   90602   8/28/2020
coincloud1071   ColeKepro 2.0   143106     143106.USA    354480098                    Active   109057   109057 Stonelake Vine & Spirits                                      2619 West Taron CT                Elk Grove        CA   95757   8/28/2020
coincloud1072   ColeKepro 2.0   143107     143107.USA    354480416                    Active   108473   108473 Vallarta Supermarket                                          23449 Lyons Avenue                Valencia         CA   91355   8/28/2020
coincloud1074   ColeKepro 2.0   143109     143109.USA    354480349                    Active   108458   108458 Vallarta Supermarket                                          5951 Niles St                     Bakersfield      CA   93306   8/28/2020
coincloud1075   ColeKepro 2.0   143110     143110.USA    354480340                    Active   108460   108460 Vallarta Supermarket                                          2705 S H St                       Bakersfield      CA   93304   8/28/2020
coincloud1077   ColeKepro 2.0   143112     143112.USA    354480850                    Active   109050   109050 Stop and Shop                                                 4321 Madison Ave Suite E          Sacramento       CA   95842   8/28/2020
coincloud1078   ColeKepro 2.0   143113     143113.USA    354480216                    Active   135792   135792 H-E-B                                                         600 W Henderson St                Cleburne         TX   76033   8/28/2020
coincloud1081   ColeKepro 2.0   143116     143116.USA    354480160                    Active   101544   101544 7-Eleven                                                      2217 17th St                      Santa Ana        CA   92705   8/28/2020
coincloud1083   ColeKepro 2.0   143118     143118.USA    354480199                    Active   108459   108459 Vallarta Supermarket                                          1515 E Panama Ln                  Bakersfield      CA   93307   8/28/2020
coincloud1084   ColeKepro 2.0   143119     143119.USA    354480193                    Active   108477   108477 Vallarta Supermarket                                          3112 Dinuba Blvd.                 Visalia          CA   93291   8/28/2020
coincloud1085   ColeKepro 2.0   143120     143120.USA    354480438                    Active   108480   108480 Vallarta Supermarket                                          820 Main St.                      Delano           CA   93215   8/28/2020
coincloud1086   ColeKepro 2.0   143121     143121.USA    354480184                    Active   108476   108476 Vallarta Supermarket                                          305 E. Olive Ave.                 Porterville      CA   93257   8/28/2020
coincloud1087   ColeKepro 2.0   143122     143122.USA    354480333                    Active   108469   108469 Vallarta Supermarket                                          7900 Imperial Hwy                 Downey           CA   90242   8/28/2020
coincloud1095   ColeKepro 2.0   143130     143130.USA    354480854                    Active   109014   109014 Station House Liquors                                         1381 E Main St                    Grass Valley     CA   95945   8/28/2020
coincloud1098   ColeKepro 2.0   143133     143133.USA    354480852                    Active   108719   108719 The Joint Smoke & Vape                                        2530 N 7th St #101                Phoenix          AZ   85006   8/28/2020
coincloud1099   ColeKepro 2.0   143134     143134.USA    354480345                    Active   108481   108481 Vallarta Supermarket                                          757 South Workman St.             San Fernando     CA   91340   8/28/2020
coincloud1101   ColeKepro 2.0   143136     143136.USA    354480332                    Active   108471   108471 Vallarta Supermarket                                          13820 Foothill Blvd.              Sylmar           CA   91342   8/28/2020
coincloud1102   ColeKepro 2.0   143137     143137.USA    354480320                    Active   108482   108482 Vallarta Supermarket                                          18571 Soledad Canyon              Canyon Country   CA   91351   8/28/2020
coincloud1103   ColeKepro 2.0   143138     143138.USA    354480154                    Active   108483   108483 Vallarta Supermarket                                          1951 West Clinton Ave.            Fresno           CA   93705   8/28/2020
coincloud1104   ColeKepro 2.0   143139     143139.USA    354480194                    Active   103582   103582 Sinclair                                                      1145 Spring St                    Paso Robles      CA   93446   8/28/2020
coincloud1105   ColeKepro 2.0   143140     143140.USA    354480178                    Active   108485   108485 Vallarta Supermarket                                          655 N. Fair Oaks Ave.             Pasadena         CA   91103   8/28/2020
coincloud1109   ColeKepro 2.0   143144     143144.USA    354480428                    Active   108478   108478 Vallarta Supermarket                                          1111 N. Cherry St.                Tulare           CA   93274   8/28/2020
coincloud1111   ColeKepro 2.0   143146     143146.USA    354480360                    Active   109026   109026 KC's Korner                                                   22623 State Rte 26                West Point       CA   95255   8/28/2020
coincloud1113   ColeKepro 2.0   143148     143148.USA    354480317                    Active   108475   108475 Vallarta Supermarket                                          3850 N. Cedar Ave.                Fresno           CA   93726   8/28/2020
coincloud1117   ColeKepro 2.0   143152     143152.USA    354480864                    Active   108631   108631 Havana Smoke And Vape Shop                                    1229 W Marys Rd #101              Tucson           AZ   85745   8/28/2020
coincloud1118   ColeKepro 2.0   143153     143153.USA    354480165                    Active   108472   108472 Vallarta Supermarket                                          4831 E. Butler Ave.               Fresno           CA   93727   8/28/2020
coincloud1124   ColeKepro 2.0   143159     143159.USA    354440478                    Active   108368   108368 Flamingo Beer and Wine                                        1107 S Josey Ln                   Carrollton       TX   75006   8/28/2020
coincloud1129   ColeKepro 2.0   143164     143164.USA    354440483                    Active   108496   108496 Docs Food Store                                               635 W Campbell Rd #200            Richardson       TX   75080   8/28/2020
coincloud1135   ColeKepro 2.0   143170     143170.USA    354480169                    Active   108568   108568 7-Eleven                                                      2358 Royal Lane                   Dallas           TX   75229   8/28/2020
coincloud1143   ColeKepro 2.0   143178     143178.USA    354440783                    Active   130406   130406 Gators                                                        915 Louisville St                 Starkville       MS   39759   8/28/2020
coincloud1149   ColeKepro 2.0   143184     143184.USA    354480851                    Active   116267   116267 Gators                                                        87 N Columbus Ave                 Louisville       MS   39339   8/28/2020
coincloud1157   ColeKepro 2.0   143192     143192.USA    354440166                    Active   108637   108637 Kirby Food & Liquor                                           303 Cedar St                      Champaign        IL   61820   8/28/2020
coincloud1160   ColeKepro 2.0   143195     143195.USA    354480909                    Active   108569   108569 7-Eleven                                                      13995 Midway Rd                   Dallas           TX   75244   8/28/2020
coincloud1165   ColeKepro 2.0   143200     143200.USA    354440693                    Active   108570   108570 7-Eleven                                                      13601 CF Hawn Freeway             Dallas           TX   75253   8/28/2020
coincloud1170   ColeKepro 2.0   143205     143205.USA    354480016                    Active   114731   114731 Arcade Laundromat                                             979 Arcade St                     St Paul          MN   55106   8/28/2020
coincloud1172   ColeKepro 2.0   143207     143207.USA    354480235                    Active   114701   114701 Cub Foods                                                     100 Opportunity Blvd              Cambridge        MN   55008   8/28/2020
coincloud1182   ColeKepro 2.0   143217     143217.USA    354440492                    Active   108479   108479 Vallarta Supermarkets                                         38118 47th St. East               Palmdale         CA   93552   8/28/2020
coincloud1216   ColeKepro 2.0   143251     143251.USA    354480359                    Active   108797   108797 Rockport Center LLC - Maine Coast Weddings & Special Events   330 Commercial St Unit A          Rockport         ME    4856   8/28/2020
coincloud1217   ColeKepro 2.0   143252     143252.USA    354480286                    Active   108900   108900 OooWee Art & Gaming Cafe                                      3501 Paxton St                    Harrisburg       PA   17111   8/28/2020
coincloud1219   ColeKepro 2.0   143254     143254.USA    354440497                    Active   103368   103368 Phillips 66                                                   12218 St Charles Rock Rd          Bridgeton        MO   63044   8/28/2020
coincloud1220   ColeKepro 3.0   143255     143255.USA    354470323   Las Vegas, NV    Active   135633   135633 H-E-B                                                         7112 Ed Bluestein Blvd ##125      Austin           TX   78723   10/2/2020
coincloud1225   ColeKepro 3.0   143260     143260.USA    354450447                    Active   108308   108308 Tradewinds Market Place                                       15 South St                       Blue Hill        ME    4614   10/2/2020
coincloud1234   ColeKepro 3.0   143269     143269.USA    354441036                    Active   116339   116339 CitiStop Store 115                                            3094 Sweeten Creek Rd             Asheville        NC   28803   10/2/2020
coincloud1242   ColeKepro 3.0   143277     143277.USA    354480902                    Active   108740   108740 East Gate Sunoco                                              4514 Mt Carmel Tobasco Rd         Cincinnati       OH   45244   10/2/2020
coincloud1243   ColeKepro 3.0   143278     143278.USA    354480019                    Active   108954   108954 Cherry Market                                                 603 Baldwin Ave                   Charlotte        NC   28204   10/2/2020
coincloud1247   ColeKepro 3.0   143282     143282.USA    354480221                    Active   108730   108730 Santeria Smoke Shop                                           7941 OK-66                        Tulsa            OK   74131   10/2/2020
coincloud1255   ColeKepro 3.0   143290     143290.USA    354480680                    Active   114700   114700 Cub Foods                                                     1940 Cliff Lake Rd                Eagan            MN   55122   10/2/2020
coincloud1256   ColeKepro 3.0   143291     143291.USA    354440136   Las Vegas, NV    Active   135858   135858 H-E-B                                                         300 W Main St                     Kerrville        TX   78028   10/2/2020
coincloud1265   ColeKepro 3.0   143300     143300.USA    354480441                    Active   108697   108697 Front Street Liquor                                           542 W Front St                    Traverse City    MI   49684   10/2/2020
coincloud1279   ColeKepro 3.0   143314     143314.USA    354480329                    Active   108292   108292 Dalia Food Market                                             4661 N Broadway                   Chicago          IL   60640   10/2/2020
coincloud1281   ColeKepro 3.0   143316     143316.USA    354440816                    Active   115360   115360 Irving Food Mart                                              1427 W Shady Grove Rd             Irving           TX   75060   10/2/2020
coincloud1285   ColeKepro 3.0   143320     143320.USA    354480377                    Active   108462   108462 WALKER LIQUOR                                                 12255 Walker Rd #ste # a          Lemont           IL   60439   10/2/2020
coincloud1297   ColeKepro 3.0   143332     143332.USA    354480930                    Active   114616   114616 Cub Foods (Savage)                                            14075 State Hwy 13                Savage           MN   55378   10/2/2020
coincloud1301   ColeKepro 3.0   143336     143336.USA    354480378                    Active   108547   108547 T C Grocery                                                   5050 Crozier St                   Dallas           TX   75215   10/2/2020
coincloud1302   ColeKepro 3.0   143337     143337.USA    354480164                    Active   108548   108548 Discount Smoke & Beer                                         1335 N Beltline Rd Ste 13         Irving           TX   75061   10/2/2020
coincloud1306   ColeKepro 3.0   143341     143341.USA    354480876                    Active   108384   108384 Sam's Warehouse Liquors                                       9380 Federal Blvd                 Federal Heights  CO   80260   10/2/2020
coincloud1307   ColeKepro 3.0   143342     143342.USA    354480284                    Active   108441   108441 Vickers Liquor                                                5690 N Union Blvd                 Colorado Springs CO   80918   10/2/2020
coincloud1318   ColeKepro 3.0   143353     143353.USA    354470142                    Active   101512   101512 House of Hookahs                                              3818 13400 S Suite #300           Riverton         UT   84065   10/2/2020
coincloud1319   ColeKepro 3.0   143354     143354.USA    354480969                    Active   108536   108536 Glenview Liquors                                              1214 Waukegan Rd                  Glenview         IL   60025   10/2/2020
coincloud1320   ColeKepro 3.0   143355     143355.USA    354480749                    Active   108673   108673 H & L food                                                    7800 W Appleton Ave               Milwaukee        WI   53218   10/2/2020
coincloud1325   ColeKepro 3.0   143360     143360.USA    354480283                    Active   108853   108853 Al-Kahf Grocery store                                         833 W Oklahoma Ave                Milwaukee        WI   53215   10/2/2020
coincloud1328   ColeKepro 3.0   143363     143363.USA    354480330                    Active   108708   108708 Smoker's World                                                27895 23 Mile Rd                  New Baltimore    MI   48051   10/2/2020
coincloud1329   ColeKepro 3.0   143364     143364.USA    354480977                    Active   108807   108807 Main Street Pit Shop                                          56 W Main St                      Lexington        OH   44904   10/2/2020
coincloud1330   ColeKepro 3.0   143365     143365.USA    354480355                    Active   108725   108725 Campbell's Foodland                                           3 S Maysville Ave                 Zanesville       OH   43701   10/2/2020
coincloud1331   ColeKepro 3.0   143366     143366.USA    354480388                    Active   108416   108416 Yellow Store                                                  301 E Hopkins St                  San Marcos       TX   78666   10/2/2020
coincloud1334   ColeKepro 3.0   143369     143369.USA    354480195                    Active   108617   108617 La Vista Mart 66                                              9849 Giles Rd                     La Vista         NE   68128   10/2/2020
coincloud1335   ColeKepro 3.0   143370     143370.USA    354480884                    Active   107976   107976 #1 Food 4 Mart                                                729 SW 185th Ave                  Beaverton        OR   97006   10/2/2020
coincloud1336   ColeKepro 3.0   143371     143371.USA    354480822                    Active   108582   108582 29th Food Mart                                                3620 Newcastle Rd                 Oklahoma City    OK   73119   10/2/2020
coincloud1339   ColeKepro 3.0   143374     143374.USA    354480381                    Active   108445   108445 Summit Liquors                                                4475 Summit Bridge Rd             Middletown       DE   19709   10/2/2020
coincloud1340   ColeKepro 3.0   143375     143375.USA    354480156                    Active   108668   108668 K & M Liquor & Tobacco                                        4201 Blue Ridge Blvd              Independence     MO   64133   10/2/2020
coincloud1342   ColeKepro 3.0   143377     143377.USA    354480748                    Active   108782   108782 Unique Mart                                                   9641 St Charles Rock Rd           St. Louis        MO   63114   10/2/2020
coincloud1343   ColeKepro 3.0   143378     143378.USA    354480192                    Active   108741   108741 Camanche Food Pride                                           908 7th Ave                       Camanche         IA   52730   10/2/2020
coincloud1344   ColeKepro 3.0   143379     143379.USA    354480877                    Active   108681   108681 BP                                                            1692 W Osage St                   Pacific          MO   63069   10/2/2020
coincloud1347   ColeKepro 3.0   143382     143382.USA    354480926                    Active   108706   108706 Nuggy's Tobacco Shack                                         1709 Ludington St                 Escanaba         MI   49829   10/2/2020
coincloud1351   ColeKepro 3.0   143386     143386.USA    354480789                    Active   108666   108666 Convenient Food Mart                                          26918 Cook Rd                     Olmsted Township OH   44138   10/2/2020
coincloud1354   ColeKepro 3.0   143389     143389.USA    354440822                    Active   108560   108560 Lena Food & Liquor                                            435 W Lena St #9252               Lena             IL   61048   10/2/2020
coincloud1356   ColeKepro 3.0   143391     143391.USA    354480716                    Active   108780   108780 Route 66 Naman Liquor                                         4301 N Sara Rd                    Yukon            OK   73099   10/2/2020
coincloud1357   ColeKepro 3.0   143392     143392.USA    354480929                    Active   108765   108765 Greiners Pub                                                  2039 Campus Dr                    St Charles       MO   63301   10/2/2020
coincloud1359   ColeKepro 3.0   143394     143394.USA    354440169                    Active   108679   108679 TOBACCO HUT ALLEN                                             801 S Greenville Ave ##107        Allen            TX   75002   10/2/2020
coincloud1361   ColeKepro 3.0   143396     143396.USA    354440070                    Active   108861   108861 Z's Smoke Shop                                                1550 S Sheridan Rd                Tulsa            OK   74112   10/2/2020
coincloud1362   ColeKepro 3.0   143397     143397.USA    354480312                    Active   108731   108731 Jewell Liquor Box                                             7853 W Jewell Ave                 Lakewood         CO   80232   10/2/2020
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coincloud1366   ColeKepro 3.0   143401   143401.USA   354480957                    Active   108632   108632 LIQUOR AND TOBACCO DEPOT                 13822 P St                          Omaha               NE   68137   10/2/2020
coincloud1367   ColeKepro 3.0   143402   143402.USA   354480916                    Active   108606   108606 VN Food Mart                             3701 S Shields Blvd                 Oklahoma City       OK   73129   10/2/2020
coincloud1370   ColeKepro 3.0   143405   143405.USA   354440295                    Active   114434   114434 Mobil                                    S66W14501 Janesville Rd             Muskego             WI   53150   10/2/2020
coincloud1372   ColeKepro 3.0   143407   143407.USA   354480402                    Active   113860   113860 Quick Mart                               2480 Skyline Dr                     Pacifica            CA   94044   10/2/2020
coincloud1374   ColeKepro 3.0   143409   143409.USA   354480404                    Active   108678   108678 Kanan Foods                              3302 SW 29th St                     Oklahoma City       OK   73119   10/2/2020
coincloud1378   ColeKepro 3.0   143413   143413.USA   354480742                    Active   113814   113814 Sam's Mobil                              2200 E Grand Ave                    Lindenhurst         IL   60046   10/2/2020
coincloud1380   ColeKepro 3.0   143415   143415.USA   354440764                    Active   108676   108676 Tobacco Hut                              1705 W University Dr #Suite # 115   McKinney            TX   75069   10/2/2020
coincloud1381   ColeKepro 3.0   143416   143416.USA   354480710                    Active   108553   108553 The Snack Shack                          4335 Texas St                       Waterloo            IA   50702   10/2/2020
coincloud1382   ColeKepro 3.0   143417   143417.USA   354480241                    Active   108826   108826 Andy's Convenience                       864 Broadway                        Haverhill           MA    1832   10/2/2020
coincloud1383   ColeKepro 3.0   143418   143418.USA   354480039                    Active   108752   108752 Lone Star Vapor Shop                     10926 S Memorial Dr                 Tulsa               OK   74133   10/2/2020
coincloud1385   ColeKepro 3.0   143420   143420.USA   354480344                    Active   104245   104245 Cork Runner Wine & Spirits               5956 W Olympic Blvd                 Los Angeles         CA   90036   10/2/2020
coincloud1389   ColeKepro 3.0   143424   143424.USA   354480338                    Active   103567   103567 Bibo Liquor and Market                   14062 Springdale St                 Westminster         CA   92683   10/2/2020
coincloud1391   ColeKepro 3.0   143426   143426.USA   354480444                    Active   104156   104156 Imperial King Liquor & Water             10630 Imperial Hwy                  Norwalk             CA   90650   10/2/2020
coincloud1393   ColeKepro 3.0   143428   143428.USA   354480875                    Active   103586   103586 Wayne's Liquor                           54 E California Ave                 Fresno              CA   93706   10/2/2020
coincloud1395   ColeKepro 3.0   143430   143430.USA   354480302                    Active   108945   108945 5 Seasons Market                         1181 W Putnam Ave                   Porterville         CA   93257   10/2/2020
coincloud1397   ColeKepro 3.0   143432   143432.USA   354420032                    Active   101446   101446 World Express Gas Station                901 N Placentia Ave                 Fullerton           CA   92831   10/2/2020
coincloud1398   ColeKepro 3.0   143433   143433.USA   354420472                    Active   104154   104154 Glendale Liquor                          1311 E Colorado St                  Glendale            CA   91205   10/2/2020
coincloud1400   ColeKepro 3.0   143435   143435.USA   354430109                    Active   135630   135630 H-E-B                                    5800 W Slaughter Ln                 Austin              TX   78749   10/2/2020
coincloud1401   ColeKepro 3.0   143436   143436.USA   354480636                    Active   117625   117625 Triple T Laundry, LLC DBA SuperWash      2133 Palolo Ave                     Honolulu            HI   96816   10/2/2020
coincloud1404   ColeKepro 3.0   143439   143439.USA   354480692                    Active   116092   116092 Aloha Tattoo Co. - Kailua                318 Kuulei Rd                       Kailua              HI   96734   10/2/2020
coincloud1407   ColeKepro 3.0   143442   143442.USA   354480391                    Active   108700   108700 ARCO Fountain Valley                     18480 Brookhurst St                 Fountain Valley     CA   92708   10/2/2020
coincloud1409   ColeKepro 3.0   143444   143444.USA   354480066                    Active   108723   108723 Apple Valley Gas Mart                    21898 Outer Hwy 18 N                Apple Valley        CA   92307   10/2/2020
coincloud1410   ColeKepro 3.0   143445   143445.USA   354480389                    Active   101555   101555 76 Gas                                   23055 Soledad Canyon Rd             Santa Clarita       CA   91350   10/2/2020
coincloud1414   ColeKepro 3.0   143449   143449.USA   354480060                    Active   103571   103571 North Bank Liquor                        2950 Johnson Dr ## 117              Ventura             CA   93003   10/2/2020
coincloud1415   ColeKepro 3.0   143450   143450.USA   354480829                    Active   108758   108758 55 & Chapman Shell                       1914 E Chapman Ave                  Orange              CA   92867   10/2/2020
coincloud1416   ColeKepro 3.0   143451   143451.USA   354480837                    Active   108724   108724 Main Street Gas & Mart                   16400 Main St                       Hesperia            CA   92345   10/2/2020
coincloud1417   ColeKepro 3.0   143452   143452.USA   354480947                    Active   108733   108733 Valor Vapor Prescott                     843 Miller Valley Rd ##104          Prescott            AZ   86301   10/2/2020
coincloud1419   ColeKepro 3.0   143454   143454.USA   354480100                    Active   115194   115194 Mountain Liquor Store                    912 Texas Ave #Suite A              El Paso             TX   79901   10/2/2020
coincloud1425   ColeKepro 3.0   143460   143460.USA   354480856                    Active   113874   113874 Cool Guys Market                         845 Holloway Ave                    San Francisco       CA   94112   10/2/2020
coincloud1427   ColeKepro 3.0   143462   143462.USA   354480090                    Active   108974   108974 Classic Burgers                          6525 W Inyokern Rd                  Inyokern            CA   93527   10/2/2020
coincloud1431   ColeKepro 3.0   143466   143466.USA   354480065                    Active   113579   113579 The Laundry Basket                       182 Coffee Pot Dr                   Sedona              AZ   86336   10/2/2020
coincloud1437   ColeKepro 3.0   143472   143472.USA   354480952                    Active   108754   108754 Shell                                    2733 Stanley St                     Stevens Point       WI   54481   10/2/2020
coincloud1438   ColeKepro 3.0   143473   143473.USA   354480017                    Active   108854   108854 Canyon View Cleaners (Sandy Location)    717 E 9400 S                        Sandy               UT   84094   10/2/2020
coincloud1443   ColeKepro 3.0   143478   143478.USA   354440601                    Active   116203   116203 Springdale Superette                     1130 Springdale Rd                  Rock Hill           SC   29730   10/2/2020
coincloud1447   ColeKepro 3.0   143482   143482.USA   354480223                    Active   108836   108836 J&J Laundromat                           3980 S 2700 E                       Holladay            UT   84124   10/2/2020
coincloud1448   ColeKepro 3.0   143483   143483.USA   354440003                    Active   120525   120525 Great Scot                               2021 Broad Ave                      Findlay             OH   45840   10/2/2020
coincloud1451   ColeKepro 3.0   143486   143486.USA   354480224                    Active   108857   108857 Canyon View Cleaners (Draper Location)   1172 Draper Pkwy                    Draper              UT   84020   10/2/2020
coincloud1453   ColeKepro 3.0   143488   143488.USA   354480335                    Active   108575   108575 7-Eleven                                 2650 N Gate Blvd                    Colorado Springs CO      80921   10/2/2020
coincloud1454   ColeKepro 3.0   143489   143489.USA   354440104                    Active   115050   115050 Good Spot Foods                          2201 W National Ave                 Milwaukee           WI   53204   10/2/2020
coincloud1455   ColeKepro 3.0   143490   143490.USA   354480269                    Active   108879   108879 Secret Fantasies                         1455 4th Ave #suite a               Huntington          WV   25701   10/2/2020
coincloud1456   ColeKepro 3.0   143491   143491.USA   354480290                    Active   108573   108573 7-Eleven                                 6385 Promenade Pkwy                 Castle Rock         CO   80108   10/2/2020
coincloud1460   ColeKepro 3.0   143495   143495.USA   354480197                    Active   108580   108580 7-Eleven                                 221 S. 8th Streeet                  Colorado Springs CO      80905   10/2/2020
coincloud1461   ColeKepro 3.0   143496   143496.USA   354480730                    Active   108579   108579 7-Eleven                                 201 W. Filmore                      Colorado Springs CO      80907   10/2/2020
coincloud1462   ColeKepro 3.0   143497   143497.USA   354480008                    Active   108572   108572 7-Eleven                                 5 Widefield Blvd                    Colorado Springs CO      80911   10/2/2020
coincloud1463   ColeKepro 3.0   143498   143498.USA   354480010                    Active   108720   108720 Quick Mart Liquor and Wine               655 Robins Rd                       Hiawatha            IA   52233   10/2/2020
coincloud1465   ColeKepro 3.0   143500   143500.USA   354480246                    Active   108704   108704 Fox Convenience                          1340 Gillingham Rd                  Neenah              WI   54956   10/2/2020
coincloud1467   ColeKepro 3.0   143502   143502.USA   354480001                    Active   117220   117220 Lighthouse Grocery & Deli                705 S Empire Blvd                   Coos Bay            OR   97420   10/2/2020
coincloud1468   ColeKepro 3.0   143503   143503.USA   354480220                    Active   108645   108645 AIM Petroleum                            2305 R St                           Lincoln             NE   68503   10/2/2020
coincloud1470   ColeKepro 3.0   143505   143505.USA   354440190                    Active   120541   120541 Community Markets                        610 Mc Adams Dr.                    New Carlisle        OH   45344   10/2/2020
coincloud1471   ColeKepro 3.0   143506   143506.USA   354480966                    Active   108589   108589 CR Exchange                              1184 Cleveland Rd W                 Sandusky            OH   44870   10/2/2020
coincloud1473   ColeKepro 3.0   143508   143508.USA   354480209                    Active   108885   108885 Farm Fresh Dairy                         1805 N Belt W                       Belleville          IL   62226   10/2/2020
coincloud1474   ColeKepro 3.0   143509   143509.USA   354480024                    Active   108837   108837 Neighborhood Home                        1305 W Bremer Ave                   Waverly             IA   50677   10/2/2020
coincloud1476   ColeKepro 3.0   143511   143511.USA   354480027                    Active   108683   108683 Phillips 66                              3402 Rider Trail S                  Earth City          MO   63045   10/2/2020
coincloud1478   ColeKepro 3.0   143513   143513.USA   354480255   Las Vegas, NV    Active   139033   139033 Canyon Crossing Petroleum                1175 Snow Canyon Pkwy #Suite #101   Ivins               UT   84738   10/2/2020
coincloud1479   ColeKepro 3.0   143514   143514.USA   354480260                    Active   108251   108251 Sheridan Fine Wine & Spirits             65 Sheridan Boulevard               Lakewood            CO   80226   10/2/2020
coincloud1482   ColeKepro 3.0   143517   143517.USA   354480306                    Active   108712   108712 Convenience & Smoke Spot                 1074 W S Jordan Pkwy                South Jordan        UT   84095   10/2/2020
coincloud1485   ColeKepro 3.0   143520   143520.USA   354440194                    Active   123333   123333 IGA Express                              4193 Hamilton Cleves Rd             Fairfield           OH   45014   10/2/2020
coincloud1487   ColeKepro 3.0   143522   143522.USA   354480007                    Active   108701   108701 Fox Convenience                          4300 W Prospect ave                 Appleton            WI   54914   10/2/2020
coincloud1496   ColeKepro 3.0   143531   143531.USA   354480838                    Active   116082   116082 Boulevard Pawn & Jewelry                 300 N Randolph St                   Goldsboro           NC   27530   10/2/2020
coincloud1499   ColeKepro 3.0   143534   143534.USA   354440238                    Active   108241   108241 Snappy Food Mart                         53031 IN-13                         Middlebury          IN   46540   10/2/2020
coincloud1504   ColeKepro 3.0   143539   143539.USA   354480075                    Active   119792   119792 Harvest Farmers Market                   4603 Sienna Pkwy                    Missouri City       TX   77459   10/2/2020
coincloud1513   ColeKepro 3.0   143548   143548.USA   354440127                    Active   120392   120392 HEB                                      2955 South Gulf Freeway             League City         TX   77573   10/2/2020
coincloud1522   ColeKepro 3.0   143557   143557.USA   354440810                    Active   116266   116266 Fairmount Market                         662 Hammond St                      Bangor              ME    4401   10/2/2020
coincloud1539   ColeKepro 3.0   143574   143574.USA   354440059                    Active   124562   124562 Allsups                                  913 E Hamilton St                   Stamford            TX   79553   10/2/2020
coincloud1540   ColeKepro 3.0   143575   143575.USA   354440199                    Active   119705   119705 Stripes                                  1733 Pulliam St                     San Angelo          TX   76905   10/2/2020
coincloud1541   ColeKepro 3.0   143576   143576.USA   354440374                    Active   120369   120369 HEB                                      7988 FM 1488 Rd                     Magnolia            TX   77354   10/2/2020
coincloud1544   ColeKepro 3.0   143579   143579.USA   354440051                    Active   108596   108596 Del's Liquor Mart                        6079 Quebec St                      Commerce City       CO   80022   10/2/2020
coincloud1545   ColeKepro 3.0   143580   143580.USA   354440177                    Active   114712   114712 Briggs Mart                              2774 Briggs Rd                      Columbus            OH   43204   10/2/2020
coincloud1546   ColeKepro 3.0   143581   143581.USA   354440157                    Active   120345   120345 HEB                                      7405 FM 1960 East                   Humble              TX   77346   10/2/2020
coincloud1552   ColeKepro 3.0   143587   143587.USA   354480196                    Active   108581   108581 7-Eleven                                 229 Gleneagle Gate View             Colorado Springs CO      80921   10/2/2020
coincloud1556   ColeKepro 3.0   143591   143591.USA   354440143                    Active   115456   115456 Buy 2 Save                               1804 Bellevue Rd                    Atwater             CA   95301   10/2/2020
coincloud1561   ColeKepro 3.0   143596   143596.USA   354440825                    Active   118206   118206 Miller's New Market                      22361 W Holt Harrigan Rd            Genoa               OH   43430   10/2/2020
coincloud1572   ColeKepro 3.0   143607   143607.USA   354440807                    Active   118196   118196 Stop-N-Shop                              5100 Indiana Ave                    Nashville           TN   37209   10/2/2020
coincloud1574   ColeKepro 3.0   143609   143609.USA   354440132                    Active   108957   108957 Marathon Gas                             654 US-250                          Ashland             OH   44805   10/2/2020
coincloud1575   ColeKepro 3.0   143610   143610.USA   354440010                    Active   115196   115196 Discount Liquor                          5225 Elkhorn Blvd                   Sacramento          CA   95842   10/2/2020
coincloud1579   ColeKepro 3.0   143614   143614.USA   354480013                    Active   108877   108877 Lincoln Fuel, LLC                        2141 Lincoln St                     Rhinelander         WI   54501   10/2/2020
coincloud1583   ColeKepro 3.0   143618   143618.USA   354440112                    Active   113829   113829 Light Rail Wine and Ale                  14799 W 6th Ave Frontage Rd         Golden              CO   80401   10/2/2020
coincloud1589   ColeKepro 3.0   143624   143624.USA   354420057                    Active   118205   118205 Miller's Super Valu                      505 W Maple St                      Clyde               OH   43410   10/2/2020
coincloud1591   ColeKepro 3.0   143626   143626.USA   354440837                    Active   125462   125462 Spec's Wines, Spirits & Finer Foods      715 New Dallas Hwy                  Waco                TX   76705   10/2/2020
coincloud1602   ColeKepro 3.0   143637   143637.USA   354440148                    Active   120185   120185 Stripes                                  1201 W Bois D'Arc Ave               Duncan              OK   73533   10/2/2020
coincloud1606   ColeKepro 3.0   143641   143641.USA   354440123                    Active   120191   120191 Stripes                                  3601 Call Field Rd                  Wichita Falls       TX   76308   10/2/2020
coincloud1609   ColeKepro 3.0   143644   143644.USA   354480067                    Active   118209   118209 Miller's - Hawkins Market                1617 Claremont Ave                  Ashland             OH   44805   10/2/2020
coincloud1638   ColeKepro 3.0   143673   143673.USA   354440226                    Active   119791   119791 Harvest Farmers Market                   25600 Westheimer Pkwy               Katy                TX   77494   10/2/2020
coincloud1640   ColeKepro 3.0   143675   143675.USA   354480364                    Active   118214   118214 Miller's Market                          1350 S Randolph St                  Garrett             IN   46738   10/2/2020
coincloud1642   ColeKepro 3.0   143677   143677.USA   354480865                    Active   118614   118614 Fresh County Market                      2550 Arthur St                      Gary                IN   46404   10/2/2020
coincloud1644   ColeKepro 3.0   143679   143679.USA   354440122                    Active   120267   120267 HEB                                      23500 Circle Oak Pkwy               Richmond            TX   77469   10/2/2020
coincloud1648   ColeKepro 3.0   143683   143683.USA   354480890                    Active   125402   125402 Spec's Wines, Spirits & Finer Foods      1434 S Valley Mills Dr              Waco                TX   76711   10/2/2020
coincloud1649   ColeKepro 3.0   143684   143684.USA   354441027                    Active   120011   120011 Stripes                                  2901 N. Bryant Blvd                 San Angelo          TX   76903   10/2/2020
coincloud1656   ColeKepro 3.0   143691   143691.USA   354440133                    Active   120359   120359 HEB                                      110 Brazos street                   West Columbia       TX   77486   10/2/2020
coincloud1657   ColeKepro 3.0   143692   143692.USA   354480151                    Active   108578   108578 7-Eleven                                 2825 Briargate                      Colorado Springs CO      80920   10/2/2020
coincloud1661   ColeKepro 3.0   143696   143696.USA   354480249                    Active   108576   108576 7-Eleven                                 11802 E Oswego St                   Englewood           CO   80112   10/2/2020
coincloud1662   ColeKepro 3.0   143697   143697.USA   354440140                    Active   120175   120175 Stripes                                  4002 S Chadbourne St                San Angelo          TX   76904   10/2/2020
coincloud1663   ColeKepro 3.0   143698   143698.USA   354440789                    Active   119794   119794 Harvest Farmers Market                   25115 Gosling Rd                    Spring              TX   77389   10/2/2020
coincloud1664   ColeKepro 3.0   143699   143699.USA   354440792                    Active   116336   116336 Citistop #112                            45 Charlotte St                     Asheville           NC   28801   10/2/2020
coincloud1670   ColeKepro 3.0   143705   143705.USA   354440146                    Active   119993   119993 Stripes                                  2701 Sunset Dr                      San Angelo          TX   76904   10/2/2020
coincloud1676   ColeKepro 3.0   143711   143711.USA   354440820                    Active   118207   118207 Miller's Market                          420 S Detroit St                    LaGrange            IN   46761   10/2/2020
coincloud1681   ColeKepro 3.0   143716   143716.USA   354480056                    Active   116126   116126 Filipino Food Mart                       1785 Pass Rd #B                     Biloxi              MS   39531   10/2/2020
coincloud1682   ColeKepro 3.0   143717   143717.USA   354440149                    Active   120271   120271 HEB                                      9595 Six Pines Dr                   The Woodlands       TX   77380   10/2/2020
coincloud1683   ColeKepro 3.0   143718   143718.USA   354441026                    Active   115334   115334 Exxon                                    7850 Garners Ferry Rd               Columbia            SC   29209   10/2/2020
coincloud1692   ColeKepro 3.0   143727   143727.USA   354480062                    Active   118208   118208 Miller's Market                          117 Whittlesey Ave                  Norwalk             OH   44857   10/2/2020
coincloud1698   ColeKepro 3.0   143733   143733.USA   354440829                    Active   125363   125363 Spec's Wines, Spirits & Finer Foods      1729 Texas Ave S                    College Station     TX   77840   10/2/2020
coincloud1706   ColeKepro 3.0   143741   143741.USA   354480018                    Active   115323   115323 Pap's Carry Out - Convenient Mart        3958 Gallia St                      New Boston          OH   45662   10/2/2020
coincloud1711   ColeKepro 3.0   143746   143746.USA   354480251                    Active   113815   113815 Tienda Latina                            665 E 3rd St                        Forest              MS   39074   10/2/2020
coincloud1713   ColeKepro 3.0   143748   143748.USA   354441046                    Active   116091   116091 Shamrock Plaza Liquors                   289 McKnight Rd S                   St Paul             MN   55119   10/2/2020
coincloud1716   ColeKepro 3.0   143751   143751.USA   354480258                    Active   115330   115330 Kirkwood Laundromat                      636 W Woodbine Ave                  Kirkwood            MO   63122   10/2/2020
coincloud1721   ColeKepro 3.0   143756   143756.USA   354480222                    Active   115375   115375 Coastal Laundry                          400 N Kings Hwy #suite c-2          Myrtle Beach        SC   29577   10/2/2020
coincloud1722   ColeKepro 3.0   143757   143757.USA   354480242                    Active   115320   115320 Carolina Silver And Gold                 1700 Stanley Rd                     Greensboro          NC   27407   10/2/2020
coincloud1726   ColeKepro 3.0   143761   143761.USA   354480202                    Active   115342   115342 Right Market #2                          10045 Frankstown Rd                 Pittsburgh          PA   15235   10/2/2020
coincloud1728   ColeKepro 3.0   143763   143763.USA   354480219                    Active   115365   115365 Chevron                                  6651 Boulevard 26                   North Richland HillsTX   76180   10/2/2020
coincloud1734   ColeKepro 3.0   143769   143769.USA   354480030                    Active   115328   115328 PBR VAPORS                               5208 MS-15                          Ecru                MS   38841   10/2/2020
coincloud2034   ColeKepro 3.0   143779   143779.USA   354440027                    Active   125497   125497 Spec's Wines, Spirits & Finer Foods      1600 Eastchase Pkwy                 Fort Worth          TX   76120   10/2/2020
coincloud1749   ColeKepro 3.0   143784   143784.USA   354480386                    Active   119110   119110 ATX Laundry                              1729 E Riverside Dr #Unit C         Austin              TX   78741   10/2/2020
coincloud1750   ColeKepro 3.0   143785   143785.USA   354440006                    Active   119992   119992 Stripes                                  4560 Sherwood Way                   San Angelo          TX   76901   10/2/2020
coincloud1752   ColeKepro 3.0   143787   143787.USA   354480275                    Active   108825   108825 Friendly's Sports Bar                    3971 Bayless Ave                    St. Louis           MO   63125   10/2/2020
coincloud1754   ColeKepro 3.0   143789   143789.USA   354480233                    Active   113875   113875 Sunny's Kwik Stop                        11700 East 86th St N                Owasso              OK   74055   10/2/2020
coincloud1755   ColeKepro 3.0   143790   143790.USA   354440384                    Active   120395   120395 HEB                                      9710 Katy Fwy                       Houston             TX   77055   10/2/2020
coincloud1761   ColeKepro 3.0   143796   143796.USA   354440131                    Active   120362   120362 HEB                                      2300 N Shepherd Dr                  Houston             TX   77008   10/2/2020
coincloud1767   ColeKepro 3.0   143802   143802.USA   354440188                    Active   120260   120260 HEB                                      6430 Garth Rd                       Baytown             TX   77521   10/2/2020
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coincloud1768     ColeKepro 3.0      143803        143803.USA       354440117                          Active   124691   124691 Allsup's Convenience Store                                     2401 S 1st St                    Abilene            TX   79605   10/2/2020
coincloud1774     ColeKepro 3.0      143809        143809.USA       354480059                          Active   120385   120385 HEB                                                            4955 Hwy 6                       Houston            TX   77084    10/2/2020
coincloud1776     ColeKepro 3.0      143811        143811.USA       354440835                          Active   120340   120340 HEB                                                            12680 W Lake Houston Pkwy 8      Houston            TX   77044   10/2/2020
coincloud1780     ColeKepro 3.0      143815        143815.USA       354440801                          Active   120376   120376 HEB                                                            28520 Tomball Parkway            Tomball            TX   77375    10/2/2020
coincloud1781     ColeKepro 3.0      143816        143816.USA       354480273                          Active   115369   115369 Pacolet Food Mart                                              441 SC-150                       Pacolet            SC   29372    10/2/2020
coincloud1782     ColeKepro 3.0      143817        143817.USA       354480211                          Active   115048   115048 Contender eSports                                              3010 S National Ave              Springfield        MO   65804    10/2/2020
coincloud1794     ColeKepro 3.0      143829        143829.USA       354440772                          Active   120277   120277 HEB                                                            20311 Champion Forest Dr         Spring             TX   77379    10/2/2020
coincloud1801     ColeKepro 3.0      143836        143836.USA       354440142                          Active   120192   120192 Stripes                                                        2 SW 11th St                     Lawton             OK   73501    10/2/2020
coincloud1811     ColeKepro 3.0      143846        143846.USA       354480272                          Active   114611   114611 Aladdin Grill & Pizza                                          1723 Cumberland Ave              Knoxville          TN   37916   10/2/2020
coincloud1820     ColeKepro 3.0      143855        143855.USA       354440220                          Active   120184   120184 Stripes                                                        2717 Industrial Blvd             Abilene            TX   79605   10/2/2020
coincloud1825     ColeKepro 3.0      143860        143860.USA       354440094                          Active   120187   120187 Stripes                                                        1103 S. 11th street              Lawton             OK   73501    10/2/2020
coincloud1828     ColeKepro 3.0      143863        143863.USA       354440832                          Active   116335   116335 CitiStop 111                                                   357 New Leicester Hwy            Asheville          NC   28806    10/2/2020
coincloud1832     ColeKepro 3.0      143867        143867.USA       354440130                          Active   120553   120553 Chief                                                          890 S Cable Rd                   Lima               OH   45805    10/2/2020
coincloud1834     ColeKepro 3.0      143869        143869.USA       354440809                          Active   116337   116337 CitiStop Store 113                                             779 Biltmore Ave                 Asheville          NC   28803    10/2/2020
coincloud1835     ColeKepro 3.0      143870        143870.USA       354480226                          Active   115343   115343 BP                                                             2250 N Limestone St              Springfield        OH   45503    10/2/2020
coincloud1838     ColeKepro 3.0      143873        143873.USA       354440184                          Active   119977   119977 Stripes                                                        1306 W Wallace St                San Saba           TX   76877   10/2/2020
coincloud1839     ColeKepro 3.0      143874                         354480897                          Active   115341   115341 Right Market                                                   1028 Penn Ave                    Pittsburgh         PA   15221    10/2/2020
coincloud1840     ColeKepro 3.0      143875         143875.USA      354440108                          Active   120258   120258 HEB                                                            3111 Woodridge Dr Suite 500      Houston            TX   77087    10/2/2020
coincloud1858     ColeKepro 3.0      143893         143893.USA      354440771                          Active   118179   118179 GreenAcres Market                                              6574 E Central Ave               Wichita            KS   67206    10/2/2020
coincloud1861     ColeKepro 3.0      143896         143896.USA      354480054                          Active   117528   117528 Tickle Pink Convenience                                        3080 Kernersville Rd             Winston-Salem      NC   27107   10/2/2020
coincloud1865     ColeKepro 3.0      143900         143900.USA      354440769                          Active   119800   119800 Capital Coin & Bullion                                         7304 Burnet Rd                   Austin             TX   78757   10/2/2020
coincloud1500     ColeKepro 3.0      143914         143914.USA      354440802                          Active   120341   120341 HEB                                                            2710 Pearland Pkwy               Pearland           TX   77581    10/2/2020
coincloud1883     ColeKepro 3.0      143918         143918.USA      354440164                          Active   119756   119756 Stripes                                                        901 Glenna St                    San Angelo         TX   76901   10/2/2020
coincloud1887     ColeKepro 3.0      143922         143922.USA      354440179                          Active   120548   120548 Chief                                                          221 Summit St                    Celina             OH   45822    10/2/2020
coincloud1891     ColeKepro 3.0      143926         143926.USA      354440139                          Active   120204   120204 Stripes                                                        1120 Falcon Rd                   Altus              OK   73521    10/2/2020
coincloud1895     ColeKepro 3.0      143930         143930.USA      354440103                          Active   122397                                                                                                                                           10/2/2020
coincloud1902     ColeKepro 3.0      143937         143937.USA      354480099                          Active   119595   119595 Resurrected Movies, Video Games & More                         2815 Guadalupe St #C             Austin             TX   78705   10/2/2020
coincloud1910     ColeKepro 3.0      143945         143945.USA      354440077                          Active   120189   120189 Stripes                                                        601 S. Sheridan Rd               Lawton             OK   73505    10/2/2020
coincloud1916     ColeKepro 3.0      143951         143951.USA      354440125                          Active   120343   120343 HEB                                                            2508 S Day St                    Brenham            TX   77833    10/2/2020
coincloud1917     ColeKepro 3.0      143952         143952.USA      354480053                          Active   118173   118173 GreenAcres Market Wichita                                      8141 E 21st St N                 Wichita            KS   67206    10/2/2020
coincloud1918     ColeKepro 3.0      143953         143953.USA      354440826                          Active   116331   116331 CitiStop 105                                                   1297 Sweeten Creek Rd            Asheville          NC   28803    10/2/2020
coincloud1920     ColeKepro 3.0      143955         143955.USA      354440813                          Active   118048   118048 BP                                                             181 W First St                   Blue Ridge         GA   30513    10/2/2020
coincloud1921     ColeKepro 3.0      143956         143956.USA      354480297                          Active   115316   115316 Devour Cafe                                                    1798 Central Ave                 Dubuque            IA   52001    10/2/2020
coincloud1922     ColeKepro 3.0      143957         143957.USA      354440280                          Active   120550   120550 Chief                                                          810 E Main St                    Coldwater          OH   45828    10/2/2020
coincloud1924     ColeKepro 3.0      143959         143959.USA      354440170                          Active   119782   119782 Stripes                                                        1821 N Bryant Blvd               San Angelo         TX   76903    10/2/2020
coincloud1926     ColeKepro 3.0      143961         143961.USA      354440870                          Active   120436   120436 iPhone Repair Austin - Apple Repair Austin - Hi-Tech Gadgets   13401 Pond Springs Rd            Austin             TX   78729   10/2/2020
coincloud1938     ColeKepro 3.0      143973         143973.USA      354440073                          Active   124816   124816 Game X Change                                                  2008 Crockett Rd                 Palestine          TX   75801    10/2/2020
coincloud1939     ColeKepro 3.0      143974         143974.USA      354440080                          Active   120202   120202 Stripes                                                        8 N.W. 67th St                   Lawton             OK   73505    10/2/2020
coincloud1945     ColeKepro 3.0      143980         143980.USA      354480370                          Active   116343   116343 Citistop #118                                                  3715 Sweeten Creek Rd            Arden              NC   28704   10/2/2020
coincloud1948     ColeKepro 3.0      143983         143983.USA      354440158                          Active   120212   120212 Stripes                                                        6457 NW Cache Rd                 Lawton             OK   73505   10/2/2020
coincloud1956     ColeKepro 3.0      143991         143991.USA      354440115                          Active   120151   120151 Stripes                                                        4057 Loop 322                    Abilene            TX   79602    10/2/2020
coincloud1957     ColeKepro 3.0      143992         143992.USA      354440099                          Active   119985   119985 Stripes                                                        601 W Commerce St                Brownwood          TX   76801    10/2/2020
coincloud1966     ColeKepro 3.0      144001         144001.USA      354440195                          Active   119105   119105 Liquor Mart                                                    1512 E Exchange Pkwy Suite 400   Allen              TX   75002   10/2/2020
coincloud1974     ColeKepro 3.0      144009         144009.USA      354440109                          Active   120186   120186 Stripes                                                        2908 N. Ft. Sill Blvd.           Lawton             OK   73507    10/2/2020
coincloud1981     ColeKepro 3.0      144016         144016.USA      354440209                          Active   117930   117930 Facet Jewelry Music & Pawn - Milford                           505 Chamber Dr                   Milford            OH   45150   10/2/2020
coincloud1985     ColeKepro 3.0      144020         144020.USA      354440121                          Active   119965   119965 Stripes                                                        3801 hWY 377 S & Crockett        Brownwood          TX   76801    10/2/2020
coincloud1987     ColeKepro 3.0      144022         144022.USA      354440030                          Active   120519   120519 Community Markets                                              154 Vance St                     Bluffton           OH   45817    10/2/2020
coincloud2003     ColeKepro 3.0      144038         144038.USA      354440176                          Active   120210   120210 Stripes                                                        3801 W Gore Blvd                 Lawton             OK   73505    10/2/2020
coincloud2007     ColeKepro 3.0      144042         144042.USA      354480205                          Active   115359   115359 Miska's Corner Store                                           365 E North Ave.                 Glendale Heights   IL   60139   10/2/2020
coincloud2011     ColeKepro 3.0      144046         144046.USA      354441029                          Active   117742   117742 Bubbles coin Laundry                                           315 S Water Ave #suite c         Gallatin           TN   37066   10/2/2020
coincloud2014     ColeKepro 3.0      144049         144049.USA      354440790                          Active   116971   116971 West Mount One Stop                                            8206 West Mount Drive            Rocky Mount        NC   27803   10/2/2020
coincloud2022     ColeKepro 3.0      144057         144057.USA      354440098                          Active   119652   119652 Pop's Quick Stop                                               303 E Central Ave                Comanche           TX   76442    10/2/2020
coincloud2024     ColeKepro 3.0      144059         144059.USA      354440787                          Active   119712   119712 Stripes                                                        935 Knickerbocker Rd             San Angelo         TX   76903    10/2/2020
coincloud2035     ColeKepro 3.0      144070         144070.USA      354440779                          Active   119757   119757 Stripes                                                        3925 S Bryant Blvd               San Angelo         TX   76903    10/2/2020
coincloud2042     ColeKepro 3.0      144077         144077.USA      354440770                          Active   119783   119783 Stripes                                                        1322 S Bryant Blvd               San Angelo         TX   76903    10/2/2020
coincloud2045     ColeKepro 3.0      144080         144080.USA      354440846                          Active   118212   118212 Miller's Bros Supervalue                                       711 Wooster St                   Lodi               OH   44254    10/2/2020
coincloud2059     ColeKepro 3.0      144094         144094.USA      354440061                          Active   120530   120530 Community Markets                                              279 W Water St                   Oak Harbor         OH   43449    10/2/2020
coincloud2244     ColeKepro 3.0      144320         144320.USA      354480318                          Active   135651   135651 H-E-B                                                          705 S Key Ave                    Lampasas           TX   76550    10/2/2020
coincloud2361     ColeKepro 3.0      144396         144396.USA      354440276                          Active   125392   125392 Phone Repair & More - iPhone, Computer, Laptop in Tampa        5537 Sheldon Rd #suite f         Tampa              FL   33615   10/2/2020
coincloud2446     ColeKepro 3.0      144469         144469.USA      354440251                          Active   113878   113878 Pegasus Games                                                  6640 Odana Rd                    Madison            WI   53719    10/2/2020
coincloud2633     ColeKepro 3.0      144500         144500.USA      354480603                          Active   101568   101568 Saguaro Express                                                1051 S Craycroft Rd              Tucson             AZ   85711    10/2/2020
coincloud2566     ColeKepro 3.0      145127         145127.USA      354430604                          Active   101426   101426 Chevron                                                        37167 Sierra Hwy                 Palmdale           CA   93550    10/2/2020
coincloud2603     ColeKepro 3.0      145226         145226.USA      354480289                          Active   104402   104402 La Vista Market                                                1168 E 4th St                    Long Beach         CA   90802    10/2/2020
coincloud2605     ColeKepro 3.0      145239         145239.USA      354480634                          Active   101491   101491 Field Myrtle Oil                                               1602 S Myrtle Ave                Monrovia           CA   91016    10/2/2020
coincloud2583     ColeKepro 3.0      145254         145254.USA      354480143                          Active   101503   101503 Mobil                                                          1010 N Soto St                   Los Angeles        CA   90033    10/2/2020
coincloud2599     ColeKepro 3.0      145259         145259.USA      354480686                          Active   101460   101460 Gardena Mobile Mart                                            1645 W 190th St                  Gardena            CA   90248    10/2/2020
coincloud2678     ColeKepro 3.0      145359         145359.USA      354480626                          Active   115319   115319 Vista Beverage House                                           999 E Fry Blvd                   Sierra Vista       AZ   85635    10/2/2020
coincloud4242     ColeKepro 3.0      147776         147776.USA      354440111                          Active   120515   120515 Needler's Fresh Market                                         982 N Market St                  Troy               OH   45373    10/2/2020
coincloud5579     ColeKepro 5.0      149110         149110.USA      354441250      Suwanee, GA         Active   126926   126926 Food Depot                                                     2203 Watson Blvd                 Warner Robins      GA   31093    8/7/2021
coincloud5634     ColeKepro 5.0      149165         149165.USA      354420622      Hayward, CA         Active   143102   143102 Newgate Mall                                                   3651 Wall Ave                    Ogden              UT   84405    8/7/2021
coincloud5747     ColeKepro 5.0      149278         149278.USA      354421129      Hayward, CA         Active   130469   130469 Liberty Market                                                 1471 B St ## E                   Livingston         CA   95334    8/7/2021
coincloud5785     ColeKepro 5.0      149316         149316.USA      354480883       Sanford, FL        Active   121407   121407 ACE Cash Express                                               10152 Atlantic Blvd              Jacksonville       FL   32225    8/7/2021
coincloud5954     ColeKepro 5.0      149485         149485.USA      354480026      Hayward, CA         Active   121054   121054 ACE                                                            1340 W Olive Ave                 Merced             CA   95348     8/7/2021
coincloud5960     ColeKepro 5.0      149491         149491.USA      354470305      Hayward, CA         Active   128162   128162 Metreon                                                        135 4th St                       San Francisco      CA   94103    8/7/2021
coincloud6281     ColeKepro 5.0      149812         149812.USA      354450362   City of Industry,CA    Active   147183   147183 Good2Go                                                        3727 N Yellowstone Hwy           Idaho Falls        ID   83401    8/7/2021
coincloud6450     ColeKepro 5.0      149981         149981.USA      354430464      Westbury,NY         Active   151370   151370 Marketon                                                       3736 E Desert Inn Rd             Las Vegas          NV   89121    8/7/2021
coincloud6488     ColeKepro 5.0      150019         150019.USA      354410949      Westbury,NY         Active   104221   104221 Kwick Stop                                                     4484 S 1900 W SUITE #4           Roy                UT   84067    8/7/2021
coincloud6586     ColeKepro 5.0      150117         150117.USA      354480653    New Orleans,LA        Active   137549   137549 Save A Lot                                                     9624-A US-301                    Riverview          FL   33578    8/7/2021
coincloud6668     ColeKepro 5.0      150199         150199.USA      354480913     GRAPEVINE, TX        Active   150728   150728 Loaf 'N Jug                                                    200 Main St                      Walsenburg         CO   81089    8/7/2021
coincloud6670     ColeKepro 5.0      150201         150201.USA      354430869     GRAPEVINE, TX        Active   150748   150748 Cumberland Farms                                               143 Park Ave                     West Springfield   MA    1089    8/7/2021
coincloud150215   ColeKepro 5.0      150215         150215.USA      354441095    Kansas City, MO       Active   142001   142001 Central Mall                                                   2259 S 9th St                    Salina             KS   67401    8/7/2021
coincloud150729   ColeKepro 5.0      150729         150729.USA      354440319       Sterling, VA       Active   152210   152210 Royal Farms                                                    2605 S Queen St                  York               PA   17402     8/7/2021
coincloud150738   ColeKepro 5.0      150738         150738.USA      354420121       Sterling, VA       Active   152190   152190 Royal Farms                                                    304 N Dupont Blvd                Smyrna             DE   19977    8/7/2021
coincloud150849   ColeKepro 5.0      150849         150849.USA      354480055       Sterling, VA       Active   152184   152184 Royal Farms                                                    25451 Lizzio Center Dr           Chantilly          VA   20152    8/7/2021
coincloud150863   ColeKepro 5.0      150863         150863.USA      354480644       Sterling, VA       Active   152250   152250 Royal Farms                                                    2497 Lankford Hwy                New Church         VA   23415    8/7/2021
coincloud150936   ColeKepro 5.0      150936         150936.USA      354480924       Sterling, VA       Active   152212   152212 Royal Farms                                                    5456 N Dupont Hwy                Dover              DE   19901     8/7/2021
coincloud150945   ColeKepro 5.0      150945         150945.USA      354480267       Sterling, VA       Active   152207   152207 Royal Farms                                                    850 Hellam St                    Wrightsville       PA   17368    8/7/2021
coincloud150957   ColeKepro 5.0      150957         150957.USA      354430536       Sterling, VA       Active   152194   152194 Royal Farms                                                    10988 Red Run Blvd               Owings Mills       MD   21117    8/7/2021
coincloud150967   ColeKepro 5.0      150967         150967.USA      354480244       Sterling, VA       Active   152156   152156 Royal Farms                                                    5573 Shady Side Rd               Churchton          MD   20733    8/7/2021
coincloud150969   ColeKepro 5.0      150969         150969.USA      354440491       Sterling, VA       Active   152226   152226 20474 Lankford Hwy                                             20474 Lankford Hwy               Parksley           VA   23421    8/7/2021
coincloud150972   ColeKepro 5.0      150972         150972.USA      354420036       Sterling, VA       Active   152248   152248 Royal Farms                                                    7900 Royalty Wy                  Salisbury          MD   21801    8/7/2021
coincloud150974   ColeKepro 5.0      150974         150974.USA      354430569       Sterling, VA       Active   152232   152232 Royal Farms                                                    8198 Veterans Hwy                Millersville       MD   21108    8/7/2021
coincloud150982   ColeKepro 5.0      150982         150982.USA      354430129       Sterling, VA       Active   152115   152115 Royal Farms                                                    3700 Donnell Dr                  District Heights   MD   20747    8/7/2021
coincloud150988   ColeKepro 5.0      150988         150988.USA      354430416       Sterling, VA       Active   152246   152246 Royal Farms                                                    517 Ritchie Hwy                  Severna Park       MD   21146    8/7/2021
coincloud151085   ColeKepro 5.0      151085        151085.USA       354440452     Las Vegas, NV        Active   152245   152245 Royal Farms                                                    101 N Salisbury Blvd             Salisbury          MD   21801    8/7/2021
coincloud151088   ColeKepro 5.0      151088         151088.USA      354440377       Sterling, VA       Active   152213   152213 Royal Farms                                                    101 Carlisle St                  Hanover            PA   17331    8/7/2021
coincloud151091   ColeKepro 5.0      151091         151091.USA      354440606       Sterling, VA       Active   152168   152168 Royal Farms                                                    1261 Liberty Rd                  Eldersburg         MD   21784    8/7/2021
coincloud151104   ColeKepro 5.0      151104         151104.USA      354480849       Sterling, VA       Active   152163   152163 Royal Farms                                                    11510 Reisterstown Rd            Owings Mills       MD   21117    8/7/2021
coincloud151149   ColeKepro 5.0      151149         151149.USA      354420495       Sterling, VA       Active   152098   152098 Royal Farms                                                    1708 Monocacy Blvd               Frederick          MD   21701    8/7/2021
coincloud151179   ColeKepro 5.0      151179         151179.USA      354450118       Sterling, VA       Active   152292   152292 Royal Farms                                                    4500 Mountain Rd                 Pasadena           MD   21122    8/7/2021
coincloud151306   ColeKepro 5.0      151306         151306.USA      354430900       Sterling, VA       Active   152161   152161 Royal Farms                                                    8551 Fort Smallwood Rd           Riviera Beach      MD   21122    8/7/2021
coincloud151315   ColeKepro 5.0      151315         151315.USA      354440187     Las Vegas, NV        Active   152215   152215 Royal Farms                                                    4317 Lankford Hwy                Exmore             VA   23350    8/7/2021
coincloud333      Slabb 1.0       5.41325E+14   41325000000001.US   354440346                          Active   103759   103759 Irving Gas                                                     978 Broad St                     Meriden            CT    6450   12/18/2018
coincloud484      APSM 1.1        5.41537E+14   41537000000052.US   354440498                          Active   103236   103236 BP                                                             4500 River Rd.                   Columbus           GA   31904    9/19/2019
coincloud600      APSM 1.1        5.42015E+14   42015000000018.US   354440347                          Active   104302   104302 Gasoline Ray's Dive Bar                                        4907 Crossroads Dr #suite f      El Paso            TX   79932    9/19/2019
coincloud615      APSM 1.1        5.42015E+14   42015000000033.US   354410325                          Active   103363   103363 Major Discount Liquor                                          2913 Dickerson Pike              Nashville          TN   37207    9/19/2019
coincloud640      APSM 1.1        5.42016E+14   42016000000008.US   354430024                          Active   104419   104419 Kwik Sak 615                                                   4890 Lebanon Pike                Nashville          TN   37076    9/19/2019
coincloud643      APSM 1.1        5.42016E+14   42016000000011.US   354420876                          Active   104417   104417 Tobacco & Beer                                                 1374 W Clark Blvd                Murfreesboro       TN   37129    9/19/2019
coincloud645      APSM 1.1        5.42016E+14   42016000000013.US   354430003                          Active   104403   104403 Kwik Sak                                                       1630 Bradyville Pike             Murfreesboro       TN   37130    9/19/2019
coincloud648      APSM 1.1        5.42016E+14   42016000000016.US   354420907                          Active   104422   104422 Citgo                                                          701 Dickerson Pike               Nashville          TN   37207    9/19/2019
coincloud685      APSM 1.1        5.42018E+14   42018000000003.US   354420952                          Active   103032   103032 911 Food Mart                                                  11909 Pico Blvd                  Los Angeles        CA   90064    9/19/2019
coincloud703      APSM 1.1        5.42018E+14   42018000000021.US   354421132                          Active   104109   104109 Super Express                                                  2447 Wrightsboro Rd              Augusta            GA   30909    9/19/2019
coincloud901      APSM 1.1        5.42018E+14   018000000041USA.    354430685                          Active   108052   108052 BP                                                             36 E US-24                       Monroe City        MO   63456    9/19/2019
coincloud904      APSM 1.1        5.42018E+14   42018000000044.US   354410316                          Active   108064   108064 Tri M Mini Mart                                                250 Swanson Ave                  Lake Havasu City   AZ   86403    9/19/2019
coincloud912      APSM 1.1        5.42027E+14   42027000000002.US   354441128                          Active   108123   108123 Lucky's Beer & Wine                                            6505 Duck Creek Dr               Garland            TX   75043    9/19/2019
coincloud914      APSM 1.1        5.42027E+14   42027000000004.US   354420433                          Active   108149   108149 5 king wine & liquor                                           316 S Lexington Dr               Folsom             CA   95630    9/19/2019
coincloud919      APSM 1.1        5.42027E+14   42027000000009.US   354420045                          Active   108146   108146 Xpress Food Mart                                               5790 N Fresno St                 Fresno             CA   93710    9/19/2019
coincloud923      APSM 1.1        5.42027E+14   42027000000013.US   354420004                          Active   108145   108145 Shell Food Mart                                                4035 US-17                       Richmond Hill      GA   31324    9/19/2019
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coincloud927    APSM 1.1         5.42027E+14 42027000000017.US   354440639    Active   108195   108195 CITY FUELS                                        425 S Winnebago St                   Rockford          IL   61102   9/19/2019
coincloud935    APSM 1.1         5.42027E+14 027000000025USA.    354440603    Active   108179   108179 K Discount Outlet                                 2701 Sanford St                      Muskegon          MI   49444   9/19/2019
coincloud942    APSM 1.1         5.42027E+14 42027000000032.US   354440409    Active   108702   108702 the Joint on 7th                                  5501 N 7th Ave #Suite 102            Phoenix           AZ   85013   9/19/2019
coincloud948    APSM 1.1         5.42027E+14 42027000000038.US   354440475    Active   108598   108598 Harley's Smoke Shop                               9333 E Main St suite 123             Mesa              AZ   85207   9/19/2019
coincloud949    APSM 1.1         5.42027E+14 42027000000039.US   354470313    Active   103527   103527 Grams Mini Mart                                   9009 N 103rd Ave #101                Sun City          AZ   85351   9/19/2019
coincloud955    APSM 1.1         5.42027E+14 42027000000045.US   354440499    Active   108088   108088 Bastrop Country Store                             108 Watterson Rd                     Bastrop           TX   78602   9/19/2019
coincloud958    APSM 1.1         5.42027E+14 42027000000048.US   354440327    Active   108587   108587 Green Trail Smoke Shop                            811 W University Dr #Suite #103      Mesa              AZ   85201   9/19/2019
coincloud939    APSM 1.1          5.4227E+12 5422700000029.USA   354440460    Active   108619   108619 Helios Smoke & Vape                               2905 S Ellsworth Rd #Suite 104       Mesa              AZ   85212   9/19/2019
coincloud961    APSM 1.1         5.42489E+14 42489000000001.US   354440854    Active   108206   108206 Gateway Liquor                                    3751 N Tower Rd                      Aurora            CO   80011   9/19/2019
coincloud943    APSM 1.1         6.42027E+14 42027000000033.US   354440434    Active   108713   108713 Fairway Liquor Market                             340 W Brown Rd                       Mesa              AZ   85201   9/19/2019
coincloud443    APSM 1.1         5.41537E+14                     354410972    Active   103965   103965 Westland Shopping Center                          35000 Warren Rd                      Westland          MI   48185   9/19/2019
coincloud664    APSM 1.1         5.42016E+14                     354420870    Active   104426   104426 FavTrip                                           9500 Blue Ridge Blvd                 Kansas City       MO   64134   9/19/2019
coincloud667    APSM 1.1         5.42016E+14                     354420098    Active   104429   104429 Phillips 66                                       4300 E Truman Rd                     Kansas City       MO   64127   9/19/2019
coincloud668    APSM 1.1         5.42016E+14                     354420888    Active   104430   104430 Sinclair                                          1704 Grand Blvd.                     Kansas City       MO   64108   9/19/2019
coincloud1729   ColeKepro 3.0       143764                       354480074    Active   118281   118281 Clif's Cleaners                                   4304 Pike Ave                        North Little Rock AR   72118   10/2/2020
coincloud798    ColeKepro 1.0       141989                       354421170    Active   108018   108018 A1 Stop Beer & Wine Smoke Shop                    6505 N 59th Ave                      Glendale          AZ   85301    5/7/2020
coincloud1429   ColeKepro 3.0       143464                       354480088    Active   108684   108684 Beverage House                                    1330 San Antonio Ave                 Douglas           AZ   85607   10/2/2020
coincloud1384   ColeKepro 3.0       143419                       354480308    Active   109030   109030 Grinders Coffee Co.                               17 E Dunlap Ave ##104                Phoenix           AZ   85020   10/2/2020
coincloud834    ColeKepro 1.0       142042                       354420693    Active   108060   108060 Mobil                                             3041 E Andy Devine Ave               Kingman           AZ   86401    5/7/2020
coincloud2575   ColeKepro 3.0       145139                       354480140    Active   120759   120759 Tienda, Carniceria, Restaurante La NorteÃƒÂ±ita   1541 S Milton Rd                     Flagstaff         AZ   86001   10/2/2020
coincloud1571   ColeKepro 3.0       143606                       354440221    Active   113861   113861 Discount Cigarettes                               86 Eureka Sq                         Pacifica          CA   94044   10/2/2020
coincloud1094   ColeKepro 2.0       143129                       354440369    Active   109037   109037 Express Mart Food Store                           5071 24th St                         Sacramento        CA   95822   8/28/2020
coincloud1088   ColeKepro 2.0       143123                       354480853    Active   103557   103557 Lucky 1 Liquor                                    25571 Marguerite Pkwy ## A           Mission Viejo     CA   92692   8/28/2020
coincloud1092   ColeKepro 2.0       143127                       354480863    Active   109036   109036 SJ Dollar Plus Market                             2541 Del Paso Blvd                   Sacramento        CA   95815   8/28/2020
coincloud907    APSM 1.1         5.42018E+14                     354470114    Active   108068   108068 South Union Mini-Mart                             5500 S Union Ave                     Bakersfield       CA   93307   9/19/2019
coincloud2442   ColeKepro 3.0       144484                       354480675    Active   109025   109025 Super Quick Food Store                            10542 Fair Oaks Blvd                 Fair Oaks         CA   95628   10/2/2020
coincloud906    APSM 1.1         5.42018E+14                     354420757    Active   103751   103751 Tobacco Revolution                                15652 Leffingwell Rd                 Whittier          CA   90604   9/19/2019
coincloud1573   ColeKepro 3.0       143608                       354420042    Active   118615   118615 Treats True Value Genl Store                      197 E St Charles St                  San Andreas       CA   95249   10/2/2020
coincloud1093   ColeKepro 2.0       143128                       354480309    Active   108493   108493 Vallarta Supermarket                              815 E. Ave K                         Lancaster         CA   93535   8/28/2020
coincloud1116   ColeKepro 2.0       143151                       354480174    Active   108609   108609 Cards and Coffee                                  6363 Hollywood Blvd                  Los Angeles       CA   90028   8/28/2020
coincloud1047   ColeKepro 2.0       143082                       354440456    Active   108443   108443 American Spirits Colorado                         5969 N Academy Blvd Suite 204        Colorado Springs CO    80918   8/28/2020
coincloud1377   ColeKepro 3.0       143412                       354480980    Active   108642   108642 Apache Liquor                                     2020 S Parker Rd                     Denver            CO   80231   10/2/2020
coincloud947    APSM 1.1         5.42027E+13                     354440647    Active   108218   108218 Bootlegger Liqour                                 2375 W Alameda Ave                   Denver            CO   80223   9/19/2019
coincloud1439   ColeKepro 3.0       143474                       354480256    Active   108848   108848 Bottle Shop                                       876 S Havana St                      Aurora            CO   80012   10/2/2020
coincloud1464   ColeKepro 3.0       143499                       354480281    Active   108698   108698 Bottles&Bitters at Sloan's Lake                   5219 W 25th Ave                      Edgewater         CO   80214   10/2/2020
coincloud987    ColeKepro 1.0       143022                       354440685    Active   108764   108764 Boulevard Bottle Shop                             275 S Sheridan Blvd Suite #104       Lakewood          CO   80226   5/7/2020
coincloud1044   ColeKepro 2.0       143079                       354421020    Active   108465   108465 Conoco                                            520 Peterson Rd                      Colorado Springs CO    80915   8/28/2020
coincloud980    ColeKepro 1.0       143015                       354480245    Active   108365   108365 Corner RY Liquor                                  2315 W 92nd Ave                      Federal Heights   CO   80260    5/7/2020
coincloud1038   ColeKepro 2.0       143073                       354440677    Active   108396   108396 D & M Liquors                                     3910 Wadsworth Blvd                  Wheat Ridge       CO   80033   8/28/2020
coincloud1309   ColeKepro 3.0       143344                       354480271    Active   108435   108435 Detour Lounge                                     4080 Clearview Frontage Rd Suite G   Colorado Springs CO    80911   10/2/2020
coincloud1048   ColeKepro 2.0       143083                       354440691    Active   108348   108348 GG Convenience Store                              7520 E Colfax Ave                    Denver            CO   80220   8/28/2020
coincloud1023   ColeKepro 2.0       143058                       354440648    Active   108440   108440 Platte Ave Liquors                                841 E Platte Ave                     Colorado Springs CO    80903   8/28/2020
coincloud1028   ColeKepro 2.0       143063                       354440918    Active   108356   108356 Quality Discount Liquor                           650 S Wadsworth Blvd ## E            Lakewood          CO   80226   8/28/2020
coincloud1029   ColeKepro 2.0       143064                       354440659    Active   108371   108371 Skyline Village Liquors                           2235 W 84th Ave ## B                 Denver            CO   80260   8/28/2020
coincloud1502   ColeKepro 3.0       143537                       354440091    Active   124938   124938 Game X Change                                     116 Boston Post Rd                   Orange            CT    6477   10/2/2020
coincloud738    ColeKepro 1.0        18824                       354420011    Active   103758   103758 Bradley's Market                                  496 Spring St                        Windsor Locks     CT    6096    5/7/2020
coincloud2008   ColeKepro 3.0       144043                       354480206    Active   108738   108738 SC DISCOUNT TOBACCO & grocery                     4675 S Capitol St SW                 Washington        DC   20032   10/2/2020
coincloud1022   ColeKepro 2.0       143057                       354480025    Active   108315   108315 (Deli) Williamsville Country Store                3544 Williamsville Rd                Houston           DE   19954   8/28/2020
coincloud972    ColeKepro 1.0       143007                       354440484    Active   108336   108336 Fairfield Liquors                                 407 New London Rd                    Newark            DE   19711    5/7/2020
coincloud1705   ColeKepro 3.0       143740                       354480873    Active   118651   118651 Good Times Liquors                                5805 N 56th St                       Tampa             FL   33610   10/2/2020
coincloud1584   ColeKepro 3.0       143619                       354440823    Active   118669   118669 Super 7th Food Store                              4808 E 7th Ave #a                    Tampa             FL   33605   10/2/2020
coincloud1405   ColeKepro 3.0   No serial # found                354480609    Active   118606   118606 Auto Biz Repair Service Center                    709 Ahua St.                         Honolulu          HI   96819   10/2/2020
coincloud1484   ColeKepro 3.0       143519                       354480214    Active   108840   108840 Electric Underground                              1205 E San Marnan Dr                 Waterloo          IA   50702   10/2/2020
coincloud1822   ColeKepro 3.0       143857                       354480371    Active   117621   117621 Perry Creek Laundromat                            405 W 19th St                        Sioux City        IA   51103   10/2/2020
coincloud1979   ColeKepro 3.0       144014                       354480079    Active   117315   117315 QC Pawn                                           2147 W 3rd St                        Davenport         IA   52802   10/2/2020
coincloud995    ColeKepro 1.0       143030                       354440622    Active   108309   108309 Bean's Family Market                              105 S Rose st                        Elmwood           IL   61529    5/7/2020
coincloud1002   ColeKepro 1.0       143037                       354440626    Active   108282   108282 Brookfield Tobacco & Food                         8907 Burlington Ave                  Brookfield        IL   60513    5/7/2020
coincloud1034   ColeKepro 2.0       143069                       354440692    Active   108221   108221 Devon C Store                                     2144 W Devon Ave                     Chicago           IL   60659   8/28/2020
coincloud1440   ColeKepro 3.0       143475                       354480003    Active   108311   108311 King City Liquors                                 307 S 12th St                        Mt Vernon         IL   62864   10/2/2020
coincloud1322   ColeKepro 3.0       143357                       354480046    Active   108406   108406 Liquor Town                                       1005 Essington Rd                    Joliet            IL   60435   10/2/2020
coincloud744    ColeKepro 1.0       142013                       354480911    Active   116090   116090 Oakton Coins & Collectibles                       4547 Oakton St                       Skokie            IL   60076    5/7/2020
coincloud1021   ColeKepro 2.0       108377                       354440459    Active   108377   108377 Oswego Food Mart                                  100 Light Road                       Oswego            IL   60543   8/28/2020
coincloud1016   ColeKepro 2.0       143051                       354440681    Active   108287   108287 Park Side Food And Liquor                         3920 W Diversey Ave                  Chicago           IL   60647   8/28/2020
coincloud827    ColeKepro 1.0       142024                       354440312    Active   118442   118442 Potash Market                                     875 N State St                       Chicago           IL   60611    5/7/2020
coincloud853    ColeKepro 1.0       142032                       354440469    Active   108194   108194 ROCK RIVER MOBIL                                  360 College Ave                      Rockford          IL   61104    5/7/2020
coincloud984    ColeKepro 1.0       143019                       354440489    Active   108276   108276 STAR FOOD & LIQUOR                                310 N La Fox St ##4                  South Elgin       IL   60177    5/7/2020
coincloud1061   ColeKepro 2.0       143096                       354420132    Active   108244   108244 Burger Dairy                                      4023 W Sample St                     South Bend        IN   46619   8/28/2020
coincloud1493   ColeKepro 3.0       143528                       354480217    Active   108667   108667 Fort Wayne Halal Meat & Grocery                   2326 Hobson Rd                       Fort Wayne        IN   46805   10/2/2020
coincloud1534   ColeKepro 3.0       143569                       354441010    Active   114476   114476 Major Munch                                       101 NW 1st St #100                   Evansville        IN   47708   10/2/2020
coincloud1756   ColeKepro 3.0       143791                       354480089    Active   118213   118213 Miller's Market                                   10501 N STATE ROAD 9                 Rome City         IN   46784   10/2/2020
coincloud1245   ColeKepro 3.0       143280                       354450484    Active   107952   107952 Shell                                             5805 Fairfield Ave                   Fort Wayne        IN   46807   10/2/2020
coincloud1472   ColeKepro 3.0       143507                       354480285    Active   108655   108655 SM Gas                                            26499 US-20                          South Bend        IN   46628   10/2/2020
coincloud1280   ColeKepro 3.0       143315                       354480323    Active   108245   108245 Wakarusa Convenience Store                        914 E Waterford St                   Wakarusa          IN   46573   10/2/2020
coincloud658    APSM 1.1         5.42016E+14                     354430039    Active   104449   104449 Conoco                                            7154 Renner Rd                       Shawnee           KS   66217   9/19/2019
coincloud659    APSM 1.1         5.42016E+14                     354420979    Active   104434   104434 Pilot                                             4610 Kansas Ave                      Kansas City       KS   66106   9/19/2019
coincloud1850   ColeKepro 3.0       143885                       354440847    Active   116076   116076 Big City Styles                                   312 W Chestnut St                    Louisville        KY   40202   10/2/2020
coincloud1986   ColeKepro 3.0       144021                       354440048    Active   150976   150976 Minit Mart                                        500 S Main St                        Calvert City      KY   42029   10/2/2020
coincloud967    ColeKepro 1.0       143002                       354440476    Active   108404   108404 Caps & Corks Liquors                              1759 Elkton Rd                       Elkton            MD   21921    5/7/2020
coincloud633    APSM 1.1         5.42016E+14                     354430107    Active   104386   104386 Todd Conner's                                     700 S Broadway                       Baltimore         MD   21231   9/19/2019
coincloud1041   ColeKepro 2.0       143076                       354440279    Active   108557   108557 Washburn Trailside                                1094 Washburn Rd                     Washburn          ME    4786   8/28/2020
coincloud1763   ColeKepro 3.0       143798                       354440778    Active   118216   118216 Save A Lot                                        250 E Roosevelt Ave                  Battle Creek      MI   49037   10/2/2020
coincloud763    ColeKepro 1.0       141987                       354420599    Active   107967   107967 Cup Foods                                         3759 Chicago Ave                     Minneapolis       MN   55407    5/7/2020
coincloud1062   ColeKepro 2.0       143097                       354440451    Active   108065   108065 Kitty's Corner                                    7298 MN-65                           Fridley           MN   55432   8/28/2020
coincloud1851   ColeKepro 3.0       143886                       354480023    Active   115322   115322 Bellevue Laundromat                               1145 Bellevue Ave                    Richmond Heights MO    63117   10/2/2020
coincloud1459   ColeKepro 3.0       143494                       354480979    Active   108762   108762 Last Call Liquor and Cellular                     10649 Lackland Rd                    St. Louis         MO   63114   10/2/2020
coincloud1495   ColeKepro 3.0       143530                       354480229    Active   108281   108281 Shop N Go                                         700 E 85th St                        KCMO              MO   64131   10/2/2020
coincloud831    ColeKepro 1.0       142033                       354420749    Active   107991   107991 Xpress Discount Smokes and Liquor                 9033 E State Hwy                     Raytown           MO   64133    5/7/2020
coincloud1532   ColeKepro 3.0       143567                       354441007    Active   118448   118448 Gators                                            6195 Highway 45 ALT South            West Point        MS   39773   10/2/2020
coincloud1830   ColeKepro 3.0       143865                       354440799    Active   113812   113812 Hala Express                                      1773 Magnolia Dr                     Macon             MS   39341   10/2/2020
coincloud1510   ColeKepro 3.0       143545                       354440201    Active   114697   114697 Jeff's Quick Stop                                 159 MS-346                           Ecru              MS   38841   10/2/2020
coincloud1719   ColeKepro 3.0       143754                       354480231    Active   115305   115305 Sumrall Doughnuts and Breakfast                   1220 MS-42                           Sumrall           MS   39482   10/2/2020
coincloud784    ColeKepro 1.0       142103                       354450091    Active   108759   108759 Texaco                                            5300 N State St                      Jackson           MS   39206    5/7/2020
coincloud1413   ColeKepro 3.0       143448                       354480942    Active   127782   127782 Big Mikes Food Mart                               807 Cokey Rd                         Rocky Mount       NC   27801   10/2/2020
coincloud1873   ColeKepro 3.0       143908                       354480366    Active   116330   116330 Citistop #101                                     1578 Hendersonville Rd               Asheville         NC   28803   10/2/2020
coincloud1937   ColeKepro 3.0       143972                       354440811    Active   116342   116342 Citistop #117                                     660 Weaverville Rd                   Asheville         NC   28804   10/2/2020
coincloud1855   ColeKepro 3.0       143890                       354441024    Active   116345   116345 Citistop #120                                     10 Stockton Rd                       Weaverville       NC   28787   10/2/2020
coincloud1944   ColeKepro 3.0       143979                       354440785    Active   116333   116333 Citistop 109                                      914 Merrimon Ave                     Asheville         NC   28804   10/2/2020
coincloud1846   ColeKepro 3.0       143881                       354441009    Active   116332   116332 CitiStop Store 108                                411 Merrimon Ave                     Asheville         NC   28804   10/2/2020
coincloud1871   ColeKepro 3.0       143906                       354440819    Active   116334   116334 CitiStop Store 110                                1361 Patton Ave                      Asheville         NC   28806   10/2/2020
coincloud1444   ColeKepro 3.0       143479                       354440765    Active   116341   116341 CitiStop Store 116                                165 Tunnel Rd                        Asheville         NC   28805   10/2/2020
coincloud1859   ColeKepro 3.0       143894                       354480880    Active   116346   116346 Citistop Store 121                                75 Reems Creek Rd                    Weaverville       NC   28787   10/2/2020
coincloud1441   ColeKepro 3.0       143476                       354440828    Active   116130   116130 Good 2 Go Auto Group                              2245 W Sugar Creek Rd                Charlotte         NC   28262   10/2/2020
coincloud1014   ColeKepro 2.0       143049                       354480277    Active   108228   108228 Grab-n-Go                                         1309 S Main St                       Lexington         NC   27292   8/28/2020
coincloud1012   ColeKepro 2.0       143047                       354480204    Active   108269   108269 Jacob's Food Mart                                 1425 S Marietta St                   Gastonia          NC   28054   8/28/2020
coincloud1491   ColeKepro 3.0       143526                       354440821    Active   116129   116129 Kutt Above Barber Shop                            2807 W Sugar Creek Rd                Charlotte         NC   28262   10/2/2020
coincloud1942   ColeKepro 3.0       143977                       354441028    Active   116338   116338 CitiStop Store 114                                97 Hendersonville Rd                 Asheville         NC   28803   10/2/2020
coincloud445    APSM 1.1        No serial # found                354410931    Active   103962   103962 Hamilton Mall                                     4403 E Black Horse Pike              Hamilton Township NJ    8330   9/19/2019
coincloud1758   ColeKepro 3.0       143793                       354480885    Active   124413   124413 Allsup's Convenience Store                        4308 N Grimes St                     Hobbs             NM   88240   10/2/2020
coincloud1764   ColeKepro 3.0       143799                       354440106    Active   124417   124417 Allsup's Convenience Store                        3709 N Dal Paso St                   Hobbs             NM   88240   10/2/2020
coincloud1899   ColeKepro 3.0       143934                       354440183    Active   124386   124386 Allsup's Convenience Store                        503 s main st                        Lovington         NM   88260   10/2/2020
coincloud1819   ColeKepro 3.0       143854                       354440776    Active   123123   123123 A & A Truck Stop                                  80 Dixon Run Rd                      Jackson           OH   45640   10/2/2020
coincloud1829   ColeKepro 3.0       143864                       354480094    Active   120561   120561 Chief                                             1247 Scott St                        Napoleon          OH   43545   10/2/2020
coincloud1878   ColeKepro 3.0       143913                       354440110    Active   120551   120551 Chief                                             705 Deatrick St                      Defiance          OH   43512   10/2/2020
coincloud1880   ColeKepro 3.0       143915                       354440150    Active   120562   120562 Chief                                             1380 S Main St                       Bryan             OH   43506   10/2/2020
coincloud1882   ColeKepro 3.0       143917                       354440087    Active   120557   120557 Chief                                             1069 N Williams St                   Paulding          OH   45879   10/2/2020
coincloud1458   ColeKepro 3.0       143493                       354440144    Active   120528   120528 Community Markets                                 245 W. Main St.                      Hillsboro         OH   45133   10/2/2020
coincloud1808   ColeKepro 3.0       143843                       354480898    Active   120533   120533 Community Markets                                 702 Main St                          Delta             OH   43515   10/2/2020
coincloud1923   ColeKepro 3.0       143958                       354440001    Active   120516   120516 Community Markets                                 805 Defiance St                      Wapakoneta        OH   45895   10/2/2020
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coincloud764    ColeKepro 1.0         142153                       354420591                       Active       107941   107941 G & R Market                                 5755 OH-128                        Cleves              OH           45002     5/7/2020
coincloud1833   ColeKepro 3.0         143868                       354440100                       Active       121556   121556 Gracely Food Mart                            6615 Gracely Dr                    Cincinnati          OH           45233     10/2/2020
coincloud682    APSM 1.1           5.42016E+14                     354420971                       Active       103862   103862 Hanini Subs                                  3203 W 25th St                     Cleveland           OH           44109    9/19/2019
coincloud1709   ColeKepro 3.0         143744                       354480288                       Active       115191   115191 Harveysburg Village Market                   204 Maple St                       Harveysburg         OH           45032     10/2/2020
coincloud635    APSM 1.1           5.42016E+14                     354430023                       Active       103939   103939 Madison Mart                                 6004 Madison Rd                    Cincinnati          OH           45227    9/19/2019
coincloud1436   ColeKepro 3.0         143471                       354480301                       Active       108785   108785 Maharaja Food Mart                           1901 W 2nd St                      Xenia               OH           45385     10/2/2020
coincloud1777   ColeKepro 3.0         143812                       354480361                       Active       118210   118210 Miller's Market                              1444 Whitaker Way                  Montpelier          OH           43543     10/2/2020
coincloud1628   ColeKepro 3.0         143663                       354440349                       Active       118211   118211 Miller's SuperValu                           166 W Main St                      New London          OH           44851    10/2/2020
coincloud1836   ColeKepro 3.0         143871                       354480071                       Active       116125   116125 StateLine Supermarket                        8271 Superior St                   Masury              OH           44438     10/2/2020
coincloud2026   ColeKepro 3.0         144061                       354440065                       Active       120524   120524 Chief                                        1107 S Shannon St                  Van Wert            OH           45891    10/2/2020
coincloud1518   ColeKepro 3.0         143554                       354480925                       Active       108657   108657 Bare Foot Convenience Store                  106 SW Lee Blvd                    Lawton              OK           73501     10/2/2020
coincloud1757   ColeKepro 3.0         143792                       354480870                       Active       108769   108769 Park Avenue Market                           1503 SW Park Ave                   Portland            OR           97201     10/2/2020
coincloud1953   ColeKepro 3.0         143988                       354440943                       Active       122394   122394 Extreme Clean Laundry                        295 Armistice Blvd                 Pawtucket           RI            2861     10/2/2020
coincloud747    ColeKepro 1.0         142167                       354420611                       Active       107887   107887                                           76 2538 Two Notch Rd                  Columbia            SC           29204     5/7/2020
coincloud1015   ColeKepro 2.0         143050                       354480265                       Active       108293   108293 Corner Store                                 2216 India Hook Rd                 Rock Hill           SC           29732    8/28/2020
coincloud994    ColeKepro 1.0         143029                       354480294                       Active       108216   108216 MJ Mart                                      2561 Kershaw Camden Hwy            Lancaster           SC           29720     5/7/2020
coincloud1565   ColeKepro 3.0         143600                       354480293                       Active       108869   108869 Shaw Gate Trading Post                       5435 Broad St                      Sumter              SC           29154     10/2/2020
coincloud1435   ColeKepro 3.0         143470                       354480889                       Active       115327   115327 Southeast BP                                 8000 Garners Ferry Rd              Columbia            SC           29209     10/2/2020
coincloud883    ColeKepro 1.0         142157                       354440666                       Active       108275   108275 Oasis Pump & Pack                            802 E SD Hwy 16                    Oacoma              SD           57365     5/7/2020
coincloud646    APSM 1.1           5.42016E+14                     354430007                       Active       104400   104400 Bizee Mart                                   302 W Northfield Blvd              Murfreesboro        TN           37129     9/19/2019
coincloud708    ColeKepro 1.0         142096                       354430776                       Active       104407   104407 Bizee Mart                                   250 S Horton Pkwy                  Chapel Hill         TN           37034     5/7/2020
coincloud642    APSM 1.1           5.42016E+14                     354430144                       Active       104413   104413 Citgo                                        3900 Clarksville Pike              Nashville           TN           37218     9/19/2019
coincloud1533   ColeKepro 3.0         143568                       354480740                       Active       117735   117735 Clean World 24 Hour Laundromat               3441 Lebanon Pike #110             Nashville           TN           37076    10/2/2020
coincloud614    APSM 1.1           5.42015E+14                     354430517                       Active       108104   108104 Exxon                                        3474 Elvis Presley Blvd            Memphis             TN           38116    9/19/2019
coincloud716    ColeKepro 1.0         142091                       354421087                       Active       104276   104276 Gabe's Market                                6882 Macon Rd                      Memphis             TN           38134     5/7/2020
coincloud997    ColeKepro 1.0         143032                       354440462                       Active       108427   108427 New Champs                                   622 N Cumberland St                Lebanon             TN           37087     5/7/2020
coincloud2036   ColeKepro 3.0         144071                       354441015                       Active       117565   117565 Oscar's Restaurant                           1840 Cumberland Ave                Knoxville           TN           37916     10/2/2020
coincloud1528   ColeKepro 3.0         143563                       354480069                       Active       117739   117739 Portland 24 Hour Laundromat                  423 N Broadway                     Portland            TN           37148     10/2/2020
coincloud1736   ColeKepro 3.0         143771                       354440814                       Active       117790   117790 Southgate 24 Hour Coin Laundry               631 S Water Ave                    Gallatin            TN           37066    10/2/2020
coincloud452    APSM 1.1         No serial # found                 354411127                       Active       103963   103963 Southland Mall                               1215 Southland Mall                Memphis             TN           38116    9/19/2019
coincloud649    APSM 1.1           5.42016E+14                     354420886                       Active       104401   104401 West Side Liquor Store                       445 W Commerce St                  Lewisburg           TN           37091     9/19/2019
coincloud769    ColeKepro 1.0         141988                       354420451                       Active       104420   104420 7-Eleven                                     1800 W Griffin Pkwy                Mission             TX           78572     5/7/2020
coincloud1784   ColeKepro 3.0         143819                       354480207                       Active       115302   115302 A Motion                                     829 S Corinth St Rd                Dallas              TX           75203     10/2/2020
coincloud1769   ColeKepro 3.0         143804                       354440145                       Active       124567   124567 Allsup's Convenience Store                   2334 S 14th St                     Abilene             TX           79601    10/2/2020
coincloud706    APSM 1.1           5.42016E+14                     354420913                       Active       104351   104351 Alon                                         9602 Scyene Rd                     Dallas              TX           75227     9/19/2019
coincloud844    ColeKepro 1.0         142030                       354430487                       Active       108091   108091 Bobs Drive Inn                               3919 FM2147                        Marble Falls        TX           78654     5/7/2020
coincloud931    APSM 1.1           5.42027E+14                     354420446                       Active       108098   108098 Buy N Save                                   5002 S 2nd Ave                     Dallas              TX           75210    9/19/2019
coincloud705    APSM 1.1           5.42018E+14                     354420672                       Active       104325   104325 Chevron                                      1191 Valley Ridge Blvd             Lewisville          TX           75077     9/19/2019
coincloud1702   ColeKepro 3.0         143737                       354480228                       Active       115362   115362 Chevron                                      7458 I-20                          Weatherford         TX           76088     10/2/2020
coincloud903    APSM 1.1           5.42018E+14                     354441063                       Active       108130   108130 College Circle Mart                          7802 N College Cir                 North Richland HillsTX           76180     9/19/2019
coincloud1141   ColeKepro 2.0         143176                       354480227                       Active       115332   115332 Discount Mini Mart #2                        3300 N Commerce St                 Fort Worth          TX           76106     8/28/2020
coincloud729    ColeKepro 1.0         142004                       354420601                       Active       104340   104340 F M Food Mart                                9761 Walnut St                     Dallas              TX           75243     5/7/2020
coincloud1630   ColeKepro 3.0         143665                       354440159                       Active       125490   125490 Fat Dog Beverages                            6731 Hwy 31 West                   Kilgore             TX           75662     10/2/2020
coincloud1271   ColeKepro 3.0         143306                       354480239                       Active       109039   109039 Grab N Go Mart                               400 N Ave E                        Haskell             TX           79521     10/2/2020
coincloud1218   ColeKepro 2.0         143253                       354480715                       Active       108549   108549 H&S Grocery                                  6001 LTjg Barnett Rd               Fort Worth          TX           76114     8/28/2020
coincloud1762   ColeKepro 3.0         143797                       354480078                       Active       119795   119795 Harvest Farmers Market                       2295 Woodforest Pkwy N             Montgomery          TX           77316     10/2/2020
coincloud1884   ColeKepro 3.0         143919                       354440093                       Active       120280   120280 HEB                                          100 Truly Plaza                    Cleveland           TX           77327     10/2/2020
coincloud845    ColeKepro 1.0         142035                       354430611                       Active       108075   108075 Jiffy Mart                                   101 Luther Dr ## 102               Georgetown          TX           78628      5/7/2020
coincloud702    APSM 1.1           5.42016E+14                     354420695                       Active       104404   104404 Johnny's Liquor Cabinet                      403 W Trenton Rd #6b               Edinburg            TX           78539    9/19/2019
coincloud921    APSM 1.1           5.42027E+14                     354420009                       Active       108141   108141 Lbj Foodmart                                 13015 Jupiter Rd                   Dallas              TX           75238     9/19/2019
coincloud731    ColeKepro 1.0         142006                       354420912                       Active       104406   104406 Luke Meat Market                             2900 N Sugar Rd                    Pharr               TX           78577      5/7/2020
coincloud925    APSM 1.1           5.42027E+14                     354430001                       Active       108170   108170 Mesquite Vapes                               714 N Galloway Ave                 Mesquite            TX           75149     9/19/2019
coincloud727    ColeKepro 1.0      5.42018E+14                     354430651                       Active       104298   104298 Mountain Liquor Store                        4100 Dyer St #Suite A-D            El Paso             TX           79930     5/7/2020
coincloud684    APSM 1.1           5.42016E+14                     354420810                       Active       103440   103440 Pleak Korner                                 6641 FM 2218 Rd                    Richmond            TX           77469     9/19/2019
coincloud1650   ColeKepro 3.0         143685                       354440182                       Active       125712   125712 Pwi                                          6201 s I-45                        Palmer              TX           75152     10/2/2020
coincloud2016   ColeKepro 3.0         144051                       354441243                       Active       125705   125705 Pwi                                          10269 US-84                        Prairie Hill        TX           76678     10/2/2020
coincloud910    APSM 1.1           5.42018E+14                     354441112                       Active       108127   108127 Ridgeview Food Mart Beer & Wine              1012 Ridgeview St #107             Mesquite            TX           75149     9/19/2019
coincloud683    APSM 1.1           5.42016E+14                     354420690                       Active       104045   104045 S And M Liquor                               1530 Austin Hwy ##115              San Antonio         TX           78218    9/19/2019
coincloud841    ColeKepro 1.0         142031                       354430498                       Active       108093   108093 Smithwick Market                             9135 Ranch Rd 1431                 Marble Falls        TX           78654      5/7/2020
coincloud1622   ColeKepro 3.0         143657                       354480933                       Active       125408   125408 Spec's Wines, Spirits & Finer Foods          4319 Kemp Blvd #suite c            Wichita Falls       TX           76308    10/2/2020
coincloud1714   ColeKepro 3.0         143749                       354440344                       Active       125508   125508 Spec's Wines, Spirits & Finer Foods          2416 S Stemmons Fwy                Lewisville          TX           75067    10/2/2020
coincloud1803   ColeKepro 3.0         143838                       354480934                       Active       125381   125381 Spec's Wines, Spirits & Finer Foods          14315 Cypress Rosehill Rd #140     Cypress             TX           77429    10/2/2020
coincloud1870   ColeKepro 3.0         143905                       354440780                       Active       125259   125259 Spec's Wines, Spirits & Finer Foods          8945 Hwy 6 N                       Houston             TX           77095    10/2/2020
coincloud1885   ColeKepro 3.0         143920                       354480058                       Active       125439   125439 Spec's Wines, Spirits & Finer Foods          280 Hwy 290 E #W                   Brenham             TX           77833    10/2/2020
coincloud1707   ColeKepro 3.0         143742                       354480004                       Active       115364   115364 Valero                                       2000 Illinois St                   Rhome               TX           76078     10/2/2020
coincloud1733   ColeKepro 3.0         143768                       354480237                       Active       115363   115363 Wash World                                   4215 E Belknap St                  Haltom City         TX           76117     10/2/2020
coincloud1892   ColeKepro 3.0         143927                       354440300                       Active       120511   120511 Wishy Washy lavanderia                       1003 W 6th St                      Irving              TX           75060     10/2/2020
coincloud1994   ColeKepro 3.0         144029                       354440057                       Active       124411          HL Distribution                              1065 Texan Trail Rd                Grapevine           TX           76051     10/2/2020
coincloud2303   ColeKepro 3.0    No serial # found                 354480189                       Active       124633          Buck's Moving and Storage                    2011 Avenue C                      Lubbock             TX           79404    10/2/2020
coincloud3142   ColeKepro 3.0         145697                       354440796                       Active       125610   125610 Spec's                                       9733 Buffalo Speedway              Houston             TX           77025     10/2/2020
coincloud832    ColeKepro 1.0         142037                       354430647                       Active       118444   118444 Community Supermarket                        1915 Mechanicsville Turnpike       Richmond            VA           23223     5/7/2020
coincloud1292   ColeKepro 3.0         143327                       354480420                       Active       108644   108644 Produce Center                               5812 Boydton Plank Rd              Petersburg          VA           23803     10/2/2020
coincloud1300   ColeKepro 3.0         143335                       354480855                       Active       108661   108661 Z Market                                     1401 Park Ave                      Lynchburg           VA           24501     10/2/2020
coincloud1949   ColeKepro 3.0         143984                       354480356                       Active       115311   115311 Clarke Foods                                 832 E Clarke St                    Milwaukee           WI           53212     10/2/2020
coincloud1039   ColeKepro 2.0         143074                       354441205                       Active       108395   108395 Good Hope Market                             7616 West Good Hope Rd             Milwaukee           WI           53223     8/28/2020
coincloud1326   ColeKepro 3.0         143361                       354480903                       Active       108711   108711 J&J cafe                                     803 Klaus St                       Green Bay           WI           54302     10/2/2020
coincloud1154   ColeKepro 2.0         143189                       354480232                       Active       115193   115193 Koppa's Fulbeli Deli                         1940 N Farwell Ave                 Milwaukee           WI           53202     8/28/2020
coincloud1311   ColeKepro 3.0         143346                       354480050                       Active       108671   108671 Sixtieth Tobacco & Varieties                 5815 W Capitol Dr                  Milwaukee           WI           53216    10/2/2020
coincloud1321   ColeKepro 3.0         143356                       354480152                       Active       108670   108670 Tobacco Deals                                10400 W Silver Spring Dr           Milwaukee           WI           53225     10/2/2020
coincloud1332   ColeKepro 3.0         143367                       354480270                       Active       108552          Advanced Rigging LLC                         2190 Old 6 Road)                   Victor                           52347    10/2/2020
coincloud1537   ColeKepro 3.0         143572                       354440193                       Active       115309                                                                                                                                     10/2/2020
coincloud45     Lynna 1.0       BTM201712150027                    354420720                   Decommissioned   101438          Decommissioned                                                                                                              1/1/2018
coincloud101    Lynna 1.0       BTM201712150029                    354420608                   Decommissioned                   Decommissioned                                                                                                             1/1/2018
coincloud104    Lynna 1.0       BTM201801310102                    354480642                   Decommissioned   101497          Decommissioned                                                                                                              1/1/2018
coincloud108    Lynna 1.0             149215                       354470243                   Decommissioned   121944          Decommissioned                                                                                                              1/1/2018
coincloud114    Lynna 1.0       BTM201801310119                    354430043                   Decommissioned   104193          Decommissioned                                                                                                              1/1/2018
coincloud272    Slabb 1.0         0310-003-1346                    354420854                   Decommissioned   108181          Decommissioned                                                                                                            12/18/2018
coincloud287    Slabb 1.0         0310-003-1352                    354430106                   Decommissioned   107936          Decommissioned                                                                                                            12/18/2018
coincloud754    ColeKepro 1.0         149271                       354430123                   Decommissioned                   Decommissioned                                                                                                             5/7/2020
coincloud1312   ColeKepro 3.0         143347                       354480201                       Stolen       108846          Loss Event                                   Loss Event                         Loss Event        Loss Event Loss Event   10/2/2020
coincloud1100   ColeKepro 2.0         143145                       354480064                     Warehouse      108804          Ready Office Furniture                       1515 N Kraemer Blvd, Unit H        Anaheim           CA              92806    8/28/2020
coincloud976    ColeKepro 1.0         143011                       354440674                     Warehouse      108327          Trinity Solutions c/o SNS Installations      833 W. Crowther Ave                Placentia         CA              92870    5/7/2020
coincloud4122   ColeKepro 3.0         147656                       354480436                     Warehouse      124028          Allstar Moving                               1600 1st Street NW                 Albuquerque       NM              87102    10/2/2020
coincloud1827   ColeKepro 3.0         143862                       354440198                     Warehouse      124416          Diversified Warehouse Inc                    241 S Grandview                    Odessa            TX              79761    10/2/2020
coincloud694    APSM 1.1             5.42E+14                      354420823   Las Vegas, NV     Warehouse      104342   104342 CCHQ                                                                                                                       9/19/2019
coincloud1060   ColeKepro 2.0         143095                       354480170   Las Vegas, NV     Warehouse      108586          CCHQ                                                                                                                       8/28/2020
coincloud689    APSM 1.1             5.42E+14                      354420905        N/a          Warehouse      104356          Decommissioned                                                                                                             9/19/2019
coincloud497    APSM 1.1             5.42E+14                      354420855                     Warehouse      101570          CCHQ                                                                                                                       9/19/2019
coincloud714    ColeKepro 1.0         142092                       354430804                     Warehouse      104255          CCHQ                                                                                                                       5/7/2020
coincloud752    ColeKepro 1.0         142187                       354430599                     Warehouse      104256          CCHQ                                                                                                                       5/7/2020
coincloud1169   ColeKepro 2.0         143204                       354440168                     Warehouse      113868          CCHQ                                                                                                                       8/28/2020
coincloud1115   ColeKepro 2.0         143150                       354480072                     Warehouse      107904          CCHQ                                                                                                                       8/28/2020
coincloud999    ColeKepro 1.0         143034                       354440481                     Warehouse      108403   108403 CCHQ                                                                                                                       5/7/2020
coincloud2248   ColeKepro 3.0         144283                       354480639                     Warehouse      109024          CCHQ                                                                                                                       10/2/2020
coincloud858    ColeKepro 1.0         142063                       354430113                     Warehouse      107904          Decommissioned                                                                                                             5/7/2020
coincloud444    APSM 1.1         No serial # found                 354410868                     Warehouse      103945                                                                                                                                     9/19/2019
coincloud478    APSM 1.1              148748                       354410327                     Warehouse                       Decommissioned                                                                                                            9/19/2019
coincloud613    APSM 1.1           5.42015E+14                     354470337                     Warehouse      104272                                                                                                                                     9/19/2019
coincloud809    ColeKepro 1.0         142078                       354420954                     Warehouse                      Loss Event                                                                                                                 5/7/2020
coincloud938    ColeKepro 1.0         149270                       354440615                     Warehouse                      Decommissioned                                                                                                             5/7/2020
coincloud746    ColeKepro 1.0          14164       142168.USA      354430808                       Active       107947   107947 39th Mini Mart                               935 SE Cesar Estrada Chavez Blvd   Portland          OR             97214     5/7/2020
coincloud920    APSM 1.1           5.42027E+14 42027000000010.US   354420126                       Active       108114   108114 C Supermarket                                1227 Lake Ave                      Elyria            OH             44035     9/19/2019
coincloud854    ColeKepro 1.0         142041       142041.USA      354421066                       Active       108072   108072 C-Mart #10                                   3008 W Slaughter Ln ## B           Austin            TX             78748     5/7/2020
coincloud881    ColeKepro 1.0         142077       141984.USA      354420754                       Active       108074   108074 C MART 7                                     5200 E William Cannon Dr           Austin            TX             78744     5/7/2020
coincloud730    ColeKepro 1.0         142001       142001.USA      354420052                       Active       104415   104415 United Drive In                              2620 S 23rd St                     McAllen           TX             78503      5/7/2020
coincloud840    ColeKepro 1.0         142061       142061.USA      354430520                       Active       108096   108096 Prime Mart                                   12430 N Lamar Blvd                 Austin            TX             78753      5/7/2020
coincloud944    APSM 1.1           5.42027E+14 42027000000034.US   354440454                       Active       108237   108237 TJS Party Store                              171 Meachem Ave                    Battle Creek      MI             49037     9/19/2019
coincloud1019   ColeKepro 2.0         143054       143054.USA      354440467                       Active       108239   108239 Brothers Express Mart                        1149 N Main St                     Goshen            IN             46528     8/28/2020
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coincloud929      APSM 1.1         5.42027E+14 42027000000019.US        354441153                   Active     108172   108172 HomeRun Liquor Beer & Wine         1259 Post Dr NE                    Plainfield Charter T MI   49306   9/19/2019
coincloud1669     ColeKepro 3.0       143704            143704.USA      354480828                   Active     108567   108567 Joe's Market                       102 Garland St                     Bangor               ME    4401   10/2/2020
coincloud2012     ColeKepro 3.0       115350            144047.USA      354440762                   Active     115350   115350 HutchÃ¢â‚¬â„¢s - Enid              3206 S Van Buren St                Enid                 OK   73703   10/2/2020
coincloud787      ColeKepro 1.0       107953            142111.USA      354450366                   Active     108007   108007 E-Z Trip #17                       8240 Abrams Rd                     Dallas               TX   75231    5/7/2020
coincloud779      ColeKepro 1.0       141922            141992.USA      354450093                   Active     107996   107996 Dodge City Market                  705 E Main St                      Avondale             AZ   85323    5/7/2020
coincloud1221     ColeKepro 3.0       143256            143256.USA      354440895                   Active     108326   108326 Lake Missoula Tea Company          136 E Broadway St                  Missoula             MT   59802   10/2/2020
coincloud990      ColeKepro 1.0       143025            143025.USA      354440624                   Active     108294   108294 Decatur Discount                   898 W Grand Ave                    Decatur              IL   62522    5/7/2020
coincloud1483     ColeKepro 3.0       143518            143518.USA      354480279                   Active     108839   108839 Neighborhood Home                  307 Hwy 150 North                  West Union           IA   52175   10/2/2020
coincloud1110     ColeKepro 2.0       143135            143145.USA      354480532                   Active     108803   108803 Chevron                            225 Main St                        Chester              CA   96020   8/28/2020
coincloud1687     ColeKepro 3.0       143722            143722.USA      354440818                   Active     115368   115368 Gators                             229 W Beacon St                    Philadelphia         MS   39350   10/2/2020
coincloud726      ColeKepro 1.0       142017            142017.USA      354420941                   Active     103295          Abel General Store                 2400 Brook Ave                     Wichita Falls        TX   76301    5/7/2020
coincloud865      ColeKepro 1.0       107938            142067.USA      354420467                   Active     107938   107938 Arco                               6508 N Interstate Ave              Portland             OR   97217    5/7/2020
coincloud804      ColeKepro 1.0       142191            142191.USA      354430410                   Active     108041   108041 Kingsley One Stop Foodmart         2518 W Kingsley Rd                 Garland              TX   75041   5/7/2020
coincloud404      APSM 1.1         5.41535E+14 41535000000022.US        354430481                   Active     103080   103080 Discount Smokes                    10901 E State Rte 350              KCMO                 MO   64138   9/19/2019
coincloud465      APSM 1.1         5.41537E+14 41537000000033.US        354410307                   Active     109044   109044 Wendover Wash N Dry                953 N Wendover Rd                  Charlotte            NC   28211   9/19/2019
coincloud596      APSM 1.1          5.4201E+13       4201000000014.US   354410939                   Active     103935   103935 League City Food Mart              351 FM646                          League City          TX   77539   9/19/2019
coincloud704      APSM 1.1         5.42018E+14 42018000000022.US        354430022                   Active     103942   103942 Ameristop Food Mart                3385 Springdale Rd                 Cincinnati           OH   45251   9/19/2019
coincloud666      APSM 1.1         5.43016E+14 43016000000034.US        354420830                   Active     104428   104428 Phillips 66                        1509 W 12th St                     Kansas City          MO   64101   9/19/2019
coincloud2357     ColeKepro 3.0       144382            144396.USA      354440276                   Active     120435   120435 Vintage Wine Cellar                1249 Wilder Ave #B1                Honolulu             HI   96822   10/2/2020
coincloud339      APSM 1.1         5.41325E+14 41325000000007.US        354480161                   Active     103367   103367 Phillips 66                        5 Municipal Dr                     Arnold               MO   63010   9/19/2019
coincloud348      APSM 1.1         5.41325E+14 41325000000016.US        354410308                   Active     103220   103220 Red and White                      6550 Rivers Ave                    N. Charleston        SC   29406   9/19/2019
coincloud430      APSM 1.1          5.4153E+13       4153000000048.US   354450176                   Active     103321   103321 Sinclair                           2112 S Garnett Rd                  Tulsa                OK   74129   9/19/2019
coincloud454      APSM 1.1         5.41537E+14 41537000000022.US        354410963                   Active     104173   104173 La Plaza Mall                      2200 S 10th St                     McAllen              TX   78503   9/19/2019
coincloud464      APSM 1.1         5.41537E+14 41537000000032.US        354430566                   Active     103256   103256 High Spirits Liquor Store          816-818 Broadway                   Bayonne              NJ    7002   9/19/2019
coincloud476      APSM 1.1         5.41537E+14 41537000000044.US        354410950                   Active     104182   104182 Broadway Square                    4601 S Broadway Ave                Tyler                TX   75703   9/19/2019
coincloud477      APSM 1.1         5.41537E+14 41537000000045.US        354410979                   Active     104244   104244 Radio Shack                        7600 Kingston Pike #1452           Knoxville            TN   37919   9/19/2019
coincloud507      APSM 1.1         5.41537E+14 41537000000075.US        354440683                   Active     101566   101566 Vape Xotic Nob                     8214 Hampton Blvd                  Norfolk              VA   23505   9/19/2019
coincloud542      APSM 1.1         5.41539E+14 41539000000035.US        354480268                   Active     103933   103933 Ameristop Food Mart                2114 Monmouth St.                  Newport              KY   41071   9/19/2019
coincloud584      APSM 1.1         5.42015E+14 42015000000002.US        354410957                   Active     103802   103802 R&S Midway Market                  S90w27545 National Ave             Mukwonago            WI   53149   9/19/2019
coincloud622      APSM 1.1         5.42015E+14 42015000000040.US        354411119                   Active     104252   104252 MCCARTY PARTY                      4033 McCarty Rd                    Saginaw              MI   48603   9/19/2019
coincloud634      APSM 1.1         5.42016E+14 42016000000002.US        354430126                   Active     108131   108131 Mobil                              429 W Fourteenth St                Traverse City        MI   49684   9/19/2019
coincloud636      APSM 1.1         5.42016E+14 42016000000005.US        354420838                   Active     103874   103874 Shell                              3200 Market St                     Youngstown           OH   44507   9/19/2019
coincloud637      APSM 1.1         5.42016E+14 42016000000006.US        354420834                   Active     103878   103878 Shell                              4751 E Main St                     Columbus             OH   43213   9/19/2019
coincloud639      APSM 1.1         5.42016E+14 42016000000007.US        354420938                   Active     103884   103884 Sunoco                             1814 Harrisburg Pike               Columbus             OH   43223   9/19/2019
coincloud654      APSM 1.1         5.42016E+14 42016000000022.US        354420054                   Active     101494   101494 Shell                              2912 Brownsboro Rd                 Louisville           KY   40206   9/19/2019
coincloud662      APSM 1.1         5.42016E+14 42016000000030.US        354430116                   Active     104436   104436 FavTrip                            1300 S 4th St                      Leavenworth          KS   66048   9/19/2019
coincloud670      APSM 1.1         5.42016E+14 42016000000038.US        354430032                   Active     104433   104433 Sinclair                           211 S Noland Rd                    Independence         MO   64050   9/19/2019
coincloud672      APSM 1.1         5.42016E+14 42016000000040.US        354430029                   Active     104073   104073 Mobil                              6827 Greenfield Rd                 Detroit              MI   48228   9/19/2019
coincloud673      APSM 1.1         5.42016E+14 42016000000041.US        354430149                   Active     104093   104093 Mobil                              15444 W Seven Mile Rd              Detroit              MI   48235   9/19/2019
coincloud674      APSM 1.1         5.42016E+14 42016000000042.US        354430166                   Active     104059   104059 Mobil                              32719 Michigan Ave                 Wayne                MI   48184   9/19/2019
coincloud675      APSM 1.1         5.42016E+14 42016000000043.US        354420860                   Active     104107   104107 Mobil                              14888 Northville Rd                Plymouth             MI   48170   9/19/2019
coincloud676      APSM 1.1         5.42016E+14 42016000000044.US        354430130                   Active     104106   104106 Mobil                              19901 Masonic                      Roseville            MI   48066   9/19/2019
coincloud681      APSM 1.1         5.42016E+14 42016000000049.US        354430036                   Active     103508   103508 Campus Corner                      400 E Lincoln Ave                  Gettysburg           PA   17325   9/19/2019
coincloud690      APSM 1.1         5.42018E+14 42018000000008.US        354420800                   Active     104346   104346 Hurst Food Mart                    100 W Harwood Rd                   Hurst                TX   76054   9/19/2019
coincloud693      APSM 1.1         5.42018E+14 42018000000011.US        354420904                   Active     103291   103291 Diamond Convenience Store          633 S Leggett Dr                   Abilene              TX   79605   9/19/2019
coincloud695      APSM 1.1         5.42018E+14 42018000000013.US        354420861                   Active     104333   104333 S & S Beer & Wine                  1901 N Josey Ln                    Carrollton           TX   75006   9/19/2019
coincloud696      APSM 1.1         5.42018E+14 42018000000014.US        354420805                   Active     104332   104332 Shop N Go                          14714 Webb Chapel Rd               Dallas               TX   75234   9/19/2019
coincloud945      APSM 1.1        No serial # found 42027000000035.US   354440398                   Active     108599   108599 Blazing Stones Smoke Shop          2706 E University Dr               Mesa                 AZ   85213   9/19/2019
coincloud5045     ColeKepro 5.0       148576            148576.USA                   Sloan, NV     Warehouse   137039          Sloan                                                                                                    8/7/2021
coincloud150732   ColeKepro 5.0       150732                                        Sterling, VA   Warehouse                   Victory Vans                       143 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud150862   ColeKepro 5.0       150862                                        Sterling, VA   Warehouse                   Victory Vans                       121 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud5881     ColeKepro 5.0       149412                                         Sloan, NV     Warehouse                   Sloan                                                                                                    8/7/2021
coincloud151058   ColeKepro 5.0       151058                            1.222E+12   Sterling, VA   Warehouse                   Victory Vans                       127 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud151167   ColeKepro 5.0       151167            151167.USA       4.92E+12   Sterling, VA    Active     152084   152084 Royal Farms                        920 Berryville Ave                 Winchester         VA     22601   8/7/2021
coincloud150898   ColeKepro 5.0       150898                                        Sterling, VA   Warehouse                   Victory Vans                       120 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud150744   ColeKepro 5.0       150744                                        Sterling, VA   Warehouse                   Victory Vans                       137 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud150932   ColeKepro 5.0       150932                            1.222E+12   Sterling, VA    Active     152265   152265 Royal Farms                        3333 E Fayette St                  Baltimore          MD     21224    8/7/2021
coincloud151103   ColeKepro 5.0       151103                                        Sterling, VA   Warehouse                   Victory Vans                       132 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud5781     ColeKepro 5.0       149312            149312.USA                   Sloan, NV     Warehouse   129855          Sloan                                                                                                    8/7/2021
coincloud150795   ColeKepro 5.0       150795                                        Sterling, VA   Warehouse                   Victory Vans                       141 Terminal Drive                 Sterling           VA     20166    8/7/2021
coincloud4639     ColeKepro 5.0       148171                                         Sloan, NV     Warehouse   125702          Sloan                                                                                                    8/7/2021
coincloud151051   ColeKepro 5.0       151051            151051.USA      354480699   Sterling, VA    Active     152191   152191 Royal Farms                        3120 Carlisle Rd #1                Dover              PA     17315    8/7/2021
coincloud825      ColeKepro 1.0       142023            142023.USA      382280770                   Active     118438   118438 Jim's Market                       911 St Olaf Ave N                  Canby              MN     56220    5/7/2020
coincloud762      ColeKepro 1.0       142195            142195.USA      382060092                   Active     108977   108977 Samy International Wireless        466 Central Ave                    East Orange        NJ      7018   5/7/2020
143125.USA        ColeKepro 5.0       143125            143125.USA      382060122                   Active     101567   101567 LA Smoke Shop                      3015 E Benson Hwy                  Tucson             AZ     85706    8/7/2021
coincloud1122     ColeKepro 2.0       143157            143157.USA      382060425                   Active     108964   108964 KITA MODERN JAPANESE               2815 Mountaineer Blvd              Charleston         WV     25309   8/28/2020
coincloud1123     ColeKepro 2.0       143158            143158.USA      382060005                   Active     113830   113830 DY Market (Dong Yang Market)       3101 Clays Mill Rd                 Lexington          KY     40503   8/28/2020
coincloud1125     ColeKepro 2.0       143160            143160.USA      382060339                   Active     113584   113584 ABC Liquor Mart                    109 N Washington St                Carbondale         IL     62901   8/28/2020
coincloud1132     ColeKepro 2.0       143167            143167.USA      382060435                   Active     113826   113826 SIMPLE MOBILE STORE                4363 E Main St                     Whitehall          OH     43213   8/28/2020
coincloud1134     ColeKepro 2.0       143169            143169.USA      382060351                   Active     113831   113831 Plaza Liquors Mart                 650 S 10th St                      Mt Vernon          IL     62864   8/28/2020
coincloud1136     ColeKepro 2.0       143171            143171.USA      382060356                   Active     113890   113890 Coachlight Laundry                 3475 N Broadway                    Chicago            IL     60657   8/28/2020
coincloud1137     ColeKepro 2.0       143172            143172.USA      382060327                   Active     113877   113877 Edina Market & Deli                7102 Amundson Ave                  Edina              MN     55439   8/28/2020
coincloud1146     ColeKepro 2.0       143181            143181.USA      382060397                   Active     109000   109000 Jenny's Liquors                    2316 Elmhurst Rd                   Mt Prospect        IL     60056   8/28/2020
coincloud1148     ColeKepro 2.0       143183            143183.USA      382060333                   Active     113897   113897 Payton's Corner                    9102 S Union Ave                   Tulsa              OK     74132   8/28/2020
coincloud1150     ColeKepro 2.0       143185            143185.USA      382060489                   Active     109020   109020 Trader Electronics                 404 Smithfield St                  Pittsburgh         PA     15222   8/28/2020
coincloud1152     ColeKepro 2.0       143187            143187.USA      382060359                   Active     109043   109043 Corner Variety                     207 Lincoln St #782-9596           Lewiston           ME      4240   8/28/2020
coincloud1155     ColeKepro 2.0       143190            143190.USA      382060366                   Active     108876   108876 Shell                              5340 16th Ave SW                   Cedar Rapids       IA     52404   8/28/2020
coincloud1156     ColeKepro 2.0       143191            143191.USA      382060373                   Active     108975   108975 Johnsburg Mobil                    4304 N Johnsburg Rd                Johnsburg          IL     60051   8/28/2020
coincloud1158     ColeKepro 2.0       143193            143193.USA      382060365                   Active     109028   109028 Joe's Mini Food Mart               705 E Loudon Ave                   Lexington          KY     40505   8/28/2020
coincloud1159     ColeKepro 2.0       143194            143194.USA      382060493                   Active     113863   113863 Southern Illinois Liquor Mart      113 N 12th St                      Murphysboro        IL     62966   8/28/2020
coincloud1164     ColeKepro 2.0       143199            143199.USA      382060490                   Active     108931   108931 Marathon Gas                       3933 Sullivant Ave                 Columbus           OH     43228   8/28/2020
coincloud1176     ColeKepro 2.0       143211            143211.USA      382060388                   Active     108953   108953 Big Bucks Pawn and Guns            113 College Park Rd                Ladson             SC     29456   8/28/2020
coincloud1178     ColeKepro 2.0       143213            143213.USA      382060243                   Active     109035   109035 Plaza Wine & Liquors               500 Southview Plaza                O'Fallon           IL     62269   8/28/2020
coincloud1179     ColeKepro 2.0       143214            143214.USA      382060306                   Active     108709   108709 QuikStop                           1812 Osborn St                     Burlington         IA     52601   8/28/2020
coincloud1183     ColeKepro 2.0       143218            143218.USA      382060433                   Active     108913   108913 Sunoco                             575 E Main St                      Korn Krest         PA     18702   8/28/2020
coincloud1187     ColeKepro 2.0       143222            143222.USA      382060334                   Active     108748   108748 Middle East Market                 5459 S Mingo Rd                    Tulsa              OK     74146   8/28/2020
coincloud1192     ColeKepro 2.0       143227            143227.USA      382060481                   Active     108905   108905 Sunoco                             151 Memorial Hwy                   Dallas             PA     18612   8/28/2020
coincloud1194     ColeKepro 2.0       143229            143229.USA      382060354                   Active     108878   108878 Stateline Tobacco                  2205 Euclid Ave                    Bristol            VA     24201   8/28/2020
coincloud1202     ColeKepro 2.0       143237            143237.USA      382060478                   Active     108564   108564 1 & 9 Vape & Smoke                 701 Spring St #Unit 8              Elizabeth          NJ      7201   8/28/2020
coincloud1205     ColeKepro 2.0       143240            143240.USA      382060348                   Active     108911   108911 Steer Steakhouse                   359 Beverly Pike                   Elkins             WV     26241   8/28/2020
coincloud1206     ColeKepro 2.0       143241            143241.USA      382060331                   Active     108967   108967 Grocery & Apparel - Nepali Store   6625G Dixie Hwy                    Fairfield          OH     45014   8/28/2020
coincloud1207     ColeKepro 2.0       143242            143242.USA      382060484                   Active     108892   108892 Vapor USA                          7039 S Memorial Dr                 Tulsa              OK     74133   8/28/2020
coincloud1208     ColeKepro 2.0       143243            143243.USA      382060345                   Active     108889   108889 Vapor USA                          5077 S Yale Ave                    Tulsa              OK     74135   8/28/2020
coincloud1210     ColeKepro 2.0       143245            143245.USA      382060332                   Active     108870   108870 Foster Feed                        202 Bland St                       Weston             WV     26452   8/28/2020
coincloud1211     ColeKepro 3.0       143246            143246.USA      382060419                   Active     109001   109001 Citgo                              2411 8th St South                  Wisconsin Rapids   WI     54494   10/2/2020
coincloud1215     ColeKepro 2.0       143250            143250.USA      382060007                   Active     108844   108844 Quicky's Drive Thru                35652 Vine St                      Eastlake           OH     44095   8/28/2020
coincloud1229     ColeKepro 3.0       143264            143264.USA      382060438                   Active     109046   109046 Fueled Auto & Truck Shop           2302 N Swenson St                  Stamford           TX     79553   10/2/2020
coincloud1230     ColeKepro 3.0       143265            143265.USA      382060394                   Active     114710   114710 Cub Foods                          1801 Market Dr                     Stillwater         MN     55082   10/2/2020
coincloud1232     ColeKepro 3.0       143267            143267.USA      382060258                   Active     108969   108969 Liquor Barrel                      301 E Wheelock Pkwy                St Paul            MN     55130   10/2/2020
coincloud1233     ColeKepro 3.0       143268            143268.USA      382060335                   Active     108930   108930 Sweeden Sweets                     601 Tower Ave                      Superior           WI     54880   10/2/2020
coincloud1236     ColeKepro 3.0       143271            143271.USA      382060395                   Active     108533   108533 Kingstar                           2228 Lincoln St                    Cedar Falls        IA     50613   10/2/2020
coincloud1248     ColeKepro 3.0       143283            143283.USA      382060412                   Active     108705   108705 Fox Convenience                    2661 S Oneida St                   Appleton           WI     54915   10/2/2020
coincloud1250     ColeKepro 3.0       143286            143286.USA      382060502                   Active     109038   109038 Illinois Liquor Mart               802 N Russell St                   Marion             IL     62959   10/2/2020
coincloud1252     ColeKepro 3.0       143287            143287.USA      382060501                   Active     114617   114617 Cub Foods (Phalen)                 1177 Clarence St                   St Paul            MN     55106   10/2/2020
coincloud1253     ColeKepro 3.0       143288            143288.USA      382060445                   Active     114706   114706 Cub Foods                          216 7th St W                       Monticello         MN     55362   10/2/2020
coincloud1254     ColeKepro 3.0       143289            143289.USA      382060355                   Active     108962   108962 The Corner Shoppe                  3703 South Ave                     Youngstown         OH     44502   10/2/2020
coincloud1262     ColeKepro 3.0       143297            143297.USA      382060358                   Active     135654   135654 H-E-B                              403 S Colorado St                  Lockhart           TX     78644   10/2/2020
coincloud1264     ColeKepro 3.0       143299            143299.USA      382060286                   Active     109055   109055 China Cafe                         1623 London Rd                     Duluth             MN     55812   10/2/2020
coincloud1266     ColeKepro 3.0       143301            143301.USA      382060003                   Active     138206   138206 Ajj's Smoke n Stuff                601 S Beacon Blvd Suite #101       Grand Haven        MI     49417   10/2/2020
coincloud1273     ColeKepro 3.0       143308            143308.USA      382060378                   Active     114698   114698 Cub Foods                          2390 White Bear Ave                Maplewood          MN     55109   10/2/2020
coincloud1274     ColeKepro 3.0       143309            143309.USA      382060114                   Active     108191   108191 Shiwakoti Grocery                  200 W Walcott St                   Pilot Point        TX     76258   10/2/2020
coincloud1275     ColeKepro 3.0       143310            143310.USA      382060255                   Active     108534   108534 BP                                 2035 E Mitchell Ave                Waterloo           IA     50702   10/2/2020
coincloud1277     ColeKepro 3.0       143312            143312.USA      382060113                   Active     108466   108466 Waldron Market                     606 Waldron Rd                     La Vergne          TN     37086   10/2/2020
coincloud1282     ColeKepro 3.0       143317            143317.USA      382060369                   Active     108623   108623 Speedy Gas-N-Shop                  430 S 35th St #1                   Council Bluffs     IA     51501   10/2/2020
coincloud1283     ColeKepro 3.0       143318            143318.USA      382060494                   Active     113578   113578 East Star Wireless                 5139 E Main St                     Columbus           OH     43213   10/2/2020
coincloud1287     ColeKepro 3.0       143322            143322.USA      382060250                   Active     108968   108968 Liquor Barrel                      2130 Silver Lake Rd NW             New Brighton       MN     55112   10/2/2020
coincloud1289     ColeKepro 3.0       143324            143324.USA      382060076                   Active     108387   108387 Sunrise Marathon Gas               8 E Main St                        Cary               IL     60013   10/2/2020
coincloud1290     ColeKepro 3.0       143325            143325.USA      382060263                   Active     108938   108938 Fuel Rush General Market           2100 Thousand Oaks Dr              Jackson            MS     39212   10/2/2020
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coincloud1291   ColeKepro 3.0   143326   143326.USA   382060437    Active   109054   109054 US Gas and Foodmart                                             6202 E Pea Ridge Rd                Huntington       WV   25705   10/2/2020
coincloud1296   ColeKepro 3.0   143331   143331.USA   382060407    Active   114707   114707 Cub Foods (Plymouth)                                            3550 Vicksburg Ln N Ste C          Plymouth         MN   55447   10/2/2020
coincloud1298   ColeKepro 3.0   143333   143333.USA   382060376    Active   114699   114699 Cub Foods                                                       5301 N 36th Ave Ste 3              Crystal          MN   55422   10/2/2020
coincloud1299   ColeKepro 3.0   143334   143334.USA   382060525    Active   114708   114708 Cub Foods                                                       8150 Wedgewood Ln N                Maple Grove      MN   55369   10/2/2020
coincloud1310   ColeKepro 3.0   143345   143345.USA   382060062    Active   108489   108489 Himalayan Asian Grocery Store                                   3300 SW 9th St #Suite 2            Des Moines       IA   50315   10/2/2020
coincloud1314   ColeKepro 3.0   143349   143349.USA   382060260    Active   114702   114702 Cub Foods                                                       8421 Lyndale Ave S                 Bloomington      MN   55420   10/2/2020
coincloud1316   ColeKepro 3.0   143351   143351.USA   382060302    Active   114703   114703 Cub Foods                                                       300 E Travelers Trail              Burnsville       MN   55337   10/2/2020
coincloud1317   ColeKepro 3.0   143352   143352.USA   382060235    Active   108833   108833 Hilldale Convenience                                            66 Hilldale Ave                    Haverhill        MA    1832   10/2/2020
coincloud1324   ColeKepro 3.0   143359   143359.USA   382060399    Active   114705   114705 Cub Foods                                                       585 Northtown Dr NE                Blaine           MN   55434   10/2/2020
coincloud1333   ColeKepro 3.0   143368   143368.USA   382060013    Active   108753   108753 LoneStar Vapor Shop LLC                                         627 White Hills Dr                 Rockwall         TX   75087   10/2/2020
coincloud1337   ColeKepro 3.0   143372   143372.USA   382060363    Active   119113   119113 Himalayan Asian Grocery LLC (Desi Market)                       2122 Brownsville Rd                Pittsburgh       PA   15210   10/2/2020
coincloud1345   ColeKepro 3.0   143380   143380.USA   382060137    Active   108594   108594 Citgo                                                           n 511 WI-57                        Random Lake      WI   53075   10/2/2020
coincloud1346   ColeKepro 3.0   143381   143381.USA   382060266    Active   114709   114709 Cub Foods                                                       4445 Nathan Ln N                   Plymouth         MN   55442   10/2/2020
coincloud1358   ColeKepro 3.0   143393   143393.USA   382280335    Active   115052   115052 Good 2 Go                                                       300 Michigan St                    Walkerton        IN   46574   10/2/2020
coincloud1360   ColeKepro 3.0   143395   143395.USA   382060077    Active   108680   108680 C Plus Market                                                   4106 W Pike                        Zanesville       OH   43701   10/2/2020
coincloud1363   ColeKepro 3.0   143398   143398.USA   382060110    Active   108665   108665 Tulsa Food Mart                                                 1712-1707 Southwest Blvd           Tulsa            OK   74107   10/2/2020
coincloud1364   ColeKepro 3.0   143399   143399.USA   382060401    Active   120211   120211 Stripes                                                         950 Commons Dr                     Parkesburg       PA   19365   10/2/2020
coincloud1369   ColeKepro 3.0   145530   143404.USA   382060383    Active   141587   141587 The New Harvester Market                                        100 Bradford Rd                    Henniker         NH    3242   10/2/2020
coincloud1376   ColeKepro 3.0   143411   143411.USA   382060067    Active   108431   108431 Lays Food Mart                                                  23755 Rogers Clark Blvd            Ruther Glen      VA   22546   10/2/2020
coincloud1379   ColeKepro 3.0   143414   143414.USA   382060257    Active   119400   119400 Fresco Market                                                   342 Washington Ave                 North Haven      CT    6473   10/2/2020
coincloud1411   ColeKepro 3.0   143446   143446.USA   382060524    Active   120367   120367 HEB                                                             14100 Spring Cypress Rd            Cypress          TX   77429   10/2/2020
coincloud1424   ColeKepro 3.0   143459   143459.USA   382060515    Active   108295   108295 Kokua Market Natural Foods                                      2643 S King St                     Honolulu         HI   96826   10/2/2020
coincloud1428   ColeKepro 3.0   143463   143463.USA   382060535    Active   108304   108304 Alii Adventures                                                 75-5663 Palani Rd #Unit A          Kailua-Kona      HI   96740   10/2/2020
coincloud1442   ColeKepro 3.0   143477   143477.USA   382060451    Active   108338   108338 Blazin Steaks                                                   98-199 Kamehameha Hwy              Aiea             HI   96701   10/2/2020
coincloud1446   ColeKepro 3.0   143481   143481.USA   382280764    Active   103143   103143 Super Discount Cigarettes                                       929 W Pioneer Pkwy ## C            Grand Prairie    TX   75051   10/2/2020
coincloud1450   ColeKepro 3.0   143485   143485.USA   382060084    Active   108577   108577 7-Eleven                                                        2727 S Prairie Ave                 Pueblo           CO   81005   10/2/2020
coincloud1477   ColeKepro 3.0   143512   143512.USA   382280121    Active   128592   128592 Classic Kickz                                                   358 High St                        Morgantown       WV   26505   10/2/2020
coincloud1501   ColeKepro 3.0   143536   143536.USA   382060268    Active   124809   124809 FOOD BAZAAR                                                     345 Huntington Turnpike            Bridgeport       CT    6610   10/2/2020
coincloud1508   ColeKepro 3.0   143543   143543.USA   382280221    Active   113582   113582 Browns Grocery Company, Inc.                                    126 MS-371                         Mooreville       MS   38857   10/2/2020
coincloud1515   ColeKepro 3.0   143550   143550.USA   382280155    Active   116650   116650 The Coffee Bar                                                  96 US Hwy 33 East                  Weston           WV   26452   10/2/2020
coincloud1525   ColeKepro 3.0   143560   143560.USA   382060382    Active   124810   124810 FOOD BAZAAR                                                     211 Elmora Ave                     Elizabeth        NJ    7202   10/2/2020
coincloud1527   ColeKepro 3.0   143562   143562.USA   382060283    Active   108921   108921 Royal Mart                                                      2270 New Holland Pike              Lancaster        PA   17601   10/2/2020
coincloud1530   ColeKepro 3.0   143565   143565.USA   382060256    Active   114724   114724 Beauregard Liquors                                              11 West St                         Gardner          MA    1440   10/2/2020
coincloud1519   ColeKepro 3.0   143565   143565.USA   382060256    Active   113867   113867 Fitzgerald's General Store                                      110 Southville Rd                  Southborough     MA    1772   10/2/2020
coincloud1531   ColeKepro 3.0   143566   143566.USA   382280827    Active   115351   115351 HutchÃ¢â‚¬â„¢s #118                                             320 S Clarence Nash Blvd           Watonga          OK   73772   10/2/2020
coincloud1548   ColeKepro 3.0   143583   143583.USA   382280198    Active   124208   124208 Allsup's Convenience Store                                      2810 N Lovington Hwy               Hobbs            NM   88240   10/2/2020
coincloud1554   ColeKepro 3.0   143589   143589.USA   382280112    Active   117461   117461 Save-A-Ton                                                      1095 W State Rd 434                Winter Springs   FL   32708   10/2/2020
coincloud1557   ColeKepro 3.0   143592   143592.USA   382280350    Active   114722   114722 8th & Corinth Food Mart                                         200 N Corinth St Rd                Dallas           TX   75203   10/2/2020
coincloud1564   ColeKepro 3.0   143599   143599.USA   382280200    Active   115348   115348 HutchÃ¢â‚¬â„¢s #112                                             309 W Main St                      Weatherford      OK   73096   10/2/2020
coincloud1566   ColeKepro 3.0   143601   143601.USA   382280810    Active   109051   109051 Community Food Mart                                             1330 Linden Ave                    Dayton           OH   45410   10/2/2020
coincloud1568   ColeKepro 3.0   143603   143603.USA   382060310    Active   124812   124812 FOOD BAZAAR                                                     1425 John F. Kennedy Blvd          North Bergen     NJ    7047   10/2/2020
coincloud1581   ColeKepro 3.0   143616   143616.USA   382060069    Active   108656   108656 First Avenue Lounge                                             2310 N 1st St                      Lincoln          NE   68521   10/2/2020
coincloud1586   ColeKepro 3.0   143621   143621.USA   382060413    Active   124807   124807 Food Bazaar                                                     635 S Clinton Ave                  Trenton          NJ    8611   10/2/2020
coincloud1587   ColeKepro 3.0   143622   143622.USA   382280872    Active   117791   117791 MINI SHOP                                                       4718 US-98                         Lakeland         FL   33809   10/2/2020
coincloud1588   ColeKepro 3.0   143623   143623.USA   382060381    Active   124808   124808 FOOD BAZAAR                                                     500 Sylvan Ave                     Bridgeport       CT    6606   10/2/2020
coincloud1593   ColeKepro 3.0   143628   143628.USA   382060236    Active   125617   125617 Spec's Wines, Spirits & Finer Foods                             650 SW E crawford ave              Fate             TX   75189   10/2/2020
coincloud1596   ColeKepro 3.0   143631   143631.USA   382060336    Active   125267   125267 Spec's Wines, Spirits & Finer Foods                             1839 N Central Expy                Allen            TX   75013   10/2/2020
coincloud1621   ColeKepro 3.0   143656   143656.USA   382060317    Active   125608   125608 Spec's Wines, Spirits & Finer Foods                             535 American Way                   Terrell          TX   75160   10/2/2020
coincloud1636   ColeKepro 3.0   143671   143671.USA   382280890    Active   108690   108690 Kings Smoke Shop & More                                         1119 Willow Springs Rd             Killeen          TX   76549   10/2/2020
coincloud1652   ColeKepro 3.0   143687   143687.USA   382060242    Active   119408   119408 Circle K                                                        429 Bedford Rd                     Bedford          TX   76022   10/2/2020
coincloud1658   ColeKepro 3.0   143693   143693.USA   382280799    Active   120394   120394 HEB                                                             11815 Westheimer                   Houston          TX   77077   10/2/2020
coincloud1673   ColeKepro 3.0   143708   143708.USA   382280647    Active   120354   120354 HEB                                                             10100 Beechnut St                  Houston          TX   77072   10/2/2020
143713.USA      ColeKepro 5.0   143713   143713.USA   382060349    Active   104362   104362 Discount Cigarettes                                             9465 Foothill Blvd                 Rancho Cucamonga CA   91730    8/7/2021
coincloud1680   ColeKepro 3.0   143715   143715.USA   382060300    Active   114733   114733 Workingman's Store                                              140 5th Ave                        Huntington       WV   25701   10/2/2020
coincloud1684   ColeKepro 3.0   143719   143719.USA   382280812    Active   125253   125253 Spec's Wines, Spirits & Finer Foods                             3335 Hwy 6                         Sugar Land       TX   77478   10/2/2020
coincloud1688   ColeKepro 3.0   143723   143723.USA   382060406    Active   115312   115312 Shattered Dreams                                                6665 Maynardville Pike             Knoxville        TN   37918   10/2/2020
coincloud1690   ColeKepro 3.0   143725   143725.USA   382280143    Active   124818   124818 GameXChange                                                     4035 Lamar Ave                     Paris            TX   75462   10/2/2020
coincloud1691   ColeKepro 3.0   143726   143726.USA   382060239    Active   117141   117141 Amoco                                                           2012 W College Ave                 Milwaukee        WI   53221   10/2/2020
coincloud1693   ColeKepro 3.0   143728   143728.USA   382280728    Active   115354   115354 Hutch's #121                                                    2136 W Gary Blvd                   Clinton          OK   73601   10/2/2020
coincloud1696   ColeKepro 3.0   143731   143731.USA   382280115    Active   125711   125711 Pwi                                                             1221 n pecan st                    Abbott           TX   76621   10/2/2020
coincloud1701   ColeKepro 3.0   143736   143736.USA   382060261    Active   114430   114430 R&R liquor                                                      8333 W Morgan Ave                  Milwaukee        WI   53220   10/2/2020
coincloud1704   ColeKepro 3.0   143739   143739.USA   382280740    Active   120355   120355 HEB                                                             4724 Hwy 6                         Missouri City    TX   77459   10/2/2020
coincloud1710   ColeKepro 3.0   143745   143745.USA   382280122    Active   115344   115344 Hutch's #109                                                    2000 S Main St                     Elk City         OK   73644   10/2/2020
coincloud1738   ColeKepro 3.0   143773   143773.USA   382060274    Active   119409   119409 Circle K                                                        301 Legacy Dr                      Plano            TX   75023   10/2/2020
coincloud1741   ColeKepro 3.0   143776   143776.USA   382280178    Active   120377   120377 HEB                                                             14498 Bellaire Blvd                Houston          TX   77083   10/2/2020
coincloud1742   ColeKepro 3.0   143777   143777.USA   382280802    Active   120539   120539 Community Markets                                               309 N Main St                      Bellefontaine    OH   43311   10/2/2020
coincloud1745   ColeKepro 3.0   143780   143780.USA   382280688    Active   120269   120269 HEB                                                             4800 B highway 365                 Port Arthur      TX   77642   10/2/2020
coincloud1746   ColeKepro 3.0   143781   143781.USA   382280134    Active   118176   118176 GreenAcres Market, Oklahoma City                                7301 S Pennsylvania Ave #STE D     Oklahoma City    OK   73159   10/2/2020
coincloud1747   ColeKepro 3.0   143782   143782.USA   382280163    Active   120342   120342 HEB                                                             1701 W Alabama St                  Houston          TX   77098   10/2/2020
coincloud1759   ColeKepro 3.0   143794   143794.USA   382280722    Active   120285   120285 HEB                                                             1621 Mason Rd                      Katy             TX   77450   10/2/2020
coincloud1770   ColeKepro 3.0   143805   143805.USA   382280804    Active   121079   121079 iPhone Repair Austin - Apple Repair Austin - Hi-Tech Gadgets    2121 W Parmer Ln                   Austin           TX   78727   10/2/2020
coincloud1779   ColeKepro 3.0   143814   143814.USA   382280856    Active   120266   120266 HEB                                                             6055 South Fwy                     Houston          TX   77004   10/2/2020
coincloud1798   ColeKepro 3.0   143833   143833.USA   382280138    Active   120017   120017 Stripes                                                         701 US-87                          Brady            TX   76825   10/2/2020
coincloud1809   ColeKepro 3.0   143844   143844.USA   382280137    Active   124604   124604 Yesway                                                          5194 Buffalo Gap Rd                Abilene          TX   79606   10/2/2020
coincloud1816   ColeKepro 3.0   143851   143851.USA   382060431    Active   124820   124820 Game X Change                                                   1111 E Tyler St                    Athens           TX   75751   10/2/2020
coincloud1823   ColeKepro 3.0   143858   143858.USA   382280124    Active   120375   120375 HEB                                                             9211 Farm to Market Rd 723         Richmond         TX   77406   10/2/2020
coincloud1844   ColeKepro 3.0   143879   143879.USA   382060340    Active   125502   125502 Spec's Wines, Spirits & Finer Foods                             4720 Bryant Irvin Rd               Fort Worth       TX   76132   10/2/2020
coincloud1847   ColeKepro 3.0   143882   143882.USA   382060390    Active   125488   125488 Fat Dog Beverages                                               366 N Dickinson Dr                 Rusk             TX   75785   10/2/2020
coincloud1852   ColeKepro 3.0   143887   143887.USA   382280328    Active   120547   120547 Sack 'N Save                                                    104 E Main St                      Chillicothe      OH   45601   10/2/2020
coincloud1860   ColeKepro 3.0   143895   143895.USA   382060272    Active   115318   115318 Kings Store Inc                                                 429 Salisbury Ave                  Spencer          NC   28159   10/2/2020
coincloud1864   ColeKepro 3.0   143899   143899.USA   382280767    Active   125623   125623 Spec's Wines, Spirits & Finer Foods                             1506 University Dr E #Ste 700      College Station  TX   77840   10/2/2020
coincloud1869   ColeKepro 3.0   143904   143904.USA   382060477    Active   125499   125499 Spec's Wines, Spirits & Finer Foods                             1453 Coit Rd                       Plano            TX   75075   10/2/2020
coincloud1889   ColeKepro 3.0   143924   143924.USA   382280272    Active   120520   120520 Community Markets                                               602 E Main St                      Cridersville     OH   45806   10/2/2020
coincloud1897   ColeKepro 3.0   143932   143932.USA   382060426    Active   125501   125501 Spec's Wines, Spirits & Finer Foods                             2401 Parker Rd                     Carrollton       TX   75010   10/2/2020
coincloud1913   ColeKepro 3.0   143948   143948.USA   382280045    Active   119932   119932 Abuelas Lavanderia                                              506 S Nursery Rd #suite 100        Irving           TX   75060   10/2/2020
coincloud1925   ColeKepro 3.0   143960   143960.USA   382060495    Active   125492   125492 Spec's Wines, Spirits & Finer Foods                             9500 N Central Expy ##200          Dallas           TX   75231   10/2/2020
coincloud1927   ColeKepro 3.0   143962   143962.USA   382280267    Active   120389   120389 HEB                                                             1550 Fry Rd                        Houston          TX   77084   10/2/2020
coincloud1935   ColeKepro 3.0   143970   143970.USA   382280854    Active   124523   124523 Jerry's Wine and Spirits                                        1281 E University Dr               Prosper          TX   75078   10/2/2020
coincloud1947   ColeKepro 3.0   143982   143982.USA   382060291    Active   125515   125515 Spec's Wines, Spirits & Finer Foods                             8505 Lakeview Pkwy ##320           Rowlett          TX   75088   10/2/2020
coincloud1951   ColeKepro 3.0   143986   143986.USA   382060321    Active   125469   125469 Spec's Wines, Spirits & Finer Foods                             15055 Inwood Rd                    Addison          TX   75001   10/2/2020
coincloud1954   ColeKepro 3.0   143989   143989.USA   382280214    Active   120543   120543 Community Markets                                               1013 Jefferson St.                 Greenfield       OH   45123   10/2/2020
coincloud1963   ColeKepro 3.0   143998   143998.USA   382060491    Active   125486   125486 Fat Dog Beverages                                               709 W Broadway St                  Big Sandy        TX   75755   10/2/2020
coincloud1967   ColeKepro 3.0   144002   144002.USA   382060231    Active   125493   125493 Spec's Wines, Spirits & Finer Foods                             5930 W Park Blvd #1400             Plano            TX   75093   10/2/2020
coincloud1968   ColeKepro 3.0   144003   144003.USA   382280187    Active   124280   124280 Cell Phone Repair                                               1714 Precinct Line Rd #Suite 400   Hurst            TX   76054   10/2/2020
coincloud1972   ColeKepro 3.0   144007   144007.USA   382060278    Active   125504   125504 Spec's Wines, Spirits & Finer Foods                             4901 TX-121                        The Colony       TX   75056   10/2/2020
coincloud1975   ColeKepro 3.0   144010   144010.USA   382060313    Active   119420   119420 Circle K                                                        801 E University Dr                McKinney         TX   75069   10/2/2020
coincloud1976   ColeKepro 3.0   144011   144011.USA   382060441    Active   125496   125496 Spec's Wines, Spirits & Finer Foods                             2750 S Hulen St                    Fort Worth       TX   76109   10/2/2020
coincloud1982   ColeKepro 3.0   144017   144017.USA   382280210    Active   120544   120544 Community Markets                                               878 E Sandusky Ave                 Bellefontaine    OH   43311   10/2/2020
coincloud2001   ColeKepro 3.0   144036   144036.USA   382280653    Active   120270   120270 HEB                                                             1609 N Texas Ave                   Bryan            TX   77803   10/2/2020
coincloud2009   ColeKepro 3.0   144044   144044.USA   382280159    Active   115349   115349 Hutch's - Woodward                                              3710 Oklahoma Ave                  Woodward         OK   73801   10/2/2020
coincloud2010   ColeKepro 3.0   144045   144045.USA   382280907    Active   124709   124709 EZ Food Mart                                                    901 Belt Line Rd #100              Garland          TX   75040   10/2/2020
coincloud2013   ColeKepro 3.0   144048   144048.USA   382280701    Active   120193   120193 Stripes                                                         2731 S.W. Pkwy                     Wichita Falls    TX   76308   10/2/2020
coincloud2028   ColeKepro 3.0   144063   144063.USA   382060289    Active   124193   124193 Allsup's Convenience Store                                      16767 Co Rd 351                    Dublin           TX   76446   10/2/2020
coincloud1744   ColeKepro 3.0   144069   144069.USA   382280727    Active   125506   125506 Spec's Wines, Spirits & Finer Foods                             3909 S Cooper St                   Arlington        TX   76015   10/2/2020
coincloud2078   ColeKepro 3.0   144113   144113.USA   382280130    Active   115411   115411 Redner's Warehouse Markets                                      5471 Pottsville Pike               Leesport         PA   19533   10/2/2020
coincloud2213   ColeKepro 3.0   144248   144248.USA   382060550    Active   115416   115416 Redner's Warehouse Market                                       28253 Lexus Dr                     Milford          DE   19963   10/2/2020
coincloud2250   ColeKepro 3.0   144314   144314.USA   382060277    Active   113873   113873 Shell                                                           400 S Benton Dr                    Sauk Rapids      MN   56379   10/2/2020
coincloud2247   ColeKepro 3.0   144317   144317.USA   382060509    Active   113885   113885 Tennessee Discount Cigarettes                                   601 Tennessee St Suite B           Vallejo          CA   94590   10/2/2020
coincloud2447   ColeKepro 3.0   144465   144465.USA   382060056    Active   108811   108811 Cheema Supermarket                                              562 Cambridge St                   Boston           MA    2134   10/2/2020
coincloud2451   ColeKepro 3.0   144467   144467.USA   382060475    Active   115151   115151 Sunrise Market                                                  17186 SE McLoughlin Blvd           Milwaukie        OR   97267   10/2/2020
coincloud2632   ColeKepro 3.0   144499   144499.USA   382060131    Active   101528   101528 Smoke Shop & Gift                                               4175 Mission Blvd                  San Diego        CA   92109   10/2/2020
coincloud2647   ColeKepro 3.0   144682   144682.USA   382060498    Active   109058   109058 Select Wine & Spirits                                           4271 Truxel Rd ## B2               Sacramento       CA   95834   10/2/2020
coincloud2565   ColeKepro 3.0   145126   145126.USA   382060176    Active   101522   101522 Chevron                                                         5740 Atlantic Ave                  Long Beach       CA   90805   10/2/2020
coincloud2569   ColeKepro 3.0   145130   145130.USA   382060460    Active   104155   104155 Sam's Liquor Store                                              4832 Lankershim Blvd               Los Angeles      CA   91601   10/2/2020
coincloud2618   ColeKepro 3.0   145157   145157.USA   382060446    Active   103903   103903                                                              76 2043 W Commonwealth Ave            Fullerton        CA   92833   10/2/2020
coincloud2601   ColeKepro 3.0   145234   145234.USA   382060541    Active   101472   101472 Broadway Mobile Mart                                            315 W Vernon Ave                   Los Angeles      CA   90037   10/2/2020
coincloud2602   ColeKepro 3.0   145236   145236.USA   382060201    Active   101399   101399 Day & Night Liquor & Market                                     1002 Venice Blvd                   Venice           CA   90291   10/2/2020
coincloud2612   ColeKepro 3.0   145238   145238.USA   382060458    Active   101493   101493 Broadway Liquor Mart                                            3610 W Shaw Ave                    Fresno           CA   93711   10/2/2020
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coincloud2587     ColeKepro 3.0        145241        145241.USA     382060544                            Active       103645   103645 Vallarta Supermarket                                      17390 Main St                                        Hesperia          CA   92345    10/2/2020
coincloud2604     ColeKepro 3.0        145242        145242.USA     382060037                            Active       101530   101530 J&J Market                                                525 N Central Ave                                    Upland            CA   91786    10/2/2020
coincloud2606     ColeKepro 3.0        145243        145243.USA     382060379                            Active       104186   104186 Broadway Market and Liquor                                4018 S Broadway                                      Los Angeles       CA   90037   10/2/2020
coincloud2608     ColeKepro 3.0        145245        145245.USA     382060540                            Active       101473   101473 Mobil                                                     400 N Fair Oaks Ave                                  Pasadena          CA   91103    10/2/2020
coincloud2586     ColeKepro 3.0        145246        145246.USA     382060457                            Active       101475   101475 Azusa Auto Repair Inc                                     901 E Gladstone St                                   Azusa             CA   91702    10/2/2020
coincloud2611     ColeKepro 3.0        145247        145247.USA     382060529                            Active       103161   103161 Valero Gas Station                                        2500 Wible Rd                                        Bakersfield       CA   93304    10/2/2020
coincloud2593     ColeKepro 3.0        145251        145251.USA     382060548                            Active       142744   142744 Shoppers                                                  2950 Donnell Dr                                      Forestville       MD   20747    10/2/2020
coincloud2595     ColeKepro 3.0        145253        145253.USA     382060507                            Active       104151   104151 7 Days Liquor                                             2482 S Atlantic Blvd                                 Commerce          CA   90040    10/2/2020
coincloud2581     ColeKepro 3.0        145256        145256.USA     382060038                            Active       117210   117210 Mr. Toro Carniceria                                       7545 S Houghton Rd                                   Tucson            AZ   85747    10/2/2020
coincloud2589     ColeKepro 3.0        145257        145257.USA     382060504                            Active       103570   103570 Five Star Liquor                                          501 N State St                                       Hemet             CA   92543    10/2/2020
coincloud2600     ColeKepro 3.0        145258        145258.USA     382060543                            Active       101497   101497 Chevron                                                   877 S Ventura Rd                                     Oxnard            CA   93030    10/2/2020
coincloud2598     ColeKepro 3.0        145260        145260.USA     382060456                            Active       103743   103743 Harbour Way Mart                                          1000 Cutting Blvd                                    Richmond          CA   94804    10/2/2020
coincloud2592     ColeKepro 3.0        145262        145262.USA     382060004                            Active       143250   143250 Quick and Handy Market                                    702 Bernard St                                       Bakersfield       CA   93305   10/2/2020
coincloud2590     ColeKepro 3.0        145263        145263.USA     382060281                            Active       104166   104166 Green Bird Liquor                                         22429 Bloomfield Ave                                 Hawaiian Gardens CA    90716   10/2/2020
coincloud2594     ColeKepro 3.0        145264        145264.USA     382060523                            Active       101543   101543 Circle K                                                  1654 Santa Ana Ave                                   Costa Mesa        CA   92627    10/2/2020
coincloud2617     ColeKepro 3.0        145271        145271.USA     382060444                            Active       101461   101461 CL Liquor                                                 1658 W Carson St                                     Torrance          CA   90501    10/2/2020
coincloud2631     ColeKepro 3.0        145274        145274.USA     382060014                            Active       101456   101456 Circle K                                                  12892 Newport Ave                                    Tustin            CA   92780    10/2/2020
coincloud2616     ColeKepro 3.0        145276        145276.USA     382060500                            Active       104392   104392 Grab-n-Go                                                 20572 Lake Forest Dr                                 Lake Forest       CA   92630    10/2/2020
coincloud2613     ColeKepro 3.0        145277        145277.USA     382060513                            Active       101471   101471 Mobil                                                     449 W Manchester Ave                                 Los Angeles       CA   90293    10/2/2020
coincloud2646     ColeKepro 3.0        145360        145360.USA     382060044                            Active       115345   115345 BP                                                        2300 S Limestone St                                  Springfield       OH   45505    10/2/2020
coincloud3235     ColeKepro 5.0        145903        145903.USA     382280930     Kansas City, MO        Active       122849   122849 Capitol City Pawn                                         115 SW 29th St                                       Topeka            KS   66611    8/7/2021
coincloud3654     ColeKepro 3.0        146249        146249.USA     382280842                            Active       119326   119326 Paul's Pantry                                             1719 Miller Rd                                       Kalamazoo         MI   49001    10/2/2020
coincloud4315     ColeKepro 3.0        147849        147849.USA     382280157                            Active       120522   120522 Great Scot                                                301 W Main Cross St                                  Findlay           OH   45840   10/2/2020
coincloud2151     ColeKepro 3.0        149583        149583.USA     382060396                            Active       155284   155284 Love's                                                    643 AZ-90                                            Benson            AZ   85602    10/2/2020
coincloud6053     ColeKepro 5.0        149584        149584.USA     382060290   City Of Industry, CA     Active       155280          Ready Office Furniture                                    1515 N Kraemer Blvd, Unit H                          Anaheim           CA   92806    8/7/2021
coincloud150694   ColeKepro 5.0        150694        150694.USA     382060120       St Paul, MN          Active       113836   113836 Roswell Market                                            8929 SE 42nd Ave                                     Milwaukie         OR   97222    8/7/2021
coincloud150789   ColeKepro 5.0        150789        150789.USA     382060297       Sterling, VA         Active       152188   152188 Royal Farms                                               1114 MD-3                                            Gambrills         MD   21054     8/7/2021
coincloud150946   ColeKepro 5.0        150946        150946.USA     382060422       Sterling, VA         Active       152317   152317 Royal Farms                                               901 Snow Hill Rd                                     Salisbury         MD   21804     8/7/2021
coincloud150952   ColeKepro 5.0        150952        150952.USA     382060265       Sterling, VA         Active       152105   152105 Royal Farms                                               26454 Lewes Georgetown Hwy                           Harbeson          DE   19951    8/7/2021
coincloud151200   ColeKepro 5.0        151200        151200.USA     382060166       Sterling, VA         Active       152142   152142 Royal Farms                                               108 Jackson Creek Rd                                 Grasonville       MD   21638    8/7/2021
coincloud327      Slabb 1.0          5.4116E+14 41160000000008.US   382060303                            Active       103767   103767 Park Place Mall                                           5870 E Broadway Blvd                                 Tucson            AZ   85719   12/18/2018
coincloud534      APSM 1.1          5.41539E+14 41539000000027.US   382060503                            Active       113833   113833 Yasmine Market Place                                      2835 Fairfax St                                      Denver            CO   80207    9/19/2019
coincloud565      APSM 1.1          5.41539E+14 539000000058USA.    382060538                            Active       104205   104205 Hill Market                                               5255 Hill Ave                                        Toledo            OH   43615    9/19/2019
coincloud2588     ColeKepro 3.0        145248                       382060320                            Active       115329   115329 Dockside Mini Market                                      416 Hancock Rd                                       Bullhead City     AZ   86442    10/2/2020
coincloud2597     ColeKepro 3.0        145261                       382060539                            Active       121361   121361 JPS Seafood                                               5550 S 12th Ave ##100                                Tucson            AZ   85706    10/2/2020
coincloud4081     ColeKepro 3.0        147615                       382280318                            Active       128481   128481 Leonards Market                                           606 Main St                                          Loyalton          CA   96118    10/2/2020
coincloud2448     ColeKepro 3.0        144470                       382060063                            Active       108961   108961 Ozzy's Mini Mart                                          430 S 1st St                                         King City         CA   93930    10/2/2020
coincloud1703     ColeKepro 3.0        143738                       382280131                            Active       117520   117520 Food Max                                                  2550 W State Rd 434                                  Longwood          FL   32779    10/2/2020
coincloud1497     ColeKepro 3.0        143532                       382280766                            Active       117523   117523 Stop N Shop                                               499 N State Rd 434 #1017                             Altamonte Springs FL   32714    10/2/2020
coincloud1668     ColeKepro 3.0        143703                       382280119                            Active       117863   117863 Universal Payment & Communication (We Fix Computers/Phone 159 NE 54th St #Suite 3                              Miami             FL   33137    10/2/2020
coincloud1689     ColeKepro 3.0        143724                       382060046                            Active       115382   115382 T&T Rentals L C                                           409 Main St                                          Cedar Falls       IA   50613    10/2/2020
coincloud1481     ColeKepro 3.0        143516                       382060282                            Active       115030   115030 Easy Breezy Laundry & Dry Cleaning                        2807 W Lawrence Ave                                  Chicago           IL   60625    10/2/2020
coincloud2445     ColeKepro 3.0        144468                       382060042                            Active       108891   108891 King Mart                                                 1551 Hartman Ln                                      Belleville        IL   62221    10/2/2020
coincloud1200     ColeKepro 2.0        143235                       382060330                            Active       108915   108915 MADISON MEAT MARKET                                       308 Madison Ave                                      Madison           IL   62060   8/28/2020
coincloud1203     ColeKepro 2.0        143238                       382060322                            Active       108920   108920 One Stop                                                  2500 St Clair Ave                                    East St Louis     IL   62205   8/28/2020
coincloud1185     ColeKepro 2.0        143220                       382060347                            Active       108887   108887 R & J Liquor                                              3901 N Belt W Suite C                                Belleville        IL   62226    8/28/2020
coincloud1585     ColeKepro 3.0        143620                       382280875                            Active       118180   118180 GreenAcres Market                                         10555 W 21st St                                      Wichita           KS   67205    10/2/2020
coincloud1672     ColeKepro 3.0        143707                       382280780                            Active       151385   151385 Minit Mart                                                58 US-68 West                                        Benton            KY   42025    10/2/2020
coincloud1240     ColeKepro 3.0        143275                       382060337                            Active       113577   113577 Soap & Suds Laundromat                                    100 Regency Point Path #130                          Lexington         KY   40503   10/2/2020
coincloud1140     ColeKepro 2.0        143175                       382060314                            Active       113862   113862 E-Z Convenience Store                                     67 Pond St                                           Ashland           MA    1721    8/28/2020
coincloud1555     ColeKepro 3.0        143590                       382060480                            Active       114729   114729 Williams Package                                          50 Spring St                                         Winchendon        MA    1475    10/2/2020
coincloud1286     ColeKepro 3.0        143321                       382060134                            Active       108249   108249 Admiral Petroleum                                         2628 Henry St                                        Norton Shores     MI   49441    10/2/2020
coincloud677      APSM 1.1          5.42016E+14                     382060416                            Active       104091   104091 Exxon                                                     160 W 9 Mile Rd                                      Hazel Park        MI   48030    9/19/2019
coincloud1293     ColeKepro 3.0        143328                       382060293                            Active       138122   138122 Mac's Liquor                                              8600 Excelsior Blvd                                  Hopkins           MN   55343    10/2/2020
coincloud1766     ColeKepro 3.0        143801                       382280166                            Active       116204   116204 Cherokee Food Market                                      2850 Cherokee St                                     St. Louis         MO   63118    10/2/2020
coincloud1775     ColeKepro 3.0        143810                       382280146                            Active       108927   108927 Conoco                                                    10320 Bellefontaine Rd                               St. Louis         MO   63137   10/2/2020
coincloud1498     ColeKepro 3.0        143533                       382280897                            Active       117659   117659 The Lunch Box                                             1701 W 9th St                                        KCMO              MO   64101    10/2/2020
coincloud1120     ColeKepro 2.0        143155                       382060429                            Active       108763   108763 E Z Pantry                                                10711 Margatehall Dr                                 Bridgeton         MO   63044    8/28/2020
coincloud1188     ColeKepro 2.0        143223                       382060424                            Active       109004   109004 49 Neighborhood Store                                     2668 NC-49                                           Burlington        NC   27217    8/28/2020
coincloud1520     ColeKepro 3.0        143555                       382280658                            Active       109048   109048 A Selecta's Mexican Store                                 115 E 10th St                                        Roanoke Rapids    NC   27870   10/2/2020
coincloud1138     ColeKepro 2.0        143173                       382280258                            Active       147044   147044 Boost Mobile                                              4003 Rosehaven Dr                                    Charlotte         NC   28205    8/28/2020
coincloud1550     ColeKepro 3.0        143585                       382280238                            Active       120559   120559 Chief                                                     1102 Elida Ave                                       Delphos           OH   45833    10/2/2020
coincloud1980     ColeKepro 3.0        144015                       382280128                            Active       120556   120556 Chief                                                     120 W Northern Ave                                   Lima              OH   45801    10/2/2020
coincloud2018     ColeKepro 3.0        144053                       382280769                            Active       120517   120517 Community Markets                                         945 S Main St                                        Ada               OH   45810    10/2/2020
coincloud1898     ColeKepro 3.0        143933                       382060526                            Active       117128   117128 Dollar Plus and More                                      1465 Aster Ave                                       Akron             OH   44301    10/2/2020
coincloud1193     ColeKepro 2.0        143228                       382060341                            Active       108735   108735 Heritage IGA                                              479 E Market St                                      Tiffin            OH   44883    8/28/2020
coincloud1272     ColeKepro 3.0        143307                       382060367                            Active       108641   108641 Save A Lot                                                801 E Main St                                        Barnesville       OH   43713    10/2/2020
coincloud1952     ColeKepro 3.0        143987                       382280177                            Active       118177   118177 GreenAcres Market Lawton                                  14 NW Sheridan Rd                                    Lawton            OK   73505   10/2/2020
coincloud1535     ColeKepro 3.0        143570                       382280194                            Active       115355   115355 Hutch's 125                                               1301 E Tamarack Rd                                   Altus             OK   73522    10/2/2020
coincloud1365     ColeKepro 3.0        143400                       382060096                            Active       108677   108677 Outback Pizza                                             2601 S Portland Ave                                  Oklahoma City     OK   73108    10/2/2020
coincloud1184     ColeKepro 2.0        143219                       382060241                            Active       108906   108906 Aman Convenience                                          515 Main St                                          Dupont            PA   18641    8/28/2020
coincloud1199     ColeKepro 2.0        143234                       382060374                            Active       108912   108912 Convenience Mart One Stop                                 1098 Main St                                         Swoyersville      PA   18704    8/28/2020
coincloud1524     ColeKepro 3.0        143559                       382060415                            Active       120904   120904 International market of Pittsburgh                        2116 Noble St                                        Swissvale         PA   15218    10/2/2020
coincloud1516     ColeKepro 3.0        143551                       382060247                            Active       118190   118190 SHOP 'n SAVE                                              1309 Shoemaker St                                    Nanty-Glo         PA   15943    10/2/2020
coincloud1269     ColeKepro 3.0        143304                       382060228                            Active       108904   108904 U.S Gas                                                   835 Exeter Ave                                       Exeter            PA   18643    10/2/2020
coincloud1191     ColeKepro 2.0        143226                       382060246                            Active       108910   108910 US Gas Station                                            220 E 8th St                                         Wyoming           PA   18644   8/28/2020
coincloud1197     ColeKepro 2.0        143232                       382060352                            Active       108903   108903 YASH CONVENIENCE                                          424 N Pennsylvania Ave                               Wilkes-Barre      PA   18702    8/28/2020
coincloud1198     ColeKepro 2.0        143233                       382060393                            Active       108896   108896 Taqueria las Comadres                                     105 S Kings Hwy                                      Myrtle Beach      SC   29577    8/28/2020
coincloud1569     ColeKepro 3.0        143604                       382060487                            Active       121561   121561 Craig's EZ - 2 - Pawn                                     1001 N Roan St                                       Johnson City      TN   37601    10/2/2020
coincloud1862     ColeKepro 3.0        143897                       382060368                            Active       115306   115306 Greek Plate GyroÃ¢â‚¬â„¢s                                 811 Market St                                        Chattanooga       TN   37402    10/2/2020
coincloud1228     ColeKepro 3.0        143263                       382060353                            Active       108959   108959 Hook & Ladder Distillery                                  316 Broad St ##100                                   Kingsport         TN   37660    10/2/2020
coincloud1166     ColeKepro 2.0        143201                       382060060                            Active       108571   108571 7-Eleven                                                  440 S Buckner Blvd                                   Dallas            TX   75217    8/28/2020
coincloud1349     ColeKepro 3.0        143384                       382060158                            Active       108550   108550 Alisons Food Store                                        420 Isbell Rd                                        Fort Worth        TX   76114    10/2/2020
coincloud1748     ColeKepro 3.0        143783                       382280174                            Active       124689   124689 Allsup's Convenience Store                                4002 Ridgemont Dr                                    Abilene           TX   79606   10/2/2020
coincloud1603     ColeKepro 3.0        143638                       382060350                            Active       125491   125491 Fat Dog Beverages                                         8915 US-175                                          Kemp              TX   75143    10/2/2020
coincloud2015     ColeKepro 3.0        144050                       382060386                            Active       125484   125484 Fat Dog Beverages                                         7530 TX-155                                          Coffee City       TX   75763   10/2/2020
coincloud2039     ColeKepro 3.0        144074                       382280145                            Active       125487   125487 Fat Dog Beverages                                         1420 W Duval St                                      Troup             TX   75789    10/2/2020
coincloud1936     ColeKepro 3.0        143971                       382060245                            Active       128857   128857 Four Star Food Mart                                       513 W Euless Blvd                                    Euless            TX   76040   10/2/2020
coincloud1718     ColeKepro 3.0        143753                       382280141                            Active       124821   124821 Game X Change                                             1301 E Henderson St                                  Cleburne          TX   76031    10/2/2020
coincloud1915     ColeKepro 3.0        143950                       382280264                            Active       124817   124817 Game X Change                                             900 E End Blvd N #500                                Marshall          TX   75670    10/2/2020
coincloud1590     ColeKepro 3.0        143625                       382060360                            Active       109041   109041 King Wash and Dry                                         9888 Ferguson Rd Suite #201                          Dallas            TX   75228   10/2/2020
coincloud1258     ColeKepro 3.0        143293                       382060454                            Active       108400   108400 Maria Food Store                                          2200 Azle Ave                                        Fort Worth        TX   76164    10/2/2020
coincloud1601     ColeKepro 3.0        143636                       382060372                            Active       125503   125503 Spec's Wines, Spirits & Finer Foods                       4100 East us 380                                     mckinney          TX   75069   10/2/2020
coincloud1654     ColeKepro 3.0        143689                       382060423                            Active       125629   125629 Spec's Wines, Spirits & Finer Foods                       3405 N Central Expy                                  Plano             TX   75074   10/2/2020
coincloud1960     ColeKepro 3.0        143995                       382060271                            Active       125614   125614 Spec's Wines, Spirits & Finer Foods                       106 Cleburne Ave                                     Weatherford       TX   76086   10/2/2020
coincloud1958     ColeKepro 3.0        143993                       382060328                            Active       125500   125500 Two Bucks Beverage Center                                 4702 South Fwy                                       Fort Worth        TX   76115    10/2/2020
coincloud1270     ColeKepro 3.0        143305                       382060338                            Active       109042   109042 Wonder Wash Coin Laundries                                3237 W Northwest Hwy #100                            Dallas            TX   75220   10/2/2020
coincloud846      ColeKepro 1.0        142029                       382060357                            Active       101468   101468 House of Hookahs                                          7780 700 E                                           Midvale           UT   84047    5/7/2020
coincloud1162     ColeKepro 2.0        143197                       382060311                            Active       113871   113871 Badger Exotics                                            719 State St                                         La Crosse         WI   54601    8/28/2020
coincloud1237     ColeKepro 3.0        143272                       382060392                            Active       113810   113810 Guadalajara Mexican Restaurant                            69 N 28th St #7                                      Superior          WI   54880    10/2/2020
coincloud1226     ColeKepro 3.0        143261                       382060319                            Active       108919   108919 La Espiga                                                 1606 Main St                                         Green Bay         WI   54302    10/2/2020
coincloud1227     ColeKepro 3.0        143262                       382060389                            Active       109033   109033 Loriental Store                                           1607 Bellinger St                                    Eau Claire        WI   54703    10/2/2020
coincloud1175     ColeKepro 2.0        143210                       382060377                            Active       108988   108988 White Dog                                                 201 S Broadway                                       Green Bay         WI   54303    8/28/2020
coincloud1201     ColeKepro 2.0        143236                       382060279                            Active       108992   108992 A Corner Mart                                             35 WV-259                                            Baker             WV   26801    8/28/2020
coincloud1119     ColeKepro 2.0        143154                       382060343                            Active       108993                                                                                                                                                         8/28/2020
coincloud1452     ColeKepro 3.0        143487                       382060023                            Active       108674                                                                                                                                                         10/2/2020
coincloud110      Lynna 1.0       BTM201801310120                   382060177                        Decommissioned   101503          Decommissioned                                                                                                                                  1/1/2018
coincloud152      Lynna 1.0        No serial # found                382060040                        Decommissioned   104154          Decommissioned                                                                                                                                  1/1/2018
coincloud1204     ColeKepro 2.0                                     382060427                          Warehouse                      Bibbeo                                                   10550 EAST 54TH AVENUE UNIT C                         DENVER          CO     80239    8/28/2020
coincloud1276     ColeKepro 3.0    No serial # found                382060432                          Warehouse                      Decommissioned                                                                                                                                 10/2/2020
coincloud1288     ColeKepro 3.0        147844                       382060342                          Warehouse                      Decommissioned                                                                                                                                 10/2/2020
coincloud1512     ColeKepro 3.0    No serial # found                382060400                          Warehouse      126423          Lanza Trucking                                           116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury        NY     11590    10/2/2020
coincloud1893     ColeKepro 3.0        143928                       382280129                          Warehouse      125974          HL Distribution                                          1065 Texan Trail Rd                                   Grapevine       TX     76051    10/2/2020
coincloud5714     ColeKepro 5.0        149245          149245.USA   382280225    Grand Prairie, TX       Active       122443   122443 ACE Cash Express                                         720 N Valley Mills Dr                                 Waco            TX     76710    8/7/2021
coincloud1700     ColeKepro 3.0        143735          143735.USA   382280064                            Active       117793   117793 Nicks Food Mart                                          1219 Lakeland Hills Blvd                              Lakeland        FL     33805    10/2/2020
coincloud1433     ColeKepro 3.0      2120hta404        143468.USA   382060510                            Active       116896   116896 Mai's Beauty Salon                                       3299 Campbell Ave                                     Honolulu        HI     96815   10/2/2020
coincloud1907     ColeKepro 3.0        1439942         143942.USA   382060275                            Active       128167   128167 Grab N Go                                                2319 N Davis Dr                                       Arlington       TX     76012    10/2/2020
coincloud1421     ColeKepro 3.0      2120hta426        143456.USA   382060449                            Active       116351   116351 Blue Planet Surf - SUP and Foil HQ                       1221 Kona St                                          Honolulu        HI     96814   10/2/2020
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coincloud1720     ColeKepro 3.0      143755         143755.USA      382280724                           Active     118439   118439 Oliver Lemon's                        8431 11th St                       Terrebonne         OR   97760   10/2/2020
coincloud1373     ColeKepro 3.0      143408         143408.USA      382060466                           Active     108675   108675 Sami's Center                         2929 S Meridian Ave                Oklahoma City      OK   73108   10/2/2020
coincloud1348     ColeKepro 3.0      143383         143383.USA      382060304                           Active     114615   114615 Cub Foods                             4205 Pheasant Ridge Dr NE          Blaine             MN   55449   10/2/2020
coincloud1338     ColeKepro 3.0      143373         150694.USA      382060120                          Warehouse   113836          Lile International                    20427 87th Avenue South            Kent               WA   98031   10/2/2020
coincloud1624     ColeKepro 3.0      143659         143659.USA      382060238                           Active     126247   126247 Circle K                              350 N Riverside Dr                 Fort Worth         TX   76111   10/2/2020
coincloud6052     ColeKepro 5.0      149583         149583.USA      382060396   City Of Industry, CA   Warehouse   121383          Ready Office Furniture                1515 N Kraemer Blvd, Unit H        Anaheim            CA   92806   8/7/2021
coincloud1810     ColeKepro 3.0      143845         143845.USA      382280216                           Active     125257   125257 Spec's Wines, Spirits & Finer Foods   3505 Longmire Dr                   College Station    TX   77845   10/2/2020
coincloud1558     ColeKepro 3.0      143593         143593.USA      382280883                           Active     115352   115352 Hutch's #119                          2001 E 7th St                      Elk City           OK   73644   10/2/2020
coincloud521      APSM 1.1        5.41539E+14   41539000000014.US   382060224                           Active     104374   104374 Corner Market                         500 S Hampton Rd                   Dallas             TX   75208   9/19/2019
coincloud151165   ColeKepro 5.0      151165         151165.USA                    Las Vegas, NV        Warehouse                   Sloan                                                                                                    8/7/2021
coincloud5563     ColeKepro 5.0      149094                                         Sloan, NV          Warehouse                   Sloan                                                                                                     8/7/2021
coincloud4970     ColeKepro 5.0      148501                                         Sloan, NV          Warehouse   129833          Sloan                                                                                                     8/7/2021
coincloud4730     ColeKepro 5.0      148261        148261.USA       1.222E+12     Shreveport, LA        Active     151098   151098 Cumberland Farms                      628 E 5th St                       Boston             MA    2127   8/7/2021
coincloud6399     ColeKepro 5.0      149930        149930.USA       1.222E+12    Kansas City,MO         Active     151054   151054 Cumberland Farms                      146 Bridge St                      Gardiner           ME    4345   8/7/2021
coincloud150184   ColeKepro 5.0      150184        150184.USA       1.222E+12    Kansas City, MO        Active     150802   150802 Cumberland Farms                      71 Drum Hill Rd                    Chelmsford         MA    1824   8/7/2021
coincloud150185   ColeKepro 5.0      150185        150185.USA       1.222E+12    Kansas City, MO        Active     151074   151074 Cumberland Farms                      60 Main St                         Gorham             NH    3581   8/7/2021
coincloud150186   ColeKepro 5.0      150186        150186.USA       1.222E+12    Kansas City, MO        Active     150655   150655 Cumberland Farms                      95 Huttleston Ave                  Fairhaven          MA    2719   8/7/2021
coincloud150187   ColeKepro 5.0      150187        150187.USA       1.222E+12    Kansas City, MO        Active     150614   150614 Cumberland Farms                      691 Main St                        Lewiston           ME    4240   8/7/2021
coincloud150188   ColeKepro 5.0      150188        150188.USA       1.222E+12    Kansas City, MO        Active     151063   151063 Cumberland Farms                      382 S Broadway                     Salem              NH    3079   8/7/2021
coincloud150189   ColeKepro 5.0      150189        150189.USA       1.222E+12    Kansas City, MO        Active     150629   150629 Cumberland Farms                      108 Webster St                     Manchester         NH    3104   8/7/2021
coincloud150190   ColeKepro 5.0      150190        150190.USA       1.222E+12    Kansas City, MO        Active     150627   150627 Cumberland Farms                      1727 Dover Rd                      Epsom              NH    3234   8/7/2021
coincloud150191   ColeKepro 5.0      150191        150191.USA       1.222E+12    Kansas City, MO        Active     150620   150620 Cumberland Farms                      145 Sabattus Rd                    Sabattus           ME    4280   8/7/2021
coincloud150192   ColeKepro 5.0      150192        150192.USA       1.222E+12    Kansas City, MO        Active     151050   151050 Cumberland Farms                      205 Main St                        Fairfield          ME    4937   8/7/2021
coincloud150203   ColeKepro 5.0      150203        150203.USA       1.222E+12    Kansas City, MO        Active     151043   151043 Cumberland Farms                      241 Main St                        Amesbury           MA    1913   8/7/2021
coincloud150206   ColeKepro 5.0      150206        150206.USA       1.222E+12    Kansas City, MO        Active     150762   150762 Cumberland Farms                      334 Daniel Webster Hwy             Meredith           NH    3253   8/7/2021
coincloud150207   ColeKepro 5.0      150207        150207.USA       1.222E+12    Kansas City, MO        Active     150623   150623 Cumberland Farms                      97 Gosling Rd                      Newington          NH    3801   8/7/2021
coincloud150208   ColeKepro 5.0      150208        150208.USA       1.222E+12    Kansas City, MO        Active     150643   150643 Cumberland Farms                      142 Rockdale Ave                   Dartmouth          MA    2748   8/7/2021
coincloud150209   ColeKepro 5.0      150209        150209.USA       1.222E+12    Kansas City, MO        Active     150761   150761 Cumberland Farms                      142 Plaistow Rd                    Plaistow           NH    3865   8/7/2021
coincloud150211   ColeKepro 5.0      150211        150211.USA       1.222E+12    Kansas City, MO        Active     151073   151073 Cumberland Farms                      336 Washington St                  Claremont          NH    3743   8/7/2021
coincloud150213   ColeKepro 5.0      150213        150213.USA       1.222E+12    Kansas City, MO        Active     151065   151065 Cumberland Farms                      142 Nashua St                      Milford            NH    3055   8/7/2021
coincloud150214   ColeKepro 5.0      150214        150214.USA       1.222E+12    Kansas City, MO        Active     150793   150793 Cumberland Farms                      189 Central St                     Hudson             NH    3051   8/7/2021
coincloud150216   ColeKepro 5.0      150216        150216.USA       1.222E+12    Kansas City, MO        Active     150624   150624 Cumberland Farms                      1475 Lafayette Rd                  Portsmouth         NH    3801   8/7/2021
coincloud150218   ColeKepro 5.0      150218        150218.USA       1.222E+12    Kansas City, MO        Active     151066   151066 Cumberland Farms                      1 Knight St                        Rochester          NH    3867   8/7/2021
coincloud150219   ColeKepro 5.0      150219        150219.USA       1.222E+12    Kansas City, MO        Active     150616   150616 Cumberland Farms                      753 Sabattus St                    Lewiston           ME    4240   8/7/2021
coincloud150220   ColeKepro 5.0      150220        150220.USA       1.222E+12    Kansas City, MO        Active     151075   151075 Cumberland Farms                      278 Meadow St                      Littleton          NH    3561   8/7/2021
coincloud150221   ColeKepro 5.0      150221        150221.USA       1.222E+12       Mt Joy, PA          Active     151133   151133 Certified Oil                         4546 Cemetery Rd                   Hilliard           OH   43026    8/7/2021
coincloud150222   ColeKepro 5.0      150222        150222.USA       1.222E+12    Kansas City, MO        Active     151389   151389 Cumberland Farms                      53 Main St                         Livermore Falls    ME    4254   8/7/2021
coincloud150223   ColeKepro 5.0      150223        150223.USA       1.222E+12    Kansas City, MO        Active     150622   150622 Cumberland Farms                      99 Calef Hwy                       Epping             NH    3042    8/7/2021
coincloud150224   ColeKepro 5.0      150224        150224.USA       1.222E+12    Kansas City, MO        Active     151071   151071 Cumberland Farms                      161 Main St                        Conway             NH    3818   8/7/2021
coincloud150225   ColeKepro 5.0      150225        150225.USA       1.222E+12       Mt Joy, PA          Active     151137   151137 Certified Oil                         184 E Main St                      West Jefferson     OH   43162   8/7/2021
coincloud150226   ColeKepro 5.0      150226        150226.USA       1.222E+12       Mt Joy, PA          Active     151540   151540 Minit Mart                            1033 S Court St                    Medina             OH   44256    8/7/2021
coincloud150227   ColeKepro 5.0      150227        150227.USA       1.222E+12    Kansas City, MO        Active     150625   150625 Cumberland Farms                      2 S Mast St                        Goffstown          NH    3045   8/7/2021
coincloud150228   ColeKepro 5.0      150228        150228.USA       1.222E+12       Mt Joy, PA          Active     150850   150850 Certified Oil                         2025 Ikea Wy                       Columbus           OH   43240    8/7/2021
coincloud150229   ColeKepro 5.0      150229        150229.USA       1.222E+12    Kansas City, MO        Active     151055   151055 Cumberland Farms                      410 Main St                        Winthrop           ME    4364   8/7/2021
coincloud150231   ColeKepro 5.0      150231        150231.USA       1.222E+12    Kansas City, MO        Active     150619   150619 Cumberland Farms                      439 Payne Rd                       Scarborough        ME    4074   8/7/2021
coincloud150232   ColeKepro 5.0      150232        150232.USA       1.222E+12    Kansas City, MO        Active     151380   151380 Cumberland Farms                      4 N Main St                        Mechanic Falls     ME    4256   8/7/2021
coincloud150233   ColeKepro 5.0      150233        150233.USA       1.222E+12    Kansas City, MO        Active     150766   150766 Cumberland Farms                      216 NH-108                         Somersworth        NH    3878   8/7/2021
coincloud150234   ColeKepro 5.0      150234        150234.USA       1.222E+12    Kansas City, MO        Active     151069   151069 Cumberland Farms                      106 Amherst St                     Nashua             NH    3064   8/7/2021
coincloud150235   ColeKepro 5.0      150235        150235.USA       1.222E+12    Kansas City, MO        Active     150770   150770 Cumberland Farms                      121 Pleasant St                    Claremont          NH    3743   8/7/2021
coincloud150236   ColeKepro 5.0      150236        150236.USA       1.222E+12    Kansas City, MO        Active     150768   150768 Cumberland Farms                      308 Daniel Webster Hwy             Nashua             NH    3060   8/7/2021
coincloud150237   ColeKepro 5.0      150237        150237.USA       1.222E+12    Kansas City, MO        Active     150759   150759 28 Levesque Dr Ste 12                 28 Levesque Dr #Ste 12             Eliot              ME    3903   8/7/2021
coincloud150238   ColeKepro 5.0      150238        150238.USA       1.222E+12    Kansas City, MO        Active     150617   150617 Cumberland Farms                      939 US-1                           Yarmouth           ME    4096   8/7/2021
coincloud150239   ColeKepro 5.0      150239        150239.USA       1.222E+12    Kansas City, MO        Active     151058   151058 Cumberland Farms                      42 School St                       Berwick            ME    3901   8/7/2021
coincloud150240   ColeKepro 5.0      150240        150240.USA       1.222E+12    Kansas City, MO        Active     151064   151064 Cumberland Farms                      235 E Main St                      Tilton             NH    3276   8/7/2021
coincloud150242   ColeKepro 5.0      150242        150242.USA       1.222E+12       Mt Joy, PA          Active     149825   149825 Turkey Hill                           10 Eagleville Rd                   Eagleville         PA   19403   8/7/2021
coincloud150243   ColeKepro 5.0      150243        150243.USA       1.222E+12    Kansas City, MO        Active     150621   150621 Cumberland Farms                      801 Washington Ave                 Portland           ME    4103   8/7/2021
coincloud150244   ColeKepro 5.0      150244        150244.USA       1.222E+12       Mt Joy, PA          Active     150913   150913 Turkey Hill                           329 Main St                        Blandon            PA   19510    8/7/2021
coincloud150245   ColeKepro 5.0      150245        150245.USA       1.222E+12       Mt Joy, PA          Active     149949   149949 Turkey Hill Midwest                   3248 Morgantown Rd                 Mohnton            PA   19540    8/7/2021
coincloud150246   ColeKepro 5.0      150246        150246.USA       1.222E+12       Mt Joy, PA          Active     151135   151135 Certified Oil                         3204 W Broad St                    Columbus           OH   43204   8/7/2021
coincloud150247   ColeKepro 5.0      150247        150247.USA       1.222E+12       Mt Joy, PA          Active     150320   150320 Turkey Hill                           733 E Philadelphia Ave             Boyertown          PA   19512   8/7/2021
coincloud150248   ColeKepro 5.0      150248        150248.USA       1.222E+12       Mt Joy, PA          Active     150857   150857 Certified Oil                         980 Demorest Rd                    Columbus           OH   43204   8/7/2021
coincloud150250   ColeKepro 5.0      150250        150250.USA       1.222E+12       Mt Joy, PA          Active     149849   149849 Turkey Hill                           1140 Hellertown Rd                 Bethlehem          PA   18015   8/7/2021
coincloud150253   ColeKepro 5.0      150253        150253.USA       1.222E+12       Mt Joy, PA          Active     150911   150911 Turkey Hill                           686 2nd St                         Highspire          PA   17034   8/7/2021
coincloud150254   ColeKepro 5.0      150254        150254.USA       1.222E+12       Mt Joy, PA          Active     149834   149834 Turkey Hill                           240 Hershey Rd                     Hummelstown        PA   17036    8/7/2021
coincloud150255   ColeKepro 5.0      150255        150255.USA       1.222E+12       Mt Joy, PA          Active     152148   152148 Royal Farms                           1526 Rock Spring Rd                Forest Hill        MD   21050   8/7/2021
coincloud150256   ColeKepro 5.0      150256        150256.USA       1.222E+12       Mt Joy, PA          Active     150917   150917 Turkey Hill                           320 E Main St                      Mountville         PA   17554   8/7/2021
coincloud150257   ColeKepro 5.0      150257        150257.USA       1.222E+12       Mt Joy, PA          Active     150325   150325 Turkey Hill                           17 Briarcrest Square               Hershey            PA   17033    8/7/2021
coincloud150258   ColeKepro 5.0      150258        150258.USA       1.222E+12       Mt Joy, PA          Active     152917   152917 Minit Mart                            6550 Center Rd                     Valley City        OH   44280   8/7/2021
coincloud150259   ColeKepro 5.0      150259        150259.USA       1.222E+12       Mt Joy, PA          Active     150912   150912 Turkey Hill                           501 Spring St                      Reading            PA   19601   8/7/2021
coincloud150260   ColeKepro 5.0      150260        150260.USA       1.222E+12       Mt Joy, PA          Active     149847   149847 Turkey Hill                           998 N Hanover St                   Elizabethtown      PA   17022   8/7/2021
coincloud150261   ColeKepro 5.0      150261        150261.USA       1.222E+12       Mt Joy, PA          Active     152957   152957 Turkey Hill                           610 Main St                        Slatington         PA   18080   8/7/2021
coincloud150262   ColeKepro 5.0      150262        150262.USA       1.222E+12       Mt Joy, PA          Active     150851   150851 Certified Oil                         856 Frank Rd                       Columbus           OH   43223   8/7/2021
coincloud150263   ColeKepro 5.0      150263        150263.USA       1.222E+12       Mt Joy, PA          Active     150881   150881 Turkey Hill                           600 N Oak St                       Lititz             PA   17543    8/7/2021
coincloud150264   ColeKepro 5.0      150264        150264.USA       1.222E+12       Mt Joy, PA          Active     151134   151134 Certified Oil                         10257 Lancaster Rd                 Hebron             OH   43025   8/7/2021
coincloud150265   ColeKepro 5.0      150265        150265.USA       1.222E+12       Mt Joy, PA          Active     150896   150896 Turkey Hill                           401 S Blakely St                   Dunmore            PA   18512    8/7/2021
coincloud150267   ColeKepro 5.0      150267        150267.USA       1.222E+12       Mt Joy, PA          Active     150301   150301 Turkey Hill                           806 New Holland Ave                Lancaster          PA   17602   8/7/2021
coincloud150268   ColeKepro 5.0      150268        150268.USA       1.222E+12       Mt Joy, PA          Active     150032   150032 Turkey Hill                           1434 E Philadelphia Ave            Gilbertsville      PA   19525   8/7/2021
coincloud150269   ColeKepro 5.0      150269        150269.USA       1.222E+12       Mt Joy, PA          Active     153529   153529 Minit Mart                            1010 West Lafayette Road           Medina             OH   44256   8/7/2021
coincloud150270   ColeKepro 5.0      150270        150270.USA       1.222E+12       Mt Joy, PA          Active     150882   150882 Turkey Hill                           1010 Sharp Ave                     Ephrata            PA   17522    8/7/2021
coincloud150271   ColeKepro 5.0      150271        150271.USA       1.222E+12       Mt Joy, PA          Active     149830   149830 Turkey Hill                           2432 Morgantown Rd                 Reading            PA   19607    8/7/2021
coincloud150273   ColeKepro 5.0      150273        150273.USA       1.222E+12       Mt Joy, PA          Active     151398   151398 Turkey Hill                           211 W Harford St                   Milford            PA   18337    8/7/2021
coincloud150274   ColeKepro 5.0      150274        150274.USA       1.222E+12       Mt Joy, PA          Active     149818   149818 Turkey Hill                           726 N 15th St                      Allentown          PA   18102    8/7/2021
coincloud150275   ColeKepro 5.0      150275        150275.USA       1.222E+12       Mt Joy, PA          Active     149827   149827 Turkey Hill                           7601 Allentown Blvd                Harrisburg         PA   17112    8/7/2021
coincloud150276   ColeKepro 5.0      150276        150276.USA       1.222E+12       Mt Joy, PA          Active     150902   150902 Turkey Hill                           101 S Lehigh Ave                   Frackville         PA   17931    8/7/2021
coincloud150277   ColeKepro 5.0      150277        150277.USA       1.222E+12       Mt Joy, PA          Active     150928   150928 Turkey Hill                           300 Main St                        Denver             PA   17517    8/7/2021
coincloud150278   ColeKepro 5.0      150278        150278.USA       1.222E+12       Mt Joy, PA          Active     149953   149953 Turkey Hill                           560 N Main Ave                     Scranton           PA   18504    8/7/2021
coincloud150280   ColeKepro 5.0      150280        150280.USA       1.222E+12       Mt Joy, PA          Active     150888   150888 Turkey Hill                           515 Main St                        Red Hill           PA   18076    8/7/2021
coincloud150281   ColeKepro 5.0      150281        150281.USA       1.222E+12       Mt Joy, PA          Active     150904   150904 Turkey Hill                           2 E Bridge St                      Spring City        PA   19475    8/7/2021
coincloud150282   ColeKepro 5.0      150282        150282.USA       1.222E+12       Mt Joy, PA          Active     149819   149819 Turkey Hill                           2339 Oregon Pike                   Lancaster          PA   17601    8/7/2021
coincloud150283   ColeKepro 5.0      150283        150283.USA       1.222E+12       Mt Joy, PA          Active     150321   150321 Turkey Hill                           2900 W Emaus Ave                   Allentown          PA   18103    8/7/2021
coincloud150284   ColeKepro 5.0      150284        150284.USA       1.222E+12       Mt Joy, PA          Active     150935   150935 Turkey Hill                           3701 Kutztown Rd                   Laureldale         PA   19605   8/7/2021
coincloud150285   ColeKepro 5.0      150285        150285.USA       1.222E+12       Mt Joy, PA          Active     150901   150901 Turkey Hill                           55 Morgan Hill Rd                  Easton             PA   18042    8/7/2021
coincloud150286   ColeKepro 5.0      150286        150286.USA       1.222E+12     Westbury, NY          Active     151035   151035 Cumberland Farms                      74 W State St                      Granby             MA    1033    8/7/2021
coincloud150287   ColeKepro 5.0      150287        150287.USA       1.222E+12       Mt Joy, PA          Active     150909   150909 Turkey Hill                           330 S Main St                      Forest City        PA   18421    8/7/2021
coincloud150288   ColeKepro 5.0      150288        150288.USA       1.222E+12       Mt Joy, PA          Active     149823   149823 Turkey Hill                           5005 Winona Falls Rd               East Stroudsburg   PA   18302   8/7/2021
coincloud150289   ColeKepro 5.0      150289        150289.USA       1.222E+12     Westbury, NY          Active     151125   151125 Cumberland Farms                      460 High St Ext                    Lancaster          MA    1523   8/7/2021
coincloud150290   ColeKepro 5.0      150290        150290.USA       1.222E+12     Westbury, NY          Active     151381   151381 Cumberland Farms                      3 Main St                          Brimfield          MA    1010    8/7/2021
coincloud150291   ColeKepro 5.0      150291        150291.USA       1.222E+12     Westbury, NY          Active     151019   151019 Cumberland Farms                      270 Main St                        Tewksbury          MA    1876    8/7/2021
coincloud150292   ColeKepro 5.0      150292        150292.USA       1.222E+12     Westbury, NY          Active     151028   151028 Cumberland Farms                      1530 Main St                       Leicester          MA    1524    8/7/2021
coincloud150293   ColeKepro 5.0      150293        150293.USA       1.222E+12     Westbury, NY          Active     150771   150771 Cumberland Farms                      2224 Boston Turnpike               Coventry           CT    6238   8/7/2021
coincloud150294   ColeKepro 5.0      150294        150294.USA       1.222E+12     Westbury, NY          Active     151021   151021 Cumberland Farms                      94 Main St                         Lancaster          MA    1523    8/7/2021
coincloud150295   ColeKepro 5.0      150295        150295.USA       1.222E+12     Westbury, NY          Active     151123   151123 Cumberland Farms                      180 W Main St                      Dudley             MA    1571    8/7/2021
coincloud150296   ColeKepro 5.0      150296        150296.USA       1.222E+12     Westbury, NY          Active     150834   150834 Cumberland Farms                      837 Suffield St                    Agawam             MA    1001    8/7/2021
coincloud150297   ColeKepro 5.0      150297        150297.USA       1.222E+12     Westbury, NY          Active     151382   151382 Cumberland Farms                      37 N Main St                       Williamsburg       MA    1096    8/7/2021
coincloud150298   ColeKepro 5.0      150298        150298.USA       1.222E+12     Westbury, NY          Active     150743   150743 Cumberland Farms                      1366 Curran Hwy                    North Adams        MA    1247    8/7/2021
coincloud150299   ColeKepro 5.0      150299        150299.USA       1.222E+12      Westbury, NY         Active     151041   151041 Cumberland Farms                      32 Central St                      Winchendon         MA    1475    8/7/2021
coincloud150300   ColeKepro 5.0      150300        150300.USA       1.222E+12     Westbury, NY          Active     150831   150831 Cumberland Farms                      320 East St                        Ludlow             MA    1056    8/7/2021
coincloud150301   ColeKepro 5.0      150301        150301.USA       1.222E+12     Westbury, NY          Active     150832   150832 Cumberland Farms                      514 Belmont Ave                    Springfield        MA    1108   8/7/2021
coincloud150302   ColeKepro 5.0      150302        150302.USA       1.222E+12     Westbury, NY          Active     150754   150754 Cumberland Farms                      885 Dalton Ave                     Pittsfield         MA    1201   8/7/2021
coincloud150303   ColeKepro 5.0      150303        150303.USA       1.222E+12     Westbury, NY          Active     150670   150670 Cumberland Farms                      130 College Hwy                    Southampton        MA    1073    8/7/2021
coincloud150304   ColeKepro 5.0      150304        150304.USA       1.222E+12     Westbury, NY          Active     153376   153376 Cumberland Farms                      1289 Main St                       Leominster         MA    1453   8/7/2021
coincloud150305   ColeKepro 5.0      150305        150305.USA       1.222E+12     Westbury, NY          Active     150606   150606 Cumberland Farms                      231 Northampton St                 Easthampton        MA    1027   8/7/2021
coincloud150306   ColeKepro 5.0      150306        150306.USA       1.222E+12     Westbury, NY          Active     150780   150780 Cumberland Farms                      1660 Storrs Rd                     Storrs             CT    6268    8/7/2021
coincloud150307   ColeKepro 5.0      150307        150307.USA       1.222E+12      Westbury, NY         Active     150843   150843 Cumberland Farms                      37 Montcalm St                     Chicopee           MA    1020   8/7/2021
coincloud150308   ColeKepro 5.0      150308        150308.USA       1.222E+12     Westbury, NY          Active     150610   150610 Cumberland Farms                      35 Belchertown Rd                  Amherst            MA    1002   8/7/2021
coincloud150309   ColeKepro 5.0      150309        150309.USA       1.222E+12     Westbury, NY          Active     150612   150612 Cumberland Farms                      317 Federal St                     Greenfield         MA    1301   8/7/2021
coincloud150310   ColeKepro 5.0      150310        150310.USA       1.222E+12     Westbury, NY          Active     150741   150741 Cumberland Farms                      217 Worcester St                   Grafton            MA    1536   8/7/2021
coincloud150311   ColeKepro 5.0      150311        150311.USA       1.222E+12     Westbury, NY          Active     151127   151127 Cumberland Farms                      502 Washington St                  Auburn             MA    1501   8/7/2021
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coincloud150312   ColeKepro 5.0   150312   150312.USA   1.222E+12     Westbury, NY       Active   151124   151124 Cumberland Farms   109 Russell St                       Hadley             MA    1035   8/7/2021
coincloud150314   ColeKepro 5.0   150314   150314.USA   1.222E+12     Westbury, NY       Active   151046   151046 Cumberland Farms   707 Main St                          Dalton             MA    1226   8/7/2021
coincloud150315   ColeKepro 5.0   150315   150315.USA   1.222E+12     Westbury, NY       Active   151020   151020 Cumberland Farms   130 Main St                          Gardner            MA    1440   8/7/2021
coincloud150316   ColeKepro 5.0   150316   150316.USA   1.222E+12     Westbury, NY       Active   151078   151078 Cumberland Farms   116 W Main St                        Stafford           CT    6076   8/7/2021
coincloud150317   ColeKepro 5.0   150317   150317.USA   1.222E+12     Westbury, NY       Active   151085   151085 Cumberland Farms   2 Knollwood Dr                       Canterbury         CT    6331   8/7/2021
coincloud150318   ColeKepro 5.0   150318   150318.USA   1.222E+12     Westbury, NY       Active   150836   150836 Cumberland Farms   115 Mendon St                        Hopedale           MA    1747   8/7/2021
coincloud150319   ColeKepro 5.0   150319   150319.USA   1.222E+12     Westbury, NY       Active   150746   150746 Cumberland Farms   1134 Southampton Rd                  Westfield          MA    1085   8/7/2021
coincloud150320   ColeKepro 5.0   150320   150320.USA   1.222E+12      Mt Joy, PA        Active   149840   149840 Turkey Hill        2 Denver Rd                          Denver             PA   17517   8/7/2021
coincloud150321   ColeKepro 5.0   150321   150321.USA   1.222E+12     Westbury, NY       Active   151121   151121 Cumberland Farms   69 Main St                           Westfield          MA    1085   8/7/2021
coincloud150322   ColeKepro 5.0   150322   150322.USA   1.222E+12     Westbury, NY       Active   150777   150777 Cumberland Farms   3 Middle Turnpike E                  Manchester         CT    6040   8/7/2021
coincloud150323   ColeKepro 5.0   150323   150323.USA   1.222E+12     Westbury, NY       Active   151087   151087 Cumberland Farms   1132 Main St                         Willimantic        CT    6226   8/7/2021
coincloud150324   ColeKepro 5.0   150324   150324.USA   1.222E+12      Mt Joy, PA        Active   150295   150295 Turkey Hill        4801 N 5th Street Hwy                Temple             PA   19560   8/7/2021
coincloud150325   ColeKepro 5.0   150325   150325.USA   1.222E+12     Westbury, NY       Active   150760   150760 Cumberland Farms   239 Central St                       Franklin           NH    3235   8/7/2021
coincloud150326   ColeKepro 5.0   150326   150326.USA   1.222E+12     Westbury, NY       Active   151122   151122 Cumberland Farms   463 Center St                        Ludlow             MA    1056   8/7/2021
coincloud150327   ColeKepro 5.0   150327   150327.USA   1.222E+12     Westbury, NY       Active   150751   150751 Cumberland Farms   507 Newton St                        South Hadley       MA    1075   8/7/2021
coincloud150328   ColeKepro 5.0   150328   150328.USA   1.222E+12     Westbury, NY       Active   150833   150833 Cumberland Farms   200 Southbridge Rd                   North Oxford       MA    1537   8/7/2021
coincloud150329   ColeKepro 5.0   150329   150329.USA   1.222E+12     Westbury, NY       Active   150827   150827 Cumberland Farms   278 Cowesett Ave                     West Warwick       RI    2893   8/7/2021
coincloud150330   ColeKepro 5.0   150330   150330.USA   1.222E+12     Westbury, NY       Active   150745   150745 Cumberland Farms   41 Milford St                        Medway             MA    2053   8/7/2021
coincloud150331   ColeKepro 5.0   150331   150331.USA   1.222E+12   Riviera Beach, FL    Active   150844   150844 Cumberland Farms   246 Mansfield Ave                    Norton             MA    2766   8/7/2021
coincloud150332   ColeKepro 5.0   150332   150332.USA   1.222E+12   Riviera Beach, FL    Active   151005   151005 Cumberland Farms   10975 South A1A                      Jensen Beach       FL   34957   8/7/2021
coincloud150333   ColeKepro 5.0   150333   150333.USA   1.222E+12   Riviera Beach, FL    Active   151004   151004 Cumberland Farms   1690 US-1                            Vero Beach         FL   32960   8/7/2021
coincloud150334   ColeKepro 5.0   150334   150334.USA   1.222E+12   Riviera Beach, FL    Active   150581   150581 Cumberland Farms   1000 W New Haven Ave                 West Melbourne FL       32904   8/7/2021
coincloud150335   ColeKepro 5.0   150335   150335.USA   1.222E+12   Riviera Beach, FL    Active   150641   150641 Cumberland Farms   406 Wareham Rd                       Marion             MA    2738   8/7/2021
coincloud150336   ColeKepro 5.0   150336   150336.USA   1.222E+12   Riviera Beach, FL    Active   150566   150566 Cumberland Farms   6201 W Sample Rd                     Coral Springs      FL   33067   8/7/2021
coincloud150337   ColeKepro 5.0   150337   150337.USA   1.222E+12   Riviera Beach, FL    Active   153375   153375 Cumberland Farms   1813 Main St                         Brockton           MA    2301   8/7/2021
coincloud150338   ColeKepro 5.0   150338   150338.USA   1.222E+12     Westbury, NY       Active   150671   150671 Cumberland Farms   134 King St                          Northampton        MA    1060   8/7/2021
coincloud150339   ColeKepro 5.0   150339   150339.USA   1.222E+12     Westbury, NY       Active   150825   150825 Cumberland Farms   823 Smithfield Ave                   Lincoln            RI    2865   8/7/2021
coincloud150340   ColeKepro 5.0   150340   150340.USA   1.222E+12     Westbury, NY       Active   150650   150650 Cumberland Farms   375 Barnstable Rd                    Hyannis            MA    2601   8/7/2021
coincloud150341   ColeKepro 5.0   150341   150341.USA   1.222E+12     Westbury, NY       Active   150764   150764 Cumberland Farms   47 Fisherville Rd                    Concord            NH    3303   8/7/2021
coincloud150342   ColeKepro 5.0   150342   150342.USA   1.222E+12     Westbury, NY       Active   151024   151024 Cumberland Farms   195 West St                          Ware               MA    1082   8/7/2021
coincloud150343   ColeKepro 5.0   150343   150343.USA   1.222E+12     Westbury, NY       Active   151060   151060 Cumberland Farms   251 Main St                          Norway             ME    4268   8/7/2021
coincloud150344   ColeKepro 5.0   150344   150344.USA   1.222E+12     Westbury, NY       Active   151130   151130 Cumberland Farms   68 Main St                           Westminster        MA    1473   8/7/2021
coincloud150345   ColeKepro 5.0   150345   150345.USA   1.222E+12   Riviera Beach, FL    Active   150664   150664 Cumberland Farms   1141 Boston Neck Rd                  Narragansett       RI    2882   8/7/2021
coincloud150346   ColeKepro 5.0   150346   150346.USA   1.222E+12   Riviera Beach, FL    Active   150595   150595 Cumberland Farms   2001 NE Savannah Rd                  Jensen Beach       FL   34957   8/7/2021
coincloud150347   ColeKepro 5.0   150347   150347.USA   1.222E+12   Riviera Beach, FL    Active   150592   150592 Cumberland Farms   975 Seaway Dr                        Fort Pierce        FL   34949   8/7/2021
coincloud150348   ColeKepro 5.0   150348   150348.USA   1.222E+12   Riviera Beach, FL    Active   150576   150576 Cumberland Farms   2009 S 35th St                       Fort Pierce        FL   34981   8/7/2021
coincloud150349   ColeKepro 5.0   150349   150349.USA   1.222E+12   Riviera Beach, FL    Active   150594   150594 Cumberland Farms   2692 N Military Trl                  West Palm Beach FL      33409   8/7/2021
coincloud150350   ColeKepro 5.0   150350   150350.USA   1.222E+12   Riviera Beach, FL    Active   150598   150598 Cumberland Farms   8685 SE Federal Hwy                  Hobe Sound         FL   33455   8/7/2021
coincloud150351   ColeKepro 5.0   150351   150351.USA   1.222E+12   Riviera Beach, FL    Active   150752   150752 Cumberland Farms   66 Parker St                         Indian Orchard     MA    1151   8/7/2021
coincloud150352   ColeKepro 5.0   150352   150352.USA   1.222E+12   Riviera Beach, FL    Active   150596   150596 Cumberland Farms   5245 10th Ave N                      Greenacres         FL   33463   8/7/2021
coincloud150353   ColeKepro 5.0   150353   150353.USA   1.222E+12   Riviera Beach, FL    Active   151005   151005 Cumberland Farms   10975 South A1A                      Jensen Beach       FL   34957   8/7/2021
coincloud150354   ColeKepro 5.0   150354   150354.USA   1.222E+12   Riviera Beach, FL    Active   150589   150589 Cumberland Farms   957 Sebastian Blvd                   Sebastian          FL   32958   8/7/2021
coincloud150355   ColeKepro 5.0   150355   150355.USA   1.222E+12   Riviera Beach, FL    Active   151383   151383 Cumberland Farms   8090 US-1                            Micco              FL   32976   8/7/2021
coincloud150356   ColeKepro 5.0   150356   150356.USA   1.222E+12   Riviera Beach, FL    Active   150577   150577 Cumberland Farms   3174 SW Port St Lucie Blvd           Port St. Lucie     FL   34953   8/7/2021
coincloud150357   ColeKepro 5.0   150357   150357.USA   1.222E+12   Riviera Beach, FL    Active   150591   150591 Cumberland Farms   1020 Shorewinds Dr                   Fort Pierce        FL   34949   8/7/2021
coincloud150358   ColeKepro 5.0   150358   150358.USA   1.222E+12   Riviera Beach, FL    Active   150573   150573 Cumberland Farms   1703 Palm Bay Rd NE                  Palm Bay           FL   32905   8/7/2021
coincloud150359   ColeKepro 5.0   150359   150359.USA   1.222E+12   Riviera Beach, FL    Active   150580   150580 Cumberland Farms   1335 S Federal Hwy                   Deerfield Beach    FL   33441   8/7/2021
coincloud150360   ColeKepro 5.0   150360   150360.USA   1.222E+12    Westbury, NY        Active   151379   151379 Cumberland Farms   25 E Main St                         Orange             MA    1364   8/7/2021
coincloud150361   ColeKepro 5.0   150361   150361.USA   1.222E+12     Westbury, NY       Active   151033   151033 Cumberland Farms   22 Park St                           West Springfield MA      1089   8/7/2021
coincloud150362   ColeKepro 5.0   150362   150362.USA   1.222E+12     Westbury, NY       Active   151022   151022 Cumberland Farms   678 Main St                          Chatham            MA    2633   8/7/2021
coincloud150363   ColeKepro 5.0   150363   150363.USA   1.222E+12   Riviera Beach, FL    Active   150841   150841 Cumberland Farms   20 Mechanic St                       Foxborough         MA    2035   8/7/2021
coincloud150364   ColeKepro 5.0   150364   150364.USA   1.222E+12   Riviera Beach, FL    Active   150806   150806 Cumberland Farms   1185 Washington St                   Walpole            MA    2081   8/7/2021
coincloud150365   ColeKepro 5.0   150365   150365.USA   1.222E+12   Riviera Beach, FL    Active   150584   150584 Cumberland Farms   4440 W New Haven Ave                 West Melbourne FL       32904   8/7/2021
coincloud150366   ColeKepro 5.0   150366   150366.USA   1.222E+12   Riviera Beach, FL    Active   151118   151118 Cumberland Farms   704 Main St                          West Warwick       RI    2893   8/7/2021
coincloud150367   ColeKepro 5.0   150367   150367.USA   1.222E+12   Riviera Beach, FL    Active   151949   151949 Cumberland Farms   220 Pleasant St                      Attleboro          MA    2703   8/7/2021
coincloud150368   ColeKepro 5.0   150368   150368.USA   1.222E+12   Riviera Beach, FL    Active   150597   150597 Cumberland Farms   3980 10th Ave N                      Palm Springs       FL   33461   8/7/2021
coincloud150370   ColeKepro 5.0   150370   150370.USA   1.222E+12   Riviera Beach, FL    Active   150582   150582 Cumberland Farms   440 S Wickham Rd                     West Melbourne FL       32904   8/7/2021
coincloud150371   ColeKepro 5.0   150371   150371.USA   1.222E+12   Riviera Beach, FL    Active   152791   152791 Cumberland Farms   82 Main St                           Centerbrook        CT    6409   8/7/2021
coincloud150372   ColeKepro 5.0   150372   150372.USA   1.222E+12   Riviera Beach, FL    Active   150585   150585 Cumberland Farms   2500 W Midway Rd                     Fort Pierce        FL   34981   8/7/2021
coincloud150373   ColeKepro 5.0   150373   150373.USA   1.222E+12   Riviera Beach, FL    Active   150830   150830 Cumberland Farms   560 Main St                          Medfield           MA    2052   8/7/2021
coincloud150374   ColeKepro 5.0   150374   150374.USA   1.222E+12   Riviera Beach, FL    Active   150570   150570 Cumberland Farms   8900 Wiles Rd                        Coral Springs      FL   33065   8/7/2021
coincloud150375   ColeKepro 5.0   150375   150375.USA   1.222E+12   Riviera Beach, FL    Active   150567   150567 Cumberland Farms   6919 Jog Rd                          Lake Worth         FL   33467   8/7/2021
coincloud150377   ColeKepro 5.0   150377   150377.USA   1.222E+12   Riviera Beach, FL    Active   150823   150823 Cumberland Farms   1600 Nooseneck Hill Rd               Coventry           RI    2816   8/7/2021
coincloud150378   ColeKepro 5.0   150378   150378.USA   1.222E+12      Raleigh, NC       Active   148469   148469 Parkers            2111 Pooler Pkwy                     Pooler             GA   31322   8/7/2021
coincloud150379   ColeKepro 5.0   150379   150379.USA   1.222E+12      Raleigh, NC       Active   148424   148424 Parkers            141 Lanier Dr                        Statesboro         GA   30458   8/7/2021
coincloud150380   ColeKepro 5.0   150380   150380.USA   1.222E+12      Raleigh, NC       Active   148444   148444 Parkers            6200 Jennifer Ct                     Bluffton           SC   29910   8/7/2021
coincloud150381   ColeKepro 5.0   150381   150381.USA   1.222E+12      Raleigh, NC       Active   148423   148423 Parkers            222 Drayton St                       Savannah           GA   31401   8/7/2021
coincloud150382   ColeKepro 5.0   150382   150382.USA   1.222E+12      Raleigh, NC       Active   148429   148429 Parkers            1910 E President St                  Savannah           GA   31404   8/7/2021
coincloud150383   ColeKepro 5.0   150383   150383.USA   1.222E+12      Raleigh, NC       Active   148417   148417 Parkers            13740 E Oglethorpe Hwy               Midway             GA   31320   8/7/2021
coincloud150384   ColeKepro 5.0   150384   150384.USA   1.222E+12   Riviera Beach, FL    Active   150568   150568 Cumberland Farms   2700 S Military Trail                West Palm Beach FL      33415   8/7/2021
coincloud150385   ColeKepro 5.0   150385   150385.USA   1.222E+12   Riviera Beach, FL    Active   150571   150571 Cumberland Farms   2646 Okeechobee Blvd                 West Palm Beach FL      33409   8/7/2021
coincloud150386   ColeKepro 5.0   150386   150386.USA   1.222E+12   Riviera Beach, FL    Active   151017   151017 Cumberland Farms   650 South St                         Wrentham           MA    2093   8/7/2021
coincloud150387   ColeKepro 5.0   150387   150387.USA   1.222E+12   Riviera Beach, FL    Active   150572   150572 Cumberland Farms   8000 Astronaut Blvd                  Cape Canaveral     FL   32920   8/7/2021
coincloud150388   ColeKepro 5.0   150388   150388.USA   1.222E+12      Raleigh, NC       Active   150867   150867 Sprint             4915 Wrightsboro Rd                  Grovetown          GA   30813   8/7/2021
coincloud150389   ColeKepro 5.0   150389   150389.USA   1.222E+12   Riviera Beach, FL    Active   150599   150599 Cumberland Farms   1721 Kirk Rd                         West Palm Beach FL      33406   8/7/2021
coincloud150390   ColeKepro 5.0   150390   150390.USA   1.222E+12   Riviera Beach, FL    Active   151006   151006 Cumberland Farms   3669 South St                        Titusville         FL   32780   8/7/2021
coincloud150391   ColeKepro 5.0   150391   150391.USA   1.222E+12   Riviera Beach, FL    Active   151114   151114 Cumberland Farms   244 Washington St                    West Warwick       RI    2893   8/7/2021
coincloud150392   ColeKepro 5.0   150392   150392.USA   1.222E+12   Riviera Beach, FL    Active   150839   150839 Cumberland Farms   30 Chauncy St                        Mansfield          MA    2048   8/7/2021
coincloud150393   ColeKepro 5.0   150393   150393.USA   1.222E+12   Riviera Beach, FL    Active   150824   150824 Cumberland Farms   478 Broad St                         Central Falls      RI    2863   8/7/2021
coincloud150394   ColeKepro 5.0   150394   150394.USA   1.222E+12   Riviera Beach, FL    Active   150578   150578 Cumberland Farms   1385 N Courtenay Pkwy                Merritt Island     FL   32952   8/7/2021
coincloud150395   ColeKepro 5.0   150395   150395.USA   1.222E+12   Riviera Beach, FL    Active   150574   150574 Cumberland Farms   4560 S Washington Ave                Titusville         FL   32780   8/7/2021
coincloud150396   ColeKepro 5.0   150396   150396.USA   1.222E+12   Riviera Beach, FL    Active   151117   151117 Cumberland Farms   1175 Main St                         Richmond           RI    2898   8/7/2021
coincloud150397   ColeKepro 5.0   150397   150397.USA   1.222E+12   Riviera Beach, FL    Active   150730   150730 Cumberland Farms   4490 US-1                            Vero Beach         FL   32967   8/7/2021
coincloud150398   ColeKepro 5.0   150398   150398.USA   1.222E+12   Riviera Beach, FL    Active   150579   150579 Cumberland Farms   2300 Minton Rd                       West Melbourne FL       32904   8/7/2021
coincloud150400   ColeKepro 5.0   150400   150400.USA   1.222E+12      Raleigh, NC       Active   148447   148447 Parkers            113 Oxley Dr                         Lyons              GA   30436   8/7/2021
coincloud150401   ColeKepro 5.0   150401   150401.USA   1.222E+12      Raleigh, NC       Active   148442   148442 Parkers            24151 Hwy 80 E                       Statesboro         GA   30458   8/7/2021
coincloud150402   ColeKepro 5.0   150402   150402.USA   1.222E+12      Raleigh, NC       Active   148457   148457 Parkers            8251 Pinellas Dr                     Bluffton           SC   29910   8/7/2021
coincloud150403   ColeKepro 5.0   150403   150403.USA   1.222E+12      Raleigh, NC       Active   148431   148431 Parkers            10525 Abercorn St                    Savannah           GA   31419   8/7/2021
coincloud150405   ColeKepro 5.0   150405   150405.USA   1.222E+12      Raleigh, NC       Active   148470   148470 Parkers            1275 E US-80                         Pooler             GA   31322   8/7/2021
coincloud150406   ColeKepro 5.0   150406   150406.USA   1.222E+12      Raleigh, NC       Active   148448   148448 Parkers            1588 Brampton Ave                    Statesboro         GA   30458   8/7/2021
coincloud150407   ColeKepro 5.0   150407   150407.USA   1.222E+12      Raleigh, NC       Active   148434   148434 Parkers            9227 Evan Way                        Bluffton           SC   29910   8/7/2021
coincloud150408   ColeKepro 5.0   150408   150408.USA   1.222E+12      Raleigh, NC       Active   148452   148452 Parkers            105 Queen St                         Vidalia            GA   30474   8/7/2021
coincloud150409   ColeKepro 5.0   150409   150409.USA   1.222E+12      Raleigh, NC       Active   148443   148443 Parkers            3050 US-80                           Bloomingdale       GA   31302   8/7/2021
coincloud150411   ColeKepro 5.0   150411   150411.USA   1.222E+12      Raleigh, NC       Active   148471   148471 Parkers            115 S Hwy 52                         Moncks Corner      SC   29461   8/7/2021
coincloud150413   ColeKepro 5.0   150413   150413.USA   1.222E+12       Kent, WA         Active   151376   151376 Cumberland Farms   8 N Main St                          West Bridgewater MA      2379   8/7/2021
coincloud150415   ColeKepro 5.0   150415   150415.USA   1.222E+12      Raleigh, NC       Active   148454   148454 Parkers            165 William Hilton Pkwy              Hilton Head Island SC   29926   8/7/2021
coincloud150416   ColeKepro 5.0   150416   150416.USA   1.222E+12      Raleigh, NC       Active   148462   148462 Parkers            6 Barrel Landing Rd                  Okatie             SC   29909   8/7/2021
coincloud150417   ColeKepro 5.0   150417   150417.USA   1.222E+12      Raleigh, NC       Active   148467   148467 Parkers            133 Sams Point Rd                    Beaufort           SC   29907   8/7/2021
coincloud150418   ColeKepro 5.0   150418   150418.USA   1.222E+12      Raleigh, NC       Active   148456   148456 Parkers            7021 N Okatie Hwy                    Ridgeland          SC   29936   8/7/2021
coincloud150419   ColeKepro 5.0   150419   150419.USA   1.222E+12       Victor, IA       Active   151735   151735 Kwik Shop          2103 Capehart Rd                     Bellevue           NE   68123   8/7/2021
coincloud150420   ColeKepro 5.0   150420   150420.USA   1.222E+12      Raleigh, NC       Active   148453   148453 Parkers            3 N Duval St                         Claxton            GA   30417   8/7/2021
coincloud150421   ColeKepro 5.0   150421   150421.USA   1.222E+12      Raleigh, NC       Active   148463   148463 Parkers            2175 Benton Blvd                     Savannah           GA   31407   8/7/2021
coincloud150422   ColeKepro 5.0   150422   150422.USA   1.222E+12       Kent, WA         Active   151084   151084 Cumberland Farms   227 E Main St                        Branford           CT    6405   8/7/2021
coincloud150423   ColeKepro 5.0   150423   150423.USA   1.222E+12       Kent, WA         Active   150781   150781 Cumberland Farms   151 Boston Post Rd                   Orange             CT    6477   8/7/2021
coincloud150424   ColeKepro 5.0   150424   150424.USA   1.222E+12       Kent, WA         Active   150783   150783 Cumberland Farms   1101 Post Rd                         Fairfield          CT    6824   8/7/2021
coincloud150425   ColeKepro 5.0   150425   150425.USA   1.222E+12       Kent, WA         Active   150667   150667 Cumberland Farms   1812 E Main Rd                       Portsmouth         RI    2871   8/7/2021
coincloud150426   ColeKepro 5.0   150426   150426.USA   1.222E+12       Kent, WA         Active   150797   150797 Cumberland Farms   909 Queen St                         Southington        CT    6489   8/7/2021
coincloud150427   ColeKepro 5.0   150427   150427.USA   1.222E+12       Kent, WA         Active   150795   150795 Cumberland Farms   47 Norwich Rd                        Quaker Hill        CT    6375   8/7/2021
coincloud150428   ColeKepro 5.0   150428   150428.USA   1.222E+12       Kent, WA         Active   150649   150649 Cumberland Farms   154 Samoset St                       Plymouth           MA    2360   8/7/2021
coincloud150429   ColeKepro 5.0   150429   150429.USA   1.222E+12       Kent, WA         Active   150666   150666 Cumberland Farms   3166 E Main Rd                       Portsmouth         RI    2871   8/7/2021
coincloud150430   ColeKepro 5.0   150430   150430.USA   1.222E+12       Kent, WA         Active   151094   151094 Cumberland Farms   136 Main St                          Norwalk            CT    6851   8/7/2021
coincloud150431   ColeKepro 5.0   150431   150431.USA   1.222E+12       Kent, WA         Active   150785   150785 Cumberland Farms   633 Boston Post Rd                   Madison            CT    6443   8/7/2021
coincloud150432   ColeKepro 5.0   150432   150432.USA   1.222E+12       Kent, WA         Active   151104   151104 Cumberland Farms   1001 Pleasant St                     Bridgewater        MA    2324   8/7/2021
coincloud150433   ColeKepro 5.0   150433   150433.USA   1.222E+12       Kent, WA         Active   150787   150787 Cumberland Farms   2525 E Main St                       Bridgeport         CT    6610   8/7/2021
coincloud150434   ColeKepro 5.0   150434   150434.USA   1.222E+12       Kent, WA         Active   151377   151377 Cumberland Farms   184 Main St                          Baltic             CT    6330   8/7/2021
coincloud150435   ColeKepro 5.0   150435   150435.USA   1.222E+12       Kent, WA         Active   150792   150792 Cumberland Farms   33 Pompey Hollow Rd                  Ashford            CT    6278   8/7/2021
coincloud150436   ColeKepro 5.0   150436   150436.USA   1.222E+12      Raleigh, NC       Active   148430   148430 Parkers            58 Old Sunbury Rd                    Hinesville         GA   31313   8/7/2021
coincloud150437   ColeKepro 5.0   150437   150437.USA   1.222E+12       Kent, WA         Active   151015   151015 Cumberland Farms   64 Stevens St                        Fall River         MA    2721   8/7/2021
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coincloud150438   ColeKepro 5.0   150438   150438.USA   1.222E+12      Kent, WA        Active   151031   151031 Cumberland Farms        4 S Main St                    Middleton          MA    1949   8/7/2021
coincloud150440   ColeKepro 5.0   150440   150440.USA   1.222E+12      Kent, WA        Active   150654   150654 Cumberland Farms        2360 Cranberry Hwy             Wareham            MA    2576   8/7/2021
coincloud150441   ColeKepro 5.0   150441   150441.USA   1.222E+12      Kent, WA        Active   151107   151107 Cumberland Farms        4548 N Main St                 Fall River         MA    2720   8/7/2021
coincloud150442   ColeKepro 5.0   150442   150442.USA   1.222E+12     Raleigh, NC      Active   148466   148466 Parkers                 110 N Veterans Blvd            Glennville         GA   30427   8/7/2021
coincloud150443   ColeKepro 5.0   150443   150443.USA   1.222E+12      Kent, WA        Active   151080   151080 Cumberland Farms        455 Main St                    Monroe             CT    6468   8/7/2021
coincloud150444   ColeKepro 5.0   150444   150444.USA   1.222E+12     Raleigh, NC      Active   148438   148438 Parkers                 10 N Godley Station Blvd       Pooler             GA   31322   8/7/2021
coincloud150445   ColeKepro 5.0   150445   150445.USA   1.222E+12      Kent, WA        Active   150791   150791 Cumberland Farms        204 Marlborough St             Portland           CT    6480   8/7/2021
coincloud150446   ColeKepro 5.0   150446   150446.USA   1.222E+12      Kent, WA        Active   150800   150800 Cumberland Farms        412 Laurel Hill Ave            Norwich            CT    6360   8/7/2021
coincloud150447   ColeKepro 5.0   150447   150447.USA   1.222E+12      Kent, WA        Active   150776   150776 Cumberland Farms        249 State St                   North Haven        CT    6473   8/7/2021
coincloud150448   ColeKepro 5.0   150448   150448.USA   1.222E+12      Kent, WA        Active   150798   150798 Cumberland Farms        1655 Meriden Rd                Wolcott            CT    6716   8/7/2021
coincloud150449   ColeKepro 5.0   150449   150449.USA   1.222E+12      Kent, WA        Active   151102   151102 Cumberland Farms        143 Bedford St                 East Bridgewater MA      2333   8/7/2021
coincloud150450   ColeKepro 5.0   150450   150450.USA   1.222E+12     Raleigh, NC      Active   148461   148461 Parkers                 5890 W Oglethorpe Hwy          Hinesville         GA   31313   8/7/2021
coincloud150451   ColeKepro 5.0   150451   150451.USA   1.222E+12     Raleigh, NC      Active   148435   148435 Parkers                 469 Buckwalter Pkwy            Bluffton           SC   29910   8/7/2021
coincloud150452   ColeKepro 5.0   150452   150452.USA   1.222E+12      Kent, WA        Active   150808   150808 Cumberland Farms        377 Nantasket Ave              Hull               MA    2045   8/7/2021
coincloud150453   ColeKepro 5.0   150453   150453.USA   1.222E+12     Raleigh, NC      Active   149799   149799 Sprint                  2202 Gordon Hwy                Augusta            GA   30909   8/7/2021
coincloud150454   ColeKepro 5.0   150454   150454.USA   1.222E+12     Raleigh, NC      Active   150868   150868 Sprint                  2093 Washington Rd             Thomson            GA   30824   8/7/2021
coincloud150455   ColeKepro 5.0   150455   150455.USA   1.222E+12      Kent, WA        Active   151044   151044 Cumberland Farms        9 Railroad Ave                 Rockport           MA    1966   8/7/2021
coincloud150456   ColeKepro 5.0   150456   150456.USA   1.222E+12     Raleigh, NC      Active   150871   150871 Sprint                  1325 Appling Harlem Rd         Harlem             GA   30814   8/7/2021
coincloud150457   ColeKepro 5.0   150457   150457.USA   1.222E+12     Raleigh, NC      Active   148468   148468 Parkers                 856 Sea Island Pkwy            St Helena Island   SC   29920   8/7/2021
coincloud150458   ColeKepro 5.0   150458   150458.USA   1.222E+12     Raleigh, NC      Active   148433   148433 Parkers                 4480 US-80                     Ellabell           GA   31308   8/7/2021
coincloud150459   ColeKepro 5.0   150459   150459.USA   1.222E+12     Raleigh, NC      Active   148441   148441 Parkers                 6159 GA-21                     Rincon             GA   31326   8/7/2021
coincloud150461   ColeKepro 5.0   150461   150461.USA   1.222E+12     Raleigh, NC      Active   148476   148476 Parkers                 1451 Ribaut Rd                 Port Royal         SC   29935   8/7/2021
coincloud150463   ColeKepro 5.0   150463   150463.USA   1.222E+12      Kent, WA        Active   150804   150804 Cumberland Farms        831 Washington St              Braintree          MA    2184   8/7/2021
coincloud150464   ColeKepro 5.0   150464   150464.USA   1.222E+12     Raleigh, NC      Active   148437   148437 Parkers                 2 Gateway Village Rd           Bluffton           SC   29910   8/7/2021
coincloud150466   ColeKepro 5.0   150466   150466.USA   1.222E+12     Raleigh, NC      Active   149795   149795 Sprint                  424 S Belair Rd                Martinez           GA   30907   8/7/2021
coincloud150467   ColeKepro 5.0   150467   150467.USA   1.222E+12     Raleigh, NC      Active   148440   148440 Parkers                 4219 Augusta Rd                Garden City        GA   31408   8/7/2021
coincloud150470   ColeKepro 5.0   150470   150470.USA   1.222E+12      Kent, WA        Active   151038   151038 Cumberland Farms        70 Central St                  Ipswich            MA    1938   8/7/2021
coincloud150472   ColeKepro 5.0   150472   150472.USA   1.222E+12      Kent, WA        Active   151082   151082 Cumberland Farms        1978 West St                   Southington        CT    6489   8/7/2021
coincloud150473   ColeKepro 5.0   150473   150473.USA   1.222E+12      Kent, WA        Active   155656   155656 Cumberland Farms HQ     165 Flanders Rd                Westborough        MA    1581   8/7/2021
coincloud150474   ColeKepro 5.0   150474   150474.USA   1.222E+12      Kent, WA        Active   151097   151097 Cumberland Farms        207 S Main St                  Torrington         CT    6790   8/7/2021
coincloud150476   ColeKepro 5.0   150476   150476.USA   1.222E+12     Raleigh, NC      Active   148682   148682 Parkers                 430 William Hilton Pkwy        Hilton Head Island SC   29928   8/7/2021
coincloud150477   ColeKepro 5.0   150477   150477.USA   1.222E+12     Raleigh, NC      Active   148445   148445 Parkers                 300 SW Broad St                Metter             GA   30439   8/7/2021
coincloud150478   ColeKepro 5.0   150478   150478.USA   1.222E+12      Kent, WA        Active   151096   151096 Cumberland Farms        177 Main St                    Deep River         CT    6417   8/7/2021
coincloud150482   ColeKepro 5.0   150482   150482.USA   1.222E+12     Raleigh, NC      Active   148450   148450 Parkers                 1705 Ribaut Rd                 Port Royal         SC   29935   8/7/2021
coincloud150483   ColeKepro 5.0   150483   150483.USA   1.222E+12      Kent, WA        Active   150794   150794 Cumberland Farms        5 Wappingwood Rd               Ellington          CT    6029   8/7/2021
coincloud150487   ColeKepro 5.0   150487   150487.USA   1.222E+12     Raleigh, NC      Active   148446   148446 Parkers                 11012 Hwy 301 S                Statesboro         GA   30458   8/7/2021
coincloud150488   ColeKepro 5.0   150488   150488.USA   1.222E+12      Kent, WA        Active   150645   150645 Cumberland Farms        460 MA-134                     Dennis             MA    2660   8/7/2021
coincloud150491   ColeKepro 5.0   150491   150491.USA   1.222E+12     Raleigh, NC      Active   148460   148460 Parkers                 3462 Trask Pkwy                Beaufort           SC   29906   8/7/2021
coincloud150492   ColeKepro 5.0   150492   150492.USA   1.222E+12      Kent, WA        Active   151023   151023 Cumberland Farms        590 Washington St              Stoughton          MA    2072   8/7/2021
coincloud150494   ColeKepro 5.0   150494   150494.USA   1.222E+12      Kent, WA        Active   153601   153601 Crystal Mall            850 Hartford Turnpike          Waterford          CT    6385   8/7/2021
coincloud150496   ColeKepro 5.0   150496   150496.USA   1.222E+12      Kent, WA        Active   153521   153521 Cumberland Farms        191 Central St                 Bristol            CT    6010   8/7/2021
coincloud150497   ColeKepro 5.0   150497   150497.USA   1.222E+12      Kent, WA        Active   151079   151079 Cumberland Farms        266 Pine St                    Bristol            CT    6010   8/7/2021
coincloud150498   ColeKepro 5.0   150498   150498.USA   1.222E+12      Kent, WA        Active   150807   150807 Cumberland Farms        295 Salem St                   Reading            MA    1867   8/7/2021
coincloud150499   ColeKepro 5.0   150499   150499.USA   1.222E+12      Kent, WA        Active   150651   150651 Cumberland Farms        244 Russells Mills Rd          Dartmouth          MA    2748   8/7/2021
coincloud150502   ColeKepro 5.0   150502   150502.USA   1.222E+12      Kent, WA        Active   151106   151106 Cumberland Farms        1055 Washington St             East Bridgewater MA      2333   8/7/2021
coincloud150503   ColeKepro 5.0   150503   150503.USA   1.222E+12      Kent, WA        Active   150747   150747 Cumberland Farms        200 Lowell St                  Wakefield          MA    1880   8/7/2021
coincloud150505   ColeKepro 5.0   150505   150505.USA   1.222E+12      Kent, WA        Active   150790   150790 Cumberland Farms        723 Wolcott Rd                 Wolcott            CT    6716   8/7/2021
coincloud150506   ColeKepro 5.0   150506   150506.USA   1.222E+12      Kent, WA        Active   150788   150788 Cumberland Farms        5 Pershing Dr                  Ansonia            CT    6401   8/7/2021
coincloud150507   ColeKepro 5.0   150507   150507.USA   1.222E+12      Kent, WA        Active   150742   150742 Cumberland Farms        121 Bay Rd                     Hamilton           MA    1982   8/7/2021
coincloud150510   ColeKepro 5.0   150510   150510.USA   1.222E+12      Kent, WA        Active   150608   150608 Cumberland Farms        306 Crescent St                Brockton           MA    2302   8/7/2021
coincloud150514   ColeKepro 5.0   150514   150514.USA   1.222E+12      Kent, WA        Active   150739   150739 Cumberland Farms        76 Newbury St                  Danvers            MA    1923   8/7/2021
coincloud150516   ColeKepro 5.0   150516   150516.USA   1.222E+12     Raleigh, NC      Active   148436   148436 Parkers                 1435 GA-21 S                   Springfield        GA   31329   8/7/2021
coincloud150518   ColeKepro 5.0   150518   150518.USA   1.222E+12     Raleigh, NC      Active   148439   148439 Parkers                 1286 Fording Island Rd         Bluffton           SC   29910   8/7/2021
coincloud150519   ColeKepro 5.0   150519   150519.USA   1.222E+12     Raleigh, NC      Active   148474   148474 Parkers                 774 N Jefferies Blvd           Walterboro         SC   29488   8/7/2021
coincloud150531   ColeKepro 5.0   150531   150531.USA   1.222E+12   Kansas City, MO    Active   150618   150618 Cumberland Farms        162 Pleasant St                Brunswick          ME    4011   8/7/2021
coincloud150533   ColeKepro 5.0   150533   150533.USA   1.222E+12   Kansas City, MO    Active   150628   150628 Cumberland Farms        932 Portland Ave               Rollinsford        NH    3869   8/7/2021
coincloud150616   ColeKepro 5.0   150616   150616.USA   1.222E+12   Kansas City, MO    Active   151051   151051 Cumberland Farms        137 Main St                    Gorham             ME    4038   8/7/2021
coincloud150680   ColeKepro 5.0   150680   150680.USA   1.222E+12   Kansas City, MO    Active   151070   151070 Cumberland Farms        815 Meadow St                  Littleton          NH    3561   8/7/2021
coincloud150703   ColeKepro 5.0   150703   150703.USA   1.222E+12   Kansas City, MO    Active   151053   151053 Cumberland Farms        119 Center St                  Auburn             ME    4210   8/7/2021
coincloud150704   ColeKepro 5.0   150704   150704.USA   1.222E+12   Kansas City, MO    Active   151390   151390 Cumberland Farms        12 Main St                     Gray               ME    4039   8/7/2021
coincloud150706   ColeKepro 5.0   150706   150706.USA   1.222E+12   Kansas City, MO    Active   151111   151111 Cumberland Farms        169 Main St                    Wareham            MA    2571   8/7/2021
coincloud150721   ColeKepro 5.0   150721   150721.USA   1.222E+12   Kansas City, MO    Active   150763   150763 Cumberland Farms        299 N Main St                  Rochester          NH    3867   8/7/2021
coincloud150722   ColeKepro 5.0   150722   150722.USA   1.222E+12     Sterling, VA     Active   152164   152164 4401 North Point Blvd   4401 North Point Blvd          Dundalk            MD   21222   8/7/2021
coincloud150749   ColeKepro 5.0   150749   150749.USA   1.222E+12     Sterling, VA     Active   152092   152092 Royal Farms             7300 Bethlehem Blvd            Edgemere           MD   21219   8/7/2021
coincloud150781   ColeKepro 5.0   150781   150781.USA   1.222E+12     Sterling, VA     Active   152136   152136 Royal Farms             5031 Horseshoe Pike            Downingtown        PA   19335   8/7/2021
coincloud150786   ColeKepro 5.0   150786   150786.USA   1.222E+12     Sterling, VA     Active   152293   152293 Royal Farms             2700 Taylor Ave                Baltimore          MD   21234   8/7/2021
coincloud150881   ColeKepro 5.0   150881   150881.USA   1.222E+12     Sterling, VA     Active   154395   154395 Royal Farms             1200 Crescent Blvd             Gloucester City    NJ    8030   8/7/2021
coincloud150883   ColeKepro 5.0   150883   150883.USA   1.222E+12     Sterling, VA     Active   152274   152274 Royal Farms             2704 Washington Blvd           Baltimore          MD   21230   8/7/2021
coincloud150887   ColeKepro 5.0   150887   150887.USA   1.222E+12     Sterling, VA     Active   152178   152178 Royal Farms             2808 Pulaski Hwy               Newark             DE   19702   8/7/2021
coincloud150889   ColeKepro 5.0   150889   150889.USA   1.222E+12     Sterling, VA     Active   152234   152234 Royal Farms             3606 Conowingo Rd              Street             MD   21154   8/7/2021
coincloud150890   ColeKepro 5.0   150890   150890.USA   1.222E+12     Sterling, VA     Active   154396   154396 Royal Farms             6105 E Black Horse Pike        Egg Harbor Townsh NJ     8234   8/7/2021
coincloud150891   ColeKepro 5.0   150891   150891.USA   1.222E+12     Sterling, VA     Active   152162   152162 Royal Farms             9620 Belair Rd                 Baltimore          MD   21236   8/7/2021
coincloud150897   ColeKepro 5.0   150897   150897.USA   1.222E+12     Sterling, VA     Active   152091   152091 Royal Farms             1202 S Caton Ave               Baltimore          MD   21227   8/7/2021
coincloud150917   ColeKepro 5.0   150917   150917.USA   1.222E+12     Sterling, VA     Active   152254   152254 Royal Farms             1525 E Joppa Rd                Parkville          MD   21234   8/7/2021
coincloud150931   ColeKepro 5.0   150931   150931.USA   1.222E+12     Sterling, VA     Active   152236   152236 Royal Farms             1915 Belair Rd                 Fallston           MD   21047   8/7/2021
coincloud150933   ColeKepro 5.0   150933   150933.USA   1.222E+12     Sterling, VA     Active   152275   152275 Royal Farms             6067 Falls Rd                  Baltimore          MD   21209   8/7/2021
coincloud150935   ColeKepro 5.0   150935   150935.USA   1.222E+12     Sterling, VA     Active   154401   154401 Royal Farms             2501 Church St                 Philadelphia       PA   19124   8/7/2021
coincloud150938   ColeKepro 5.0   150938   150938.USA   1.222E+12     Sterling, VA     Active   152315   152315 Royal Farms             3635 Keswick Rd                Baltimore          MD   21211   8/7/2021
coincloud150939   ColeKepro 5.0   150939   150939.USA   1.222E+12     Sterling, VA     Active   154390   154390 Royal Farms             170 Berkley Rd                 Clarksboro         NJ    8020   8/7/2021
coincloud150951   ColeKepro 5.0   150951   150951.USA   1.222E+12     Sterling, VA     Active   154353   154353 Royal Farms             2120-2216 Plank Rd             Fredericksburg     VA   22401   8/7/2021
coincloud150975   ColeKepro 5.0   150975   150975.USA   1.222E+12     Sterling, VA     Active   152319   152319 Royal Farms             7204 York Rd                   Baltimore          MD   21212   8/7/2021
coincloud150989   ColeKepro 5.0   150989   150989.USA   1.222E+12     Sterling, VA     Active   154403   154403 Royal Farms             1748 Route 8                   Brick              NJ    8724   8/7/2021
coincloud151004   ColeKepro 5.0   151004   151004.USA   1.222E+12     Sterling, VA     Active   152298   152298 Royal Farms             18 S Dundalk Ave               Dundalk            MD   21222   8/7/2021
coincloud151012   ColeKepro 5.0   151012   151012.USA   1.222E+12     Sterling, VA     Active   152233   152233 Royal Farms             500 Mechanics Valley Rd        North East         MD   21901   8/7/2021
coincloud151015   ColeKepro 5.0   151015   151015.USA   1.222E+12     Sterling, VA     Active   152230   152230 Royal Farms             865 S Old Baltimore Pike       Newark             DE   19702   8/7/2021
coincloud151017   ColeKepro 5.0   151017   151017.USA   1.222E+12     Sterling, VA     Active   152150   152150 Royal Farms             3701 Kirkwood Hwy              Wilmington         DE   19808   8/7/2021
coincloud151021   ColeKepro 5.0   151021   151021.USA   1.222E+12     Sterling, VA     Active   152258   152258 Royal Farms             405 S Juniata St               Havre De Grace     MD   21078   8/7/2021
coincloud151025   ColeKepro 5.0   151025   151025.USA   1.222E+12     Sterling, VA     Active   152216   152216 Royal Farms             10722 Georgetown Rd            Laurel             DE   19956   8/7/2021
coincloud151027   ColeKepro 5.0   151027   151027.USA   1.222E+12     Sterling, VA     Active   154398   154398 Royal Farms             1409 Blackwood Clementon Rd    Clementon          NJ    8021   8/7/2021
coincloud151056   ColeKepro 5.0   151056   151056.USA   1.222E+12     Sterling, VA     Active   152287   152287 Royal Farms             8803 Philadelphia Rd           Rosedale           MD   21237   8/7/2021
coincloud151068   ColeKepro 5.0   151068   151068.USA   1.222E+12     Sterling, VA     Active   152269   152269 Royal Farms             3701 Fleet St                  Baltimore          MD   21224   8/7/2021
coincloud151069   ColeKepro 5.0   151069   151069.USA   1.222E+12     Sterling, VA     Active   154392   154392 Royal Farms             600 NJ-73                      Marlton            NJ    8053   8/7/2021
coincloud151087   ColeKepro 5.0   151087   151087.USA   1.222E+12     Sterling, VA     Active   152179   152179 Royal Farms             1801 Washington Blvd           Baltimore          MD   21230   8/7/2021
coincloud151095   ColeKepro 5.0   151095   151095.USA   1.222E+12     Sterling, VA     Active   152186   152186 11905 Market Way        11905 Market Way               Middle River       MD   21220   8/7/2021
coincloud151102   ColeKepro 5.0   151102   151102.USA   1.222E+12     Sterling, VA     Active   152173   152173 Royal Farms             6201 Pulaski Hwy               Baltimore          MD   21205   8/7/2021
coincloud151126   ColeKepro 5.0   151126   151126.USA   1.222E+12     Sterling, VA     Active   152238   152238 Royal Farms             920 W 36th St                  Baltimore          MD   21211   8/7/2021
coincloud151128   ColeKepro 5.0   151128   151128.USA   1.222E+12     Sterling, VA     Active   152228   152228 Royal Farms             1199 E Pulaski Hwy             Elkton             MD   21921   8/7/2021
coincloud151131   ColeKepro 5.0   151131   151131.USA   1.222E+12     Sterling, VA     Active   152244   152244 Royal Farms             25 Augustine Herman Hwy        Elkton             MD   21921   8/7/2021
coincloud151134   ColeKepro 5.0   151134   151134.USA   1.222E+12     Sterling, VA     Active   152121   152121 Royal Farms             7560 Belair Rd                 Nottingham         MD   21236   8/7/2021
coincloud151135   ColeKepro 5.0   151135   151135.USA   1.222E+12     Sterling, VA     Active   152247   152247 Royal Farms             2330 Smith Ave #ste r          Baltimore          MD   21209   8/7/2021
coincloud151136   ColeKepro 5.0   151136   151136.USA   1.222E+12     Sterling, VA     Active   152183   152183 Royal Farms             1501 62nd St                   Baltimore          MD   21237   8/7/2021
coincloud151139   ColeKepro 5.0   151139   151139.USA   1.222E+12     Sterling, VA     Active   152313   152313 Royal Farms             5232 Harford Rd                Baltimore          MD   21214   8/7/2021
coincloud151264   ColeKepro 5.0   151264   151264.USA   1.222E+12     Sterling, VA     Active   152229   152229 Royal Farms             36 Light St                    Baltimore          MD   21202   8/7/2021
coincloud151266   ColeKepro 5.0   151266   151266.USA   1.222E+12     Sterling, VA     Active   154400   154400 Royal Farms             12 S Black Horse Pike #2       Bellmawr           NJ    8031   8/7/2021
coincloud151282   ColeKepro 5.0   151282   151282.USA   1.222E+12     Sterling, VA     Active   152262   152262 Royal Farms             7950 Pulaski Hwy               Baltimore          MD   21237   8/7/2021
coincloud151293   ColeKepro 5.0   151293   151293.USA   1.222E+12     Sterling, VA     Active   152266   152266 Royal Farms             6100 Holabird Ave              Baltimore          MD   21224   8/7/2021
coincloud151294   ColeKepro 5.0   151294   151294.USA   1.222E+12     Sterling, VA     Active   152311   152311 Royal Farms             11460 S Dupont Hwy             Felton             DE   19943   8/7/2021
coincloud151309   ColeKepro 5.0   151309   151309.USA   1.222E+12     Sterling, VA     Active   152318   152318 Royal Farms             502 Market St                  Denton             MD   21629   8/7/2021
coincloud151324   ColeKepro 5.0   151324   151324.USA   1.222E+12     Sterling, VA     Active   152185   152185 Royal Farms             293 S Saulsbury Rd             Dover              DE   19904   8/7/2021
coincloud151328   ColeKepro 5.0   151328   151328.USA   1.222E+12     Sterling, VA     Active   152235   152235 Royal Farms             1336 Jacob Tome Memorial Hwy   Port Deposit       MD   21904   8/7/2021
coincloud151330   ColeKepro 5.0   151330   151330.USA   1.222E+12     Sterling, VA     Active   152284   152284 Royal Farms             500 High St                    Seaford            DE   19973   8/7/2021
coincloud151331   ColeKepro 5.0   151331   151331.USA   1.222E+12     Sterling, VA     Active   154399   154399 Royal Farms             2 S White Horse Pike #0184     Berlin             NJ    8009   8/7/2021
coincloud151332   ColeKepro 5.0   151332   151332.USA   1.222E+12     Sterling, VA     Active   152211   152211 Royal Farms             7250 Milford Harrington Hwy    Harrington         DE   19952   8/7/2021
coincloud151333   ColeKepro 5.0   151333   151333.USA   1.222E+12     Sterling, VA     Active   152214   152214 Royal Farms             6538 Halltown Rd               Hartly             DE   19953   8/7/2021
coincloud151335   ColeKepro 5.0   151335   151335.USA   1.222E+12     Sterling, VA     Active   152203   152203 Royal Farms             2703 Ocean Gateway             Cambridge          MD   21613   8/7/2021
coincloud151366   ColeKepro 5.0   151366   151366.USA   1.222E+12     Sterling, VA     Active   152297   152297 Royal Farms             5415 Pulaski Hwy               Perryville         MD   21903   8/7/2021
coincloud151369   ColeKepro 5.0   151369   151369.USA   1.222E+12     Sterling, VA     Active   152261   152261 Royal Farms             630 Edgewood Rd                Edgewood           MD   21040   8/7/2021
coincloud151370   ColeKepro 5.0   151370   151370.USA   1.222E+12     Sterling, VA     Active   152239   152239 Royal Farms             1021 Middleton Rd              Aberdeen           MD   21001   8/7/2021
                                   Case 23-10423-mkn                                Doc 36-2                Entered 02/08/23 19:55:21                                          Page 140 of 217


coincloud151373   ColeKepro 5.0   151373   151373.USA   1.222E+12    Sterling, VA    Active     154397   154397 Royal Farms                          3117 Fire Rd                      Egg Harbor Townsh NJ    8234    8/7/2021
coincloud151393   ColeKepro 5.0   151393   151393.USA   1.222E+12    Sterling, VA    Active     152300   152300 Royal Farms                          406 Bowleys Quarters Rd           Middle River      MD   21220   8/7/2021
coincloud151408   ColeKepro 5.0   151408   151408.USA   1.222E+12    Sterling, VA    Active     152221   152221 Royal Farms                          18657 Sussex Hwy                  Bridgeville       DE   19933   8/7/2021
coincloud151411   ColeKepro 5.0   151411   151411.USA   1.222E+12    Sterling, VA    Active     152193   152193 Royal Farms                          16979 Beach Hwy                   Ellendale         DE   19941   8/7/2021
coincloud3548     ColeKepro 3.0   146142                1.222E+12   Memphis, TN      Active     147061   147061 Boost Mobile                         1122 N Buchanan Blvd              Durham            NC   27701   10/2/2020
coincloud151000   ColeKepro 5.0   151000   151000.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150929   ColeKepro 5.0   150929   150929.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151086   ColeKepro 5.0   151086   151086.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150761   ColeKepro 5.0   150761   150761.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150915   ColeKepro 5.0   150915   150915.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151093   ColeKepro 5.0   151093   151093.USA               Las Vegas, NV   Warehouse   151093          Sloan                                                                                                 8/7/2021
coincloud151062   ColeKepro 5.0   151062   151062.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151371   ColeKepro 5.0   151371   151371.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151364   ColeKepro 5.0   151364   151364.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150846   ColeKepro 5.0   150846   150846.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151121   ColeKepro 5.0   151121   151121.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151215   ColeKepro 5.0   151215   151215.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150978   ColeKepro 5.0   150978   150978.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151105   ColeKepro 5.0   151105   151105.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151052   ColeKepro 5.0   151052   151052.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150817   ColeKepro 5.0   150817   150817.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151045   ColeKepro 5.0   151045   151045.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151302   ColeKepro 5.0   151302   151302.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150656   ColeKepro 5.0   150656   150656.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151123   ColeKepro 5.0   151123   151123.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151251   ColeKepro 5.0   151251   151251.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151113   ColeKepro 5.0   151113   151113.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151213   ColeKepro 5.0   151213   151213.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150910   ColeKepro 5.0   150910   150910.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151118   ColeKepro 5.0   151118   151118.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151256   ColeKepro 5.0   151256   151256.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151275   ColeKepro 5.0   151275   151275.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151307   ColeKepro 5.0   151307   151307.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150922   ColeKepro 5.0   150922   150922.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150801   ColeKepro 5.0   150801   150801.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150746   ColeKepro 5.0   150746   150746.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151233   ColeKepro 5.0   151233   151233.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151188   ColeKepro 5.0   151188   151188.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151163   ColeKepro 5.0   151163   151163.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151164   ColeKepro 5.0   151164   151164.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151310   ColeKepro 5.0   151310   151310.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151337   ColeKepro 5.0   151337   151337.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151112   ColeKepro 5.0   151112   151112.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151374   ColeKepro 5.0   151374   151374.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151235   ColeKepro 5.0   151235   151235.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151312   ColeKepro 5.0   151312   151312.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151304   ColeKepro 5.0   151304   151304.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud3401     ColeKepro 3.0   142169   142169.USA                                Active     118832   118832 Bad Owl Coffee Roasters - Downtown   300 S 4th St Suite #007           Las Vegas       NV     89101   10/2/2020
coincloud151375   ColeKepro 5.0   151375   151375.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150949   ColeKepro 5.0   150949   150949.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150716   ColeKepro 5.0   150716   150716.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150899   ColeKepro 5.0   150899   150899.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151108   ColeKepro 5.0   151108   151108.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151146   ColeKepro 5.0   151146   151146.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151141   ColeKepro 5.0   151141   151141.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150826   ColeKepro 5.0   150826   150826.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150797   ColeKepro 5.0   150797   150797.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151182   ColeKepro 5.0   151182   151182.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151348   ColeKepro 5.0   151348   151348.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151023   ColeKepro 5.0   151023   151023.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151272   ColeKepro 5.0   151272   151272.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151111   ColeKepro 5.0   151111   151111.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150857   ColeKepro 5.0   150857   150857.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150873   ColeKepro 5.0   150873   150873.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151225   ColeKepro 5.0   151225   151225.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151287   ColeKepro 5.0   151287   151287.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151043   ColeKepro 5.0   151043   151043.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151397   ColeKepro 5.0   151397   151397.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150878   ColeKepro 5.0   150878   150878.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151349   ColeKepro 5.0   151349   151349.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150906   ColeKepro 5.0   150906   150906.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150983   ColeKepro 5.0   150983   150983.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151355   ColeKepro 5.0   151355   151355.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151313   ColeKepro 5.0   151313   151313.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151353   ColeKepro 5.0   151353   151353.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151232   ColeKepro 5.0   151232   151232.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151047   ColeKepro 5.0   151047   151047.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150961   ColeKepro 5.0   150961   150961.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150907   ColeKepro 5.0   150907   150907.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151292   ColeKepro 5.0   151292   151292.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150859   ColeKepro 5.0   150859   150859.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151018   ColeKepro 5.0   151018   151018.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151277   ColeKepro 5.0   151277   151277.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151383   ColeKepro 5.0   151383   151383.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150987   ColeKepro 5.0   150987   150987.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150773   ColeKepro 5.0   150773   150773.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151263   ColeKepro 5.0   151263   151263.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150904   ColeKepro 5.0   150904   150904.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150843   ColeKepro 5.0   150843   150843.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151180   ColeKepro 5.0   151180   151180.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150833   ColeKepro 5.0   150833   150833.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151143   ColeKepro 5.0   151143   151143.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151129   ColeKepro 5.0   151129   151129.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151026   ColeKepro 5.0   151026   151026.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151206   ColeKepro 5.0   151206   151206.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151343   ColeKepro 5.0   151343   151343.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud150866   ColeKepro 5.0   150866   150866.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151214   ColeKepro 5.0   151214   151214.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151159   ColeKepro 5.0   151159   151159.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151358   ColeKepro 5.0   151358   151358.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151305   ColeKepro 5.0   151305   151305.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151359   ColeKepro 5.0   151359   151359.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151024   ColeKepro 5.0   151024   151024.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                 8/7/2021
coincloud151034   ColeKepro 5.0   151034   151034.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150800   ColeKepro 5.0   150800   150800.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150959   ColeKepro 5.0   150959   150959.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150998   ColeKepro 5.0   150998   150998.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151009   ColeKepro 5.0   151009   151009.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150954   ColeKepro 5.0   150954   150954.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150782   ColeKepro 5.0   150782   150782.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151075   ColeKepro 5.0   151075   151075.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151132   ColeKepro 5.0   151132   151132.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150885   ColeKepro 5.0   150885   150885.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150947   ColeKepro 5.0   150947   150947.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud150735   ColeKepro 5.0   150735   150735.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151241   ColeKepro 5.0   151241   151241.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151224   ColeKepro 5.0   151224   151224.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
coincloud151196   ColeKepro 5.0   151196   151196.USA               Las Vegas, NV   Warehouse                   Sloan                                                                                                  8/7/2021
                                   Case 23-10423-mkn                                   Doc 36-2                Entered 02/08/23 19:55:21                                  Page 141 of 217


coincloud150869   ColeKepro 5.0   150869   150869.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151154   ColeKepro 5.0   151154   151154.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151319   ColeKepro 5.0   151319   151319.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151284   ColeKepro 5.0   151284   151284.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150679   ColeKepro 5.0   150679   150679.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150871   ColeKepro 5.0   150871   150871.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150900   ColeKepro 5.0   150900   150900.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150757   ColeKepro 5.0   150757   150757.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151229   ColeKepro 5.0   151229   151229.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150908   ColeKepro 5.0   150908   150908.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150993   ColeKepro 5.0   150993   150993.USA   1.222E+12     Sterling, VA      Active     152281   152281 Royal Farms                  206 W Cold Spring Ln              Baltimore         MD   21210   8/7/2021
coincloud151303   ColeKepro 5.0   151303   151303.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150845   ColeKepro 5.0   150845   150845.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150785   ColeKepro 5.0   150785   150785.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151039   ColeKepro 5.0   151039   151039.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150920   ColeKepro 5.0   150920   150920.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151257   ColeKepro 5.0   151257   151257.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150810   ColeKepro 5.0   150810   150810.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150918   ColeKepro 5.0   150918   150918.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151171   ColeKepro 5.0   151171   151171.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151119   ColeKepro 5.0   151119   151119.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151248   ColeKepro 5.0   151248   151248.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151089   ColeKepro 5.0   151089   151089.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150880   ColeKepro 5.0   150880   150880.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151368   ColeKepro 5.0   151368   151368.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150965   ColeKepro 5.0   150965   150965.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150804   ColeKepro 5.0   150804   150804.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151357   ColeKepro 5.0   151357   151357.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151030   ColeKepro 5.0   151030   151030.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150886   ColeKepro 5.0   150886   150886.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151372   ColeKepro 5.0   151372   151372.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151329   ColeKepro 5.0   151329   151329.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud3989     ColeKepro 3.0   142160   142160.USA                                   Active     101400   101400 XO Liquor                    4915 Pearlite Ave #115            Las Vegas         NV   89120   10/2/2020
coincloud151280   ColeKepro 5.0   151280   151280.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150948   ColeKepro 5.0   150948   150948.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151002   ColeKepro 5.0   151002   151002.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150751   ColeKepro 5.0   150751   150751.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151157   ColeKepro 5.0   151157   151157.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150976   ColeKepro 5.0   150976   150976.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150657   ColeKepro 5.0   150657   150657.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151100   ColeKepro 5.0   151100   151100.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151003   ColeKepro 5.0   151003   151003.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud150892   ColeKepro 5.0   150892   150892.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151138   ColeKepro 5.0   151138   151138.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151321   ColeKepro 5.0   151321   151321.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151186   ColeKepro 5.0   151186   151186.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud151203   ColeKepro 5.0   151203   151203.USA                Las Vegas, NV     Warehouse                   Sloan                                                                                         8/7/2021
coincloud6515     ColeKepro 5.0   150046   150046.USA   3.021E+12   New Orleans,LA      Active     137540   137540 Save A Lot                   630 FL-60 W                       Lake Wales        FL   33853   8/7/2021
coincloud1244     ColeKepro 3.0   143279   143279.USA   1.821E+12                       Active     101519   101519 House of Hookahs             8957 1300 W                       West Jordan       UT   84088   10/2/2020
coincloud1950     ColeKepro 3.0   143985   143985.USA   1.821E+12                       Active     124672   124672 Allsup's Convenience Store   106 TX-101                        Chico             TX   76431   10/2/2020
coincloud5802     ColeKepro 5.0   145298   145298.USA   1.821E+12                       Active     124522   124522 Yesway                       610 E 3rd St                      Alliance          NE   69301    8/7/2021
coincloud3039     ColeKepro 3.0   145653   145653.USA   1.821E+12                       Active     139622   139622 Mr. Vapor                    1010 Broadway Suite 2             Chula Vista       CA   91911   10/2/2020
coincloud4511     ColeKepro 5.0   148045   148045.USA   1.821E+12     Nashville, TN     Active     130350   130350 H S Gas n Go                 619 W Main St                     Heber Springs     AR   72543   8/7/2021
coincloud4517     ColeKepro 5.0   148051   148051.USA   1.821E+12     Nashville, TN     Active     128858   128858 Shoppers Value Foods         903 US-82                         Indianola         MS   38751   8/7/2021
coincloud4606     ColeKepro 5.0   148138   148138.USA   1.821E+12   New Orleans, LA     Active     139095   139095 Rivers Fresh Market          302 S 1st St                      Amite City        LA   70422   8/7/2021
coincloud4822     ColeKepro 5.0   148353   148353.USA   1.821E+12   New Orleans, LA     Active     139093   139093 Travis Grocery & Market      101 Derbigney St                  Bogalusa          LA   70427   8/7/2021
coincloud4903     ColeKepro 5.0   148434   148434.USA   1.821E+12     Magnolia, TX      Active     135604   135604 H-E-B                        2700 7th St                       Bay City          TX   77414   8/7/2021
coincloud5021     ColeKepro 5.0   148552   148552.USA   1.821E+12     Magnolia, TX      Active     141017   141017 Arlan's                      1401 E Washington Ave             Navasota          TX   77868   8/7/2021
coincloud5042     ColeKepro 5.0   148573   148573.USA   1.821E+12     Magnolia, TX      Active     141004   141004 Arlan's                      4614 NASA Pkwy                    Seabrook          TX   77586    8/7/2021
coincloud5046     ColeKepro 5.0   148577   148577.USA   1.821E+12     Magnolia, TX      Active     141015   141015 Arlan's                      31315 FM 2920 #20                 Waller            TX   77484    8/7/2021
coincloud5184     ColeKepro 5.0   148715   148715.USA   1.821E+12       Kent, WA        Active     145466   145466 Video Game Wizards VGW       6432 SE Foster Rd                 Portland          OR   97206   8/7/2021
coincloud5189     ColeKepro 5.0   148720   148720.USA   1.821E+12     LUBBOCK, TX       Active     135443   135443 H-E-B                        4031 US-83                        Rio Grande City   TX   78582   8/7/2021
coincloud5192     ColeKepro 5.0   148723   148723.USA   1.821E+12     LUBBOCK, TX       Active     149121   149121 Shell                        100 1st St                        Terrell           TX   75160   8/7/2021
coincloud5195     ColeKepro 5.0   148726   148726.USA   1.821E+12     LUBBOCK, TX       Active     135777   135777 H-E-B                        3002 S 31st St                    Temple            TX   76502   8/7/2021
coincloud5196     ColeKepro 5.0   148727   148727.USA   1.821E+12     LUBBOCK, TX       Active     142335   142335 Riverview #1                 80 E Grant St                     Roma              TX   78584   8/7/2021
coincloud5197     ColeKepro 5.0   148728   148728.USA   1.821E+12     LUBBOCK, TX       Active     135817   135817 H-E-B                        9255 FM 471 W                     San Antonio       TX   78251   8/7/2021
coincloud5198     ColeKepro 5.0   148729   148729.USA   1.821E+12     LUBBOCK, TX       Active     135812   135812 H-E-B                        11551 West Ave                    San Antonio       TX   78213   8/7/2021
coincloud5199     ColeKepro 5.0   148730   148730.USA   1.821E+12     LUBBOCK, TX       Active     135829   135829 H-E-B                        17460 I-35 N                      Schertz           TX   78154   8/7/2021
coincloud5204     ColeKepro 5.0   148735   148735.USA   1.821E+12     LUBBOCK, TX       Active     122323   122323 ACE Cash Express             3337 Sherwood Way                 San Angelo        TX   76901   8/7/2021
coincloud5208     ColeKepro 5.0   148739   148739.USA   1.821E+12     LUBBOCK, TX       Active     128215   128215 Toot'n Totum                 4500 S Washington St              Amarillo          TX   79110   8/7/2021
coincloud5210     ColeKepro 5.0   148741   148741.USA   1.821E+12     LUBBOCK, TX       Active     128214   128214 Toot'n Totum                 5962 S Soncy Rd                   Amarillo          TX   79121   8/7/2021
coincloud5215     ColeKepro 5.0   148746   148746.USA   1.821E+12     LUBBOCK, TX       Active     128237   128237 Toot n' Totum                1107 S US Hwy 87                  Dalhart           TX   79022   8/7/2021
coincloud5216     ColeKepro 5.0   148747   148747.USA   1.821E+12    Kansas City, MO    Active     139842   139842 Moser's                      1035 Armory Rd                    Warrenton         MO   63383   8/7/2021
coincloud5218     ColeKepro 5.0   148749   148749.USA   1.821E+12    Kansas City, MO    Active     120405   120405 CASHWISE                     113 6th Ave SE                    Watford City      ND   58854   8/7/2021
coincloud5223     ColeKepro 5.0   148754   148754.USA   1.821E+12    Kansas City, MO    Active     143601   143601 Pops                         4805 Garners Ferry Rd             Columbia          SC   29205   8/7/2021
coincloud5224     ColeKepro 5.0   148755   148755.USA   1.821E+12    Kansas City, MO    Active     149797   149797 Sprint                       3546 Deans Bridge Rd              Hephzibah         GA   30815   8/7/2021
coincloud5229     ColeKepro 5.0   148760   148760.USA   1.821E+12    Kansas City, MO    Active     130482   130482 Titanium Vapor               8450 Watson Rd                    St. Louis         MO   63119   8/7/2021
coincloud5230     ColeKepro 5.0   148761   148761.USA   1.821E+12    Kansas City, MO    Active     139836   139836 Moser's                      4840 Rangeline St                 Columbia          MO   65202   8/7/2021
coincloud5231     ColeKepro 5.0   148762   148762.USA   1.821E+12    Kansas City, MO    Active     121864   121864 ACE Cash Express             8434 N Lindbergh Blvd             Florissant        MO   63031   8/7/2021
coincloud5233     ColeKepro 5.0   148764   148764.USA   1.821E+12     LUBBOCK, TX       Active     128219   128219 Toot'n Totum                 2024 S Washington St              Amarillo          TX   79109   8/7/2021
coincloud5236     ColeKepro 5.0   148767   148767.USA   1.821E+12     LUBBOCK, TX       Active     103847   103847 Mall of Abilene              4310 Buffalo Gap Rd               Abilene           TX   79606   8/7/2021
coincloud5241     ColeKepro 5.0   148772   148772.USA   1.821E+12     MAGNOLIA,TX       Active     130548   130548 NEU-MART                     3280 Junction Hwy                 Ingram            TX   78025   8/7/2021
coincloud5245     ColeKepro 5.0   148776   148776.USA   1.821E+12     MAGNOLIA,TX       Active     130549   130549 NEU-MART                     3269 Junction Hwy                 Ingram            TX   78025   8/7/2021
coincloud5249     ColeKepro 5.0   148780   148780.USA   1.821E+12    San Antonio, TX    Active     122451   122451 ACE Cash Express             7901 Culebra Rd                   San Antonio       TX   78251   8/7/2021
coincloud5254     ColeKepro 5.0   148785   148785.USA   1.821E+12    San Antonio, TX    Active     122395   122395 ACE Cash Express             1602 N Laurent St                 Victoria          TX   77901   8/7/2021
coincloud5256     ColeKepro 5.0   148787   148787.USA   1.821E+12    San Antonio, TX    Active     122486   122486 ACE Cash Express             8515 Perrin Beitel Rd             San Antonio       TX   78217   8/7/2021
coincloud5261     ColeKepro 5.0   148792   148792.USA   1.821E+12    San Antonio, TX    Active     122485   122485 ACE Cash Express             1960 SW Military Dr               San Antonio       TX   78221   8/7/2021
coincloud5268     ColeKepro 5.0   148799   148799.USA   1.821E+12     MAGNOLIA,TX       Active     135623   135623 H-E-B                        909 E Broadway St                 Cuero             TX   77954   8/7/2021
coincloud5275     ColeKepro 5.0   148806   148806.USA   1.821E+12     MAGNOLIA,TX       Active     141018   141018 Arlan's                      705 N Travis Ave                  Cameron           TX   76520    8/7/2021
coincloud5277     ColeKepro 5.0   148808   148808.USA   1.821E+12     MAGNOLIA,TX       Active     141258   141258 H-E-B                        18611 Eastfield Dr                Webster           TX   77598    8/7/2021
coincloud5283     ColeKepro 5.0   148814   148814.USA   1.821E+12     MAGNOLIA,TX       Active     120919   120919 Chevron                      2750 Gessner Rd                   Houston           TX   77080    8/7/2021
coincloud5285     ColeKepro 5.0   148816   148816.USA   1.821E+12     MAGNOLIA,TX       Active     141012   141012 Arlan's                      909 Curtiss Ave                   Schertz           TX   78154    8/7/2021
coincloud5289     ColeKepro 5.0   148820   148820.USA   1.821E+12     MAGNOLIA,TX       Active     130543   130543 MINIT-Mart                   2455 Main St                      Eagle Pass        TX   78852   8/7/2021
coincloud5291     ColeKepro 5.0   148822   148822.USA   1.821E+12     MAGNOLIA,TX       Active     130538   130538 MINIT-Mart                   106 Dr Fermin Calderon Blvd       Del Rio           TX   78840   8/7/2021
coincloud5297     ColeKepro 5.0   148828   148828.USA   1.821E+12     MAGNOLIA,TX       Active     122361   122361 ACE Cash Express             5510 Bellaire Blvd                Houston           TX   77081   8/7/2021
coincloud5301     ColeKepro 5.0   148832   148832.USA   1.821E+12     MAGNOLIA,TX       Active     122272   122272 ACE Cash Express             1420 Wells Branch Pkwy            Pflugerville      TX   78660   8/7/2021
coincloud5303     ColeKepro 5.0   148834   148834.USA   1.821E+12   Albuquerque, NM     Active     122252   122252 ACE Cash Express             8838 Viscount Blvd                El Paso           TX   79925    8/7/2021
coincloud5304     ColeKepro 5.0   148835   148835.USA   1.821E+12      Sanford, FL      Active     139530   139530 Piggly Wiggly                1105 Madison Hwy                  Valdosta          GA   31601   8/7/2021
coincloud5310     ColeKepro 5.0   148841   148841.USA   1.821E+12   Albuquerque, NM     Active     146637   146637 Thorntons                    900 N La Fox St                   South Elgin       IL   60177   8/7/2021
coincloud5311     ColeKepro 5.0   148842   148842.USA   1.821E+12   Albuquerque, NM     Active     146643   146643 Thorntons                    800 Northwest Hwy                 Cary              IL   60013    8/7/2021
coincloud5314     ColeKepro 5.0   148845   148845.USA   1.821E+12   Albuquerque, NM     Active     146618   146618 Thorntons                    34225 US-45                       Third Lake        IL   60030   8/7/2021
coincloud5331     ColeKepro 5.0   148862   148862.USA   1.821E+12   Albuquerque, NM     Active     143268   143268 Casey's General Store        5150 100th St                     Urbandale         IA   50322   8/7/2021
coincloud5339     ColeKepro 5.0   148870   148870.USA   1.821E+12   Albuquerque, NM     Active     146594   146594 Thorntons                    911 Tek Dr                        Crystal Lake      IL   60014   8/7/2021
coincloud5345     ColeKepro 5.0   148876   148876.USA   1.821E+12       Kent, WA        Active     130400   130400 Wray's Selah                 121 E 3rd Ave                     Selah             WA   98942    8/7/2021
coincloud5346     ColeKepro 5.0   148877   148877.USA   1.821E+12       Kent, WA        Active     130399   130399 Wray's Meadowbrook           7200 W Nob Hill Blvd              Yakima            WA   98908   8/7/2021
coincloud5371     ColeKepro 5.0   148902   148902.USA   1.821E+12       Kent, WA        Active     120757   120757 Gyro Bites                   6409 6th Ave                      Tacoma            WA   98406    8/7/2021
coincloud5383     ColeKepro 5.0   148914   148914.USA   1.821E+12    San Antonio, TX    Active     135452   135452 H-E-B                        1103 Morgan Blvd                  Harlingen         TX   78550   8/7/2021
coincloud5384     ColeKepro 5.0   148915   148915.USA   1.821E+12    San Antonio, TX    Active     135477   135477 H-E-B                        7811 McPherson Rd                 Laredo            TX   78045   8/7/2021
coincloud5387     ColeKepro 5.0   148918   148918.USA   1.821E+12    San Antonio, TX    Active     135580   135580 H-E-B                        225 South IH 35                   Pearsall          TX   78061   8/7/2021
coincloud5391     ColeKepro 5.0   148922   148922.USA   1.821E+12    San Antonio,TX     Active     135456   135456 H-E-B                        2310 E Saunders St                Laredo            TX   78041   8/7/2021
coincloud5392     ColeKepro 5.0   148923   148923.USA   1.821E+12    San Antonio,TX     Active     135457   135457 H-E-B                        1301 Guadalupe St                 Laredo            TX   78040   8/7/2021
coincloud5394     ColeKepro 5.0   148925   148925.USA   1.821E+12    San Antonio,TX     Active     135470   135470 H-E-B                        1211 E Frontage Rd                Alamo             TX   78516   8/7/2021
coincloud5395     ColeKepro 5.0   148926   148926.USA   1.821E+12    San Antonio,TX     Active     135474   135474 H-E-B                        227 E Main St                     Uvalde            TX   78801   8/7/2021
coincloud5396     ColeKepro 5.0   148927   148927.USA   1.821E+12    San Antonio,TX     Active     135446   135446 H-E-B                        1911 NE Bob Bullock Loop          Laredo            TX   78045   8/7/2021
coincloud5397     ColeKepro 5.0   148928   148928.USA   1.821E+12    San Antonio,TX     Active     135450   135450 H-E-B                        1213 S Commerce St                Harlingen         TX   78550   8/7/2021
coincloud5403     ColeKepro 5.0   148934   148934.USA   1.821E+12    San Antonio,TX     Active     135476   135476 H-E-B                        6010 W Expy 83                    Palmview          TX   78572    8/7/2021
coincloud5406     ColeKepro 5.0   148937   148937.USA   1.821E+12    San Antonio,TX     Active     135576   135576 H-E-B                        210 W Del Mar Blvd                Laredo            TX   78041    8/7/2021
coincloud5408     ColeKepro 5.0   148939   148939.USA   1.821E+12    San Antonio, TX    Active     135451   135451 H-E-B                        514 E Zavala St                   Crystal City      TX   78839   8/7/2021
                                   Case 23-10423-mkn                                          Doc 36-2              Entered 02/08/23 19:55:21                                              Page 142 of 217


coincloud5409     ColeKepro 5.0   148940     148940.USA    1.821E+12     San Antonio,TX        Active   135583   135583 H-E-B                                     2030 N 1st St                    Carrizo Springs   TX   78834   8/7/2021
coincloud5419     ColeKepro 5.0   148950     148950.USA    1.821E+12      MAGNOLIA,TX          Active   130544   130544 NEU-MART                                  608 Meadow View Ln               Kerrville         TX   78028   8/7/2021
coincloud5487     ColeKepro 5.0   149018     149018.USA    1.821E+12       Raleigh, NC         Active   103070   103070 Fairway One Stop #4                       584 west Northwest Blvd          Winston-Salem     NC   27105   8/7/2021
coincloud5583     ColeKepro 5.0   149114     149114.USA    1.821E+12         Kent, WA          Active   144696   144696 Fiesta Foods                              2010 Yakima Valley Hwy ##7       Sunnyside         WA   98944   8/7/2021
coincloud5591     ColeKepro 5.0   149122     149122.USA    1.821E+12         Kent, WA          Active   124007   124007 Top of the Hill Quality Produce & Meats   5325 NE 4th St                   Renton            WA   98059   8/7/2021
coincloud5592     ColeKepro 5.0   149123     149123.USA    1.821E+12         Kent, WA          Active   144695   144695 Fiesta Foods                              115 S 10th Ave                   Pasco             WA   99301   8/7/2021
coincloud5593     ColeKepro 5.0   149124     149124.USA    1.821E+12         Kent, WA          Active   141260   141260 Lucky Mak's                               20567 SW Tualatin Valley Hwy     Beaverton         OR   97003   8/7/2021
coincloud5596     ColeKepro 5.0   149127     149127.USA    1.821E+12         Kent, WA          Active   141257   141257 Mak's Mini Mart                           616 SW College St                Portland          OR   97201   8/7/2021
coincloud5601     ColeKepro 5.0   149132     149132.USA    1.821E+12         Kent, WA          Active   128590   128590 Mt Vernon Red Apple Market                820 Cleveland Ave                Mt Vernon         WA   98273   8/7/2021
coincloud5603     ColeKepro 5.0   149134     149134.USA    1.821E+12         Kent, WA          Active   139537   139537 A1 Market                                 295 Deann Dr                     Independence      OR   97351   8/7/2021
coincloud5604     ColeKepro 5.0   149135     149135.USA    1.821E+12         Kent, WA          Active   129128   129128 R & S Market                              735 Jefferson Ave                Vernonia          OR   97064   8/7/2021
coincloud5605     ColeKepro 5.0   149136     149136.USA    1.821E+12         Kent, WA          Active   130623   130623 JC Thriftway Market                       336 NE US-20                     Toledo            OR   97391   8/7/2021
coincloud5606     ColeKepro 5.0   149137     149137.USA    1.821E+12         Kent, WA          Active   134592   134592 Main St. Market                           191 S Main Ave                   Warrenton         OR   97146   8/7/2021
coincloud5617     ColeKepro 5.0   149148     149148.USA    1.821E+12         Kent, WA          Active   147790   147790 Village Market Thriftway                  20150 Ballinger Way NE           Shoreline         WA   98155   8/7/2021
coincloud5618     ColeKepro 5.0   149149     149149.USA    1.821E+12         Kent, WA          Active   137389   137389 Shop N Kart                               505 S Tower Ave                  Centralia         WA   98531   8/7/2021
coincloud5620     ColeKepro 5.0   149151     149151.USA    1.821E+12         Kent, WA          Active   137391   137391 Shop N Kart                               4410 Pacific Way                 Seaview           WA   98644   8/7/2021
coincloud5621     ColeKepro 5.0   149152     149152.USA    1.821E+12         Kent, WA          Active   121138   121138 Seashore Mini Mart                        1437 NW Richmond Beach Rd        Shoreline         WA   98177   8/7/2021
coincloud5622     ColeKepro 5.0   149153     149153.USA    1.821E+12      Creighton, PA        Active   124945   124945 SHOP 'n SAVE                              917 Butler St                    Pittsburgh        PA   15223   8/7/2021
coincloud5623     ColeKepro 5.0   149154     149154.USA    1.821E+12      Creighton, PA        Active   121723   121723 ACE Cash Express                          21177 Euclid Ave                 Cleveland         OH   44117   8/7/2021
coincloud5624     ColeKepro 5.0   149155     149155.USA    1.821E+12      Creighton, PA        Active   121727   121727 ACE                                       5311 Memphis Ave                 Cleveland         OH   44144   8/7/2021
coincloud5630     ColeKepro 5.0   149161     149161.USA    1.821E+12      Hayward, CA          Active   130473   130473 State Foods                               237 Academy Ave                  Sanger            CA   93657   8/7/2021
coincloud5641     ColeKepro 5.0   149172     149172.USA    1.821E+12    Grand Prairie, TX      Active   104318   104318 Chevron                                   315 E Hurst Blvd                 Hurst             TX   76053   8/7/2021
coincloud5647     ColeKepro 5.0   149178     149178.USA    1.821E+12    Grand Prairie, TX      Active   122328   122328 ACE Cash Express                          836 W University Dr              Denton            TX   76201   8/7/2021
coincloud5655     ColeKepro 5.0   149186     149186.USA    1.821E+12    Grand Prairie, TX      Active   152793   152793 Cumberland Farms                          62 Rainbow Rd                    East Granby       CT    6026   8/7/2021
coincloud5662     ColeKepro 5.0   149193     149193.USA    1.821E+12    Grand Prairie, TX      Active   122217   122217 ACE Cash Express                          5516 River Oaks Blvd             River Oaks        TX   76114   8/7/2021
coincloud5665     ColeKepro 5.0   149196     149196.USA    1.821E+12    Grand Prairie, TX      Active   130617   130617 Family Food Mart                          6502 Wesley St                   Greenville        TX   75402   8/7/2021
coincloud5669     ColeKepro 5.0   149200     149200.USA    1.821E+12    Grand Prairie, TX      Active   122333   122333 ACE Cash Express                          215 S High St                    Longview          TX   75601   8/7/2021
coincloud5672     ColeKepro 5.0   149203     149203.USA    1.821E+12    Grand Prairie, TX      Active   122350   122350 ACE Cash Express                          419 N Main St                    Keller            TX   76248   8/7/2021
coincloud5685     ColeKepro 5.0   149216     149216.USA    1.821E+12    Grand Prairie, TX      Active   122167   122167 ACE Cash Express                          1324 W Main St                   Lewisville        TX   75067   8/7/2021
coincloud5699     ColeKepro 5.0   149230     149230.USA    1.821E+12    Grand Prairie, TX      Active   122349   122349 ACE Cash Express                          100 S Ridgeway Dr                Cleburne          TX   76033   8/7/2021
coincloud5703     ColeKepro 5.0   149234     149234.USA    1.821E+12    Grand Prairie, TX      Active   135773   135773 H-E-B                                     1345 Barrow St                   Abilene           TX   79605   8/7/2021
coincloud5706     ColeKepro 5.0   149237     149237.USA    1.821E+12    Grand Prairie, TX      Active   150534   150534 Loaf 'N Jug                               4401 CO-165                      Colorado City     CO   81019   8/7/2021
coincloud5707     ColeKepro 5.0   149238     149238.USA    1.821E+12    Grand Prairie, TX      Active   126246   126246 Circle K                                  12950 Coit Rd                    Dallas            TX   75251   8/7/2021
coincloud5711     ColeKepro 5.0   149242     149242.USA    1.821E+12    Grand Prairie, TX      Active   151120   151120 Cumberland Farms                          261 S Main St                    Woonsocket        RI    2895   8/7/2021
coincloud5716     ColeKepro 5.0   149247     149247.USA    1.821E+12    Grand Prairie, TX      Active   122208   122208 ACE Cash Express                          3800 Main St                     The Colony        TX   75056   8/7/2021
coincloud5717     ColeKepro 5.0   149248     149248.USA    1.821E+12    Grand Prairie, TX      Active   122358   122358 ACE Cash Express                          2309 Gilmer Rd                   Longview          TX   75604   8/7/2021
coincloud5718     ColeKepro 5.0   149249     149249.USA    1.821E+12    Grand Prairie, TX      Active   150993   150993 Loaf 'N Jug                               1107 S Main St                   Lamar             CO   81052   8/7/2021
coincloud5731     ColeKepro 5.0   149262     149262.USA    1.821E+12      Hayward, CA          Active   121053   121053 ACE Cash Express                          1320 Standiford Ave              Modesto           CA   95350   8/7/2021
coincloud5732     ColeKepro 5.0   149263     149263.USA    1.821E+12      Hayward, CA          Active   130472   130472 Saveco                                    1798 N 10th Ave                  Hanford           CA   93230   8/7/2021
coincloud5733     ColeKepro 5.0   149264     149264.USA    1.821E+12      Hayward, CA          Active   130048   130048 Tropicana Supermarket - Dinuba            1010 N Alta Ave                  Dinuba            CA   93618   8/7/2021
coincloud5746     ColeKepro 5.0   149277     149277.USA    1.821E+12      Hayward, CA          Active   120971   120971 ACE Cash Express                          4341 Elkhorn Blvd                Sacramento        CA   95842   8/7/2021
coincloud5757     ColeKepro 5.0   149288     149288.USA    1.821E+12      Creighton, PA        Active   146478   146478 Thorntons                                 12185 Princeton Pike             Springdale        OH   45246   8/7/2021
coincloud5762     ColeKepro 5.0   149293     149293.USA    1.821E+12      Hayward, CA          Active   130471   130471 Saveco                                    1135 W Bush St                   Lemoore           CA   93245   8/7/2021
coincloud5769     ColeKepro 5.0   149300     149300.USA    1.821E+12        Sanford, FL        Active   121439   121439 ACE Cash Express                          4560 S Kirkman Rd                Orlando           FL   32811   8/7/2021
coincloud5780     ColeKepro 5.0   149311     149311.USA    1.821E+12        Sanford, FL        Active   139536   139536 Piggly Wiggly                             440 W Cherry St                  Jesup             GA   31545   8/7/2021
coincloud5791     ColeKepro 5.0   149322     149322.USA    1.821E+12        Sanford, FL        Active   121617   121617 ACE Cash Express                          5169 14th St W                   Bradenton         FL   34207   8/7/2021
coincloud5799     ColeKepro 5.0   149330     149330.USA    1.821E+12      Hayward, CA          Active   120973   120973 ACE                                       4110 Norwood Ave                 Sacramento        CA   95838   8/7/2021
coincloud5812     ColeKepro 5.0   149343   149333USA.USA   1.821E+12      Hayward, CA          Active   130051   130051 Firebaugh Supermarket                     1125 N St                        Firebaugh         CA   93622   8/7/2021
coincloud5816     ColeKepro 5.0   149347     149347.USA    1.821E+12        Sanford, FL        Active   121431   121431 ACE Cash Express                          1523 S Crystal Lake Dr           Orlando           FL   32806   8/7/2021
coincloud5824     ColeKepro 5.0   149355     149355.USA    1.821E+12        Sanford, FL        Active   103216   103216 Time Saver                                502 W. Bay St.                   Savannah          GA   31404   8/7/2021
coincloud5825     ColeKepro 5.0   149356     149356.USA    1.821E+12        Sanford, FL        Active   139533   139533 Piggly Wiggly                             32 S Tallahassee St              Hazlehurst        GA   31539   8/7/2021
coincloud5852     ColeKepro 5.0   149383     149383.USA    1.821E+12      Hayward, CA          Active   130055   130055 Ventura Supermarket Fresno                3232 E Ventura Ave               Fresno            CA   93702   8/7/2021
coincloud5858     ColeKepro 5.0   149389     149389.USA    1.821E+12      Hayward, CA          Active   130053   130053 Lemoore Food Center                       150 E Cinnamon Dr                Lemoore           CA   93245   8/7/2021
coincloud5860     ColeKepro 5.0   149391     149391.USA    1.821E+12      Hayward, CA          Active   103752   103752 King's Liquors                            8 41st Ave                       San Mateo         CA   94403   8/7/2021
coincloud5903     ColeKepro 5.0   149434     149434.USA    1.821E+12    Grand Prairie, TX      Active   142008   142008 Williams Foods                            200 E Hwy 33                     Perkins           OK   74059   8/7/2021
coincloud5922     ColeKepro 5.0   149453     149453.USA    1.821E+12          Other            Active   134731   134731 Sin City Vapor III                        90 S Stephanie St #160           Henderson         NV   89012   8/7/2021
coincloud5925     ColeKepro 5.0   149456     149456.USA    1.821E+12      Creighton, PA        Active   146500   146500 Thorntons                                 3045 Dixie Hwy                   Erlanger          KY   41018   8/7/2021
coincloud5931     ColeKepro 5.0   149462     149462.USA    1.821E+12      Creighton, PA        Active   138121   138121 Avalon Hotel & Conference Center          16 W 10th St                     Erie              PA   16501   8/7/2021
coincloud5938     ColeKepro 5.0   149469     149469.USA    1.821E+12      Creighton, PA        Active   140706   140706 Zagara's Marketplace                      1940 Lee Rd                      Cleveland         OH   44118   8/7/2021
coincloud5943     ColeKepro 5.0   149474     149474.USA    1.821E+12      Creighton, PA        Active   146480   146480 Thorntons                                 945 W Central Ave                Springboro        OH   45066   8/7/2021
coincloud5946     ColeKepro 5.0   149477     149477.USA    1.821E+12      Creighton, PA        Active   146496   146496 Thorntons                                 3590 Madison Pike                Edgewood          KY   41017   8/7/2021
coincloud5947     ColeKepro 5.0   149478     149478.USA    1.821E+12      Creighton, PA        Active   125180   125180 7-Eleven                                  285 Mt Lebanon Blvd              Pittsburgh        PA   15234   8/7/2021
coincloud5949     ColeKepro 5.0   149480     149480.USA    1.821E+12      Creighton, PA        Active   125189   125189 7-Eleven                                  6106 Saltsburg Rd                Verona            PA   15147   8/7/2021
coincloud5950     ColeKepro 5.0   149481     149481.USA    1.821E+12      Creighton, PA        Active   125893   125893 SHOP 'n SAVE                              184 Rochester Rd                 Pittsburgh        PA   15229   8/7/2021
coincloud5951     ColeKepro 5.0   149482     149482.USA    1.821E+12        Sanford, FL        Active   139532   139532 Piggly Wiggly                             48 E Oak St                      McRae             GA   31055   8/7/2021
coincloud5952     ColeKepro 5.0   149483     149483.USA    1.821E+12        Sanford, FL        Active   121629   121629 ACE Cash Express                          7403 Spring Hill Dr              Spring Hill       FL   34606   8/7/2021
coincloud5953     ColeKepro 5.0   149484     149484.USA    1.821E+12      Hayward, CA          Active   120977   120977 ACE Cash Express                          1825 Countryside Dr              Turlock           CA   95380   8/7/2021
coincloud5961     ColeKepro 5.0   149492     149492.USA    1.821E+12      Hayward, CA          Active   130056   130056 El Pueblo Orange Cove                     815 Anchor Ave                   Orange Cove       CA   93646   8/7/2021
coincloud5968     ColeKepro 5.0   149499     149499.USA    1.821E+12     San Antonio,TX        Active   135610   135610 H-E-B                                     409 E Kleberg Ave                Kingsville        TX   78363   8/7/2021
coincloud5984     ColeKepro 5.0   149515     149515.USA    1.821E+12    Grand Prairie, TX      Active   142011   142011 Williams Foods                            208 S 5th St                     Chickasha         OK   73018   8/7/2021
coincloud6029     ColeKepro 5.0   149560     149560.USA    1.821E+12     San Antonio,TX        Active   135595   135595 H-E-B                                     2616 TX-361                      Ingleside         TX   78362   8/7/2021
coincloud6049     ColeKepro 5.0   149580     149580.USA    1.821E+12   City Of Industry, CA    Active   121571   121571 ACE Cash Express                          5280 E Beverly Blvd              Los Angeles       CA   90022   8/7/2021
coincloud6081     ColeKepro 5.0   149612     149612.USA    1.821E+12     San Antonio,TX        Active   147172   147172 Circle K                                  210 E FM 1382                    Cedar Hill        TX   75104   8/7/2021
coincloud6133     ColeKepro 5.0   149664     149664.USA    1.821E+12   City Of Industry, CA    Active   155273   155273 Love's                                    2931 Gila Ridge Rd               Yuma              AZ   85365   8/7/2021
coincloud6146     ColeKepro 5.0   149677     149677.USA    1.821E+12    Riviera Beach, FL      Active   151372   151372 Marketon                                  755 N Nellis Blvd ##1            Las Vegas         NV   89110   8/7/2021
coincloud6199     ColeKepro 5.0   149730     149730.USA    1.821E+12        Phoenix,AZ         Active   147404   147404 Good2Go                                   2632 E Fry Blvd                  Sierra Vista      AZ   85635   8/7/2021
coincloud6299     ColeKepro 5.0   149830     149830.USA    1.821E+12       Sterling, VA        Active   146497   146497 Thorntons                                 7601 Industrial Rd               Florence          KY   41042   8/7/2021
coincloud6408     ColeKepro 5.0   149939     149939.USA    1.821E+12       Magnolia,TX         Active   135836   135836 H-E-B                                     910 Kitty Hawk Rd                Universal City    TX   78148   8/7/2021
coincloud6417     ColeKepro 5.0   149948     149948.USA    1.821E+12       Magnolia,TX         Active   147062   147062 American Dollar Plus Store                9770 Forest Ln                   Dallas            TX   75243   8/7/2021
coincloud6422     ColeKepro 5.0   149953     149953.USA    1.821E+12       Magnolia,TX         Active   135821   135821 H-E-B                                     651 S Walnut Ave                 New Braunfels     TX   78130   8/7/2021
coincloud6432     ColeKepro 5.0   149963     149963.USA    1.821E+12       Magnolia,TX         Active   135843   135843 H-E-B                                     14414 U.S. Hwy 87 W              La Vernia         TX   78121   8/7/2021
coincloud6457     ColeKepro 5.0   149988     149988.USA    1.821E+12       Magnolia,TX         Active   135787   135787 H-E-B                                     2511 Trimmier Rd #Suite 100      Killeen           TX   76542   8/7/2021
coincloud6465     ColeKepro 5.0   149996     149996.USA    1.821E+12       Magnolia,TX         Active   135776   135776 H-E-B                                     101 S Clay St                    Ennis             TX   75119   8/7/2021
coincloud6643     ColeKepro 5.0   150174     150174.USA    1.821E+12          Other            Active   136711   136711 StarBase                                  3905 W Diablo Dr                 Las Vegas         NV   89118   8/7/2021
coincloud150241   ColeKepro 5.0   150241     150241.USA    1.821E+12     Kansas City, MO       Active   142002   142002 Independence Center                       18801 East 39th St S             Independence      MO   64057   8/7/2021
coincloud150399   ColeKepro 5.0   150399     150399.USA    1.821E+12    Riviera Beach, FL      Active   150758   150758 Cumberland Farms                          29 Hardwick Rd                   Gilbertville      MA    1031   8/7/2021
coincloud150708   ColeKepro 5.0   150708     150708.USA    1.821E+12       St Paul, MN         Active   151365   151365 Parkland Marketplace #488                 13322 Pacific Ave S              Tacoma            WA   98444   8/7/2021
coincloud150718   ColeKepro 5.0   150718     150718.USA    1.821E+12       Sterling, VA        Active   152217   152217 Royal Farms                               4007 Sykesville Rd               Finksburg         MD   21048   8/7/2021
coincloud150851   ColeKepro 5.0   150851     150851.USA    1.821E+12       Sterling, VA        Active   152181   152181 Royal Farms                               3026 Churchland Blvd             Chesapeake        VA   23321   8/7/2021
coincloud150854   ColeKepro 5.0   150854     150854.USA    1.821E+12       Sterling, VA        Active   152081   152081 Royal Farms                               101 W Cedar Ln                   Fruitland         MD   21826   8/7/2021
coincloud150921   ColeKepro 5.0   150921     150921.USA    1.821E+12       Sterling, VA        Active   152255   152255 Royal Farms                               1401 S Division St               Salisbury         MD   21804   8/7/2021
coincloud150981   ColeKepro 5.0   150981     150981.USA    1.821E+12       Sterling, VA        Active   152201   152201 Royal Farms                               930 Cromwell Park Dr             Glen Burnie       MD   21061   8/7/2021
coincloud151339   ColeKepro 5.0   151339     151339.USA    1.821E+12       Sterling, VA        Active   152147   152147 Royal Farms                               467 N Sumneytown Pike            North Wales       PA   19454   8/7/2021
coincloud5220     ColeKepro 5.0   148751                   1.821E+12     Kansas City, MO       Active   124830   124830 Game X Change                             1707 W Kingshighway              Paragould         AR   72450   8/7/2021
coincloud5958     ColeKepro 5.0   149489                   1.821E+12      Hayward, CA          Active   130054   130054 AC Market Orange Cove                     1145 Park Blvd                   Orange Cove       CA   93646   8/7/2021
coincloud5811     ColeKepro 5.0   149342                   1.821E+12      Hayward, CA          Active   121069   121069 ACE                                       2700 San Pablo Ave               Oakland           CA   94612    8/7/2021
coincloud5853     ColeKepro 5.0   149384                   1.821E+12      Hayward, CA          Active   145465   145465 Muritronix                                113 S Lake St                    Madera            CA   93638   8/7/2021
coincloud5861     ColeKepro 5.0   149392                   1.821E+12      Hayward, CA          Active   130050   130050 Royal Foods Armona                        10990 14th Ave                   Armona            CA   93202   8/7/2021
coincloud5764     ColeKepro 5.0   149295                   1.821E+12      Hayward, CA          Active   130059   130059 San Joaquin Foodland                      8712 S Main St                   San Joaquin       CA   93660   8/7/2021
coincloud5632     ColeKepro 5.0   149163                   1.821E+12      Hayward, CA          Active   130470   130470 Saveco                                    1300 W Walnut Ave                Visalia           CA   93277   8/7/2021
coincloud5765     ColeKepro 5.0   149296                   1.821E+12      Hayward, CA          Active   141987   141987 Twain Harte Market                        18711 Tiffeni Dr Suite 65        Twain Harte       CA   95383   8/7/2021
coincloud5926     ColeKepro 5.0   149457                   1.821E+12        Sanford, FL        Active   139534   139534 Lucky Pig                                 2111 Bemiss Rd                   Valdosta          GA   31602   8/7/2021
coincloud5787     ColeKepro 5.0   149318                   1.821E+12        Sanford, FL        Active   139529   139529 Piggly Wiggly                             506 Spaulding Rd Suite D         Montezuma         GA   31063   8/7/2021
coincloud5321     ColeKepro 5.0   148852                   1.821E+12    Albuquerque, NM        Active   143270   143270 Casey's General Store                     1650 NE Beaverbrooke Blvd        Grimes            IA   50111   8/7/2021
coincloud5351     ColeKepro 5.0   148882                   1.821E+12    Albuquerque, NM        Active   143266   143266 Casey's General Store                     951 SE Gateway Dr                Grimes            IA   50111   8/7/2021
coincloud5364     ColeKepro 5.0   148895                   1.821E+12    Albuquerque, NM        Active   143269   143269 Casey's General Store                     870 NE Alice's Rd                Waukee            IA   50263   8/7/2021
coincloud2432     ColeKepro 3.0   144481                   1.821E+12                           Active   115374   115374 Fox Lake Town Center                      17 -135 Towne Centre Lane        Fox Lake          IL   60020   10/2/2020
coincloud5318     ColeKepro 5.0   148849                   1.821E+12   Albuquerque, NM         Active   150720   150720 Minit Mart                                101 W Gridley Rd                 Gridley           IL   61744   8/7/2021
coincloud5328     ColeKepro 5.0   148859                   1.821E+12   Albuquerque, NM         Active   150960   150960 Minit Mart                                1 Carrier Ln                     Wenona            IL   61377   8/7/2021
coincloud5307     ColeKepro 5.0   148838                   1.821E+12   Albuquerque, NM         Active   147965   147965 Randee's Food & Liquors                   4319-21 N Milwaukee Ave          Chicago           IL   60641   8/7/2021
coincloud2107     ColeKepro 3.0   145228                   1.821E+12                           Active   146599   146599 Thorntons                                 3S660 Illinois Rte 59            Warrenville       IL   60555   10/2/2020
coincloud5305     ColeKepro 5.0   148836                   1.821E+12   Albuquerque, NM         Active   146666   146666 Thorntons                                 27905 W Hwy 176                  Island Lake       IL   60042   8/7/2021
coincloud5306     ColeKepro 5.0   148837                   1.821E+12   Albuquerque, NM         Active   146655   146655 Thorntons                                 2 Barrington Rd                  Streamwood        IL   60107   8/7/2021
coincloud5308     ColeKepro 5.0   148839                   1.821E+12   Albuquerque, NM         Active   146622   146622 Thorntons                                 2171 S 8th St                    West Dundee       IL   60118   8/7/2021
coincloud5309     ColeKepro 5.0   148840                   1.821E+12   Albuquerque, NM         Active   146583   146583 Thorntons                                 102 W Etna Rd                    Ottawa            IL   61350   8/7/2021
coincloud5312     ColeKepro 5.0   148843                   1.821E+12   Albuquerque, NM         Active   146587   146587 Thorntons                                 1810 N Bloomington St            Streator          IL   61364   8/7/2021
coincloud5313     ColeKepro 5.0   148844                   1.821E+12   Albuquerque, NM         Active   146590   146590 Thorntons                                 1011 N Hershey Rd                Bloomington       IL   61704   8/7/2021
coincloud5319     ColeKepro 5.0   148850                   1.821E+12   Albuquerque, NM         Active   146575   146575 Thorntons                                 101 Burwash Ave                  Savoy             IL   61874   8/7/2021
                                    Case 23-10423-mkn                                             Doc 36-2                Entered 02/08/23 19:55:21                                   Page 143 of 217


coincloud5337   ColeKepro 5.0     148868                          1.821E+12   Albuquerque, NM      Active     146668   146668 Thorntons                   2108 W IL-120                       McHenry            IL   60051   8/7/2021
coincloud5338   ColeKepro 5.0     148869                          1.821E+12   Albuquerque, NM      Active     146646   146646 Thorntons                   2095 E Algonquin Rd                 Algonquin          IL   60102   8/7/2021
coincloud5350   ColeKepro 5.0     148881                          1.821E+12   Albuquerque, NM      Active     146580   146580 Thorntons                   948 W Reynolds St                   Pontiac            IL   61764   8/7/2021
coincloud5352   ColeKepro 5.0     148883                          1.821E+12   Albuquerque, NM      Active     146603   146603 Thorntons                   1600 N Rand Rd                      Prospect Heights   IL   60070   8/7/2021
coincloud5353   ColeKepro 5.0     148884                          1.821E+12   Albuquerque, NM      Active     146584   146584 Thorntons                   906 N Main St                       Bloomington        IL   61701   8/7/2021
coincloud5358   ColeKepro 5.0     148889                          1.821E+12   Albuquerque, NM      Active     146665   146665 Thorntons                   598 E Washington St                 Round Lake Park    IL   60073   8/7/2021
coincloud5362   ColeKepro 5.0     148893                          1.821E+12   Albuquerque, NM      Active     146614   146614 Thorntons                   3233 Grand Ave                      Waukegan           IL   60085   8/7/2021
coincloud5363   ColeKepro 5.0     148894                          1.821E+12   Albuquerque, NM      Active     146620   146620 Thorntons                   205 US-12                           Volo               IL   60073   8/7/2021
coincloud5354   ColeKepro 5.0     148885                          1.821E+12   Albuquerque, NM      Active     146574   146574 Thorntons                   101 S Mattis Ave                    Champaign          IL   61821   8/7/2021
coincloud6150   ColeKepro 5.0     149681                          1.821E+12   Riviera Beach, FL    Active     150971   150971 Minit Mart                  125 W Nashville St                  Pembroke           KY   42266   8/7/2021
coincloud5755   ColeKepro 5.0     149286                          1.821E+12     Creighton, PA      Active     146494   146494 Thorntons                   1005 Town Dr                        Wilder             KY   41076   8/7/2021
coincloud6171   ColeKepro 5.0     149702                          1.821E+12   Riviera Beach, FL    Active     146532   146532 Thorntons                   100 W Broadway                      Louisville         KY   40202   8/7/2021
coincloud6102   ColeKepro 5.0     149633                          1.821E+12   Riviera Beach, FL    Active     146518   146518 Thorntons                   1335 S Hurstbourne Pkwy             Louisville         KY   40222   8/7/2021
coincloud5222   ColeKepro 5.0     148753                          1.821E+12    Kansas City, MO     Active     150648   150648 Cumberland Farms            122 State Rd                        Dartmouth          MA    2747   8/7/2021
coincloud5228   ColeKepro 5.0     148759                          1.821E+12    Kansas City, MO     Active     140985   140985 Food Fair Supermarket       301 N 14th St                       Rich Hill          MO   64779   8/7/2021
coincloud5221   ColeKepro 5.0     148752                          1.821E+12    Kansas City, MO     Active     124832   124832 Game X Change               115 S Westwood Blvd                 Poplar Bluff       MO   63901   8/7/2021
coincloud5226   ColeKepro 5.0     148757                          1.821E+12    Kansas City, MO     Active     139835   139835 Moser's                     109 Eastside Dr                     Ashland            MO   65010   8/7/2021
coincloud5225   ColeKepro 5.0     148756                          1.821E+12    Kansas City, MO     Active     130232   130232 Ruby's Liquor               32862 State Hwy 37                  Seligman           MO   65745   8/7/2021
coincloud5334   ColeKepro 5.0     148865                          1.821E+12   Albuquerque, NM      Active     145833   145833 Farmer's Country Market     600 E 2nd St                        Roswell            NM   88201   8/7/2021
coincloud5333   ColeKepro 5.0     148864                          1.821E+12   Albuquerque, NM      Active     145832   145832 Farmer's Country Market     800 W Hobbs St                      Roswell            NM   88203   8/7/2021
coincloud5625   ColeKepro 5.0     149156                          1.821E+12     Creighton, PA      Active     121708   121708 ACE                         1499 E 55th St                      Cleveland          OH   44103   8/7/2021
coincloud5934   ColeKepro 5.0     149465                          1.821E+12     Creighton, PA      Active     121717   121717 ACE                         14002 Triskett Rd                   Cleveland          OH   44111   8/7/2021
coincloud5928   ColeKepro 5.0     149459                          1.821E+12     Creighton, PA      Active     121817   121817 ACE                         1420 Brittain Rd                    Akron              OH   44310   8/7/2021
coincloud5939   ColeKepro 5.0     149470                          1.821E+12     Creighton, PA      Active     121719   121719 ACE                         11648 Lorain Ave                    Cleveland          OH   44111   8/7/2021
coincloud5742   ColeKepro 5.0     149273                          1.821E+12     Creighton, PA      Active     146487   146487 Thorntons                   1030 Reading Rd                     Mason              OH   45040   8/7/2021
coincloud5754   ColeKepro 5.0     149285                          1.821E+12     Creighton, PA      Active     146489   146489 Thorntons                   4530 Reading Rd                     Cincinnati         OH   45229   8/7/2021
coincloud5759   ColeKepro 5.0     149290                          1.821E+12     Creighton, PA      Active     146491   146491 Thorntons                   2333 N Wilson Rd                    Columbus           OH   43228   8/7/2021
coincloud5752   ColeKepro 5.0     149283                          1.821E+12     Creighton, PA      Active     146481   146481 Thorntons                   3203 Galbraith Rd                   Cincinnati         OH   45239   8/7/2021
coincloud5929   ColeKepro 5.0     149460                          1.821E+12     Creighton, PA      Active     146485   146485 Thorntons                   2225 E Sharon Rd                    Sharonville        OH   45241   8/7/2021
coincloud6264   ColeKepro 5.0     149795                          1.821E+12      Sterling, VA      Active     146492   146492 Thorntons                   4990 W Broad St                     Columbus           OH   43228   8/7/2021
coincloud5749   ColeKepro 5.0     149280                          1.821E+12     Creighton, PA      Active     144618   144618 VGV Foodmart                3069 OH-213                         Steubenville       OH   43952   8/7/2021
coincloud5977   ColeKepro 5.0     149508                          1.821E+12   Grand Prairie, TX    Active     142018   142018 Williams Express            2001 E Hwy 37                       Tuttle             OK   73089   8/7/2021
coincloud5659   ColeKepro 5.0     149190                          1.821E+12   Grand Prairie, TX    Active     142007   142007 Williams Foods              410 Piedmont Rd S                   Piedmont           OK   73078   8/7/2021
coincloud5708   ColeKepro 5.0     149239                          1.821E+12   Grand Prairie, TX    Active     142010   142010 Williams Foods              201 E 7th Ave                       Bristow            OK   74010   8/7/2021
coincloud5904   ColeKepro 5.0     149435                          1.821E+12   Grand Prairie, TX    Active     142015   142015 Williams Foods              510 Sewell Dr                       Pawnee             OK   74058   8/7/2021
coincloud5999   ColeKepro 5.0     149530                          1.821E+12   Grand Prairie, TX    Active     142014   142014 Williams Foods              1417 Main St                        Stroud             OK   74079   8/7/2021
coincloud5590   ColeKepro 5.0     149121                          1.821E+12       Kent, WA         Active     140873   140873 Everyday food mart          10135 SE Foster Rd                  Portland           OR   97266   8/7/2021
coincloud5589   ColeKepro 5.0     149120                          1.821E+12       Kent, WA         Active     138135   138135 Market Fresh                1111 Columbia Blvd                  St Helens          OR   97051   8/7/2021
coincloud5598   ColeKepro 5.0     149129                          1.821E+12       Kent, WA         Active     145467   145467 Video Game Wizards VGW      125 E Main St                       Molalla            OR   97038   8/7/2021
coincloud5756   ColeKepro 5.0     149287                          1.821E+12     Creighton, PA      Active     125187   125187 7-Eleven                    4775 McKnight Rd                    Pittsburgh         PA   15237   8/7/2021
coincloud5748   ColeKepro 5.0     149279                          1.821E+12     Creighton, PA      Active     125177   125177 7-Eleven                    137 Clever Rd                       McKees Rocks       PA   15136   8/7/2021
coincloud5935   ColeKepro 5.0     149466                          1.821E+12     Creighton, PA      Active     125178   125178 7-Eleven                    201 North St                        Ellwood City       PA   16117   8/7/2021
coincloud5945   ColeKepro 5.0     149476                          1.821E+12     Creighton, PA      Active     125183   125183 7-Eleven                    420 Smithfield St                   Pittsburgh         PA   15222   8/7/2021
coincloud5751   ColeKepro 5.0     149282                          1.821E+12     Creighton, PA      Active     135605   135605 Fox's Pizza Den             76 Greensburg St                    Delmont            PA   15626   8/7/2021
coincloud5144   ColeKepro 5.0     148675                          1.821E+12     LUBBOCK, TX        Active     122263   122263 ACE                         4646 34th St                        Lubbock            TX   79410   8/7/2021
coincloud4977   ColeKepro 5.0     148508                          1.821E+12      Lubbock, TX       Active     122260   122260 ACE Cash Express            3517 N 1st St                       Abilene            TX   79603   8/7/2021
coincloud5149   ColeKepro 5.0     148680                          1.821E+12    San Antonio, TX     Active     122400   122400 ACE Cash Express            630 S 23rd St                       McAllen            TX   78501   8/7/2021
coincloud5251   ColeKepro 5.0     148782                          1.821E+12    San Antonio, TX     Active     122273   122273 ACE Cash Express            1025 Texas Blvd N                   Weslaco            TX   78596   8/7/2021
coincloud5293   ColeKepro 5.0     148824                          1.821E+12     MAGNOLIA,TX        Active     122185   122185 ACE Cash Express            830 N Main St                       Vidor              TX   77662   8/7/2021
coincloud5401   ColeKepro 5.0     148932                          1.821E+12    San Antonio,TX      Active     122723   122723 ACE Cash Express            2109 N 10th St                      McAllen            TX   78501   8/7/2021
coincloud5263   ColeKepro 5.0     148794                          1.821E+12     MAGNOLIA,TX        Active     141016   141016 Arlan's                     1005 12th St                        Hempstead          TX   77445   8/7/2021
coincloud5295   ColeKepro 5.0     148826                          1.821E+12     MAGNOLIA,TX        Active     141008   141008 Arlan's                     12460 Hwy 6                         Santa Fe           TX   77510   8/7/2021
coincloud5643   ColeKepro 5.0     149174                          1.821E+12   Grand Prairie, TX    Active     119417   119417 Circle K                    8181 S Lancaster Rd                 Dallas             TX   75241   8/7/2021
coincloud5964   ColeKepro 5.0     149495                          1.821E+12         Other          Active     145102   145102 Circle K                    525 TX-276 Hwy W                    Tawakoni           TX   75474   8/7/2021
coincloud5179   ColeKepro 5.0     148710                          1.821E+12     LUBBOCK, TX        Active     145842   145842 Claiborne's Thriftway       710 N 4th St                        Lamesa             TX   79331   8/7/2021
coincloud5902   ColeKepro 5.0     149433                          1.821E+12   Grand Prairie, TX    Active     139101   139101 Crump's Food Center         704 W Houston St                    Linden             TX   75563   8/7/2021
coincloud5247   ColeKepro 5.0     148778                          1.821E+12    San Antonio, TX     Active     135461   135461 H-E-B                       4801 San Dario Ave                  Laredo             TX   78041   8/7/2021
coincloud5258   ColeKepro 5.0     148789                          1.821E+12     MAGNOLIA,TX        Active     135608   135608 H-E-B                       301 N Wells St                      Edna               TX   77957   8/7/2021
coincloud5271   ColeKepro 5.0     148802                          1.821E+12     MAGNOLIA,TX        Active     135620   135620 H-E-B                       1841 Church St                      Gonzales           TX   78629   8/7/2021
coincloud5292   ColeKepro 5.0     148823                          1.821E+12     MAGNOLIA,TX        Active     135590   135590 H-E-B                       6106 N Navarro St                   Victoria           TX   77904   8/7/2021
coincloud5414   ColeKepro 5.0     148945                          1.821E+12    San Antonio,TX      Active     135478   135478 H-E-B                       310 N Westgate Dr                   Weslaco            TX   78596   8/7/2021
coincloud5416   ColeKepro 5.0     148947                          1.821E+12    San Antonio,TX      Active     135466   135466 H-E-B                       209 N Texas Ave                     Mercedes           TX   78570   8/7/2021
coincloud5418   ColeKepro 5.0     148949                          1.821E+12    San Antonio,TX      Active     135444   135444 H-E-B                       901 W Expy 83                       San Juan           TX   78589   8/7/2021
coincloud5420   ColeKepro 5.0     148951                          1.821E+12    San Antonio,TX      Active     135459   135459 H-E-B                       820 S Conway Ave                    Mission            TX   78572   8/7/2021
coincloud5413   ColeKepro 5.0     148944                          1.821E+12    San Antonio,TX      Active     135460   135460 H-E-B                       1004 Texas Blvd                     Weslaco            TX   78596   8/7/2021
coincloud5411   ColeKepro 5.0     148942                          1.821E+12    San Antonio,TX      Active     135579   135579 H-E-B                       901 Trenton Rd                      McAllen            TX   78504   8/7/2021
coincloud5410   ColeKepro 5.0     148941                          1.821E+12    San Antonio,TX      Active     135577   135577 H-E-B                       200 E Griffin Pkwy                  Mission            TX   78572   8/7/2021
coincloud5404   ColeKepro 5.0     148935                          1.821E+12    San Antonio,TX      Active     135468   135468 H-E-B                       200 Veterans Blvd                   Del Rio            TX   78840   8/7/2021
coincloud5405   ColeKepro 5.0     148936                          1.821E+12    San Antonio,TX      Active     135469   135469 H-E-B                       2135 E Main St                      Eagle Pass         TX   78852   8/7/2021
coincloud5402   ColeKepro 5.0     148933                          1.821E+12    San Antonio,TX      Active     135445   135445 H-E-B                       500 Pecan St                        Del Rio            TX   78840   8/7/2021
coincloud6035   ColeKepro 5.0     149566                          1.821E+12    San Antonio,TX      Active     135593   135593 H-E-B                       5801 Weber Rd                       Corpus Christi     TX   78413   8/7/2021
coincloud5695   ColeKepro 5.0     149226                          1.821E+12   Grand Prairie, TX    Active     125420          HL Distribution             1065 Texan Trail Rd                 Grapevine          TX   76051   8/7/2021
coincloud5205   ColeKepro 5.0     148736                          1.821E+12     LUBBOCK, TX        Active     145840   145840 La Tienda Thriftway         810 S Eddy St                       Pecos              TX   79772   8/7/2021
coincloud5146   ColeKepro 5.0     148677                          1.821E+12     LUBBOCK, TX        Active     141092   141092 Market Square               1814 Bill Mack St                   Shamrock           TX   79079   8/7/2021
coincloud5191   ColeKepro 5.0     158722                          1.821E+12     LUBBOCK, TX        Active     141094   141094 Market Square               1100 8th St                         Wellington         TX   79095   8/7/2021
coincloud5200   ColeKepro 5.0     148731                          1.821E+12     LUBBOCK, TX        Active     141095   141095 Market Square               300 E Oklahoma Ave                  Wheeler            TX   79096   8/7/2021
coincloud5242   ColeKepro 5.0     148773                          1.821E+12     MAGNOLIA,TX        Active     130528   130528 MINIT-Mart                  3165 Del Rio Blvd                   Eagle Pass         TX   78852   8/7/2021
coincloud5257   ColeKepro 5.0     148788                          1.821E+12     MAGNOLIA,TX        Active     130542   130542 MINIT-Mart                  697 Medina St                       Eagle Pass         TX   78852   8/7/2021
coincloud5265   ColeKepro 5.0     148796                          1.821E+12     MAGNOLIA,TX        Active     130535   130535 MINIT-Mart                  638 S Getty St                      Uvalde             TX   78801   8/7/2021
coincloud5299   ColeKepro 5.0     148830                          1.821E+12     MAGNOLIA,TX        Active     130530   130530 MINIT-Mart                  444 W Main St                       Uvalde             TX   78801   8/7/2021
coincloud5287   ColeKepro 5.0     148818                          1.821E+12     MAGNOLIA,TX        Active     130531   130531 MINIT-Mart                  1009 Veterans Blvd                  Del Rio            TX   78840   8/7/2021
coincloud5417   ColeKepro 5.0     148948                          1.821E+12     MAGNOLIA,TX        Active     130532   130532 MINIT-Mart                  2204 Milam Street                   Uvalde             TX   78801   8/7/2021
coincloud5276   ColeKepro 5.0     148807                          1.821E+12     MAGNOLIA,TX        Active     130536   130536 minits                      800 E Main St                       Uvalde             TX   78801   8/7/2021
coincloud5269   ColeKepro 5.0     148800                          1.821E+12     MAGNOLIA,TX        Active     127921   127921 Modern Pawn & Guns          1701 Airline Rd                     Corpus Christi     TX   78412   8/7/2021
coincloud5421   ColeKepro 5.0     148952                          1.821E+12     MAGNOLIA,TX        Active     130546   130546 NEU-MART                    3555 Bandera Hwy                    Kerrville          TX   78028   8/7/2021
coincloud5187   ColeKepro 5.0     148718                          1.821E+12     LUBBOCK, TX        Active     145010   145010 Spec's                      5510 4th St Suite 100               Lubbock            TX   79416   8/7/2021
coincloud5290   ColeKepro 5.0     148821                          1.821E+12     MAGNOLIA,TX        Active     134593   134593 Sunrise Food Mart           1539 Palo Alto Rd                   San Antonio        TX   78211   8/7/2021
coincloud5240   ColeKepro 5.0                                     1.821E+12                        Active     128218   128218 Toot'n Totum                7201 S Western St                   Amarillo           TX   79110   8/7/2021
coincloud5139   ColeKepro 5.0      148670                         1.821E+12    LUBBOCK, TX         Active     128226   128226 Toot'n Totum                6698 River Rd                       Amarillo           TX   79108   8/7/2021
coincloud5134   ColeKepro 5.0      148665                         1.821E+12    LUBBOCK, TX         Active     128238   128238 Toot'n Totum                119 Texas St                        Stratford          TX   79084   8/7/2021
coincloud5145   ColeKepro 5.0      148676                         1.821E+12    LUBBOCK, TX         Active     128217   128217 Toot'n Totum                3320 S Georgia St                   Amarillo           TX   79109   8/7/2021
coincloud5143   ColeKepro 5.0      148674                         1.821E+12    LUBBOCK, TX         Active     128220   128220 Toot'n Totum                4224 SW 34th Ave                    Amarillo           TX   79109   8/7/2021
coincloud5137   ColeKepro 5.0      148668                         1.821E+12    LUBBOCK, TX         Active     128227   128227 Toot'n Totum                301 S Ross St                       Amarillo           TX   79102   8/7/2021
coincloud5201   ColeKepro 5.0      148732                         1.821E+12    LUBBOCK, TX         Active     149057   149057 Toot'n Totum                808 N Interstate 27                 Plainview          TX   79072   8/7/2021
coincloud5203   ColeKepro 5.0      148734                         1.821E+12    LUBBOCK, TX         Active     128216   128216 Toot'n Totum                3201 Coulter St S                   Amarillo           TX   79109   8/7/2021
coincloud5207   ColeKepro 5.0      148738                         1.821E+12    LUBBOCK, TX         Active     128221   128221 Toot'n Totum                2700 I-40 West                      Amarillo           TX   79102   8/7/2021
coincloud5681   ColeKepro 5.0      149212                         1.821E+12   Grand Prairie, TX    Active     117934   117934 Dairyway Grocery            5235 W Davis St #101                Dallas             TX   75211   8/7/2021
coincloud5104   ColeKepro 5.0      148635                         1.821E+12      Kent, WA          Active     144697   144697 Fiesta Foods                1008 E Nob Hill                     Yakima             WA   98901   8/7/2021
coincloud5597   ColeKepro 5.0      149128                         1.821E+12      Kent, WA          Active     130519   130519 Grandview Market IGA        206 N Euclid Rd                     Grandview          WA   98930   8/7/2021
coincloud5613   ColeKepro 5.0      149144                         1.821E+12      Kent, WA          Active     138134   138134 Market Fresh                669 Lincoln Ave E                   Tenino             WA   98589   8/7/2021
coincloud5610   ColeKepro 5.0      149141                         1.821E+12      Kent, WA          Active     147419   147419 Morton Country Market       461 2nd St                          Morton             WA   98356   8/7/2021
coincloud5600   ColeKepro 5.0      149131                         1.821E+12      Kent, WA          Active     139108   139108 Moxee Market                105 S Iler St                       Moxee              WA   98936   8/7/2021
coincloud5586   ColeKepro 5.0      149117                         1.821E+12      Kent, WA          Active     137695   137695 Ocean Shores IGA            101 E Chance a La Mer               Ocean Shores       WA   98569   8/7/2021
coincloud5612   ColeKepro 5.0      149143                         1.821E+12      Kent, WA          Active     128591   128591 Pt Roberts Marketplace      480 Tyee Dr                         Point Roberts      WA   98281   8/7/2021
coincloud5615   ColeKepro 5.0      149146                         1.821E+12      Kent, WA          Active     137390   137390 Shop N Kart                 108 S Montesano St                  Westport           WA   98595   8/7/2021
coincloud5344   ColeKepro 5.0      148875                         1.821E+12      Kent, WA          Active     124308   124308 The Backyard Public House   1811 W Broadway Ave                 Spokane            WA   99201   8/7/2021
coincloud5587   ColeKepro 5.0      149118                         1.821E+12      Kent, WA          Active     145103   145103 Yo's Wishy Washy            1411 Williams Blvd                  Richland           WA   99354   8/7/2021
coincloud5462   ColeKepro 5.0      148993                         1.821E+12     Tualatin, OR       Active     130517   130517 Martin's Market Fresh IGA   130 Titchenal Rd                    Cashmere           WA   98815   8/7/2021
coincloud5382   ColeKepro 5.0      148913                         1.821E+12   San Antonio, TX     Warehouse   122396          Deadline Construction       19475 Alford Rd                     Magnolia           TX   77355   8/7/2021
coincloud5300   ColeKepro 5.0      148831                         1.821E+12    MAGNOLIA,TX        Warehouse   130539          Lile International          20427 87th Avenue South             Kent               WA   98031   8/7/2021
coincloud5609   ColeKepro 5.0      149140                         1.821E+12      Kent, WA         Warehouse   145013                                                                                                          8/7/2021
coincloud5692   ColeKepro 5.0      149223                         1.821E+12      Sloan, NV        Warehouse   125863          Sloan                                                                                           8/7/2021
coincloud5611   ColeKepro 5.0      149142         149145.USA      1.821E+12      Kent, WA          Active     137697   137697 Poulsbo Red Apple           20441 Viking Ave NW                 Poulsbo            WA   98370   8/7/2021
coincloud5646   ColeKepro 5.0      149177         149177.USA      1.821E+12   Grand Prairie, TX    Active     122360   122360 ACE Cash Express            319 E Front St                      Tyler              TX   75702   8/7/2021
coincloud498    APSM 1.1        5.41537E+14   41537000000066.US   1.821E+12                        Active     101558   101558 Shell                       8610 Airport Blvd                   Houston            TX   77061   9/19/2019
coincloud5388   ColeKepro 5.0      148919         148919.USA      1.821E+12    San Antonio, TX     Active     135475   135475 H-E-B                       2155 Paredes Line Rd                Brownsville        TX   78521   8/7/2021
coincloud5793   ColeKepro 5.0      149324         149432.USA      1.821E+12      Sanford, FL       Active     121444   121444 ACE Cash Express            4712 S Orange Blossom Trl           Orlando            FL   32839   8/7/2021
coincloud4993   ColeKepro 5.0      148524                                         Sloan, NV       Warehouse   137040          Sloan                                                                                           8/7/2021
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coincloud5862     ColeKepro 5.0   149393                                  Sloan, NV        Warehouse   130361          Sloan                                                                                                              8/7/2021
coincloud150912   ColeKepro 5.0   150912                                Sterling, VA       Warehouse                   Victory Vans                                     123 Terminal Drive               Sterling           VA   20166   8/7/2021
coincloud5023     ColeKepro 5.0   148554   148554.USA                     Sloan, NV        Warehouse   125731          Sloan                                                                                                             8/7/2021
coincloud5727     ColeKepro 5.0   149258   149258.USA                     Sloan, NV        Warehouse   130614          Sloan                                                                                                             8/7/2021
coincloud150980   ColeKepro 5.0   150980                                Sterling, VA       Warehouse                   Victory Vans                                     126 Terminal Drive               Sterling           VA   20166   8/7/2021
coincloud5365     ColeKepro 5.0   148896                                  Sloan, NV        Warehouse   122192          Sloan                                                                                                              8/7/2021
coincloud5631     ColeKepro 5.0   149162   149162.USA   2.321E+12      Hayward, CA          Active     121045   121045 ACE Cash Express                                 1296 W 11th St                   Tracy              CA   95376   8/7/2021
coincloud5635     ColeKepro 5.0   149166   149166.USA   2.321E+12      Hayward, CA          Active     149488   149488 Cashman Field                                    850 Las Vegas Blvd N             Las Vegas          NV   89101   8/7/2021
coincloud5637     ColeKepro 5.0   149168   149168.USA   2.321E+12      Hayward, CA          Active     121061   121061 ACE                                              456 E Hedding St                 San Jose           CA   95112   8/7/2021
coincloud5730     ColeKepro 5.0   149261   149261.USA   2.321E+12      Hayward, CA          Active     130049   130049 Los Amigos Family Food Center - San Joaquin      8676 8th St                      San Joaquin        CA   93660   8/7/2021
coincloud5736     ColeKepro 5.0   149267   149267.USA   2.321E+12      Hayward, CA          Active     129948   129948 Sirie Iphone Repairs                             15 Leland Ave                    SF                 CA   94134   8/7/2021
coincloud5740     ColeKepro 5.0   149271   149271.USA   2.321E+12      Creighton, PA        Active     121726   121726 ACE Cash Express                                 15701 Broadway Ave               Maple Heights      OH   44137   8/7/2021
coincloud5744     ColeKepro 5.0   149275   149275.USA   2.321E+12      Creighton, PA        Active     134885   134885 Berkley Supermarket                              201 E Berkley Ave                Norfolk            VA   23523   8/7/2021
coincloud5750     ColeKepro 5.0   149281   149281.USA   2.321E+12      Creighton, PA        Active     121818   121818 ACE                                              2723 S Arlington Rd              Akron              OH   44312    8/7/2021
coincloud5851     ColeKepro 5.0   149382   149382.USA   2.321E+12      Hayward, CA          Active     120975   120975 ACE Cash Express                                 6640 Valley Hi Dr                Sacramento         CA   95823   8/7/2021
coincloud5940     ColeKepro 5.0   149471   149471.USA   2.321E+12      Creighton, PA        Active     146479   146479 Thorntons                                        1550 Grand Blvd                  Hamilton           OH   45011   8/7/2021
coincloud5948     ColeKepro 5.0   149479   149479.USA   2.321E+12      Creighton, PA        Active     139461   139461 Guru conveniece store/ smoke shop                4123 Brownsville Rd              Brentwood          PA   15227   8/7/2021
coincloud5963     ColeKepro 5.0   149494   149494.USA   2.321E+12           Other           Active     134887   134887 Sin City Vapor                                   80 N Pecos Rd #J                 Henderson          NV   89074    8/7/2021
coincloud6034     ColeKepro 5.0   149565   149565.USA   2.321E+12     San Antonio,TX        Active     103171   103171 In & Out Express #1                              9423 Guilbeau Rd                 San Antonio        TX   78250   8/7/2021
coincloud6118     ColeKepro 5.0   149649   149649.USA   2.321E+12   City Of Industry, CA    Active     155263   155263 Love's                                           2000 E Tehachapi Blvd            Tehachapi          CA   93561   8/7/2021
coincloud6129     ColeKepro 5.0   149660   149660.USA   2.321E+12     San Antonio,TX        Active     147392   147392 Good2Go                                          3745 Corrales Rd                 Corrales           NM   87048   8/7/2021
coincloud5761     ColeKepro 5.0   149292                2.321E+12      Hayward, CA          Active     121125   121125 ACE                                              3540 S Mooney Blvd               Visalia            CA   93277   8/7/2021
coincloud5848     ColeKepro 5.0   149379                2.321E+12      Hayward, CA          Active     121071   121071 ACE                                              9001 International Blvd          Oakland            CA   94603   8/7/2021
coincloud5859     ColeKepro 5.0   149390                2.321E+12      Hayward, CA          Active     130466   130466 Liberty Market                                   16385 W Schendel Ave             Delhi              CA   95315   8/7/2021
coincloud5942     ColeKepro 5.0   149473                2.321E+12        Sanford, FL        Active     139531   139531 Piggly Wiggly                                    714 W 4th St                     Adel               GA   31620   8/7/2021
coincloud5880     ColeKepro 5.0   149411                2.321E+12    Riviera Beach, FL      Active     150973   150973 Minit Mart                                       1905 N Main St                   Jamestown          KY   42629   8/7/2021
coincloud6193     ColeKepro 5.0   149724                2.321E+12        Phoenix,AZ         Active     146534   146534 Thorntons                                        4516 Poplar Level Rd             Louisville         KY   40213   8/7/2021
coincloud5758     ColeKepro 5.0   149289                2.321E+12      Creighton, PA        Active     121707   121707 ACE                                              7933 Euclid Ave                  Cleveland          OH   44103   8/7/2021
coincloud5753     ColeKepro 5.0   149284                2.321E+12      Creighton, PA        Active     146495   146495 Thorntons                                        4600 Winchester Pike             Columbus           OH   43232   8/7/2021
coincloud5627     ColeKepro 5.0   149158                2.321E+12      Creighton, PA        Active     125188   125188 7-Eleven                                         2 Heckel Rd                      McKees Rocks       PA   15136   8/7/2021
143066.USA        ColeKepro 5.0   143066   143066.USA   2.521E+12                           Active     104371   104371 Quick Stop Liquor                                929 W Arrow Hwy                  Glendora           CA   91740   8/7/2021
coincloud2101     ColeKepro 3.0   144136   144136.USA   2.521E+12                           Active     150517   150517 Loaf 'N Jug                                      2810 Troy Ave                    Pueblo             CO   81001   10/2/2020
coincloud2384     ColeKepro 3.0   144427   144427.USA   2.521E+12       Odessa, TX          Active     139566   139566 Jerry's Market                                   1700 Periwinkle Way              Sanibel            FL   33957   10/2/2020
coincloud2392     ColeKepro 3.0   144427   144427.USA   2.521E+12                           Active     115402   115402 Redner's Warehouse Markets                       101 Held Dr                      Northampton        PA   18067   10/2/2020
coincloud3055     ColeKepro 3.0   145557   145557.USA   2.521E+12   City of Industry, CA    Active     147191   147191 Good2Go                                          85 N Main St                     Levan              UT   84639   10/2/2020
coincloud3368     ColeKepro 3.0   146003   146003.USA   2.521E+12                           Active     103726   103726 Family Meat Market                               1255 Buena Vista Ave             Stockton           CA   95203   10/2/2020
coincloud4344     ColeKepro 3.0   147878   147878.USA   2.521E+12                           Active     108143   108143 24/7 Smoke Shop                                  420 W Prince Rd                  Tucson             AZ   85705   10/2/2020
coincloud4540     ColeKepro 5.0   148074   148074.USA   2.521E+12      Nashville, TN        Active     130447   130447 Brickhouse Collectibles                          163 West End Ave                 Knoxville          TN   37934   8/7/2021
coincloud4785     ColeKepro 5.0   148316   148316.USA   2.521E+12      Westbury, NY         Active     135863   135863 Hillside IGA                                     207 Main St                      Fort Fairfield     ME    4742   8/7/2021
coincloud5047     ColeKepro 5.0   148578   148578.USA   2.521E+12      Magnolia, TX         Active     103316   103316 Singh Mart #2                                    2944 S Sam Houston Pkwy E        Houston            TX   77047   8/7/2021
coincloud5193     ColeKepro 5.0   148724   148724.USA   2.521E+12      LUBBOCK, TX          Active     135644   135644 H-E-B                                            10710 Research Blvd Suite 200    Austin             TX   78759   8/7/2021
coincloud5253     ColeKepro 5.0   148784   148784.USA   2.521E+12     San Antonio, TX       Active     150722   150722 Minit Mart                                       1989 US-231                      Beaver Dam         KY   42320   8/7/2021
coincloud5315     ColeKepro 5.0   148846   148846.USA   2.521E+12    Albuquerque, NM        Active     146829   146829 Gahm's market                                    50 Center St                     Lucasville         OH   45648   8/7/2021
coincloud5359     ColeKepro 5.0   148890   148890.USA   2.521E+12    Albuquerque, NM        Active     145831   145831 Farmer's Country Market                          2800 N Main St                   Roswell            NM   88201   8/7/2021
coincloud5370     ColeKepro 5.0   148901   148901.USA   2.521E+12        Kent, WA           Active     130492   130492 Garibaldi's Bay Market                           705 Garibaldi Ave                Garibaldi          OR   97118   8/7/2021
coincloud5424     ColeKepro 5.0   148955   148955.USA   2.521E+12   City Of Industry, CA    Active     155276   155276 Love's                                           760 Quartzsite Ave               Quartzsite         AZ   85346   8/7/2021
coincloud5426     ColeKepro 5.0   148957   148957.USA   2.521E+12   City Of Industry, CA    Active     121380   121380 ACE Cash Express                                 104 W Anaheim St                 WILMINGTON         CA   90744   8/7/2021
coincloud5427     ColeKepro 5.0   148958   148958.USA   2.521E+12   City Of Industry, CA    Active     155285   155285 Love's                                           640 AZ-90                        Benson             AZ   85602   8/7/2021
coincloud5432     ColeKepro 5.0   148963   148963.USA   2.521E+12   City Of Industry, CA    Active     121366   121366 ACE Cash Express                                 20115 Saticoy St                 WINNETKA           CA   91306   8/7/2021
coincloud5436     ColeKepro 5.0   148967   148967.USA   2.521E+12   City Of Industry, CA    Active     155266   155266 Love's                                           3175 Avenue 17                   Madera             CA   93638    8/7/2021
coincloud5441     ColeKepro 5.0   148972   148972.USA   2.521E+12   City Of Industry, CA    Active     155281   155281 Love's                                           5000 N Sunland Gin Rd            Eloy               AZ   85131   8/7/2021
coincloud5442     ColeKepro 5.0   148973   148973.USA   2.521E+12       Tualatin, OR        Active     120946   120946 ACE Cash Express                                 4975 Commercial St SE            Salem              OR   97302   8/7/2021
coincloud5444     ColeKepro 5.0   148975   148975.USA   2.521E+12       Tualatin, OR        Active     103502   103502 Portland Food Mart                               2419 SE Powell Blvd              Portland           OR   97202   8/7/2021
coincloud5446     ColeKepro 5.0   148977   148977.USA   2.521E+12       Tualatin, OR        Active     128478   128478 Beaumont Market                                  4130 NE Fremont St               Portland           OR   97212   8/7/2021
coincloud5448     ColeKepro 5.0   148979   148979.USA   2.521E+12       Tualatin, OR        Active     128855   128855 Sheriden Select Market                           135 S Bridge St                  Sheridan           OR   97378   8/7/2021
coincloud5454     ColeKepro 5.0   148985   148985.USA   2.521E+12       Tualatin, OR        Active     103038   103038 Mobil                                            50 NE Burnside Rd                Gresham            OR   97030   8/7/2021
coincloud5458     ColeKepro 5.0   148989   148989.USA   2.521E+12       Tualatin, OR        Active     137696   137696 Ralph's Red Apple                                6724 Kitsap Way                  Bremerton          WA   98312   8/7/2021
coincloud5459     ColeKepro 5.0   148990   148990.USA   2.521E+12       Tualatin, OR        Active     136620   136620 Pioneer Market                                   416 Morris St                    La Conner          WA   98257   8/7/2021
coincloud5460     ColeKepro 5.0   148991   148991.USA   2.521E+12       Tualatin, OR        Active     136619   136619 Pioneer Marketplace                              100 E State St                   Sedro-Woolley      WA   98284   8/7/2021
coincloud5464     ColeKepro 5.0   148995   148995.USA   2.521E+12       Tualatin, OR        Active     120937   120937 ACE Cash Express                                 845 S Broadway                   Coos Bay           OR   97420   8/7/2021
coincloud5465     ColeKepro 5.0   148996   148996.USA   2.521E+12       Tualatin, OR        Active     147474   147474 Mi Casa Market                                   723 W 3rd Ave                    Moses Lake         WA   98837   8/7/2021
coincloud5470     ColeKepro 5.0   149001   149001.USA   2.521E+12       Tualatin, OR        Active     120931   120931 ACE Cash Express                                 741 NE Stephens St               Roseburg           OR   97470   8/7/2021
coincloud5471     ColeKepro 5.0   149002   149002.USA   2.521E+12       Tualatin, OR        Active     120925   120925 ACE Cash Express                                 412 SE 7th St                    Grants Pass        OR   97526   8/7/2021
coincloud5472     ColeKepro 5.0   149003   149003.USA   2.521E+12       Tualatin, OR        Active     120964   120964 ACE                                              530 SE 10th Ave                  Hillsboro          OR   97123   8/7/2021
coincloud5473     ColeKepro 5.0   149004   149004.USA   2.521E+12       Tualatin, OR        Active     120956   120956 ACE Cash Express                                 11902 SE Stark St                Portland           OR   97216   8/7/2021
coincloud5474     ColeKepro 5.0   149005   149005.USA   2.521E+12       Tualatin, OR        Active     104153   104153 Quick Shop                                       17040 SW Whitley Way             Beaverton          OR   97006   8/7/2021
coincloud5475     ColeKepro 5.0   149006   149006.USA   2.521E+12       Tualatin, OR        Active     103098   103098                                               76 12975 SW Canyon Rd               Beaverton          OR   97005   8/7/2021
coincloud5476     ColeKepro 5.0   149007   149007.USA   2.521E+12       Tualatin, OR        Active     120940   120940 ACE Cash Express                                 895 W 7th Ave                    Eugene             OR   97402   8/7/2021
coincloud5479     ColeKepro 5.0   149010   149010.USA   2.521E+12       Raleigh, NC         Active     103711   103711 Wilderness Eagle Mart                            832 Old Apex Rd                  Cary               NC   27513   8/7/2021
coincloud5481     ColeKepro 5.0   149012   149012.USA   2.521E+12       Raleigh, NC         Active     103071   103071 Fairway One Stop #14                             1055 Randolph St                 Thomasville        NC   27360   8/7/2021
coincloud5486     ColeKepro 5.0   149017   149017.USA   2.521E+12       Raleigh, NC         Active     108254   108254 Family Coin Laundromat                           532 W Northwest Blvd             Winston-Salem      NC   27105   8/7/2021
coincloud5492     ColeKepro 5.0   149023   149023.USA   2.521E+12       Raleigh, NC         Active     121205   121205 ACE Cash Express                                 1529 W Innes St                  Salisbury          NC   28144   8/7/2021
coincloud5498     ColeKepro 5.0   149029   149029.USA   2.521E+12       Raleigh, NC         Active     121215   121215 ACE Cash Express                                 6111 South Blvd                  Charlotte          NC   28217   8/7/2021
coincloud5506     ColeKepro 5.0   149037   149037.USA   2.521E+12       Tualatin, OR        Active     101590   101590                                               76 515 NE 102nd Ave                 Portland           OR   97220   8/7/2021
coincloud5507     ColeKepro 5.0   149038   149038.USA   2.521E+12       Tualatin, OR        Active     104147   104147 Hoot Owl Market                                  6730 SW Capitol Hwy              Portland           OR   97219   8/7/2021
coincloud5509     ColeKepro 5.0   149040   149040.USA   2.521E+12       Tualatin, OR        Active     130460   130460 Mega Foods                                       3695 Devonshire Ave NE           Salem              OR   97305   8/7/2021
coincloud5512     ColeKepro 5.0   149043   149043.USA   2.521E+12       Raleigh, NC         Active     103049   103049 Lucky 7 Tobacco & Mini Mart                      851 Bragg Blvd                   Fayetteville       NC   28301   8/7/2021
coincloud5514     ColeKepro 5.0   149045   149045.USA   2.521E+12       Raleigh, NC         Active     141699   141699 Piggly Wiggly                                    1270 Yeamans Hall Rd             Charleston         SC   29410   8/7/2021
coincloud5515     ColeKepro 5.0   149046   149046.USA   2.521E+12       Raleigh, NC         Active     108604   108604 Oak Park Mart                                    6801 Glenwood Ave                Raleigh            NC   27612   8/7/2021
coincloud5516     ColeKepro 5.0   149047   149047.USA   2.521E+12       Raleigh, NC         Active     103047   103047 Yaya Food Mart                                   3122 Murchison Rd                Fayetteville       NC   28301   8/7/2021
coincloud5517     ColeKepro 5.0   149048   149048.USA   2.521E+12       Raleigh, NC         Active     103224   103224 Best Stop 2                                      3937 Leaphart Rd                 West Columbia      SC   29169   8/7/2021
coincloud5523     ColeKepro 5.0   149054   149054.USA   2.521E+12       Raleigh, NC         Active     103225   103225 City Gas & Food Inc                              1301 Bush River Rd               Columbia           SC   29210   8/7/2021
coincloud5524     ColeKepro 5.0   149055   149055.USA   2.521E+12       Raleigh, NC         Active     107936   107936 Tommy's Mini Mart                                1382 N Church St                 Burlington         NC   27217   8/7/2021
coincloud5525     ColeKepro 5.0   149056   149056.USA   2.521E+12       Raleigh, NC         Active     140984   140984 Adam's Smoke Shop                                4540 Socastee Blvd               Myrtle Beach       SC   29588   8/7/2021
coincloud5527     ColeKepro 5.0   149058   149058.USA   2.521E+12       Tualatin, OR        Active     120918   120918 ACE                                              244 NE Franklin Ave              Bend               OR   97701   8/7/2021
coincloud5528     ColeKepro 5.0   149059   149059.USA   2.521E+12       Tualatin, OR        Active     120942   120942 ACE Cash Express                                 820 Pacific Blvd SE              Albany             OR   97322   8/7/2021
coincloud5529     ColeKepro 5.0   149060   149060.USA   2.521E+12       Tualatin, OR        Active     120935   120935 ACE Cash Express                                 177 Q St                         Springfield        OR   97477   8/7/2021
coincloud5530     ColeKepro 5.0   149061   149061.USA   2.521E+12       Tualatin, OR        Active     120927   120927 ACE Cash Express                                 2352 Poplar Dr                   Medford            OR   97504   8/7/2021
coincloud5531     ColeKepro 5.0   149062   149062.USA   2.521E+12       Tualatin, OR        Active     120968   120968 ACE Cash Express                                 3110 SW Cedar Hills Blvd         Beaverton          OR   97005   8/7/2021
coincloud5532     ColeKepro 5.0   149063   149063.USA   2.521E+12       Tualatin, OR        Active     130491   130491 Sunrise Market                                   3505 Lancaster Dr NE             Salem              OR   97305   8/7/2021
coincloud5533     ColeKepro 5.0   149064   149064.USA   2.521E+12       Tualatin, OR        Active     120954   120954 ACE                                              2722 N Lombard St                Portland           OR   97217   8/7/2021
coincloud5535     ColeKepro 5.0   149066   149066.USA   2.521E+12       Raleigh, NC         Active     152083   152083 401 Temple Ave                                   401 Temple Ave                   Colonial Heights   VA   23834   8/7/2021
coincloud5536     ColeKepro 5.0   149067   149067.USA   2.521E+12       Raleigh, NC         Active     141706   141706 Piggly Wiggly                                    9616 Hwy 78                      Ladson             SC   29456   8/7/2021
coincloud5539     ColeKepro 5.0   149070   149070.USA   2.521E+12      Suwanee, GA          Active     121373   121373 ACE Cash Express                                 2841 Greenbriar Pkwy SW          Atlanta            GA   30331   8/7/2021
coincloud2055     ColeKepro 3.0   149070   149070.USA   2.521E+12                           Active     146552   146552 Thorntons                                        2401 E Morgan Ave                Evansville         IN   47711   10/2/2020
coincloud5540     ColeKepro 5.0   149071   149071.USA   2.521E+12      Suwanee, GA          Active     136320   136320 Piggly Wiggly                                    1042 US-80                       Pooler             GA   31322   8/7/2021
coincloud5543     ColeKepro 5.0   149074   149074.USA   2.521E+12     Indianapolis, IN      Active     138300   138300 Piggly Wiggly                                    100 E Geneva Square              Lake Geneva        WI   53147   8/7/2021
coincloud5545     ColeKepro 5.0   149076   149076.USA   2.521E+12     Indianapolis, IN      Active     137522   137522 Glory Supermarket                                8000 Outer Dr W                  Detroit            MI   48235   8/7/2021
coincloud5546     ColeKepro 5.0   149077   149077.USA   2.521E+12     Indianapolis, IN      Active     138301   138301 Piggly Wiggly                                    1414 E Geneva St                 Delavan            WI   53115   8/7/2021
coincloud5547     ColeKepro 5.0   149078   149078.USA   2.521E+12     Indianapolis, IN      Active     139831   139831 Baeslers SuperValue                              2900 Poplar St                   Terre Haute        IN   47803   8/7/2021
coincloud5550     ColeKepro 5.0   149081   149081.USA   2.521E+12     Indianapolis, IN      Active     136231   136231 Chelsea Gas and Goods                            5 S Fletcher Rd                  Chelsea            MI   48118   8/7/2021
coincloud5562     ColeKepro 5.0   149093   149093.USA   2.521E+12     Indianapolis, IN      Active     121827   121827 ACE                                              3516 W Siebenthaler Ave          Dayton             OH   45406   8/7/2021
coincloud5565     ColeKepro 5.0   149096   149096.USA   2.521E+12     Indianapolis, IN      Active     138299   138299 Piggly Wiggly                                    2801 14th Pl                     Kenosha            WI   53140   8/7/2021
coincloud5571     ColeKepro 5.0   149102   149102.USA   2.521E+12      Suwanee, GA          Active     121340   121340 ACE Cash Express                                 3570 Memorial Dr                 Decatur            GA   30032   8/7/2021
coincloud5573     ColeKepro 5.0   149104   149104.USA   2.521E+12      Suwanee, GA          Active     137548   137548 Save A Lot                                       9332 US-19                       Port Richey        FL   34668   8/7/2021
coincloud5574     ColeKepro 5.0   149105   149105.USA   2.521E+12      Suwanee, GA          Active     121626   121626 ACE Cash Express                                 2400 SW College Rd               Ocala              FL   34471   8/7/2021
coincloud5575     ColeKepro 5.0   149106   149106.USA   2.521E+12      Suwanee, GA          Active     137536   137536 Save A Lot                                       8854 State Rd 52                 Hudson             FL   34669   8/7/2021
coincloud5576     ColeKepro 5.0   149107   149107.USA   2.521E+12      Suwanee, GA          Active     145851   145851 Contender eSports                                4511 Olde Perimeter Way #400     Atlanta            GA   30346   8/7/2021
coincloud5577     ColeKepro 5.0   149108   149108.USA   2.521E+12      Suwanee, GA          Active     126930   126930 Food Depot                                       6525 Hiram Douglasville Hwy      Douglasville       GA   30134   8/7/2021
coincloud5578     ColeKepro 5.0   149109   149109.USA   2.521E+12      Suwanee, GA          Active     139989   139989 Fresh Food Town                                  4604 E Ponce de Leon Ave         Clarkston          GA   30021   8/7/2021
coincloud5599     ColeKepro 5.0   149130   149130.USA   2.521E+12        Kent, WA           Active     130398   130398 Wray's Chalet                                    5605 Summitview Ave              Yakima             WA   98908   8/7/2021
coincloud5636     ColeKepro 5.0   149167   149167.USA   2.521E+12      Hayward, CA          Active     121092   121092 ACE                                              2038 Mission St                  SF                 CA   94110   8/7/2021
coincloud5640     ColeKepro 5.0   149171   149171.USA   2.521E+12    Grand Prairie, TX      Active     141097   141097 Top Value                                        402 S Main St                    Eufaula            OK   74432   8/7/2021
coincloud5645     ColeKepro 5.0   149176   149176.USA   2.521E+12    Grand Prairie, TX      Active     122178   122178 ACE Cash Express                                 3330 N Galloway Ave #Suite 317   Mesquite           TX   75150   8/7/2021
coincloud5654     ColeKepro 5.0   149185   149185.USA   2.521E+12    Grand Prairie, TX      Active     135771   135771 H-E-B                                            3301 Sherwood Way                San Angelo         TX   76901   8/7/2021
coincloud5657     ColeKepro 5.0   149188   149188.USA   2.521E+12    Grand Prairie, TX      Active     104343   104343 Spring Valley Laundry                            7879 Spring Valley Rd ##147      Dallas             TX   75254   8/7/2021
coincloud5772     ColeKepro 5.0   149303   149303.USA   2.521E+12       Sanford, FL         Active     121642   121642 ACE                                              1346 W N Blvd                    Leesburg           FL   34748   8/7/2021
coincloud5774     ColeKepro 5.0   149305   149305.USA   2.521E+12       Sanford, FL         Active     137527   137527 Save A Lot                                       13017 Cortez Blvd                Brooksville        FL   34613   8/7/2021
                                 Case 23-10423-mkn                                       Doc 36-2              Entered 02/08/23 19:55:21                                Page 145 of 217


coincloud5788   ColeKepro 5.0   149319   149319.USA   2.521E+12       Sanford, FL         Active   121420   121420 ACE Cash Express            806 NE Waldo Rd                  Gainesville        FL   32641   8/7/2021
coincloud5815   ColeKepro 5.0   149346   149346.USA   2.521E+12       Sanford, FL         Active   121386   121386 ACE Cash Express            4328 Augusta Rd                  Garden City        GA   31408   8/7/2021
coincloud5826   ColeKepro 5.0   149357   149357.USA   2.521E+12         Other             Active   125172   125172 Mariana's Supermarket       2325 E Cheyenne Ave              North Las Vegas    NV   89030   8/7/2021
coincloud5829   ColeKepro 5.0   149360   149360.USA   2.521E+12      Suwanee, GA          Active   137545   137545 Save A Lot                  6536 Massachusetts Ave           New Port Richey    FL   34653   8/7/2021
coincloud5831   ColeKepro 5.0   149362   149362.USA   2.521E+12      Suwanee, GA          Active   121346   121346 ACE Cash Express            3675 Satellite Blvd, Suite 830   Duluth             GA   30096   8/7/2021
coincloud2111   ColeKepro 3.0   149362   149362.USA   2.521E+12                           Active   139031   139031 My Broken Phone             6030 Winthrop Town Centre Ave    Riverview          FL   33578   10/2/2020
coincloud5833   ColeKepro 5.0   149364   149364.USA   2.521E+12      Suwanee, GA          Active   121384   121384 ACE Cash Express            350 Shallowford Rd D             Gainesville        GA   30504   8/7/2021
coincloud5834   ColeKepro 5.0   149365   149365.USA   2.521E+12      Suwanee, GA          Active   137535   137535 Save A Lot                  1824 US-19                       Holiday            FL   34691   8/7/2021
coincloud5836   ColeKepro 5.0   149367   149367.USA   2.521E+12      Suwanee, GA          Active   147051   147051 Boost Mobile                6602 GA-85                       Riverdale          GA   30274    8/7/2021
coincloud1857   ColeKepro 3.0   149367   149367.USA   2.521E+12                           Active   130503   130503 Circle K                    2400 Virginia Pkwy               McKinney           TX   75071   10/2/2020
coincloud5837   ColeKepro 5.0   149368   149368.USA   2.521E+12          Other            Active   125171   125171 Mariana's Supermarket       4151 S Eastern Ave               Las Vegas          NV   89119   8/7/2021
coincloud2105   ColeKepro 3.0   149368   149368.USA   2.521E+12                           Active   146559   146559 Thorntons                   202 10th St                      Jeffersonville     IN   47130   10/2/2020
coincloud5839   ColeKepro 5.0   149370   149370.USA   2.521E+12      Suwanee, GA          Active   126918   126918 Food Depot                  5530 Bells Ferry Rd              Acworth            GA   30102   8/7/2021
coincloud5842   ColeKepro 5.0   149373   149373.USA   2.521E+12      Suwanee, GA          Active   137526   137526 Save A Lot                  12060 US-19 #N                   Bayonet Point      FL   34667   8/7/2021
coincloud5843   ColeKepro 5.0   149374   149374.USA   2.521E+12      Suwanee, GA          Active   126914   126914 Food Depot                  3205 S Cobb Dr SE # B            Smyrna             GA   30080   8/7/2021
coincloud5849   ColeKepro 5.0   149380   149380.USA   2.521E+12     Indianapolis, IN      Active   139830   139830 Baesler's Market            277 S Section St                 Sullivan           IN   47882   8/7/2021
coincloud5863   ColeKepro 5.0   149394   149394.USA   2.521E+12     Indianapolis, IN      Active   137520   137520 Glory Supermarket           14100 Woodward Ave               Highland Park      MI   48203   8/7/2021
coincloud5864   ColeKepro 5.0   149395   149395.USA   2.521E+12     Indianapolis, IN      Active   101437   101437 BP Gas                      2704 Crittenden Dr               Louisville         KY   40209   8/7/2021
coincloud5872   ColeKepro 5.0   149403   149403.USA   2.521E+12     Indianapolis, IN      Active   104240   104240 DownTown Market             45 E Muskegon Ave                Muskegon           MI   49440   8/7/2021
coincloud5873   ColeKepro 5.0   149404   149404.USA   2.521E+12     Indianapolis, IN      Active   136868   136868 DonÃ¢â‚¬â„¢s IGA            651 S Madison St                 Lebanon            IL   62254   8/7/2021
coincloud5874   ColeKepro 5.0   149405   149405.USA   2.521E+12     Indianapolis, IN      Active   104235   104235 Galewood Foods              1149 Burton St SW                Wyoming            MI   49509   8/7/2021
coincloud5883   ColeKepro 5.0   149414   149414.USA   2.521E+12     Indianapolis, IN      Active   130220   130220 Hoopeston IGA               1030 W Chestnut St               Hoopeston          IL   60942   8/7/2021
coincloud5885   ColeKepro 5.0   149416   149416.USA   2.521E+12     Indianapolis, IN      Active   104217   104217 Seymoure Party Store        606 Seymour Ave                  Jackson            MI   49202   8/7/2021
coincloud5886   ColeKepro 5.0   149417   149417.USA   2.521E+12     Indianapolis, IN      Active   130359   130359 Fast Cash & Pawn USA        929 E Ogden Ave                  Naperville         IL   60563   8/7/2021
coincloud5889   ColeKepro 5.0   149420   149420.USA   2.521E+12     Indianapolis, IN      Active   130164   130164 Leroy IGA                   200 S Chestnut St                Le Roy             IL   61752   8/7/2021
coincloud5891   ColeKepro 5.0   149422   149422.USA   2.521E+12     Indianapolis, IN      Active   138909   138909 Piggly Wiggly               100 Jefferson St                 Cambridge          WI   53523   8/7/2021
coincloud1387   ColeKepro 3.0   149422   149422.USA   2.521E+12                           Active   101524   101524 Chevron                     16505 Victory Blvd               Los Angeles        CA   91406   10/2/2020
coincloud5892   ColeKepro 5.0   149423   149423.USA   2.521E+12     Indianapolis, IN      Active   147309   147309 Dashtys convenience store   1104 N Dearborn St               Chicago            IL   60610   8/7/2021
coincloud5894   ColeKepro 5.0   149425   149425.USA   2.521E+12    Grand Prairie, TX      Active   135796   135796 H-E-B                       5502 Sherwood Way                San Angelo         TX   76901   8/7/2021
coincloud5895   ColeKepro 5.0   149426   149426.USA   2.521E+12    Grand Prairie, TX      Active   122335   122335 ACE Cash Express            980 N Walnut Creek Dr            Mansfield          TX   76063   8/7/2021
coincloud5896   ColeKepro 5.0   149427   149427.USA   2.521E+12    Riviera Beach, FL      Active   146521   146521 Thorntons                   7920 Bardstown Rd                Louisville         KY   40291   8/7/2021
coincloud5905   ColeKepro 5.0   149436   149436.USA   2.521E+12    Riviera Beach, FL      Active   146519   146519 Thorntons                   3300 Bardstown Rd                Louisville         KY   40218   8/7/2021
coincloud5913   ColeKepro 5.0   149444   149444.USA   2.521E+12    Riviera Beach, FL      Active   146522   146522 Thorntons                   9200 Preston Hwy                 Louisville         KY   40229   8/7/2021
coincloud5962   ColeKepro 5.0   149493   149493.USA   2.521E+12     San Antonio,TX        Active   150464   150464 Minit Mart                  669 Three Springs Rd             Bowling Green      KY   42104   8/7/2021
coincloud5965   ColeKepro 5.0   149496   149496.USA   2.521E+12     San Antonio,TX        Active   144579   144579 Family Center IGA           416 S Alister St                 Aransas            TX   78373   8/7/2021
coincloud5969   ColeKepro 5.0   149500   149500.USA   2.521E+12    Grand Prairie, TX      Active   141096   141096 Top Value                   1000 W Gentry Ave                Checotah           OK   74426   8/7/2021
coincloud5970   ColeKepro 5.0   149501   149501.USA   2.521E+12     San Antonio,TX        Active   143955   143955 Spec's                      10810 International Blvd         Laredo             TX   78045   8/7/2021
coincloud5971   ColeKepro 5.0   149502   149502.USA   2.521E+12     San Antonio,TX        Active   135588   135588 H-E-B                       1145 Waldron Rd                  Corpus Christi     TX   78418   8/7/2021
coincloud5972   ColeKepro 5.0   149503   149503.USA   2.521E+12     San Antonio,TX        Active   143953   143953 Spec's                      101 Keller Smithfield Rd         Keller             TX   76248   8/7/2021
coincloud5974   ColeKepro 5.0   149505   149505.USA   2.521E+12     San Antonio,TX        Active   101431   101431 S.A. Food Mart              4660 Thousand Oaks               San Antonio        TX   78233   8/7/2021
coincloud5978   ColeKepro 5.0   149509   149509.USA   2.521E+12     San Antonio,TX        Active   103182   103182 Lee Food Market             1501 S Gevers St                 San Antonio        TX   78210   8/7/2021
coincloud5979   ColeKepro 5.0   149510   149510.USA   2.521E+12    Grand Prairie, TX      Active   150740   150740 Cumberland Farms            297 Pulaski Blvd                 Bellingham         MA    2019   8/7/2021
coincloud5981   ColeKepro 5.0   149512   149512.USA   2.521E+12    Grand Prairie, TX      Active   150525   150525 Loaf 'N Jug                 415 Ambassador Thompson Blvd     Las Animas         CO   81054   8/7/2021
coincloud5982   ColeKepro 5.0   149513   149513.USA   2.521E+12     San Antonio,TX        Active   135614   135614 H-E-B                       3033 S Port Ave                  Corpus Christi     TX   78405   8/7/2021
coincloud5983   ColeKepro 5.0   149514   149514.USA   2.521E+12     San Antonio,TX        Active   135589   135589 H-E-B                       5313 Saratoga Blvd               Corpus Christi     TX   78413   8/7/2021
coincloud5985   ColeKepro 5.0   149516   149516.USA   2.521E+12    Grand Prairie, TX      Active   140298   140298 Catoosa Vapors +            750 S Cherokee St #suite h       Catoosa            OK   74015   8/7/2021
coincloud5987   ColeKepro 5.0   149518   149518.USA   2.521E+12    Grand Prairie, TX      Active   151115   151115 Cumberland Farms            901 Victory Hwy                  North Smithfield   RI    2896   8/7/2021
coincloud5990   ColeKepro 5.0   149521   149521.USA   2.521E+12     San Antonio,TX        Active   135597   135597 H-E-B                       700 S St Marys St                Falfurrias         TX   78355   8/7/2021
coincloud5992   ColeKepro 5.0   149523   149523.USA   2.521E+12    Grand Prairie, TX      Active   141098   141098 Top Value                   208 W Main St                    Stigler            OK   74462   8/7/2021
coincloud5993   ColeKepro 5.0   149524   149524.USA   2.521E+12    Grand Prairie, TX      Active   142009   142009 Williams Foods              602 W Central Blvd               Anadarko           OK   73005   8/7/2021
coincloud5997   ColeKepro 5.0   149528   149528.USA   2.521E+12    Grand Prairie, TX      Active   135793   135793 H-E-B                       2501 W University Blvd           Odessa             TX   79764   8/7/2021
coincloud5998   ColeKepro 5.0   149529   149529.USA   2.521E+12    Grand Prairie, TX      Active   150828   150828 Cumberland Farms            433 S Main St                    Sharon             MA    2067   8/7/2021
coincloud6000   ColeKepro 5.0   149531   149531.USA   2.521E+12     San Antonio,TX        Active   145356   145356 H-E-B Convenience Store     2216 N Conway Ave                Mission            TX   78572   8/7/2021
coincloud6001   ColeKepro 5.0   149532   149532.USA   2.521E+12     San Antonio,TX        Active   150719   150719 Minit Mart                  3790 Palomar Centre Dr           Lexington          KY   40513   8/7/2021
coincloud6002   ColeKepro 5.0   149533   149533.USA   2.521E+12     San Antonio,TX        Active   135805   135805 H-E-B                       10718 Potranco Rd                San Antonio        TX   78251   8/7/2021
coincloud6005   ColeKepro 5.0   149536   149536.USA   2.521E+12     San Antonio,TX        Active   150672   150672 Certified Oil               8117 US-60                       Ashland            KY   41102   8/7/2021
coincloud6009   ColeKepro 5.0   149540   149540.USA   2.521E+12      Suwanee, GA          Active   146528   146528 Thorntons                   2700 Fern Valley Rd              Louisville         KY   40213   8/7/2021
coincloud6011   ColeKepro 5.0   149542   149542.USA   2.521E+12      Suwanee, GA          Active   136317   136317 Piggly Wiggly               528 N Church St                  Homerville         GA   31634   8/7/2021
coincloud6014   ColeKepro 5.0   149545   149545.USA   2.521E+12     San Antonio,TX        Active   147391   147391 Good2Go                     580 Unser Blvd SE                Rio Rancho         NM   87124   8/7/2021
coincloud6015   ColeKepro 5.0   149546   149546.USA   2.521E+12     San Antonio,TX        Active   150439   150439 Minit Mart                  4560 Iron Works Pike             Lexington          KY   40511   8/7/2021
coincloud6020   ColeKepro 5.0   149551   149551.USA   2.521E+12      Suwanee, GA          Active   121354   121354 ACE Cash Express            6762 GA-85                       Riverdale          GA   30274    8/7/2021
coincloud6022   ColeKepro 5.0   149553   149553.USA   2.521E+12     San Antonio,TX        Active   150721   150721 Minit Mart                  3011 Nashville Rd                Bowling Green      KY   42101   8/7/2021
CoinCloud6023   ColeKepro 5.0   149554   149554.USA   2.521E+12     San Antonio,TX        Active   135811   135811 H-E-B                       2130 Culebra Rd                  San Antonio        TX   78228   8/7/2021
coincloud6032   ColeKepro 5.0   149563   149563.USA   2.521E+12     San Antonio,TX        Active   135615   135615 H-E-B                       1600 Wildcat Dr                  Portland           TX   78374   8/7/2021
coincloud6033   ColeKepro 5.0   149564   149564.USA   2.521E+12     San Antonio,TX        Active   103168   103168 Stop-N-Joy                  5214 Callaghan Rd                San Antonio        TX   78228   8/7/2021
coincloud6036   ColeKepro 5.0   149567   149567.USA   2.521E+12     San Antonio,TX        Active   135601   135601 H-E-B                       206 S Alamo St                   Refugio            TX   78377   8/7/2021
coincloud6037   ColeKepro 5.0   149568   149568.USA   2.521E+12     San Antonio,TX        Active   103175   103175 Brazos Food Mart            1822 S Brazos St                 San Antonio        TX   78207   8/7/2021
coincloud6038   ColeKepro 5.0   149569   149569.USA   2.521E+12     San Antonio,TX        Active   147396   147396 Good2Go                     1655 Main St SW                  Los Lunas          NM   87031   8/7/2021
coincloud6039   ColeKepro 5.0   149570   149570.USA   2.521E+12   City Of Industry, CA    Active   121393   121393 ACE Cash Express            1648 W Carson St                 Torrance           CA   90501   8/7/2021
coincloud6041   ColeKepro 5.0   149572   149572.USA   2.521E+12     San Antonio,TX        Active   122439   122439 ACE Cash Express            534 N New Braunfels Ave          San Antonio        TX   78202   8/7/2021
coincloud6044   ColeKepro 5.0   149575   149575.USA   2.521E+12     San Antonio,TX        Active   150444   150444 Minit Mart                  100 Appian Path                  Georgetown         KY   40324   8/7/2021
coincloud6045   ColeKepro 5.0   149576   149576.USA   2.521E+12     San Antonio,TX        Active   150438   150438 Minit Mart                  3110 Richmond Rd                 Lexington          KY   40502   8/7/2021
coincloud6046   ColeKepro 5.0   149577   149577.USA   2.521E+12     San Antonio,TX        Active   150440   150440 Minit Mart                  1998 Harrodsburg Rd              Lexington          KY   40504   8/7/2021
coincloud6048   ColeKepro 5.0   149579   149579.USA   2.521E+12   City Of Industry, CA    Active   121232   121232 ACE Cash Express            1393 N Hacienda Blvd             La Puente          CA   91744   8/7/2021
coincloud6050   ColeKepro 5.0   149581   149581.USA   2.521E+12   City Of Industry, CA    Active   121179   121179 ACE Cash Express            745 E Foothill Blvd              Rialto             CA   92376   8/7/2021
coincloud6057   ColeKepro 5.0   149588   149588.USA   2.521E+12   City Of Industry, CA    Active   155282   155282 Love's                      820 W Pima St                    Gila Bend          AZ   85337   8/7/2021
coincloud6064   ColeKepro 5.0   149595   149595.USA   2.521E+12   City Of Industry, CA    Active   121582   121582 ACE Cash Express            500 E WASHINGTON BLVD            LOS ANGELES        CA   90015   8/7/2021
coincloud6068   ColeKepro 5.0   149599   149599.USA   2.521E+12     San Antonio,TX        Active   150953   150953 Minit Mart                  4096 Nichols Park Dr             Lexington          KY   40503   8/7/2021
coincloud6069   ColeKepro 5.0   149600   149600.USA   2.521E+12     San Antonio,TX        Active   150465   150465 Minit Mart                  4455 Russellville Rd             Bowling Green      KY   42101   8/7/2021
coincloud6071   ColeKepro 5.0   149602   149602.USA   2.521E+12     San Antonio,TX        Active   135586   135586 H-E-B                       200 U.S. Expressway 83           McAllen            TX   78501   8/7/2021
coincloud6072   ColeKepro 5.0   149603   149603.USA   2.521E+12     San Antonio,TX        Active   135801   135801 H-E-B                       925 10th St                      Floresville        TX   78114   8/7/2021
coincloud6075   ColeKepro 5.0   149606   149606.USA   2.521E+12   City Of Industry, CA    Active   155278          Ready Office Furniture      1515 N Kraemer Blvd, Unit H      Anaheim            CA   92806   8/7/2021
coincloud6076   ColeKepro 5.0   149607   149607.USA   2.521E+12     San Antonio,TX        Active   135857   135857 H-E-B                       12125 Alamo Ranch Pkwy           San Antonio        TX   78253   8/7/2021
coincloud6077   ColeKepro 5.0   149608   149608.USA   2.521E+12     San Antonio,TX        Active   103177   103177 Metro Express               702 S WW White Rd                San Antonio        TX   78220   8/7/2021
coincloud6078   ColeKepro 5.0   149609   149609.USA   2.521E+12     San Antonio,TX        Active   135587   135587 H-E-B                       308 E Main Ave                   Robstown           TX   78380   8/7/2021
coincloud6079   ColeKepro 5.0   149610   149610.USA   2.521E+12     San Antonio,TX        Active   103179   103179 Little Sam                  3215 Roosevelt Ave               San Antonio        TX   78214   8/7/2021
coincloud6080   ColeKepro 5.0   149611   149611.USA   2.521E+12     San Antonio,TX        Active   135599   135599 H-E-B                       1115 E Main St                   Alice              TX   78332   8/7/2021
coincloud6085   ColeKepro 5.0   149616   149616.USA   2.521E+12     San Antonio,TX        Active   150437   150437 Minit Mart                  1070 Newtown Pike                Lexington          KY   40511   8/7/2021
coincloud6089   ColeKepro 5.0   149620   149620.USA   2.521E+12                           Active   135800   135800 H-E-B                       19337 McDonald St                Lytle              TX   78052   8/7/2021
coincloud6091   ColeKepro 5.0   149622   149622.USA   2.521E+12     San Antonio,TX        Active   150954   150954 Minit Mart                  109 Towne Center Dr              Lexington          KY   40511   8/7/2021
coincloud6092   ColeKepro 5.0   149623   149623.USA   2.521E+12     San Antonio,TX        Active   150434   150434 Minit Mart                  1975 Nicholasville Rd            Lexington          KY   40503   8/7/2021
coincloud6097   ColeKepro 5.0   149628   149628.USA   2.521E+12     San Antonio,TX        Active   135828   135828 H-E-B                       219 W Oaklawn Rd                 Pleasanton         TX   78064   8/7/2021
coincloud6098   ColeKepro 5.0   149629   149629.USA   2.521E+12     San Antonio,TX        Active   135779   135779 H-E-B                       601 Indian Trail                 Harker Heights     TX   76548   8/7/2021
coincloud6103   ColeKepro 5.0   149634   149634.USA   2.521E+12    Riviera Beach, FL      Active   136928   136928 The Casino @ Dania Beach    301 E Dania Beach Blvd           Dania Beach        FL   33004   8/7/2021
coincloud6104   ColeKepro 5.0   149635   149635.USA   2.521E+12    Riviera Beach, FL      Active   146539   146539 Thorntons                   8400 Dixie Hwy                   Louisville         KY   40258   8/7/2021
coincloud6110   ColeKepro 5.0   149641   149641.USA   2.521E+12    Riviera Beach, FL      Active   146508   146508 Thorntons                   4170 Taylor Blvd                 Louisville         KY   40215   8/7/2021
coincloud6111   ColeKepro 5.0   149642   149642.USA   2.521E+12    Riviera Beach, FL      Active   146529   146529 Thorntons                   4500 S 3rd St                    Louisville         KY   40214   8/7/2021
coincloud6113   ColeKepro 5.0   149644   149644.USA   2.521E+12     San Antonio,TX        Active   135842   135842 H-E-B                       1520 Austin Hwy                  San Antonio        TX   78218   8/7/2021
coincloud6116   ColeKepro 5.0   149647   149647.USA   2.521E+12     San Antonio,TX        Active   147400   147400 Good2Go                     1535 Coors Blvd NW               Albuquerque        NM   87121   8/7/2021
coincloud6119   ColeKepro 5.0   149650   149650.USA   2.521E+12   City Of Industry, CA    Active   121158   121158 ACE Cash Express            1221 N State St                  San Jacinto        CA   92583   8/7/2021
coincloud6120   ColeKepro 5.0   149651   149651.USA   2.521E+12     San Antonio,TX        Active   147401   147401 Good2Go                     1111 Rio Grande Blvd NW          Albuquerque        NM   87104   8/7/2021
coincloud6121   ColeKepro 5.0   149652   149652.USA   2.521E+12     San Antonio,TX        Active   135851   135851 H-E-B                       302 Valley Hi Dr                 San Antonio        TX   78227   8/7/2021
coincloud6122   ColeKepro 5.0   149653   149653.USA   2.521E+12     San Antonio,TX        Active   135838   135838 H-E-B                       407 S Adams St                   Fredericksburg     TX   78624   8/7/2021
coincloud6123   ColeKepro 5.0   149654   149654.USA   2.521E+12     San Antonio,TX        Active   142367   142367 Border Town Food #3         219 E Expy 83                    Sullivan           TX   78595   8/7/2021
coincloud6125   ColeKepro 5.0   149656   149656.USA   2.521E+12     San Antonio,TX        Active   147393   147393 Good2Go                     1475 Rio Rancho Blvd SE          Rio Rancho         NM   87124   8/7/2021
coincloud6126   ColeKepro 5.0   149657   149657.USA   2.521E+12     San Antonio,TX        Active   135831   135831 H-E-B                       3323 SE Military Dr              San Antonio        TX   78223   8/7/2021
coincloud6127   ColeKepro 5.0   149658   149658.USA   2.521E+12     San Antonio,TX        Active   143958   143958 Spec's                      1520 Airport Fwy                 Bedford            TX   76022   8/7/2021
coincloud6128   ColeKepro 5.0   149659   149659.USA   2.521E+12     San Antonio,TX        Active   150463   150463 Minit Mart                  1051 Fairview Ave                Bowling Green      KY   42101   8/7/2021
coincloud6130   ColeKepro 5.0   149661   149661.USA   2.521E+12     San Antonio,TX        Active   135830   135830 H-E-B                       735 SW Military Dr               San Antonio        TX   78221   8/7/2021
coincloud6136   ColeKepro 5.0   149667   149667.USA   2.521E+12   City Of Industry, CA    Active   121199   121199 ACE Cash Express            22 W 7th St                      Calexico           CA   92231   8/7/2021
coincloud6137   ColeKepro 5.0   149668   149668.USA   2.521E+12   City Of Industry, CA    Active   130223   130223 Daniel's Market             5256 S Mission Rd                Bonsall            CA   92003   8/7/2021
coincloud6139   ColeKepro 5.0   149670   149670.USA   2.521E+12   City Of Industry, CA    Active   121201   121201 ACE Cash Express            283 Main St                      Brawley            CA   92227   8/7/2021
coincloud6141   ColeKepro 5.0   149672   149672.USA   2.521E+12   City Of Industry, CA    Active   121225   121225 ACE                         740 E Arrow Hwy                  Pomona             CA   91767   8/7/2021
coincloud6148   ColeKepro 5.0   149679   149679.USA   2.521E+12    Riviera Beach, FL      Active   129138   129138 Techy Fort Lauderdale       3000 SW 4th Ave                  Fort Lauderdale    FL   33315   8/7/2021
coincloud6152   ColeKepro 5.0   149683   149683.USA   2.521E+12   City Of Industry, CA    Active   149486   149486 Cashman Field               850 Las Vegas Blvd N             Las Vegas          NV   89101   8/7/2021
coincloud6156   ColeKepro 5.0   149687   149687.USA   2.521E+12   City Of Industry, CA    Active   121127   121127 ACE Cash Express            290 E Cross Ave                  Tulare             CA   93274   8/7/2021
coincloud6157   ColeKepro 5.0   149688   149688.USA   2.521E+12   City Of Industry, CA    Active   155262   155262 Love's                      2700 S Blackstone St             Tulare             CA   93274   8/7/2021
coincloud6158   ColeKepro 5.0   149689   149689.USA   2.521E+12   City Of Industry, CA    Active   121110   121110 ACE Cash Express            1821 W Ave I                     Lancaster          CA   93534   8/7/2021
                                   Case 23-10423-mkn                                       Doc 36-2              Entered 02/08/23 19:55:21                                                       Page 146 of 217


coincloud6164     ColeKepro 5.0   149695   149695.USA   2.521E+12     San Antonio,TX        Active   150436   150436 Minit Mart                                        435 W New Cir Rd                    Lexington          KY   40511   8/7/2021
coincloud6165     ColeKepro 5.0   149696   149696.USA   2.521E+12     San Antonio,TX        Active   150467   150467 Minit Mart                                        810 Morgantown Rd                   Bowling Green      KY   42101   8/7/2021
coincloud6166     ColeKepro 5.0   149697   149697.USA   2.521E+12     San Antonio,TX        Active   147390   147390 Good2Go                                           3215 Isleta Blvd SW                 Albuquerque        NM   87105   8/7/2021
coincloud6173     ColeKepro 5.0   149704   149704.USA   2.521E+12   City Of Industry, CA    Active   121211   121211 ACE Cash Express                                  7900 El Cajon Blvd                  La Mesa            CA   91942   8/7/2021
coincloud6177     ColeKepro 5.0   149708   149708.USA   2.521E+12   City Of Industry, CA    Active   121203   121203 ACE Cash Express                                  4874 Genesee Ave                    San Diego          CA   92117   8/7/2021
coincloud6179     ColeKepro 5.0   149710   149710.USA   2.521E+12   City Of Industry, CA    Active   121204   121204 ACE Cash Express                                  950 E Vista Way                     Vista              CA   92084   8/7/2021
coincloud6186     ColeKepro 5.0   149717   149717.USA   2.521E+12        Phoenix,AZ         Active   147416   147416 Good2Go                                           1555 E AZ-69                        Prescott           AZ   86301   8/7/2021
coincloud6191     ColeKepro 5.0   149722   149722.USA   2.521E+12        Phoenix,AZ         Active   146569   146569 Thorntons                                         3333 US-41                          Terre Haute        IN   47802   8/7/2021
coincloud6196     ColeKepro 5.0   149727   149727.USA   2.521E+12        Phoenix,AZ         Active   155022   155022 Love's                                            157 US-93                           Wells              NV   89835   8/7/2021
coincloud6197     ColeKepro 5.0   149728   149728.USA   2.521E+12        Phoenix,AZ         Active   146922   146922 Cardenas Markets                                  2545 S Eastern Ave                  Las Vegas          NV   89169   8/7/2021
coincloud6206     ColeKepro 5.0   149737   149737.USA   2.521E+12   City of Industry,CA     Active   151061   151061 Cumberland Farms                                  3 Main St                           Kennebunk          ME    4043   8/7/2021
coincloud6212     ColeKepro 5.0   149743   149743.USA   2.521E+12   City of Industry,CA     Active   147182   147182 Good2Go                                           1490 Fremont Ave                    Idaho Falls        ID   83402   8/7/2021
coincloud6214     ColeKepro 5.0   149745   149745.USA   2.521E+12   City of Industry,CA     Active   147200   147200 Good2Go                                           403 Jurassic Ave                    Fruita             CO   81521   8/7/2021
coincloud6216     ColeKepro 5.0   149747   149747.USA   2.521E+12   City of Industry,CA     Active   147198   147198 Good2Go                                           745 Horizon Dr                      Grand Junction     CO   81506   8/7/2021
coincloud6218     ColeKepro 5.0   149749   149749.USA   2.521E+12   City of Industry,CA     Active   151129   151129 Cumberland Farms                                  311 Main St                         Oxford             MA    1540   8/7/2021
coincloud6230     ColeKepro 5.0   149761   149761.USA   2.521E+12        Phoenix,AZ         Active   155024   155024 Love's                                            1701 Great Basin Blvd               Ely                NV   89301   8/7/2021
coincloud6244     ColeKepro 5.0   149775   149775.USA   2.521E+12   City of Industry,CA     Active   160035   160035 Stop and Shop                                     1385 Hancock St                     Quincy             MA    2169   8/7/2021
coincloud6245     ColeKepro 5.0   149776   149776.USA   2.521E+12        Phoenix,AZ         Active   146567   146567 Thorntons                                         4015 E 82nd St                      Indianapolis       IN   46250   8/7/2021
coincloud6251     ColeKepro 5.0   149782   149782.USA   2.521E+12   City of Industry,CA     Active   151391   151391 Cumberland Farms                                  205 Main St                         Wilmington         MA    1887   8/7/2021
coincloud6257     ColeKepro 5.0   149788   149788.USA   2.521E+12   City of Industry,CA     Active   150769   150769 Cumberland Farms                                  60 Henniker St                      Hillsboro          NH    3244   8/7/2021
coincloud6262     ColeKepro 5.0   149793   149793.USA   2.521E+12   City of Industry,CA     Active   150765   150765 Cumberland Farms                                  452 Amherst St                      Nashua             NH    3063   8/7/2021
coincloud6271     ColeKepro 5.0   149802   149802.USA   2.521E+12   City Of Industry, CA    Active   121359   121359 ACE Cash Express                                  14526 Sherman Way                   Van Nuys           CA   91405   8/7/2021
coincloud6272     ColeKepro 5.0   149803   149803.USA   2.521E+12   City Of Industry, CA    Active   121144   121144 ACE Cash Express                                  620 E 6th St                        Corona             CA   92879   8/7/2021
coincloud6274     ColeKepro 5.0   149805   149805.USA   2.521E+12   City Of Industry, CA    Active   121156   121156 ACE Cash Express                                  560 W 19th St                       Costa Mesa         CA   92627   8/7/2021
coincloud6277     ColeKepro 5.0   149808   149808.USA   2.521E+12       Raleigh, NC         Active   103391   103391 Oglethorpe Mall                                   7804 Abercorn Extention             Savannah           GA   31406   8/7/2021
coincloud6279     ColeKepro 5.0   149810   149810.USA   2.521E+12   City Of Industry, CA    Active   121185   121185 ACE Cash Express                                  16184 Foothill Blvd                 Fontana            CA   92335   8/7/2021
coincloud6280     ColeKepro 5.0   149811   149811.USA   2.521E+12   City Of Industry, CA    Active   155272   155272 Love's                                            2974 Lenwood Rd                     Barstow            CA   92311   8/7/2021
coincloud6283     ColeKepro 5.0   149814   149814.USA   2.521E+12        Phoenix,AZ         Active   146654   146654 Thorntons                                         7600 W 159th St                     Orland Park        IL   60462   8/7/2021
coincloud6289     ColeKepro 5.0   149820   149820.USA   2.521E+12   City of Industry,CA     Active   151853   151853 Cumberland Farms                                  102 Manchester St                   Concord            NH    3301   8/7/2021
coincloud6427     ColeKepro 5.0   149958   149958.USA   2.521E+12       Magnolia,TX         Active   145360   145360 H-E-B Convenience Store                           11652 Bandera Rd Bldg 1 Suite 101   San Antonio        TX   78254   8/7/2021
coincloud6435     ColeKepro 5.0   149966   149966.USA   2.521E+12       Magnolia,TX         Active   103144   103144 Stop N Go                                         3600 Bagby Ave                      Waco               TX   76711   8/7/2021
coincloud6442     ColeKepro 5.0   149973   149973.USA   2.521E+12       Magnolia,TX         Active   135823   135823 H-E-B                                             300 W Olmos Dr                      San Antonio        TX   78212   8/7/2021
coincloud6482     ColeKepro 5.0   150013   150013.USA   2.521E+12     New Orleans,LA        Active   143257   143257 Oak Point Fresh Market                            35045 Hwy 16                        Denham Springs     LA   70706   8/7/2021
coincloud6509     ColeKepro 5.0   150040   150040.USA   2.521E+12     New Orleans,LA        Active   148833   148833 Shell Gas & Mart                                  35 Rebecca St                       Mathiston          MS   39752   8/7/2021
coincloud6533     ColeKepro 5.0   150064   150064.USA   2.521E+12     New Orleans,LA        Active   137569   137569 Save A Lot                                        1020 S 6th Ave                      Wauchula           FL   33873   8/7/2021
coincloud6558     ColeKepro 5.0   150089   150089.USA   2.521E+12      Mount Joy,PA         Active   153176   153176 Turkey Hill                                       301 Linden St                       Columbia           PA   17512   8/7/2021
coincloud6619     ColeKepro 5.0   150150   150150.USA   2.521E+12        Raleigh,NC         Active   103219   103219 Energy Market                                     8480 Rivers Ave                     North Charleston   SC   29406   8/7/2021
coincloud6622     ColeKepro 5.0   150153   150153.USA   2.521E+12        Raleigh,NC         Active   141696   141696 Piggly Wiggly                                     365 S Georgetown Hwy                Johnsonville       SC   29555   8/7/2021
coincloud151097   ColeKepro 5.0   151097   151097.USA   2.521E+12       Sterling, VA        Active   152160   152160 Royal Farms                                       118 Mt Carmel Rd                    Parkton            MD   21120   8/7/2021
coincloud5428     ColeKepro 5.0   148959                2.521E+12   City Of Industry, CA    Active   155279   155279 Love's                                            6035 Minerva Ln                     Kingman            AZ   86401   8/7/2021
coincloud6174     ColeKepro 5.0   149705                2.521E+12   City Of Industry, CA    Active   155283   155283 Love's                                            7001 W Sundust Rd                   Chandler           AZ   85226   8/7/2021
coincloud6134     ColeKepro 5.0   149665                2.521E+12   City Of Industry, CA    Active   155275   155275 Love's                                            8313 W Roosevelt St                 Tolleson           AZ   85353   8/7/2021
coincloud6275     ColeKepro 5.0   149806                2.521E+12   City Of Industry, CA    Active   155277   155277 Love's                                            14414 S Cross L Rd                  Mayer              AZ   86333   8/7/2021
coincloud6375     ColeKepro 5.0   149906                2.521E+12        Conway,SC          Active   142329   142329 Quality                                           1485 N Main St                      San Luis           AZ   85349   8/7/2021
coincloud5955     ColeKepro 5.0   149486                2.521E+12      Hayward, CA          Active   121067   121067 ACE                                               2300 Cutting Blvd                   Richmond           CA   94804   8/7/2021
coincloud5435     ColeKepro 5.0   148966                2.521E+12   City Of Industry, CA    Active   155269   155269 Love's                                            2120 South Ave                      Corning            CA   96021   8/7/2021
coincloud5433     ColeKepro 5.0   148964                2.521E+12   City Of Industry, CA    Active   155270   155270 Love's                                            45-761 Dillon Rd                    Coachella          CA   92236   8/7/2021
coincloud5430     ColeKepro 5.0   148961                2.521E+12   City Of Industry, CA    Active   155265   155265 Love's                                            1553 W Colony Rd                    Ripon              CA   95366   8/7/2021
coincloud6140     ColeKepro 5.0   149671                2.521E+12   City Of Industry, CA    Active   155271   155271 Love's                                            27201 Boron Frontage Rd N           Boron              CA   93516   8/7/2021
coincloud6178     ColeKepro 5.0   149709                2.521E+12   City Of Industry, CA    Active   155260   155260 Love's                                            100 Marguerite St                   Williams           CA   95987   8/7/2021
coincloud6066     ColeKepro 5.0   149597                2.521E+12   City Of Industry, CA    Active   155267   155267 Love's                                            21948 CA-46                         Lost Hills         CA   93249   8/7/2021
coincloud6055     ColeKepro 5.0   149586                2.521E+12   City Of Industry, CA    Active   155274          Ready Office Furniture                            1515 N Kraemer Blvd, Unit H         Anaheim            CA   92806   8/7/2021
coincloud6288     ColeKepro 5.0   149819                2.521E+12   City of Industry,CA     Active   155268   155268 Love's                                            15250 Thornton Rd                   Lodi               CA   95242   8/7/2021
coincloud5877     ColeKepro 5.0   149408                2.521E+12    Riviera Beach, FL      Active   145977   145977 Techy By Dr Phone Fix & Computer Repair Tamiami   11461 SW 40th St                    Miami              FL   33165   8/7/2021
coincloud5580     ColeKepro 5.0   149111                2.521E+12      Suwanee, GA          Active   147052   147052 Boost Mobile                                      4919 Flat Shoals Pkwy               Decatur            GA   30034   8/7/2021
coincloud6021     ColeKepro 5.0   149552                2.521E+12      Suwanee, GA          Active   147043   147043 Boost Mobile                                      5935 Jimmy Carter Blvd              Norcross           GA   30071   8/7/2021
coincloud6018     ColeKepro 5.0   149549                2.521E+12      Suwanee, GA          Active   147042   147042 Boost Mobile                                      4606 Memorial Dr                    Decatur            GA   30032   8/7/2021
coincloud5567     ColeKepro 5.0   149098                2.521E+12      Suwanee, GA          Active   126925   126925 Food Depot                                        5723 Rockbridge Rd SW               Stone Mountain     GA   30087   8/7/2021
coincloud5569     ColeKepro 5.0   149100                2.521E+12      Suwanee, GA          Active   126840   126840 Food Depot                                        792 Morrow Rd                       Forest Park        GA   30297   8/7/2021
coincloud5844     ColeKepro 5.0   149375                2.521E+12      Suwanee, GA          Active   126836   126836 Food Depot                                        664 W Bankhead Hwy                  Villa Rica         GA   30180   8/7/2021
coincloud5840     ColeKepro 5.0   149371                2.521E+12      Suwanee, GA          Active   126838   126838 Food Depot                                        5345 Floyd Rd SW                    Mableton           GA   30126   8/7/2021
coincloud6013     ColeKepro 5.0   149544                2.521E+12      Suwanee, GA          Active   136316   136316 Piggly Wiggly                                     75 S Valdosta Rd                    Lakeland           GA   31635   8/7/2021
coincloud6012     ColeKepro 5.0   149543                2.521E+12      Suwanee, GA          Active   136319   136319 Piggly Wiggly                                     15759 US-17                         Townsend           GA   31331   8/7/2021
coincloud6017     ColeKepro 5.0   149548                2.521E+12      Suwanee, GA          Active   136318   136318 Piggly Wiggly                                     8524 US-280                         East Ellabell      GA   31308   8/7/2021
coincloud5349     ColeKepro 5.0   148880                2.521E+12    Albuquerque, NM        Active   143260   143260 Casey's General Store                             4400 128th Street                   Urbandale          IA   50323   8/7/2021
coincloud5361     ColeKepro 5.0   148892                2.521E+12    Albuquerque, NM        Active   143262   143262 Casey's General Store                             1020 Gateway Dr                     Carlisle           IA   50047   8/7/2021
coincloud5558     ColeKepro 5.0   149089                2.521E+12     Indianapolis, IN      Active   127787   127787 ABC 95TH                                          9510 S Halsted St                   Chicago            IL   60628   8/7/2021
coincloud5865     ColeKepro 5.0   149396                2.521E+12     Indianapolis, IN      Active   130162   130162 Arthur IGA                                        215 S Vine St                       Arthur             IL   61911   8/7/2021
coincloud5890     ColeKepro 5.0   149421                2.521E+12     Indianapolis, IN      Active   127856   127856 ChiTown Food&Liquor                               5002 N Pulaski Rd                   Chicago            IL   60630   8/7/2021
coincloud5850     ColeKepro 5.0   149381                2.521E+12     Indianapolis, IN      Active   130221   130221 Eureka IGA                                        514 W Center St                     Eureka             IL   61530   8/7/2021
coincloud5866     ColeKepro 5.0   149397                2.521E+12     Indianapolis, IN      Active   145217   145217 Hollywood Liquors on mattis                       1101 N Mattis Ave                   Champaign          IL   61821   8/7/2021
coincloud5316     ColeKepro 5.0   148847                2.521E+12    Albuquerque, NM        Active   150445   150445 Minit Mart                                        403 E Norris Dr                     Ottawa             IL   61350   8/7/2021
coincloud6155     ColeKepro 5.0   149686                2.521E+12        Phoenix,AZ         Active   150428   150428 Minit Mart                                        6490 N Walnut St Rd                 Springfield        IL   62707   8/7/2021
coincloud6223     ColeKepro 5.0   149754                2.521E+12        Phoenix,AZ         Active   150447   150447 Minit Mart                                        501 McKinley Ave #614               Bartonville        IL   61607    8/7/2021
coincloud5867     ColeKepro 5.0   149398                2.521E+12     Indianapolis, IN      Active   135871   135871 Oregon Supervalue                                 204 N 4th St                        Oregon             IL   61061   8/7/2021
coincloud5887     ColeKepro 5.0   149418                2.521E+12     Indianapolis, IN      Active   147035   147035 Shop Now                                          1942 Maple Ave                      Evanston           IL   60201   8/7/2021
coincloud5882     ColeKepro 5.0   149413                2.521E+12     Indianapolis, IN      Active   130468   130468 SMOKEY'S VAPE SMOKE                               3933 Fountain Square Pl             Waukegan           IL   60085   8/7/2021
coincloud5555     ColeKepro 5.0   149086                2.521E+12     Indianapolis, IN      Active   146613   146613 Thorntons                                         1141 E 162nd St                     South Holland      IL   60473   8/7/2021
coincloud5870     ColeKepro 5.0   149401                2.521E+12     Indianapolis, IN      Active   146606   146606 Thorntons                                         2330 Burr Oak Ave                   Blue Island        IL   60406   8/7/2021
coincloud5893     ColeKepro 5.0   149424                2.521E+12     Indianapolis, IN      Active   146595   146595 Thorntons                                         25461 S Ridgeland Ave               Monee              IL   60449   8/7/2021
coincloud6192     ColeKepro 5.0   149723                2.521E+12        Phoenix,AZ         Active   146632   146632 Thorntons                                         12052 Western Ave                   Blue Island        IL   60406   8/7/2021
coincloud5557     ColeKepro 5.0   149088                2.521E+12     Indianapolis, IN      Active   144792   144792 VJ TOBACCO                                        19138 88th Ave                      Mokena             IL   60448   8/7/2021
coincloud5551     ColeKepro 5.0   149082                2.521E+12     Indianapolis, IN      Active   137197   137197 Tabb's Food & Liquor                              2600 W Chicago Ave                  Chicago            IL   60622   8/7/2021
coincloud5548     ColeKepro 5.0   149079                2.521E+12     Indianapolis, IN      Active   130367   130367 Ameripawn                                         1415 E Lincolnway                   Valparaiso         IN   46383   8/7/2021
coincloud5553     ColeKepro 5.0   149084                2.521E+12     Indianapolis, IN      Active   130368   130368 Ameripawn                                         2437 Monroe St                      La Porte           IN   46350   8/7/2021
coincloud5869     ColeKepro 5.0   149400                2.521E+12     Indianapolis, IN      Active   130218   130218 Clinton IGA                                       1047 Western Ave                    Clinton            IN   47842   8/7/2021
coincloud4227     ColeKepro 3.0   147761                2.521E+12       Bighton, CO         Active   146573   146573 Thorntons                                         12001 US-31                         Edinburgh          IN   46124   10/2/2020
coincloud6180     ColeKepro 5.0   149711                2.521E+12        Phoenix,AZ         Active   146616   146616 Thorntons                                         7425 Washington St #Ste 1           Indianapolis       IN   46219   8/7/2021
coincloud6226     ColeKepro 5.0   149757                2.521E+12        Phoenix,AZ         Active   146570   146570 Thorntons                                         7020 Pendleton Pike                 Lawrence           IN   46226   8/7/2021
coincloud5549     ColeKepro 5.0   149080                2.521E+12     Indianapolis, IN      Active   146840   146840 Your CBD Store - Westfield, IN                    17435 A Carey Rd                    Westfield          IN   46074   8/7/2021
coincloud5915     ColeKepro 5.0   149446                2.521E+12    Riviera Beach, FL      Active   150972   150972 Minit Mart                                        410 W Main St                       Auburn             KY   42206   8/7/2021
coincloud5918     ColeKepro 5.0   149449                2.521E+12    Riviera Beach, FL      Active   150442   150442 Minit Mart                                        201 W Hal Rogers Pkwy               London             KY   40741   8/7/2021
coincloud5908     ColeKepro 5.0   149439                2.521E+12    Riviera Beach, FL      Active   150462   150462 Minit Mart                                        1200 Campbell Ln                    Bowling Green      KY   42104   8/7/2021
coincloud5906     ColeKepro 5.0   149437                2.521E+12    Riviera Beach, FL      Active   150975   150975 Minit Mart                                        511 N College St                    Harrodsburg        KY   40330   8/7/2021
coincloud5907     ColeKepro 5.0   149438                2.521E+12    Riviera Beach, FL      Active   150466   150466 Minit Mart                                        480 Gallatin Rd                     Scottsville        KY   42164   8/7/2021
coincloud6101     ColeKepro 5.0   149632                2.521E+12    Riviera Beach, FL      Active   150432   150432 Minit Mart                                        2300 Versailles Rd                  Lexington          KY   40504   8/7/2021
coincloud6108     ColeKepro 5.0   149639                2.521E+12    Riviera Beach, FL      Active   150455   150455 Minit Mart                                        1080 Harding Rd                     Franklin           KY   42134   8/7/2021
coincloud6106     ColeKepro 5.0   149637                2.521E+12    Riviera Beach, FL      Active   150456   150456 Minit Mart                                        1397 New Gallatin Rd                Scottsville        KY   42164   8/7/2021
coincloud5327     ColeKepro 5.0   148858                2.521E+12    Albuquerque, NM        Active   146540   146540 Thorntons                                         4731 KY-146                         Buckner            KY   40010   8/7/2021
coincloud5827     ColeKepro 5.0   149358                2.521E+12    Riviera Beach, FL      Active   146537   146537 Thorntons                                         3320 Preston Hwy                    Louisville         KY   40213   8/7/2021
coincloud5878     ColeKepro 5.0   149409                2.521E+12    Riviera Beach, FL      Active   146538   146538 Thorntons                                         4154 Bardstown Rd                   Louisville         KY   40218   8/7/2021
coincloud5898     ColeKepro 5.0   149429                2.521E+12    Riviera Beach, FL      Active   146527   146527 Thorntons                                         1521 Dixie Hwy                      Louisville         KY   40210   8/7/2021
coincloud5900     ColeKepro 5.0   149431                2.521E+12    Riviera Beach, FL      Active   146524   146524 Thorntons                                         4136 Cane Run Rd                    Louisville         KY   40216   8/7/2021
coincloud5916     ColeKepro 5.0   149447                2.521E+12    Riviera Beach, FL      Active   146546   146546 Thorntons                                         3726 Taylorsville Rd                Louisville         KY   40220   8/7/2021
coincloud5921     ColeKepro 5.0   149452                2.521E+12    Riviera Beach, FL      Active   146533   146533 Thorntons                                         8405 National Turnpike              Louisville         KY   40214   8/7/2021
coincloud5920     ColeKepro 5.0   149451                2.521E+12    Riviera Beach, FL      Active   146526   146526 Thorntons                                         1804 Blankenbaker Pkwy              Louisville         KY   40299   8/7/2021
coincloud6010     ColeKepro 5.0   149541                2.521E+12      Suwanee, GA          Active   146511   146511 Thorntons                                         2300 Woodhill Dr                    Lexington          KY   40509   8/7/2021
coincloud6149     ColeKepro 5.0   149680                2.521E+12    Riviera Beach, FL      Active   146512   146512 Thorntons                                         3255 Bardstown Rd                   Louisville         KY   40205   8/7/2021
coincloud6107     ColeKepro 5.0   149638                2.521E+12    Riviera Beach, FL      Active   146542   146542 Thorntons                                         11700 Dixie Hwy                     Louisville         KY   40272   8/7/2021
coincloud5324     ColeKepro 5.0   148855                2.521E+12    Albuquerque, NM        Active   142896   142896 Beller Ekamjit Food Market                        504 Upton Ave                       Battle Creek       MI   49037   8/7/2021
coincloud5554     ColeKepro 5.0   149085                2.521E+12     Indianapolis, IN      Active   144793   144793 Daysha's Convenient Store                         715 Douglas Ave                     Kalamazoo          MI   49508   8/7/2021
coincloud5560     ColeKepro 5.0   149091                2.521E+12     Indianapolis, IN      Active   137521   137521 Glory Supermarket                                 22150 Coolidge Hwy                  Oak Park           MI   48237   8/7/2021
coincloud6326     ColeKepro 5.0   149857                2.521E+12     Kansas City,MO        Active   140794   140794 Prenger's Quick Lube                              403 S Missouri St                   Macon              MO   63552   8/7/2021
coincloud5484     ColeKepro 5.0   149015                2.521E+12       Raleigh, NC         Active   103717   103717 Lynn's Stop & Shop                                5161 NC-27                          Iron Station       NC   28080   8/7/2021
coincloud6190     ColeKepro 5.0   149721                2.521E+12        Phoenix,AZ         Active   147398   147398 Good2Go                                           1101 N California St                Socorro            NM   87801   8/7/2021
coincloud5330     ColeKepro 5.0   148861                2.521E+12    Albuquerque, NM        Active   145839   145839 La Tienda                                         1301 S Canal St                     Carlsbad           NM   88220   8/7/2021
coincloud6195     ColeKepro 5.0   149726                2.521E+12        Phoenix,AZ         Active   147964   147964 Pueblo Latino Gasolinera                          2631 Cerrillos Rd                   Santa Fe           NM   87505   8/7/2021
coincloud5332     ColeKepro 5.0   148863                2.521E+12    Albuquerque, NM        Active   145837   145837 Smokey's Country Market                           116 Smokey Bear Blvd                Capitan            NM   88316   8/7/2021
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coincloud5838   ColeKepro 5.0   149369                       2.521E+12          Other            Active     125169   125169 Marianas Supermarket              3631 W Sahara Ave                 Las Vegas         NV    89102    8/7/2021
coincloud5564   ColeKepro 5.0   149095                       2.521E+12     Indianapolis, IN      Active     121826   121826 ACE                               4981 Vine St                      Cincinnati        OH    45217   8/7/2021
coincloud5989   ColeKepro 5.0   149520                       2.521E+12    Grand Prairie, TX      Active     142332   142332 Burn Culture Vape, CBD & Kratom   5925 E Admiral Pl                 Tulsa             OK    74115   8/7/2021
coincloud5986   ColeKepro 5.0   149517                       2.521E+12    Grand Prairie, TX      Active     142022   142022 Williams Express                  821 W Main St                     Stroud            OK    74079    8/7/2021
coincloud5996   ColeKepro 5.0   149527                       2.521E+12    Grand Prairie, TX      Active     142021   142021 Williams Express                  6809 E. Hwy 37                    Tuttle            OK    73089   8/7/2021
coincloud5995   ColeKepro 5.0   149526                       2.521E+12    Grand Prairie, TX      Active     142019   142019 Williams Express                  212 S Hwy 92                      Amber             OK    73004   8/7/2021
coincloud5661   ColeKepro 5.0   149192                       2.521E+12    Grand Prairie, TX      Active     142006   142006 Williams Foods                    1812 E 1st St                     Chandler          OK    74834    8/7/2021
coincloud5651   ColeKepro 5.0   149182                       2.521E+12    Grand Prairie, TX      Active     142005   142005 Williams Foods                    100 Don Williams Ave              Tuttle            OK    73089   8/7/2021
coincloud5709   ColeKepro 5.0   149240                       2.521E+12    Grand Prairie, TX      Active     142013   142013 Williams Foods                    720 E Broadway St                 Drumright         OK    74030   8/7/2021
coincloud5452   ColeKepro 5.0   148983                       2.521E+12       Tualatin, OR        Active     128479   128479 Mt. Hood Village Market           73265 E Hwy 26                    Rhododendren      OR    97049   8/7/2021
coincloud5457   ColeKepro 5.0   148988                       2.521E+12       Tualatin, OR        Active     104165   104165 Super Mart #11                    3300 Oregon Coast Hwy             Gearhart          OR    97138    8/7/2021
coincloud5466   ColeKepro 5.0   148997                       2.521E+12       Tualatin, OR        Active     128856   128856 Willamina Select                  112 NW Main St                    Willamina         OR    97396   8/7/2021
coincloud6340   ColeKepro 5.0   149871                       2.521E+12       Sterling, VA        Active     137406   137406 Save A Lot                        150 S MacDade Blvd                Darby             PA    19023    8/7/2021
coincloud5513   ColeKepro 5.0   149044                       2.521E+12       Raleigh, NC         Active     103392   103392 Columbiana Centre Mall            100 Columbiana Cir                Columbia          SC    29212   8/7/2021
coincloud6618   ColeKepro 5.0   150149                       2.521E+12        Raleigh,NC         Active     144692   144692 J&L tobacco quality               1318 N Main St                    Marion            SC    29571   8/7/2021
coincloud5538   ColeKepro 5.0   149069                       2.521E+12       Raleigh, NC         Active     141694   141694 Piggly Wiggly                     5583 Memorial Blvd                St George         SC    29477    8/7/2021
coincloud5511   ColeKepro 5.0   149042                       2.521E+12       Raleigh, NC         Active     141695   141695 Piggly Wiggly                     810 Elm St E                      Hampton           SC    29924    8/7/2021
coincloud6380   ColeKepro 5.0   149911                       2.521E+12    Kansas City,MO         Active     146045   146045 Lewis Drug                        5500 W 41st St                    Sioux Falls       SD    57106   8/7/2021
coincloud5911   ColeKepro 5.0   149442                       2.521E+12    Riviera Beach, FL      Active     150968   150968 Minit Mart                        1110 S Jefferson Ave              Cookeville        TN    38506    8/7/2021
coincloud5912   ColeKepro 5.0   149443                       2.521E+12    Riviera Beach, FL      Active     150458   150458 Minit Mart                        2690 Trenton Rd                   Clarksville       TN    37040   8/7/2021
coincloud6151   ColeKepro 5.0   149682                       2.521E+12    Riviera Beach, FL      Active     150460   150460 Minit Mart                        1230 Peachers Mill Rd             Clarksville       TN    37042   8/7/2021
coincloud6025   ColeKepro 5.0   149556                       2.521E+12     San Antonio,TX        Active     122452   122452 ACE Cash Express                  940 S 77 Sunshine Strip           Harlingen         TX    78550    8/7/2021
coincloud6088   ColeKepro 5.0   149619                       2.521E+12     San Antonio,TX        Active     142364   142364 Border Town Food                  7251 E Hwy 83                     Alto Bonito       TX    78582   8/7/2021
coincloud6093   ColeKepro 5.0   149624                       2.521E+12     San Antonio,TX        Active     142366   142366 Border Town Food #2               3251 West US Hwy 83               Rio Grande        TX    78582   8/7/2021
coincloud6115   ColeKepro 5.0   149646                       2.521E+12     San Antonio,TX        Active     142368   142368 Border Town Food #4               1308 N Flores St                  Rio Grande City   TX    78582    8/7/2021
coincloud6083   ColeKepro 5.0   149614                       2.521E+12     San Antonio,TX        Active     142369   142369 Border Town Food #5               1533 E Grant St                   Roma              TX    78584   8/7/2021
coincloud5967   ColeKepro 5.0   149498                       2.521E+12     San Antonio,TX        Active     135617   135617 H-E-B                             1409 Hwy 35 North Business        Rockport          TX    78382   8/7/2021
coincloud5991   ColeKepro 5.0   149522                       2.521E+12     San Antonio,TX        Active     135621   135621 H-E-B                             4444 Kostoryz Rd                  Corpus Christi    TX    78415   8/7/2021
coincloud6006   ColeKepro 5.0   149537                       2.521E+12     San Antonio,TX        Active     135591   135591 H-E-B                             106 S San Patricio St             Sinton            TX    78387   8/7/2021
coincloud6031   ColeKepro 5.0   149562                       2.521E+12     San Antonio,TX        Active     135602   135602 H-E-B                             3500 Leopard St                   Corpus Christi    TX    78408   8/7/2021
coincloud6168   ColeKepro 5.0   149969                       2.521E+12     San Antonio,TX        Active     135833   135833 H-E-B                             108 N Rosillo St                  San Antonio       TX    78207   8/7/2021
coincloud6112   ColeKepro 5.0   149643                       2.521E+12     San Antonio,TX        Active     135802   135802 H-E-B                             4100 S New Braunfels Ave          San Antonio       TX    78223   8/7/2021
coincloud6070   ColeKepro 5.0   149601                       2.521E+12     San Antonio,TX        Active     135598   135598 H-E-B                             4320 S Alameda St                 Corpus Christi    TX    78412   8/7/2021
coincloud6087   ColeKepro 5.0   149618                       2.521E+12     San Antonio,TX        Active     135807   135807 H-E-B                             1015 S WW White Rd                San Antonio       TX    78220   8/7/2021
coincloud6095   ColeKepro 5.0   149626                       2.521E+12     San Antonio,TX        Active     135835   135835 H-E-B                             10660 FM471                       San Antonio       TX    78251   8/7/2021
coincloud6082   ColeKepro 5.0   149613                       2.521E+12     San Antonio,TX        Active     135804   135804 H-E-B                             6818 S Zarzamora St               San Antonio       TX    78224   8/7/2021
coincloud6410   ColeKepro 5.0   149941                       2.521E+12       Magnolia,TX         Active     135815   135815 H-E-B                             7951 Guilbeau Rd                  San Antonio       TX    78250   8/7/2021
coincloud5719   ColeKepro 5.0   149250                       2.521E+12    Grand Prairie, TX      Active     104344   104344 LBJ Laundry                       9780 Lyndon B Johnson Fwy ##125   Dallas            TX    75243   8/7/2021
coincloud5966   ColeKepro 5.0   149497                       2.521E+12    Grand Prairie, TX      Active     104342   104342 Magic Coin Laundry                8702 Spring Valley Rd suite E     Dallas            TX    75240   8/7/2021
coincloud5482   ColeKepro 5.0   149013                       2.521E+12       Raleigh, NC         Active     136322   136322 7-Eleven                          1928 Holland Rd                   Suffolk           VA    23434   8/7/2021
coincloud5518   ColeKepro 5.0   149049                       2.521E+12       Raleigh, NC         Active     136323   136323 7-Eleven                          3445 Western Branch Blvd          Chesapeake        VA    23321    8/7/2021
coincloud5468   ColeKepro 5.0   148999                       2.521E+12       Tualatin, OR        Active     142756   142756 A Street Station                  2805 E A St                       Pasco             WA    99301   8/7/2021
coincloud5455   ColeKepro 5.0   148986                       2.521E+12       Tualatin, OR        Active     138138   138138 Market Fresh                      611 E Broadway St                 Goldendale        WA    98620    8/7/2021
coincloud5440   ColeKepro 5.0   148971                       2.521E+12       Tualatin, OR        Active     128477   128477 Thriftway on the Willapa          701 Willapa Pl                    Raymond           WA    98577   8/7/2021
coincloud5447   ColeKepro 5.0   148978                       2.521E+12       Tualatin, OR       Warehouse   137105                                                                                                               8/7/2021
coincloud5491   ColeKepro 5.0   149022       149022.USA      2.521E+12       Raleigh, NC         Active     103229   103229 Corner Pantry                     7527 Garners Ferry Rd             Columbia          SC    29209   8/7/2021
coincloud850    ColeKepro 1.0   142027       142027.USA      2.521E+12                           Active     108196   108196 Horizon Supermarket               1130 S Galena Ave                 Freeport          IL    61032   5/7/2020
coincloud5559   ColeKepro 5.0   149090       145090.USA      2.521E+12    Indianapolis, IN       Active     138302   138302 Piggly Wiggly                     7600 Pershing Blvd                Kenosha           WI    53142   8/7/2021
coincloud5329   ColeKepro 5.0   148860   41539000000025.US   2.521E+12   Albuquerque, NM         Active     146610   146610 Thorntons                         55 Skokie Valley Rd               Highland Park     IL    60035    8/7/2021
coincloud5438   ColeKepro 5.0   148969                                        Sloan, NV         Warehouse   121168          Sloan                                                                                                8/7/2021
coincloud6060   ColeKepro 5.0   149591      149591.USA                        Sloan, NV         Warehouse   121345          Sloan                                                                                                8/7/2021
coincloud6475   ColeKepro 5.0   150006                                        Sloan, NV         Warehouse                   Sloan                                                                                                8/7/2021
coincloud6270   ColeKepro 5.0   149801      149801.USA                       Sterling, VA        Active     146483   146483 Thorntons                         798 OH-28                         Milford           OH    45150    8/7/2021
coincloud6183   ColeKepro 5.0   149714                       3.021E+12   City of Industry,CA    Warehouse   126823          Ready Office Furniture            1515 N Kraemer Blvd, Unit H       Anaheim           CA    92806    8/7/2021
coincloud6202   ColeKepro 5.0   149732                       3.021E+12        Sloan, NV          Active     151047   151047 Cumberland Farms                  975 Main St                       Sanford           ME     4073    8/7/2021
coincloud6201   ColeKepro 5.0   149732                                   City of Industry,CA    Warehouse                   Sloan                                                                                                8/7/2021
coincloud6105   ColeKepro 5.0   149636                                        Sloan, NV         Warehouse   129147          Sloan                                                                                                8/7/2021
coincloud6431   ColeKepro 5.0   149962                       3.021E+12      Magnolia,TX         Warehouse   122160          Deadline Construction             19475 Alford Rd                   Magnolia           TX   77355   8/7/2021
coincloud6421   ColeKepro 5.0   149952                       3.021E+12      Magnolia,TX         Warehouse   122419          Deadline Construction             19475 Alford Rd                   Magnolia           TX   77355   8/7/2021
141998.USA      ColeKepro 5.0   141998      141998.USA       2.921E+12                           Active     101418   101418 Game Haven                        273 W 500 S                       Bountiful          UT   84010   8/7/2021
coincloud2743   ColeKepro 3.0   145289      145289.USA       2.921E+12                           Active     103629   103629 Mini Mart                         4121 W Bell Rd                    Phoenix            AZ   85053   10/2/2020
coincloud3006   ColeKepro 3.0   145629      145629.USA       2.921E+12   City of Industry, CA    Active     149124   149124 Cardenas Market                   1837 E 4th St                     Ontario            CA   91764   10/2/2020
coincloud4474   ColeKepro 5.0   148008      148008.USA       2.921E+12       Revere, MA          Active     141588   141588 Shoppers Value Foods              3709 Greenwood Rd                 Shreveport         LA   71109    8/7/2021
coincloud4604   ColeKepro 5.0   148136      148136.USA       2.921E+12    New Orleans, LA        Active     139362   139362 Sav U Mor                         1003 E Madison Ave                Bastrop            LA   71220    8/7/2021
coincloud4609   ColeKepro 5.0   148141      148141.USA       2.921E+12    New Orleans, LA        Active     139097   139097 Norco Fresh Market                217 Apple St                      Norco              LA   70079    8/7/2021
coincloud4649   ColeKepro 5.0   148181      148181.USA       2.921E+12       Lubbock, TX         Active     135795   135795 H-E-B                             1101 W Stan Schlueter Loop        Killeen            TX   76549    8/7/2021
coincloud4804   ColeKepro 5.0   148335      148335.USA       2.921E+12      Westbury, NY         Active     136230   136230 Mars Hill IGA                     7 Market St                       Mars Hill          ME    4758    8/7/2021
coincloud5980   ColeKepro 5.0   149511      149511.USA       2.921E+12    Grand Prairie, TX      Active     125173   125173 Marianas Supermarket              268 N Jones Blvd                  Las Vegas          NV   89107    8/7/2021
coincloud6182   ColeKepro 5.0   149713      149713.USA       2.921E+12   City of Industry,CA     Active     121573   121573 ACE                               4948 W Pico Blvd                  Los Angeles        CA   90019   8/7/2021
coincloud6184   ColeKepro 5.0   149715      149715.USA       2.921E+12   City of Industry,CA     Active     147181   147181 Good2Go                           445 Farnsworth Way                Rigby              ID   83442   8/7/2021
coincloud6200   ColeKepro 5.0   149731      149731.USA       2.921E+12   City of Industry,CA     Active     147180   147180 Good2Go                           182 S State St                    Rigby              ID   83442    8/7/2021
coincloud6209   ColeKepro 5.0   149740      149740.USA       2.921E+12   City of Industry,CA     Active     150626   150626 Cumberland Farms                  193 Endicott St N                 Laconia            NH    3246    8/7/2021
coincloud6215   ColeKepro 5.0   149746      149746.USA       2.921E+12   City of Industry,CA     Active     147184   147184 Good2Go                           125 S 25th E                      Idaho Falls        ID   83401   8/7/2021
coincloud6227   ColeKepro 5.0   149758      149758.USA       2.921E+12       Phoenix,AZ          Active     147413   147413 Good2Go                           1050 E 10th St                    Douglas            AZ   85607   8/7/2021
coincloud6234   ColeKepro 5.0   149765      149765.USA       2.921E+12       Phoenix,AZ          Active     153985   153985 Boost Mobile                      4656 E Sunset Rd                  Henderson          NV   89014   8/7/2021
coincloud6235   ColeKepro 5.0   149766      149766.USA       2.921E+12       Phoenix,AZ          Active     155023   155023 Love's                            825 Commerce Center Dr            Fernley            NV   89408    8/7/2021
coincloud6239   ColeKepro 5.0   149770      149770.USA       2.921E+12       Phoenix,AZ          Active     155642   155642 Love's                            12501 Apex Great Basin Way        Las Vegas          NV   89165    8/7/2021
coincloud6240   ColeKepro 5.0   149771      149771.USA       2.921E+12   City of Industry,CA     Active     147199   147199 Good2Go                           333 N 1st St                      Grand Junction     CO   81501   8/7/2021
coincloud6246   ColeKepro 5.0   149777      149777.USA       2.921E+12       Phoenix,AZ          Active     147412   147412 Good2Go                           8333 N Cortaro Rd                 Tucson             AZ   85743   8/7/2021
coincloud6247   ColeKepro 5.0   149778      149778.USA       2.921E+12       Phoenix,AZ          Active     147405   147405 Good2Go                           1501 E Ash St                     Globe              AZ   85501    8/7/2021
coincloud6252   ColeKepro 5.0   149783      149783.USA       2.921E+12   City of Industry,CA     Active     151045   151045 Cumberland Farms                  121 Main St                       Pepperell          MA    1463    8/7/2021
coincloud6254   ColeKepro 5.0   149785      149785.USA       2.921E+12   City of Industry,CA     Active     152802   152802 Cumberland Farms                  196 N Main St                     Concord            NH    3301    8/7/2021
coincloud6260   ColeKepro 5.0   149791      149791.USA       2.921E+12   City of Industry,CA     Active     147193   147193 Good2Go                           1224 E Main St                    Green River        UT   84525   8/7/2021
coincloud6261   ColeKepro 5.0   149792      149792.USA       2.921E+12   City of Industry,CA     Active     147186   147186 Good2Go                           6662 W Overland Dr                Idaho Falls        ID   83402    8/7/2021
coincloud6265   ColeKepro 5.0   149796      149796.USA       2.921E+12   City of Industry,CA     Active     151049   151049 Cumberland Farms                  535 Main St                       Saco               ME    4072   8/7/2021
coincloud6290   ColeKepro 5.0   149821      149821.USA       2.921E+12   City of Industry,CA     Active     128169   128169 Emerald Square Mall               999 S Washington St               North Attleborough MA    2760    8/7/2021
coincloud6296   ColeKepro 5.0   149827      149827.USA       2.921E+12       Sterling, VA        Active     153188   153188 Turkey Hill                       2 W Main St                       Dallastown         PA   17313    8/7/2021
coincloud6298   ColeKepro 5.0   149829      149829.USA       2.921E+12       Sterling, VA        Active     153151   153151 Royal Farms                       7910 Shipley Homestead Dr         Hanover            MD   21076   8/7/2021
coincloud6304   ColeKepro 5.0   149835      149835.USA       2.921E+12       Sterling, VA        Active     142745   142745 Shoppers                          806 Largo Center Drive            Upper Marlboro     MD   20774   8/7/2021
coincloud6311   ColeKepro 5.0   149842      149842.USA       2.921E+12       Sterling, VA        Active     103790   103790 Center at Salisbury               2300 N Salisbury Blvd             Salisbury          MD   21804   8/7/2021
coincloud6312   ColeKepro 5.0   149843      149843.USA       2.921E+12     Kansas City,MO        Active     143267   143267 Casey's General Store             7141 N 156th St                   Omaha              NE   68007   8/7/2021
coincloud6316   ColeKepro 5.0   149847      149847.USA       2.921E+12       Sterling, VA        Active     142584   142584 Shoppers                          670 Old Mill Rd                   Millersville       MD   21108    8/7/2021
coincloud6319   ColeKepro 5.0   149850      149850.USA       2.921E+12       Sterling, VA        Active     137399   137399 Save A Lot                        196 Penn Mart Center              New Castle         DE   19720   8/7/2021
coincloud6327   ColeKepro 5.0   149858      149858.USA       2.921E+12     Kansas City,MO        Active     145521   145521 Brothers Market                   532 13th St                       Lexington          MO   64067    8/7/2021
coincloud6330   ColeKepro 5.0   149861      149861.USA       2.921E+12       Sterling, VA        Active     152141   152141 Royal Farms                       3470 Fort Meade Rd                Laurel             MD   20724   8/7/2021
coincloud6341   ColeKepro 5.0   149872      149872.USA       2.921E+12       Sterling, VA        Active     146743   146743 7-Eleven                          513 WV-18 N                       West Union         WV   26456    8/7/2021
coincloud6350   ColeKepro 5.0   149881      149881.USA       2.921E+12       Sterling, VA        Active     142752   142752 Shoppers                          10501 Martin Luther King Jr Hwy   Bowie              MD   20720    8/7/2021
coincloud6357   ColeKepro 5.0   149888      149888.USA       2.921E+12      Woodburn,OR          Active     130461   130461 Mega Foods                        1542 Mt Hood Ave                  Woodburn           OR   97071    8/7/2021
coincloud6358   ColeKepro 5.0   149889      149889.USA       2.921E+12     Kansas City,MO        Active     145535   145535 Brothers Market                   319 Ridge St                      Tonganoxie         KS   66086   8/7/2021
coincloud6359   ColeKepro 5.0   149890      149890.USA       2.921E+12     Kansas City,MO        Active     145835   145835 Farmer's Country Market           1800 Central Ave                  Dodge City         KS   67801   8/7/2021
coincloud6368   ColeKepro 5.0   149899      149899.USA       2.921E+12     Kansas City,MO        Active     143264   143264 Casey's General Store             18174 Emiline St                  Omaha              NE   68136   8/7/2021
coincloud6371   ColeKepro 5.0   149902      149902.USA       2.921E+12     Kansas City,MO        Active     145511   145511 White's Foodliner                 934 3rd St                        Phillipsburg       KS   67861   8/7/2021
coincloud6386   ColeKepro 5.0   149917      149917.USA       2.921E+12      Magnolia,TX          Active     135775   135775 H-E-B                             435 Live Oak St                   Marlin             TX   76661    8/7/2021
coincloud6389   ColeKepro 5.0   149920      149920.USA       2.921E+12      Mount Joy,PA         Active     145471   145471 Save A Lot                        120 E Walnut St                   Lock Haven         PA   17745   8/7/2021
coincloud6440   ColeKepro 5.0   149971      149971.USA       2.921E+12      Magnolia,TX          Active     135784   135784 H-E-B                             800 N Hwy 77                      Waxahachie         TX   75165    8/7/2021
coincloud6452   ColeKepro 5.0   149983      149983.USA       2.921E+12      Westbury,NY          Active     103201   103201 Green Laundry                     940 Dixwell Ave                   Hamden             CT    6514   8/7/2021
coincloud6456   ColeKepro 5.0   149987      149987.USA       2.921E+12      Westbury,NY          Active     108653   108653 Mainly Groceries                  92 Northern Ave                   Augusta            ME    4330    8/7/2021
coincloud6459   ColeKepro 5.0   149990      149990.USA       2.921E+12      Westbury,NY          Active     140981   140981 Matts Hydroponics                 125 E Main St                     Webster            MA    1570    8/7/2021
coincloud6462   ColeKepro 5.0   149993      149993.USA       2.921E+12      Westbury,NY          Active     150813   150813 Cumberland Farms                  2200 Mendon Rd                    Woonsocket         RI    2895    8/7/2021
coincloud6484   ColeKepro 5.0   150015      150015.USA       2.921E+12          Other            Active     125170   125170 Mariana's Supermarkets            574 N Eastern Ave                 Las Vegas          NV   89101   8/7/2021
coincloud6517   ColeKepro 5.0   150048      150048.USA       2.921E+12    New Orleans,LA         Active     137525   137525 Save A Lot                        330 E Van Fleet Dr                Bartow             FL   33830   8/7/2021
coincloud6534   ColeKepro 5.0   150065      150065.USA       2.921E+12      Mount Joy,PA         Active     145473   145473 Save A Lot                        3415 Pleasant Valley Blvd         Altoona            PA   16602   8/7/2021
coincloud6549   ColeKepro 5.0   150080      150080.USA       2.921E+12    New Orleans,LA         Active     143261   143261 Casey's General Store             1037 E Henri De Tonti Blvd        Springdale         AR   72762   8/7/2021
coincloud6556   ColeKepro 5.0   150087      150087.USA       2.921E+12      Mount Joy,PA         Active     137385   137385 Boyer's Food Markets              2247 W Market St                  Pottsville         PA   17901    8/7/2021
coincloud6571   ColeKepro 5.0   150102      150102.USA       2.921E+12      Mount Joy,PA         Active     149848   149848 Turkey Hill                       6300 Derry St                     Harrisburg         PA   17111   8/7/2021
coincloud6577   ColeKepro 5.0   150108      150108.USA       2.921E+12      Mount Joy,PA         Active     145475   145475 Save A Lot                        1217 W Southern Ave               Williamsport       PA   17702   8/7/2021
coincloud6584   ColeKepro 5.0   150115      150115.USA       2.921E+12      Mount Joy,PA         Active     150877   150877 Turkey Hill                       8330 Easton Rd #a                 Ottsville          PA   18942   8/7/2021
coincloud6585   ColeKepro 5.0   150116      150116.USA       2.921E+12    New Orleans,LA         Active     137550   137550 Save A Lot                        1544 Lakeview Dr                  Sebring            FL   33870    8/7/2021
                                   Case 23-10423-mkn                                      Doc 36-2                Entered 02/08/23 19:55:21                                      Page 148 of 217


coincloud6593     ColeKepro 5.0   150124   150124.USA   2.921E+12      Mount Joy,PA        Active     137398   137398 Save A Lot                       222-26 S Queen St                 Lancaster          PA   17603   8/7/2021
coincloud6602     ColeKepro 5.0   150133   150133.USA   2.921E+12      Las Vegas,NV        Active     137514   137514 Upland Market                    5704 W Charleston Blvd            Las Vegas          NV   89146   8/7/2021
coincloud6613     ColeKepro 5.0   150144   150144.USA   2.921E+12       ST. Paul,MN        Active     144548   144548 Buche Foods                      2410m SD-10                       Sisseton           SD   57262   8/7/2021
coincloud6624     ColeKepro 5.0   150155   150155.USA   2.921E+12        Raleigh,NC        Active     141992   141992 Energy Mart                      715 Upward Rd                     Flat Rock          NC   28731   8/7/2021
coincloud6625     ColeKepro 5.0   150156   150156.USA   2.921E+12        Raleigh,NC        Active     143598   143598 Pops                             11747 State Hwy 34                Newberry           SC   29108   8/7/2021
coincloud6627     ColeKepro 5.0   150158   150158.USA   2.921E+12        Raleigh,NC        Active     143599   143599 Pops                             1190 Wilson Rd                    Newberry           SC   29108   8/7/2021
coincloud6629     ColeKepro 5.0   150160   150160.USA   2.921E+12        Raleigh,NC        Active     143600   143600 Pops                             1909 Percival Rd                  Columbia           SC   29223    8/7/2021
coincloud6631     ColeKepro 5.0   150162   150162.USA   2.921E+12        Raleigh,NC        Active     141990   141990 Energy Mart                      1734 Brevard Rd                   Hendersonville     NC   28791   8/7/2021
coincloud6636     ColeKepro 5.0   150167   150167.USA   2.921E+12        Raleigh,NC        Active     143587   143587 Pops                             11193 State Hwy 200               Winnsboro          SC   29180   8/7/2021
coincloud6638     ColeKepro 5.0   150169   150169.USA   2.921E+12        Raleigh,NC        Active     103733   103733 Erwin Mart                       201 S 13th St                     Erwin              NC   28339   8/7/2021
coincloud6645     ColeKepro 5.0   150176   150176.USA   2.921E+12        Raleigh,NC        Active     141993   141993 Energy Mart                      508 NC-9                          Black Mountain     NC   28711   8/7/2021
coincloud6646     ColeKepro 5.0   150177   150177.USA   2.921E+12        Raleigh,NC        Active     143592   143592 Pops                             799 US Hwy 321 Business S         Winnsboro          SC   29180   8/7/2021
coincloud6649     ColeKepro 5.0   150180   150180.USA   2.921E+12        Raleigh,NC        Active     143589   143589 Pops                             31 US Hwy 321 Bypass N            Winnsboro          SC   29180   8/7/2021
coincloud6651     ColeKepro 5.0   150182   150182.USA   2.921E+12        Raleigh,NC        Active     143612   143612 Pops                             8550 Farrow Rd                    Columbia           SC   29203   8/7/2021
coincloud6671     ColeKepro 5.0   150202   150202.USA   2.921E+12     GRAPEVINE, TX        Active     150727   150727 Loaf 'N Jug                      109 W 4th Ave                     Hugo               CO   80821   8/7/2021
coincloud6673     ColeKepro 5.0   150204   150204.USA   2.921E+12     GRAPEVINE, TX        Active     150996   150996 Loaf 'N Jug                      918 W 3rd St                      La Junta           CO   81050   8/7/2021
coincloud6287     ColeKepro 5.0   149818                2.921E+12   City of Industry,CA    Active     121228   121228 ACE                              1856 S Euclid Ave                 Ontario            CA   91762   8/7/2021
coincloud6314     ColeKepro 5.0   149845                2.921E+12       Sterling, VA       Active     137409   137409 Great Value                      800 W 4th St                      Wilmington         DE   19801   8/7/2021
coincloud6590     ColeKepro 5.0   150121                2.921E+12    New Orleans,LA        Active     137565   137565 Save A Lot                       5002 E Broadway Ave               Tampa              FL   33619   8/7/2021
coincloud6160     ColeKepro 5.0   149691                2.921E+12       Phoenix,AZ         Active     150446   150446 Minit Mart                       514 S Mccoy St                    Granville          IL   61326   8/7/2021
coincloud6229     ColeKepro 5.0   149760                2.921E+12       Phoenix,AZ         Active     146635   146635 Thorntons                        9138 S Cicero Ave                 Oak Lawn           IL   60453    8/7/2021
coincloud6222     ColeKepro 5.0   149753                2.921E+12       Phoenix,AZ         Active     146566   146566 Thorntons                        10901 Pendleton Pike              Indianapolis       IN   46236   8/7/2021
coincloud6490     ColeKepro 5.0   150021                2.921E+12      Westbury,NY         Active     141988   141988 Midtown Market                   701 Salem St                      North Andover      MA    1845   8/7/2021
coincloud6329     ColeKepro 5.0   149860                2.921E+12       Sterling, VA       Active     142587   142587 Shoppers                         5820 Silver Hill Rd               District Heights   MD   20747    8/7/2021
coincloud6412     ColeKepro 5.0   149943                2.921E+12      Westbury,NY         Active     141582   141582 Sleeper's Market                 99 Lyndon St                      Caribou            ME    4736   8/7/2021
coincloud6161     ColeKepro 5.0   149692                2.921E+12       Phoenix,AZ         Active     148058   148058 Webster's Market Inc.            161 Ottawa Ave NW Ste 102         Grand Rapids       MI   49503   8/7/2021
coincloud6338     ColeKepro 5.0   149869                2.921E+12    Kansas City,MO        Active     140787   140787 Prenger Foods                    902 E Briggs Dr                   Macon              MO   63552   8/7/2021
coincloud6394     ColeKepro 5.0   149925                2.921E+12    Kansas City,MO        Active     140793   140793 Prenger Foods                    105 W Smith St                    Sturgeon           MO   65284   8/7/2021
coincloud6336     ColeKepro 5.0   149867                2.921E+12    Kansas City,MO        Active     145536   145536 Brothers Market                  502 S Main St.                    Windsor            MO   65360   8/7/2021
coincloud6397     ColeKepro 5.0   149928                2.921E+12    Kansas City,MO        Active     139617   139617 Sonny's Super Foods              310 Main St                       Bridgeport         NE   69336   8/7/2021
coincloud6487     ColeKepro 5.0   150018                2.921E+12      Westbury,NY         Active     134883   134883 We Print Marketing               102 Route 46 East                 Saddle Brook       NJ    7663   8/7/2021
coincloud6346     ColeKepro 5.0   149877                2.921E+12       Sterling, VA       Active     151542   151542 Minit Mart                       10 E Sunset Dr                    Rittman            OH   44270   8/7/2021
coincloud6937     ColeKepro 5.0   150468                2.921E+12       Sterling, VA       Active     153254   153254 Minit Mart                       590 Lake Rd                       Chippewa Lake      OH   44215   8/7/2021
coincloud6269     ColeKepro 5.0   149800                2.921E+12       Sterling, VA       Active     146482   146482 Thorntons                        7301 Kingsgate Way                Westchester        OH   45069   8/7/2021
coincloud6293     ColeKepro 5.0   149824                2.921E+12       Sterling, VA       Active     146490   146490 Thorntons                        3898 Alum Creek Dr                Columbus           OH   43207   8/7/2021
coincloud6544     ColeKepro 5.0   150075                2.921E+12      Mount Joy,PA        Active     137376   137376 Boyer's Food Markets             131-134 W Main St                 Schuylkill Haven   PA   17972   8/7/2021
coincloud6596     ColeKepro 5.0   150127                2.921E+12      Mount Joy,PA        Active     137382   137382 Boyer's Food Markets             7166 Bernville Rd. Rt. 183        Bernville          PA   19506   8/7/2021
coincloud6579     ColeKepro 5.0   150110                2.921E+12      Mount Joy,PA        Active     141003   141003 Kutztown Market                  342 W Main St                     Kutztown           PA   19530   8/7/2021
coincloud6582     ColeKepro 5.0   150113                2.921E+12      Mount Joy,PA        Active     139370   139370 Landis Market                    2700 Shelly Rd                    Harleysville       PA   19438   8/7/2021
coincloud6563     ColeKepro 5.0   150094                2.921E+12      Mount Joy,PA        Active     144086   144086 Sandy Ridge Market               18851 Sandy Ridge Station         Orbisonia          PA   17243   8/7/2021
coincloud6333     ColeKepro 5.0   149864                2.921E+12       Sterling, VA       Active     137403   137403 Save A Lot                       1850 Delmar Dr                    Folcroft           PA   19032    8/7/2021
coincloud6607     ColeKepro 5.0   150138                2.921E+12       ST. Paul,MN        Active     144543   144543 Buche Foods                      401 W Hwy 46                      Wagner             SD   57533   8/7/2021
coincloud6605     ColeKepro 5.0   150136                2.921E+12       ST. Paul,MN        Active     144552   144552 Gus Stop Convenience Stores      E Hwy 18                          Mission            SD   57555   8/7/2021
coincloud6606     ColeKepro 5.0   150137                2.921E+12       ST. Paul,MN        Active     144551   144551 Gus Stop Convenience Stores      312 North US Hwy 83               White River        SD   57579   8/7/2021
coincloud6603     ColeKepro 5.0   150134                2.921E+12       ST. Paul,MN        Active     144553   144553 Gus Stop Convenience Stores      22285 SD-44                       Wanblee            SD   57577   8/7/2021
coincloud6666     ColeKepro 5.0   150197                2.921E+12       ST. Paul,MN        Active     144554   144554 Gus Stop Convenience Stores      413 W Hwy 46                      Wagner             SD   57380   8/7/2021
coincloud6344     ColeKepro 5.0   149875                2.921E+12       Sterling, VA      Warehouse   142747          Victory Vans                     115 Terminal Drive                Sterling           VA   20166   8/7/2021
coincloud6365     ColeKepro 5.0   149896   149896.USA   2.921E+12    Kansas City,MO        Active     145508   145508 White's Foodliner                329 N US 281                      St John            KS   67576   8/7/2021
coincloud6449     ColeKepro 5.0   149980                3.021E+12      Magnolia,TX         Active     145510   145510 White's Foodliner                225 S Iliff St                    Medicine Lodge     KS   67104   8/7/2021
coincloud6259     ColeKepro 5.0   149790                 4.72E+12   City of Industry,CA   Warehouse   121577          Ready Office Furniture           1515 N Kraemer Blvd, Unit H       Anaheim            CA   92806   8/7/2021
coincloud6219     ColeKepro 5.0   149750   149750.USA               City of Industry,CA    Active     147195   147195 Good2Go                          200 Co Rd 215                     Parachute          CO   81635   8/7/2021
coincloud6536     ColeKepro 5.0   150067                             New Orleans,LA        Active     137523   137523 Save A Lot                       464 Havendale Blvd                Auburndale         FL   33823   8/7/2021
coincloud2312     ColeKepro 3.0   144351   144351.USA                                      Active     118602   118602 Sin City Vapor II                1750 S Rainbow Blvd #2            Las Vegas          NV   89146   10/2/2020
coincloud6486     ColeKepro 5.0   150017                                Sloan, NV         Warehouse                   Sloan                                                                                               8/7/2021
coincloud3158     ColeKepro 3.0   145728   145728.USA                                      Active     125258   125258 Spec's                           1640 Mason Rd                     Katy               TX   77450   10/2/2020
coincloud150858   ColeKepro 5.0   150858   150858.USA   1.222E+12     Sterling, VA         Active     152223   152223 Royal Farms                      12826A Ocean Gateway              Ocean City         MD   21842   8/7/2021
coincloud6561     ColeKepro 5.0   150092                3.021E+12     Mount Joy,PA         Active     145474   145474 Save A Lot                       402 S Main St                     Wilkes-Barre       PA   18702    8/7/2021
coincloud6538     ColeKepro 5.0   150069   150069.USA   3.021E+12     Mount Joy,PA         Active     137386   137386 Boyer's Food Markets             30 Lovers Ln                      Pine Grove         PA   17963   8/7/2021
coincloud1304     ColeKepro 3.0   142039   142039.USA   3.021E+12                          Active     101563   101563 Chevron                          15827 N Cave Creek Rd             Phoenix            AZ   85032   10/2/2020
coincloud151037   ColeKepro 5.0   151037                              Las Vegas, NV        Active     151037   151037 Cumberland Farms                 35 Elm St                         Baldwinville       MA    1436    8/7/2021
142192.USA        ColeKepro 5.0   142192   142192.USA   3.021E+12                          Active     104188   104188 Bloomington Market               141 Brigham Rd                    St. George         UT   84790   8/7/2021
coincloud1142     ColeKepro 2.0   143177   143177.USA   3.021E+12                          Active     101424   101424                               76 633 W Manchester Blvd             Inglewood          CA   90301   8/28/2020
143285.USA        ColeKepro 5.0   143285   143285.USA   3.021E+12                          Active     101467   101467 Circle K                         16880 Slover Ave                  Fontana            CA   92337    8/7/2021
coincloud1486     ColeKepro 3.0   143521   143521.USA   3.021E+12                          Active     135668   135668 H-E-B                            1700 E Palm Valley Blvd           Round Rock         TX   78664   10/2/2020
coincloud1679     ColeKepro 3.0   143714   143714.USA   3.021E+12                          Active     135782   135782 H-E-B                            1207 E Main St                    Gatesville         TX   76528   10/2/2020
coincloud2083     ColeKepro 3.0   144118   144118.USA   3.021E+12      Raleigh, NC         Active     143603   143603 Pops                             1004 River Rd                     Columbia           SC   29212   10/2/2020
coincloud2403     ColeKepro 3.0   144408   144408.USA   3.021E+12                          Active     120349   120349 HEB                              3875 W Davis St                   Conroe             TX   77304   10/2/2020
coincloud2404     ColeKepro 3.0   144409   144409.USA   3.021E+12                          Active     103706   103706 Mr. Liquor                       7807 Madison Ave                  Citrus Heights     CA   95610   10/2/2020
coincloud3400     ColeKepro 3.0   145067   145067.USA   3.021E+12                          Active     101394   101394 Mini Mart & Smoke Shop           4705 S Durango Dr #Ste 100        Las Vegas          NV   89147   10/2/2020
coincloud2591     ColeKepro 3.0   145255   145255.USA   3.021E+12                          Active     101410   101410 Fast Stop Liquor                 5406 Whitsett Ave                 Los Angeles        CA   91607   10/2/2020
coincloud2829     ColeKepro 3.0   145470   145470.USA   3.021E+12                          Active     122968   122968 Cub Foods                        1440 University Ave W             St Paul            MN   55104   10/2/2020
coincloud3109     ColeKepro 3.0   145594   145594.USA   3.021E+12                          Active     101452   101452 Chevron                          832 N Higley Rd                   Gilbert            AZ   85234   10/2/2020
coincloud3233     ColeKepro 3.0   145758   145758.USA   3.021E+12    Kansas City, MO       Active     101435   101435 Shell                            4102 N 27th Ave                   Phoenix            AZ   85017   10/2/2020
coincloud3244     ColeKepro 3.0   145914   145914.USA   3.021E+12                          Active     104208   104208 Shell                            7820 700 E                        Sandy              UT   84070   10/2/2020
coincloud4292     ColeKepro 3.0   147826   147826.USA   3.021E+12                          Active     101504   101504 Chevron                          255 Arneill Rd                    Camarillo          CA   93010   10/2/2020
coincloud4357     ColeKepro 4.0   147891   147891.USA   3.021E+12                          Active     103031   103031 A&G Food Mart                    901 South La Brea Ave # 5         Los Angeles        CA   90036   6/15/2021
coincloud4502     ColeKepro 5.0   148036   148036.USA   3.021E+12    Grand Rapids, MI      Active     103207   103207 Mobil                            276 White St.                     Danbury            CT    6810   8/7/2021
coincloud4568     ColeKepro 5.0   148100   148100.USA   3.021E+12    New Orleans, LA       Active     147048   147048 Boost Mobile                     838 Canal St                      New Orleans        LA   70112   8/7/2021
coincloud4648     ColeKepro 5.0   148180   148180.USA   3.021E+12       Lubbock, TX        Active     135853   135853 H-E-B                            1601 Nogalitos St                 San Antonio        TX   78204   8/7/2021
coincloud4825     ColeKepro 5.0   148356   148356.USA   3.021E+12    New Orleans, LA       Active     144578   144578 Cash Saver                       261 Devereux Dr                   Natchez            MS   39120    8/7/2021
coincloud5003     ColeKepro 5.0   148534   148534.USA   3.021E+12      Magnolia, TX       Warehouse   122381          Deadline Construction            19475 Alford Rd                   Magnolia           TX   77355    8/7/2021
coincloud5150     ColeKepro 5.0   148681   148681.USA   3.021E+12      LUBBOCK, TX         Active     135788   135788 H-E-B                            9100 Woodway Dr                   Woodway            TX   76712   8/7/2021
coincloud5483     ColeKepro 5.0   149014   149014.USA   3.021E+12       Raleigh, NC        Active     103059   103059 Xpress Market #01                703 Tuckaseege Rd                 Mt Holly           NC   28120   8/7/2021
coincloud5582     ColeKepro 5.0   149113   149113.USA   3.021E+12        Kent, WA          Active     130517   130517 Martin's Market Fresh IGA        130 Titchenal Rd                  Cashmere           WA   98815   8/7/2021
coincloud6094     ColeKepro 5.0   149625   149625.USA   3.021E+12     San Antonio,TX       Active     142336   142336 Riverview #2                     117 S US Hwy 83                   Zapata             TX   78076   8/7/2021
coincloud6181     ColeKepro 5.0   149712   149712.USA   3.021E+12   City of Industry,CA    Active     151052   151052 Cumberland Farms                 31 Elm St                         Saco               ME    4072   8/7/2021
coincloud6194     ColeKepro 5.0   149725   149725.USA   3.021E+12       Phoenix,AZ         Active     146525   146525 Thorntons                        4500 Shelbyville Rd               Louisville         KY   40207   8/7/2021
coincloud6203     ColeKepro 5.0   149734   149734.USA   3.021E+12   City of Industry,CA    Active     151018   151018 Cumberland Farms                 128 N Main St                     Uxbridge           MA    1569   8/7/2021
coincloud6204     ColeKepro 5.0   149735   149735.USA   3.021E+12   City of Industry,CA    Active     155659   155659 Boost Mobile                     9075 Van Nuys Blvd                Los Angeles        CA   91402   8/7/2021
coincloud6205     ColeKepro 5.0   149736   149736.USA   3.021E+12   City of Industry,CA    Active     145630   145630 QNE PC Repair, LLC               4315 Overland Ave #suite a        Culver City        CA   90230   8/7/2021
coincloud6207     ColeKepro 5.0   149738   149738.USA   3.021E+12   City of Industry,CA    Active     147179   147179 Good2Go                          3505 E 105th N                    Ucon               ID   83401   8/7/2021
coincloud6208     ColeKepro 5.0   149739   149739.USA   3.021E+12   City of Industry,CA    Active     121236   121236 ACE                              891 S Citrus Ave                  Azusa              CA   91702   8/7/2021
coincloud6221     ColeKepro 5.0   149752   149752.USA   3.021E+12       Phoenix,AZ         Active     146921   146921 Cardenas Markets                 4500 E Tropicana Ave              Las Vegas          NV   89121   8/7/2021
coincloud6224     ColeKepro 5.0   149755   149755.USA   3.021E+12       Phoenix,AZ         Active     147409   147409 Good2Go                          3179 Willow Creek Rd              Prescott           AZ   86301   8/7/2021
coincloud6228     ColeKepro 5.0   149759   149759.USA   3.021E+12       Phoenix,AZ         Active     147406   147406 Good2Go                          1000 W Gila Bend Hwy              Casa Grande        AZ   85122   8/7/2021
coincloud6231     ColeKepro 5.0   149762   149762.USA   3.021E+12       Phoenix,AZ         Active     146920   146920 Cardenas Markets                 4700 Meadows Ln                   Las Vegas          NV   89107   8/7/2021
coincloud6232     ColeKepro 5.0   149763   149763.USA   3.021E+12       Phoenix,AZ         Active     147414   147414 Good2Go                          101 Arizona St                    Bisbee             AZ   85603   8/7/2021
coincloud6233     ColeKepro 5.0   149764   149764.USA   3.021E+12       Phoenix,AZ         Active     155261   155261 Love's                           551 W Main St                     Westmorland        CA   92281   8/7/2021
coincloud6237     ColeKepro 5.0   149768   149768.USA   3.021E+12       Phoenix,AZ         Active     153989   153989 Boost Mobile                     3025 E Desert Inn Rd #7           Las Vegas          NV   89121   8/7/2021
coincloud6241     ColeKepro 5.0   149772   149772.USA   3.021E+12   City of Industry,CA    Active     147201   147201 Good2Go                          1440 N Townsend Ave               Montrose           CO   81401   8/7/2021
coincloud6243     ColeKepro 5.0   149774   149774.USA   3.021E+12   City of Industry,CA    Active     147196   147196 Good2Go                          201 Columbine Ct                  Parachute          CO   81635   8/7/2021
coincloud6250     ColeKepro 5.0   149781   149781.USA   3.021E+12   City of Industry,CA    Active     150805   150805 Cumberland Farms                 301 Boston Rd                     Billerica          MA    1862   8/7/2021
coincloud6253     ColeKepro 5.0   149784   149784.USA   3.021E+12   City of Industry,CA    Active     148953   148953 Good2Go                          2146 Broadway                     Grand Junction     CO   81507   8/7/2021
coincloud6255     ColeKepro 5.0   149786   149786.USA   3.021E+12   City of Industry,CA    Active     147187   147187 Good2Go                          1800 E Airport Rd                 Blackfoot          ID   83221   8/7/2021
coincloud6258     ColeKepro 5.0   149789   149789.USA   3.021E+12   City of Industry,CA    Active     147177   147177 Good2Go                          1110 Main St                      Salmon             ID   83467   8/7/2021
coincloud6263     ColeKepro 5.0   149794   149794.USA   3.021E+12   City of Industry,CA    Active     152800   152800 Cumberland Farms                 22 E Broadway                     Derry              NH    3038   8/7/2021
coincloud6266     ColeKepro 5.0   149797   149797.USA   3.021E+12   City of Industry,CA    Active     150744   150744 Cumberland Farms                 320 S Broadway                    Lawrence           MA    1843   8/7/2021
coincloud6267     ColeKepro 5.0   149798   149798.USA   3.021E+12   City of Industry,CA    Active     147178   147178 Good2Go                          944 University Blvd               Rexburg            ID   83440   8/7/2021
coincloud6278     ColeKepro 5.0   149809   149809.USA   3.021E+12       Phoenix,AZ         Active     147411   147411 Good2Go                          2234 E Florence Blvd              Casa Grande        AZ   85122   8/7/2021
coincloud6282     ColeKepro 5.0   149813   149813.USA   3.021E+12       Phoenix,AZ         Active     139107   139107 Star smoke Shop                  7829 N 19th Ave                   Phoenix            AZ   85021   8/7/2021
coincloud6285     ColeKepro 5.0   149816   149816.USA   3.021E+12       Phoenix,AZ         Active     146918   146918 Cardenas Markets                 2400 E Bonanza Rd                 Las Vegas          NV   89101   8/7/2021
coincloud6286     ColeKepro 5.0   149817   149817.USA   3.021E+12       Sterling, VA       Active     153528   153528 Minit Mart                       221 North Portage Street          Doylestown         OH   44230   8/7/2021
coincloud6292     ColeKepro 5.0   149823   149823.USA   3.021E+12       Phoenix,AZ         Active     147410   147410 Good2Go                          805 W US-60                       Superior           AZ   85173   8/7/2021
coincloud6294     ColeKepro 5.0   149825   149825.USA   3.021E+12       Sterling, VA       Active     146486   146486 Thorntons                        664 N Riverside Dr                Hamilton           OH   45011   8/7/2021
coincloud6297     ColeKepro 5.0   149828   149828.USA   3.021E+12       Sterling, VA       Active     152286   152286 Royal Farms                      8307 Coastal Hwy                  Ocean City         MD   21843   8/7/2021
coincloud6300     ColeKepro 5.0   149831   149831.USA   3.021E+12       Sterling, VA       Active     137394   137394 Save A Lot                       1045 Mt Rose Ave                  York               PA   17403   8/7/2021
coincloud6303     ColeKepro 5.0   149834   149834.USA   3.021E+12       Sterling, VA       Active     142746   142746 Shoppers                         13600 Baltimore Ave #100          Laurel             MD   20707   8/7/2021
coincloud6305     ColeKepro 5.0   149836   149836.USA   3.021E+12       Sterling, VA       Active     142750   142750 Shoppers                         4174 Fortuna Ctr Plz              Dumfries           VA   22026   8/7/2021
                                 Case 23-10423-mkn                                 Doc 36-2              Entered 02/08/23 19:55:21                                              Page 149 of 217


coincloud6306   ColeKepro 5.0   149837   149837.USA   3.021E+12   Kansas City,MO    Active   145518   145518 Brothers Market                         302 E Main St, Rt 3 Box O             Cole Camp        MO   65325   8/7/2021
coincloud6308   ColeKepro 5.0   149839   149839.USA   3.021E+12     Sterling, VA    Active   146740   146740 7-Eleven                                214 W Main St                         Salem            WV   26426   8/7/2021
coincloud6310   ColeKepro 5.0   149841   149841.USA   3.021E+12     Sterling, VA    Active   145721   145721 Farm Fresh                              2320 E Main St                        Richmond         VA   23223   8/7/2021
coincloud6313   ColeKepro 5.0   149844   149844.USA   3.021E+12     Sterling, VA    Active   151541   151541 Minit Mart                              828 W Liberty St                      Medina           OH   44256   8/7/2021
coincloud6315   ColeKepro 5.0   149846   149846.USA   3.021E+12   Kansas City,MO    Active   143272   143272 Casey's General Store                   8409 S 168th Ave                      Omaha            NE   68136   8/7/2021
coincloud6317   ColeKepro 5.0   149848   149848.USA   3.021E+12     Sterling, VA    Active   142582   142582 Shoppers                                7790 Riverdale Rd                     New Carrollton   MD   20784   8/7/2021
coincloud6318   ColeKepro 5.0   149849   149849.USA   3.021E+12     Sterling, VA    Active   142585   142585 Shoppers                                3441 Fort Meade Rd                    Laurel           MD   20724   8/7/2021
coincloud6321   ColeKepro 5.0   149852   149852.USA   3.021E+12     Sterling, VA    Active   137393   137393 Save A Lot                              714 S Maryland Ave                    Wilmington       DE   19805   8/7/2021
coincloud6322   ColeKepro 5.0   149853   149853.USA   3.021E+12     Sterling, VA    Active   137400   137400 Save A Lot                              1721 Markley St                       Norristown       PA   19401   8/7/2021
coincloud6323   ColeKepro 5.0   149854   149854.USA   3.021E+12   Kansas City,MO    Active   143596   143596 Pops                                    147 Columbia St                       Chester          SC   29706   8/7/2021
coincloud6325   ColeKepro 5.0   149856   149856.USA   3.021E+12   Kansas City,MO    Active   145843   145843 Fresh Foods                             1270 10th St                          Gering           NE   69341   8/7/2021
coincloud6328   ColeKepro 5.0   149859   149859.USA   3.021E+12   Kansas City,MO    Active   140791   140791 Prenger Foods                           620 S Main St                         Paris            MO   65275   8/7/2021
coincloud6335   ColeKepro 5.0   149866   149866.USA   3.021E+12     Sterling, VA    Active   152140   152140 Royal Farms                             19791 Coastal Hwy                     Rehoboth Beach DE     19971   8/7/2021
coincloud6337   ColeKepro 5.0   149868   149868.USA   3.021E+12     Sterling, VA    Active   142583   142583 Shoppers                                1505 Stafford Market Pl               Stafford         VA   22556   8/7/2021
coincloud6339   ColeKepro 5.0   149870   149870.USA   3.021E+12   Kansas City,MO    Active   139616   139616 Cobblestone Inn & Suites - Bridgeport   517 Main St                           Bridgeport       NE   69336   8/7/2021
149873.USA      ColeKepro 5.0   149873   149873.USA   3.021E+12     Sterling, VA    Active   141994   141994 Shoppers Value Foods                    2203 Wilborn Ave                      South Boston     VA   24592   8/7/2021
coincloud6345   ColeKepro 5.0   149876   149876.USA   3.021E+12   Kansas City,MO    Active   139618   139618 Sonny's Super Foods                     2020 10th Ave                         Sidney           NE   69162   8/7/2021
coincloud6347   ColeKepro 5.0   149878   149878.USA   3.021E+12   Kansas City,MO    Active   145716   145716 Gulf                                    426 N U.S. Hwy 52                     Moncks Corner    SC   29461   8/7/2021
coincloud6348   ColeKepro 5.0   149879   149879.USA   3.021E+12   Kansas City,MO    Active   138284   138284 Carter's Fast Stop                      5556 Memorial Blvd                    St George        SC   29477   8/7/2021
coincloud6349   ColeKepro 5.0   149880   149880.USA   3.021E+12   Kansas City,MO    Active   145510   145510 White's Foodliner                       225 S Iliff St                        Medicine Lodge   KS   67104   8/7/2021
coincloud6352   ColeKepro 5.0   149883   149883.USA   3.021E+12     Sterling, VA    Active   137397   137397 Save A Lot                              2963 N 7th St                         Harrisburg       PA   17110   8/7/2021
coincloud6353   ColeKepro 5.0   149884   149884.USA   3.021E+12   Kansas City,MO    Active   143588   143588 Pops                                    752 US-21 S                           Ridgeway         SC   29130   8/7/2021
coincloud6354   ColeKepro 5.0   149885   149885.USA   3.021E+12    Magnolia,TX      Active   103389   103389 Shaver Food Mart                        2008 Shaver St                        Pasadena         TX   77502   8/7/2021
coincloud6360   ColeKepro 5.0   149891   149891.USA   3.021E+12     Sterling, VA    Active   152111   152111 Royal Farms                             38166 Dupont Blvd                     Selbyville       DE   19975   8/7/2021
coincloud6361   ColeKepro 5.0   149892   149892.USA   3.021E+12     Sterling, VA    Active   142749   142749 Shoppers                                7660 Richmond Hwy                     Alexandria       VA   22306   8/7/2021
coincloud6364   ColeKepro 5.0   149895   149895.USA   3.021E+12   Kansas City,MO    Active   143274   143274 Casey's General Store                   5920 F St                             Omaha            NE   68117   8/7/2021
coincloud6366   ColeKepro 5.0   149897   149897.USA   3.021E+12   Kansas City,MO    Active   143602   143602 Pops                                    538 St Andrews Rd                     Columbia         SC   29210   8/7/2021
coincloud6369   ColeKepro 5.0   149900   149900.USA   3.021E+12   Kansas City,MO    Active   137553   137553 Save A Lot                              7351 Spring Hill Dr                   Spring Hill      FL   34606   8/7/2021
coincloud6373   ColeKepro 5.0   149904   149904.USA   3.021E+12   Kansas City,MO    Active   145845   145845 Fresh Foods                             1042 Main St                          Torrington       WY   82240   8/7/2021
coincloud6377   ColeKepro 5.0   149908   149908.USA   3.021E+12   Kansas City,MO    Active   145531   145531 Brothers Market                         402 E Price Ave                       Savannah         MO   64485   8/7/2021
coincloud6382   ColeKepro 5.0   149913   149913.USA   3.021E+12   Kansas City,MO    Active   146040   146040 Lewis Drug                              2901 S Minnesota Ave                  Sioux Falls      SD   57105   8/7/2021
coincloud6385   ColeKepro 5.0   149916   149916.USA   3.021E+12        Other        Active   140007   140007 Water Revive Alkaline Water Store       3151 N Rainbow Blvd                   Las Vegas        NV   89108   8/7/2021
coincloud6388   ColeKepro 5.0   149919   149919.USA   3.021E+12    Magnolia,TX      Active   135790   135790 H-E-B                                   2990 U.S. Hwy 190                     Copperas Cove    TX   76522   8/7/2021
coincloud6392   ColeKepro 5.0   149923   149923.USA   3.021E+12   Kansas City,MO    Active   139619   139619 Sonny's Super Foods                     321 E 8th St                          Cozad            NE   69130   8/7/2021
coincloud6393   ColeKepro 5.0   149924   149924.USA   3.021E+12   Kansas City,MO    Active   150870   150870 Sprint                                  1020 Laurens St NW                    Aiken            SC   29801   8/7/2021
coincloud6395   ColeKepro 5.0   149926   149926.USA   3.021E+12   Kansas City,MO    Active   103044   103044 Discount Smokes & Liquor                4540 N Brighton Ave                   Kansas City      MO   64117   8/7/2021
coincloud6396   ColeKepro 5.0   149927   149927.USA   3.021E+12    Magnolia,TX      Active   143952   143952 Spec's                                  1900 Market Pl Blvd #Suite 100        Irving           TX   75063   8/7/2021
coincloud6400   ColeKepro 5.0   149931   149931.USA   3.021E+12    Magnolia,TX      Active   122455   122455 ACE Cash Express                        1921 W Wheeler Ave                    Aransas Pass     TX   78336   8/7/2021
coincloud6401   ColeKepro 5.0   149932   149932.USA   3.021E+12    Magnolia,TX      Active   135827   135827 H-E-B                                   2929 Thousand Oaks Dr                 San Antonio      TX   78247   8/7/2021
coincloud6402   ColeKepro 5.0   149933   149933.USA   3.021E+12    Magnolia,TX      Active   141019   141019 Arlan's                                 236 College St                        Schulenburg      TX   78956   8/7/2021
coincloud6405   ColeKepro 5.0   149936   149936.USA   3.021E+12    Magnolia,TX      Active   103145   103145 Canyon Food Mart                        1710 Canyon Creek Dr #a               Temple           TX   76502   8/7/2021
coincloud6413   ColeKepro 5.0   149944   149944.USA   3.021E+12    Magnolia,TX      Active   135786   135786 H-E-B                                   801 N IH 35                           Bellmead         TX   76705   8/7/2021
coincloud6414   ColeKepro 5.0   149945   149945.USA   3.021E+12    Magnolia,TX      Active   122418   122418 ACE Cash Express                        3304 E 29th St                        Bryan            TX   77802   8/7/2021
coincloud6415   ColeKepro 5.0   149946   149946.USA   3.021E+12   Kansas City,MO    Active   119515   119515 7th Heaven                              10 Fairground Ave                     Higginsville     MO   64037   8/7/2021
coincloud6416   ColeKepro 5.0   149947   149947.USA   3.021E+12    Magnolia,TX      Active   103150   103150 La Familia Market                       623 W Dittmar Rd                      Austin           TX   78745   8/7/2021
coincloud6423   ColeKepro 5.0   149954   149954.USA   3.021E+12    Magnolia,TX      Active   146196   146196 H-E-B                                   2301 Congress Ave                     Austin           TX   78704   8/7/2021
coincloud6424   ColeKepro 5.0   149955   149955.USA   3.021E+12    Westbury,NY      Active   143829   143829 Season's Restaurant                     427 Main St                           Bangor           ME    4401   8/7/2021
coincloud6428   ColeKepro 5.0   149959   149959.USA   3.021E+12    Magnolia,TX      Active   135818   135818 H-E-B                                   5601 Bandera Rd                       San Antonio      TX   78238   8/7/2021
coincloud6433   ColeKepro 5.0   149964   149964.USA   3.021E+12    Magnolia,TX      Active   135834   135834 H-E-B                                   9900 Wurzbach Rd                      San Antonio      TX   78230   8/7/2021
coincloud6434   ColeKepro 5.0   149965   149965.USA   3.021E+12    Magnolia,TX      Active   135797   135797 H-E-B                                   100 Hudson Oaks Dr                    Hudson Oaks      TX   76087   8/7/2021
coincloud6437   ColeKepro 5.0   149968   149968.USA   3.021E+12    Magnolia,TX      Active   122469   122469 ACE Cash Express                        11600 Bandera Rd                      San Antonio      TX   78250   8/7/2021
coincloud6444   ColeKepro 5.0   149975   149975.USA   3.021E+12    Magnolia,TX      Active   135639   135639 H-E-B                                   6607 S IH 35                          Austin           TX   78744   8/7/2021
coincloud6446   ColeKepro 5.0   149977   149977.USA   3.021E+12    Magnolia,TX      Active   135832   135832 H-E-B                                   1150 TX-1604 Loop                     San Antonio      TX   78248   8/7/2021
coincloud6447   ColeKepro 5.0   149978   149978.USA   3.021E+12    Magnolia,TX      Active   135646   135646 H-E-B                                   6001 W Parmer Ln                      Austin           TX   78727   8/7/2021
coincloud6453   ColeKepro 5.0   149984   149984.USA   3.021E+12    Westbury,NY      Active   103298   103298 Union City Deli And Grocery             732 22nd street                       Union City       NJ    7087   8/7/2021
coincloud6454   ColeKepro 5.0   149985   149985.USA   3.021E+12    Westbury,NY      Active   143830   143830 Steaks N Stuff                          14 Mechanic St                        Lincoln          ME    4457   8/7/2021
coincloud6455   ColeKepro 5.0   149986   149986.USA   3.021E+12    Magnolia,TX      Active   143956   143956 Spec's                                  1415 W Pipeline Rd                    Hurst            TX   76053   8/7/2021
coincloud6458   ColeKepro 5.0   149989   149989.USA   3.021E+12    Westbury,NY      Active   142577   142577 Save A Lot                              2881 Mt Ephraim Ave                   Camden           NJ    8104   8/7/2021
coincloud6460   ColeKepro 5.0   149991   149991.USA   3.021E+12    Westbury,NY      Active   103269   103269 Chrome Shop Food Mart                   41 West Harriet ave                   Palisades Park   NJ    7650   8/7/2021
coincloud6477   ColeKepro 5.0   150008   150008.USA   3.021E+12    Westbury,NY      Active   103091   103091 B D Mart                                20 East St                            Springfield      MA    1104   8/7/2021
coincloud6478   ColeKepro 5.0   150009   150009.USA   3.021E+12    Westbury,NY      Active   103275   103275 Pitstop Food Store                      649 King Georges Rd                   Woodbridge Towns NJ    8863   8/7/2021
coincloud6493   ColeKepro 5.0   150024   150024.USA   3.021E+12    Westbury,NY      Active   101613   101613 Speedy Gas Mart                         5901 Mill Creek Rd                    Levittown        PA   19057   8/7/2021
coincloud6495   ColeKepro 5.0   150026   150026.USA   3.021E+12    Westbury,NY      Active   130340   130340 B & C Deli                              1000 Belmont Ave                      South Plainfield NJ    7080   8/7/2021
coincloud6496   ColeKepro 5.0   150027   150027.USA   3.021E+12    Westbury,NY      Active   150845   150845 Cumberland Farms                        80 County St                          Attleboro        MA    2703   8/7/2021
coincloud6498   ColeKepro 5.0   150029   150029.USA   3.021E+12    Westbury,NY      Active   143415   143415 Framingham Liquors                      1 Marble St #7032                     Framingham       MA    1702   8/7/2021
coincloud6501   ColeKepro 5.0   150032   150032.USA   3.021E+12   New Orleans,LA    Active   137570   137570 Save A Lot                              1534 3rd St SW                        Winter Haven     FL   33880   8/7/2021
coincloud6504   ColeKepro 5.0   150035   150035.USA   3.021E+12   New Orleans,LA    Active   137571   137571 Save A Lot                              7320 Gall Blvd                        Zephyrhills      FL   33541   8/7/2021
coincloud6505   ColeKepro 5.0   150036   150036.USA   3.021E+12   New Orleans,LA    Active   144562   144562 Vowell's Marketplace                    19 E Main St                          Noxapater        MS   39346   8/7/2021
coincloud6506   ColeKepro 5.0   150037   150037.USA   3.021E+12   New Orleans,LA    Active   143263   143263 Casey's General Store                   3209 NE 11th St                       Bentonville      AR   72712   8/7/2021
coincloud6510   ColeKepro 5.0   150041   150041.USA   3.021E+12   New Orleans,LA    Active   137563   137563 Save A Lot                              2271 E Bearss Ave                     Tampa            FL   33613   8/7/2021
coincloud6511   ColeKepro 5.0   150042   150042.USA   3.021E+12   New Orleans,LA    Active   145628   145628 Heights Corner Market                   5018 Kavanaugh Blvd                   Little Rock      AR   72207   8/7/2021
coincloud6512   ColeKepro 5.0   150043   150043.USA   3.021E+12   New Orleans,LA    Active   137542   137542 Save A Lot                              2021 George Jenkins Blvd              Lakeland         FL   33815   8/7/2021
coincloud6513   ColeKepro 5.0   150044   150044.USA   3.021E+12   New Orleans,LA    Active   137567   137567 Save A Lot                              4319 N Armenia Ave                    Tampa            FL   33607   8/7/2021
coincloud6516   ColeKepro 5.0   150047   150047.USA   3.021E+12   New Orleans,LA    Active   137539   137539 Save A Lot                              70 Plaza Ave                          Lake Placid      FL   33852   8/7/2021
coincloud6518   ColeKepro 5.0   150049   150049.USA   3.021E+12   New Orleans,LA    Active   137566   137566 Save A Lot                              150 W Fletcher Ave                    Tampa            FL   33612   8/7/2021
coincloud6519   ColeKepro 5.0   150050   150050.USA   3.021E+12   New Orleans,LA    Active   143256   143256 Cypress Point Fresh Market              500 US-90 Suite 120                   Patterson        LA   70392   8/7/2021
coincloud6521   ColeKepro 5.0   150052   150052.USA   3.021E+12   New Orleans,LA    Active   144574   144574 Cash Saver                              1700 N Frontage Rd                    Meridian         MS   39301   8/7/2021
coincloud6522   ColeKepro 5.0   150053   150053.USA   3.021E+12   New Orleans,LA    Active   137551   137551 Save A Lot                              729 W Dr Martin Luther King Jr Blvd   Seffner          FL   33584   8/7/2021
coincloud6524   ColeKepro 5.0   150055   150055.USA   3.021E+12   New Orleans,LA    Active   137562   137562 Save A Lot                              7537 W Waters Ave                     Tampa            FL   33615   8/7/2021
coincloud6528   ColeKepro 5.0   150059   150059.USA   3.021E+12   New Orleans,LA    Active   137528   137528 Save A Lot                              20040 Cortez Blvd                     Brooksville      FL   34601   8/7/2021
coincloud6532   ColeKepro 5.0   150063   150063.USA   3.021E+12   New Orleans,LA    Active   137541   137541 Save A Lot                              917 E Memorial Blvd                   Lakeland         FL   33801   8/7/2021
coincloud6539   ColeKepro 5.0   150070   150070.USA   3.021E+12    Mount Joy,PA     Active   150930   150930 Turkey Hill                             5959 Main St                          East Petersburg  PA   17520   8/7/2021
coincloud6541   ColeKepro 5.0   150072   150072.USA   3.021E+12    Mount Joy,PA     Active   150318   150318 Turkey Hill                             500 Jonestown Rd                      Jonestown        PA   17038   8/7/2021
coincloud6542   ColeKepro 5.0   150073   150073.USA   3.021E+12   New Orleans,LA    Active   143265   143265 Casey's General Store                   107 Fort St                           Barling          AR   72923   8/7/2021
coincloud6543   ColeKepro 5.0   150074   150074.USA   3.021E+12    Mount Joy,PA     Active   137384   137384 Boyer's Food Markets                    672 Main St                           Lykens           PA   17048   8/7/2021
coincloud6550   ColeKepro 5.0   150081   150081.USA   3.021E+12    Mount Joy,PA     Active   137395   137395 Save A Lot                              611 N 12th St                         Lebanon          PA   17046   8/7/2021
coincloud6552   ColeKepro 5.0   150083   150083.USA   3.021E+12     ST. Paul,MN     Active   139565   139565 Cub Foods                               2850 26th Ave S                       Minneapolis      MN   55406   8/7/2021
coincloud6555   ColeKepro 5.0   150086   150086.USA   3.021E+12    Mount Joy,PA     Active   150030   150030 Turkey Hill                             901 Nissley Rd                        Lancaster        PA   17601   8/7/2021
coincloud6557   ColeKepro 5.0   150088   150088.USA   3.021E+12    Mount Joy,PA     Active   149835   149835 Turkey Hill                             2885 Paxton St                        Harrisburg       PA   17111   8/7/2021
coincloud6559   ColeKepro 5.0   150090   150090.USA   3.021E+12    Mount Joy,PA     Active   150319   150319 Turkey Hill                             2395 S Market St                      Elizabethtown    PA   17022   8/7/2021
coincloud6565   ColeKepro 5.0   150096   150096.USA   3.021E+12    Mount Joy,PA     Active   149845   149845 Turkey Hill                             2130 S Market St                      Mechanicsburg    PA   17055   8/7/2021
coincloud6566   ColeKepro 5.0   150097   150097.USA   3.021E+12    Mount Joy,PA     Active   150903   150903 Turkey Hill                             100 W Main St                         Palmyra          PA   17078   8/7/2021
coincloud6568   ColeKepro 5.0   150099   150099.USA   3.021E+12    Mount Joy,PA     Active   145507   145507 Swarthmore CO-OP                        341 Dartmouth Ave                     Swarthmore       PA   19081   8/7/2021
coincloud6570   ColeKepro 5.0   150101   150101.USA   3.021E+12    Mount Joy,PA     Active   150322   150322 Turkey Hill                             390 N Houcks Rd                       Harrisburg       PA   17109   8/7/2021
coincloud6572   ColeKepro 5.0   150103   150103.USA   3.021E+12    Mount Joy,PA     Active   150883   150883 Turkey Hill                             2060 Good Hope Rd                     Enola            PA   17025   8/7/2021
coincloud6575   ColeKepro 5.0   150106   150106.USA   3.021E+12    Mount Joy,PA     Active   150012   150012 Turkey Hill                             1501 Manheim Pike                     Lancaster        PA   17601   8/7/2021
coincloud6576   ColeKepro 5.0   150107   150107.USA   3.021E+12    Mount Joy,PA     Active   149829   149829 Turkey Hill                             6708 Carlisle Pike                    Mechanicsburg    PA   17050   8/7/2021
coincloud6581   ColeKepro 5.0   150112   150112.USA   3.021E+12    Mount Joy,PA     Active   150031   150031 Turkey Hill                             707 N Mountain Rd                     Linglestown      PA   17112   8/7/2021
coincloud6583   ColeKepro 5.0   150114   150114.USA   3.021E+12    Mount Joy,PA     Active   150324   150324 Turkey Hill                             5009 Locust Ln                        Harrisburg       PA   17109   8/7/2021
coincloud6587   ColeKepro 5.0   150118   150118.USA   3.021E+12   New Orleans,LA    Active   137524   137524 Save A Lot                              1020 US Hwy 27 S                      Avon Park        FL   33825   8/7/2021
coincloud6591   ColeKepro 5.0   150122   150122.USA   3.021E+12    Mount Joy,PA     Active   137371   137371 Boyer's Food Markets                    550 W Oak St                          Frackville       PA   17931   8/7/2021
coincloud6592   ColeKepro 5.0   150123   150123.USA   3.021E+12    Mount Joy,PA     Active   145468   145468 Lingle Neighborhood Market              701 Allegheny St                      Jersey Shore     PA   17740   8/7/2021
coincloud6595   ColeKepro 5.0   150126   150126.USA   3.021E+12    Mount Joy,PA     Active   137378   137378 Boyer's Food Markets                    408 Park Rd                           Fleetwood        PA   19522   8/7/2021
coincloud6598   ColeKepro 5.0   150129   150129.USA   3.021E+12    Mount Joy,PA     Active   142323   142323 Country Fresh Market                    4435 Red Rock Rd                      Benton           PA   17814   8/7/2021
coincloud6599   ColeKepro 5.0   150130   150130.USA   3.021E+12    Mount Joy,PA     Active   150932   150932 Turkey Hill                             936 Columbia Ave                      Lancaster        PA   17603   8/7/2021
coincloud6620   ColeKepro 5.0   150151   150151.USA   3.021E+12    Las Vegas,NV     Active   144096   144096 Wisemen Smoke Shop                      1452 E Charleston Blvd                Las Vegas        NV   89104   8/7/2021
coincloud6623   ColeKepro 5.0   150154   150154.USA   3.021E+12      Raleigh,NC     Active   143605   143605 Pops                                    2884 Emanuel Church Rd                West Columbia    SC   29169   8/7/2021
coincloud6626   ColeKepro 5.0   150157   150157.USA   3.021E+12      Raleigh,NC     Active   143607   143607 Pops                                    709 Main St                           South Congaree   SC   29169   8/7/2021
coincloud6628   ColeKepro 5.0   150159   150159.USA   3.021E+12      Raleigh,NC     Active   143606   143606 Pops                                    10541 Two Notch Rd                    Elgin            SC   29045   8/7/2021
coincloud6630   ColeKepro 5.0   150161   150161.USA   3.021E+12      Raleigh,NC     Active   143611   143611 Pops                                    441 Piney Grove Rd                    Columbia         SC   29210   8/7/2021
coincloud6634   ColeKepro 5.0   150165   150165.USA   3.021E+12      Raleigh,NC     Active   143608   143608 Pops                                    205 Assembly St                       Columbia         SC   29201   8/7/2021
coincloud6635   ColeKepro 5.0   150166   150166.USA   3.021E+12      Raleigh,NC     Active   141991   141991 Energy Mart                             310 Rosman Hwy                        Brevard          NC   28712   8/7/2021
coincloud6639   ColeKepro 5.0   150170   150170.USA   3.021E+12      Raleigh,NC     Active   143967   143967 Tri An Mart                             1162-H Fort Mill Hwy                  Indian Land      SC   29707   8/7/2021
coincloud6642   ColeKepro 5.0   150173   150173.USA   3.021E+12      Raleigh,NC     Active   143604   143604 Pops                                    4403 Augusta Rd                       Lexington        SC   29073   8/7/2021
coincloud6648   ColeKepro 5.0   150179   150179.USA   3.021E+12      Raleigh,NC     Active   143597   143597 Pops                                    11540 C R Koon Hwy                    Prosperity       SC   29127   8/7/2021
coincloud6650   ColeKepro 5.0   150181   150181.USA   3.021E+12      Raleigh,NC     Active   143595   143595 Pops                                    5409 Pendergrass Blvd                 Great Falls      SC   29055   8/7/2021
coincloud6662   ColeKepro 5.0   150193   150193.USA   3.021E+12     ST. Paul,MN     Active   146051   146051 Lewis Family Drug                       109 S Main St                         Milbank          SD   57252   8/7/2021
coincloud6674   ColeKepro 5.0   150205   150205.USA   3.021E+12   GRAPEVINE, TX     Active   150991   150991 Loaf 'N Jug                             300 N Main St                         Lamar            CO   81052   8/7/2021
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coincloud6931     ColeKepro 5.0      150462        150462.USA        3.021E+12     Sterling, VA    Active     146484   146484 Thorntons                     6347 Dixie Hwy                                        Fairfield           OH   45014   8/7/2021
coincloud150836   ColeKepro 5.0      150836        150836.USA        3.021E+12     Sterling, VA    Active     152294   152294 33620 Chincoteague Rd         33620 Chincoteague Rd                                 Wallops Island      VA   23337   8/7/2021
coincloud150925   ColeKepro 5.0      150925        150925.USA        3.021E+12     Sterling, VA    Active     152120   152120 Royal Farms                   200 Rohrerstown Rd                                    Lancaster           PA   17603   8/7/2021
coincloud151152   ColeKepro 5.0      151152        151152.USA        3.021E+12     Sterling, VA    Active     152114   152114 Royal Farms                   260 Crooked Run Plaza                                 Front Royal         VA   22630   8/7/2021
coincloud151346   ColeKepro 5.0      151346        151346.USA        3.021E+12     Sterling, VA    Active     154273   154273 Royal Farms                   4 Commerce Pkwy                                       Fredericksburg      VA   22406   8/7/2021
coincloud6469     ColeKepro 5.0      150000                          3.021E+12    Westbury,NY      Active     136617   136617 Suffield Village Market       68 Bridge St                                          Suffield            CT    6078   8/7/2021
coincloud6295     ColeKepro 5.0      149826                          3.021E+12     Sterling, VA    Active     157501   157501 Royal Farms                   1031 S Market St                                      Wilmington          DE   19801   8/7/2021
coincloud6500     ColeKepro 5.0      150031                          3.021E+12   New Orleans,LA    Active     137561   137561 Save A Lot                    305 W Hillsborough Ave                                Tampa               FL   33604    8/7/2021
coincloud6507     ColeKepro 5.0      150038                          3.021E+12   New Orleans,LA    Active     137560   137560 Save A Lot                    7430 Palm River Rd                                    Tampa               FL   33619   8/7/2021
coincloud6508     ColeKepro 5.0      150039                          3.021E+12   New Orleans,LA    Active     137531   137531 Save A Lot                    12860 US-301                                          Dade City           FL   33525   8/7/2021
coincloud6529     ColeKepro 5.0      150060                          3.021E+12   New Orleans,LA    Active     137572   137572 Save A Lot                    36538 State Rd 54                                     Zephyrhills         FL   33541   8/7/2021
coincloud6530     ColeKepro 5.0      150061                          3.021E+12   New Orleans,LA    Active     137547   137547 Save A Lot                    1401 S Collins St                                     Plant City          FL   33563   8/7/2021
coincloud6553     ColeKepro 5.0      150084                          3.021E+12   New Orleans,LA    Active     137543   137543 Save A Lot                    4985 US Hwy 98 N                                      Lakeland            FL   33809   8/7/2021
coincloud6189     ColeKepro 5.0      149720                          3.021E+12     Phoenix,AZ      Active     150963   150963 Minit Mart                    1407 5th St                                           Lacon               IL   61540   8/7/2021
coincloud6185     ColeKepro 5.0      149716                          3.021E+12     Phoenix,AZ      Active     146563   146563 Thorntons                     1600 S U.S Hwy 31 #S                                  Greenwood           IN   46143   8/7/2021
coincloud6438     ColeKepro 5.0      149969                          3.021E+12    Westbury,NY      Active     140697   140697 A&J Seabra Supermarkets       440 Stafford Rd                                       Fall River          MA    2721   8/7/2021
coincloud6467     ColeKepro 5.0      149998                          3.021E+12    Westbury,NY      Active     140698   140698 A&J Seabra Supermarkets       217 S Main St                                         Attleboro           MA    2703   8/7/2021
coincloud6491     ColeKepro 5.0      150022                          3.021E+12    Westbury,NY      Active     140686   140686 A&J Seabra Supermarkets       41 Rockdale Ave                                       New Bedford         MA    2740    8/7/2021
coincloud6451     ColeKepro 5.0      149982                          3.021E+12    Westbury,NY      Active     137694   137694 Goretti's                     1 Providence St                                       Millbury            MA    1527    8/7/2021
coincloud6309     ColeKepro 5.0      149840                          3.021E+12     Sterling, VA    Active     142586   142586 Shoppers                      551 Jermor Ln                                         Westminster         MD   21157   8/7/2021
coincloud6324     ColeKepro 5.0      149855                          3.021E+12     Sterling, VA    Active     142753   142753 Shoppers                      2000 Gwynns Falls Pkwy                                Baltimore           MD   21216   8/7/2021
coincloud6381     ColeKepro 5.0      149912                          3.021E+12   Kansas City,MO    Active     121867   121867 ACE                           10004 Gravois Rd                                      St. Louis           MO   63123   8/7/2021
coincloud6374     ColeKepro 5.0      149905                          3.021E+12   Kansas City,MO    Active     145533   145533 Brothers Market               1004 5th Ave                                          St Joseph           MO   64505   8/7/2021
coincloud6398     ColeKepro 5.0      149929                          3.021E+12   Kansas City,MO    Active     145534   145534 Brothers Market               105 S Moreau Ave                                      Tipton              MO   65081    8/7/2021
coincloud6384     ColeKepro 5.0      149915                          3.021E+12   Kansas City,MO    Active     140789   140789 Prenger Foods                 275 E Singleton St                                    Centralia           MO   65240   8/7/2021
coincloud6376     ColeKepro 5.0      149907                          3.021E+12   Kansas City,MO    Active     140788   140788 Prenger's Extreme Mart        28841 Sunset Dr                                       Macon               MO   63552    8/7/2021
coincloud6370     ColeKepro 5.0      149901                          3.021E+12   Kansas City,MO    Active     140790   140790 Prenger's Extreme Mart        327 E Singleton St                                    Centralia           MO   65240   8/7/2021
coincloud6307     ColeKepro 5.0      149838                          3.021E+12   Kansas City,MO    Active     140795   140795 Prenger's Quick Lube          1308 Washington St                                    Chillicothe         MO   64601   8/7/2021
coincloud6492     ColeKepro 5.0      150023                          3.021E+12    Westbury,NY      Active     141584   141584 Delay's Harvester Market      783 Forest Rd                                         Greenfield          NH    3047    8/7/2021
coincloud6472     ColeKepro 5.0      150003                          3.021E+12    Westbury,NY      Active     137396   137396 Save A Lot                    31 E Broad St                                         Bridgeton           NJ    8302    8/7/2021
coincloud6497     ColeKepro 5.0      150028                          3.021E+12    Westbury,NY      Active     137408   137408 Save A Lot                    1501 Atlantic Ave                                     Atlantic City       NJ    8401   8/7/2021
coincloud6248     ColeKepro 5.0      149779                          3.021E+12     Phoenix,AZ      Active     145834   145834 Farmer's Country Market       501 W 18th St                                         Portales            NM   88130    8/7/2021
coincloud6249     ColeKepro 5.0      149780                          3.021E+12     Phoenix,AZ      Active     147394   147394 Good2Go                       1401 Broadway Blvd SE                                 Albuquerque         NM   87102   8/7/2021
coincloud6494     ColeKepro 5.0      150025                          3.021E+12    Westbury,NY      Active     151108          Lanza Trucking                116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury            NY   11590   8/7/2021
coincloud5741     ColeKepro 5.0      149272                          3.021E+12    Creighton, PA    Active     146493   146493 Thorntons                     1771 Norton Rd                                        Galloway            OH   43119    8/7/2021
coincloud5629     ColeKepro 5.0      149160                          3.021E+12    Creighton, PA    Active     146488   146488 Thorntons                     2568 W North Bend Rd                                  Cincinnati          OH   45239   8/7/2021
coincloud6547     ColeKepro 5.0      150078                          3.021E+12    Mount Joy,PA     Active     137374   137374 Boyer's Food Markets          410 N 3rd St                                          Womelsdorf          PA   19567    8/7/2021
coincloud6554     ColeKepro 5.0      150085                          3.021E+12    Mount Joy,PA     Active     137383   137383 Boyer's Food Markets          200 W 1st St                                          Birdsboro           PA   19508    8/7/2021
coincloud6573     ColeKepro 5.0      150104                          3.021E+12    Mount Joy,PA     Active     137372   137372 Boyer's Food Markets          329 S Liberty St                                      Orwigsburg          PA   17961   8/7/2021
coincloud6569     ColeKepro 5.0      150100                          3.021E+12    Mount Joy,PA     Active     137375   137375 Boyer's Food Markets          600 W Centre St                                       Shenandoah          PA   17976   8/7/2021
coincloud6332     ColeKepro 5.0      149863                          3.021E+12     Sterling, VA    Active     137410   137410 Chester Avenue Grocer         5406 Chester Ave                                      Philadelphia        PA   19143   8/7/2021
coincloud6594     ColeKepro 5.0      150125                          3.021E+12    Mount Joy,PA     Active     143275   143275 Food Plus                     5201 Spring Rd                                        Shermansdale        PA   17090   8/7/2021
coincloud6540     ColeKepro 5.0      150071                          3.021E+12    Mount Joy,PA     Active     139372   139372 Landis Market                 841 Gravel Pike                                       Schwenksville       PA   19473    8/7/2021
coincloud6546     ColeKepro 5.0      150077                          3.021E+12    Mount Joy,PA     Active     139374   139374 Landis Market                 2685 County Line Rd                                   Telford             PA   18969    8/7/2021
coincloud6597     ColeKepro 5.0      150128                          3.021E+12    Mount Joy,PA     Active     139371   139371 Landis Market                 543 Constitution Ave                                  Perkasie            PA   18944    8/7/2021
coincloud6562     ColeKepro 5.0      150093                          3.021E+12    Mount Joy,PA     Active     139375   139375 Landis Market                 2190 E High St                                        Pottstown           PA   19464    8/7/2021
coincloud6560     ColeKepro 5.0      150091                          3.021E+12    Mount Joy,PA     Active     145469   145469 Lingle Neighborhood Market    150 15th St                                           Renovo              PA   17764    8/7/2021
coincloud6343     ColeKepro 5.0      149874                          3.021E+12     Sterling, VA    Active     137401   137401 Save A Lot                    3520 Edgmont Ave                                      Brookhaven          PA   19015   8/7/2021
coincloud6363     ColeKepro 5.0      149894                          3.021E+12     Sterling, VA    Active     137392   137392 Save A Lot                    810 Oley St                                           Reading             PA   19604   8/7/2021
coincloud6411     ColeKepro 5.0      149942                          3.021E+12    Westbury,NY      Active     137405   137405 Save A Lot                    6301 Chew Ave                                         Philadelphia        PA   19138   8/7/2021
coincloud6419     ColeKepro 5.0      149950                          3.021E+12    Westbury,NY      Active     137407   137407 Save A Lot                    5601 Vine St                                          Philadelphia        PA   19139    8/7/2021
coincloud6470     ColeKepro 5.0      150001                          3.021E+12    Westbury,NY      Active     137412   137412 Save A Lot                    5834 Pulaski St                                       Philadelphia        PA   19144   8/7/2021
coincloud6567     ColeKepro 5.0      150098                          3.021E+12    Mount Joy,PA     Active     145472   145472 Save A Lot                    111 W 13th St                                         Tyrone              PA   16686   8/7/2021
coincloud6409     ColeKepro 5.0      149940                          3.021E+12    Westbury,NY      Active     150816   150816 Cumberland Farms              2293 New London Turnpike                              Coventry            RI    2816   8/7/2021
coincloud6441     ColeKepro 5.0      149972                          3.021E+12    Westbury,NY      Active     150812   150812 Cumberland Farms              1040 Mineral Spring Ave                               North Providence    RI    2904   8/7/2021
coincloud6443     ColeKepro 5.0      149974                          3.021E+12    Westbury,NY      Active     150819   150819 Cumberland Farms              659 Reservoir Ave                                     Cranston            RI    2910   8/7/2021
coincloud6476     ColeKepro 5.0      150007                          3.021E+12    Westbury,NY      Active     150821   150821 Cumberland Farms              785 Tiogue Ave                                        Coventry            RI    2816   8/7/2021
coincloud6481     ColeKepro 5.0      150012                          3.021E+12    Westbury,NY      Active     150811   150811 Cumberland Farms              87 W Natick Rd                                        Warwick             RI    2886    8/7/2021
coincloud6499     ColeKepro 5.0      150030                          3.021E+12    Westbury,NY      Active     150815   150815 Cumberland Farms              1556 Post Rd                                          Warwick             RI    2888    8/7/2021
coincloud6608     ColeKepro 5.0      150139                          3.021E+12     ST. Paul,MN     Active     144542   144542 Buche Foods                   222 W Hwy 18                                          Gregory             SD   57533   8/7/2021
coincloud6600     ColeKepro 5.0      150131                          3.021E+12     ST. Paul,MN     Active     144546   144546 Buche Foods                   1000 E Sd Hwy 16                                      Oacoma              SD   57365   8/7/2021
coincloud6663     ColeKepro 5.0      150194                          3.021E+12     ST. Paul,MN     Active     144545   144545 Buche Foods                   560 1st St                                            Pine Ridge          SD   57770   8/7/2021
coincloud6665     ColeKepro 5.0      150196                          3.021E+12     ST. Paul,MN     Active     144544   144544 Buche Foods                   620 2nd St                                            Mission             SD   57555   8/7/2021
coincloud6664     ColeKepro 5.0      150195                          3.021E+12     ST. Paul,MN     Active     144549   144549 Buche Hardware                301 US-18                                             Martin              SD   57551   8/7/2021
coincloud6601     ColeKepro 5.0      150132                          3.021E+12     ST. Paul,MN     Active     145978   145978 Elegant Ink Studios           513 7th St                                            Rapid City          SD   57701   8/7/2021
coincloud6604     ColeKepro 5.0      150135                          3.021E+12     ST. Paul,MN     Active     144557   144557 Gus Stop Convenience Stores   502 E 2nd St                                          Winner              SD   57580    8/7/2021
coincloud6387     ColeKepro 5.0      149918                          3.021E+12   Kansas City,MO    Active     146047   146047 Lewis Drug                    6109 S Louise Ave                                     Sioux Falls         SD   57108   8/7/2021
coincloud6362     ColeKepro 5.0      149893                          3.021E+12   Kansas City,MO    Active     146050   146050 Lewis Drug                    2525 S Ellis Rd                                       Sioux Falls         SD   57106   8/7/2021
coincloud6334     ColeKepro 5.0      149865                          3.021E+12   Kansas City,MO    Active     139620   139620 Sonny's Super Foods           801 Jensen Hwy                                        Hot Springs         SD   57747   8/7/2021
coincloud5279     ColeKepro 5.0      148810                          3.021E+12   MAGNOLIA,TX       Active     141014   141014 Arlan's                       3614 Pleasanton Rd                                    San Antonio         TX   78221   8/7/2021
coincloud5994     ColeKepro 5.0      149525                          3.021E+12   San Antonio,TX    Active     135607   135607 H-E-B                         101 E Goodnight Ave                                   Aransas Pass        TX   78336   8/7/2021
coincloud6403     ColeKepro 5.0      149934                          3.021E+12    Magnolia,TX      Active     135825   135825 H-E-B                         12777 IH 10 W                                         San Antonio         TX   78230   8/7/2021
coincloud6406     ColeKepro 5.0      149937                          3.021E+12    Magnolia,TX      Active     135822   135822 H-E-B                         6030 Montgomery Dr                                    San Antonio         TX   78239   8/7/2021
coincloud6425     ColeKepro 5.0      149956                          3.021E+12    Magnolia,TX      Active     135841   135841 H-E-B                         12018 Perrin Beitel Rd                                San Antonio         TX   78217   8/7/2021
coincloud6430     ColeKepro 5.0      149961                          3.021E+12    Magnolia,TX      Active     135839   135839 H-E-B                         24165 I10 W. Ste 300                                  San Antonio         TX   78257   8/7/2021
coincloud6471     ColeKepro 5.0      150002                          3.021E+12    Magnolia,TX      Active     135819   135819 H-E-B                         6580 FM78                                             San Antonio         TX   78244   8/7/2021
coincloud6448     ColeKepro 5.0      149979                          3.021E+12    Magnolia,TX      Active     135809   135809 H-E-B                         15000 San Pedro Ave                                   San Antonio         TX   78232   8/7/2021
coincloud379      APSM 1.1        5.41325E+14   41325000000047.US    3.021E+12                     Active     103228   103228 Hot Spot                      3213 Farrow Rd                                        Columbia            SC   29203   9/19/2019
coincloud455      APSM 1.1        5.41537E+14   41537000000023.US    3.021E+12                     Active     103746   103746 Golden Food Mart              571 Eleanor Ave                                       San Antonio         TX   78209   9/19/2019
coincloud471      APSM 1.1        5.41537E+14   41537000000039.US    3.021E+12                     Active     103408   103408 Race Track Market Place       3815 Meadowbridge Rd                                  Richmond            VA   23222   9/19/2019
coincloud481      APSM 1.1        5.41537E+14   41537000000049.US    3.021E+12                     Active     103499   103499 Stop And Shop                 601 Berryville Ave                                    Winchester          VA   22601   9/19/2019
coincloud569      APSM 1.1        5.41539E+14   41539000000062.US    3.021E+12                     Active     104275   104275 Exxon                         2119 North Pkwy                                       Jackson             TN   38301   9/19/2019
coincloud6580     ColeKepro 5.0      150111         150111.USA       3.021E+12    Mount Joy,PA     Active     145470   145470 Lingle Neighborhood Market    15 W Brimmer Ave                                      Watsontown          PA   17777   8/7/2021
coincloud151036   ColeKepro 5.0      151036                                       Las Vegas, NV    Active     151036   151036 Cumberland Farms              297 Main St                                           Athol               MA    1331   8/7/2021
coincloud6320     ColeKepro 5.0      149851         149851.USA       3.021E+12     Sterling, VA    Active     137411   137411 Save A Lot                    1500 Garrett Rd                                       Upper Darby         PA   19082   8/7/2021
coincloud6514     ColeKepro 5.0      150045         150045.USA       3.021E+12   New Orleans,LA    Active     143258   143258 Oak Point Fresh Market        14485 Greenwell Springs Rd                            Greenwell Springs   LA   70739   8/7/2021
coincloud420      APSM 1.1        5.41535E+14   41535000000038.USA                                 Active     101585   101585 7-Eleven                      6020 Dublin Blvd                                      Colorado Springs    CO   80923   9/19/2019
coincloud6390     ColeKepro 5.0      149921                          3.021E+12   Kansas City,MO   Warehouse   121874          Logic Warehouse               4121 N Kentucky Ave.                                  Kansas City         MO   64161   8/7/2021
coincloud6574     ColeKepro 5.0      150105                          3.021E+12    Mount Joy,PA    Warehouse   121715          Weleski Transfer              500 Treadway Lane                                     Creighton           PA   15030   8/7/2021
coincloud6564     ColeKepro 5.0      150095                          3.021E+12    Mount Joy,PA    Warehouse   121820          Weleski Transfer              500 Treadway Lane                                     Creighton           PA   15030   8/7/2021
coincloud6489     ColeKepro 5.0      150020                                        Sloan, NV      Warehouse                   Sloan                                                                                                                8/7/2021
coincloud6439     ColeKepro 5.0      149970                          2.521E+12    Magnolia,TX     Warehouse   122437          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud6426     ColeKepro 5.0      149957                          3.021E+12    Westbury,NY     Warehouse   126424                                                                                                                                8/7/2021
coincloud150513   ColeKepro 5.0      150513        150513.USA                       Kent, WA       Active     151092   151092 Cumberland Farms              527 N Main St                                         Naugatuck           CT    6770   8/7/2021
coincloud4680     ColeKepro 5.0      148211                                        Sloan, NV      Warehouse                   Sloan                                                                                                                8/7/2021
coincloud1126     ColeKepro 2.0      143161        143161.USA        352240549                     Active     120388   120388 HEB                           3601 FM 1488                                          Woodlands           TX   77384   8/28/2020
coincloud644      APSM 1.1        5.42016E+14   42016000000012USA                                  Active     104410   104410 Shelby Food Mart              443 E Shelby Dr                                       Memphis             TN   38109   9/19/2019
coincloud6473     ColeKepro 5.0      150004        150004.USA        3.021E+12    Westbury,NY      Active     150665   150665 Cumberland Farms              3323 S County Trail                                   East Greenwich      RI    2818   8/7/2021
coincloud6418     ColeKepro 5.0      149949                          2.921E+12    Magnolia,TX     Warehouse   122369          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud863      ColeKepro 1.0      142084        142084USA         354430431                     Active     103693   103693 Natomas Wine & Liquor         1620 W El Camino Ave #155                             Sacramento          CA   95833   5/7/2020
coincloud6367     ColeKepro 5.0      149898        149898.USA        3.021E+12   Kansas City,MO    Active     142000   142000 Plaza Frontenac               1701 S Lindbergh Blvd                                 Frontenac           MO   63131   8/7/2021
coincloud820      ColeKepro 1.0      142045        142045.USA        354430465                     Active     117467   117467 Macfood Mart at Sunoco        4136 W Washington Center Rd                           Fort Wayne          IN   46818   5/7/2020
coincloud6420     ColeKepro 5.0      149951                          3.021E+12    Magnolia,TX     Warehouse   122482          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud6485     ColeKepro 5.0      150016                          3.021E+12    Westbury,NY     Warehouse   143831          CCHQ                                                                                                                 8/7/2021
coincloud998      ColeKepro 1.0   143003.USA                         354441250                     Active     101419   101419 Game Haven                    3245 W 7800 S                                         West Jordan         UT   84088   5/7/2020
coincloud6351     ColeKepro 5.0      149882        149882.USA        2.921E+12    Sterling, VA     Active     142751   142751 Shoppers                      18066 Mateny Rd                                       Germantown          MD   20874   8/7/2021
coincloud1222     ColeKepro 3.0      143257        143257.USA                                      Active     108408   108408 Three D's Variety             885 Brighton Ave                                      Portland            ME    4102   10/2/2020
coincloud6474     ColeKepro 5.0      150005                          3.021E+12    Westbury,NY     Warehouse   103207   103207 CCHQ                                                                                                                 8/7/2021
coincloud6463     ColeKepro 5.0      149994                          1.821E+12    Magnolia,TX     Warehouse   122483          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud1396     ColeKepro 3.0      143431        143431.USA                                      Active     103596   103596 Super Xpress Mini Mart        120 Brundage Ln                                       Bakersfield         CA   93304   10/2/2020
coincloud6355     ColeKepro 5.0      149886                          3.021E+12    Magnolia,TX     Warehouse   122458          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud6479     ColeKepro 5.0      150010                          3.021E+12    Westbury,NY      Active     151086   151086 Cumberland Farms              12 S Main St                                          Moosup              CT    6354   8/7/2021
coincloud6525     ColeKepro 5.0      150056        150056.USA        3.021E+12   New Orleans,LA    Active     144573   144573 Cash Saver                    2101 Raymond Rd                                       Jackson             MS   39212   8/7/2021
coincloud953      APSM 1.1        5.42027E+14   42027000000043USA                                  Active     108217   108217 La Bate's Liquors             7570 Broadway                                         Denver              CO   80221   9/19/2019
coincloud6429     ColeKepro 5.0      149960                          3.021E+12    Magnolia,TX     Warehouse   122487          Deadline Construction         19475 Alford Rd                                       Magnolia            TX   77355   8/7/2021
coincloud6466     ColeKepro 5.0      149997        149997.USA        3.021E+12    Westbury,NY      Active     103270   103270 Sunoco                        700 NJ-17                                             Carlstadt           NJ    7072   8/7/2021
coincloud1130     ColeKepro 2.0      143165        143165.USA        382060379                     Active     103705   103705 Mission Liquor & Food         4654 Whitney Ave                                      Sacramento          CA   95821   8/28/2020
coincloud6407     ColeKepro 5.0      149938                          3.021E+12    Magnolia,TX     Warehouse   122171          CCHQ                          10190 Covington Cross Dr.                             Las Vegas           NV   89144   8/7/2021
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coincloud6302     ColeKepro 5.0       149833                     3.021E+12   Kansas City,MO     Warehouse      103088                                                                                                                  8/7/2021
coincloud6331     ColeKepro 5.0       149862                     2.921E+12     Sterling, VA       Active       142744   142744 Shoppers                               2950 Donnell Dr                  Forestville        MD   20747    8/7/2021
coincloud6383     ColeKepro 5.0       149914                                    Sloan, NV       Warehouse      140796          Sloan                                                                                                    8/7/2021
coincloud6378     ColeKepro 5.0       149909                     3.021E+12   Kansas City,MO       Active       140792   140792 Prenger Foods                          409 Rte B                        Hallsville         MO   65255    8/7/2021
coincloud1576     ColeKepro 3.0       143611                     382280228                        Active       151375   151375 Cumberland Farms                       10 S Main St                     Leicester          MA    1524   10/2/2020
coincloud2183     ColeKepro 3.0       144218                      4.92E+12                        Active       119925   119925 Dot Com Vapor Shop                     8312 E Mill Plain Blvd           Vancouver          WA   98664   10/2/2020
coincloud6404     ColeKepro 5.0       149935                     3.021E+12    Magnolia,TX       Warehouse      122174          Deadline Construction                  19475 Alford Rd                  Magnolia           TX   77355   8/7/2021
coincloud6391     ColeKepro 5.0       149922                                  Sterling, VA      Warehouse                      Victory Vans                           116 Terminal Drive               Sterling           VA   20166    8/7/2021
coincloud6461     ColeKepro 5.0       149992                     3.021E+12    Westbury,NY       Warehouse      140029                                                                                                                   8/7/2021
coincloud1112     ColeKepro 2.0       143147        143147.USA   3.421E+12                        Active       103676   103676 Kings Wines & Liquor                   1328 Fulton Ave                  Sacramento         CA   95825   8/28/2020
coincloud5910     ColeKepro 5.0       149441                                   Sloan, NV        Warehouse                      Sloan                                                                                                    8/7/2021
coincloud151382   ColeKepro 5.0       151382        151382.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                    8/7/2021
coincloud2645     ColeKepro 3.0       145353        145353.USA   3.92E+12                         Active       115340   115340 BP                                     1273 S Main St                   Englewood          OH   45322   10/2/2020
coincloud2674     ColeKepro 3.0       145363                     3.92E+12                         Active       115390   115390 Ankeney Fine Foods                     660 Powell St                    SF                 CA   94108   10/2/2020
coincloud120      Lynna 1.0       BTM201801310100                3.92E+12                     Decommissioned   103559          Decommissioned                                                                                           1/1/2018
coincloud851      ColeKepro 1.0       142044                     3.92E+12    Las Vegas, NV      Warehouse      107984          CCHQ                                                                                                     5/7/2020
coincloud2648     ColeKepro 3.0       145351        144683.USA   3.92E+12                         Active       115370   115370 Azteca Market                          8116 Spouse Dr                   Prescott Valley    AZ   86314   10/2/2020
coincloud2676     ColeKepro 3.0       144711        145357.USA   3.92E+12                         Active       115347   115347 Electric Underground                   3109 13th Ave S                  Fargo              ND   58103   10/2/2020
coincloud151291   ColeKepro 5.0       151291        151291.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                    8/7/2021
coincloud1238     ColeKepro 3.0       141985        141985.USA   4.72E+12                         Active       101518   101518 House of Hookahs- West Valley #2       4081 S Redwood Rd                Salt Lake City     UT   84123   10/2/2020
coincloud1056     ColeKepro 2.0       143091        143091.USA   4.72E+12                         Active       108442   108442 Smoker King Tobacco and Liquor         1951 W Uintah St                 Colorado Springs   CO   80904   8/28/2020
coincloud1190     ColeKepro 2.0       143225        143225.USA   4.72E+12                         Active       108448   108448 Mike's Quik Stop & Deli                907 Presque Isle Rd              Caribou            ME    4736   8/28/2020
coincloud1295     ColeKepro 3.0       143330        143330.USA   4.72E+12                         Active       108888   108888 Glassworx of Tulsa Head Shop           6529 E 51st St                   Tulsa              OK   74145   10/2/2020
coincloud1521     ColeKepro 3.0       143556        143556.USA   4.72E+12                         Active       113864   113864 Global Mart                            89 2nd St Unit 7                 Coralville         IA   52241   10/2/2020
coincloud2056     ColeKepro 3.0       144091        144091.USA   4.72E+12                         Active       115422   115422 Redners Warehouse Market #54           2126 N Fountain Green Rd         Bel Air            MD   21015   10/2/2020
coincloud2072     ColeKepro 3.0       144107        144107.USA   4.72E+12                         Active       115432   115432 Redner's Warehouse Market              1200 Welsh Rd                    North Wales        PA   19454   10/2/2020
coincloud2073     ColeKepro 3.0       144108        144108.USA   4.72E+12                         Active       115446   115446 Redner's Warehouse Market              116 County Line Rd               Boyertown          PA   19512   10/2/2020
coincloud2075     ColeKepro 3.0       144110        144110.USA   4.72E+12                         Active       116083   116083 Redner's Warehouse Markets             2975 US-22                       Fredericksburg     PA   17026   10/2/2020
coincloud2076     ColeKepro 3.0       144111        144111.USA   4.72E+12                         Active       117234   117234 SHOP 'n SAVE                           1 Franklin Village Mall          Kittanning         PA   16201   10/2/2020
coincloud2085     ColeKepro 3.0       144120        144120.USA   4.72E+12                         Active       117228   117228 SHOP 'n SAVE                           210 N Diamond St                 Mt Pleasant        PA   15666   10/2/2020
coincloud2086     ColeKepro 3.0       144121        144121.USA   4.72E+12                         Active       115399   115399 Redner's Warehouse Markets             1179 BEN FRANKLIN HWY W          DOUGLASSVILLE      PA   19518   10/2/2020
coincloud2090     ColeKepro 3.0       144125        144125.USA   4.72E+12                         Active       117333   117333 Miller's Market                        628 Mineral Ave                  Mineral            VA   23117   10/2/2020
coincloud2092     ColeKepro 3.0       144127        144127.USA   4.72E+12                         Active       117230   117230 SHOP 'n SAVE                           1620 Babcock Blvd                Pittsburgh         PA   15209   10/2/2020
coincloud2094     ColeKepro 3.0       144129        144129.USA   4.72E+12                         Active       115401   115401 Redner's Quick Shoppe                  6719 Bernville Rd                Bernville          PA   19506   10/2/2020
coincloud2098     ColeKepro 3.0       144133        144133.USA   4.72E+12                         Active       115421   115421 Redner's Warehouse Markets             1002 Joppa Farm Rd               JOPPA              MD   21085   10/2/2020
coincloud2106     ColeKepro 3.0       144141        144141.USA   4.72E+12                         Active       117323   117323 Mckay's Market #7                      418 8th Street                   Myrtle Point       OR   97458   10/2/2020
coincloud2146     ColeKepro 3.0       144181        144181.USA   4.72E+12                         Active       117221   117221 SHOP 'n SAVE                           250 S 3rd St                     Youngwood          PA   15697   10/2/2020
coincloud2148     ColeKepro 3.0       144183        144183.USA   4.72E+12                         Active       115440   115440 Redner's                               2300 Lehigh St                   Allentown          PA   18103   10/2/2020
coincloud2150     ColeKepro 3.0       144185        144185.USA   4.72E+12                         Active       150530   150530 Loaf 'N Jug                            3980 Ivywood Ln                  Pueblo             CO   81005   10/2/2020
coincloud2214     ColeKepro 3.0       144249        144249.USA   4.72E+12                         Active       115400   115400 Redner's Quick Shoppe                  367 E High St                    Pottstown          PA   19464   10/2/2020
coincloud2215     ColeKepro 3.0       144250        144250.USA   4.72E+12                         Active       115396   115396 Redner's Warehouse Markets             311 Augustine Herman Hwy         Elkton             MD   21921   10/2/2020
coincloud2252     ColeKepro 3.0       144306        144306.USA   4.72E+12                         Active       118043   118043 Deep Creek SNS                         24586 Garrett Hwy                McHenry            MD   21541   10/2/2020
coincloud2423     ColeKepro 3.0       144472        144472.USA   4.72E+12                         Active       116127   116127 Hop-In                                 214 E Walnut St                  Coleman            TX   76834   10/2/2020
coincloud2426     ColeKepro 3.0       144476        144476.USA   4.72E+12                         Active       124615   124615 Shady Maple Farm Market                1324 Main St                     East Earl          PA   17519   10/2/2020
coincloud2506     ColeKepro 3.0       144491        144491.USA   4.72E+12                         Active       117227   117227 Olympia SHOP 'n SAVE                   4313 Walnut St #4                McKeesport         PA   15132   10/2/2020
coincloud2508     ColeKepro 3.0       144493        144493.USA   4.72E+12                         Active       120236   120236 Karns                                  35 Centre Drive                  New Bloomfield     PA   17068   10/2/2020
coincloud2514     ColeKepro 3.0       144496        144496.USA   4.72E+12                         Active       115439   115439 Redner's Warehouse Markets             3745 Nicholas St                 Easton             PA   18045   10/2/2020
coincloud2526     ColeKepro 3.0       145047        145047.USA   4.72E+12                         Active       115441   115441 Redner's Warehouse Markets             1201 Airport Rd                  Allentown          PA   18109   10/2/2020
coincloud2527     ColeKepro 3.0       145048        145048.USA   4.72E+12                         Active       115395   115395 Redner's Warehouse Market              58 E 6th St                      Red Hill           PA   18076   10/2/2020
coincloud2528     ColeKepro 3.0       145049        145049.USA   4.72E+12                         Active       117223   117223 SHOP 'n SAVE                           1886 Homeville Road              West Mifflin       PA   15122   10/2/2020
coincloud2519     ColeKepro 3.0       145059        145059.USA   4.72E+12                         Active       115427   115427 Redner's Warehouse Markets             2500 S Dupont Hwy                Camden             DE   19934   10/2/2020
coincloud2517     ColeKepro 3.0       145061        145061.USA   4.72E+12                         Active       115420   115420 Redner's Warehouse Markets             1300 N Charlotte St              Pottstown          PA   19464   10/2/2020
coincloud2533     ColeKepro 3.0       145094        145094.USA   4.72E+12                         Active       137379   137379 Boyer's Food Markets                   999 W 15th St                    Hazleton           PA   18201   10/2/2020
coincloud2563     ColeKepro 3.0       145116        145116.USA   4.72E+12                         Active       117222   117222 SHOP 'n SAVE                           150 Walnut Hill Rd               Uniontown          PA   15401   10/2/2020
coincloud2555     ColeKepro 3.0       145119        145119.USA   4.72E+12                         Active       120234   120234 Karns                                  6001 Allentown Blvd              Harrisburg         PA   17112   10/2/2020
coincloud2551     ColeKepro 3.0       145123        145123.USA   4.72E+12                         Active       115404   115404 Redner's Warehouse Markets             2180 MacArthur Rd                Fullerton          PA   18052   10/2/2020
coincloud2638     ColeKepro 3.0       145148        145148.USA   4.72E+12                         Active       137370   137370 Boyer's Food Markets                   210 Cedar St                     Tamaqua            PA   18252   10/2/2020
coincloud2511     ColeKepro 3.0       145160        145160.USA   4.72E+12                         Active       115434   115434 Redner's Warehouse Markets             2850 Audubon Village Dr          Audubon            PA   19403   10/2/2020
coincloud2501     ColeKepro 3.0       145161        145161.USA   4.72E+12                         Active       120239   120239 Karns                                  731 Cherry Dr                    Hershey            PA   17033   10/2/2020
coincloud2658     ColeKepro 3.0       145179        145179.USA   4.72E+12                         Active       115406   115406 Redner's Warehouse Markets             1149 Berkshire Blvd              Wyomissing         PA   19610   10/2/2020
coincloud2694     ColeKepro 3.0       145180        145180.USA   4.72E+12                         Active       117857   117857 Bridgewater Foods                      519 N Main St                    Bridgewater        VA   22812   10/2/2020
coincloud2818     ColeKepro 3.0       145213        145213.USA   4.72E+12                         Active       115377   115377 B & B West                             3105 Hudson Rd                   Cedar Falls        IA   50613   10/2/2020
coincloud2701     ColeKepro 3.0       145227        145227.USA   4.72E+12                         Active       116973   116973 Savin Hill Wine & Spirits              1051 Dorchester Ave              Boston             MA    2125   10/2/2020
coincloud2786     ColeKepro 3.0       145267        145267.USA   4.72E+12                         Active       115376   115376 Thunder Ridge Ampride                  2425 White Tail Dr               Cedar Falls        IA   50613   10/2/2020
coincloud2785     ColeKepro 3.0       145269        145269.USA   4.72E+12                         Active       116450   116450 Gold Harvest Market                    4021 Mother Lode Dr              Shingle Springs    CA   95682   10/2/2020
coincloud2615     ColeKepro 3.0       145273        145273.USA   4.72E+12                         Active       117225   117225 SHOP 'n SAVE                           12120 State Route 30             Northhuntington    PA   15642   10/2/2020
coincloud2690     ColeKepro 3.0       145332        145332.USA   4.72E+12                         Active       120231   120231 Karns                                  10 Newberry Commons              Goldsboro          PA   17319   10/2/2020
coincloud2689     ColeKepro 3.0       145338        145338.USA   4.72E+12                         Active       116969   116969 SHOP 'n SAVE                           4536 William Penn Hwy            Murrysville        PA   15668   10/2/2020
coincloud2692     ColeKepro 3.0       145339        145339.USA   4.72E+12                         Active       120230   120230 Karns                                  1706 Spring Rd                   Carlisle           PA   17013   10/2/2020
coincloud2684     ColeKepro 3.0       145340        145340.USA   4.72E+12                         Active       117317   117317 Cranberry SHOP 'n SAVE                 1197 Freedom Rd                  Cranberry Twp      PA   16066   10/2/2020
coincloud2682     ColeKepro 3.0       145342        145342.USA   4.72E+12                         Active       116085   116085 Redner's Warehouse Markets             110 Northside Commons            Palmyra            PA   17078   10/2/2020
coincloud2652     ColeKepro 3.0       145343        145343.USA   4.72E+12                         Active       137377   137377 Boyer's Food Markets                   125 E 3rd St                     Berwick            PA   18603   10/2/2020
coincloud2651     ColeKepro 3.0       145345        145345.USA   4.72E+12                         Active       118185   118185 Eddie's of Mount Vernon                7 W Eager St                     Baltimore          MD   21201   10/2/2020
coincloud2687     ColeKepro 3.0       145346        145346.USA   4.72E+12                         Active       118044   118044 Cresson SHOP 'n SAVE                   1213 2nd St                      Cresson            PA   16630   10/2/2020
coincloud2681     ColeKepro 3.0       145348        145348.USA   4.72E+12                         Active       116086   116086 Redner's Warehouse Markets             4870 Penn Ave                    Sinking Spring     PA   19608   10/2/2020
coincloud2653     ColeKepro 3.0       145349        145349.USA   4.72E+12                         Active       120241   120241 Karns                                  413 Forge Rd                     Boiling Springs    PA   17007   10/2/2020
coincloud2650     ColeKepro 3.0       145350        145350.USA   4.72E+12                         Active       115418   115418 Redner's Warehouse Markets             350 GOLD STAR PLAZA              Shenandoah         PA   17976   10/2/2020
coincloud2671     ColeKepro 3.0       145354        145354.USA   4.72E+12                         Active       115413   115413 Redner's Warehouse Markets             500 Hawk Ridge Dr                Hamburg            PA   19526   10/2/2020
coincloud2675     ColeKepro 3.0       145355        145355.USA   4.72E+12                         Active       117232   117232 Pittsburgh Street SHOP 'n SAVE         730 E Pittsburgh St              Greensburg         PA   15601   10/2/2020
coincloud2679     ColeKepro 3.0       145358        145358.USA   4.72E+12                         Active       136350   136350 7-Eleven                               6501 Iron Bridge Rd              Richmond           VA   23234   10/2/2020
coincloud2649     ColeKepro 3.0       145361        145361.USA   4.72E+12                         Active       118191   118191 SHOP 'n SAVE                           541 Spring St                    Houtzdale          PA   16651   10/2/2020
coincloud2670     ColeKepro 3.0       145364        145364.USA   4.72E+12                         Active       120238   120238 Karns                                  4870 Carlisle Pike               Mechanicsburg      PA   17050   10/2/2020
coincloud2664     ColeKepro 3.0       145366        145366.USA   4.72E+12                         Active       126510   126510 Aharts Market                          248 PA-940                       Blakeslee          PA   18610   10/2/2020
coincloud2662     ColeKepro 3.0       145368        145368.USA   4.72E+12                         Active       115408   115408 Redner's Warehouse Markets             300 KENHORST PLAZA               Kenhorst           PA   19607   10/2/2020
coincloud2693     ColeKepro 3.0       145371        145371.USA   4.72E+12                         Active       115407   115407 Redner's Warehouse Market              423 N Reading Rd                 Ephrata            PA   17522   10/2/2020
coincloud2659     ColeKepro 3.0       145372        145372.USA   4.72E+12                         Active       115403   115403 Redner's Warehouse Markets             459 N 3rd St                     Oxford             PA   19363   10/2/2020
coincloud2661     ColeKepro 3.0       145373        145373.USA   4.72E+12                         Active       117316   117316 SHOP 'n SAVE                           799 Castle Shannon Blvd          Pittsburgh         PA   15234   10/2/2020
coincloud2663     ColeKepro 3.0       145374        145374.USA   4.72E+12                         Active       120242   120242 Karns                                  1023 State St                    Lemoyne            PA   17043   10/2/2020
coincloud2665     ColeKepro 3.0       145375        145375.USA   4.72E+12                         Active       115426   115426 Redner's Quick Shoppe                  1137 Commons Blvd                Reading            PA   19605   10/2/2020
coincloud2669     ColeKepro 3.0       145377        145377.USA   4.72E+12                         Active       115397   115397 Redner's Quick Shoppe                  2320 Penn Ave                    West Lawn          PA   19609   10/2/2020
coincloud2794     ColeKepro 3.0       145417        145417.USA   4.72E+12                         Active       119251   119251 Cub Foods                              1512 S.W. - ROUTE 26             Freeport           IL   61032   10/2/2020
coincloud2793     ColeKepro 3.0       145420        145420.USA   4.72E+12                         Active       116196   116196 Star Liquor Beer & Wine                460 N Lamar St ##300             Dallas             TX   75202   10/2/2020
coincloud2789     ColeKepro 3.0       145424        145424.USA   4.72E+12                         Active       119104   119104 Christopher's Fine Foods               5570 Shady Side Rd               Shady Side         MD   20733   10/2/2020
coincloud2802     ColeKepro 3.0       145425        145425.USA   4.72E+12                         Active       119057   119057 B&D Market                             1002 W Lincoln Ave               Olivia             MN   56277   10/2/2020
coincloud2803     ColeKepro 3.0       145428        145428.USA   4.72E+12                         Active       116972   116972 Hopkins Liquor Store                   712 11th Ave S                   Hopkins            MN   55343   10/2/2020
coincloud2809     ColeKepro 3.0       145429        145429.USA   4.72E+12                         Active       116553   116553 West Mart Convenience & Smoke shop     248 West Ave                     Pawtucket          RI    2860   10/2/2020
coincloud2779     ColeKepro 3.0       145433        145433.USA   4.72E+12                         Active       117217   117217 American Market                        1420 State St                    Salem              OR   97301   10/2/2020
coincloud2780     ColeKepro 3.0       145434        145434.USA   4.72E+12                         Active       103083   103083 Sam's Food Stores                      28 Hartford Ave                  Providence         RI    2909   10/2/2020
coincloud2784     ColeKepro 3.0       145436        145436.USA   4.72E+12                         Active       115448   115448 Homran Liquor Store                    1551 Ocean Ave                   SF                 CA   94112   10/2/2020
coincloud2904     ColeKepro 3.0       145437        145437.USA   4.72E+12                         Active       116841   116841 440 Quick Stop                         725 NJ-440                       Jersey City        NJ    7304   10/2/2020
coincloud2877     ColeKepro 3.0       145447        145447.USA   4.72E+12                         Active       116400   116400 Super USA                              1333 Thomas Ave W                St Paul            MN   55104   10/2/2020
coincloud2873     ColeKepro 3.0       145452        145452.USA   4.72E+12                         Active       116198   116198 Cheers Liquor Beer & Wine              5460 Lemmon Ave                  Dallas             TX   75209   10/2/2020
coincloud2885     ColeKepro 3.0       145458        145458.USA   4.72E+12                         Active       116449   116449 Woodlake Liquor                        23217 Saticoy St                 Canoga Park        CA   91304   10/2/2020
coincloud2882     ColeKepro 3.0       145461        145461.USA   4.72E+12                         Active       115241   115241 Top Dollar Pawn & Gun                  3421 Washington St               Vicksburg          MS   39180   10/2/2020
coincloud2889     ColeKepro 3.0       145464        145464.USA   4.72E+12                         Active       117126   117126 Time Saver                             4148 W Kennedy Blvd              Tampa              FL   33609   10/2/2020
coincloud2891     ColeKepro 3.0       145484        145484.USA   4.72E+12                         Active       117859   117859 SuperValue                             30581 PATRIOT AVE                Pequot Lakes       MN   56472   10/2/2020
coincloud2892     ColeKepro 3.0       145485        145485.USA   4.72E+12                         Active       117860   117860 Cub Foods                              14133 Edgewood Dr N              Baxter             MN   56425   10/2/2020
coincloud2893     ColeKepro 3.0       145486        145486.USA   4.72E+12                         Active       117861   117861 Cub Foods                              417 8th Ave NE                   Brainerd           MN   56401   10/2/2020
coincloud2868     ColeKepro 3.0       145491        145491.USA   4.72E+12                         Active       115339   115339 Fine Wines & Liquors                   6472 College Rd                  Lisle              IL   60532   10/2/2020
coincloud2947     ColeKepro 3.0       145517        145517.USA   4.72E+12                         Active       117085   117085 Michaels Liquor                        2402 Wilshire Blvd               Santa Monica       CA   90403   10/2/2020
coincloud2966     ColeKepro 3.0       145597        145597.USA   4.72E+12                         Active       117215   117215 American Market                        28600 OR-18                      Grand Ronde        OR   97347   10/2/2020
coincloud2965     ColeKepro 3.0       145599        145599.USA   4.72E+12                         Active       117326   117326 American Market                        8580 Grand Ronde Rd              Grand Ronde        OR   97347   10/2/2020
coincloud2962     ColeKepro 3.0       145606        145606.USA   4.72E+12                         Active       117054   117054 Oak Street Food Mart                   331 E Oak St                     Louisville         KY   40203   10/2/2020
coincloud2964     ColeKepro 3.0       145607        145607.USA   4.72E+12                         Active       117327   117327 AMERICAN MARKET                        2515 Oregon Coast Hwy            Florence           OR   97439   10/2/2020
coincloud2960     ColeKepro 3.0       145613        145613.USA   4.72E+12                         Active       117469   117469 Macfood Mart at Sunoco (Wayne Haven)   6925 IN-930                      Fort Wayne         IN   46803   10/2/2020
coincloud6669     ColeKepro 5.0       150200        150200.USA   4.72E+12    GRAPEVINE, TX        Active       151116   151116 Cumberland Farms                       193 Division St                  Pawtucket          RI    2860   8/7/2021
coincloud150677   ColeKepro 5.0       150677        150677.USA   4.72E+12     Sterling, VA        Active       152222   152222 Royal Farms                            29214 Lankford Hwy               Cape Charles       VA   23310   8/7/2021
coincloud150821   ColeKepro 5.0       150821        150821.USA   4.72E+12     Sterling, VA        Active       152200   152200 25220 Lankford Hwy                     25220 Lankford Hwy               Onancock           VA   23417   8/7/2021
                                         Case 23-10423-mkn                                        Doc 36-2                    Entered 02/08/23 19:55:21                                          Page 152 of 217


coincloud150991   ColeKepro 5.0        150991          150991.USA   4.72E+12     Sterling, VA        Active       152176   152176 Royal Farms                          1170 Loucks Rd                    York               PA   17404    8/7/2021
coincloud151281   ColeKepro 5.0        151281          151281.USA   4.72E+12     Sterling, VA        Active       152102   152102 Royal Farms                          7402 Shockley Dr                  Frederick          MD   21704    8/7/2021
coincloud2821     ColeKepro 3.0        145382                       4.72E+12                         Active       115338   115338 Matador Coffee Roasting Company      203 S Milton Rd                   Flagstaff          AZ   86001   10/2/2020
coincloud2968     ColeKepro 3.0        145601                       4.72E+12                         Active       117856   117856 Don's Market                         30250 CA-79                       Santa Ysabel       CA   92070   10/2/2020
coincloud2875     ColeKepro 3.0        145460                       4.72E+12                         Active       116783   116783 FLYERS                               515 S Lovers Ln                   Visalia            CA   93292   10/2/2020
coincloud2878     ColeKepro 3.0        145463                       4.72E+12                         Active       116200   116200 Hill Top General Store               1398 Leavenworth St               SF                 CA   94109   10/2/2020
coincloud2955     ColeKepro 3.0        145605                       4.72E+12                         Active       116767   116767 Neighborhood Liquor Mart             3505 Lincoln Way #Ste 105         Ames               IA   50014   10/2/2020
coincloud2961     ColeKepro 3.0        145610                       4.72E+12                         Active       116893   116893 Nueva Imagen                         1418 W 3rd St                     Sioux City         IA   51103   10/2/2020
coincloud2790     ColeKepro 3.0        145422                       4.72E+12                         Active       119184   119184 IGA                                  1010 S Main St                    Red Bud            IL   62278   10/2/2020
coincloud2880     ColeKepro 3.0        145448                       4.72E+12                         Active       119185   119185 IGA                                  625 E Washington St               Millstadt          IL   62260   10/2/2020
coincloud2869     ColeKepro 3.0        145492                       4.72E+12                         Active       116329   116329 K.K. Convenience Store               3152 W Devon Ave                  Chicago            IL   60659   10/2/2020
coincloud2791     ColeKepro 3.0        145416                       4.72E+12                         Active       116771   116771 Steve's Laundry Center LLC           150 Family Fare Dr                Nappanee           IN   46550   10/2/2020
coincloud2948     ColeKepro 3.0        145516                       4.72E+12                         Active       115190   115190 Village Pantry                       13060 Jefferson Blvd              Mishawaka          IN   46545   10/2/2020
coincloud2970     ColeKepro 3.0    No serial # found                4.72E+12                         Active       115346   115346 Hutch's                              1580 N Kansas Ave                 Liberal            KS   67901   10/2/2020
coincloud2886     ColeKepro 3.0        145479                       4.72E+12                         Active       116769   116769 Gizmo's Mini Mart                    332 W Broadway #Suite #105        Louisville         KY   40202   10/2/2020
coincloud2808     ColeKepro 3.0        144843                       4.72E+12                         Active       116397   116397 Liquor Palace DBA A One Liquor INC   3415 Breckenridge Ln              Louisville         KY   40220   10/2/2020
coincloud2884     ColeKepro 3.0        145451                       4.72E+12                         Active       150452   150452 Minit Mart                           5425 Cairo Rd                     Paducah            KY   42001   10/2/2020
coincloud2091     ColeKepro 3.0        144126                       4.72E+12                         Active       116087   116087 Redner's Markets                     17 Washington Square              Chestertown        MD   21620   10/2/2020
coincloud2077     ColeKepro 3.0        144112                       4.72E+12                         Active       115415   115415 Redner's Warehouse Markets           7938 Eastern Ave                  Baltimore          MD   21224   10/2/2020
coincloud2883     ColeKepro 3.0        145459                       4.72E+12                         Active       115384   115384 7 Bears Liquors                      1785 7th St E                     St Paul            MN   55119   10/2/2020
coincloud2420     ColeKepro 3.0        144458                       4.72E+12                         Active       108916   108916 Airport Market                       8516 Airport Rd                   St. Louis          MO   63134   10/2/2020
coincloud2881     ColeKepro 3.0        144916                       4.72E+12                         Active       116128   116128 Alhuda 2 Market                      3727 Gravois Ave                  St. Louis          MO   63116   10/2/2020
coincloud2956     ColeKepro 3.0        145603                       4.72E+12                         Active       116842   116842 Pete's Market l St. Louis            7434 Olive Blvd                   St. Louis          MO   63130   10/2/2020
coincloud2807     ColeKepro 3.0        145412                       4.72E+12                         Active       116398   116398 World Market Inc                     3900 S Grand Blvd                 St. Louis          MO   63118   10/2/2020
coincloud2871     ColeKepro 3.0        145480                       4.72E+12                         Active       116784   116784 Shell                                206 E Government St               Brandon            MS   39042   10/2/2020
coincloud2954     ColeKepro 3.0        145595                       4.72E+12                         Active       115353   115353 Hutch's                              610 N E Hwy 66                    Sayre              OK   73662   10/2/2020
coincloud2950     ColeKepro 3.0        145503                       4.72E+12                         Active       117314   117314 Gervais Food Market                  412 4th St                        Gervais            OR   97026   10/2/2020
coincloud2049     ColeKepro 3.0        149026                       4.72E+12                         Active       144691   144691 Progress Grocery & Deli              8624 SW Hall Blvd                 Beaverton          OR   97008   10/2/2020
coincloud2949     ColeKepro 3.0        145518                       4.72E+12                         Active       117213   117213 St Paul Market                       4171 Blanchet Ave NE              St Paul            OR   97137   10/2/2020
coincloud2654     ColeKepro 3.0        145347                       4.72E+12                         Active       137380   137380 Boyer's Food Markets                 150 E Centre St                   Ashland            PA   17921   10/2/2020
coincloud2655     ColeKepro 3.0        145333                       4.72E+12                         Active       137369   137369 Boyer's Food Markets                 2688 Locust Gap Hwy               Mt Carmel          PA   17851   10/2/2020
coincloud2634     ColeKepro 3.0        145280                       4.72E+12                         Active       135575   135575 Eby's Store                          1009 Martindale Rd                Ephrata            PA   17522   10/2/2020
coincloud2946     ColeKepro 3.0        145519                       4.72E+12                         Active       117235   117235 Frank's Newsstand                    37 Public Square                  Wilkes-Barre       PA   18701   10/2/2020
coincloud2683     ColeKepro 3.0        145331                       4.72E+12                         Active       120233   120233 Karns                                101 S Union St                    Middletown         PA   17057   10/2/2020
coincloud2660     ColeKepro 3.0        145178                       4.72E+12                         Active       117472   117472 Pantry Quik                          161 Carey Ave                     Wilkes-Barre       PA   18702   10/2/2020
coincloud2096     ColeKepro 3.0        144131                       4.72E+12                         Active       115436   115436 Redner's Quick Shoppe                8380 Allentown Pike               Reading            PA   19605   10/2/2020
coincloud2505     ColeKepro 3.0        144540                       4.72E+12                         Active       115425   115425 Redner's Warehouse Markets           2506 Knights Rd                   Bensalem           PA   19020   10/2/2020
coincloud2513     ColeKepro 3.0        144548                       4.72E+12                         Active       115398   115398 Redner's Warehouse Markets           800 Carsonia Ave                  Reading            PA   19606   10/2/2020
coincloud2666     ColeKepro 3.0        144701                       4.72E+12                         Active       115431   115431 Redner's Warehouse Markets           2000 N Twp Blvd                   Pittston           PA   18640   10/2/2020
coincloud2093     ColeKepro 3.0        144128                       4.72E+12                         Active       117229   117229 SHOP 'n SAVE                         58 W Church St                    Fairchance         PA   15436   10/2/2020
coincloud2668     ColeKepro 3.0        145367                       4.72E+12                         Active       117226   117226 SHOP 'n SAVE                         649 Old Clairton Rd               Pittsburgh         PA   15236   10/2/2020
coincloud2677     ColeKepro 3.0        145362                       4.72E+12                         Active       117224   117224 SHOP 'n SAVE                         543 Salt St                       Saltsburg          PA   15681   10/2/2020
coincloud2680     ColeKepro 3.0        145344                       4.72E+12                         Active       117236   117236 SHOP 'n SAVE                         815 5th Ave                       McKeesport         PA   15132   10/2/2020
coincloud2686     ColeKepro 3.0        145336                       4.72E+12                         Active       117231   117231 SHOP 'n SAVE                         990 N Main St                     Greensburg         PA   15601   10/2/2020
coincloud2564     ColeKepro 3.0        145117                       4.72E+12                         Active       135573   135573 Stager's Store                       696 Dulancey Dr                   Portage            PA   15946   10/2/2020
coincloud2952     ColeKepro 3.0        145600                       4.72E+12                         Active       116554   116554 Pontiac Food Mart                    527 Pontiac Ave                   Cranston           RI    2910   10/2/2020
coincloud6004     ColeKepro 5.0        149535                       4.72E+12    San Antonio,TX       Active       135612   135612 H-E-B                                3133 S Alameda St                 Corpus Christi     TX   78404   8/7/2021
coincloud2783     ColeKepro 3.0        145435                       4.72E+12                         Active       115250   115250 Hilltop Steel Mart                   201 Morelos St                    Junction           TX   76849   10/2/2020
coincloud2421     ColeKepro 3.0        144501                       4.72E+12                         Active       116094   116094 Hop-In                               1400 Coggin Ave                   Brownwood          TX   76801   10/2/2020
coincloud2422     ColeKepro 3.0        144471                       4.72E+12                         Active       116093   116093 Hop-In                               1033 Cherry St                    Baird              TX   79504   10/2/2020
coincloud2688     ColeKepro 3.0        145337                       4.72E+12                         Active       117334   117334 Wakefield Great Valu                 608 N County Dr                   Wakefield          VA   23888   10/2/2020
coincloud78       Lynna 1.0       BTM201801220076                   4.72E+12                     Decommissioned   101471          Decommissioned                                                                                          1/1/2018
coincloud549      APSM 1.1            5.42E+14                      4.72E+12                       Warehouse      103892          ATM Advisory                         9402 Uptown Drive, Suite 300      Indianapolis       IN   46256   9/19/2019
coincloud2430     ColeKepro 3.0        144479                       4.72E+12                       Warehouse      116451          Logic Warehouse                      4121 N Kentucky Ave.              Kansas City        MO   64161   10/2/2020
coincloud2796     ColeKepro 3.0        145217          145214.USA   4.72E+12                         Active       117216   117216 American Market                      911 E Main St                     Cottage Grove      OR   97424   10/2/2020
coincloud2657     ColeKepro 3.0        144692          145341.USA   4.72E+12                         Active       115419   115419 Redner's Warehouse Markets           22 Forest Dr                      Hegins             PA   17938   10/2/2020
coincloud2673     ColeKepro 3.0        144708          145365.USA   4.72E+12                         Active       116088   116088 Redner's Warehouse Markets           191 Manheim Rd                    Schuylkill Haven   PA   17972   10/2/2020
coincloud2516     ColeKepro 3.0        144551          144494.USA   4.72E+12                         Active       115429   115429 Redner's Warehouse Markets           25 Greentree Dr                   Dover              DE   19904   10/2/2020
coincloud2507     ColeKepro 3.0        144542          144492.USA   4.72E+12                         Active       115325   115325 Rub-A-Dub-Dub Laundromat             15782 WI-27                       Hayward            WI   54843   10/2/2020
coincloud2550     ColeKepro 3.0        145124          145124.USA   4.72E+12                         Active       137373   137373 Boyer's Food Markets                 318 S Hancock St                  McAdoo             PA   18237   10/2/2020
coincloud2518     ColeKepro 3.0        144553          145060.USA   4.72E+12                         Active       115424   115424 Redner's Warehouse Markets           202 Schuylkill Rd                 Phoenixville       PA   19460   10/2/2020
coincloud5366     ColeKepro 5.0        148897          148897.USA                 Sloan, NV        Warehouse      122145          Sloan                                                                                                   8/7/2021
coincloud5111     ColeKepro 5.0        148642          148642.USA                 Sloan, NV        Warehouse      129165          Sloan                                                                                                   8/7/2021
coincloud150727   ColeKepro 5.0        150727          150727.USA   4.821E+12    Sterling, VA        Active       152177   152177 1551 Pulaski Hwy                     1551 Pulaski Hwy                  Bear               DE   19701    8/7/2021
coincloud151201   ColeKepro 5.0        151201          151201.USA   4.821E+12    Sterling, VA        Active       152134   152134 Royal Farms                          5801 Eastern Ave                  Baltimore          MD   21224    8/7/2021
coincloud151067   ColeKepro 5.0        151067          151067.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151410   ColeKepro 5.0        151410          151410.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud150971   ColeKepro 5.0        150971          150971.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151279   ColeKepro 5.0        151279          151279.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151065   ColeKepro 5.0        151065          151065.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud150717   ColeKepro 5.0        150717          150717.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151300   ColeKepro 5.0        151300          151300.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151174   ColeKepro 5.0        151174          151174.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud150962   ColeKepro 5.0        150962          150962.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151243   ColeKepro 5.0        151243          151243.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud151142   ColeKepro 5.0        151142          151142.USA               Las Vegas, NV      Warehouse                      Sloan                                                                                                   8/7/2021
coincloud2799     ColeKepro 3.0        145414          145414.USA   4.92E+12                         Active       118663   118663 The Gaming Warehouse                 4365 Canal Ave SW                 Grandville         MI   49418   10/2/2020
coincloud869      ColeKepro 1.0        142073          142073.USA   4.92E+12                         Active       103482   103482 Express Food Mart                    5395 Commercial St SE             Salem              OR   97306    5/7/2020
coincloud1144     ColeKepro 2.0        143179          143179.USA   4.92E+12                         Active       114714   114714 Caledonia Street Antique Mall        1215 Caledonia St                 La Crosse          WI   54603   8/28/2020
coincloud1305     ColeKepro 3.0        143340          143340.USA   4.92E+12                         Active       114618   114618 Cub Foods (Brooklyn Park             9655 Colorado Ln N                Brooklyn Park      MN   55445   10/2/2020
coincloud1399     ColeKepro 3.0        143434          143434.USA   4.92E+12                         Active       103020   103020 Lucky 7 Food Mart                    10530 Rosedale Hwy Suite 9        Bakersfield        CA   93312   10/2/2020
coincloud1879     ColeKepro 3.0        143535          143535.USA   4.92E+12                         Active       124815   124815 Game X Change                        3536 FM 365                       Nederland          TX   77627   10/2/2020
coincloud1562     ColeKepro 3.0        143597          143597.USA   4.92E+12                         Active       116078   116078 Choice Gas                           7900 Fruitridge Rd                Sacramento         CA   95820   10/2/2020
coincloud1881     ColeKepro 3.0        143916          143916.USA   4.92E+12    Las Vegas, NV        Active       135641   135641 H-E-B                                1100 S IH 35 Frontage Rd          Georgetown         TX   78626   10/2/2020
coincloud1995     ColeKepro 3.0        144030          144030.USA   4.92E+12                         Active       117658   117658 bp                                   7400 Mitchell Rd                  Eden Prairie       MN   55344   10/2/2020
coincloud2046     ColeKepro 3.0        144081          144081.USA   4.92E+12                         Active       118186   118186 Save More Foods                      921 Broadway                      Gary               IN   46402   10/2/2020
coincloud2048     ColeKepro 3.0        144083          144083.USA   4.92E+12                         Active       150516   150516 Loaf 'N Jug                          4125 W Northern Ave               Pueblo             CO   81005   10/2/2020
coincloud2050     ColeKepro 3.0        144085          144085.USA   4.92E+12                         Active       150989   150989 Loaf 'N Jug                          1525 W 4th St                     Pueblo             CO   81004   10/2/2020
coincloud2051     ColeKepro 3.0        144086          144086.USA   4.92E+12                         Active       117332   117332 McKay's Market                       801 SW Hwy 101                    Lincoln City       OR   97367   10/2/2020
coincloud2052     ColeKepro 3.0        144087          144087.USA   4.92E+12                         Active       117325   117325 McKay's Market                       130 N Cammann St                  Coos Bay           OR   97420   10/2/2020
coincloud2054     ColeKepro 3.0        144089          144089.USA   4.92E+12                         Active       117328   117328 McKay's Market #9                    1300 Highway Ave.                 Reedsport          OR   97467   10/2/2020
coincloud2063     ColeKepro 3.0        144098          144098.USA   4.92E+12                         Active       150524   150524 Loaf 'N Jug                          4001 Jerry Murphy Rd              Pueblo             CO   81001   10/2/2020
coincloud2067     ColeKepro 3.0        144102          144102.USA   4.92E+12                         Active       117322   117322 McKay's Market #1                    149 S 7th St                      Coos Bay           OR   97420   10/2/2020
coincloud2069     ColeKepro 3.0        144104          144104.USA   4.92E+12                         Active       146547   146547 Thorntons                            6300 E Morgan Ave                 Evansville         IN   47715   10/2/2020
coincloud2079     ColeKepro 3.0        144114          144114.USA   4.92E+12                         Active       124350   124350 Yesway                               1515 E Wells Ave                  Pierre             SD   57501   10/2/2020
coincloud2104     ColeKepro 3.0        144139          144139.USA   4.92E+12                         Active       146645   146645 Thorntons                            190 E Lake St                     Bloomingdale       IL   60108   10/2/2020
coincloud2108     ColeKepro 3.0        144143          144143.USA   4.92E+12                         Active       128483   128483 Hidden Valley Market                 7200 Williams Hwy                 Grants Pass        OR   97527   10/2/2020
coincloud2112     ColeKepro 3.0        144147          144147.USA   4.92E+12                         Active       118317   118317 Duckweed Urban Market                803 N Tampa St                    Tampa              FL   33602   10/2/2020
coincloud2115     ColeKepro 3.0        144150          144150.USA   4.92E+12                         Active       121355   121355 River City Pawn                      1731 N Green River Rd             Evansville         IN   47715   10/2/2020
coincloud2118     ColeKepro 3.0        144153          144153.USA   4.92E+12                         Active       118276   118276 Oasis Liquors                        2401 Rio Grande Ave #5265         Orlando            FL   32805   10/2/2020
coincloud2121     ColeKepro 3.0        144156          144156.USA   4.92E+12                         Active       118170   118170 Duckweed Liquors Channelside         117 N 12th St                     Tampa              FL   33602   10/2/2020
coincloud2123     ColeKepro 3.0        144158          144158.USA   4.92E+12                         Active       117622   117622 The Island Shoppe                    450 Knights Run Ave               Tampa              FL   33602   10/2/2020
coincloud2124     ColeKepro 3.0        144159          144159.USA   4.92E+12                         Active       150536   150536 Loaf 'N Jug                          1201 W Pueblo Blvd                Pueblo             CO   81004   10/2/2020
coincloud2128     ColeKepro 3.0        144163          144163.USA   4.92E+12                         Active       120566   120566 Morty Inc DBA Tampa Bay Pawn         2007 Gulf to Bay Blvd             Clearwater         FL   33765   10/2/2020
coincloud2129     ColeKepro 3.0        144164          144164.USA   4.92E+12                         Active       118038   118038 Hitchcock's Market                   434 E Noble Ave                   Williston          FL   32696   10/2/2020
coincloud2130     ColeKepro 3.0        144165          144165.USA   4.92E+12                         Active       150541   150541 Loaf 'N Jug                          2050 Lake Ave                     Pueblo             CO   81004   10/2/2020
coincloud2134     ColeKepro 3.0        144169          144169.USA   4.92E+12                         Active       150533   150533 Loaf 'N Jug                          4800 Thatcher Ave                 Pueblo             CO   81005   10/2/2020
coincloud2135     ColeKepro 3.0        144170          144170.USA   4.92E+12                         Active       123437   123437 THREE POINT FOOD MART                6320 Narcoossee Rd                Orlando            FL   32822   10/2/2020
coincloud2136     ColeKepro 3.0        144171          144171.USA   4.92E+12                         Active       150515   150515 Loaf 'N Jug                          905 US-50                         Pueblo             CO   81008   10/2/2020
coincloud2141     ColeKepro 3.0        144176          144176.USA   4.92E+12                         Active       117330   117330 McKay's Market #4                    65 10th St SE                     Bandon             OR   97411   10/2/2020
coincloud2142     ColeKepro 3.0        144177          144177.USA   4.92E+12                         Active       146550   146550 Thorntons                            701 S Green River Rd              Evansville         IN   47715   10/2/2020
coincloud2082     ColeKepro 3.0        144177          144177.USA   4.92E+12                         Active       115371   115371 Monroe High Mart                     172 Main St                       Monroe             CT    6468   10/2/2020
coincloud2144     ColeKepro 3.0        144179          144179.USA   4.92E+12                         Active       150990   150990 Loaf 'N Jug                          2119 E 4th St                     Pueblo             CO   81001   10/2/2020
coincloud2145     ColeKepro 3.0        144180          144180.USA   4.92E+12                         Active       118896   118896 Charlie's Market                     2815 E Sligh Ave                  Tampa              FL   33610   10/2/2020
coincloud2147     ColeKepro 3.0        144182          144182.USA   4.92E+12                         Active       120629   120629 Viking Express                       2090 N Jefferson St               Huntington         IN   46750   10/2/2020
coincloud2153     ColeKepro 3.0        144188          144188.USA   4.92E+12                         Active       122960   122960 Cub Foods                            7191 10th St N                    Oakdale            MN   55128   10/2/2020
coincloud2154     ColeKepro 3.0        144189          144189.USA   4.92E+12                         Active       117524   117524 Liquor Master Discount Liquor        901 E Semoran Blvd                Apopka             FL   32703   10/2/2020
coincloud2155     ColeKepro 3.0        144190          144190.USA   4.92E+12                         Active       150526   150526 Loaf 'N Jug                          2405 W Northern Ave               Pueblo             CO   81004   10/2/2020
                                 Case 23-10423-mkn                                   Doc 36-2              Entered 02/08/23 19:55:21                                                                  Page 153 of 217


coincloud2156   ColeKepro 3.0   144191     144191.USA     4.92E+12                    Active   150519   150519 Loaf 'N Jug                                                  1104 Pueblo Blvd Way                   Pueblo             CO   81005   10/2/2020
coincloud2158   ColeKepro 3.0   144193     144193.USA     4.92E+12                    Active   120535   120535 Needler's Fresh Market                                       3015 US-36                             Pendleton          IN   46064   10/2/2020
coincloud2159   ColeKepro 3.0   144194     144194.USA     4.92E+12                    Active   120537   120537 Needler's Fresh Market                                       899 E Jefferson St                     Tipton             IN   46072   10/2/2020
coincloud2160   ColeKepro 3.0   144195     144195.USA     4.92E+12                    Active   124930   124930 Game X Change                                                2221 S Caraway Rd #Unit B              Jonesboro          AR   72401   10/2/2020
coincloud2163   ColeKepro 3.0   144198     144198.USA     4.92E+12                    Active   150523   150523 Loaf 'N Jug                                                  2120 Oakshire Ln                       Pueblo             CO   81001   10/2/2020
coincloud2165   ColeKepro 3.0   144200     144200.USA     4.92E+12                    Active   122965   122965 Cub Foods                                                    2201 1st St S                          Willmar            MN   56201   10/2/2020
coincloud2166   ColeKepro 3.0   144201     144201.USA     4.92E+12                    Active   150992   150992 Loaf 'N Jug                                                  36031 US-50                            Pueblo             CO   81006   10/2/2020
coincloud2167   ColeKepro 3.0   144202     144202.USA     4.92E+12                    Active   122054   122054 Bronson Market                                               1408 Bronson Way N                     Renton             WA   98057   10/2/2020
coincloud2169   ColeKepro 3.0   144204     144204.USA     4.92E+12                    Active   119115   119115 Paulbeck's County Market                                     171 Red Oak Dr                         Aitkin             MN   56431   10/2/2020
coincloud2170   ColeKepro 3.0   144205     144205.USA     4.92E+12                    Active   122940   122940 Cub Foods                                                    7900 Market Blvd                       Chanhassen         MN   55317   10/2/2020
coincloud2173   ColeKepro 3.0   144208     144208.USA     4.92E+12                    Active   124937   124937 Game X Change                                                1802 N Jackson St                      Tullahoma          TN   37388   10/2/2020
coincloud2175   ColeKepro 3.0   144210     144210.USA     4.92E+12                    Active   135645   135645 H-E-B                                                        16900 Ranch Rd 620                     Round Rock         TX   78681   10/2/2020
coincloud2179   ColeKepro 3.0   144214     144214.USA     4.92E+12                    Active   118035   118035 Hitchcock's Market                                           113 S Main St                          Trenton            FL   32693   10/2/2020
coincloud2180   ColeKepro 3.0   144215     144215.USA     4.92E+12                    Active   120922   120922 Sunrise Food Mart                                            620 N 28th Ave                         Pasco              WA   99301   10/2/2020
coincloud2182   ColeKepro 3.0   144217     144217.USA     4.92E+12                    Active   119923   119923 Dot Com Vapor Shop                                           6700 NE 162nd Ave #415                 Vancouver          WA   98682   10/2/2020
coincloud2187   ColeKepro 3.0   144222     144222.USA     4.92E+12                    Active   120929   120929 Pit Stop Market & SUBWAY                                     508 W Nob Hill Blvd                    Yakima             WA   98902   10/2/2020
coincloud2191   ColeKepro 3.0   144226     144226.USA     4.92E+12                    Active   120903   120903 Mart at main                                                 231 Main Ave S #Suite B                Renton             WA   98057   10/2/2020
coincloud2196   ColeKepro 3.0   144231     144231.USA     4.92E+12                    Active   122919   122919 Lucky Food Store                                             22 Goethals Dr                         Richland           WA   99352   10/2/2020
coincloud2197   ColeKepro 3.0   144232     144232.USA     4.92E+12                    Active   123689   123689 Massawa Eritrean & Ethiopian Restaurant                      4411 S Mead St                         Seattle            WA   98118   10/2/2020
coincloud2204   ColeKepro 3.0   144239     144239.USA     4.92E+12                    Active   118030   118030 Hitchcock's Market                                           164 US-17                              East Palatka       FL   32131   10/2/2020
coincloud2208   ColeKepro 3.0   144243     144243.USA     4.92E+12                    Active   119921   119921 Dot Com Vapor Shop                                           5000 E 4th Plain Blvd ##A103           Vancouver          WA   98661   10/2/2020
coincloud2209   ColeKepro 3.0   144244     144244.USA     4.92E+12                    Active   122225   122225 Prosser Mini Mart                                            1232 Meade Ave                         Prosser            WA   99350   10/2/2020
coincloud2210   ColeKepro 3.0   144245     144245.USA     4.92E+12                    Active   120637   120637 Pick Rite Thriftway                                          211 Pioneer Ave E                      Montesano          WA   98563   10/2/2020
coincloud2211   ColeKepro 3.0   144246     144246.USA     4.92E+12                    Active   122139   122139 Spanaway Deli Mart                                           16305 22nd Ave E                       Tacoma             WA   98445   10/2/2020
coincloud2212   ColeKepro 3.0   144247     144247.USA     4.92E+12                    Active   122234   122234 Nobhill Food Mart                                            1710 E Nob Hill Blvd                   Yakima             WA   98901   10/2/2020
coincloud2216   ColeKepro 3.0   144251     144251.USA     4.92E+12                    Active   122951   122951 Shell                                                        7219 Rainier Ave S                     Seattle            WA   98118   10/2/2020
coincloud2217   ColeKepro 3.0   144252     144252.USA     4.92E+12                    Active   122232   122232 Airline Market                                               1002 W Washington Ave                  Yakima             WA   98903   10/2/2020
coincloud2219   ColeKepro 3.0   144254     144254.USA     4.92E+12                    Active   119658   119658 Greenlake Gas Station Inc                                    7200 Aurora Ave N                      Seattle            WA   98103   10/2/2020
coincloud2220   ColeKepro 3.0   144255     144255.USA     4.92E+12                    Active   119926   119926 Dot Com Vapor Shop                                           3415 SE 192nd Ave ##103                Vancouver          WA   98683   10/2/2020
coincloud2224   ColeKepro 3.0   144259     144259.USA     4.92E+12                    Active   121890   121890 72nd Deli & Market                                           716 S 72nd St                          Tacoma             WA   98408   10/2/2020
coincloud2227   ColeKepro 3.0   144260     144260.USA     4.92E+12                    Active   123046   123046 Mercado De Yakima                                            511 N 1st St                           Yakima             WA   98901   10/2/2020
coincloud2239   ColeKepro 3.0   144267     144267.USA     4.92E+12                    Active   120529   120529 Needler's Fresh Market                                       501 National Road                      Richmond           IN   47330   10/2/2020
coincloud2228   ColeKepro 3.0   144272     144272.USA     4.92E+12                    Active   123549   123549 Roseville Express                                            5495 TN-57                             Rossville          TN   38066   10/2/2020
coincloud2226   ColeKepro 3.0   144273     144273.USA     4.92E+12                    Active   120425   120425 Cascade Select Market                                        204 Cowlitz St E                       Castle Rock        WA   98611   10/2/2020
coincloud2243   ColeKepro 3.0   144275     144275.USA     4.92E+12                    Active   120756   120756 Candy Market                                                 767 Market St                          Tacoma             WA   98402   10/2/2020
coincloud2324   ColeKepro 3.0   144277     144277.USA     4.92E+12    Sanford, FL     Active   137558   137558 Save A Lot                                                   1804 62nd Ave N                        St. Petersburg     FL   33702   10/2/2020
coincloud2327   ColeKepro 3.0   144280     144280.USA     4.92E+12    Sanford, FL     Active   148140   148140 Family Food Store                                            1106 Derbyshire Rd                     Daytona Beach      FL   32117   10/2/2020
coincloud2330   ColeKepro 3.0   144285     144285.USA     4.92E+12    Sanford, FL     Active   103081   103081 Chevron                                                      6448 GA-42                             Rex                GA   30273   10/2/2020
coincloud2329   ColeKepro 3.0   144286     144286.USA     4.92E+12    Sanford, FL     Active   103538   103538 Peachtree Mall                                               3131 Manchester Expy                   Columbus           GA   31909   10/2/2020
coincloud2241   ColeKepro 3.0   144287     144287.USA     4.92E+12                    Active   125871   125871 Pay 'n Pakit                                                 50630 IN-933                           South Bend         IN   46637   10/2/2020
coincloud2231   ColeKepro 3.0   144289     144289.USA     4.92E+12                    Active   119405   119405 AAA Food Mart                                                9410 Taylorsville RD                   Louisville         KY   40299   10/2/2020
coincloud2341   ColeKepro 3.0   144294     144294.USA     4.92E+12    Sanford, FL     Active   137532   137532 Save A Lot                                                   950 Patricia Ave                       Dunedin            FL   34698   10/2/2020
coincloud2343   ColeKepro 3.0   144296     144296.USA     4.92E+12    Sanford, FL     Active   146452   146452 Thorntons                                                    8875 Ulmerton Rd                       Largo              FL   33771   10/2/2020
coincloud2347   ColeKepro 3.0   144300     144300.USA     4.92E+12    Sanford, FL     Active   137556   137556 Save A Lot                                                   701 9th St N                           St. Petersburg     FL   33701   10/2/2020
coincloud2337   ColeKepro 3.0   144302     144302.USA     4.92E+12    Sanford, FL     Active   137564   137564 Save A Lot                                                   8320 N Florida Ave                     Tampa              FL   33604   10/2/2020
coincloud2335   ColeKepro 3.0   144304     144304.USA     4.92E+12                    Active   128163   128163 Countryside Mall                                             27001 US Hwy 19 N Suite 1039           Clearwater         FL   33761   10/2/2020
coincloud2317   ColeKepro 3.0   144322     144322.USA     4.92E+12                    Active   124373   124373 Allsup's Convenience Store                                   1024 S Dumas Ave                       Dumas              TX   79029   10/2/2020
coincloud2313   ColeKepro 3.0   144325     144325.USA     4.92E+12                    Active   120216   120216 Stripes                                                      403 Avenue Q                           Lubbock            TX   79401   10/2/2020
coincloud3140   ColeKepro 3.0   145709                    4.92E+12                    Active   127792                                                                                                                                              10/2/2020
coincloud2274   ColeKepro 3.0   144354     144354.USA     4.92E+12                    Active   126359   126359 Ship NÃ¢â‚¬â„¢ Shore Laundry                                 4300 Kings Hwy ##201                   Port Charlotte     FL   33980   10/2/2020
coincloud2282   ColeKepro 3.0   144361     144361.USA     4.92E+12                    Active   120223   120223 Seattle iPhone Repair                                        1518 Broadway                          Seattle            WA   98122   10/2/2020
coincloud2272   ColeKepro 3.0   144365     144365.USA     4.92E+12                    Active   127583   127583 Pure tan & spa                                               5809 N Federal Hwy                     Boca Raton         FL   33487   10/2/2020
coincloud2270   ColeKepro 3.0   144366     144366.USA     4.92E+12                    Active   120828   120828 iClinic- iPhone And iPad -Sunrise                            2620 N University Dr                   Sunrise            FL   33322   10/2/2020
coincloud2259   ColeKepro 3.0   144372     144372.USA     4.92E+12                    Active   123208   123208 My Sunny Laundry                                             9822 SW 184th St                       Cutler Bay         FL   33157   10/2/2020
coincloud2255   ColeKepro 3.0   144376     144376.USA     4.92E+12                    Active   123541   123541 Nutrition Smart                                              10980 Pines Blvd                       Pembroke Pines     FL   33026   10/2/2020
coincloud2254   ColeKepro 3.0   144377     144377.USA     4.92E+12                    Active   122050   122050 Cell Phone Hop -Cell Phone / Computer Repair Miami           454 SW 8th St                          Miami              FL   33130   10/2/2020
coincloud2262   ColeKepro 3.0   144378     144378.USA     4.92E+12                    Active   120838   120838 Easy Fix Phone Repair                                        405 Prospect Rd                        Oakland Park       FL   33309   10/2/2020
coincloud2260   ColeKepro 3.0   144380     144380.USA     4.92E+12                    Active   128001   128001 DV WIRELESS - Phone Repair & Boostmobile Store - Unlocked Ph 10872 S U.S. Hwy 1                     Port St. Lucie     FL   34952   10/2/2020
coincloud2352   ColeKepro 3.0   144393     144393.USA     4.92E+12    Sanford, FL     Active   146657   146657 THORNTONS                                                    10185 Big Bend Rd                      Riverview          FL   33578   10/2/2020
coincloud2354   ColeKepro 3.0   144394     144394.USA     4.92E+12    Sanford, FL     Active   137552   137552 Save A Lot                                                   8815 Park Blvd N                       Seminole           FL   33777   10/2/2020
coincloud2358   ColeKepro 3.0   144395     144395.USA     4.92E+12                    Active   124939   124939 Game X Change                                                231 Northgate Dr #276                  McMinnville        TN   37110   10/2/2020
coincloud2365   ColeKepro 3.0   144397     144397.USA     4.92E+12                    Active   118749   118749 Stop N Shop                                                  2924 N 50th St                         Tampa              FL   33619   10/2/2020
coincloud2356   ColeKepro 3.0   144398     144398.USA     4.92E+12                    Active   120237   120237 Flora SuperValue                                             13 W Walnut St                         Flora              IN   46929   10/2/2020
coincloud2359   ColeKepro 3.0   144403     144403.USA     4.92E+12                    Active   118025   118025 Hitchcock's Market                                           7380 FL-100                            Keystone Heights   FL   32656   10/2/2020
coincloud2433   ColeKepro 3.0   144405     144405.USA     4.92E+12                    Active   122959   122959 Cub Foods                                                    2600 Rice Creek Rd                     New Brighton       MN   55112   10/2/2020
coincloud2416   ColeKepro 3.0   144406     144406.USA     4.92E+12                    Active   117931   117931 Worldwide Jewelry & Pawn                                     122 Creekside Dr                       Kokomo             IN   46901   10/2/2020
coincloud2171   ColeKepro 3.0   144206   1444206USA.USA   4.92E+12                    Active   120157   120157 Historic Bar Room                                            323 N Ronald Reagan Blvd               Longwood           FL   32750   10/2/2020
coincloud2418   ColeKepro 3.0   144455     144455.USA     4.92E+12                    Active   122929   122929 Cub Foods                                                    3717 Lexington Ave N                   Arden Hills        MN   55126   10/2/2020
coincloud2436   ColeKepro 3.0   144456     144456.USA     4.92E+12                    Active   119790   119790 Festival Foods                                               2671 Co Rd E East                      White Bear Lake    MN   55110   10/2/2020
coincloud2419   ColeKepro 3.0   144457     144457.USA     4.92E+12                    Active   122937   122937 Cub Foods                                                    8600 114th Ave N                       Champlin           MN   55316   10/2/2020
coincloud2435   ColeKepro 3.0   144459     144459.USA     4.92E+12   Las Vegas, NV    Active   135640   135640 H-E-B                                                        1434 Wells Branch Pkwy                 Pflugerville       TX   78660   10/2/2020
coincloud2438   ColeKepro 3.0   144462     144462.USA     4.92E+12                    Active   122964   122964 Cub Foods                                                    5370 W 16th St                         St Louis Park      MN   55416   10/2/2020
coincloud2417   ColeKepro 3.0   144463     144463.USA     4.92E+12                    Active   120752   120752 United Loan Co                                               224 E 51st St                          Chicago            IL   60615   10/2/2020
coincloud2439   ColeKepro 3.0   144464     144464.USA     4.92E+12                    Active   122949   122949 Cub Foods                                                    4601 Snelling Ave                      Minneapolis        MN   55406   10/2/2020
coincloud2503   ColeKepro 3.0   144488     144488.USA     4.92E+12                    Active   120546   120546 Needler's Fresh Market                                       5802 West US 52                        New Palestine      IN   46163   10/2/2020
coincloud2504   ColeKepro 3.0   144489     144489.USA     4.92E+12                    Active   124933   124933 Game X Change                                                2522 Scottsville Rd                    Bowling Green      KY   42104   10/2/2020
coincloud2512   ColeKepro 3.0   144498     144498.USA     4.92E+12                    Active   119422   119422 DN's Liquor Store                                            10059 Shaver Rd                        Portage            MI   49024   10/2/2020
coincloud2525   ColeKepro 3.0   145046     145046.USA     4.92E+12                    Active   120521   120521 Save A Lot                                                   1708 S Nappanee St                     Elkhart            IN   46516   10/2/2020
coincloud2523   ColeKepro 3.0   145055     145055.USA     4.92E+12                    Active   124831   124831 Game X Change                                                1130 US HWY 51                         Dyersburg          TN   38024   10/2/2020
coincloud2480   ColeKepro 3.0   145066     145066.USA     4.92E+12                    Active   118899   118899 Value Market                                                 12201 N Florida Ave                    Tampa              FL   33612   10/2/2020
coincloud2472   ColeKepro 3.0   145073     145073.USA     4.92E+12                    Active   104080   104080 Sunrise Food                                                 5406 Plymouth St                       Jacksonville       FL   32205   10/2/2020
coincloud2475   ColeKepro 3.0   145076     145076.USA     4.92E+12                    Active   124942   124942 Game X Change                                                1202 S James Campbell Blvd #Suite 4A   Columbia           TN   38401   10/2/2020
coincloud2458   ColeKepro 3.0   145080     145080.USA     4.92E+12                    Active   120565   120565 Remke                                                        5016 Old Taylor Mill Rd                Taylor Mill        KY   41015   10/2/2020
coincloud2453   ColeKepro 3.0   145085     145085.USA     4.92E+12                    Active   118034   118034 Hitchcock's Market                                           1114 FL-20                             Interlachen        FL   32148   10/2/2020
coincloud2462   ColeKepro 3.0   145087     145087.USA     4.92E+12                    Active   118040   118040 Hitchcock's Market                                           15560 NW HIGHWAY 441                   ALACHUA            FL   32615   10/2/2020
coincloud2467   ColeKepro 3.0   145092     145092.USA     4.92E+12                    Active   124936   124936 Game X Change                                                110 Needmore Rd                        Clarksville        TN   37040   10/2/2020
coincloud2468   ColeKepro 3.0   145093     145093.USA     4.92E+12                    Active   120532   120532 Needler's Fresh Market                                       320 N New Jersey St                    Indianapolis       IN   46204   10/2/2020
coincloud2510   ColeKepro 3.0   145159     145159.USA     4.92E+12                    Active   129239   129239 Family Technology Group                                      986 Orange Ave                         Daytona Beach      FL   32114   10/2/2020
coincloud2729   ColeKepro 3.0   145206     145206.USA     4.92E+12                    Active   123620   123620 Tech Doc's Depot                                             209 N Central Ave                      Paris              IL   61944   10/2/2020
coincloud2811   ColeKepro 3.0   145210     145210.USA     4.92E+12                    Active   122927   122927 Cub Foods                                                    10881 University Ave NE                Blaine             MN   55434   10/2/2020
coincloud2817   ColeKepro 3.0   145221     145221.USA     4.92E+12                    Active   122944   122944 Cub Foods                                                    1276 Town Centre Dr                    Eagan              MN   55123   10/2/2020
coincloud2814   ColeKepro 3.0   145222     145222.USA     4.92E+12                    Active   122966   122966 Cub Foods                                                    1920 Buerkle Rd                        White Bear Lake    MN   55110   10/2/2020
coincloud2813   ColeKepro 3.0   145223     145223.USA     4.92E+12                    Active   122967   122967 Cub Foods                                                    3930 Silver Lake Rd NE                 St Anthony         MN   55421   10/2/2020
coincloud2810   ColeKepro 3.0   145225     145225.USA     4.92E+12                    Active   122961   122961 Cub Foods                                                    3784 150th St W                        Rosemount          MN   55068   10/2/2020
coincloud2847   ColeKepro 3.0   145320     145320.USA     4.92E+12                    Active   122956   122956 Cub Foods                                                    701 W Broadway Ave                     Minneapolis        MN   55411   10/2/2020
coincloud2848   ColeKepro 3.0   145321     145321.USA     4.92E+12                    Active   121372   121372 Quick Fix Circle Pines                                       9360 Lexington Ave NE                  Circle Pines       MN   55014   10/2/2020
coincloud2857   ColeKepro 3.0   145322     145322.USA     4.92E+12                    Active   125396   125396 Phone Repair & More , St.Petersburg                          2870 34th St N                         St. Petersburg     FL   33713   10/2/2020
coincloud2846   ColeKepro 3.0   145325     145325.USA     4.92E+12                    Active   119787   119787 Festival Foods                                               8535 Edinburgh Centre Dr               Brooklyn Park      MN   55443   10/2/2020
coincloud2861   ColeKepro 3.0   145379     145379.USA     4.92E+12                    Active   118037   118037 Hitchcock's Market                                           24220 W Newberry Rd                    Newberry           FL   32669   10/2/2020
coincloud2864   ColeKepro 3.0   145381     145381.USA     4.92E+12                    Active   118036   118036 Hitchcock's Market                                           205 2nd Ave SE                         Jasper             FL   32052   10/2/2020
coincloud2834   ColeKepro 3.0   145383     145383.USA     4.92E+12                    Active   120836   120836 Hugo's                                                       310 1st Ave S                          Jamestown          ND   58401   10/2/2020
coincloud2840   ColeKepro 3.0   145385     145385.USA     4.92E+12                    Active   122953   122953 Cub Foods                                                    20250 Heritage Dr                      Lakeville          MN   55044   10/2/2020
coincloud2843   ColeKepro 3.0   145387     145387.USA     4.92E+12                    Active   122946   122946 Cub Foods                                                    246 57th Ave NE                        Fridley            MN   55432   10/2/2020
coincloud2838   ColeKepro 3.0   145388     145388.USA     4.92E+12                    Active   119736   119736 KRAUSES SUPER VALU                                           105 Case St                            Washburn           ND   58577   10/2/2020
coincloud2842   ColeKepro 3.0   145389     145389.USA     4.92E+12                    Active   122948   122948 Cub Foods                                                    1729 Market Blvd                       Hastings           MN   55033   10/2/2020
coincloud2833   ColeKepro 3.0   145390     145390.USA     4.92E+12                    Active   122971   122971 Cub Foods                                                    12595 Central Ave NE                   Blaine             MN   55434   10/2/2020
coincloud2822   ColeKepro 3.0   145392     145392.USA     4.92E+12                    Active   122945   122945 Cub Foods                                                    2013 W Broadway Ave                    Forest Lake        MN   55025   10/2/2020
coincloud2832   ColeKepro 3.0   145394     145394.USA     4.92E+12                    Active   114704   114704 Cub Foods                                                    100 W County B Rd W                    Maplewood          MN   55117   10/2/2020
coincloud2836   ColeKepro 3.0   145398     145398.USA     4.92E+12                    Active   122969   122969 Cub Foods                                                    7555 W Broadway Ave                    Minneapolis        MN   55428   10/2/2020
coincloud2852   ColeKepro 3.0   145399     145399.USA     4.92E+12                    Active   117212   117212 A & M Discount Beverage Liquor                               4074 S Goldenrod Rd                    Orlando            FL   32822   10/2/2020
coincloud2839   ColeKepro 3.0   145401     145401.USA     4.92E+12                    Active   122958   122958 Cub Foods                                                    2423 MN-3                              Northfield         MN   55057   10/2/2020
coincloud2854   ColeKepro 3.0   145403     145403.USA     4.92E+12                    Active   125038   125038 Hassle Free Laundry                                          5271 S Nova Rd                         Port Orange        FL   32127   10/2/2020
coincloud2866   ColeKepro 3.0   145405     145405.USA     4.92E+12                    Active   118039   118039 Hitchcock's Market                                           4516 S Suncoast Blvd                   Homosassa          FL   34446   10/2/2020
coincloud2865   ColeKepro 3.0   145406     145406.USA     4.92E+12                    Active   120754   120754 Wireless Unlimited of Orlando                                4540 S Semoran Blvd                    Orlando            FL   32822   10/2/2020
coincloud2856   ColeKepro 3.0   145407     145407.USA     4.92E+12                    Active   124593   124593 Baymeadows 24 hour Laundry                                   9550 Baymeadows Rd                     Jacksonville       FL   32256   10/2/2020
coincloud2853   ColeKepro 3.0   145408     145408.USA     4.92E+12                    Active   124389   124389 iTech Cellphone & Computer Repair                            1117 E Vine St                         Kissimmee          FL   34744   10/2/2020
coincloud2844   ColeKepro 3.0   145409     145409.USA     4.92E+12                    Active   118181   118181 Bronson's Marketplace                                        312 US-12                              Bowman             ND   58623   10/2/2020
coincloud2823   ColeKepro 3.0   145413     145413.USA     4.92E+12                    Active   122972   122972 Cub Foods                                                    8690 E Point Douglas Rd                Cottage Grove      MN   55016   10/2/2020
                                 Case 23-10423-mkn                                      Doc 36-2              Entered 02/08/23 19:55:21                                         Page 154 of 217


coincloud2933   ColeKepro 3.0   145456   145456.USA   4.92E+12                           Active   124120   124120 Allsups                               1010 S Canal St                  Carlsbad         NM   88220   10/2/2020
coincloud2827   ColeKepro 3.0   145468   145468.USA   4.92E+12                           Active   122941   122941 Cub Foods                             2050 Northdale Blvd NW           Coon Rapids      MN   55433   10/2/2020
coincloud2828   ColeKepro 3.0   145469   145469.USA   4.92E+12                           Active   122952   122952 Cub Foods                             17756 Kenwood Trail              Lakeville        MN   55044   10/2/2020
coincloud2830   ColeKepro 3.0   145473   145473.USA   4.92E+12                           Active   122950   122950 Cub Foods                             7435 179th St W                  Lakeville        MN   55044   10/2/2020
coincloud2831   ColeKepro 3.0   145474   145474.USA   4.92E+12                           Active   122963   122963 Cub Foods                             23800 MN-7                       Shorewood        MN   55331   10/2/2020
coincloud2870   ColeKepro 3.0   145482   145482.USA   4.92E+12                           Active   120172   120172 Stripes                               1723 N. US Hwy. 285              Fort Stockton    TX   79735   10/2/2020
coincloud2945   ColeKepro 3.0   145521   145521.USA   4.92E+12                           Active   125373   125373 Spec's                                5418 Hwy 6                       Missouri City    TX   77459   10/2/2020
coincloud3096   ColeKepro 3.0   145521   145521.USA   4.92E+12                           Active   125600   125600 Spec's                                9034 Sienna Crossing Dr          Missouri City    TX   77459   10/2/2020
coincloud2936   ColeKepro 3.0   145532   145532.USA   4.92E+12                           Active   123561   123561 Mobile One                            3680 W Oakland Park Blvd         Lauderdale Lakes FL   33311   10/2/2020
coincloud3001   ColeKepro 3.0   145538   145538.USA   4.92E+12                           Active   121580   121580 ACE Cash Express                      5100 W Commercial Blvd           Tamarac          FL   33319   10/2/2020
coincloud3010   ColeKepro 3.0   145539   145539.USA   4.92E+12                           Active   128586   128586 Wireless Paradise                     11741 S Cleveland Ave #20        Fort Myers       FL   33907   10/2/2020
coincloud3012   ColeKepro 3.0   145547   145547.USA   4.92E+12                           Active   118605   118605 Manha Fresh Food                      467 NW 8 Street                  Miami            FL   33136   10/2/2020
coincloud3024   ColeKepro 3.0   145550   145550.USA   4.92E+12                           Active   118609   118609 Namira Fresh Food                     5890 NW 7th Ave                  Miami            FL   33127   10/2/2020
coincloud3022   ColeKepro 3.0   145551   145551.USA   4.92E+12                           Active   123764   123764 Cellphone Fix Pro                     278 FL-7                         Margate          FL   33063   10/2/2020
coincloud3064   ColeKepro 3.0   145554   145554.USA   4.92E+12                           Active   101496   101496 Circle K                              2292 E Thompson Blvd             Ventura          CA   93001   10/2/2020
coincloud3048   ColeKepro 3.0   145555   145555.USA   4.92E+12   City of Industry, CA    Active   145722   145722 Area 51 Smoke & Vape Shop             1001 S Central Ave               Glendale         CA   91204   10/2/2020
coincloud3101   ColeKepro 3.0   145558   145558.USA   4.92E+12                           Active   124661   124661 Allsups                               3220 National Parks Hwy          Carlsbad         NM   88220   10/2/2020
coincloud3035   ColeKepro 3.0   145562   145562.USA   4.92E+12   City of Industry, CA    Active   108181   108181 EJ's Smoke Shop                       1514 E Lincoln Ave               Orange           CA   92865   10/2/2020
coincloud3030   ColeKepro 3.0   145563   145563.USA   4.92E+12   City of Industry, CA    Active   147194   147194 Good2Go                               1060 S UT-99                     Fillmore         UT   84631   10/2/2020
coincloud3217   ColeKepro 3.0   145564   145564.USA   4.92E+12                           Active   124629   124629 IFIXIT911 ELECTRONIC REPAIRS LLC      4008 Davie Rd                    Davie            FL   33314   10/2/2020
coincloud3063   ColeKepro 3.0   145566   145566.USA   4.92E+12   City of Industry, CA    Active   143832   143832 Fiesta Supermarket                    915 Poso Dr                      Wasco            CA   93280   10/2/2020
coincloud3110   ColeKepro 3.0   145568   145568.USA   4.92E+12                           Active   124637   124637 Allsups                               102 E Church St                  Carlsbad         NM   88220   10/2/2020
coincloud3077   ColeKepro 3.0   145570   145570.USA   4.92E+12                           Active   125507   125507 Spec's                                9722 Gaston Rd                   Katy             TX   77494   10/2/2020
coincloud3095   ColeKepro 3.0   145571   145571.USA   4.92E+12                           Active   125397   125397 Spec's                                5108 N Navarro St                Victoria         TX   77904   10/2/2020
coincloud3072   ColeKepro 3.0   145574   145574.USA   4.92E+12                           Active   125263   125263 Specs                                 1743 Fry Rd                      Katy             TX   77449   10/2/2020
coincloud3071   ColeKepro 3.0   145577   145577.USA   4.92E+12                           Active   124207   124207 Allsups                               916 W Sanger St                  Hobbs            NM   88240   10/2/2020
coincloud3087   ColeKepro 3.0   145578   145578.USA   4.92E+12                           Active   125374   125374 Spec's                                17996 FM 529                     Houston          TX   77095   10/2/2020
coincloud3020   ColeKepro 3.0   145592   145592.USA   4.92E+12                           Active   128664   128664 IFix Repairs Cell Phone & Tablets     2221 Tamiami Trail #unit c       Port Charlotte   FL   33948   10/2/2020
coincloud2967   ColeKepro 3.0   145598   145598.USA   4.92E+12                           Active   117854   117854 Schumpert's Market                    12889 Main St                    Williston        SC   29853   10/2/2020
coincloud3028   ColeKepro 3.0   145622   145622.USA   4.92E+12                           Active   135658   135658 H-E-B                                 2701 E 7th St                    Austin           TX   78702   10/2/2020
coincloud3004   ColeKepro 3.0   145628   145628.USA   4.92E+12                           Active   118601   118601 Namira Food and Deli 2                1657 N Miami Ave                 Miami            FL   33136   10/2/2020
coincloud2993   ColeKepro 3.0   145640   145640.USA   4.92E+12                           Active   104049   104049 Joe's Liquor Jr. Market               16151 Nordhoff St                Los Angeles      CA   91343   10/2/2020
coincloud3051   ColeKepro 3.0   145644   145644.USA   4.92E+12                           Active   103555   103555 Madison Market                        4012 Madison St                  Riverside        CA   92504   10/2/2020
coincloud3294   ColeKepro 3.0   145648   145648.USA   4.92E+12                           Active   119253   119253 Bodach's Games                        7201 S Broadway                  St. Louis        MO   63111   10/2/2020
coincloud3042   ColeKepro 3.0   145649   145649.USA   4.92E+12   City of Industry, CA    Active   128160   128160 Burbank Towne Center                  201 E Magnolia Blvd              Burbank          CA   91502   10/2/2020
coincloud3032   ColeKepro 3.0   145651   145651.USA   4.92E+12                           Active   128725   128725 Hi-Desert Daydream                    73515 Twentynine Palms Highway   Twentynine Palms CA   92277   10/2/2020
coincloud3033   ColeKepro 3.0   145652   145652.USA   4.92E+12                           Active   120220   120220 Bottle Caps & Spirits                 11112 Paramount Blvd             Downey           CA   90241   10/2/2020
coincloud3053   ColeKepro 3.0   145654   145654.USA   4.92E+12   City of Industry, CA    Active   151062   151062 Cumberland Farms                      212 King St                      Boscawen         NH    3303   10/2/2020
coincloud3029   ColeKepro 3.0   145656   145656.USA   4.92E+12   City of Industry, CA    Active   146130   146130 EL TAJIN ENVIOS Y MUCHO MAS           1212 S 43rd St                   San Diego        CA   92113   10/2/2020
coincloud3040   ColeKepro 3.0   145658   145658.USA   4.92E+12   City of Industry, CA    Active   147408   147408 Good2Go                               1897 W Pueblo Ridge Rd Ste A     Camp Verde       AZ   86322   10/2/2020
coincloud3060   ColeKepro 3.0   145660   145660.USA   4.92E+12   City of Industry, CA    Active   101499   101499 Chevron                               2134 N Vermont Ave               Los Angeles      CA   90027   10/2/2020
coincloud3067   ColeKepro 3.0   145662   145662.USA   4.92E+12                           Active   130225   130225 Valleymax Supermarket                 2040 E Valley Pkwy               Escondido        CA   92027   10/2/2020
coincloud3068   ColeKepro 3.0   145664   145664.USA   4.92E+12                           Active   127337   127337 Vallarta Supermarkets                 1467 Country Club Dr             Madera           CA   93638   10/2/2020
coincloud3038   ColeKepro 3.0   145666   145666.USA   4.92E+12                           Active   137388   137388 Vallarta Supermarket                  8200 Rosedale Hwy                Bakersfield      CA   93312   10/2/2020
coincloud3066   ColeKepro 3.0   145667   145667.USA   4.92E+12   City of Industry, CA    Active   147189   147189 Good2Go                               1063 E UT-54                     Mona             UT   84645   10/2/2020
coincloud3049   ColeKepro 3.0   145670   145670.USA   4.92E+12   City of Industry, CA    Active   147190   147190 Good2Go                               1010 N Main St                   Nephi            UT   84648   10/2/2020
coincloud3046   ColeKepro 3.0   145672   145672.USA   4.92E+12                           Active   118526   118526 Numero Uno Market                     9127 S Figueroa St               Los Angeles      CA   90003   10/2/2020
coincloud3041   ColeKepro 3.0   145673   145673.USA   4.92E+12   City of Industry, CA    Active   147192   147192 Good2Go                               47 N 400 E St                    Moroni           UT   84646   10/2/2020
coincloud3185   ColeKepro 3.0   145675   145675.USA   4.92E+12       Sanford, FL         Active   137559   137559 Save A Lot                            1625 Sun City Center Plaza       Sun City Center  FL   33573   10/2/2020
coincloud3271   ColeKepro 3.0   145680   145680.USA   4.92E+12                           Active   119332   119332 7th Heaven                            300 N Macon St                   Bevier           MO   63532   10/2/2020
coincloud3190   ColeKepro 3.0   145689   145689.USA   4.92E+12       Sanford, FL         Active   146451   146451 Thorntons                             1698 Gulf to Bay Blvd            Clearwater       FL   33755   10/2/2020
coincloud3120   ColeKepro 3.0   145691   145691.USA   4.92E+12                           Active   125379   125379 Spec's                                8416 Katy Fwy                    Houston          TX   77024   10/2/2020
coincloud3105   ColeKepro 3.0   145693   145693.USA   4.92E+12                           Active   127597   127597 Marble Slab Creamery                  6362 N Navarro St                Victoria         TX   77904   10/2/2020
coincloud3113   ColeKepro 3.0   145694   145694.USA   4.92E+12                           Active   125255   125255 Spec's                                8102 Westheimer Rd               Houston          TX   77063   10/2/2020
coincloud3137   ColeKepro 3.0   145699   145699.USA   4.92E+12                           Active   125254   125254 Spec's                                13313 Kuykendahl Rd              Houston          TX   77090   10/2/2020
coincloud3136   ColeKepro 3.0   145702   145702.USA   4.92E+12                           Active   125264   125264 Spec's                                7314 Louetta Rd                  Spring           TX   77379   10/2/2020
coincloud3089   ColeKepro 3.0   145704   145704.USA   4.92E+12                           Active   125465   125465 Spec's                                28595 State Highway              Tomball          TX   77377   10/2/2020
coincloud3097   ColeKepro 3.0   145705   145705.USA   4.92E+12                           Active   127797   127797 Cut Rate Liquors                      122 S Sunset Strip St            Kenedy           TX   78119   10/2/2020
coincloud3124   ColeKepro 3.0   145706   145706.USA   4.92E+12                           Active   125279   125279 Spec's                                1420 N Loop 336 W ##100          Conroe           TX   77304   10/2/2020
coincloud3131   ColeKepro 3.0   145710   145710.USA   4.92E+12                           Active   124646   124646 Allsups                               708 S Cedar St                   Pecos            TX   79772   10/2/2020
coincloud3091   ColeKepro 3.0   145713   145713.USA   4.92E+12                           Active   125271   125271 Spec's                                2314 W Holcombe Blvd             Houston          TX   77030   10/2/2020
coincloud3116   ColeKepro 3.0   145715   145715.USA   4.92E+12                           Active   125382   125382 Spec's                                22508 TX-249                     Houston          TX   77070   10/2/2020
coincloud3147   ColeKepro 3.0   145716   145716.USA   4.92E+12                           Active   125636   125636 Pwi                                   45950 I-10; P.O. Box #526        Winnie           TX   77665   10/2/2020
coincloud3108   ColeKepro 3.0   145717   145717.USA   4.92E+12                           Active   125437   125437 Spec's                                6603 Spring Stuebner Rd ##135    Spring           TX   77389   10/2/2020
coincloud3092   ColeKepro 3.0   145720   145720.USA   4.92E+12                           Active   125273   125273 Spec's                                5130 Richmond Ave                Houston          TX   77056   10/2/2020
coincloud3075   ColeKepro 3.0   145723   145723.USA   4.92E+12                           Active   125280   125280 Spec's                                5876 Eastex Fwy                  Beaumont         TX   77708   10/2/2020
coincloud3156   ColeKepro 3.0   145724   145724.USA   4.92E+12                           Active   125275   125275 Spec's                                27490 Interstate 45 N            Oak Ridge North TX    77385   10/2/2020
coincloud4837   ColeKepro 5.0   148368   148368.USA    849975        Dayton, OH          Active   155947   155947 Raley's                               1970 Blue Oaks Blvd              Roseville        CA   95747    8/7/2021
coincloud3151   ColeKepro 3.0   145729   145729.USA   4.92E+12                           Active   125270   125270 Spec's                                14650 Woodforest Blvd            Houston          TX   77015   10/2/2020
coincloud3150   ColeKepro 3.0   145731   145731.USA   4.92E+12                           Active   125274   125274 Spec's                                9618 FM 1097                     Willis           TX   77318   10/2/2020
coincloud3163   ColeKepro 3.0   145733   145733.USA   4.92E+12                           Active   124126   124126 Allsups                               920 W Mermod St                  Carlsbad         NM   88220   10/2/2020
coincloud3084   ColeKepro 3.0   145736   145736.USA   4.92E+12                           Active   125278   125278 Spec's                                10491 Kuykendahl Rd              Spring           TX   77382   10/2/2020
coincloud3154   ColeKepro 3.0   145741   145741.USA   4.92E+12                           Active   125714   125714 Pwi                                   10330 I-10                       Baytown          TX   77520   10/2/2020
coincloud3164   ColeKepro 3.0   145745   145745.USA   4.92E+12                           Active   124123   124123 Allsups                               800 S 1st St                     Artesia          NM   88210   10/2/2020
coincloud3168   ColeKepro 3.0   145746   145746.USA   4.92E+12                           Active   124121   124121 Allsups                               2417 W Pierce St (Lite)          Carlsbad         NM   88220   10/2/2020
coincloud3153   ColeKepro 3.0   145747   145747.USA   4.92E+12                           Active   125616   125616 Spec's                                19322 US-59                      Humble           TX   77338   10/2/2020
coincloud3169   ColeKepro 3.0   145749   145749.USA   4.92E+12                           Active   125262   125262 Spec's                                14635 Memorial Dr                Houston          TX   77079   10/2/2020
coincloud3160   ColeKepro 3.0   145750   145750.USA   4.92E+12                           Active   125513   125513 Spec's                                3100 7th St                      Bay City         TX   77414   10/2/2020
coincloud3293   ColeKepro 3.0   145755   145755.USA   4.92E+12                           Active   117207   117207 Flow's Pharmacy on Keene              303 N Keene St                   Columbia         MO   65201   10/2/2020
coincloud3267   ColeKepro 3.0   145757   145757.USA   4.92E+12                           Active   119516   119516 7th Heaven                            200 Washington St                Chillicothe      MO   64601   10/2/2020
coincloud3255   ColeKepro 3.0   145762   145762.USA   4.92E+12                           Active   120410   120410 COBORN'S                              705 country road 75              Clearwater       MN   55320   10/2/2020
coincloud3254   ColeKepro 3.0   145764   145764.USA   4.92E+12                           Active   124595   124595 Yesway                                18078 State Hwy 86               Neosho           MO   64850   10/2/2020
coincloud3247   ColeKepro 3.0   145766   145766.USA   4.92E+12                           Active   122856   122856 Hutchinson Pawn & Jewelry             509 E 4th Ave                    Hutchinson       KS   67501   10/2/2020
coincloud3284   ColeKepro 3.0   145770   145770.USA   4.92E+12                           Active   118612   118612 Mail Central Services                 4813 Ridge Rd #111               Douglasville     GA   30134   10/2/2020
coincloud3273   ColeKepro 3.0   145775   145775.USA   4.92E+12                           Active   120406   120406 CASHWISE                              4400 Ottawa St                   Bismarck         ND   58503   10/2/2020
coincloud3307   ColeKepro 3.0   145776   145776.USA   4.92E+12                           Active   118833   118833 Downtown Fresh Market                 531 4th Ave S                    Nashville        TN   37210   10/2/2020
coincloud3279   ColeKepro 3.0   145777   145777.USA   4.92E+12                           Active   120403   120403 CASHWISE                              755 33rd Ave E                   West Fargo       ND   58078   10/2/2020
coincloud3280   ColeKepro 3.0   145778   145778.USA   4.92E+12                           Active   118613   118613 Farm Fresh Food and Pharmacy          4000 Victory Blvd                Portsmouth       VA   23701   10/2/2020
coincloud3277   ColeKepro 3.0   145780   145780.USA   4.92E+12                           Active   119596   119596 Joplin Mini Mart                      1210 E 15th St                   Joplin           MO   64804   10/2/2020
coincloud3276   ColeKepro 3.0   145781   145781.USA   4.92E+12                           Active   119333   119333 7th Heaven                            1100 N Morley St                 Moberly          MO   65270   10/2/2020
coincloud3301   ColeKepro 3.0   145782   145782.USA   4.92E+12                           Active   124538   124538 Yesway                                1117 S State Line Ave            Joplin           MO   64804   10/2/2020
coincloud3298   ColeKepro 3.0   145789   145789.USA   4.92E+12                           Active   122857   122857 Wildcat Pawn & Jewelry                2309 Tuttle Creek Blvd           Manhattan        KS   66502   10/2/2020
coincloud3289   ColeKepro 3.0   145790   145790.USA   4.92E+12                           Active   119334   119334 7th Heaven                            1419 E 9th St                    Trenton          MO   64683   10/2/2020
coincloud3299   ColeKepro 3.0   145791   145791.USA   4.92E+12                           Active   124539   124539 Yesway                                3179 US-54                       Kingdom City     MO   65262   10/2/2020
coincloud3292   ColeKepro 3.0   145793   145793.USA   4.92E+12                           Active   119551   119551 7th Heaven                            2700 N Baltimore St              Kirksville       MO   63501   10/2/2020
coincloud3282   ColeKepro 3.0   145797   145797.USA   4.92E+12                           Active   119553   119553 7th Heaven                            104 N Main St                    Concordia        MO   64020   10/2/2020
coincloud3283   ColeKepro 3.0   145798   145798.USA   4.92E+12                           Active   118603   118603 QC India Market                       2330 Spruce Hills Dr             Bettendorf       IA   52722   10/2/2020
coincloud3286   ColeKepro 3.0   145800   145800.USA   4.92E+12                           Active   118172   118172 GamesXP Decorah                       105 W Water St                   Decorah          IA   52101   10/2/2020
coincloud3098   ColeKepro 3.0   145801   145801.USA   4.92E+12                           Active   125708   125708 Pwi                                   2100 TX-36                       Sealy            TX   77474   10/2/2020
coincloud3106   ColeKepro 3.0   145804   145804.USA   4.92E+12                           Active   125256   125256 Spec's                                1033 Bay Area Blvd               Houston          TX   77062   10/2/2020
coincloud3145   ColeKepro 3.0   145807   145807.USA   4.92E+12                           Active   125266   125266 Spec's                                196 Gulf Fwy S                   League City      TX   77573   10/2/2020
coincloud3146   ColeKepro 3.0   145809   145809.USA   4.92E+12                           Active   125251   125251 Spec's Wines, Spirits & Finer Foods   1420 Kingwood Dr                 Houston          TX   77339   10/2/2020
coincloud3260   ColeKepro 3.0   145811   145811.USA   4.92E+12                           Active   119518   119518 7th Heaven                            104 W Helm St                    Brookfield       MO   64628   10/2/2020
coincloud3258   ColeKepro 3.0   145814   145814.USA   4.92E+12                           Active   124546   124546 Yesway                                100 S Grand Ave                  Lyons            KS   67554   10/2/2020
coincloud3257   ColeKepro 3.0   145816   145816.USA   4.92E+12                           Active   124544   124544 Yesway                                102 S Cole St                    Lindsborg        KS   67456   10/2/2020
coincloud3211   ColeKepro 3.0   145820   145820.USA   4.92E+12                           Active   123206   123206 My Sunny Laundry                      16897 NW 67th Ave                Hialeah          FL   33015   10/2/2020
coincloud3251   ColeKepro 3.0   145823   145823.USA   4.92E+12                           Active   120417   120417 CASHWISE                              1761 3rd Ave W                   Dickinson        ND   58601   10/2/2020
coincloud3264   ColeKepro 3.0   145825   145825.USA   4.92E+12                           Active   124596   124596 Yesway                                738 E McKinney St                Neosho           MO   64850   10/2/2020
coincloud3189   ColeKepro 3.0   145828   145828.USA   4.92E+12                           Active   123544   123544 Nutrition Smart                       1821 Bruce B Downs Blvd          Wesley Chapel    FL   33544   10/2/2020
coincloud3197   ColeKepro 3.0   145829   145829.USA   4.92E+12                           Active   128861   128861 FixIT Tek - Computer Repair           11012 SE 62nd Ave                Belleview        FL   34420   10/2/2020
coincloud3194   ColeKepro 3.0   145831   145831.USA   4.92E+12                           Active   126818   126818 Volusia Computers                     484 S Yonge St                   Ormond Beach     FL   32174   10/2/2020
coincloud3191   ColeKepro 3.0   145834   145834.USA   4.92E+12                           Active   128853   128853 My Broken Phone                       5045 Fruitville Rd #Suite 163    Sarasota         FL   34232   10/2/2020
coincloud3204   ColeKepro 3.0   145837   145837.USA   4.92E+12                           Active   138363   138363 Take Over Wireless LLC                11634 US Hwy 19                  Port Richey      FL   34668   10/2/2020
coincloud3192   ColeKepro 3.0   145838   145838.USA   4.92E+12       Sanford, FL         Active   146656   146656 Thorntons                             1351 34th St N                   St. Petersburg   FL   33713   10/2/2020
coincloud3184   ColeKepro 3.0   145840   145840.USA   4.92E+12       Sanford, FL         Active   137546   137546 Save A Lot                            12600 S Tamiami Trail #N         North Port       FL   34287   10/2/2020
coincloud3187   ColeKepro 3.0   145843   145843.USA   4.92E+12       Sanford, FL         Active   146455   146455 Thorntons                             4820 FL-64                       Bradenton        FL   34208   10/2/2020
coincloud3002   ColeKepro 3.0   145846   145846.USA   4.92E+12                           Active   121578   121578 ACE Cash Express                      1651 N State Rd 7                Lauderhill       FL   33313   10/2/2020
coincloud2998   ColeKepro 3.0   145847   145847.USA   4.92E+12                           Active   125631   125631 Wynns Tech Solutions                  18400 NW 75th Pl #STE 112        Hialeah          FL   33015   10/2/2020
                                      Case 23-10423-mkn                                                Doc 36-2              Entered 02/08/23 19:55:21                                                                  Page 155 of 217


coincloud3130     ColeKepro 3.0      145848         145848.USA       4.92E+12                           Active   125620   125620 Spec's                                                           25044 I-45                            Spring            TX   77386   10/2/2020
coincloud3122     ColeKepro 3.0      145852         145852.USA       4.92E+12                           Active   125707   125707 Pwi                                                              24627 I-45                            Spring            TX   77380   10/2/2020
coincloud3104     ColeKepro 3.0      145854         145854.USA       4.92E+12                           Active   124124   124124 Allsups                                                          1910 W Main St                        Artesia           NM   88210   10/2/2020
coincloud3364     ColeKepro 3.0      145860         145860.USA       4.92E+12                           Active   139852   139852 Ideal Markets                                                    6858 Route 711                        Seward            PA   15954   10/2/2020
coincloud3360     ColeKepro 3.0      145864         145864.USA       4.92E+12                           Active   124964   124964 Newton Falls Shop 'n Save                                        37 Ridge Rd                           Newton Falls      OH   44444   10/2/2020
coincloud3352     ColeKepro 3.0      145871         145871.USA       4.92E+12                           Active   119507   119507 7-Eleven                                                         300 E Main St                         Mannington        WV   26582   10/2/2020
coincloud3381     ColeKepro 3.0      145878         145878.USA       4.92E+12                           Active   119182   119182 Crest Foods                                                      715 N Czech Hall Rd                   Yukon             OK   73099   10/2/2020
coincloud3379     ColeKepro 3.0      145880         145880.USA       4.92E+12                           Active   119181   119181 Crest Foods                                                      2550 Mt Williams Dr                   Norman            OK   73069   10/2/2020
coincloud3408     ColeKepro 3.0      145883         145883.USA       4.92E+12                           Active   120010   120010 Stripes                                                          3000 N Grimes St                      Hobbs             NM   88240   10/2/2020
coincloud3353     ColeKepro 3.0      145887         145887.USA       4.92E+12                           Active   119495   119495 7-Eleven                                                         4151 National Pike                    Grantsville       MD   21536   10/2/2020
coincloud3222     ColeKepro 3.0      145894         145894.USA       4.92E+12                           Active   121616   121616 ACE Cash Express                                                 2642 Tamiami Trail E                  Naples            FL   34112   10/2/2020
coincloud3216     ColeKepro 3.0      145897         145897.USA       4.92E+12                           Active   123543   123543 Nutrition Smart                                                  464 SW Port St Lucie Blvd             Port St. Lucie    FL   34953   10/2/2020
coincloud3249     ColeKepro 3.0      145899         145899.USA       4.92E+12                           Active   124601   124601 Yesway                                                           428 E 4th Ave                         Hutchinson        KS   67501   10/2/2020
coincloud3218     ColeKepro 3.0      145902         145902.USA       4.92E+12                           Active   123919   123919 PhoneHub US Coral Springs-Margate                                7974 W Sample Rd                      Margate           FL   33065   10/2/2020
coincloud3225     ColeKepro 3.0      145905         145905.USA       4.92E+12                           Active   119336   119336 7th Heaven                                                       53381 Commercial Dr                   Milan             MO   63556   10/2/2020
coincloud3256     ColeKepro 3.0      145906         145906.USA       4.92E+12                           Active   125978   125978 Food Fair Super Market                                           922 Main St                           Pleasanton        KS   66075   10/2/2020
coincloud3237     ColeKepro 3.0      145913         145913.USA       4.92E+12                           Active   122921   122921 Simple Mobile Miami                                              742 SW 8th St                         Miami             FL   33130   10/2/2020
coincloud3245     ColeKepro 3.0      145915         145915.USA       4.92E+12                           Active   122051   122051 CPR Cell Phone Repair North Kansas City                          2514 NE Vivion Rd                     Kansas City       MO   64118   10/2/2020
coincloud3250     ColeKepro 3.0      145922         145922.USA       4.92E+12                           Active   124545   124545 Yesway                                                           1035 W Kansas Ave                     McPherson         KS   67460   10/2/2020
coincloud3310     ColeKepro 3.0      145927         145927.USA       4.92E+12                           Active   117661   117661 Sam's Food Stores                                                389 Broadway                          Lawrence          MA    1841   10/2/2020
coincloud3311     ColeKepro 3.0      145928         145928.USA       4.92E+12                           Active   117208   117208 Flow's Pharmacy on Broadway                                      1506 E Broadway                       Columbia          MO   65201   10/2/2020
coincloud3317     ColeKepro 3.0      145929         145929.USA       4.92E+12                           Active   124205   124205 Allsups                                                          321 Main St                           Clayton           NM   88415   10/2/2020
coincloud3318     ColeKepro 3.0      145932         145932.USA       4.92E+12                           Active   119493   119493 7-Eleven                                                         125 E Main St                         Frostburg         MD   21532   10/2/2020
coincloud3319     ColeKepro 3.0      145933         145933.USA       4.92E+12                           Active   119497   119497 7-Eleven                                                         209 W Main St                         Romney            WV   26757   10/2/2020
coincloud3321     ColeKepro 3.0      145934         145934.USA       4.92E+12                           Active   119505   119505 7-Eleven                                                         164 Main St                           Rivesville        WV   26588   10/2/2020
coincloud3325     ColeKepro 3.0      145936         145936.USA       4.92E+12                           Active   119496   119496 7-Eleven                                                         400 Maryland Ave                      Cumberland        MD   21502   10/2/2020
coincloud3324     ColeKepro 3.0      145937         145937.USA       4.92E+12                           Active   119514   119514 7-Eleven                                                         2 S Mineral St                        Keyser            WV   26726   10/2/2020
coincloud3335     ColeKepro 3.0      145939         145939.USA       4.92E+12                           Active   103103   103103 K Food Store                                                     3159 Midlothian Turnpike              Richmond          VA   23224   10/2/2020
coincloud3336     ColeKepro 3.0      145940         145940.USA       4.92E+12                           Active   125185   125185 7-Eleven                                                         4630 William Flinn Hwy                Hampton Township PA    15101   10/2/2020
coincloud3323     ColeKepro 3.0      145946         145946.USA       4.92E+12                           Active   119498   119498 7-Eleven                                                         100 Baker St                          Keyser            WV   26726   10/2/2020
coincloud3338     ColeKepro 3.0      145947         145947.USA       4.92E+12                           Active   119494   119494 7-Eleven                                                         435 N. Third Street                   Oakland           MD   21550   10/2/2020
coincloud3342     ColeKepro 3.0      145951         145951.USA       4.92E+12                           Active   130068   130068 Sander's Market                                                  826 N Center St                       Corry             PA   16407   10/2/2020
coincloud3349     ColeKepro 3.0      145952         145952.USA       4.92E+12                           Active   139851   139851 Ideal Markets                                                    2449 Bedford St                       Johnstown         PA   15904   10/2/2020
coincloud3343     ColeKepro 3.0      145954         145954.USA       4.92E+12                           Active   124802   124802 East Rochester SHOP 'n SAVE                                      750 Ohio River Blvd                   Rochester         PA   15074   10/2/2020
coincloud3341     ColeKepro 3.0      145956         145956.USA       4.92E+12    Kansas City, MO        Active   144389   144389 Grove City County Market                                         49 Pine Grove Square                  Grove City        PA   16127   10/2/2020
coincloud3331     ColeKepro 3.0      145961         145961.USA       4.92E+12                           Active   125184   125184 7-Eleven                                                         7910 US-30 #E                         Irwin             PA   15642   10/2/2020
coincloud3346     ColeKepro 3.0      145962         145962.USA       4.92E+12                           Active   124789   124789 SHOP 'n SAVE                                                     2910 Duss Ave                         Ambridge          PA   15003   10/2/2020
coincloud3320     ColeKepro 3.0      145964         145964.USA       4.92E+12                           Active   130063   130063 Sander's Market                                                  1015 Buffalo St                       Franklin          PA   16323   10/2/2020
coincloud3327     ColeKepro 3.0      145965         145965.USA       4.92E+12                           Active   119500   119500 7-Eleven                                                         1 W Washington St                     Fort Ashby        WV   26719   10/2/2020
coincloud3328     ColeKepro 3.0      145966         145966.USA       4.92E+12                           Active   119510   119510 7-Eleven                                                         3009 Pennsylvania Ave                 Weirton           WV   26062   10/2/2020
coincloud3393     ColeKepro 3.0      145973         145973.USA       4.92E+12                           Active   120633   120633 Stripes                                                          1729 S Avenue D                       Portales          NM   88130   10/2/2020
coincloud3439     ColeKepro 3.0      145981         145981.USA       4.92E+12                           Active   124626   124626 Compton's Market                                                 4065 McKinley Blvd                    Sacramento        CA   95819   10/2/2020
coincloud3406     ColeKepro 3.0      145988         145988.USA       4.92E+12                           Active   119976   119976 Stripes                                                          114 TX-302                            Kermit            TX   79745   10/2/2020
coincloud3359     ColeKepro 3.0      145991         145991.USA       4.92E+12                           Active   130067   130067 Sander's Market                                                  109 W Main St                         North East        PA   16428   10/2/2020
coincloud3378     ColeKepro 3.0      145993         145993.USA       4.92E+12                           Active   119179   119179 Crest Foods                                                      11120 N Rockwell Ave                  Oklahoma City     OK   73162   10/2/2020
coincloud3407     ColeKepro 3.0      145995         145995.USA       4.92E+12                           Active   120177   120177 Stripes                                                          5000 N Lovington Hwy                  Hobbs             NM   88240   10/2/2020
coincloud3380     ColeKepro 3.0      145998         145998.USA       4.92E+12                           Active   119178   119178 Crest Foods                                                      4503 NW 23rd St                       Oklahoma City     OK   73127   10/2/2020
coincloud3389     ColeKepro 3.0      146000         146000.USA       4.92E+12                           Active   122727   122727 Air Tec Service Center                                           176 N Wabash Ave                      Chicago           IL   60601   10/2/2020
coincloud3382     ColeKepro 3.0      146004         146004.USA       4.92E+12                           Active   119770   119770 Westlake Market                                                  1260 Lake Blvd                        Davis             CA   95616   10/2/2020
coincloud3383     ColeKepro 3.0      146013         146013.USA       4.92E+12                           Active   119767   119767 Fairfax Market                                                   2040 Sir Francis Drake Blvd           Fairfax           CA   94930   10/2/2020
coincloud3391     ColeKepro 3.0      146018         146018.USA       4.92E+12                           Active   157034   157034 Natural Food Exchange                                            39 Pleasant St Unit 1                 Stoneham          MA    2180   10/2/2020
coincloud3377     ColeKepro 3.0      146020         146020.USA       4.92E+12                           Active   119180   119180 Crest Foods                                                      10601 S May Ave                       Oklahoma City     OK   73170   10/2/2020
coincloud4300     ColeKepro 3.0      147834         147834.USA       4.92E+12                           Active   129442   129442 Horizon Food                                                     6141 Charles City Rd                  Richmond          VA   23231   10/2/2020
coincloud4739     ColeKepro 5.0      148270         148270.USA       4.92E+12      Shreveport, LA       Active   148865   148865 Brooks Grocery                                                   1661 N Coley Rd                       Tupelo            MS   38801    8/7/2021
coincloud4881     ColeKepro 5.0      148412         148412.USA       4.92E+12       Magnolia, TX        Active   136927   136927 H-E-B                                                            7901 West Hwy 290                     Austin            TX   78736    8/7/2021
coincloud4898     ColeKepro 5.0      148429         148429.USA       4.92E+12     Indianapolis, IN      Active   128811   128811 Ameristop Food Mart                                              611 Buttermilk Pike                   Crescent Springs KY    41017   8/7/2021
coincloud4966     ColeKepro 5.0      148497         148497.USA       4.92E+12     Indianapolis, IN      Active   151373   151373 Marketon                                                         840 N Decatur Blvd                    Las Vegas         NV   89107    8/7/2021
coincloud5273     ColeKepro 5.0      148804         148804.USA       4.92E+12      MAGNOLIA,TX          Active   122371   122371 ACE Cash Express                                                 6848 Spencer Hwy                      Pasadena          TX   77505   8/7/2021
coincloud5443     ColeKepro 5.0      148974         148974.USA       4.92E+12       Raleigh, NC         Active   151371   151371 Marketon                                                         2475 E Tropicana Ave                  Las Vegas         NV   89121   8/7/2021
coincloud5854     ColeKepro 5.0      149385         149385.USA       4.92E+12       Hayward, CA         Active   121046   121046 ACE                                                              1190 W F St                           Oakdale           CA   95361    8/7/2021
coincloud2143     ColeKepro 3.0      149415         149415.USA       4.92E+12                           Active   146638   146638 Thorntons                                                        300 W 63rd St                         Westmont          IL   60559   10/2/2020
coincloud6162     ColeKepro 5.0      149693         149693.USA       4.92E+12        Phoenix,AZ         Active   155643   155643 Love's                                                           3550 W Winnemucca Blvd                Winnemucca        NV   89445   8/7/2021
coincloud6170     ColeKepro 5.0      149701         149701.USA       4.92E+12   City Of Industry, CA    Active   121590   121590 ACE                                                              1232 E Florence Ave                   Los Angeles       CA   90001   8/7/2021
coincloud6210     ColeKepro 5.0      149741         149741.USA       4.92E+12   City of Industry,CA     Active   150615   150615 Cumberland Farms                                                 1544 Post Rd                          Wells             ME    4090   8/7/2021
coincloud6242     ColeKepro 5.0      149773         149773.USA       4.92E+12   City of Industry,CA     Active   150609   150609 Cumberland Farms                                                 30 Sparks Ave                         Nantucket         MA    2554   8/7/2021
coincloud6256     ColeKepro 5.0      149787         149787.USA       4.92E+12   City of Industry,CA     Active   147188   147188 Good2Go                                                          1440 N Main St                        Pocatello         ID   83204   8/7/2021
coincloud6268     ColeKepro 5.0      149799         149799.USA       4.92E+12   City of Industry,CA     Active   147185   147185 Good2Go                                                          510 S State St                        Shelley           ID   83274   8/7/2021
coincloud150249   ColeKepro 5.0      150249         150249.USA       4.92E+12        Mt Joy, PA         Active   150910   150910 Turkey Hill                                                      4 S Centre Ave                        Leesport          PA   19533    8/7/2021
coincloud150734   ColeKepro 5.0      150734         150734.USA      4.921E+12       Sterling, VA        Active   152117   152117 Royal Farms                                                      9518 Pulaski Hwy                      Middle River      MD   21220   8/7/2021
coincloud150790   ColeKepro 5.0      150790        150790.USA        4.92E+12       Sterling, VA        Active   152130   152130 Royal Farms                                                      207 E Main St                         Collegeville      PA   19426   8/7/2021
coincloud150893   ColeKepro 5.0      150893         150893.USA      4.921E+12       Sterling, VA        Active   152309   152309 Royal Farms                                                      1601 Middleborough Rd                 Essex             MD   21221   8/7/2021
coincloud150901   ColeKepro 5.0      150901        150901.USA        4.92E+12       Sterling, VA        Active   152166   152166 Royal Farms                                                      58 Atlantic Ave                       Ocean View        DE   19970   8/7/2021
coincloud150966   ColeKepro 5.0      150966        150966.USA        4.92E+12       Sterling, VA        Active   152209   152209 Royal Farms                                                      26672 John J Williams Hwy             Millsboro         DE   19966   8/7/2021
coincloud150979   ColeKepro 5.0      150979         150979.USA      4.921E+12       Sterling, VA        Active   152219   152219 Royal Farms                                                      1200 Ponca St #3                      Baltimore         MD   21223   8/7/2021
coincloud151073   ColeKepro 5.0      151073        151073.USA        4.92E+12       Sterling, VA        Active   152231   152231 Royal Farms                                                      30452 Mt Vernon Rd                    Princess Anne     MD   21853   8/7/2021
coincloud151074   ColeKepro 5.0      151074        151074.USA       4.921E+12       Sterling, VA        Active   154388   154388 Royal Farms                                                      620 Haddonfield-Berlin Rd             Voorhees Township NJ    8043    8/7/2021
coincloud151076   ColeKepro 5.0      151076         151076.USA       4.92E+12       Sterling, VA        Active   152279   152279 Royal Farms at Lutherville-Timonium                              501 W Seminary Ave                    Timonium          MD   21093   8/7/2021
coincloud151137   ColeKepro 5.0      151137         151137.USA      4.921E+12       Sterling, VA        Active   152208   152208 Royal Farms                                                      8800 Concord Rd                       Seaford           DE   19973    8/7/2021
coincloud151150   ColeKepro 5.0      151150         151150.USA      4.921E+12       Sterling, VA        Active   152104   152104 Royal Farms                                                      5000 Plank Rd                         Fredericksburg    VA   22407   8/7/2021
coincloud151151   ColeKepro 5.0      151151         151151.USA       4.92E+12       Sterling, VA        Active   153518   153518 Royal Farms                                                      1500 George Washington Memorial Hwy   Yorktown          VA   23693   8/7/2021
coincloud151155   ColeKepro 5.0      151155         151155.USA      4.921E+12       Sterling, VA        Active   152304   152304 Royal Farms                                                      1119 W 41st St                        Baltimore         MD   21211    8/7/2021
coincloud151192   ColeKepro 5.0      151192         151192.USA      4.921E+12       Sterling, VA        Active   152307   152307 Royal Farms                                                      8207 Harford Rd                       Baltimore         MD   21234    8/7/2021
coincloud151261   ColeKepro 5.0      151261         151261.USA      4.921E+12       Sterling, VA        Active   152086   152086 Royal Farms                                                      10520 Patriot Hwy                     Fredericksburg    VA   22408   8/7/2021
coincloud151276   ColeKepro 5.0      151276         151276.USA       4.92E+12       Sterling, VA        Active   152282   152282 Royal Farms                                                      7843 Telegraph Rd                     Severn            MD   21144    8/7/2021
coincloud151338   ColeKepro 5.0      151338         151338.USA       4.92E+12       Sterling, VA        Active   152264   152264 Royal Farms                                                      1818 Baltimore Blvd                   Westminster       MD   21157   8/7/2021
coincloud151379   ColeKepro 5.0      151379         151379.USA      4.921E+12       Sterling, VA        Active   153517   153517 Royal Farms                                                      2 Schultz Rd                          Greenwood         DE   19950   8/7/2021
coincloud151403   ColeKepro 5.0      151403         151403.USA      4.921E+12       Sterling, VA        Active   152299   152299 Royal Farms                                                      1601 E Churchville Rd                 Bel Air           MD   21014   8/7/2021
coincloud151407   ColeKepro 5.0      151407         151407.USA      4.921E+12       Sterling, VA        Active   152271   152271 Royal Farms                                                      7655 Ocean Gateway                    Easton            MD   21601    8/7/2021
coincloud514      APSM 1.1        5.41539E+14   41539000000007.US    4.92E+12                           Active   103697   103697 Crystal's Liquor                                                 356 E Harmony Rd ## 6C                Fort Collins      CO   80525   9/19/2019
coincloud516      APSM 1.1        5.41539E+14   539000000009USA.     4.92E+12                           Active   103764   103764 Anderson Market                                                  8795 Columbine Rd                     Eden Prairie      MN   55344   9/19/2019
coincloud3059     ColeKepro 3.0      145659                          4.92E+12                           Active   153114   153114 Boost Mobile                                                     2138 E Anaheim St                     Long Beach        CA   90804   10/2/2020
coincloud2888     ColeKepro 3.0      145493                          4.92E+12                           Active   118829   118829 Deco Facil                                                       1238 S Beach Blvd #suite g            Anaheim           CA   92804   10/2/2020
coincloud3036     ColeKepro 3.0      145655                          4.92E+12                           Active   130224   130224 Desert Pantry                                                    587 Palm Canyon Dr #10                Borrego Springs   CA   92004   10/2/2020
coincloud3047     ColeKepro 3.0      145650                          4.92E+12   City of Industry, CA    Active   101580   101580 Holiday Inn                                                      8244 Orion Ave                        Los Angeles       CA   91406   10/2/2020
coincloud3043     ColeKepro 3.0      145643                          4.92E+12                           Active   124954   124954 Huron Discount                                                   36456 Lassen Ave                      Huron             CA   93234   10/2/2020
coincloud2972     ColeKepro 3.0      145634                          4.92E+12                           Active   124960   124960 Los Amigos Food Center                                           36210 Lassen Ave                      Huron             CA   93234   10/2/2020
coincloud3054     ColeKepro 3.0      145671                          4.92E+12                           Active   135125   135125 Mystic Vape                                                      1220 E Washington St ##A22            Colton            CA   92324   10/2/2020
coincloud3018     ColeKepro 3.0      145619                          4.92E+12                           Active   101474   101474 NoHo Ship N Supplies                                             12814 Victory Blvd                    Los Angeles       CA   91606   10/2/2020
coincloud3058     ColeKepro 3.0      145657                          4.92E+12                           Active   119774   119774 Red Barn Market                                                  995 N Ventura Ave                     Ventura           CA   93001   10/2/2020
coincloud3384     ColeKepro 3.0      146019                          4.92E+12                           Active   120923   120923 Smoke Shack                                                      2345 Northgate Blvd                   Sacramento        CA   95833   10/2/2020
coincloud1045     ColeKepro 2.0      143080                          4.92E+12                           Active   108350   108350 Pourboy Liquor                                                   6468 W 20th Ave                       Lakewood          CO   80214   8/28/2020
coincloud3226     ColeKepro 3.0      145763                          4.92E+12                           Active   126646   126646 All in One Wireless                                              1524 Hancock Bridge Pkwy              Cape Coral        FL   33990   10/2/2020
coincloud2109     ColeKepro 3.0      117055                          4.92E+12                           Active   117055   117055 Americas Dollar & Up Store INC                                   3001 E Hillsborough Ave               Tampa             FL   33610   10/2/2020
coincloud3008     ColeKepro 3.0      145683                          4.92E+12                           Active   128211   128211 AQUA WIRELESS SERVICES ,INC                                      630 E 4th Ave                         Hialeah           FL   33010   10/2/2020
coincloud2138     ColeKepro 3.0      144173                          4.92E+12                           Active   118750   118750 BURRITACO                                                        2610 N 40th St                        Tampa             FL   33605   10/2/2020
coincloud2973     ColeKepro 3.0      145641                          4.92E+12                           Active   124339   124339 CDSBOCA.COM- Cell phone repair iphone repair & Computer Re 144 NW 20th St                              Boca Raton        FL   33431   10/2/2020
coincloud2963     ColeKepro 3.0      145609                          4.92E+12                           Active   122696   122696 Cell Phone Fix Pro and Electronics                               108 S 20th Ave                        Hollywood         FL   33020   10/2/2020
coincloud3232     ColeKepro 3.0      145891                          4.92E+12                           Active   129445   129445 Cellular ER                                                      1344 NE 163rd St                      North Miami Beach FL   33162   10/2/2020
coincloud2326     ColeKepro 3.0      144279                          4.92E+12                           Active   127699   127699 ELC Repairs                                                      2037 University Blvd N                Jacksonville      FL   32211   10/2/2020
coincloud3019     ColeKepro 3.0      145621                          4.92E+12                           Active   130381   130381 Electronic Jr. Cell Phone & Computer Repair                      1776 NW 36th St                       Miami             FL   33142   10/2/2020
coincloud2984     ColeKepro 3.0      145625                          4.92E+12                           Active   128469   128469 Experimax Davie                                                  5810 S University Dr ##B105           Davie             FL   33328   10/2/2020
coincloud2273     ColeKepro 3.0      144353                          4.92E+12                           Active   126235   126235 Extreme Tech Pro                                                 1408 N State Rd 7                     Lauderhill        FL   33313   10/2/2020
coincloud3025     ColeKepro 3.0      145587                          4.92E+12                           Active   118665   118665 Frames USA                                                       6822 SW 40th St                       Miami             FL   33155   10/2/2020
coincloud2989     ColeKepro 3.0      145588                          4.92E+12                           Active   128010   128010 Gadget Hut Inc                                                   3234 W BROWARD BLVD                   FORT LAUDERDALE FL     33312   10/2/2020
coincloud3199     ColeKepro 3.0      145822                          4.92E+12                           Active   126757   126757 Genesis Glamour Hair & Nails Salon - Facial                      824 E Vine St                         Kissimmee         FL   34744   10/2/2020
coincloud2253     ColeKepro 3.0      144375                          4.92E+12                           Active   127696   127696 GT Repairs (Smartphones, Tablets, Electronics) - Inside El Bodego8030 W Sample Rd                      Margate           FL   33065   10/2/2020
coincloud2928     ColeKepro 3.0      145530                          4.92E+12                           Active   130231   130231 Happy Vapor Shops - Delta 8, Delta 10, CBD, Dispensary           9672 NW 25th St                       Doral             FL   33172   10/2/2020
coincloud2463     ColeKepro 3.0      145088                          4.92E+12                           Active   118033   118033 Hitchcock's Market                                               6005 US-301                           Hawthorne         FL   32640   10/2/2020
                                      Case 23-10423-mkn                            Doc 36-2              Entered 02/08/23 19:55:21                                                                     Page 156 of 217


coincloud2340   ColeKepro 3.0       144293          4.92E+12                        Active   130345   130345 HR Smoke & Vape                                               6047 St Augustine Rd                     Jacksonville      FL   32217   10/2/2020
coincloud3213   ColeKepro 3.0       145909          4.92E+12                        Active   151368   151368 Ideal Food Market                                             308 E Dania Beach Blvd                   Dania Beach       FL   33004   10/2/2020
coincloud2999   ColeKepro 3.0       145541          4.92E+12                        Active   128665   128665 Ifix Repairs Cell Phone & Tablets                             2254 S Tamiami Trail                     Venice            FL   34293   10/2/2020
coincloud2199   ColeKepro 3.0       144234          4.92E+12                        Active   126516   126516 In&out wireless: iFix Cell Phone Repair, UNLOCK,BUY,SELL,FINAN260 W Lake Mary Blvd                     Sanford           FL   32773   10/2/2020
coincloud2276   ColeKepro 3.0       144356          4.92E+12                        Active   124776   124776 iRepair Tronics                                               600 Prospect Rd                          Fort Lauderdale   FL   33317   10/2/2020
coincloud2863   ColeKepro 3.0       145380          4.92E+12                        Active   117465   117465 Kwik Stop                                                     588 Palm Springs Dr                      Altamonte Springs FL   32701   10/2/2020
coincloud3003   ColeKepro 3.0       145635          4.92E+12                        Active   130045   130045 Miami Vape Smoke Shop                                         6346 SW 8th St                           West Miami        FL   33144   10/2/2020
coincloud3027   ColeKepro 3.0       145614          4.92E+12                        Active   129451   129451 Mizz Repair - Phone Repair                                    6851 W 4th Ave                           Hialeah           FL   33014   10/2/2020
coincloud2991   ColeKepro 3.0       145624          4.92E+12                        Active   129127   129127 My Sunny Laundry                                              19525 NW 57th Ave                        Opa-locka         FL   33055   10/2/2020
coincloud2997   ColeKepro 3.0       145844          4.92E+12                        Active   123205   123205 My Sunny Laundry                                              4251 Palm Ave                            Hialeah           FL   33012   10/2/2020
coincloud3021   ColeKepro 3.0       145590          4.92E+12                        Active   123207   123207 My Sunny Laundry                                              6860 W 12th Ave                          Hialeah           FL   33014   10/2/2020
coincloud3206   ColeKepro 3.0       145813          4.92E+12                        Active   123209   123209 My Sunny Laundry                                              10992 NW 7th Ave                         Miami             FL   33168   10/2/2020
coincloud3210   ColeKepro 3.0       145817          4.92E+12                        Active   123210   123210 My Sunny Laundry                                              2794 NW 167th St                         Miami Gardens     FL   33054   10/2/2020
coincloud2257   ColeKepro 3.0       144381          4.92E+12                        Active   126937   126937 NXT LVL Gaming                                                10772 SW 24th St                         Miami             FL   33165   10/2/2020
coincloud3016   ColeKepro 3.0       145620          4.92E+12                        Active   130139   130139 ON THE GO WIRELESS/iPhone Repair Store                        671 NE 125th St                          North Miami       FL   33161   10/2/2020
coincloud2768   ColeKepro 3.0       145310          4.92E+12                        Active   117525   117525 Orange County Liquors                                         220 Orange Blossom Trail                 Orlando           FL   32805   10/2/2020
coincloud3224   ColeKepro 3.0       145896          4.92E+12                        Active   126939   126939 Park Avenue Numismatics                                       5084 Biscayne Blvd #Suite 105            Miami             FL   33137   10/2/2020
coincloud2323   ColeKepro 3.0   No serial # found   4.92E+12                        Active   125040   125040 Payless Cellular                                              945 W Sunrise Blvd                       Fort Lauderdale   FL   33311   10/2/2020
coincloud3026   ColeKepro 3.0       145585          4.92E+12                        Active   126296   126296 Payless Jewelry & Paymore Pawn                                201 SW 27th Ave                          Fort Lauderdale   FL   33312   10/2/2020
coincloud3015   ColeKepro 3.0       145845          4.92E+12                        Active   142334   142334 PC & Mac Wizard                                               10364 W Flagler St                       Miami             FL   33172   10/2/2020
coincloud2275   ColeKepro 3.0       144355          4.92E+12                        Active   125703   125703 Phone repair                                                  6752 Pines Blvd                          Pembroke Pines    FL   33024   10/2/2020
coincloud2858   ColeKepro 3.0       145323          4.92E+12                        Active   125388   125388 Phone Repair & More - iPhone, Computer, Laptop in Zephyrhills 38518 5th Ave                            Zephyrhills       FL   33542   10/2/2020
coincloud2988   ColeKepro 3.0   No serial # found   4.92E+12                        Active   120819   120819 Phones R US                                                   2790 Stirling Rd #Ste 6                  Hollywood         FL   33020   10/2/2020
coincloud3214   ColeKepro 3.0       145688          4.92E+12                        Active   123875   123875 Pronto Fix                                                    105 E Sunrise Blvd                       Fort Lauderdale   FL   33304   10/2/2020
coincloud2860   ColeKepro 3.0       145393          4.92E+12                        Active   118042   118042 Rines Jumbo Market                                            15500 SW Trail Dr                        Indiantown        FL   34956   10/2/2020
coincloud2975   ColeKepro 3.0       145636          4.92E+12                        Active   125976   125976 Simple Mobile phone repair                                    100 W 29th St Suite A                    Hialeah           FL   33012   10/2/2020
coincloud3201   ColeKepro 3.0       145835          4.92E+12                        Active   127096   127096 Sosa Cell Phone Repair Shop                                   1000 W Waters Ave ##8                    Tampa             FL   33604   10/2/2020
coincloud2345   ColeKepro 3.0       144301          4.92E+12                        Active   130386   130386 Surf's Up Computing                                           707 Beville Rd                           Daytona Beach     FL   32119   10/2/2020
coincloud2985   ColeKepro 3.0       145499          4.92E+12                        Active   118897   118897 Tech Stop                                                     723 NE 79th St                           Miami             FL   33138   10/2/2020
coincloud2996   ColeKepro 3.0       145637          4.92E+12                        Active   129168   129168 Techy                                                         1335 S Military Trail                    Deerfield Beach   FL   33442   10/2/2020
coincloud3207   ColeKepro 3.0       145812          4.92E+12                        Active   129136   129136 Techy By Dr Phone Fix & Computer Repair Cooper City           8787 Stirling Rd                         Cooper City       FL   33328   10/2/2020
coincloud3195   ColeKepro 3.0       145839          4.92E+12                        Active   127598   127598 The rabano's barbershop                                       1479 S Belcher Rd #unit l                Largo             FL   33771   10/2/2020
coincloud2338   ColeKepro 3.0       144290          4.92E+12      Sanford, FL       Active   139526   139526 Top Discount Beverage Llc                                     7141 E Hwy 25                            Belleview         FL   34420   10/2/2020
coincloud2140   ColeKepro 3.0       145589          4.92E+12                        Active   135120   135120 Total Wireless                                                10333 US-441                             Belleview         FL   34420   10/2/2020
coincloud2995   ColeKepro 3.0       145618          4.92E+12                        Active   129124   129124 Total Wireless Store                                          1705 S Parrott Ave                       Okeechobee        FL   34974   10/2/2020
coincloud2637   ColeKepro 3.0       145147          4.92E+12                        Active   118823   118823 Total Wireless Tech Repair                                    1461 N Goldenrod Rd                      Orlando           FL   32807   10/2/2020
coincloud2351   ColeKepro 3.0       144386          4.92E+12                        Active   129612   129612 Vapor and Company - Sanford, FL                               3621 S Orlando Dr                        Sanford           FL   32773   10/2/2020
coincloud2334   ColeKepro 3.0       144305          4.92E+12                        Active   129611   129611 Vapor and Company Altamonte Springs                           100 E Altamonte Dr                       Altamonte Springs FL   32701   10/2/2020
coincloud3295   ColeKepro 3.0       145794          4.92E+12                        Active   128466   128466 Ramsey's                                                      200 N Walnut St                          Lenox             IA   50851   10/2/2020
coincloud4000   ColeKepro 3.0       147534          4.92E+12                        Active   140312   140312 The Depot Express                                             221 W Marengo Rd                         Tiffin            IA   52340   10/2/2020
coincloud1731   ColeKepro 3.0       143766          4.92E+12                        Active   151595   151595 809 E Baltimore St                                            809 E Baltimore St                       Wilmington        IL   60481   10/2/2020
coincloud2723   ColeKepro 3.0       145191          4.92E+12                        Active   119250   119250 Direct Phone Fix                                              1956 N Milwaukee Ave                     Chicago           IL   60647   10/2/2020
coincloud2103   ColeKepro 3.0       144138          4.92E+12                        Active   146607   146607 Thorntons                                                     515 W N Ave                              Lombard           IL   60148   10/2/2020
coincloud2139   ColeKepro 3.0       143857          4.92E+12                        Active   146641   146641 Thorntons                                                     800 W Lake St                            Addison           IL   60101   10/2/2020
coincloud6188   ColeKepro 5.0       149719          4.92E+12      Phoenix,AZ        Active   146600   146600 Thorntons                                                     14840 S Western Ave                      Posen             IL   60469    8/7/2021
coincloud2218   ColeKepro 3.0       144253          4.92E+12                        Active   120523   120523 Community Markets                                             1056 US 27 North                         Berne             IN   46711   10/2/2020
coincloud2364   ColeKepro 3.0       144389          4.92E+12                        Active   120540   120540 Needler's Fresh Market                                        1515 IN-37                               Elwood            IN   46036   10/2/2020
coincloud2461   ColeKepro 3.0       145086          4.92E+12                        Active   120542   120542 Needler's Fresh Market                                        1711 N Walnut St                         Hartford City     IN   47348   10/2/2020
coincloud2474   ColeKepro 3.0       145075          4.92E+12                        Active   120545   120545 HL Distribution                                               1065 Texan Trail Rd                      Grapevine         TX   76051   10/2/2020
coincloud2172   ColeKepro 3.0       144207          4.92E+12                        Active   120921   120921 pmall wireless                                                1108 E Pontiac St ##3                    Fort Wayne        IN   46803   10/2/2020
coincloud2230   ColeKepro 3.0       144271          4.92E+12                        Active   126358   126358 Sanders Foods                                                 858 N Plymouth Rd                        Winamac           IN   46996   10/2/2020
coincloud2531   ColeKepro 3.0       145052          4.92E+12                        Active   123621   123621 Tech Doc's Depot                                              2223 Wabash Ave                          Terre Haute       IN   47807   10/2/2020
coincloud4203   ColeKepro 3.0       147737          4.92E+12     Bighton, CO        Active   146548   146548 Thorntons                                                     114 Rosenberger Ave                      Evansville        IN   47712   10/2/2020
coincloud2071   ColeKepro 3.0       144106          4.92E+12                        Active   118434   118434 Unspoken Art Studio | Custom Tattooing and Art Gallery        7151 Savannah Dr                         Newburgh          IN   47630   10/2/2020
coincloud2485   ColeKepro 3.0       145170          4.92E+12                        Active   117928   117928 Worldwide Jewelry & Pawn                                      119 W Clinton St                         Goshen            IN   46526   10/2/2020
coincloud3288   ColeKepro 3.0   No serial # found   4.92E+12                        Active   117927   117927 Worldwide Jewelry & Pawn                                      2621 W Lexington Ave                     Elkhart           IN   46514   10/2/2020
coincloud2100   ColeKepro 3.0       149559          4.92E+12                        Active   146036   146036 Your CBD Store - South Indy, IN                               5021 S, Kentucky Ave # E, Indianapolis   Indianapolis      IN   46221   10/2/2020
coincloud3300   ColeKepro 3.0       145784          4.92E+12                        Active   125977   125977 Food Fair Super Market                                        730 E Main St                            Mound City        KS   66056   10/2/2020
coincloud3296   ColeKepro 3.0       145799          4.92E+12                        Active   123118   123118 Str8 Edge Barber Shop                                         203 B Delaware St                        Leavenworth       KS   66048   10/2/2020
coincloud2053   ColeKepro 3.0       144088          4.92E+12                        Active   118825   118825 Wizards Asylum                                                1309 W 31st St S                         Wichita           KS   67217   10/2/2020
coincloud3278   ColeKepro 3.0       145785          4.92E+12                        Active   124603   124603 Yesway                                                        901 E 11th Ave                           Hutchinson        KS   67501   10/2/2020
coincloud4359   ColeKepro 4.0       147893          4.92E+12                        Active   150974   150974 Minit Mart                                                    349 Main St                              Greenville        KY   42345   6/15/2021
coincloud2450   ColeKepro 3.0       144466          4.92E+12                        Active   120563   120563 Remke                                                         560 Clock Tower Way                      Fort Mitchell     KY   41017   10/2/2020
coincloud2489   ColeKepro 3.0       145172          4.92E+12                        Active   120558   120558 Remke                                                         6920 Burlington Pike                     Florence          KY   41042   10/2/2020
coincloud2360   ColeKepro 3.0       144404          4.92E+12                        Active   119489   119489 Sunshine Liquor store                                         4105 Taylor Blvd St. B                   Louisville        KY   40215   10/2/2020
coincloud2062   ColeKepro 3.0       144097          4.92E+12                        Active   146499   146499 Thorntons                                                     1000 N Green St                          Henderson         KY   42420   10/2/2020
coincloud2064   ColeKepro 3.0       144099          4.92E+12                        Active   146501   146501 Thorntons                                                     2855 US-41                               Henderson         KY   42420   10/2/2020
coincloud5876   ColeKepro 5.0       149407          4.92E+12   Riviera Beach, FL    Active   146543   146543 Thorntons                                                     5318 Preston Hwy                         Louisville        KY   40213   8/7/2021
coincloud6144   ColeKepro 5.0       149675          4.92E+12   Riviera Beach, FL    Active   146536   146536 Thorntons                                                     2000 7th Street Rd                       Louisville        KY   40208   8/7/2021
coincloud3023   ColeKepro 3.0       145536          4.92E+12                        Active   150829   150829 Cumberland Farms                                              263 Grafton St                           Worcester         MA    1604   10/2/2020
coincloud2851   ColeKepro 3.0       145397          4.92E+12                        Active   122928   122928 Cub Foods                                                     1020 Diffley Rd                          Eagan             MN   55123   10/2/2020
coincloud2434   ColeKepro 3.0       144461          4.92E+12                        Active   119789   119789 Festival Foods                                                14775 Victor Hugo Blvd                   Hugo              MN   55038   10/2/2020
coincloud2812   ColeKepro 3.0       145224          4.92E+12                        Active   121368   121368 Quick Fix Fridley                                             5176 Central Ave NE                      Fridley           MN   55421   10/2/2020
coincloud3266   ColeKepro 3.0       145827          4.92E+12                        Active   119554   119554 7th Heaven                                                    300 W Rollins St                         Moberly           MO   65270   10/2/2020
coincloud3268   ColeKepro 3.0       145907          4.92E+12                        Active   119550   119550 7th Heaven                                                    306 W Bourke St                          Macon             MO   63552   10/2/2020
coincloud3291   ColeKepro 3.0       145788          4.92E+12                        Active   119335   119335 7th Heaven                                                    2006 Main St                             Unionville        MO   63565   10/2/2020
coincloud2465   ColeKepro 3.0   No serial # found   4.92E+12                        Active   117570   117570 Mally Supermarket                                             7445 W Florissant Ave                    St. Louis         MO   63136   10/2/2020
coincloud2815   ColeKepro 3.0       145211          4.92E+12                        Active   118182   118182 Bronson's Marketplace                                         201 West Main St E                       Beulah            ND   58523   10/2/2020
coincloud3297   ColeKepro 3.0       145786          4.92E+12                        Active   120420   120420 CASHWISE                                                      4907 Timber Pkwy S                       Fargo             ND   58104   10/2/2020
coincloud3302   ColeKepro 3.0       145787          4.92E+12                        Active   120404   120404 CASHWISE                                                      1144 E Bismarck EXPRESSWAY               Bismarck          ND   58504   10/2/2020
coincloud2816   ColeKepro 3.0       145212          4.92E+12                        Active   119731   119731 Garrison SuperValu                                            339 4th Ave SE                           Garrison          ND   58540   10/2/2020
coincloud2824   ColeKepro 3.0       145472          4.92E+12                        Active   120837   120837 Hugo's                                                        1750 32nd Ave S                          Grand Forks       ND   58201   10/2/2020
coincloud2826   ColeKepro 3.0       145471          4.92E+12                        Active   120834   120834 Hugo's                                                        155 E 12th St                            Grafton           ND   58237   10/2/2020
coincloud2835   ColeKepro 3.0       145396          4.92E+12                        Active   120829   120829 Hugo's                                                        1631 S Washington St                     Grand Forks       ND   58201   10/2/2020
coincloud2837   ColeKepro 3.0       145400          4.92E+12                        Active   120833   120833 Hugo's                                                        1315 S Columbia Rd                       Grand Forks       ND   58201   10/2/2020
coincloud2845   ColeKepro 3.0       145324          4.92E+12                        Active   120827   120827 Hugo's                                                        1925 13th Ave N                          Grand Forks       ND   58203   10/2/2020
coincloud2825   ColeKepro 3.0       145467          4.92E+12                        Active   119740   119740 Krause's SuperValu                                            1221 Main St W                           Hazen             ND   58545   10/2/2020
coincloud3093   ColeKepro 3.0       145559          4.92E+12                        Active   124648   124648 Allsups                                                       2301 W Lea St                            Carlsbad          NM   88220   10/2/2020
coincloud3094   ColeKepro 3.0       145569          4.92E+12                        Active   124206   124206 Allsups                                                       501 S 3rd St                             Jal               NM   88252   10/2/2020
coincloud3102   ColeKepro 3.0       145544          4.92E+12                        Active   124575   124575 Allsups                                                       105 N 8th St                             Loving            NM   88256   10/2/2020
coincloud3134   ColeKepro 3.0       145583          4.92E+12                        Active   127100   127100 Allsups                                                       1600 N 1st St                            Artesia           NM   88210   10/2/2020
coincloud3135   ColeKepro 3.0       145556          4.92E+12                        Active   124210   124210 Allsups                                                       321 N Dal Paso St                        Hobbs             NM   88240   10/2/2020
coincloud3333   ColeKepro 3.0       145943          4.92E+12                        Active   130064   130064 Sander's Market                                               264 S Main St                            Cadiz             OH   43907   10/2/2020
coincloud3347   ColeKepro 3.0       145953          4.92E+12                        Active   130065   130065 Sander's Market                                               501 W Main St                            Carrollton        OH   44615   10/2/2020
coincloud2070   ColeKepro 3.0       144105          4.92E+12                        Active   126252   126252 Every Day Food Mart                                           9213 SE Foster Rd                        Portland          OR   97266   10/2/2020
coincloud2131   ColeKepro 3.0       148959          4.92E+12                        Active   139833   139833 Jim's Supermarket                                             12350 NW Main St                         Banks             OR   97106   10/2/2020
coincloud2068   ColeKepro 3.0       144103          4.92E+12                        Active   117324   117324 McKay's Market #14                                            200 S 8th St                             Lakeside          OR   97449   10/2/2020
coincloud2061   ColeKepro 3.0       144096          4.92E+12                        Active   117329   117329 McKay's Market #17                                            400 N Central Blvd                       Coquille          OR   97423   10/2/2020
coincloud2102   ColeKepro 3.0       144137          4.92E+12                        Active   145009   145009 Quick Shop                                                    14740 NW Cornell Rd                      Portland          OR   97229   10/2/2020
coincloud3363   ColeKepro 3.0       145865          4.92E+12   Kansas City, MO      Active   125176   125176 7-Eleven                                                      One Fosterville Rd                       Greensburg        PA   15601   10/2/2020
coincloud3365   ColeKepro 3.0       145866          4.92E+12   Kansas City, MO      Active   125181   125181 7-Eleven                                                      818 Duquesne Blvd                        Duquesne          PA   15110   10/2/2020
coincloud3345   ColeKepro 3.0       145950          4.92E+12                        Active   135870   135870 Mt View Marketplace                                           111 Rolling Stone Rd                     Kylertown         PA   16847   10/2/2020
coincloud3314   ColeKepro 3.0       145963          4.92E+12                        Active   127206   127206 SHOP 'n SAVE                                                  4548 Broadway Blvd                       Monroeville       PA   15146   10/2/2020
coincloud3339   ColeKepro 3.0       145856          4.92E+12   Kansas City, MO      Active   125897   125897 SHOP 'n SAVE                                                  RD# 5375 William Flinn Hwy               Gibsonia          PA   15044   10/2/2020
coincloud3329   ColeKepro 3.0       145942          4.92E+12                        Active   126754   126754 The Laundry Basket                                            1608 Potomac Ave                         Pittsburgh        PA   15216   10/2/2020
coincloud3334   ColeKepro 3.0       145938          4.92E+12                        Active   138776   138776 Tom's Riverside                                               8868 Route 338                           Knox              PA   16232   10/2/2020
coincloud3356   ColeKepro 3.0       145859          4.92E+12                        Active   138778   138778 Tom's Riverside                                               562 Main St                              Rimersburg        PA   16248   10/2/2020
coincloud3350   ColeKepro 3.0       145870          4.92E+12                        Active   124975   124975 Tusca Plaza SHOP 'n SAVE                                      4935 Tuscarawas Rd                       Beaver            PA   15009   10/2/2020
coincloud3348   ColeKepro 3.0       145955          4.92E+12   Kansas City, MO      Active   144087   144087 Valeski's 4th St. Bilo                                        420 N 4th St                             Indiana           PA   15701   10/2/2020
coincloud2084   ColeKepro 3.0       144119          4.92E+12                        Active   138897   138897 Hot Spot                                                      6197 Hwy 221                             Roebuck           SC   29376   10/2/2020
coincloud2114   ColeKepro 3.0       144149          4.92E+12                        Active   124374   124374 Yesway                                                        640 Box Elder Rd W                       Box Elder         SD   57719   10/2/2020
coincloud2116   ColeKepro 3.0       144151          4.92E+12                        Active   124370   124370 Yesway                                                        49 N 5th St                              Custer            SD   57730   10/2/2020
coincloud2157   ColeKepro 3.0       144192          4.92E+12                        Active   124359   124359 Yesway                                                        24475 South Creek Road                   Kadoka            SD   57543   10/2/2020
coincloud2464   ColeKepro 3.0       145089          4.92E+12                        Active   124349   124349 Yesway                                                        819 E Wells Ave                          Pierre            SD   57501   10/2/2020
coincloud475    APSM 1.1         5.41537E+14        4.92E+12                        Active   103362   103362 Cloudy Vibez                                                  3002 Clarksville Pike                    Nashville         TN   37218   9/19/2019
coincloud3259   ColeKepro 3.0       145924          4.92E+12                        Active   119252   119252 Daddy's Pizza                                                 403 W Trinity Ln #Ste 102                Nashville         TN   37207   10/2/2020
coincloud3303   ColeKepro 3.0       145925          4.92E+12                        Active   118898   118898 Southside Mini Mart                                           1939 S Highland Ave                      Jackson           TN   38301   10/2/2020
coincloud2980   ColeKepro 3.0   No serial # found   4.92E+12                        Active   119331   119331 Wash-A-Rama                                                   1003 S Roan St                           Johnson City      TN   37601   10/2/2020
                                       Case 23-10423-mkn                                         Doc 36-2                     Entered 02/08/23 19:55:21                                               Page 157 of 217


coincloud2316     ColeKepro 3.0       144313                       4.92E+12                         Active       124634   124634 Allsup's Convenience Store                805 W 2nd St                       Clarendon          TX   79226   10/2/2020
coincloud2391     ColeKepro 3.0       144452                       4.92E+12                         Active       124202   124202 Allsups                                   525 S Main St                      Stinnett           TX   79083   10/2/2020
coincloud2299     ColeKepro 3.0       144330                       4.92E+12                         Active       125603   125603 Doc's Liquor Store                        641 US-62                          Wolfforth          TX   79382    10/2/2020
coincloud4894     ColeKepro 5.0       148425                       4.92E+12    Magnolia, TX         Active       126297   126297 Gadget Haus Plus                          17130 Beechnut St                  Houston            TX   77083    8/7/2021
coincloud3078     ColeKepro 3.0       145581                       4.92E+12                         Active       128175   128175 Killeen Mall                              2100 South W.S. Young Dr           Killeen            TX   76543   10/2/2020
coincloud3100     ColeKepro 3.0       145737                       4.92E+12                         Active       125706   125706 Pwi                                       2431 E Commerce St                 Buffalo            TX   75831    10/2/2020
coincloud3133     ColeKepro 3.0       145593                       4.92E+12                         Active       125713   125713 Pwi                                       333 E Lutcher Dr                   Orange             TX   77632    10/2/2020
coincloud3143     ColeKepro 3.0       145698                       4.92E+12                         Active       125710   125710 Pwi                                       6150 I-10                          Seguin             TX   78155    10/2/2020
coincloud3161     ColeKepro 3.0       145743                       4.92E+12                         Active       125709   125709 Pwi                                       14502 East Fwy                     Houston            TX   77015    10/2/2020
coincloud3074     ColeKepro 3.0       145696                       4.92E+12                         Active       125436   125436 Richard's Liquors                         2545 Kirby Dr                      Houston            TX   77019    10/2/2020
coincloud3081     ColeKepro 3.0       145703                       4.92E+12                         Active       125411   125411 Richard's Liquors                         1665 S Voss Rd                     Houston            TX   77057   10/2/2020
coincloud3073     ColeKepro 3.0       145692                       4.92E+12                         Active       125375   125375 Spec's                                    12901 Queensbury Ln                Houston            TX   77079    10/2/2020
coincloud3076     ColeKepro 3.0       145721                       4.92E+12                         Active       125378   125378 Spec's                                    3126 FM 528 Rd                     Webster            TX   77598    10/2/2020
coincloud3080     ColeKepro 3.0       145851                       4.92E+12                         Active       125366   125366 Spec's                                    4820 Hwy 6 N                       Houston            TX   77084    10/2/2020
coincloud3082     ColeKepro 3.0       145853                       4.92E+12                         Active       125252   125252 Spec's                                    11990 Westheimer Rd                Houston            TX   77077    10/2/2020
coincloud3083     ColeKepro 3.0       145711                       4.92E+12                         Active       125612   125612 Spec's                                    23611 US-59 #Ste #500              Porter             TX   77365    10/2/2020
coincloud3090     ColeKepro 3.0       145808                       4.92E+12                         Active       125250   125250 Spec's                                    2410 Smith St                      Houston            TX   77006    10/2/2020
coincloud3099     ColeKepro 3.0       145707                       4.92E+12                         Active       125615   125615 Spec's                                    4122 Fairmont Pkwy                 Pasadena           TX   77504    10/2/2020
coincloud3114     ColeKepro 3.0       145803                       4.92E+12                         Active       125409   125409 Spec's                                    1900 S Shepherd Dr                 Houston            TX   77019    10/2/2020
coincloud3119     ColeKepro 3.0       145567                       4.92E+12                         Active       125376   125376 Spec's                                    3811 Fry Rd                        Katy               TX   77449    10/2/2020
coincloud3121     ColeKepro 3.0       145695                       4.92E+12                         Active       125260   125260 Spec's                                    3126 E NASA Pkwy                   Seabrook           TX   77586   10/2/2020
coincloud3139     ColeKepro 3.0       145708                       4.92E+12                         Active       125377   125377 Spec's                                    243 Marina Bay Dr                  Kemah              TX   77565    10/2/2020
coincloud3144     ColeKepro 3.0       145700                       4.92E+12                         Active       125621   125621 Spec's                                    2711 61st St                       Galveston          TX   77551    10/2/2020
coincloud3148     ColeKepro 3.0       145714                       4.92E+12                         Active       125272   125272 Spec's                                    7034 FM 1960                       Atascocita         TX   77346   10/2/2020
coincloud3157     ColeKepro 3.0       145732                       4.92E+12                         Active       125449   125449 Spec's                                    1201 N Velasco St #suite b         Angleton           TX   77515    10/2/2020
coincloud3162     ColeKepro 3.0       145739                       4.92E+12                         Active       125401   125401 Spec's                                    6927 Farm to Market 1960 Rd W      Houston            TX   77069    10/2/2020
coincloud3166     ColeKepro 3.0       145725                       4.92E+12                         Active       125371   125371 Spec's                                    11130 Gulf Fwy #500                Houston            TX   77034    10/2/2020
coincloud3138     ColeKepro 3.0       145850                       4.92E+12                         Active       125380          Spec's                                    14110 Stuebner Airline Rd          Houston            TX   77069    10/2/2020
coincloud2322     ColeKepro 3.0       144308                       4.92E+12                         Active       125448   125448 Spec's Wines, Spirits & Finer Foods       6816 Slide Rd ##12                 Lubbock            TX   79424   10/2/2020
coincloud3085     ColeKepro 3.0       145810                       4.92E+12                         Active       125482   125482 Spec's Wines, Spirits & Finer Foods       24940 Farm to Market 1093          Katy               TX   77494   10/2/2020
coincloud2306     ColeKepro 3.0       144335                       4.92E+12                         Active       124376   124376 Allsup's Convenience Store                206 E Broadway St                  Fritch             TX   79036   10/2/2020
coincloud2310     ColeKepro 3.0       144352                       4.92E+12                         Active       125606   125606 Doc's Liquor Store                        7021 Quaker Ave #Suite 100         Lubbock            TX   79424    10/2/2020
coincloud3362     ColeKepro 3.0       145867                       4.92E+12   Kansas City, MO       Active       136362   136362 7-Eleven                                  25 Solomon Dr                      Falmouth           VA   22405   10/2/2020
coincloud2193     ColeKepro 3.0       144228                       4.92E+12                         Active       122231   122231 Chevron                                   20 Merlot Dr                       Prosser            WA   99350    10/2/2020
coincloud2223     ColeKepro 3.0       144258                       4.92E+12                         Active       141262   141262 Game-Xplosion                             15605 Hwy 99                       Lynnwood           WA   98087    10/2/2020
coincloud2203     ColeKepro 3.0       144238                       4.92E+12                         Active       121076   121076 Hokus Pokus Beer & Deli LLC               2401 W Nob Hill Blvd               Yakima             WA   98902    10/2/2020
coincloud2195     ColeKepro 3.0       144230                       4.92E+12                         Active       120243   120243 Smoke It's Smoke Shop                     2308 S 1st St                      Yakima             WA   98903    10/2/2020
coincloud3390     ColeKepro 3.0       146009                       4.92E+12                         Active       120228   120228 Iola Sentry Foods                         125 Meadow Rd                      Iola               WI   54945    10/2/2020
coincloud3287     ColeKepro 3.0       145795                       4.92E+12                         Active       119054   119054 Wine Beginnings                           1413 Tower Ave                     Superior           WI   54880    10/2/2020
coincloud3315     ColeKepro 3.0       145931                       4.92E+12                         Active       119499   119499 7-Eleven                                  15 W Main St                       Wardensville       WV   26851    10/2/2020
coincloud3344     ColeKepro 3.0       145948                       4.92E+12                         Active       119513   119513 7-Eleven                                  600 Washington St                  Newell             WV   26050   10/2/2020
coincloud3357     ColeKepro 3.0       145863                       4.92E+12                         Active       119508   119508 7-Eleven                                  385 3rd St                         New Martinsville   WV   26155   10/2/2020
coincloud3358     ColeKepro 3.0       145861                       4.92E+12                         Active       119512   119512 7-Eleven                                  525 Carolina Ave                   Chester            WV   26034    10/2/2020
coincloud3367     ColeKepro 3.0       145868                       4.92E+12                         Active       119504   119504 7-Eleven                                  6205 Mason-Dixon Hwy               Blacksville        WV   26521    10/2/2020
coincloud2184     ColeKepro 3.0       144219                       4.92E+12                         Active       120413          Lile International                        20427 87th Avenue South            Kent                    98031    10/2/2020
coincloud16       Lynna 1.0       BTM000004284                     4.92E+12                     Decommissioned   101409          Decommissioned                                                                                                 1/1/2018
coincloud313      Slabb 1.0       0310-003-1365                    4.92E+12                     Decommissioned   103182          Decommissioned                                                                                               12/18/2018
coincloud3236     ColeKepro 3.0       145917                       4.92E+12                       Warehouse      121447          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA   92870   10/2/2020
coincloud2331     ColeKepro 3.0       144284                       4.92E+12                       Warehouse      129613          CCHQ                                                                                                          10/2/2020
coincloud2225     ColeKepro 3.0       144261                       4.92E+12                       Warehouse      122695          CCHQ                                                                                                          10/2/2020
coincloud612      APSM 1.1         5.42015E+14                     4.92E+12                       Warehouse      104282                                                                                                                        9/19/2019
coincloud3219     ColeKepro 3.0       145761                       4.92E+12                       Warehouse      121564          Coast2Coast                               6557 Garden Rd. Ste. 14            Riviera Beach      FL   33404    10/2/2020
coincloud3132     ColeKepro 3.0       145583       145718.USA      4.92E+12                         Active       125370   125370 Spec's                                    207 I-45                           Huntsville         TX   77340   10/2/2020
coincloud3107     ColeKepro 3.0       145722       145722.USA      4.92E+12                         Active       125372   125372 Spec's                                    10555 Pearland Pkwy                Houston            TX   77089   10/2/2020
coincloud3361     ColeKepro 3.0       145990       145990.USA      4.92E+12                         Active       117136   117136 California Liquors                        84 Union Ave                       Providence         RI    2909    10/2/2020
coincloud3309     ColeKepro 3.0       145926       145926.USA      4.92E+12                         Active       115454   115454 Hutch's                                   515 SE 2nd St                      Guymon             OK   73942    10/2/2020
coincloud3354     ColeKepro 3.0       145858       145858.USA      4.92E+12   Kansas City, MO       Active       125175   125175 7-Eleven                                  9428 US-30                         Irwin              PA   15642    10/2/2020
coincloud3332     ColeKepro 3.0       145944       145944.USA      4.92E+12                         Active       130066   130066 SanderÃ¢â‚¬â„¢s Market                    344 S Chestnut St                  Jefferson          OH   44047    10/2/2020
coincloud2066     ColeKepro 3.0       148752       144101.USA      4.92E+12                         Active       146560   146560 Thorntons                                 401 W Court Ave                    Jeffersonville     IN   47130    10/2/2020
coincloud2113     ColeKepro 3.0       144148       144148.USA      4.92E+12                         Active       117734   117734 Cj's Convenient Store                     107 N 1st St                       Elkader            IA   52043    10/2/2020
coincloud2126     ColeKepro 3.0       148961       144161.USA      4.92E+12                         Active       146554   146554 Thorntons                                 2980 IN-62 #E                      Jeffersonville     IN   47130    10/2/2020
coincloud2133     ColeKepro 3.0       146471       144168.USA      4.92E+12                         Active       146644   146644 Thorntons                                 250 E Roosevelt Rd                 Villa Park         IL   60181    10/2/2020
coincloud3355     ColeKepro 3.0       145869       145869.USA      4.92E+12   Kansas City, MO       Active       138775   138775 Tom's Riverside                           632 Broad St                       New Bethlehem      PA   16242   10/2/2020
coincloud3270     ColeKepro 3.0       145686       145686.USA      4.92E+12                         Active       124600   124600 Yesway                                    1630 E 30th Ave                    Hutchinson         KS   67502    10/2/2020
coincloud2264     ColeKepro 3.0       144374       144299.USA      4.92E+12                         Active       128159   128159 TOTAL TELECOM                             4212 Sebring Pkwy                  Sebring            FL   33870    10/2/2020
coincloud3115     ColeKepro 3.0       145753       145712.USA      4.92E+12                         Active       125400   125400 Spec's                                    3902 Bissonnet St                  Houston            TX   77005   10/2/2020
coincloud501      APSM 1.1         5.41537E+14 41537000000069.US   4.92E+12                         Active       101449   101449 Exxon                                     4307 Duncanville Rd                Dallas             TX   75236    9/19/2019
coincloud563      APSM 1.1         5.41539E+14 41539000000056.US   4.92E+12                         Active       103415   103415 Meze's Food Mart                          453 Denbigh Blvd                   Newport News       VA   23608    9/19/2019
coincloud5526     ColeKepro 5.0       149057                                     Sloan, NV        Warehouse      138437          Sloan                                                                                                          8/7/2021
coincloud5868     ColeKepro 5.0       149399       149399.USA                    Sloan, NV        Warehouse      130552          Sloan                                                                                                         8/7/2021
coincloud5107     ColeKepro 5.0       148638                                     Sloan, NV        Warehouse                      Sloan                                                                                                         8/7/2021
coincloud5797     ColeKepro 5.0       149328       149328.USA                    Sloan, NV        Warehouse      129150          Sloan                                                                                                         8/7/2021
coincloud150736   ColeKepro 5.0       150736                                    Sterling, VA      Warehouse                      Victory Vans                              145 Terminal Drive                 Sterling           VA   20166    8/7/2021
coincloud3112     ColeKepro 3.0       145849       145849.USA      4.92E+12                         Active       125481   125481 Spec's                                    24417 Katy Fwy                     Katy               TX   77494    10/2/2020
coincloud6480     ColeKepro 5.0       150011                                     Sloan, NV          Active       137402          Sloan                                                                                                         8/7/2021
coincloud4516     ColeKepro 5.0       148050       148050.USA                    sloan, NV        Warehouse      137190          Sloan                                                                                                         8/7/2021
coincloud4543     ColeKepro 5.0       148077       148077.USA                    Sloan, NV        Warehouse      137109          Sloan                                                                                                         8/7/2021
coincloud4764     ColeKepro 5.0       148295       148295.USA                    Sloan, NV        Warehouse      138291          Sloan                                                                                                         8/7/2021
coincloud5760     ColeKepro 5.0       149291                                     Sloan, NV        Warehouse      135487          Sloan                                                                                                          8/7/2021
coincloud5520     ColeKepro 5.0       149051                                     Sloan, NV        Warehouse      142031          Sloan                                                                                                          8/7/2021
coincloud4515     ColeKepro 5.0       148049                       850098      Nashville, TN        Active       129545   129545 Vapor Planet LLC Navarre                  8251 Navarre Pkwy                  Navarre            FL   32566     8/7/2021
coincloud150860   ColeKepro 5.0       150860                                    Sterling, VA      Warehouse                      Victory Vans                              142 Terminal Drive                 Sterling           VA   20166    8/7/2021
coincloud150740   ColeKepro 5.0       150740                                    Sterling, VA      Warehouse                      Victory Vans                              144 Terminal Drive                 Sterling           VA   20166    8/7/2021
coincloud150766   ColeKepro 5.0       150766                       4.92E+12     Sterling, VA        Active       152291   152291 Royal Farms                               701 Coastal Hwy #0044              Fenwick Island     DE   19944    8/7/2021
coincloud150715   ColeKepro 5.0       150715       150715.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150823   ColeKepro 5.0       150823       150823.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150977   ColeKepro 5.0       150977       150977.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150999   ColeKepro 5.0       150999       150999.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150792   ColeKepro 5.0       150792       150792.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud4569     ColeKepro 5.0       148101                       850624     New Orleans, LA       Active       121908          Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1       New Orleans        LA   70123    8/7/2021
coincloud150807   ColeKepro 5.0       150807       150807.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151326   ColeKepro 5.0       151326       151326.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151193   ColeKepro 5.0       151193       151193.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150985   ColeKepro 5.0       150985       150985.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151361   ColeKepro 5.0       151361       151361.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150847   ColeKepro 5.0       150847       150847.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150913   ColeKepro 5.0       150913       150913.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151080   ColeKepro 5.0       151080       151080.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150926   ColeKepro 5.0       150926       150926.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151412   ColeKepro 5.0       151412       151412.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151347   ColeKepro 5.0       151347       151347.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150788   ColeKepro 5.0       150788       150788.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151283   ColeKepro 5.0       151283       151283.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150968   ColeKepro 5.0       150968       150968.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150923   ColeKepro 5.0       150923       150923.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150678   ColeKepro 5.0       150678       150678.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud150992   ColeKepro 5.0       150992       150992.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud5899     ColeKepro 5.0       149430                                     Sloan, NV        Warehouse                      Sloan                                                                                                         8/7/2021
coincloud151270   ColeKepro 5.0       151270       151270.USA                  Las Vegas, NV      Warehouse                      Sloan                                                                                                         8/7/2021
coincloud4537     ColeKepro 5.0       148071                       851051      Nashville, TN        Active       130141                                                                                                                        8/7/2021
coincloud151406   ColeKepro 5.0       151406       151406.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud151350   ColeKepro 5.0       151350       151350.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud150728   ColeKepro 5.0       150728       150728.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud151101   ColeKepro 5.0       151101       151101.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud151122   ColeKepro 5.0       151122       151122.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud150739   ColeKepro 5.0       150739       150739.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud151106   ColeKepro 5.0       151106       151106.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
coincloud150748   ColeKepro 5.0       150748       150748.USA                  Las Vegas, NV      Warehouse                        Sloan                                                                                                       8/7/2021
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coincloud151184   ColeKepro 5.0   151184   151184.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150894   ColeKepro 5.0   150894   150894.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151083   ColeKepro 5.0   151083   151083.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150884   ColeKepro 5.0   150884   150884.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151202   ColeKepro 5.0   151202   151202.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150802   ColeKepro 5.0   150802   150802.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151072   ColeKepro 5.0   151072   151072.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151354   ColeKepro 5.0   151354   151354.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151253   ColeKepro 5.0   151253   151253.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150733   ColeKepro 5.0   150733   150733.USA     5.121E+12         Sterling, VA        Active     152256   152256 Royal Farms                 8235 Eastern Blvd                 Baltimore         MD   21224   8/7/2021
coincloud150741   ColeKepro 5.0   150741   150741.USA     5.121E+12         Sterling, VA        Active     152128   152128 Royal Farms                 1221 Warrenton Rd                 Fredericksburg    VA   22406   8/7/2021
coincloud150742   ColeKepro 5.0   150742   150742.USA     5.121E+12         Sterling, VA        Active     152278   152278 Royal Farms                 4308 Washington Blvd              Halethorpe        MD   21227   8/7/2021
coincloud150743   ColeKepro 5.0   150743   150743.USA     5.121E+12         Sterling, VA        Active     152225   152225 Royal Farms                 1010 Old Eastern Ave              Essex             MD   21221   8/7/2021
coincloud150779   ColeKepro 5.0   150779   150779.USA     5.121E+12         Sterling, VA        Active     152123   152123 2111 W Patapsco Ave         2111 W Patapsco Ave               Baltimore         MD   21230   8/7/2021
coincloud150799   ColeKepro 5.0   150799   150799.USA     5.121E+12         Sterling, VA        Active     152277   152277 Royal Farms                 12545 Eastern Ave                 Middle River      MD   21220   8/7/2021
coincloud150805   ColeKepro 5.0   150805   150805.USA     5.121E+12         Sterling, VA        Active     152195   152195 Royal Farms                 6 W Lebanon Rd                    Dover             DE   19901   8/7/2021
coincloud150806   ColeKepro 5.0   150806   150806.USA     5.121E+12         Sterling, VA        Active     152085   152085 Royal Farms                 10088 James Madison Hwy           Bealeton          VA   22712   8/7/2021
coincloud150903   ColeKepro 5.0   150903   150903.USA     5.121E+12         Sterling, VA        Active     152289   152289 Royal Farms                 2050 Fleet St                     Baltimore         MD   21231   8/7/2021
coincloud150973   ColeKepro 5.0   150973   150973.USA     5.121E+12         Sterling, VA        Active     152197   152197 Royal Farms                 1530 Russell St                   Baltimore         MD   21230   8/7/2021
coincloud151144   ColeKepro 5.0   151144   151144.USA     5.121E+12         Sterling, VA        Active     154394   154394 Royal Farms                 340 Evesham Ave E                 Magnolia          NJ    8049   8/7/2021
coincloud151145   ColeKepro 5.0   151145   151145.USA     5.121E+12         Sterling, VA        Active     152171   152171 Royal Farms                 2201 Jack Ln                      Bel Air           MD   21015   8/7/2021
coincloud151147   ColeKepro 5.0   151147   151147.USA     5.121E+12         Sterling, VA        Active     152242   152242 Royal Farms                 3601 Potee St                     Baltimore         MD   21225   8/7/2021
coincloud151148   ColeKepro 5.0   151148   151148.USA     5.121E+12         Sterling, VA        Active     152220   152220 Royal Farms                 295 S Dupont Hwy                  Dover             DE   19901   8/7/2021
coincloud151162   ColeKepro 5.0   151162   151162.USA     5.121E+12         Sterling, VA        Active     152180   152180 Royal Farms                 20579 Dupont Blvd                 Georgetown        DE   19947   8/7/2021
coincloud151168   ColeKepro 5.0   151168   151168.USA     5.121E+12         Sterling, VA        Active     152241   152241 Royal Farms                 379 Conowingo Rd                  Conowingo         MD   21918   8/7/2021
coincloud151175   ColeKepro 5.0   151175   151175.USA     5.121E+12         Sterling, VA        Active     152227   152227 Royal Farms                 10740 Pulaski Hwy                 White Marsh       MD   21162   8/7/2021
coincloud151178   ColeKepro 5.0   151178   151178.USA     5.121E+12         Sterling, VA        Active     152206   152206 Royal Farms                 3320 Eastern Blvd                 Middle River      MD   21220   8/7/2021
coincloud151194   ColeKepro 5.0   151194   151194.USA     5.121E+12         Sterling, VA        Active     152101   152101 Royal Farms                 5361 Nottingham Dr                White Marsh       MD   21162   8/7/2021
coincloud151208   ColeKepro 5.0   151208   151208.USA     5.121E+12         Sterling, VA        Active     152272   152272 Royal Farms                 2410 E Joppa Rd                   Parkville         MD   21234   8/7/2021
coincloud151236   ColeKepro 5.0   151236   151236.USA     5.121E+12         Sterling, VA        Active     152196   152196 Royal Farms                 115 N Bohemia Ave                 Cecilton          MD   21913   8/7/2021
coincloud151289   ColeKepro 5.0   151289   151289.USA     5.121E+12         Sterling, VA        Active     152139   152139 Royal Farms                 17302 Draco Rd                    Stewartstown      PA   17363   8/7/2021
coincloud151308   ColeKepro 5.0   151308   151308.USA     5.121E+12         Sterling, VA        Active     152149   152149 Royal Farms                 457 Stanton Christiana Rd         Newark            DE   19713   8/7/2021
coincloud151323   ColeKepro 5.0   151323   151323.USA     5.121E+12         Sterling, VA        Active     152129   152129 Royal Farms                 840 Middletown Warwick Rd         Middletown        DE   19709   8/7/2021
coincloud151340   ColeKepro 5.0   151340   151340.USA     5.121E+12         Sterling, VA        Active     152192   152192 Royal Farms                 108 Silicato Pkwy                 Milford           DE   19963   8/7/2021
coincloud151400   ColeKepro 5.0   151400   151400.USA     5.121E+12         Sterling, VA        Active     152273   152273 Royal Farms                 566 Dupont Blvd                   Milford           DE   19963   8/7/2021
coincloud150919   ColeKepro 5.0   150919   150919.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151064   ColeKepro 5.0   151064   151064.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151297   ColeKepro 5.0   151297   151297.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151054   ColeKepro 5.0   151054   151054.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150874   ColeKepro 5.0   150874   150874.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150930   ColeKepro 5.0   150930   150930.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151099   ColeKepro 5.0   151099   151099.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150752   ColeKepro 5.0   150752   150752.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151092   ColeKepro 5.0   151092   151092.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151381   ColeKepro 5.0   151381   151381.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151019   ColeKepro 5.0   151019   151019.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150916   ColeKepro 5.0   150916   150916.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151063   ColeKepro 5.0   151063   151063.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150724   ColeKepro 5.0   150724   150724.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150888   ColeKepro 5.0   150888   150888.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151177   ColeKepro 5.0   151177   151177.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151022   ColeKepro 5.0   151022   151022.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151254   ColeKepro 5.0   151254   151254.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150839   ColeKepro 5.0   150839   150839.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150811   ColeKepro 5.0   150811   150811.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151031   ColeKepro 5.0   151031   151031.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150955   ColeKepro 5.0   150955   150955.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151299   ColeKepro 5.0   151299   151299.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150737   ColeKepro 5.0   150737   150737.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151090   ColeKepro 5.0   151090   151090.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150865   ColeKepro 5.0   150865   150865.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150960   ColeKepro 5.0   150960   150960.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150747   ColeKepro 5.0   150747   150747.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151170   ColeKepro 5.0   151170   151170.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151176   ColeKepro 5.0   151176   151176.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150753   ColeKepro 5.0   150753   150753.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151124   ColeKepro 5.0   151124   151124.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150861   ColeKepro 5.0   150861   150861.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151059   ColeKepro 5.0   151059   151059.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150941   ColeKepro 5.0   150941   150941.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151318   ColeKepro 5.0   151318   151318.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151191   ColeKepro 5.0   151191   151191.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud151301   ColeKepro 5.0   151301   151301.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud150924   ColeKepro 5.0   150924   150924.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud151046   ColeKepro 5.0   151046   151046.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud150864   ColeKepro 5.0   150864   150864.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud151130   ColeKepro 5.0   151130   151130.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud5724     ColeKepro 5.0   149255   149255.USA                        Sloan, NV         Warehouse   122206          Sloan                                                                                         8/7/2021
coincloud150964   ColeKepro 5.0   150964   150964.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud150840   ColeKepro 5.0   150840   150840.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                         8/7/2021
coincloud5897     ColeKepro 5.0   149428                                     Sloan, NV         Warehouse                   Sloan                                                                                         8/7/2021
coincloud4928     ColeKepro 5.0   148459   148459.USA        902070       San Antonio, TX       Active     135581   135581 H-E-B                       1095 West Business 77             San Benito        TX   78586   8/7/2021
coincloud3079     ColeKepro 3.0   145572                4920000111168                          Warehouse   124453          Diversified Warehouse Inc   241 S Grandview                   Odessa            TX   79761   10/2/2020
coincloud4021     ColeKepro 3.0   147555                     S97715                            Warehouse   122574          Allstar Moving              1600 1st Street NW                Albuquerque       NM   87102   10/2/2020
coincloud150313   ColeKepro 5.0   150313   150313.USA      1.222E+12       Westbury, NY         Active     151034   151034 Cumberland Farms            506 Main St                       Fiskdale          MA    1518   8/7/2021
coincloud150414   ColeKepro 5.0   150414   150414.USA      1.222E+12        Raleigh, NC         Active     148459   148459 Parkers                     12 Savannah Hwy                   Beaufort          SC   29906   8/7/2021
coincloud150404   ColeKepro 5.0   150404   150404.USA      1.222E+12        Raleigh, NC         Active     148449   148449 Parkers                     5300 Skidaway Rd                  Savannah          GA   31404   8/7/2021
coincloud150934   ColeKepro 5.0   150934   150934.USA                      Las Vegas, NV       Warehouse                   Sloan                                                                                        8/7/2021
coincloud150279   ColeKepro 5.0   150279   150279.USA     1.222E+12          Mt Joy, PA         Active     150027   150027 Turkey Hill                 1060 Main St                      Northampton       PA   18067   8/7/2021
coincloud4492     ColeKepro 5.0   148026                   902196        Grand Rapids, MI       Active     147967   147967 Pumpkin Hill Market         126 Gallup Hill Rd                Ledyard           CT    6339   8/7/2021
coincloud4703     ColeKepro 5.0   148234   148234.USA      902319         Sacramento, CA        Active     135439   135439 Washburn General Merch      1450 Bayview Ave                  Neah Bay          WA   98357   8/7/2021
coincloud6159     ColeKepro 5.0   149690                  1.821E+12     City Of Industry, CA   Warehouse   121097          Ready Office Furniture      1515 N Kraemer Blvd, Unit H       Anaheim           CA   92806   8/7/2021
coincloud5633     ColeKepro 5.0   149164                  1.821E+12        Hayward, CA          Active     121102   121102 ACE                         4796 E Kings Canyon Rd            Fresno            CA   93702   8/7/2021
coincloud5701     ColeKepro 5.0   149232                  1.821E+12      Grand Prairie, TX     Warehouse   121942          HL Distribution             1065 Texan Trail Rd               Grapevine         TX   76051   8/7/2021
coincloud4967     ColeKepro 5.0   148498   148498.USA      940933         Indianapolis, IN      Active     128851   128851 Supervalue                  237 Center St                     Douglas           MI   49406   8/7/2021
coincloud5266     ColeKepro 5.0   148797                  1.821E+12        MAGNOLIA,TX         Warehouse   122190          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5267     ColeKepro 5.0   148798                  1.821E+12        MAGNOLIA,TX         Warehouse   130537                                                                                                       8/7/2021
coincloud5270     ColeKepro 5.0   148801                  1.821E+12        MAGNOLIA,TX         Warehouse   130540                                                                                                       8/7/2021
coincloud5260     ColeKepro 5.0   148791                  1.821E+12       San Antonio, TX      Warehouse   122472          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud4565     ColeKepro 5.0   148097   148097.USA                    New Orleans, LA        Active     120430   120430 Shoppers Value Foods        2240 Ambassador Caffery Pkwy      Lafayette         LA   70506   8/7/2021
coincloud5399     ColeKepro 5.0   148930                  1.821E+12       San Antonio,TX       Warehouse   122194          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5272     ColeKepro 5.0   148803                  1.821E+12        MAGNOLIA,TX         Warehouse   142324                                                                                                       8/7/2021
coincloud5389     ColeKepro 5.0   148920   148920.USA     1.821E+12       San Antonio, TX       Active     135471   135471 H-E-B                       609 19th St                       Hondo             TX   78861   8/7/2021
coincloud5234     ColeKepro 5.0   148765                  1.821E+12        LUBBOCK, TX         Warehouse   142322                                                                                                       8/7/2021
coincloud5400     ColeKepro 5.0   148931                  1.821E+12       San Antonio,TX       Warehouse   122193          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5237     ColeKepro 5.0   148768                  1.821E+12        LUBBOCK, TX         Warehouse   122257          Diversified Warehouse Inc   241 S Grandview                   Odessa            TX   79761   8/7/2021
coincloud5390     ColeKepro 5.0   148921                  1.821E+12       San Antonio,TX       Warehouse   122471          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5412     ColeKepro 5.0   148943                  1.821E+12       San Antonio,TX        Active     135443   135443 H-E-B                       4031 US-83                        Rio Grande City   TX   78582   8/7/2021
coincloud5407     ColeKepro 5.0   148938                  1.821E+12       San Antonio,TX       Warehouse   122404          Deadline Construction       19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud4566     ColeKepro 5.0   148098   148098.USA                    New Orleans, LA        Active     120426   120426 Shoppers Value Foods        5963 Plank Rd                     Baton Rouge       LA   70805   8/7/2021
coincloud5252     ColeKepro 5.0   148783                  1.821E+12       San Antonio, TX      Warehouse   135463                                                                                                       8/7/2021
coincloud5619     ColeKepro 5.0   149150                  1.821E+12          Kent, WA          Warehouse   138136                                                                                                       8/7/2021
coincloud5385     ColeKepro 5.0   148916                  1.821E+12       San Antonio,TX       Warehouse   122463           Deadline Construction      19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5248     ColeKepro 5.0   148779                  1.821E+12       San Antonio, TX      Warehouse   122446           Deadline Construction      19475 Alford Rd                   Magnolia          TX   77355   8/7/2021
coincloud5015     ColeKepro 5.0   148546                  1.821E+12        Magnolia, TX        Warehouse   137038           CCHQ                                                                                        8/7/2021
coincloud5728     ColeKepro 5.0   149259                  1.821E+12      Grand Prairie, TX     Warehouse   125425           HL Distribution            1065 Texan Trail Rd               Grapevine         TX   76051   8/7/2021
coincloud5317     ColeKepro 5.0   148848                  1.821E+12      Albuquerque, NM       Warehouse   122255           Allstar Moving             1600 1st Street NW                Albuquerque       NM   87102   8/7/2021
coincloud5173     ColeKepro 5.0   148704                  1.821E+12       Kansas City, MO       Active     121874                                                                                                       8/7/2021
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coincloud5264   ColeKepro 5.0        148795                      1.821E+12      MAGNOLIA,TX          Warehouse   122183          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5393   ColeKepro 5.0        148924                      1.821E+12      San Antonio,TX       Warehouse   122433          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud4869   ColeKepro 5.0        148400       148400USA                      Westbury, NY         Active     137101          Sully's Superette              39 Allenstown Rd                  Suncook         NH    3275   8/7/2021
coincloud5792   ColeKepro 5.0        149323                      1.821E+12                           Warehouse   121446          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5678   ColeKepro 5.0        149209                      1.821E+12     Grand Prairie, TX     Warehouse   125428          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud908    APSM 1.1        BTM201712150029                   A10892                              Active     104158                                                                                                        9/19/2019
coincloud5923   ColeKepro 5.0        149454                      1.821E+12      Creighton, PA        Warehouse   121725          Weleski Transfer               500 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5206   ColeKepro 5.0        148737                      1.821E+12      LUBBOCK, TX          Warehouse   122209          Buck's Moving and Storage      2011 Avenue C                     Lubbock         TX   79404   8/7/2021
coincloud5722   ColeKepro 5.0        149253                      1.821E+12     Grand Prairie, TX     Warehouse   139084                                                                                                        8/7/2021
coincloud5658   ColeKepro 5.0        149189                      1.821E+12     Grand Prairie, TX      Active     142017                                                                                                        8/7/2021
coincloud5211   ColeKepro 5.0        148742       148742USA      1.821E+12      LUBBOCK, TX          Warehouse   122261          CCHQ                                                                                          8/7/2021
coincloud5138   ColeKepro 5.0        148669                      1.821E+12      LUBBOCK, TX          Warehouse   122220          Buck's Moving and Storage      2011 Avenue C                     Lubbock         TX   79404   8/7/2021
coincloud5243   ColeKepro 5.0        148774                      1.821E+12      MAGNOLIA,TX          Warehouse   130541                                                                                                        8/7/2021
coincloud4909   ColeKepro 5.0        148440       148440.USA     1.821E+12       Magnolia, TX        Warehouse   122175          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5777   ColeKepro 5.0        149308                      1.821E+12        Sanford, FL        Warehouse   121644          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5796   ColeKepro 5.0        149327                      1.821E+12        Sanford, FL        Warehouse   121435          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud713    ColeKepro 1.0        142098       142098USA                                           Active     103461   103461 Sunoco                         1947 W Market St                  York            PA   17404   5/7/2020
coincloud5771   ColeKepro 5.0        149302                      1.821E+12       Sanford, FL         Warehouse   121392          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5262   ColeKepro 5.0        148793                      1.821E+12     San Antonio, TX       Warehouse   122448          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud3926   ColeKepro 3.0        146506                      1.821E+12                           Warehouse   135570          CCHQ                                                                                          10/2/2020
coincloud5259   ColeKepro 5.0        148790                      1.821E+12     San Antonio, TX       Warehouse   122204          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5375   ColeKepro 5.0        148906       148906USA      1.821E+12     Grand Prairie, TX     Warehouse   125430                                                                                                        8/7/2021
coincloud5668   ColeKepro 5.0        149199                      1.821E+12     Grand Prairie, TX     Warehouse   122205          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5700   ColeKepro 5.0        149231                      1.821E+12     Grand Prairie, TX     Warehouse   125429          CCHQ                                                                                          8/7/2021
coincloud5679   ColeKepro 5.0        149210                      1.821E+12     Grand Prairie, TX     Warehouse   125412          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5372   ColeKepro 5.0        148903                      1.821E+12         Kent, WA          Warehouse   141261          CCHQ                                                                                          8/7/2021
coincloud5778   ColeKepro 5.0        149309                      1.821E+12        Sanford, FL        Warehouse   121633          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5347   ColeKepro 5.0        148878                      1.821E+12         Kent, WA          Warehouse   145506          CCHQ                                                                                          8/7/2021
coincloud913    APSM 1.1          5.42027E+14 42027000000003.US  Hard Wired                           Active     104139   104139 Portland Food Mart             8021 E Burnside St                Portland        OR   97215   9/19/2019
coincloud5381   ColeKepro 5.0        148912                      1.821E+12     Grand Prairie, TX     Warehouse   125424          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5378   ColeKepro 5.0        148909                      1.821E+12     Grand Prairie, TX     Warehouse   121940          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5607   ColeKepro 5.0        149138                      1.821E+12         Kent, WA          Warehouse   136223          CCHQ                                                                                          8/7/2021
coincloud5713   ColeKepro 5.0        149244                      1.821E+12     Grand Prairie, TX     Warehouse   122345          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5250   ColeKepro 5.0        148781                      1.821E+12     San Antonio, TX       Warehouse   122470          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5776   ColeKepro 5.0        149307                      1.821E+12        Sanford, FL        Warehouse   121402          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5693   ColeKepro 5.0        149224       149224USA      1.821E+12     Grand Prairie, TX     Warehouse   125426          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud1327   ColeKepro 3.0        143362       143362.USA                                          Active     104198   104198 Jennifer Snack                 601 Adams St                      Toledo          OH   43604   10/2/2020
coincloud5638   ColeKepro 5.0        149169                      1.821E+12    Grand Prairie, TX      Warehouse   122357          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5667   ColeKepro 5.0        149198                      1.821E+12    Grand Prairie, TX      Warehouse   122229          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5348   ColeKepro 5.0        148879                      1.821E+12        Kent, WA           Warehouse   139613          CCHQ                                                                                          8/7/2021
coincloud5691   ColeKepro 5.0        149222                      1.821E+12    Grand Prairie, TX      Warehouse   125419          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5817   ColeKepro 5.0        149348                                       Sloan, NV          Warehouse   129167          Sloan                                                                                         8/7/2021
coincloud5686   ColeKepro 5.0        149217                      1.821E+12    Grand Prairie, TX      Warehouse   122340          CCHQ                                                                                          8/7/2021
coincloud5209   ColeKepro 5.0        148740                      1.821E+12      LUBBOCK, TX          Warehouse   122259          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5723   ColeKepro 5.0        149254       149254USA      1.821E+12    Grand Prairie, TX      Warehouse   122353          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5726   ColeKepro 5.0        149257       149257USA      1.821E+12    Grand Prairie, TX      Warehouse   130615          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5368   ColeKepro 5.0        148899       148899USA      1.821E+12    Grand Prairie, TX      Warehouse   122187          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5584   ColeKepro 5.0        149115                      1.821E+12        Kent, WA           Warehouse   128240          CCHQ                                                                                          8/7/2021
coincloud5924   ColeKepro 5.0        149455                      1.821E+12       Sanford, FL         Warehouse   127789          Central M&S / Lanza Trucking   2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5320   ColeKepro 5.0        148851                      1.821E+12    Albuquerque, NM        Warehouse   122251          Allstar Moving                 1600 1st Street NW                Albuquerque     NM   87102   8/7/2021
coincloud5673   ColeKepro 5.0        149204       149204USA      1.821E+12    Grand Prairie, TX      Warehouse   122154          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5680   ColeKepro 5.0        149211                      1.821E+12    Grand Prairie, TX      Warehouse   122158          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud562    APSM 1.1          5.41539E+14 41539000000055.USA                                      Active     104010   104010 Marathon                       3801 N High School Rd             Indianapolis    IN   46254   9/19/2019
coincloud5694   ColeKepro 5.0        149225                      1.821E+12     Grand Prairie, TX     Warehouse   125423          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5687   ColeKepro 5.0        149218                      1.821E+12     Grand Prairie, TX     Warehouse   125435          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5666   ColeKepro 5.0        149197       149197USA      1.821E+12     Grand Prairie, TX     Warehouse   122348          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5766   ColeKepro 5.0        149297       149297USA      1.821E+12       Hayward, CA         Warehouse   130474          CCHQ                                                                                          8/7/2021
coincloud5820   ColeKepro 5.0        149351                      1.821E+12         Sanford, FL       Warehouse   129162                                                                                                        8/7/2021
coincloud5136   ColeKepro 5.0        148667                      1.821E+12       LUBBOCK, TX         Warehouse   137512          CCHQ                                                                                          8/7/2021
coincloud5930   ColeKepro 5.0        149461                      1.821E+12       Creighton, PA       Warehouse   121819          Weleski Transfer               500 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5737   ColeKepro 5.0        149268                      1.821E+12       Creighton, PA       Warehouse   121724          Weleski Transfer               500 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5614   ColeKepro 5.0        149145       149145USA      1.821E+12          Kent, WA         Warehouse   138140          Lile International             20427 87th Avenue South           Kent            WA   98031   8/7/2021
coincloud5789   ColeKepro 5.0        149320                      1.821E+12         Sanford, FL       Warehouse   121397          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5715   ColeKepro 5.0        149246                      1.821E+12     Grand Prairie, TX     Warehouse   122322          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5821   ColeKepro 5.0        149352       149352USA      1.821E+12         Sanford, FL       Warehouse   121425          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5775   ColeKepro 5.0        149306       149306.USA     1.821E+12         Sanford, FL       Warehouse   121429          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5284   ColeKepro 5.0        148815                        S95617        MAGNOLIA,TX         Warehouse   122271          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5650   ColeKepro 5.0        149181                      1.821E+12     Grand Prairie, TX     Warehouse   122181          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5255   ColeKepro 5.0        148786       148786.USA     1.821E+12      San Antonio, TX      Warehouse   122468          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5355   ColeKepro 5.0        148886                      1.821E+12     Grand Prairie, TX     Warehouse   122201          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5602   ColeKepro 5.0        149133                      1.821E+12          Kent, WA          Active     146197          Lile International             20427 87th Avenue South           Kent            WA   98031   8/7/2021
coincloud5682   ColeKepro 5.0        149213                      1.821E+12     Grand Prairie, TX     Warehouse   121939          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5773   ColeKepro 5.0        149304                      1.821E+12         Sanford, FL       Warehouse   129443                                                                                                        8/7/2021
coincloud5238   ColeKepro 5.0        148769                      1.821E+12       LUBBOCK, TX          Active     128591   128591 Pt Roberts Marketplace         480 Tyee Dr                       Point Roberts   WA   98281   8/7/2021
coincloud5676   ColeKepro 5.0        149207                      1.821E+12     Grand Prairie, TX     Warehouse   121941          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5783   ColeKepro 5.0        149314       149314.USA     1.821E+12         Sanford, FL       Warehouse   121437          CCHQ                                                                                          8/7/2021
coincloud5367   ColeKepro 5.0        148898       148898USA      1.821E+12     Grand Prairie, TX     Warehouse   130613          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5822   ColeKepro 5.0        149353       149353.USA     1.821E+12         Sanford, FL       Warehouse   121613          Central M&S / Lanza Trucking   2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud6147   ColeKepro 5.0        149678                      1.821E+12    City Of Industry, CA   Warehouse   121170          Ready Office Furniture         1515 N Kraemer Blvd, Unit H       Anaheim         CA   92806   8/7/2021
coincloud5675   ColeKepro 5.0        149206       149206USA      1.821E+12     Grand Prairie, TX     Warehouse   125433          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5670   ColeKepro 5.0        149201       149201USA      1.821E+12     Grand Prairie, TX     Warehouse   122646          CCHQ                                                                                          8/7/2021
coincloud5767   ColeKepro 5.0        149298                      1.821E+12         Sanford, FL       Warehouse   121440          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5322   ColeKepro 5.0        148853                      1.821E+12     Albuquerque, NM        Active     146601   146601 Thorntons                      13555 Willowbrook Rd              Roscoe          IL   61073   8/7/2021
coincloud5702   ColeKepro 5.0        149233                      1.821E+12     Grand Prairie, TX     Warehouse   125410          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5648   ColeKepro 5.0        149179                      1.821E+12     Grand Prairie, TX     Warehouse   122352          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5768   ColeKepro 5.0        149299                      1.821E+12         Sanford, FL       Warehouse   121441          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5823   ColeKepro 5.0        149354      149354.USA      1.821E+12         Sanford, FL       Warehouse   121639          Central M&S / Lanza Trucking   2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5697   ColeKepro 5.0        149228       149228.USA     1.821E+12     Grand Prairie, TX     Warehouse   125421          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5616   ColeKepro 5.0        149147                      1.821E+12          Kent, WA         Warehouse   141204                                                                                                        8/7/2021
coincloud5219   ColeKepro 5.0        148750       148750.USA     1.821E+12      Kansas City, MO      Warehouse   121868          Logic Warehouse                4121 N Kentucky Ave.              Kansas City     MO   64161   8/7/2021
coincloud5855   ColeKepro 5.0        149386                      1.821E+12       Hayward, CA         Warehouse   121060          Ready Office Furniture         1515 N Kraemer Blvd, Unit H       Anaheim         CA   92806   8/7/2021
coincloud5689   ColeKepro 5.0        149220       149220.USA     1.821E+12     Grand Prairie, TX     Warehouse   122210          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5644   ColeKepro 5.0        149175       149175USA      1.821E+12     Grand Prairie, TX     Warehouse   122332          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5782   ColeKepro 5.0        149313                      1.821E+12         Sanford, FL       Warehouse   121627          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5356   ColeKepro 5.0        148887                      1.821E+12     Grand Prairie, TX     Warehouse   122142          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5674   ColeKepro 5.0        149205                      1.821E+12     Grand Prairie, TX     Warehouse   121937          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5594   ColeKepro 5.0        149125                      1.821E+12          Kent, WA          Active     151361   151361 Saar's Super Saver             1702 Auburn Way N                 Auburn          WA   98002   8/7/2021
coincloud4912   ColeKepro 5.0        148443       148443.USA     1.821E+12       Magnolia, TX        Warehouse   122376          Deadline Construction          19475 Alford Rd                   Magnolia        TX   77355   8/7/2021
coincloud5745   ColeKepro 5.0        149276       149276USA      1.821E+12       Creighton, PA       Warehouse   121720          Weleski Transfer               501 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5927   ColeKepro 5.0        149458      149458.USA      1.821E+12       Creighton, PA       Warehouse   121823          Weleski Transfer               500 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5721   ColeKepro 5.0        149252                      1.821E+12     Grand Prairie, TX     Warehouse   122337          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5763   ColeKepro 5.0        149294       149294USA      1.821E+12       Hayward, CA         Warehouse   135485          CCHQ                                                                                          8/7/2021
coincloud5779   ColeKepro 5.0        149310                      1.821E+12         Sanford, FL       Warehouse   121595          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5677   ColeKepro 5.0        149208                      1.821E+12     Grand Prairie, TX     Warehouse   125434          CCHQ                                                                                          8/7/2021
coincloud5656   ColeKepro 5.0        149187                      1.821E+12     Grand Prairie, TX     Warehouse   122159          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5810   ColeKepro 5.0        149341                      1.821E+12       Hayward, CA         Warehouse   121090          Ready Office Furniture         1515 N Kraemer Blvd, Unit H       Anaheim         CA   92806   8/7/2021
coincloud5729   ColeKepro 5.0        149260                      1.821E+12     Grand Prairie, TX     Warehouse   122169          CCHQ                                                                                          8/7/2021
coincloud5135   ColeKepro 5.0        148666                      1.821E+12       LUBBOCK, TX         Warehouse   122264          Buck's Moving and Storage      2011 Avenue C                     Lubbock         TX   79404   8/7/2021
coincloud5738   ColeKepro 5.0        149269       149269USA      1.821E+12       Creighton, PA       Warehouse   121821          Weleski Transfer               500 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5784   ColeKepro 5.0        149315                      1.821E+12         Sanford, FL       Warehouse   121401          Central M&S/LANZA TRUCKING     2002 Directors Row                Orlando         FL   32809   8/7/2021
coincloud5936   ColeKepro 5.0        149467       149467USA      1.821E+12       Creighton, PA       Warehouse   121822          Weleski Transfer               503 Treadway Lane                 Creighton       PA   15030   8/7/2021
coincloud5357   ColeKepro 5.0        148888                      1.821E+12     Grand Prairie, TX     Warehouse   122195          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5735   ColeKepro 5.0        149266                      1.821E+12       Hayward, CA         Warehouse   121056          Ready Office Furniture         1515 N Kraemer Blvd, Unit H       Anaheim         CA   92806   8/7/2021
coincloud5712   ColeKepro 5.0        149243                      1.821E+12     Grand Prairie, TX     Warehouse   122188          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5011   ColeKepro 5.0        148542                      1.821E+12          Kent, WA          Active     145011                                                                                                        8/7/2021
coincloud5660   ColeKepro 5.0        149191                      1.821E+12     Grand Prairie, TX     Warehouse   122156          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5684   ColeKepro 5.0        149215                      1.821E+12     Grand Prairie, TX     Warehouse   121944          HL Distribution                1065 Texan Trail Rd               Grapevine       TX   76051   8/7/2021
coincloud5734   ColeKepro 5.0        149265                      2.321E+12       Hayward, CA         Warehouse   121089          Ready Office Furniture         1515 N Kraemer Blvd, Unit H       Anaheim         CA   92806   8/7/2021
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coincloud6176   ColeKepro 5.0         149707                       2.321E+12   City Of Industry, CA   Warehouse      121161           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5933   ColeKepro 5.0         149464                       2.321E+12        Sanford, FL       Warehouse      121432           Central M&S/LANZA TRUCKING       2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud5739   ColeKepro 5.0         149270                       2.321E+12      Creighton, PA       Warehouse      121721           Weleski Transfer                 500 Treadway Lane                                     Creighton          PA   15030    8/7/2021
coincloud5932   ColeKepro 5.0         149463                       2.321E+12      Creighton, PA       Warehouse      121715           Weleski Transfer                 502 Treadway Lane                                     Creighton          PA   15030    8/7/2021
coincloud5628   ColeKepro 5.0         149159       149159.USA      2.321E+12      Creighton, PA       Warehouse      121713           Weleski Transfer                 500 Treadway Lane                                     Creighton          PA   15030    8/7/2021
coincloud5720   ColeKepro 5.0         149251                       2.521E+12    Grand Prairie, TX     Warehouse      122351           HL Distribution                  1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud5819   ColeKepro 5.0         149350                       2.521E+12        Sanford, FL       Warehouse      121395           Lanza Trucking                   116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury           NY   11590    8/7/2021
coincloud6016   ColeKepro 5.0         149547                       2.521E+12      Suwanee, GA         Warehouse      121379           Central M&S / Lanza Trucking     2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud5846   ColeKepro 5.0         149377                       2.521E+12      Suwanee, GA         Warehouse      139172           CCHQ                                                                                                                    8/7/2021
coincloud5425   ColeKepro 5.0         148956                       2.521E+12   City Of Industry, CA   Warehouse      121579           CCHQ                                                                                                                    8/7/2021
coincloud6132   ColeKepro 5.0         149663       149663USA       2.521E+12   City Of Industry, CA   Warehouse      121198           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud6042   ColeKepro 5.0         149573                       2.521E+12     San Antonio,TX       Warehouse      122436           Deadline Construction            19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud6154   ColeKepro 5.0         149685       149685.USA      2.521E+12   City Of Industry, CA   Warehouse      121058           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5871   ColeKepro 5.0         149402                       2.521E+12     Indianapolis, IN     Warehouse      130358                                                                                                                                   8/7/2021
coincloud5649   ColeKepro 5.0         149180                       2.521E+12    Grand Prairie, TX     Warehouse      122717           HL Distribution                  1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud5710   ColeKepro 5.0         149241                       2.521E+12    Grand Prairie, TX     Warehouse      122331           HL Distribution                  1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud5828   ColeKepro 5.0         149359                       2.521E+12      Suwanee, GA         Warehouse      121398           Central M&S/LANZA TRUCKING       2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud6030   ColeKepro 5.0         149561                       2.521E+12      Suwanee, GA         Warehouse      121637           Central M&S/LANZA TRUCKING       2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud5556   ColeKepro 5.0         149087                       2.521E+12     Indianapolis, IN     Warehouse      130369           ATM Advisory                     9402 Uptown Drive, Suite 300                          Indianapolis       IN   46256    8/7/2021
coincloud5552   ColeKepro 5.0         149083                       2.521E+12     Indianapolis, IN       Active       145850                                                                                                                                   8/7/2021
coincloud6024   ColeKepro 5.0         149555                       2.521E+12     San Antonio,TX       Warehouse      122464           Deadline Construction            19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud5542   ColeKepro 5.0         149073                       2.521E+12     Indianapolis, IN     Warehouse      129833           CCHQ                                                                                                                    8/7/2021
coincloud5451   ColeKepro 5.0         148982                       2.521E+12       Tualatin, OR       Warehouse      120950           CCHQ                                                                                                                    8/7/2021
coincloud6056   ColeKepro 5.0         149587                       2.521E+12   City Of Industry, CA   Warehouse      121445           Ready Office Furniture           1514 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5572   ColeKepro 5.0         149103                       2.521E+12      Suwanee, GA         Warehouse      121607           Central M&S/LANZA TRUCKING       2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud6273   ColeKepro 5.0         149804                       2.521E+12   City Of Industry, CA   Warehouse      121153           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5847   ColeKepro 5.0         149378       149378.USA      2.521E+12      Suwanee, GA         Warehouse      121351                                                                                                                                   8/7/2021
coincloud5888   ColeKepro 5.0         149419                       2.521E+12     Indianapolis, IN     Warehouse      135122          CCHQ                                                                                                                     8/7/2021
coincloud6138   ColeKepro 5.0         149669       149669.USA      2.521E+12   City Of Industry, CA   Warehouse      121206          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud6301   ColeKepro 5.0         149832                       2.521E+12   City Of Industry, CA   Warehouse      121234          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5653   ColeKepro 5.0         149184                       2.521E+12    Grand Prairie, TX     Warehouse      122334          HL Distribution                   1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud3203   ColeKepro 3.0         145833                       2.521E+12                          Warehouse      123564          CCHQ                                                                                                                     10/2/2020
coincloud5790   ColeKepro 5.0         149321       149321.USA      2.521E+12                          Warehouse      121601          Central M&S / Lanza Trucking      2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud593    APSM 1.1           5.42015E+14 42015000000011.US   Hardwired                            Active       103776   103776 St Cloud Liquor                   2715 Clearwater Rd                                    St Cloud           MN   56301    9/19/2019
coincloud5652   ColeKepro 5.0         149183                       2.521E+12    Grand Prairie, TX     Warehouse      122329          HL Distribution                   1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud5770   ColeKepro 5.0         149301       149301.USA      2.521E+12        Sanford, FL         Active       121422   121422 ACE                               87 W Main St                                          Apopka             FL   32703    8/7/2021
coincloud5795   ColeKepro 5.0         149326       149326USA       2.521E+12        Sanford, FL         Active       129143                                                                                                                                   8/7/2021
coincloud5798   ColeKepro 5.0         149329                       2.521E+12        Sanford, FL       Warehouse      139636          CCHQ                                                                                                                     8/7/2021
coincloud5856   ColeKepro 5.0         149387                       2.521E+12      Hayward, CA         Warehouse      120974          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5495   ColeKepro 5.0         149026                       2.521E+12       Raleigh, NC        Warehouse      121200          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603    8/7/2021
coincloud5879   ColeKepro 5.0         149410                       2.521E+12    Riviera Beach, FL     Warehouse      138866          CCHQ                                                                                                                     8/7/2021
coincloud5914   ColeKepro 5.0         149445                       2.521E+12    Riviera Beach, FL       Active       146549   146549 Thorntons                         4520 Dixie Hwy                                        Louisville         KY   40216    8/7/2021
coincloud5794   ColeKepro 5.0         149325                       2.521E+12        Sanford, FL       Warehouse      139542          Central M&S / Lanza Trucking      2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud5490   ColeKepro 5.0         149021                       2.521E+12       Raleigh, NC          Active       104285                                                                                                                                    8/7/2021
coincloud5570   ColeKepro 5.0         149101       149101.USA      2.521E+12      Suwanee, GA         Warehouse      121342           Central M&S / Lanza Trucking     2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud6061   ColeKepro 5.0         149592                       2.521E+12   City Of Industry, CA   Warehouse      121416           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud6026   ColeKepro 5.0         149557                       2.521E+12     San Antonio,TX       Warehouse      122275           Deadline Construction            19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud5496   ColeKepro 5.0         149027                       2.521E+12       Raleigh, NC        Warehouse      121207           Secure Technicians Inc           1501 S Blount St                                      Raleigh            NC   27603    8/7/2021
coincloud5499   ColeKepro 5.0         149030                       2.521E+12       Raleigh, NC        Warehouse      121229           Secure Technicians Inc           1501 S Blount St                                      Raleigh            NC   27603    8/7/2021
coincloud5566   ColeKepro 5.0         149097                       2.521E+12      Suwanee, GA         Warehouse      121349           Central M&S / Lanza Trucking     2002 Directors Row                                    Orlando            FL   32809    8/7/2021
coincloud5544   ColeKepro 5.0         149075                       2.521E+12     Indianapolis, IN     Warehouse      146038                                                                                                                                    8/7/2021
coincloud5568   ColeKepro 5.0         149099       149108USA       2.521E+12      Suwanee, GA           Active       126930   126930 Food Depot                        6525 Hiram Douglasville Hwy                           Douglasville       GA   30134    8/7/2021
coincloud5642   ColeKepro 5.0         149173                       2.521E+12    Grand Prairie, TX     Warehouse      122153          HL Distribution                   1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud6172   ColeKepro 5.0         149703       149703.USA      2.521E+12   City Of Industry, CA   Warehouse      121208          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5489   ColeKepro 5.0         149020                       2.521E+12       Raleigh, NC        Warehouse      136713                                                                                                                                    8/7/2021
coincloud6117   ColeKepro 5.0         149648       149648USA       2.521E+12   City Of Industry, CA   Warehouse      121103          CCHQ                                                                                                                      8/7/2021
coincloud5434   ColeKepro 5.0         148965       148965USA       2.521E+12   City Of Industry, CA   Warehouse      121344          CCHQ                                                                                                                      8/7/2021
coincloud5445   ColeKepro 5.0         148976                       2.521E+12       Tualatin, OR         Active       103501   103501 Portland Food Mart #2             7474 SE 72nd Ave                                      Portland           OR   97206    8/7/2021
coincloud5510   ColeKepro 5.0         149041                       2.521E+12       Tualatin, OR       Warehouse                      CCHQ                                                                                                                     8/7/2021
coincloud5480   ColeKepro 5.0         149011       149011.USA      2.521E+12       Raleigh, NC        Warehouse      121190                                                                                                                                    8/7/2021
coincloud5437   ColeKepro 5.0         148968       148968.USA      2.521E+12   City Of Industry, CA   Warehouse      121183           Ready Office Furniture           1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5467   ColeKepro 5.0         148998                       2.521E+12       Tualatin, OR       Warehouse      103500                                                                                                                                    8/7/2021
coincloud6047   ColeKepro 5.0         149578                       2.521E+12     San Antonio,TX       Warehouse      122450          Deadline Construction             19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud6114   ColeKepro 5.0         149645       149645.USA      2.521E+12     San Antonio,TX         Active       147403   147403 Good2Go                           3630 Historic Route 66                                Santa Rosa         NM   88435    8/7/2021
coincloud6143   ColeKepro 5.0         149674                       2.521E+12   City Of Industry, CA   Warehouse      121389          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud6090   ColeKepro 5.0         149621                       2.521E+12     San Antonio,TX       Warehouse      122398          Deadline Construction             19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud6145   ColeKepro 5.0         149676                       2.521E+12    Riviera Beach, FL     Warehouse      139539          Coast2Coast                       6557 Garden Rd. Ste. 14                               Riviera Beach      FL   33404    8/7/2021
coincloud6027   ColeKepro 5.0         149558                       2.521E+12     San Antonio,TX       Warehouse      122442          Deadline Construction             19475 Alford Rd                                       Magnolia           TX   77355    8/7/2021
coincloud5500   ColeKepro 5.0         149031                       2.521E+12       Raleigh, NC        Warehouse      121214          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud5988   ColeKepro 5.0         149519                       2.521E+12    Grand Prairie, TX     Warehouse      122150          HL Distribution                   1065 Texan Trail Rd                                   Grapevine          TX   76051    8/7/2021
coincloud6135   ColeKepro 5.0         149666                       2.521E+12   City Of Industry, CA   Warehouse      121221          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud5522   ColeKepro 5.0         149053       149053USA       2.521E+12       Raleigh, NC        Warehouse      121209          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603    8/7/2021
coincloud6073   ColeKepro 5.0         149604       149604.USA      2.521E+12   City Of Industry, CA   Warehouse      121193          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5541   ColeKepro 5.0         149072                       2.521E+12      Suwanee, GA         Warehouse      121388          Central M&S / Lanza Trucking      2002 Directors Row                                    Orlando            FL   32809     8/7/2021
coincloud5537   ColeKepro 5.0         149068       149068.USA      2.521E+12       Raleigh, NC          Active       141701   141701 Piggly Wiggly                     100 W Main St                                         Moncks Corner      SC   29461    8/7/2021
coincloud5534   ColeKepro 5.0         149065                       2.521E+12       Tualatin, OR       Warehouse      138139          Lile International                20427 87th Avenue South                               Kent               WA   98031     8/7/2021
coincloud6059   ColeKepro 5.0         149590                       2.521E+12   City Of Industry, CA   Warehouse      121567          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud5561   ColeKepro 5.0         149092                       2.521E+12     Indianapolis, IN     Warehouse      146841          ATM Advisory                      9402 Uptown Drive, Suite 300                          Indianapolis       IN   46256     8/7/2021
coincloud6028   ColeKepro 5.0         149559                       2.521E+12      Suwanee, GA         Warehouse      121375          Central M&S / Lanza Trucking      2002 Directors Row                                    Orlando            FL   32809     8/7/2021
coincloud5488   ColeKepro 5.0         149019                       2.521E+12       Raleigh, NC        Warehouse      121191          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud5423   ColeKepro 5.0         148954                       2.521E+12   City Of Industry, CA   Warehouse      121426          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud5422   ColeKepro 5.0         148953       148953USA       2.521E+12   City Of Industry, CA   Warehouse      121387          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud6067   ColeKepro 5.0         149598       149598.USA      2.521E+12   City Of Industry, CA   Warehouse      121367          CCHQ                                                                                                                      8/7/2021
coincloud5453   ColeKepro 5.0         148984                       2.521E+12       Tualatin, OR       Warehouse      120962          CCHQ                                                                                                                      8/7/2021
coincloud5521   ColeKepro 5.0         149052                       2.521E+12       Raleigh, NC        Warehouse      140030          CCHQ                                                                                                                      8/7/2021
coincloud5485   ColeKepro 5.0         149016                       2.521E+12       Raleigh, NC        Warehouse      121212          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud5501   ColeKepro 5.0         149032       149032USA       2.521E+12       Raleigh, NC        Warehouse      121192          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud5493   ColeKepro 5.0         149024                       2.521E+12       Raleigh, NC        Warehouse      121213          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud6063   ColeKepro 5.0         149594                       2.521E+12   City Of Industry, CA   Warehouse      121358          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud5497   ColeKepro 5.0         149028                       2.521E+12       Raleigh, NC        Warehouse      121194          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603     8/7/2021
coincloud6058   ColeKepro 5.0         149589       149589USA       2.521E+12   City Of Industry, CA   Warehouse      121116          CCHQ                                                                                                                      8/7/2021
coincloud5841   ColeKepro 5.0         149372                       2.521E+12      Suwanee, GA         Warehouse      121605          Central M&S/LANZA TRUCKING        2002 Directors Row                                    Orlando            FL   32809     8/7/2021
coincloud5469   ColeKepro 5.0         149000       149000USA       2.521E+12       Tualatin, OR         Active       120944   120944 ACE Cash Express                  4378 River Rd N                                       Keizer             OR   97303     8/7/2021
coincloud6074   ColeKepro 5.0         149605       149605USA       2.521E+12   City Of Industry, CA   Warehouse      121181          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806     8/7/2021
coincloud5429   ColeKepro 5.0         148960                       2.521E+12   City Of Industry, CA   Warehouse      121396          Ready Office Furniture            1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806    8/7/2021
coincloud5494   ColeKepro 5.0         149025       149025USA       2.521E+12       Raleigh, NC          Active       121197          Secure Technicians Inc            1501 S Blount St                                      Raleigh            NC   27603    8/7/2021
coincloud5519   ColeKepro 5.0         149050                       2.521E+12       Raleigh, NC        Warehouse      137708          CCHQ                                                                                                                      8/7/2021
coincloud6225   ColeKepro 5.0         149756                       3.021E+12        Phoenix,AZ          Active       145476   145476 Toot'n Totum                      1213 1st St                                           Clayton            NM   88415    8/7/2021
coincloud285    Slabb 1.0         0310-003-1350                    319600339                        Decommissioned   103207          Decommissioned                                                                                                          12/18/2018
coincloud182    Lynna 1.0       BTM201803110143                    319600454                        Decommissioned   101575          Decommissioned                                                                                                            1/1/2018
coincloud251    Slabb 1.0         0310-003-1297                    323270083                        Decommissioned   103847          Decommissioned                                                                                                          12/18/2018
coincloud5      Lynna 1.0        BTM000004334                      323270338                        Decommissioned   103104          Decommissioned                                                                                                            1/1/2018
coincloud283    Slabb 1.0         0310-003-1341                    336540048                        Decommissioned   101512          Decommissioned                                                                                                          12/18/2018
coincloud13     Lynna 1.0        No serial # found                 336540568                        Decommissioned   103571          Decommissioned                                                                                                            1/1/2018
coincloud11     Lynna 1.0        BTM000004302                      336540701                        Decommissioned   103457          Decommissioned                                                                                                            1/1/2018
coincloud240    Slabb 1.0         0310-003-1245                    349260138                        Decommissioned   103225          Decommissioned                                                                                                          12/18/2018
coincloud192    Slabb 1.0             149159                       349260183                        Decommissioned                   Decommissioned                                                                                                          12/18/2018
coincloud276    Slabb 1.0         0310-003-1342                    349260188                        Decommissioned   101422          Decommissioned                                                                                                          12/18/2018
coincloud2502   ColeKepro 3.0         144537       144537.USA      349260226       Honolulu, HI         Active       139540   139540 Waimea Express                    65-1210 Kawaihae Rd #100                              Waimea             HI   96743   10/2/2020
coincloud241    Slabb 1.0         0310-003-1246                    349260244                        Decommissioned   103226   103226 Decommissioned                                                                                                          12/18/2018
coincloud242    Slabb 1.0         0310-003-1247                    349260359                        Decommissioned   103392          Decommissioned                                                                                                          12/18/2018
coincloud234    Slabb 1.0             147915                                                        Decommissioned   101510          Decommissioned                                                                                                          12/18/2018
coincloud229    Slabb 1.0         0310-003-1255                    349260456                        Decommissioned   103202          Decommissioned                                                                                                          12/18/2018
coincloud416    APSM 1.1           5.41535E+14 41535000000034US    350090034                            Active       109011   109011 Dick's Vape Shop And Ecig Store   7777 MN-65                                            Spring Lake Park   MN   55432    9/19/2019
coincloud306    Slabb 1.0         0310-003-1360                    350090034                        Decommissioned   103222   103222 Decommissioned                                                                                                          12/18/2018
coincloud292    Slabb 1.0         0310-003-1357                                                     Decommissioned   103538          Decommissioned                                                                                                          12/18/2018
coincloud262    Slabb 1.0         0310-003-1307                                                     Decommissioned   103071          Decommissioned                                                                                                          12/18/2018
coincloud293    Slabb 1.0         0310-003-1356                    350100028                        Decommissioned   103514          Decommissioned                                                                                                          12/18/2018
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coincloud261    Slabb 1.0         0310-003-1318                        350100155                    Decommissioned   103070          Decommissioned                                                                                              12/18/2018
coincloud319    Slabb 1.0         0310-003-1366                                                     Decommissioned   104165   104165 Decommissioned                                                                                              12/18/2018
coincloud221    Slabb 1.0         0310-003-1263                        352220161                    Decommissioned                   Decommissioned                                                                                              12/18/2018
coincloud187    Slabb 1.0         0410-004-0016                        352220234                    Decommissioned   103790          Decommissioned                                                                                              12/18/2018
coincloud244    Slabb 1.0            5.41E+14                          352220245                    Decommissioned                   Decommissioned                                                                                              12/18/2018
coincloud284    Slabb 1.0         0310-003-1349                        352220469                    Decommissioned   103765          Decommissioned                                                                                              12/18/2018
coincloud395    APSM 1.1              148691                           352230465                      Warehouse                      CCHQ                                                                                                         9/19/2019
coincloud806    ColeKepro 1.0         142188           142188.USA      Hardwired                        Active       103691   103691 Rivera Mart                               901 Rivera Dr.                      Sacramento       CA   95838     5/7/2020
coincloud389    APSM 1.1           5.41535E+14 41535000000004US        352240784                        Active       108799   108799 Klever Liquor                             5120 56th Ave N                     Crystal          MN   55429    9/19/2019
coincloud357    APSM 1.1             5.41E+14                          352250217                    Decommissioned   103815          Decommissioned                                                                                               9/19/2019
coincloud1167   ColeKepro 2.0         143202                           35440078                       Warehouse      113881          Victory Vans                              110 Terminal Drive                  Sterling         VA   20166    8/28/2020
coincloud60     Lynna 1.0       BTM201801220055                                                     Decommissioned   103521          Decommissioned                                                                                                1/1/2018
coincloud1049   ColeKepro 2.0         143084                            35440633                        Active       108439   108439 Cardinal Warehouse Wine & Liquor          3501 N Central Ave                  Chicago          IL   60634    8/28/2020
coincloud1434   ColeKepro 3.0         143469                           3544080848                     Warehouse      109040          CCHQ                                                                                                         10/2/2020
coincloud733    ColeKepro 1.0         142107                            35440900                      Warehouse      107894          CCHQ                                                                                                          5/7/2020
coincloud896    APSM 1.1           5.42018E+14 42018000000036.US        354410316                       Active       108032   108032 Kwik Mart                                 8001 E Roosevelt St                 Scottsdale       AZ   85257    9/19/2019
coincloud898    APSM 1.1           5.42018E+14 42018000000038US         354440663                       Active       108055   108055 BP                                        1707 N Missouri St                  Macon            MO   63552    9/19/2019
coincloud264    Slabb 1.0         0310-003-1308                         354411097                   Decommissioned   103043          Decommissioned                                                                                              12/18/2018
coincloud934    APSM 1.1             5.42E+14                           354420036                     Warehouse      108117          Decommissioned                                                                                               9/19/2019
coincloud767    ColeKepro 1.0         141999                            354420066                     Warehouse      107973          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051     5/7/2020
coincloud1032   ColeKepro 2.0         143067                            354420311                     Warehouse      108366          ATM Advisory                              9402 Uptown Drive, Suite 300        Indianapolis     IN   46256    8/28/2020
coincloud717    ColeKepro 1.0         142106                            354420344                     Warehouse      104104          CCHQ                                      10190 Covington                     Las Vegas        NV   89144     5/7/2020
coincloud916    APSM 1.1           5.42027E+14                          354420433                       Active       104369   104369 J J's Fast Stop                           7457 Baker Blvd                     Richland Hills   TX   76118    9/19/2019
coincloud745    ColeKepro 1.0         142185                            354420495                       Active       103717   103717 Lynn's Stop & Shop                        5161 NC-27                          Iron Station     NC   28080     5/7/2020
coincloud1065   ColeKepro 2.0         143100           143100.USA       354440551                       Active       108312   108312 Hillsboro Liquor Store                    2033 SE Tualatin Valley Hwy         Hillsboro        OR   97123    8/28/2020
coincloud699    APSM 1.1             5.42E+14                           354420696   Las Vegas, NV     Warehouse      104318   104318 CCHQ                                                                                                         9/19/2019
coincloud150    Lynna 1.0        No serial # found                      354420738                   Decommissioned   101543          Decommissioned                                                                                                1/1/2018
coincloud732    ColeKepro 1.0         142090                            354420788                     Warehouse      103792          CCHQ                                                                                                          5/7/2020
coincloud692    APSM 1.1           5.42016E+14                          354420797                     Warehouse      103757   103757                                                                                                              9/19/2019
coincloud687    APSM 1.1             5.42E+14                           354420803   Las Vegas, NV     Warehouse      104358          CCHQ                                                                                                         9/19/2019
coincloud701    APSM 1.1           5.42016E+14                          354420837                     Warehouse      104322                                                                                                                       9/19/2019
coincloud956    APSM 1.1           5.42027E+14 42027000000046.US        354420855                       Active       101525   101525 Jimbo's Liquor Store                      4411 Genesee Ave                    San Diego        CA   92117    9/19/2019
coincloud807    ColeKepro 1.0         142189           142189.USA                                       Active       103592   103592 Robin's Mini Mart                         130 W Grangeville Blvd              Hanford          CA   93230     5/7/2020
coincloud663    APSM 1.1             5.42E+14                          354420932    Las Vegas, NV     Warehouse      104425          CCHQ                                                                                                         9/19/2019
coincloud660    APSM 1.1           5.42016E+14 42016000000028US        354420932                        Active       118175   118175 GreenAcres Market KC                      4175 N Mulberry Dr                  Kansas City      MO   64116    9/19/2019
coincloud735    ColeKepro 1.0         141991                           354420967                      Warehouse                                                                                                                                    5/7/2020
coincloud722    ColeKepro 1.0    No serial # found                     354421096                      Warehouse      103635          CCHQ                                                                                                          5/7/2020
coincloud777    ColeKepro 1.0    No serial # found                     354430027                      Warehouse      107997          CCHQ                                                                                                          5/7/2020
coincloud671    APSM 1.1           5.42016E+14                         354430107                        Active       104435   104435 Conoco                                    500 E 10th St                       Kansas City      MO   64106    9/19/2019
coincloud734    ColeKepro 1.0         142097                           354430129                      Warehouse      107903          CCHQ                                                                                                          5/7/2020
coincloud737    ColeKepro 1.0         142088                           354430416                      Warehouse      107906          CCHQ                                                                                                          5/7/2020
coincloud585    APSM 1.1           5.42015E+14 42015000000003.US       Hardwired                        Active       103795   103795 Hampton Beer & Food                       10707 W Hampton Ave                 Milwaukee        WI   53225    9/19/2019
coincloud857    ColeKepro 1.0         142050                           354430464                      Warehouse      108095          CCHQ                                                                                                          5/7/2020
coincloud1352   ColeKepro 3.0         143387           143387.USA                                       Active       108358   108358 Mega Mart                                 500 S Gordon St                     Alvin            TX   77511    10/2/2020
coincloud842    ColeKepro 1.0         149586                           354430466                      Warehouse                      CCHQ                                                                                                          5/7/2020
coincloud802    ColeKepro 1.0         104304                           354430500                    Decommissioned   104304          Decommissioned                                                                                                5/7/2020
coincloud814    ColeKepro 1.0         142048                           354430536                      Warehouse      108050          CCHQ                                                                                                          5/7/2020
coincloud800    ColeKepro 1.0         141995                           354430569                      Warehouse      108020          CCHQ                                                                                                          5/7/2020
coincloud796    ColeKepro 1.0         142158                           354430585                        Active       108009   108009 Two Brothers Market                       5508 N 43rd Ave                     Glendale         AZ   85301     5/7/2020
coincloud837    ColeKepro 1.0         142053                           354430606                      Warehouse      108062          CCHQ                                      10190 Covington Cross Dr.           Las Vegas        NV   89144     5/7/2020
coincloud924    APSM 1.1           5.42027E+14 42027000000014US        354430677                        Active       108028   108028 Speedy Mart                               601 N Beaton St                     Corsicana        TX   75110    9/19/2019
coincloud768    ColeKepro 1.0         141971           141971.USA      354430878                        Active       104241   104241 Century Food & Liquor                     2026 Boston St SE                   Grand Rapids     MI   49506    5/7/2020
coincloud1906   ColeKepro 3.0         143941                           354440058                      Warehouse      120195          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1651   ColeKepro 3.0         143686                           354440066                      Warehouse      124406          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1824   ColeKepro 3.0         143859                           354440068                      Warehouse      120182          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1788   ColeKepro 3.0         143823                           354440081                      Warehouse      119947          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1813   ColeKepro 3.0         143848                           354440082                      Warehouse      120207          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1632   ColeKepro 3.0         143667                           354440084                      Warehouse      120144          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1618   ColeKepro 3.0         143653                           354440088                      Warehouse      119769          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1912   ColeKepro 3.0         143947                           354440095                      Warehouse      120206          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1538   ColeKepro 3.0         143573                           354440102                      Warehouse      122465          CCHQ                                                                                                         10/2/2020
coincloud1674   ColeKepro 3.0         140709                           354440105                      Warehouse      120190          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1765   ColeKepro 3.0         143800                           354440107                      Warehouse      120152          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1507   ColeKepro 3.0         143542                           354440116                      Warehouse      114428          Secure Technicians Inc                    1501 S Blount St                    Raleigh          NC   27603    10/2/2020
coincloud1984   ColeKepro 3.0         144019                           354440119                      Warehouse      119990          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1675   ColeKepro 3.0         143710                           354440126                      Warehouse      124655          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1904   ColeKepro 3.0         143939                           354440128                      Warehouse      120199          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1542   ColeKepro 3.0         143577                           354440137                      Warehouse      113884          CCHQ                                                                                                         10/2/2020
coincloud1928   ColeKepro 3.0         143963                           354440138                      Warehouse      120197          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1666   ColeKepro 3.0         143701                           354440141                      Warehouse      119984          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1506   ColeKepro 3.0         143541                           354440162                      Warehouse      113886          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia        CA   92870    10/2/2020
coincloud1807   ColeKepro 3.0         143842                           354440163                      Warehouse      124419          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1959   ColeKepro 3.0         143994                           354440165                      Warehouse      120149          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1697   ColeKepro 3.0         143732                           354440175                      Warehouse      124442          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud2005   ColeKepro 3.0         144040                           354440178                      Warehouse      120179          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051   10/2/2020
coincloud1888   ColeKepro 3.0         143923                           354440180                      Warehouse      119941          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1799   ColeKepro 3.0         143834                           354440185                      Warehouse      119959          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1993   ColeKepro 3.0         144028                           354440186                      Warehouse      124611          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1826   ColeKepro 3.0         143861                           354440187                      Warehouse      119772          CCHQ                                                                                                         10/2/2020
coincloud1547   ColeKepro 3.0         143582                           354440189                      Warehouse      120033          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1597   ColeKepro 3.0         143632                           354440196                      Warehouse      120208          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051   10/2/2020
coincloud1739   ColeKepro 3.0         143774                           354440197                      Warehouse      119702          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1992   ColeKepro 3.0         144027                           354440200                      Warehouse      124670          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1623   ColeKepro 3.0         143658                           354440205                      Warehouse      119983          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051   10/2/2020
coincloud1582   ColeKepro 3.0         143617                           354440276                    Decommissioned   117470          Decommissioned                                                                                               10/2/2020
coincloud1931   ColeKepro 3.0         143966                           354440323                      Warehouse      124451          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud2585   ColeKepro 3.0         145252                           354440348                      Warehouse      103646          CCHQ                                                                                                         10/2/2020
coincloud1284   ColeKepro 3.0         145588                           354440464                      Warehouse                      Decommissioned                                                                                               10/2/2020
coincloud954    APSM 1.1             5.42E+14                          354440477    Las Vegas, NV     Warehouse      108213          CCHQ                                                                                                         9/19/2019
coincloud1760   ColeKepro 3.0         143795                           354440487                      Warehouse      120014          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1224   ColeKepro 3.0         148717                           354440651                      Warehouse                      Decommissioned                                                                                               10/2/2020
coincloud950    APSM 1.1           5.42027E+14 42027000000040US        354440665                        Active       108159   108159 Eagle Food Mart                           501 Burlington Ave                  Gibsonville      NC   27249    9/19/2019
coincloud296    Slabb 1.0         0310-003-1378                        354440672                    Decommissioned   108254          Decommissioned                                                                                              12/18/2018
coincloud1057   ColeKepro 2.0         108373                           354440699                      Warehouse      108373          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia        CA   92870    8/28/2020
coincloud1940   ColeKepro 3.0         143975                           354440754                      Warehouse                      CCHQ                                                                                                         10/2/2020
coincloud1933   ColeKepro 3.0         143968                           354440760                      Warehouse      116344          Secure Technicians Inc                    1501 S Blount St                    Raleigh          NC   27603    10/2/2020
coincloud1946   ColeKepro 3.0         143981                           354440766                      Warehouse      119768          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1685   ColeKepro 3.0         143720                           354440775                      Warehouse      116970          CCHQ                                                                                                         10/2/2020
coincloud2029   ColeKepro 3.0         144064                           354440777                      Warehouse      120196          HL Distribution                           1065 Texan Trail Rd                 Grapevine        TX   76051    10/2/2020
coincloud1511   ColeKepro 3.0         143546                           354440782    Las Vegas, NV     Warehouse      116081          CCHQ                                                                                                         10/2/2020
coincloud1577   ColeKepro 3.0         143612                           354440788                      Warehouse      118445          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia        CA   92870    10/2/2020
coincloud1549   ColeKepro 3.0         143584                           354440791                      Warehouse      120178          Deadline Construction                     19475 Alford Rd                     Magnolia         TX   77355    10/2/2020
coincloud2002   ColeKepro 3.0         144037                           354440794                      Warehouse      120008          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1863   ColeKepro 3.0         143898                           354440798                      Warehouse      118174          CCHQ                                                                                                         10/2/2020
coincloud1740   ColeKepro 3.0         143775           143775.USA      354440832                        Active       120387   120387 HEB                                       28550 US-290                        Cypress          TX   77433    10/2/2020
coincloud1466   ColeKepro 3.0         143501                           354440834                      Warehouse      116505          Secure Technicians Inc                    1501 S Blount St                    Raleigh          NC   27603    10/2/2020
coincloud1246   ColeKepro 3.0         143281                           354440836                      Warehouse      108947                                                                                                                       10/2/2020
coincloud1647   ColeKepro 3.0         143682                           354440839                      Warehouse      115366                                                                                                                       10/2/2020
coincloud1786   ColeKepro 3.0         150691                             T06267                       Warehouse      147306          Deadline Construction                     19475 Alford Rd                     Magnolia         TX   77355    10/2/2020
coincloud1563   ColeKepro 3.0         149590                           354441003                      Warehouse                      Decommissioned                                                                                               10/2/2020
coincloud1526   ColeKepro 3.0         143561                           354441012                      Warehouse      124551          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud1785   ColeKepro 3.0         143820                           354441038                      Warehouse      120021          Diversified Warehouse Inc                 241 S Grandview                     Odessa           TX   79761    10/2/2020
coincloud2027   ColeKepro 3.0         144062                           354441044                        Active       120564   120564 Chief                                     810 N Shoop Ave                     Wauseon          OH   43567    10/2/2020
coincloud486    APSM 1.1             5.42E+14      41537000000054.US   354441096                        Active       108320   108320 Super Rancho Carniceria                   4501 N 27th Ave                     Phoenix          AZ   85017    9/19/2019
143649.USA      ColeKepro 5.0         143649           143649.USA                                       Active       101502   101502 Mike's Smoke Cigar and Gifts              875 West Red Cliffs Dr Unit 4       Washington       UT   84780    8/7/2021
coincloud3467   ColeKepro 3.0         146075                             S90253                         Active       124040   124040 Allsups                                   327 Sumner Ave                      Fort Sumner      NM   88119    10/2/2020
coincloud791    ColeKepro 1.0         142105           142102USA       354450070                        Active       108021   108021 Taco Hut                                  201 W Jefferson St                  Grand Prairie    TX   75051     5/7/2020
coincloud781    ColeKepro 1.0         141076           141976USA       354450139                        Active       119114   119114 Del Monte Market                          2659 W Dobbins Rd                   Phoenix          AZ   85041     5/7/2020
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coincloud2386   ColeKepro 3.0       144429        144429USA                                            Active       120032   120032 Stripes                                   533 N. Frankford                   Lubbock            TX          79416     10/2/2020
coincloud225    Slabb 1.0           146497                       354450139                         Decommissioned                   Decommissioned                                                                                                       12/18/2018
coincloud1350   ColeKepro 3.0       143385                       354480014                           Warehouse      108561          Deadline Construction                     19475 Alford Rd                    Magnolia           TX          77355     10/2/2020
coincloud1043   ColeKepro 2.0       143078                       354480026                         Decommissioned   108286          Decommissioned                                                                                                        8/28/2020
coincloud1753   ColeKepro 3.0       143788                       354480038                           Warehouse      115331          CCHQ                                                                                                                  10/2/2020
coincloud986    ColeKepro 1.0     143021.USA                     354480048                             Active       108264   108264 LiL "T" Store                             2494 W Hampden Ave                 Englewood          CO          80110     5/7/2020
coincloud1418   ColeKepro 3.0       143453                       354480061                           Warehouse      113879          ATM Equipment                             14351 Birch St                     San Leandro        CA          94579     10/2/2020
coincloud1406   ColeKepro 3.0       143441                       2.521E+12                         Decommissioned   108816          Decommissioned                                                                                                        10/2/2020
coincloud1313   ColeKepro 3.0        14338        143348USA      354480092                             Active       108565   108565 Westwood Party Shoppe                     5645 State St                      Saginaw            MI          48603     10/2/2020
coincloud1805   ColeKepro 3.0       143840                       354480097                           Warehouse      124445          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     10/2/2020
coincloud1371   ColeKepro 3.0       143406                       354480159                           Warehouse      108739          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     10/2/2020
coincloud1394   ColeKepro 3.0       147835                       354480161                         Decommissioned                   Decommissioned                                                                                                        10/2/2020
coincloud1665   ColeKepro 3.0       143700                       354480185                             Active       108627   108627 Therapy Bar & Grill                       5059 S 108th St                    Omaha              NE          68137     10/2/2020
coincloud1114   ColeKepro 2.0       143149        143149.USA     354480200                             Active       108468   108468 Vallarta Supermarket                      8201 Topanga Canyon Blvd           Los Angeles        CA          91304    8/28/2020
coincloud1783   ColeKepro 3.0       143818        143818USA      354480005                             Active       115387   115387 Drop-In Store                             709 N Main St ##1                  Greenville         SC          29609     10/2/2020
coincloud1008   ColeKepro 1.0       143043                       354480216                           Warehouse      108226          CCHQ                                                                                                                   5/7/2020
coincloud1488   ColeKepro 3.0       143523                       354480244                           Warehouse      108802          Logic Warehouse                           4121 N Kentucky Ave.               Kansas City        MO          64161     10/2/2020
coincloud1793   ColeKepro 3.0       150693                       354480244                           Warehouse      115051          CCHQ                                                                                                                  10/2/2020
coincloud1730   ColeKepro 3.0       143765                       354480261                           Warehouse      115380          CCHQ                                                                                                                  10/2/2020
coincloud1432   ColeKepro 2.0       143467                                        Sloan, NV          Warehouse                      Sloan                                     Sloan                              Sloan              Sloan   Sloan        8/28/2020
coincloud3476   ColeKepro 3.0       146071                         S90346                              Active       123929   123929 Allsup's Convenience Store                342 Nimitz Dr                      Grants             NM           87020    10/2/2020
coincloud1163   ColeKepro 2.0       143198                       354480292                           Warehouse      115321          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA           92870    8/28/2020
coincloud1490   ColeKepro 3.0       143525                       354480299                           Warehouse      108689          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA           92870    10/2/2020
coincloud1791   ColeKepro 3.0       143826                       354480300      Las Vegas, NV        Warehouse      115310          CCHQ                                                                                                                  10/2/2020
coincloud2582   ColeKepro 3.0       145249                       354480315                           Warehouse      115373          CCHQ                                                                                                                  10/2/2020
coincloud1388   ColeKepro 3.0       143423                                                         Decommissioned   108835          Decommissioned                                                                                                        10/2/2020
coincloud4371   ColeKepro 4.0       147905        147905USA                                            Active       130520   130520 Quincy Market IGA                         807 1st Ave SW                     Quincy             WA           98848    6/15/2021
coincloud1386   ColeKepro 3.0       143421                       354480436                             Active       115100   115100 Tubac Market                              10 Avenida Goya                    Tubac              AZ           85646    10/2/2020
coincloud1817   ColeKepro 3.0       143852        143852.USA       S92778       Las Vegas, NV          Active       135632   135632 H-E-B                                     7015 Village Center Dr             Austin             TX           78731    10/2/2020
coincloud1643   ColeKepro 2.0       143678                                        Sloan, NV          Warehouse                      Sloan                                     Sloan                              Sloan              Sloan   Sloan        8/28/2020
coincloud2609   ColeKepro 2.0       145240                                        Sloan, NV          Warehouse                      Sloan                                     Sloan                              Sloan              Sloan   Sloan        8/28/2020
coincloud2246   ColeKepro 3.0       144319                       354480651                           Warehouse      109003          CCHQ                                                                                                                  10/2/2020
coincloud1449   ColeKepro 2.0       143484                                        Sloan, NV          Warehouse                      Sloan                                     Sloan                              Sloan              Sloan   Sloan         8/28/2020
coincloud1403   ColeKepro 3.0       143438                        354480667     Las Vegas, NV        Warehouse      108330          CCHQ                                                                                                                  10/2/2020
coincloud2394   ColeKepro 3.0       144439                        354480688                          Warehouse      119955          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1076   ColeKepro 2.0       143111                        354480849                          Warehouse      108882          CCHQ                                                                                                                  8/28/2020
coincloud1517   ColeKepro 3.0       143552                        354480859                          Warehouse      116124          CCHQ                                                                                                                  10/2/2020
coincloud1390   ColeKepro 3.0       143425                        354480860                          Warehouse      109013          SNS Installations                         37330 Cedar Blvd., STE H           Newark             CA          94560     10/2/2020
coincloud1751   ColeKepro 3.0       143786                        354480871                          Warehouse      124405          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1091   ColeKepro 2.0       143126                        354480872                          Warehouse      108444          CCHQ                                                                                                                  8/28/2020
coincloud1671   ColeKepro 3.0       143706                        354480881                          Warehouse      117335          PDX Moving                                19585 SW 118th Ave                 Tualatin           OR          97062     10/2/2020
coincloud1426   ColeKepro 3.0       143461                        354480882                          Warehouse      108970          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud1792   ColeKepro 3.0   No serial # found                 354480891                          Warehouse      117214          PDX Moving                                19585 SW 118th Ave                 Tualatin           OR          97062     10/2/2020
coincloud1408   ColeKepro 3.0       143443                        354480894                          Warehouse      108792          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud1795   ColeKepro 3.0       143830        143830.USA      354480895                            Active       117789   117789 Raceway Liquor LLC DBA Raceway Liquor     3122 Taylor Blvd                   Louisville         KY          40215     10/2/2020
coincloud1392   ColeKepro 3.0       143427                        354480896                          Warehouse      109027                                                                                                                                10/2/2020
coincloud1375   ColeKepro 3.0       148073                        354480913                          Warehouse                      Decommissioned                                                                                                        10/2/2020
coincloud1259   ColeKepro 3.0       143294                        354480924                          Warehouse      108653   108653 CCHQ                                                                                                                  10/2/2020
coincloud1955   ColeKepro 3.0       143990                        354480931                          Warehouse      116201                                                                                                                                10/2/2020
coincloud952    APSM 1.1         5.42027E+14 42027000000042.US   3.58942E+14                           Active       108227   108227 Denver Drug & Liquor                      400 E Colfax Ave                   Denver             CO          80203     9/19/2019
coincloud2708   ColeKepro 3.0       144743        144743.USA                                           Active       125733   125733 ASH STREET LAUNDRY                        1108 W Ash Street                  Junction City      KS          66441     10/2/2020
coincloud1480   ColeKepro 3.0       143339                       382060019                             Active       108643   108643 Yogi Food Mart                            8301 Boydton Plank Rd              Petersburg         VA          23803     10/2/2020
coincloud2556   ColeKepro 3.0     145118.USA                     382060036                             Active       103568   103568 Mina & Joseph Liquor Store                16369 Harbor Blvd                  Fountain Valley    CA          92708     10/2/2020
coincloud1121   ColeKepro 2.0       143156                       382060048                           Warehouse      103753   103753 CCHQ                                                                                                                  8/28/2020
coincloud1308   ColeKepro 3.0       143343                       382060065                           Warehouse      108990          CCHQ                                                                                                                  10/2/2020
coincloud2249   ColeKepro 3.0       145615                       382060082                             Active       113880   113880 South Coast Pizza                         1103 Sevier Ave                    Knoxville          TN          37920     10/2/2020
coincloud1368   ColeKepro 3.0       143403                       382060083                           Warehouse      108692          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud1303   ColeKepro 3.0       143338                       382060224                             Active       108829   108829 Seven Star Liquors                        3 E Grove St #A                    Middleborough      MA           2346     10/2/2020
coincloud1723   ColeKepro 3.0       143758                       382060252                           Warehouse      118171          ATM Advisory                              9402 Uptown Drive, Suite 300       Indianapolis       IN          46256     10/2/2020
coincloud1173   ColeKepro 2.0       143208                       382060253                           Warehouse      113811          Decommissioned                                                                                                        8/28/2020
coincloud1911   ColeKepro 3.0       143946                       382060262                           Warehouse      125498          Decommissioned                                                                                                        10/2/2020
coincloud1212   ColeKepro 2.0       143247                       382060265                           Warehouse      108663          CCHQ                                                                                                                  8/28/2020
coincloud5683   ColeKepro 5.0       149214                       382060267     Grand Prairie, TX     Warehouse      125418          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     8/7/2021
coincloud1133   ColeKepro 2.0       143168                       1.821E+12                             Active       101516   101516 House of Hookahs- West Valley             2592 S. 5600 W                     West Valley City   UT          84120     8/28/2020
coincloud1294   ColeKepro 3.0       143329                       382060280                           Warehouse      108430          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud1724   ColeKepro 3.0       143759                       382060288                           Warehouse      124185          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1251   ColeKepro 3.0       142385                       382060289                           Warehouse      108686          CCHQ                                                                                                                  10/2/2020
coincloud1267   ColeKepro 3.0       143302                       382060290                         Decommissioned   114704   114704 Decommissioned                                                                                                        10/2/2020
coincloud1962   ColeKepro 3.0       143997                       382060295                           Warehouse      125495          CCHQ                                                                                                                  10/2/2020
coincloud1514   ColeKepro 3.0       143549                       382060297                           Warehouse      108875          CCHQ                                                                                                                  10/2/2020
coincloud1570   ColeKepro 3.0       1430605                      382060309                             Stolen       114694          Loss Event                                                                                                            10/2/2020
coincloud1580   ColeKepro 3.0       143615                       382060312                             Active       114716   114716 MACNARB Gaming                            2307 US-90                         Gautier            MS          39553     10/2/2020
coincloud1278   ColeKepro 3.0       143313                       382060316                           Warehouse      108937          Secure Technicians Inc                    1501 S Blount St                   Raleigh            NC          27603     10/2/2020
coincloud1153   ColeKepro 2.0       143188                       382060318                           Warehouse      113823          CCHQ                                                                                                                  8/28/2020
coincloud1268   ColeKepro 3.0       143303                       382060346      Las Vegas, NV        Warehouse      108951          CCHQ                                                                                                                  10/2/2020
coincloud1523   ColeKepro 3.0       143558                       382060361                           Warehouse      113891          Logic Warehouse                           4121 N Kentucky Ave.               Kansas City        MO          64161     10/2/2020
coincloud1249   ColeKepro 3.0       143284                       382060362                           Warehouse      108316          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud2437   ColeKepro 3.0       144454        144454USA                                            Active       123548   123548 Somerville Fuel & Food                    17225 US-64                        Somerville         TN          38068     10/2/2020
coincloud1708   ColeKepro 3.0       143743                       382060380                           Warehouse      115054          ATM Advisory                              9402 Uptown Drive, Suite 300       Indianapolis       IN          46256     10/2/2020
coincloud1151   ColeKepro 2.0       143186                       382060384                           Warehouse      113882          CCHQ                                                                                                                  8/28/2020
coincloud1494   ColeKepro 3.0       143529                       382060387                           Warehouse      108901          CCHQ                                                                                                                  10/2/2020
coincloud1543   ColeKepro 3.0       143578                       382060391                           Warehouse      108895          CCHQ                                                                                                                  10/2/2020
coincloud1260   ColeKepro 3.0       143295                       382060402                           Warehouse      108899          CCHQ                                                                                                                  10/2/2020
coincloud1868   ColeKepro 3.0       143903                       382060405                             Active       125494   125494 Spec's Wines, Spirits & Finer Foods       8123 Preston Rd                    Dallas             TX          75225     10/2/2020
coincloud1186   ColeKepro 2.0       143221                       382060409                           Warehouse      108922          Logic Warehouse                           4121 N Kentucky Ave.               Kansas City        MO          64161     8/28/2020
coincloud1189   ColeKepro 2.0       143224                       382060410      Las Vegas, NV      Decommissioned   108963          Decommissioned                                                                                                        8/28/2020
coincloud1489   ColeKepro 3.0       143524                        A14634        Las Vegas, NV          Active       104161   104161 American Market                           3295 Pacific Hwy                   Hubbard            OR          97032     10/2/2020
coincloud1196   ColeKepro 2.0       143231                       382060421                           Warehouse      108886          CCHQ                                                                                                                  8/28/2020
coincloud1181   ColeKepro 2.0       143216                       382060422                           Warehouse      108991          CCHQ                                                                                                                  8/28/2020
coincloud1257   ColeKepro 3.0       143292                       382060430                           Warehouse      108989          Secure Technicians Inc                    1501 S Blount St                   Raleigh            NC          27603     10/2/2020
coincloud1168   ColeKepro 2.0       143203                       382060488                           Warehouse      114429          ATM Advisory                              9402 Uptown Drive, Suite 300       Indianapolis       IN          46256     8/28/2020
coincloud1139   ColeKepro 2.0       143174                       382060492                           Warehouse      114454          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     8/28/2020
coincloud2607   ColeKepro 3.0       145237                       382060506                           Warehouse      120913          Lanza Trucking / Arrow Transfer           123 Frost St. Unit A               Westbury           NY          11590     10/2/2020
coincloud2610   ColeKepro 3.0       144645        145244.USA     382060522                             Active       103528   103528 Goodyear Food Store                       13310 W Van Buren St               Goodyear           AZ          85338     10/2/2020
coincloud2584   ColeKepro 3.0       145265                       382060537                           Warehouse      118610          CCHQ                                                                                                                  10/2/2020
coincloud1637   ColeKepro 3.0       143672                       382280120                           Warehouse      115097                                                                                                                                10/2/2020
coincloud2562   ColeKepro 3.0       145115                       382280125                           Warehouse      125390          Deadline Construction                     19475 Alford Rd                    Magnolia           TX          77355     10/2/2020
coincloud5690   ColeKepro 5.0       149221        149221.USA     382280126     Grand Prairie, TX     Warehouse      122143          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     8/7/2021
coincloud2025   ColeKepro 3.0       144060                       382280139                             Active       123924          Deadline Construction                     19475 Alford Rd                    Magnolia           TX          77355     10/2/2020
coincloud1659   ColeKepro 3.0       143694                       382280170                           Warehouse      117568          CCHQ                                                                                                                  10/2/2020
coincloud1773   ColeKepro 3.0       143808                       382280175                           Warehouse      124447          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     10/2/2020
coincloud1771   ColeKepro 3.0       143806                       382280181                           Warehouse      124183          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud5671   ColeKepro 5.0       149202        149202.USA     382280188     Grand Prairie, TX     Warehouse      122164          CCHQ                                                                                                                  8/7/2021
coincloud2033   ColeKepro 3.0       144068                         S95742                            Warehouse      128232          CCHQ                                                                                                                  10/2/2020
coincloud1445   ColeKepro 3.0       143480                       382280202                           Warehouse      116197          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                Placentia          CA          92870     10/2/2020
coincloud1509   ColeKepro 3.0       143544                       382280204                           Warehouse      108956          Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1       New Orleans        LA          70123     10/2/2020
coincloud2930   ColeKepro 3.0       145453                         S92934                              Active       120414          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1469   ColeKepro 3.0       143504                       382280250                           Warehouse      113888          CCHQ                                                                                                                  10/2/2020
coincloud1341   ColeKepro 3.0       143376        143376.USA     382280280                             Active       115098   115098 Vape Plus                                 18918 Midway Rd ##124              Dallas             TX          75287     10/2/2020
coincloud3720   ColeKepro 3.0       146292                         S92973                              Active       119188   119188 Out of the Box                            5212 Division Ave S                Kentwood           MI          49548     10/2/2020
coincloud1901   ColeKepro 3.0       143936                       382280347                           Warehouse      124656          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1567   ColeKepro 3.0       143602                       382280644                           Warehouse      117795          CCHQ                                                                                                                  10/2/2020
coincloud2044   ColeKepro 3.0       144079                       382280725                           Warehouse      120023          Diversified Warehouse Inc                 241 S Grandview                    Odessa            TX           79761     10/2/2020
coincloud2037   ColeKepro 3.0       144072                       382280727                             Active       125468   125468 Spec's Wines, Spirits & Finer Foods       3200 W Pioneer Pkwy                Dalworthington Ga TX           76013     10/2/2020
coincloud3129   ColeKepro 3.0       145701                       382280772                           Warehouse      125261          CCHQ                                                                                                                  10/2/2020
coincloud1686   ColeKepro 3.0       143721                       382280793                           Warehouse      124618          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX          79761     10/2/2020
coincloud1620   ColeKepro 3.0       143655                       382280869                           Warehouse      126647          CCHQ                                                                                                                  10/2/2020
coincloud1905   ColeKepro 3.0       143940                       382280881                           Warehouse      120630          HL Distribution                           1065 Texan Trail Rd                Grapevine          TX          76051     10/2/2020
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coincloud1551   ColeKepro 3.0      143586                         382280901                          Warehouse      119720          Deadline Construction                     19475 Alford Rd                                       Magnolia         TX          77355    10/2/2020
coincloud783    ColeKepro 1.0   142108.USA                        3.021E+12                            Active       101425   101425 Alessandro Liquor                         1051 E Alessandro Blvd                                Riverside        CA          92508    5/7/2020
coincloud2969   ColeKepro 3.0      145615                          4.72E+12                            Active       117858   117858 Riverside Foods                           48 E Burlington St                                    Riverside        IL          60546    10/2/2020
coincloud2806   ColeKepro 3.0      145430        145430.USA        4.72E+12                          Warehouse      115385          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2460   ColeKepro 3.0      145078        145078.USA                                            Active       119972   119972 Stripes                                   4317 Andrews Hwy                                      Midland          TX          79703    10/2/2020
coincloud2957   ColeKepro 3.0      145604                          4.72E+12                            Active       117084   117084 AAACOIN.COM                               8820 Skokie Blvd                                      Skokie           IL          60077    10/2/2020
coincloud2887   ColeKepro 3.0      145481                          4.72E+12                          Warehouse      116782          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2805   ColeKepro 3.0      145427                          4.72E+12                          Warehouse      116509          Metcalf Moving                            1255 East Highway 36                                  St. Paul         MN          55109    10/2/2020
coincloud721    ColeKepro 1.0      142009        142009.USA        4.72E+12                            Active       104352   104352 FOOD PLUS                                 1346 N Masters Dr                                     Dallas           TX          75217    5/7/2020
coincloud2874   ColeKepro 3.0      145462                          4.72E+12                          Warehouse      116552          CCHQ                                                                                                                                  10/2/2020
coincloud2703   ColeKepro 3.0      145215        145215.USA        4.72E+12                            Active       138907   138907 Hot Spot                                  551 E Main St                                         Sylva            NC          28779    10/2/2020
coincloud2958   ColeKepro 3.0      145608                          4.72E+12                          Warehouse      104077          Central M&S/LANZA TRUCKING                2002 Directors Row                                    Orlando          FL          32809    10/2/2020
coincloud2820   ColeKepro 3.0      145384                          4.72E+12                          Warehouse      115455          CCHQ                                                                                                                                  10/2/2020
coincloud2801   ColeKepro 3.0      145415                          4.72E+12                          Warehouse      116349          Bibbeo                                                                                                                                10/2/2020
coincloud2804   ColeKepro 3.0      145411                          4.72E+12                          Warehouse      118157          CCHQ                                                                                                                                  10/2/2020
coincloud2890   ColeKepro 3.0      145483                          4.72E+12                          Warehouse      116974          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2959   ColeKepro 3.0      145611                          4.72E+12                          Warehouse      117562          CCHQ                                                                                                                                  10/2/2020
coincloud2088   ColeKepro 3.0      144123        144123.USA        4.72E+12                          Warehouse      115433          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2521   ColeKepro 3.0      144556                          4.72E+12                          Warehouse      115367          Bibbeo                                    10550 EAST 54TH AVENUE UNIT C                         DENVER           CO          80239    10/2/2020
coincloud2614   ColeKepro 3.0      145275                          4.72E+12                            Active       128844                                                                                                                                                10/2/2020
coincloud2251   ColeKepro 3.0      144307                          4.72E+12                          Warehouse      118538          CCHQ                                                                                                                                  10/2/2020
coincloud2509   ColeKepro 3.0      145158                          4.72E+12                          Warehouse      118192          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2640   ColeKepro 3.0      145272                          4.72E+12                          Warehouse      137700          CCHQ                                                                                                                                  10/2/2020
coincloud2656   ColeKepro 3.0      145330        145330.USA        4.72E+12                            Active       135574   135574 Eby's Store                               3801 Horseshoe Pike                                   Honey Brook      PA          19344    10/2/2020
coincloud2576   ColeKepro 3.0      144611        145138USA         4.72E+12                            Active       115414   115414 Redner's Warehouse Markets                201 2nd Ave                                           Collegeville     PA          19426    10/2/2020
coincloud2431   ColeKepro 3.0      144480        144480.USA        4.75E+12                            Active       116199   116199 Mobil                                     401 E North St                                        Waukesha         WI          53188    10/2/2020
coincloud2444   ColeKepro 3.0      144479        144482USA        354480699                            Active       113876   113876 Lowell Market                             601 Brunswick St                                      SF               CA          94112    10/2/2020
coincloud3376   ColeKepro 3.0      146007                          4.92E+12                          Warehouse      116768          CCHQ                                                                                                                                  10/2/2020
coincloud3274   ColeKepro 3.0      145773                          4.92E+12                          Warehouse      121458          CCHQ                                                                                                                                  10/2/2020
coincloud3392   ColeKepro 3.0      145969        145969USA                                             Active       123681   123681 V5 Market                                 1009 Dale Ave Suite #C                                Benton City      WA          99320    10/2/2020
coincloud3441   ColeKepro 3.0      146985                         4.92E+12                           Warehouse      120159          Diversified Warehouse Inc                 241 S Grandview                                       Odessa           TX          79761    10/2/2020
coincloud2309   ColeKepro 3.0      144331                         4.92E+12                             Active       157015          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2232   ColeKepro 3.0      144265                         4.92E+12                           Warehouse      123314          CCHQ                                                                                                                                  10/2/2020
coincloud3202   ColeKepro 3.0      145836                         4.92E+12                           Warehouse      139085          CCHQ                                                                                                                                  10/2/2020
coincloud2081   ColeKepro 3.0      144116                         4.92E+12                           Warehouse      122228          CCHQ                                      10190 Covington                                       Las Vegas        NV          89144    10/2/2020
coincloud3238   ColeKepro 3.0      145911                         4.92E+12                           Warehouse      123542          CCHQ                                                                                                                                  10/2/2020
coincloud3228   ColeKepro 3.0      145901                         4.92E+12                           Warehouse      129854          CCHQ                                                                                                                                  10/2/2020
coincloud2258   ColeKepro 3.0      144371                         4.92E+12                           Warehouse      121559          CCHQ                                                                                                                                  10/2/2020
coincloud3123   ColeKepro 3.0      145719        145719.USA       4.92E+12                             Active       125607   125607 Spec's                                    24527 Gosling Rd #Suite 101                           Spring           TX          77389    10/2/2020
coincloud3265   ColeKepro 3.0      145824                         4.92E+12                           Warehouse      120753          CCHQ                                                                                                                                  10/2/2020
coincloud3366   ColeKepro 3.0      145862        145862.USA       4.92E+12                             Active       137628   137628 Gump's IGA                                57 Maple Ave                                          Grafton          WV          26354    10/2/2020
coincloud3149   ColeKepro 3.0      145730                         4.92E+12                           Warehouse      124706          Diversified Warehouse Inc                 241 S Grandview                                       Odessa           TX          79761    10/2/2020
coincloud3261   ColeKepro 3.0      145759                         4.92E+12                           Warehouse      125972          Logic Warehouse                           4121 N Kentucky Ave.                                  Kansas City      MO          64161    10/2/2020
coincloud3372   ColeKepro 3.0      145976                         4.92E+12                           Warehouse      124197          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud3538   ColeKepro 3.0      146127        146127USA         S93146                              Active       103772   103772 Apache Mall                               52 US-14                                              Rochester        MN          55902    10/2/2020
coincloud3304   ColeKepro 3.0      145772                         4.92E+12                           Warehouse      118894          Lanza Trucking                            116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury         NY          11590    10/2/2020
coincloud382    APSM 1.1        5.41325E+14   41325000000050.US   4.92E+12                             Active       103146   103146 Go Go Food Mart                           126 E Beeline LN                                      Harker Heights   TX          76548    9/19/2019
coincloud3061   ColeKepro 3.0      145661                         4.92E+12    City of Industry, CA   Warehouse      144388          Deadline Construction                     19475 Alford Rd                                       Magnolia         TX          77355    10/2/2020
coincloud2319   ColeKepro 3.0      144321                         4.92E+12                           Warehouse      124534          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2267   ColeKepro 3.0      144370                         4.92E+12                           Warehouse      124395          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2411   ColeKepro 3.0      144442                         4.92E+12                           Warehouse      120513          CCHQ                                                                                                                                  10/2/2020
coincloud3088   ColeKepro 3.0      145802                         4.92E+12                           Warehouse      124188          Diversified Warehouse Inc                 241 S Grandview                                       Odessa           TX          79761    10/2/2020
coincloud2188   ColeKepro 3.0      144223                          T06232                            Warehouse      123039          CCHQ                                                                                                                                  10/2/2020
coincloud3313   ColeKepro 3.0      145945                         4.92E+12                           Warehouse      118011          Logic Warehouse                           4121 N Kentucky Ave.                                  Kansas City      MO          64161    10/2/2020
coincloud2321   ColeKepro 3.0      144310                         4.92E+12                           Warehouse      124195          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud3126   ColeKepro 3.0      145576                         4.92E+12                           Warehouse      124315          Diversified Warehouse Inc                 241 S Grandview                                       Odessa           TX          79761    10/2/2020
coincloud3399   ColeKepro 3.0      145884                         4.92E+12                           Warehouse      120004          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2186   ColeKepro 3.0      144221                         4.92E+12                           Warehouse      122790          CCHQ                                                                                                                                  10/2/2020
coincloud3316   ColeKepro 3.0      145930                         4.92E+12                           Warehouse      119967          Deadline Construction                     19475 Alford Rd                                       Magnolia         TX          77355    10/2/2020
coincloud5246   ColeKepro 5.0      148777                         4.92E+12      MAGNOLIA,TX          Warehouse      130490          CCHQ                                                                                                                                  8/7/2021
coincloud3103   ColeKepro 3.0      145575                         4.92E+12                           Warehouse      124122          CCHQ                                      10190 Covington Cross Dr.                             Las Vegas        NV          89144    10/2/2020
coincloud2530   ColeKepro 3.0      145051                         4.92E+12                           Warehouse      124940          HL Distribution                           1065 Texan Trail Rd                                   Grapevine        TX          76051    10/2/2020
coincloud3373   ColeKepro 3.0      145989                         4.92E+12                           Warehouse      124704          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2976   ColeKepro 3.0      145549                         4.92E+12                           Warehouse      116089          CCHQ                                                                                                                                  10/2/2020
coincloud2181   ColeKepro 3.0      144216                         4.92E+12                           Warehouse      124108          CCHQ                                                                                                                                  10/2/2020
coincloud3386   ColeKepro 3.0      145978                         4.92E+12                           Warehouse      124949          Lile International                        20427 87th Avenue South                               Kent             WA           98031   10/2/2020
coincloud3272   ColeKepro 3.0      145684                                          Sloan, NV         Warehouse      119515          Sloan                                     Sloan                                                 Sloan            Sloan   Sloan        10/2/2020
coincloud3205   ColeKepro 3.0      145815                         4.92E+12                           Warehouse      126924          CCHQ                                      10190 Covington cross                                 Las Vegas        NV           89144   10/2/2020
coincloud3193   ColeKepro 3.0      145832                                        Las Vegas, NV     Decommissioned                   Decommissioned                                                                                                                        10/2/2020
coincloud3208   ColeKepro 3.0      145923                         4.92E+12                           Warehouse      123211          Coast2Coast                               6557 Garden Rd. Ste. 14                               Riviera Beach    FL          33404    10/2/2020
coincloud2261   ColeKepro 3.0      144379                         4.92E+12                           Warehouse      128165          Lile International                        20427 87th Avenue South                               Kent             WA          98031    10/2/2020
coincloud3369   ColeKepro 3.0      146006                         4.92E+12                           Warehouse      119714          Deadline Construction                     19475 Alford Rd                                       Magnolia         TX          77355    10/2/2020
coincloud3227   ColeKepro 3.0      145921                         4.92E+12                           Warehouse      121566          Coast2Coast                               6557 Garden Rd. Ste. 14                               Riviera Beach    FL          33404    10/2/2020
coincloud3388   ColeKepro 3.0      145374                         4.92E+12                           Warehouse      118977                                                                                                                                                10/2/2020
coincloud3371   ColeKepro 3.0      145982                         4.92E+12                           Warehouse      124354           Buck's Moving and Storage                2011 Avenue C                                         Lubbock          TX           79404   10/2/2020
coincloud3111   ColeKepro 3.0      145565                         4.92E+12                           Warehouse      124440           Diversified Warehouse Inc                241 S Grandview                                       Odessa           TX           79761   10/2/2020
coincloud2697   ColeKepro 2.0      145232                                          Sloan, NV         Warehouse                       Sloan                                    Sloan                                                 Sloan            Sloan   Sloan        8/28/2020
coincloud2229   ColeKepro 3.0      144262                         4.92E+12                           Warehouse      117866           CCHQ                                                                                                                                 10/2/2020
coincloud2032   ColeKepro 3.0      144067                         4.92E+12                           Warehouse      129139           CCHQ                                                                                                                                 10/2/2020
coincloud2977   ColeKepro 3.0      145586                         4.92E+12                           Warehouse      120222                                                                                                                                                10/2/2020
coincloud3374   ColeKepro 3.0      145972                         4.92E+12                           Warehouse      124616          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud3387   ColeKepro 3.0      145994                         4.92E+12                         Decommissioned                   Decommissioned                                                                                                                        10/2/2020
coincloud2342   ColeKepro 3.0      144295                         4.92E+12                           Warehouse      129238          CCHQ                                                                                                                                  10/2/2020
coincloud2311   ColeKepro 3.0      144329                         4.92E+12                           Warehouse      120203          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud3330   ColeKepro 3.0      145959        145959.USA       4.92E+12                             Active       119511   119511 7-Eleven                                  1410 Market St                                        Wheeling         WV          26003    10/2/2020
coincloud2127   ColeKepro 3.0      144162                         4.92E+12                           Warehouse      118279          Central M&S / Lanza Trucking              2002 Directors Row                                    Orlando          FL          32809    10/2/2020
coincloud2200   ColeKepro 3.0      144235                         4.92E+12                           Warehouse      123125          CCHQ                                                                                                                                  10/2/2020
coincloud2190   ColeKepro 3.0      144225                         4.92E+12                           Warehouse      120235          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud3252   ColeKepro 3.0      145821        145821.USA       4.92E+12       Las Vegas, NV         Active       135674   135674 H-E-B                                     14028 N US-183                                        Austin           TX          78717    10/2/2020
coincloud2099   ColeKepro 3.0      144134                         4.92E+12                           Warehouse                      CCHQ                                                                                                                                  10/2/2020
coincloud2137   ColeKepro 3.0      144172                         4.92E+12                           Warehouse      126755          CCHQ                                                                                                                                  10/2/2020
coincloud2978   ColeKepro 3.0      145682                         4.92E+12                             Active       151392   151392 Cumberland Farms                          31 Elm St                                             Deerfield        MA           1373    10/2/2020
coincloud3013   ColeKepro 3.0      145537                         4.92E+12                           Warehouse      121572          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud3234   ColeKepro 3.0      145919                         4.92E+12                           Warehouse      126648          Central M&S / Lanza Trucking              2002 Directors Row                                    Orlando          FL          32809    10/2/2020
coincloud2161   ColeKepro 3.0      144196                         4.92E+12                           Warehouse      119389          Metcalf Moving                            1255 East Highway 36                                  St. Paul         MN          55109    10/2/2020
coincloud2162   ColeKepro 3.0      144197                         4.92E+12                           Warehouse      117331          Decommissioned                                                                                                                        10/2/2020
coincloud2238   ColeKepro 3.0      144268                         4.92E+12                           Warehouse      121072          CCHQ                                                                                                                                  10/2/2020
coincloud3127   ColeKepro 3.0      145564        145564.USA        902678                              Active       136862   136862 Kona Reef Liquor & Deli                   75-6082 AliÃ¢â‚¬Ëœi Dr                                Kailua-Kona      HI          96740    10/2/2020
coincloud5813   ColeKepro 5.0      149344        149334USA        4.92E+12       Hayward, CA         Warehouse      120976          Decommissioned                                                                                                                         8/7/2021
coincloud2152   ColeKepro 3.0      144187                         4.92E+12                             Active       151588   151588 Minit Mart                                150 W Commercial St                                   Morris           IL          60450    10/2/2020
coincloud2164   ColeKepro 3.0      144199                         4.92E+12                           Warehouse      117526          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2221   ColeKepro 3.0      144256                         4.92E+12                           Warehouse      122578          CCHQ                                                                                                                                  10/2/2020
coincloud2862   ColeKepro 3.0      145391                         4.92E+12                           Warehouse      124281          Central M&S/LANZA TRUCKING                2002 Directors Row                                    Orlando          FL          32809    10/2/2020
coincloud2122   ColeKepro 3.0      144157                         4.92E+12                           Warehouse      126945          HL Distribution                           1065 Texan Trail Rd                                   Grapevine        TX          76051    10/2/2020
coincloud2859   ColeKepro 3.0      145378                         4.92E+12                           Warehouse      118041          CCHQ                                                                                                                                  10/2/2020
coincloud2110   ColeKepro 3.0      149028                         4.92E+12                           Warehouse      141714          Deadline Construction                     19475 Alford Rd                                       Magnolia         TX          77355    10/2/2020
coincloud2263   ColeKepro 3.0      144373                         4.92E+12                           Warehouse      121568          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud2271   ColeKepro 3.0      144367                         4.92E+12                           Warehouse      128666          CCHQ                                                                                                                                  10/2/2020
coincloud2189   ColeKepro 3.0      144224                         4.92E+12                           Warehouse      122850          CCHQ                                                                                                                                  10/2/2020
coincloud2117   ColeKepro 3.0      144152                         4.92E+12                             Active       123762   123762 Salt Springs Grocery                      13535 FL-19                                           Fort McCoy       FL          32134    10/2/2020
coincloud3212   ColeKepro 3.0      145760                         4.92E+12                           Warehouse      121448          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                                   Placentia        CA          92870    10/2/2020
coincloud3395   ColeKepro 3.0      145882                         4.92E+12                           Warehouse      120003          Diversified Warehouse Inc                 241 S Grandview                                       Odessa           TX          79761    10/2/2020
coincloud2350   ColeKepro 3.0      144392                         4.92E+12                           Warehouse      129610          CCHQ                                                                                                                                  10/2/2020
coincloud2185   ColeKepro 3.0      144220                          T06668                            Warehouse      123441          CCHQ                                                                                                                                  10/2/2020
coincloud1965   ColeKepro 3.0      144000                          S93153                              Active       117862                                                                                                                                                10/2/2020
coincloud3375   ColeKepro 3.0      146010                         4.92E+12                           Warehouse      124449          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
coincloud2201   ColeKepro 3.0      144236                         4.92E+12                             Active       122705   122705 Takubeh Natural Market                    20690 Williams Hwy                                    Williams         OR          97544    10/2/2020
coincloud2301   ColeKepro 3.0      144336                         4.92E+12                           Warehouse      124327          Buck's Moving and Storage                 2011 Avenue C                                         Lubbock          TX          79404    10/2/2020
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coincloud3239     ColeKepro 3.0      145912                          4.92E+12                           Warehouse   122793          Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach      FL   33404   10/2/2020
coincloud2236     ColeKepro 3.0      144270                          4.92E+12                           Warehouse   124638          Buck's Moving and Storage                 2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud2454     ColeKepro 3.0      145084                          4.92E+12                            Active     124363          Yesway                                    501 Deadwood St                     Fort Pierre        SD   57532   10/2/2020
coincloud2198     ColeKepro 3.0      144233                          4.92E+12                           Warehouse   119659          CCHQ                                                                                                          10/2/2020
coincloud3223     ColeKepro 3.0      145895                          4.92E+12                           Warehouse   121449          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia          CA   92870   10/2/2020
coincloud2234     ColeKepro 3.0      144266                          4.92E+12                           Warehouse   123547          CCHQ                                      10190 Covington Cross Dr.           Las Vegas          NV   89144   10/2/2020
coincloud3186     ColeKepro 3.0      145841                          4.92E+12                           Warehouse   126300          CCHQ                                                                                                          10/2/2020
coincloud2413     ColeKepro 3.0      144444                          4.92E+12                           Warehouse   123127          CCHQ                                                                                                          10/2/2020
coincloud3308     ColeKepro 3.0      145949                          4.92E+12                           Warehouse   118013          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia          CA   92870   10/2/2020
coincloud2206     ColeKepro 3.0      144241                          4.92E+12                           Warehouse   121893          CCHQ                                                                                                          10/2/2020
coincloud3155     ColeKepro 3.0      145753                          4.92E+12                           Warehouse   124660          Diversified Warehouse Inc                 241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2449     ColeKepro 3.0      144477        144441USA        382060174                            Active     108535   108535 BP                                        127 Jefferson St                    Waterloo           IA   50701   10/2/2020
coincloud2987     ColeKepro 3.0      145548                          4.92E+12                           Warehouse   121453          Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach      FL   33404   10/2/2020
coincloud3200     ColeKepro 3.0      145545                          4.92E+12                           Warehouse   127099          Lile International                        20427 87th Avenue South             Kent               WA   98031   10/2/2020
coincloud2235     ColeKepro 3.0      144264                          4.92E+12                           Warehouse   120025          Buck's Moving and Storage                 2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud2325     ColeKepro 3.0      144278        144278.USA        4.92E+12       Sanford, FL          Active     137538   137538 Save A Lot                                4380 66th St N                      St. Petersburg     FL   33709   10/2/2020
coincloud3394     ColeKepro 3.0      145876                          4.92E+12                           Warehouse   120166          CCHQ                                                                                                          10/2/2020
coincloud3396     ColeKepro 3.0      145999                          4.92E+12                           Warehouse   120013          Diversified Warehouse Inc                 241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2307     ColeKepro 3.0      144327                          4.92E+12                           Warehouse   124435          Buck's Moving and Storage                 2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud2207     ColeKepro 3.0      144242                          4.92E+12                           Warehouse   125248          HL Distribution                           1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3000     ColeKepro 3.0      145542                          4.92E+12                           Warehouse   117853          CCHQ                                                                                                          10/2/2020
coincloud3290     ColeKepro 3.0      145855                          4.92E+12                           Warehouse   119521          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City        MO   64161   10/2/2020
coincloud3409     ColeKepro 3.0      145977                          4.92E+12                           Warehouse   119987          Diversified Warehouse Inc                 241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2205     ColeKepro 3.0      144240                          4.92E+12                            Active     121138   121138 Seashore Mini Mart                        1437 NW Richmond Beach Rd           Shoreline          WA   98177   10/2/2020
coincloud3398     ColeKepro 3.0      146017                          4.92E+12                           Warehouse   120147          Diversified Warehouse Inc                 241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud3069     ColeKepro 3.0      145560                          4.92E+12                           Warehouse   124644          Diversified Warehouse Inc                 241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2782     ColeKepro 3.0      145441        145441USA         4.72E+12                            Active     116096   116096 Quality Star Market                       654 McBride Ave                     Woodland Park      NJ    7424   10/2/2020
coincloud4235     ColeKepro 3.0      147769        147769USA          S98803       Bighton, CO           Active     146562   146562 Thorntons                                 5310 W 10th St                      Indianapolis       IN   46224   10/2/2020
coincloud5278     ColeKepro 5.0      148809        148809.USA         s94062      MAGNOLIA,TX            Active     149665   149665 El Cortez Hotel and Casino                600 E Fremont St                    Las Vegas          NV   89101   8/7/2021
coincloud4463     ColeKepro 5.0      147997        147997.USA         S94075       Revere, MA            Active     141589   141589 Shoppers Value Foods                      6363 Hearne Ave                     Shreveport         LA   71108   8/7/2021
coincloud3870     ColeKepro 3.0      146448        146443USA          S95248                             Active     124187   124187 Allsup's Convenience Store                301 N Prince St                     Clovis             NM   88101   10/2/2020
coincloud2698     ColeKepro 3.0      145230        145230USA        354480663                            Active     138887   138887 Hot Spot                                  9332 Ocean Hwy                      Pawleys Island     SC   29585   10/2/2020
coincloud3593     ColeKepro 3.0      146155        146155USA                                             Active     130624   130624 Coborn's Buffalo                          630 Ryan's Way                      Buffalo            MN   55313   10/2/2020
coincloud2747     ColeKepro 3.0      145287                           S94980                             Active     124190                                                                                                                        10/2/2020
coincloud2538     ColeKepro 3.0      145099                           S95028                             Active     139623          HL Distribution                           1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3817     ColeKepro 3.0      146349        146349.USA         S95048                             Active     119172   119172 Veg-In-Out Market                         2301 E Sunset Rd                    Las Vegas          NV   89119   10/2/2020
coincloud3874     ColeKepro 3.0      146449        146423USA          S95110       Memphis, TN           Active     141220   141220 Piggly Wiggly                             255 McGregor Plaza                  Platteville        WI   53818   10/2/2020
coincloud3892     ColeKepro 3.0      146467        146467USA          S95164                             Active     121597   121597 ACE Cash Express                          1521 Eubank Blvd NE                 Albuquerque        NM   87112   10/2/2020
coincloud3340     ColeKepro 3.0      145957        145957.USA        4.92E+12    Kansas City, MO         Active     139091   139091 Sunnyway Food Market                      49 Warm Spring Rd                   Chambersburg       PA   17202   10/2/2020
coincloud3930     ColeKepro 3.0      146510        146510.USA         S95168                             Active     125860   125860 Spec's Wines, Spirits & Finer Foods       4970 US-290                         Austin             TX   78735   10/2/2020
coincloud5800     ColeKepro 5.0      147508                           S95177                             Active     125477   125477 Spec's Wines, Spirits & Finer Foods       5506 San Bernardo Ave               Laredo             TX   78041   8/7/2021
coincloud3899     ColeKepro 3.0      146480        146480USA          S95087    Albuquerque, NM          Active     146629   146629 Thorntons                                 10559 S Harlem Ave                  Chicago Ridge      IL   60415   10/2/2020
coincloud3909     ColeKepro 3.0      146489        146489USA          S95698                             Active     138903   138903 Hot Spot                                  5560 W US 64                        Murphy             NC   28906   10/2/2020
coincloud3895     ColeKepro 3.0      146486        146486USA          S95238                             Active     121592   121592 ACE Cash Express                          2300 N Main St                      Las Cruces         NM   88001   10/2/2020
coincloud3915     ColeKepro 3.0      146495        146495USA          S95800                             Active     138888   138888 Hot Spot                                  4641 W Hwy 76                       Marion             SC   29571   10/2/2020
coincloud3860     ColeKepro 3.0      146372                           S95299       Memphis, TN           Active     146471   146471 Thorntons                                 13010 Old Hickory Blvd              Nashville          TN   37013   10/2/2020
coincloud3695     ColeKepro 3.0      146299        146299USA          S95989                             Active     138872   138872 Hot Spot                                  371 Battleground Rd                 Cowpens            SC   29330   10/2/2020
coincloud3709     ColeKepro 3.0      146291        146291USA          S95946                             Active     123766   123766 SHOP 'n SAVE                              50 W Mill St                        Port Allegany      PA   16743   10/2/2020
coincloud2738     ColeKepro 3.0      145327                           S95388                             Active     120560   120560 Remke                                     3960 Turkeyfoot Rd                  Florence           KY   41042   10/2/2020
coincloud3692     ColeKepro 3.0      146283        146283USA          S95940                             Active     138892   138892 Hot Spot                                  1379 Red Bluff Rd                   Loris              SC   29569   10/2/2020
coincloud1932     ColeKepro 3.0      143967        143967USA        354440824                            Active     116350   116350 Chevron                                   29 W Main St                        Grantsville        UT   84029   10/2/2020
coincloud3613     ColeKepro 3.0      146203                           S95478                             Active     124358                                                                                                                        10/2/2020
coincloud3944     ColeKepro 3.0      146524        146524.USA         S95480                             Active     125455   125455 Spec's Wines, Spirits & Finer Foods       510 Barnes Dr                       San Marcos         TX   78666   10/2/2020
coincloud2553     ColeKepro 3.0      144588        145121USA         4.72E+12                            Active     115430   115430 Redner's Warehouse Markets                515 COLLEGE PARK LANE               Georgetown         DE   19947   10/2/2020
coincloud2628     ColeKepro 3.0      145154        145154.USA         S95541      Las Vegas, NV          Active     101451   101451 Tivoli Village                            400 S Rampart Blvd                  Las Vegas          NV   89145   10/2/2020
coincloud2540     ColeKepro 3.0      145101        145101USA         4.72E+12                            Active     139635   139635 Turbotville Great Value                   4680 State Route 54                 Turbotville        PA   17772   10/2/2020
coincloud2192     ColeKepro 3.0      144227                           S95567                             Active     155658   155658 Boost Mobile                              2678 E Florence Ave                 Huntington Park    CA   90255   10/2/2020
coincloud2559     ColeKepro 3.0   145112.USA                          S95619       Las Vegas, NV         Active     103101                                                                                                                        10/2/2020
coincloud2558     ColeKepro 3.0      145111         145111.USA        S95727                             Active     103537   103537 Central Mall                              200 SW C Ave                        Lawton             OK   73501   10/2/2020
coincloud623      APSM 1.1        5.42015E+14   42015000000041.US     S95638                             Active     104219   104219 Marathon                                  2091 S Sprinkle Rd                  Kalamazoo          MI   49001   9/19/2019
coincloud2202     ColeKepro 3.0      144237         144237USA         S95656                             Active     138870   138870 Hot Spot                                  2524 W Hwy 378                      Britton's Neck     SC   29546   10/2/2020
coincloud3694     ColeKepro 3.0      146269         146269USA         S95330                             Active     138875   138875 Hot Spot                                  194 E Henry St                      Spartanburg        SC   29302   10/2/2020
coincloud502      APSM 1.1        5.41537E+14   41537000000070.US     S95939                             Active     103413   103413 VA Foodmart                               3416 Jefferson Davis Hwy            Richmond           VA   23234   9/19/2019
145071.USA        ColeKepro 5.0      145071         145071.USA      3.021E+12                            Active     101551   101551 Chevron                                   1990 S Alma School Rd               Chandler           AZ   85286    8/7/2021
coincloud4329     ColeKepro 3.0      147863         147863.USA        S97799                             Active     123325   123325 One Stop Mart                             1050 S Hwy 395                      Hermiston          OR   97838   10/2/2020
coincloud4084     ColeKepro 3.0      147618         147618.USA                     Hayward, CA           Active     156151   156151 Raley's                                   4320 Arden Way                      Sacramento         CA   95864   10/2/2020
coincloud4190     ColeKepro 3.0      147724         147724USA         S98087       Bighton, CO           Active     146564   146564 Thorntons                                 2115 Hartford Ave                   Plainfield         IN   46168   10/2/2020
coincloud4337     ColeKepro 3.0      147871         147871USA         S97963                             Active     130586   130586 Ooh Vape                                  18120 E Valley Hwy                  Kent               WA   98032   10/2/2020
coincloud6175     ColeKepro 5.0      149706         146706USA       2.521E+12   City Of Industry, CA     Active     121106   121106 ACE Cash Express                          2774 Willow Ave                     Clovis             CA   93612   8/7/2021
coincloud150745   ColeKepro 5.0      159745                          4.72E+12       Sterling, VA         Active     152127   152127 Royal Farms                               7401 Moores Rd                      Brandywine         MD   20613    8/7/2021
coincloud4308     ColeKepro 3.0      147842        147842USA          S98743                             Active     139832   139832 Shop N Save                               9 W 2nd St                          Coudersport        PA   16915   10/2/2020
coincloud4217     ColeKepro 3.0      147751        147751USA          S97729        Bighton, CO          Active     146572   146572 Thorntons                                 5760 Crawfordsville Rd              Speedway           IN   46224   10/2/2020
coincloud6616     ColeKepro 5.0      150147                           T06814         Raleigh,NC          Active     141700   141700 Piggly Wiggly                             8780-A Rivers Ave N                 North Charleston   SC   29406    8/7/2021
coincloud150699   ColeKepro 5.0      150699                           T06227        St Paul, MN          Active     126820   126820 Tacoma Mall                               4502 S Steele St                    Tacoma             WA   98409    8/7/2021
coincloud6614     ColeKepro 5.0      150145        150145.USA       2.921E+12        Raleigh,NC          Active     141705   141705 Piggly Wiggly                             1620 Highmarket St                  Georgetown         SC   29440   8/7/2021
coincloud150700   ColeKepro 5.0      150700                          4.92E+12       St Paul, MN          Active     123441   123441 Wizards Keep Games                        17148 116th Ave SE                  Renton             WA   98058    8/7/2021
coincloud150695   ColeKepro 5.0      150695        150695.USA       354480498       St Paul, MN          Active     108958   108958 La Tapatia Market #2                      1025 Powell Blvd #107               Gresham            OR   97030   8/7/2021
coincloud150684   ColeKepro 5.0      150684        150684.USA                       St Paul, MN          Active     139563   139563 Cub Foods                                 8432 Tamarack Village               Woodbury           MN   55125    8/7/2021
coincloud150624   ColeKepro 5.0      150624        150624.USA        T06714         St Paul, MN          Active     141001   141001 Maynard's Food Center                     315 Main Ave                        Lake Preston       SD   57249   8/7/2021
coincloud4533     ColeKepro 5.0      148067        148067.USA                         Sloan, NV         Warehouse   126363          HL Distribution                           1065 Texan Trail Rd                 Grapevine          TX   76051   8/7/2021
coincloud5626     ColeKepro 5.0      149157                         1.821E+12         Sloan, NV         Warehouse   139535          Lile International                        20427 87th Avenue South             Kent               WA   98031   8/7/2021
coincloud6372     ColeKepro 5.0      149903                                       Kansas City,MO        Warehouse                                                                                                                                  8/7/2021
coincloud6284     ColeKepro 5.0      149815                                     City of Industry,CA     Warehouse                                                                                                                                  8/7/2021
coincloud6537     ColeKepro 5.0      150068                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6589     ColeKepro 5.0      150120                          978985       New Orleans,LA        Warehouse   121924            Maloney Moving & Storage                1420 Sams Ave. Ste A-1 , B-1        New Orleans        LA   70123    8/7/2021
coincloud6531     ColeKepro 5.0      150062                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6578     ColeKepro 5.0      150109                                        Mount Joy,PA         Warehouse                     Armstrong Relocation                    1074 E. Main Street                 Mt. Joy            PA   17552    8/7/2021
coincloud6548     ColeKepro 5.0      150079                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6545     ColeKepro 5.0      150076                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6483     ColeKepro 5.0      150014                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6523     ColeKepro 5.0      150054                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6464     ColeKepro 5.0      149995                                         Westbury,NY         Warehouse                                                                                                                                  8/7/2021
coincloud6527     ColeKepro 5.0      150058                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6213     ColeKepro 5.0      149744                                     City of Industry,CA     Warehouse                                                                                                                                  8/7/2021
coincloud6445     ColeKepro 5.0      149976                         1.821E+12       Magnolia,TX         Warehouse   147674            CCHQ                                                                                                         8/7/2021
coincloud6520     ColeKepro 5.0      150051                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud6502     ColeKepro 5.0      150033                                       New Orleans,LA        Warehouse                                                                                                                                  8/7/2021
coincloud4426     ColeKepro 5.0      147960        147960.USA        122382      Grand Rapids, MI       Warehouse   117867            CCHQ                                                                                                         8/7/2021
coincloud5663     ColeKepro 5.0      149194        149194.USA       1.821E+12    Grand Prairie, TX      Warehouse   122338            HL Distribution                         1065 Texan Trail Rd                 Grapevine          TX   76051    8/7/2021
coincloud4545     ColeKepro 5.0      148079        148079USA         941466         Nashville, TN       Warehouse   136706            CCHQ                                                                                                         8/7/2021
coincloud4495     ColeKepro 5.0      148029                          951209      Grand Rapids, MI       Warehouse   137507                                                                                                                         8/7/2021
coincloud4895     ColeKepro 5.0      148426        148426USA         951333         Magnolia, TX        Warehouse   122460          CCHQ                                                                                                           8/7/2021
coincloud4634     ColeKepro 5.0      148166                          953811     Elk Grove Village, IL   Warehouse   138288          CCHQ                                                                                                           8/7/2021
coincloud4831     ColeKepro 5.0      148362                          956788     Elk Grove Village, IL   Warehouse   130365          CCHQ                                                                                                           8/7/2021
coincloud4647     ColeKepro 5.0      148179                          956788     Elk Grove Village, IL   Warehouse   140037          Central M&S / Lanza Trucking              2002 Directors Row                  Orlando            FL   32809    8/7/2021
coincloud4876     ColeKepro 5.0      148407        148407.USA        957500        Westbury, NY          Active     103097   103097 Boston Convenience                        1912 Beacon St                      Boston             MA    2135    8/7/2021
coincloud4685     ColeKepro 5.0      148216                          957492       Sacramento, CA         Active     155657   155657 Boost Mobile                              986 S University Ave                Provo              UT   84601    8/7/2021
coincloud4580     ColeKepro 5.0      148112                          957823       New Orleans, LA       Warehouse   121917          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City        MO   64161    8/7/2021
coincloud4860     ColeKepro 5.0      148391                          957915         Dayton, OH          Warehouse   141712          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City        MO   64161    8/7/2021
coincloud5288     ColeKepro 5.0      148819                          958188        MAGNOLIA,TX          Warehouse   122403          Deadline Construction                     19475 Alford Rd                     Magnolia           TX   77355    8/7/2021
coincloud4905     ColeKepro 5.0      148436        148436.USA        958223         Magnolia, TX         Active     122721   122721 ACE Cash Express                          202 SAWDUST RD                      The Woodlands      TX   77380    8/7/2021
coincloud4839     ColeKepro 5.0      148370                          958229     Elk Grove Village, IL   Warehouse   138298          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City        MO   64161    8/7/2021
coincloud4810     ColeKepro 5.0      148341                          958779        Westbury, NY          Active     141577   141577 Lennie's Superette                        2201 Medway Rd                      Medway             ME    4460    8/7/2021
coincloud5705     ColeKepro 5.0      149236                          958931      Grand Prairie, TX      Warehouse   122191          HL Distribution                           1065 Texan Trail Rd                 Grapevine          TX   76051    8/7/2021
coincloud4586     ColeKepro 5.0      148118                          961979       New Orleans, LA       Warehouse   121899          Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1        New Orleans        LA   70123    8/7/2021
coincloud3849     ColeKepro 3.0      146425        146425.USA        964866                              Active     139272   139272 Roberts Fresh Market                      135 Robert E Lee Blvd               New Orleans        LA   70124   10/2/2020
coincloud4654     ColeKepro 5.0      148185                          977189       Sacramento,CA         Warehouse   124306                                                                                                                         8/7/2021
coincloud4722     ColeKepro 5.0      148253                          977211       Shreveport, LA         Active     135675   135675 H-E-B                                     250 University Blvd                 Round Rock         TX   78665    8/7/2021
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coincloud4616     ColeKepro 5.0         148148       148148.USA        977243          New Orleans, LA       Warehouse      121920          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX          76051     8/7/2021
coincloud4836     ColeKepro 5.0         148367                         977296        Elk Grove Village, IL     Active       150967   150967 Minit Mart                            2136 S Airport Rd                   Peoria            IL          61607     8/7/2021
coincloud4637     ColeKepro 5.0         148169                         978999        Elk Grove Village, IL   Warehouse      138292          Lile International                    20427 87th Avenue South             Kent              WA          98031     8/7/2021
coincloud5386     ColeKepro 5.0         148917       148917.USA      1.821E+12         San Antonio, TX       Warehouse      122399          Deadline Construction                 19475 Alford Rd                     Magnolia          TX          77355     8/7/2021
coincloud4651     ColeKepro 5.0         148183                         982453          Sacramento,CA         Warehouse      122790          CCHQ (In Transit)                     10190 Covington Cross Dr.           Las Vegas         NV          89144     8/7/2021
coincloud4923     ColeKepro 5.0         148454       148454.USA       A01073             Lubbock, TX           Active       127239   127239 Toot'n Totum                          1500 N Ross                         Amarillo          TX          79102     8/7/2021
coincloud4489     ColeKepro 5.0         148023       148023.USA       A01126             Revere, MA            Active       141693   141693 Price Buster                          1175 E 3rd St                       Forest            MS          39074      8/7/2021
coincloud4892     ColeKepro 5.0         148423       148423.USA       A01166             Lubbock, TX           Active       127257   127257 Toot'n Totum                          950 Buchanan                        Amarillo          TX          79101     8/7/2021
coincloud4784     ColeKepro 5.0         148315                        A08154            Westbury, NY           Active       130479   130479 Brand Cigars Newtown                  266 S Main St                       Newtown           CT           6470     8/7/2021
coincloud4897     ColeKepro 5.0         148428       148428.USA       A08254             Lubbock, TX           Active       136618   136618 Toot'n Totum                          6014 Hillside Rd                    Amarillo          TX          79109     8/7/2021
coincloud4833     ColeKepro 5.0         148364                        A08287         Elk Grove Village, IL     Active       140003   140003 Supervalue IGA                        501 Main St                         Charleston        MS          38921     8/7/2021
coincloud4622     ColeKepro 5.0         148154                        A08329         Elk Grove Village, IL     Active       138289   138289 E-Z CA$H Payday Loans                 180 Stateline Rd                    Southaven         MS          38671     8/7/2021
coincloud4508     ColeKepro 5.0         148042       148042.USA       A08360             Dayton, OH            Active       146509   146509 Thorntons                             1830 Midland Trail                  Shelbyville       KY          40065     8/7/2021
coincloud4576     ColeKepro 5.0         148108       148108.USA       A09304           New Orleans, LA         Active       144569   144569 VowellÃ¢â‚¬â„¢s Marketplace           5777 Terry Rd                       Byram             MS          39272     8/7/2021
coincloud4760     ColeKepro 5.0         148291                        A09325             Dayton, OH            Active       151384   151384 Minit Mart                            101 Houchins Ferry Rd               Brownsville       KY          42210     8/7/2021
coincloud4777     ColeKepro 5.0         148308       148308.USA       A09326            Westbury, NY           Active       119655   119655 Scott's Superette                     19 Main St                          Plumsted          NJ           8533     8/7/2021
coincloud4520     ColeKepro 5.0         148054                        A09358             Nashville, TN         Active       130349   130349 Monticello Express                    429 US-425                          Monticello        AR          71655     8/7/2021
coincloud4726     ColeKepro 5.0         148257                        A09386            Shreveport, LA         Active       151027   151027 Cumberland Farms                      4460 State Hwy                      Eastham           MA           2642     8/7/2021
coincloud4893     ColeKepro 5.0         148424       148424.USA       A09388             Lubbock, TX           Active       127224   127224 Toot'n Totum                          3609 S Washington St                Amarillo          TX          79110     8/7/2021
coincloud4925     ColeKepro 5.0         148456       148456.USA       A09395           San Antonio, TX         Active       135473   135473 H-E-B                                 2700 W Freddy Gonzalez Dr           Edinburg          TX          78539     8/7/2021
coincloud4496     ColeKepro 5.0         148030                        A09399          Grand Rapids, MI         Active       150663   150663 Cumberland Farms                      149 Granite St                      Westerly          RI           2891     8/7/2021
coincloud4748     ColeKepro 5.0         148279                        A09404            Shreveport, LA       Warehouse      149716          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX          76051     8/7/2021
coincloud4617     ColeKepro 5.0         148149       148149.USA       A09418         Elk Grove Village, IL     Active       128152   128152 Fox Lake Laundromat LLC               129 Towne Centre Ln                 Fox Lake          IL          60020     8/7/2021
coincloud202      Slabb 1.0         0310-003-1076                                                          Decommissioned   103098          Decommissioned                                                                                                   12/18/2018
coincloud4767     ColeKepro 5.0         148298                        A09436         Elk Grove Village, IL     Active       153283   153283 Minit Mart                            725 E Division St                   Coal City         IL          60416     8/7/2021
coincloud4498     ColeKepro 5.0         148032                        A09437          Grand Rapids, MI         Active       150789   150789 Cumberland Farms                      937 Broad St                        Meriden           CT           6450     8/7/2021
coincloud4646     ColeKepro 5.0         148178                        A09472         Elk Grove Village, IL     Active       134595   134595 The VR Arcade                         6055 Sky Pond Drive                 Loveland          CO          80538     8/7/2021
coincloud4590     ColeKepro 5.0         148122                        A09514             Nashville, TN       Warehouse      138287          CCHQ                                                                                                               8/7/2021
coincloud4645     ColeKepro 5.0         148177                        A09589           Sacramento, CA          Active       139628   139628 Easy Going Smoke Shop 2 llc           4636 E Grant Rd                     Tucson            AZ          85712     8/7/2021
coincloud151351   ColeKepro 5.0         151351       151351.USA       A09610             Sterling, VA          Active       152310   152310 Royal Farms                           4384 Hollins Ferry Rd               Baltimore         MD          21227     8/7/2021
coincloud151352   ColeKepro 5.0         151352       151352.USA                         Las Vegas, NV        Warehouse                      Sloan                                                                                                             8/7/2021
coincloud4828     ColeKepro 5.0         148359                        A09610         Elk Grove Village, IL   Warehouse      128156          CCHQ                                                                                                              8/7/2021
coincloud4924     ColeKepro 5.0         148455       148455.USA       A09618           San Antonio, TX         Active       125478   125478 Feldman's Liquor & Wines              3500 Pecan Blvd                     McAllen           TX          78501     8/7/2021
coincloud4867     ColeKepro 5.0         148398       148398.USA       A09652             Dayton, OH            Active       146514   146514 Thorntons                             7515 Shelbyville Rd                 Louisville        KY          40222     8/7/2021
coincloud6051     ColeKepro 5.0         149582       149582.USA      1.821E+12       City Of Industry, CA    Warehouse      121408          Ready Office Furniture                1515 N Kraemer Blvd, Unit H         Anaheim           CA          92806     8/7/2021
coincloud4686     ColeKepro 5.0         148217                        A09661            Shreveport, LA         Active       150642   150642 Cumberland Farms                      485 Waquoit Hwy                     Falmouth          MA           2536      8/7/2021
coincloud4526     ColeKepro 5.0         148060                        A09662             Nashville, TN         Active       138209   138209 Sonny's Marathon                      512 Boonehill Rd #A                 Summerville       SC          29483     8/7/2021
coincloud4588     ColeKepro 5.0         148120       148120.USA       A09667           New Orleans, LA         Active       121925   121925 ACE                                   1417 Winnsboro Road                 Monroe            LA          71202     8/7/2021
coincloud1107     ColeKepro 2.0         143142       143142.USA       A09676                                   Active       135662   135662 H-E-B                                 201 Farm to Market 685              Pflugerville      TX          78660     8/28/2020
coincloud4534     ColeKepro 5.0         148068                        A09680             Nashville, TN       Warehouse      134898          CCHQ                                                                                                              8/7/2021
coincloud4851     ColeKepro 5.0         148382                        A09687             Dayton, OH            Active       148222   148222 Mize's Thriftway                      449 N 4th St                        Clearwater        KS          67026     8/7/2021
coincloud4541     ColeKepro 5.0         148075                        A09697             Nashville, TN         Active       137111   137111 Ohmies Vape And Glass Emporium #5     1123 Hwy 412 West                   Siloam Springs    AR          72761     8/7/2021
coincloud4614     ColeKepro 5.0         148146                        A09712           New Orleans, LA       Warehouse      121919          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX          76051     8/7/2021
coincloud4956     ColeKepro 5.0         148487       148487.USA       A10755             Lubbock, TX           Active       127256   127256 Toot'n Totum                          2441 S Western                      Amarillo          TX          79109     8/7/2021
coincloud4711     ColeKepro 5.0         148242                        A10763          Grand Rapids, MI         Active       150772   150772 Cumberland Farms                      906 N Colony Rd                     Wallingford       CT           6492     8/7/2021
coincloud4841     ColeKepro 5.0         148372                        A10774             Dayton, OH          Warehouse      150457          CCHQ                                  10190 Covington Cross Dr            Las Vegas         NV          89144     8/7/2021
coincloud4473     ColeKepro 5.0         148007       148007.USA                            Sloan, NV         Warehouse      138293          Sloan                                                                                                             8/7/2021
coincloud4780     ColeKepro 5.0         148311                        A10892            Westbury, NY           Active       126514   126514 Sparkle City Laundromat               192 Division St                     Pawtucket         RI           2860     8/7/2021
coincloud5664     ColeKepro 5.0         149195       149195.USA      1.821E+12        Grand Prairie, TX      Warehouse      122196          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX          76051     8/7/2021
coincloud4695     ColeKepro 5.0         148226       148226.USA       A10929           Sacramento, CA          Active       101554   101554 Chevron                               3940 S Ironwood Dr                  Apache Junction   AZ          85120     8/7/2021
coincloud4712     ColeKepro 5.0         148243       148243.USA       A10961          Grand Rapids, MI         Active       125634   125634 The Thumb Year Round Garden Supply    8460 Algoma Ave NE ## G             Rockford          MI          49341     8/7/2021
coincloud4900     ColeKepro 5.0         148431       148431.USA       A11070           Indianapolis, IN        Active       130167   130167 Martin's IGA                          101 S Merchant St                   Effingham         IL          62401     8/7/2021
coincloud4636     ColeKepro 5.0         148168     148168USA.USA      A11124         Elk Grove Village, IL     Active       128150   128150 Pensacola Plaza Laundromat LLC        4315 N Milwaukee Ave                Chicago           IL          60641     8/7/2021
coincloud5030     ColeKepro 5.0         148561                        A11144           Indianapolis, IN        Active       151584   151584 Minit Mart                            2000 N Division St                  Morris            IL          60450     8/7/2021
coincloud4904     ColeKepro 5.0         148435                        A11152             Magnolia, TX      Decommissioned   122419          Decommissioned                                                                                                     8/7/2021
coincloud711      ColeKepro 1.0         142095       142095.USA       A11169                                   Active       101396   101396 Game Haven                            9860 700 E unit #1                  Sandy             UT          84070      5/7/2020
coincloud5786     ColeKepro 5.0         149317       149317.USA      1.821E+12            Sanford, FL        Warehouse      121417                                                                                                                            8/7/2021
coincloud4627     ColeKepro 5.0         148159       148159.USA       A11180         Elk Grove Village, IL     Active       128153   128153 Hoffman Estates Laundromat            2332 Hassell Rd                     Hoffman Estates   IL          60169     8/7/2021
coincloud4731     ColeKepro 5.0         148262                        A11186            Shreveport, LA         Active       135642   135642 H-E-B                                 641 E Hopkins St                    San Marcos        TX          78666     8/7/2021
coincloud4724     ColeKepro 5.0         148255                        A11188            Shreveport, LA         Active       148864   148864 Brooks Grocery                        4666 Nashville Hwy                  Chapel Hill       TN          37034     8/7/2021
coincloud4750     ColeKepro 5.0         148281       148281.USA       A11210            Shreveport, LA         Active       119651   119651 Mobil                                 12609 Ambaum Blvd SW                Burien            WA          98146     8/7/2021
coincloud4504     ColeKepro 5.0         148038                        A11230             Nashville, TN         Active       120822   120822 Car Stop Pre Owned Auto LLC           1035 14th St West                   Huntington        WV          25704     8/7/2021
coincloud4982     ColeKepro 5.0         148513                        A11261             Lubbock, TX           Active       127246   127246 Toot'n Totum                          2500 S Georgia St                   Amarillo          TX          79109     8/7/2021
coincloud4710     ColeKepro 5.0         148241       148241.USA       A11263          Grand Rapids, MI         Active       138203   138203 BP                                    10002 Dorchester Rd                 Summerville       SC          29485     8/7/2021
coincloud4698     ColeKepro 5.0         148229       148229.USA       A12336           Sacramento, CA          Active       144090   144090 8Ball Smoke Shop                      3203 E Anaheim St                   Long Beach        CA          90804     8/7/2021
coincloud4556     ColeKepro 5.0         148088       148088.USA       A12360             Nashville, TN         Active       130529   130529 MINIT-Mart                            86A US HWY 57                       Eagle Pass        TX          78852     8/7/2021
coincloud4884     ColeKepro 5.0         148415                        A12378             Magnolia, TX          Active       124814   124814 Game X Change                         4537 Garth Rd #Ste 106              Baytown           TX          77521      8/7/2021
coincloud4553     ColeKepro 5.0         148085       148085USA        A12396             Nashville, TN       Warehouse      136712          CCHQ                                                                                                              8/7/2021
coincloud4918     ColeKepro 5.0         148449       148449USA        A12404             Lubbock, TX         Warehouse      124394          Buck's Moving and Storage             2011 Avenue C                       Lubbock           TX          79404     8/7/2021
coincloud4696     ColeKepro 5.0         148227                        A12492           Sacramento, CA          Active       130494   130494 Fadeone Barbershop                    109 N 17th St                       Boise             ID          83702     8/7/2021
coincloud4823     ColeKepro 5.0         148354                        A12494           New Orleans, LA       Warehouse      121900          Maloney Moving & Storage              1420 Sams Ave. Ste A-1 , B-1        New Orleans       LA          70123     8/7/2021
coincloud4694     ColeKepro 5.0         148225                        A12522           Sacramento, CA          Active       137513   137513 Sunset Shaman, LLC                    1973 W Sunset Blvd #Suite J         St. George        UT          84770     8/7/2021
coincloud4656     ColeKepro 5.0         148187       148187.USA       A12641           Sacramento,CA           Active       137103   137103 Lincoln Conoco                        301 N 1st St                        Yakima            WA          98901     8/7/2021
coincloud4585     ColeKepro 5.0         148117                        A12690           New Orleans, LA       Warehouse      121915          Logic Warehouse                       4121 N Kentucky Ave.                Kansas City       MO          64161     8/7/2021
coincloud172      Lynna 1.0       BTM201803110162                    2.521E+12                             Decommissioned   108143          Decommissioned                                                                                                     1/1/2018
coincloud4640     ColeKepro 5.0         148172       148172.USA       A13248         Elk Grove Village, IL     Active       134737   134737 Best Wash Laundromat                  203 N Central Ave                   Roxana            IL          62084     8/7/2021
coincloud4818     ColeKepro 5.0         148349                        A13261             Dayton, OH            Active       140704   140704 Al's Car Wash & Exxon Happy Mart      1119 Charleston Hwy                 West Columbia     SC          29169     8/7/2021
coincloud4846     ColeKepro 5.0         148377       148377.USA       A13272              Dayton, OH           Active       120166   120166 Stripes                               101 W Yukon Rd                      Odessa            TX          79764     8/7/2021
coincloud4563     ColeKepro 5.0         148095       148095.USA       A13291           New Orleans, LA       Warehouse      121888          Maloney Moving & Storage              1420 Sams Ave. Ste A-1 , B-1        New Orleans       LA          70123     8/7/2021
coincloud1209     ColeKepro 2.0         143244       143244.USA       A13306            Las Vegas, NV          Active       120268   120268 HEB                                   949 William D. Fitch Pkwy           College Station   TX          77845     8/28/2020
coincloud282      Slabb 1.0         0310-003-1340                     A13306                               Decommissioned   101431          Decommissioned                                                                                                   12/18/2018
coincloud4927     ColeKepro 5.0         148458       148458.USA       A13315           San Antonio, TX         Active       135458   135458 H-E-B                                 3200 N 10th St                      McAllen           TX          78501     8/7/2021
coincloud4659     ColeKepro 5.0         148190       148190.USA       A13324           Sacramento,CA           Active       143733   143733 Kwik Kar Grapevine FlowerMound        3501 Grapevine Mills Blvd N         Grapevine         TX          76051     8/7/2021
coincloud4666     ColeKepro 5.0         148197       148197.USA       A13335           Sacramento, CA          Active       104192   104192 Shell                                 1355 S Main St                      Cedar City        UT          84720     8/7/2021
coincloud171      Lynna 1.0         BTM000004312                      A13398                               Decommissioned   101564          Decommissioned                                                                                                     1/1/2018
coincloud5343     ColeKepro 5.0         148874                        A13414                 Other             Active       128170   128170 Rimrock Mall                          300 S 24th St W                     Billings          MT          59102      8/7/2021
coincloud4652     ColeKepro 5.0         148184                        A13452           Sacramento,CA       Decommissioned   128062          Decommissioned                                                                                                     8/7/2021
coincloud4972     ColeKepro 5.0         148503                        A14350           Indianapolis, IN        Active       150453   150453 Minit Mart                            1201 Paris Rd                       Mayfield          KY           42066    8/7/2021
coincloud4655     ColeKepro 5.0         148186       148186.USA       A14388           Sacramento,CA           Active       134894   134894 13th Market Eugene                    410 W 13th Ave                      Eugene            OR           97401    8/7/2021
coincloud4687     ColeKepro 5.0         148218                        A14506            Shreveport, LA         Active       128337   128337 Experimax Leesburg                    521 E Market St Suite D             Leesburg          VA           20176     8/7/2021
coincloud4741     ColeKepro 5.0         148272                        A14515            Shreveport, LA         Active       150607   150607 Cumberland Farms                      923 Shawmut Ave                     New Bedford       MA            2746     8/7/2021
coincloud4782     ColeKepro 5.0         148313       148313.USA       A14545            Westbury, NY           Active       140708   140708 Applebee's Superette                  248 Cardville Rd                    Greenbush         ME            4418    8/7/2021
coincloud526      APSM 1.1           5.41539E+14 41539000000019.US    A14632                                   Active       103194   103194 Smile Mart                            5668 W Market St                    Greensboro        NC           27409    9/19/2019
coincloud826      ColeKepro 1.0         142025                    ema-b1f1bfa70013                           Warehouse      116123          CCHQ                                  10190 Covington Cross Dr.           Las Vegas         NV           89144    5/7/2020
coincloud5725     ColeKepro 5.0         149256       149256.USA      1.821E+12        Grand Prairie, TX      Warehouse      122347          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX           76051    8/7/2021
coincloud5688     ColeKepro 5.0         149219       149219.USA      1.821E+12        Grand Prairie, TX      Warehouse      125417          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX           76051    8/7/2021
coincloud5369     ColeKepro 5.0         148900       148900USA       1.821E+12        Grand Prairie, TX      Warehouse      122200          HL Distribution                       1065 Texan Trail Rd                 Grapevine         TX           76051    8/7/2021
coincloud2285     ColeKepro 3.0         144359                        A11152                                   Active       125443   125443 Spec's Wines, Spirits & Finer Foods   5720 New Territory Blvd             Sugar Land        TX           77479    10/2/2020
coincloud2855     ColeKepro 2.0         145395                                             Sloan, NV         Warehouse                      Sloan                                 Sloan                               Sloan             Sloan   Sloan        8/28/2020
coincloud790      ColeKepro 1.0         149467                       354450362                               Warehouse                      Loss Event                                                                                                        5/7/2020
coincloud1800     ColeKepro 3.0         143835                       354480268                               Warehouse      115248          CCHQ                                                                                                              10/2/2020
coincloud2452     ColeKepro 3.0         144486       150695.USA      354480498                               Warehouse      108958          Lile International                    20427 87th Avenue South             Kent              WA          98031     10/2/2020
coincloud1560     ColeKepro 3.0         148704                       382280318                               Warehouse                      CCHQ                                                                                                              10/2/2020
145442.USA        ColeKepro 5.0         145442       145442.USA        S10609                                  Active       101490   101490 US Gas                                6100 W Charleston Blvd              Las Vegas         NV          89146      8/7/2021
coincloud4608     ColeKepro 5.0         148140       148140.USA        S12697          New Orleans, LA         Active       121898   121898 ACE Cash Express                      1028 Manhattan Blvd                 Harvey            LA          70058     8/7/2021
coincloud151096   ColeKepro 5.0         151096       151096.USA        S12703            Sterling, VA          Active       152288   152288 Royal Farms                           15 Hanover Pike                     Reisterstown      MD          21136     8/7/2021
coincloud243      Slabb 1.0         0310-003-1241                    354480603                             Decommissioned   101568   101568 Decommissioned                                                                                                   12/18/2018
coincloud4546     ColeKepro 5.0         148080       148080.USA        S12736            Nashville, TN         Active       137108   137108 Ohmies Vape and Glass Emporium #2     3600 SE Guess Who Drive #12         Bentonville       AR          72712     8/7/2021
coincloud55       Lynna 1.0       BTM201712150032                    354430566                             Decommissioned   103256          Decommissioned                                                                                                     1/1/2018
coincloud4761     ColeKepro 5.0         148292       148292.USA        S12766             Dayton, OH           Active       144092   144092 Smok Box                              4145 Lawrenceville Hwy #9           Lilburn           GA          30047     8/7/2021
coincloud140      Lynna 1.0       BTM201803110151                      S12784                              Decommissioned   101533          Decommissioned                                                                                                     1/1/2018
coincloud151044   ColeKepro 5.0         151044       151044.USA        S17316            Sterling, VA          Active       152126   152126 6202 Annapolis Rd                     6202 Annapolis Rd                   Hyattsville       MD          20784     8/7/2021
coincloud4796     ColeKepro 5.0         148327                         S17512           Westbury, NY           Active       130504   130504 Pemberton Farms Marketplace           2225 Massachusetts Ave              Cambridge         MA           2140     8/7/2021
coincloud4664     ColeKepro 5.0         148195       148195.USA        S17523          Sacramento, CA          Active       142341   142341 Knox Fast Break                       3434 W Alameda Ave                  Denver            CO          80219     8/7/2021
coincloud4624     ColeKepro 5.0         148156       148156.USA        S17525        Elk Grove Village, IL     Active       128154   128154 Mundelein Laundromat                  658 S Lake St                       Mundelein         IL          60060     8/7/2021
coincloud4919     ColeKepro 5.0         148450       148450.USA        S17547            Lubbock, TX           Active       127274   127274 Toot'n Totum                          1421 N Western Ave                  Liberal           KS          67901     8/7/2021
coincloud4708     ColeKepro 5.0         148239                         S17551          Sacramento, CA          Active       145208   145208 tobacco & vapor macon                 5033 Brookhaven Rd ##1000           Macon             GA          31206     8/7/2021
coincloud150956   ColeKepro 5.0         150956       150956.USA        S17628            Sterling, VA          Active       152260   152260 Royal Farms                           7201 Baltimore Annapolis Blvd       Glen Burnie       MD          21061     8/7/2021
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coincloud4621     ColeKepro 5.0        148153                       S17628     Elk Grove Village, IL   Warehouse      126961          CCHQ                                                                                                         8/7/2021
coincloud6526     ColeKepro 5.0        150057       150057.USA      S17649       New Orleans,LA          Active       144575   144575 Cash Saver                              807 MS-16 W                          Carthage           MS   39051   8/7/2021
coincloud4506     ColeKepro 5.0        148040       148040USA       S17717         Nashville, TN       Warehouse      130388                                                                                                                       8/7/2021
coincloud4862     ColeKepro 5.0        148393                       S17744         Dayton, OH            Active       150957   150957 Minit Mart                              1679 KY-192                          London             KY   40741   8/7/2021
coincloud4717     ColeKepro 5.0        148248                       S17773        Shreveport, LA         Active       148866   148866 Brooks Grocery                          600 Battleground Dr                  Iuka               MS   38852   8/7/2021
coincloud4793     ColeKepro 5.0        148324       148324.USA      S19997        Westbury, NY           Active       136310   136310 Vista Foods                             376 S Main St ##3722                 Laconia            NH    3246   8/7/2021
coincloud179      Lynna 1.0       BTM201803110155                   S20003                           Decommissioned   101495          Decommissioned                                                                                                1/1/2018
coincloud369      APSM 1.1          5.41325E+14 41325000000037.US   S20003                               Active       103373   103373 BP                                      15260 Veterans Memorial Pkwy         Wentzville         MO   63385   9/19/2019
coincloud4852     ColeKepro 5.0        148383       148383.USA      S20033         Dayton, OH            Active       139991   139991 Ken's SuperFair Foods & Shell Express   2105 6th Ave SE                      Aberdeen           SD   57401   8/7/2021
coincloud421      APSM 1.1          5.41535E+14 41535000000039.US   S20053                               Active       101584   101584 7-Eleven                                825 N Nevada Ave                     Colorado Springs   CO   80903   9/19/2019
150066.USA        ColeKepro 5.0        150066       150066.USA      S20196       New Orleans,LA          Active       144560   144560 Vowell's Marketplace                    820 MS-35 N                          Forest             MS   39074   8/7/2021
coincloud4795     ColeKepro 5.0        148326       148326.USA      S20248        Westbury, NY           Active       136869   136869 Big Bunny Market                        942 Main St                          Southbridge        MA    1550   8/7/2021
coincloud4683     ColeKepro 5.0        148214       148214.USA      S20307       Sacramento, CA          Active       153988   153988 Boost Mobile                            150 S State St                       Orem               UT   84058   8/7/2021
coincloud7        Lynna 1.0        BTM000004335                                                      Decommissioned   101451          Decommissioned                                                                                                1/1/2018
coincloud4491     ColeKepro 5.0        148025                        S20413        Revere, MA            Active       126511   126511 Ahart's Market                          326 S Walnut St                      Bath               PA   18014   8/7/2021
coincloud4776     ColeKepro 5.0        148307                        S20427       Westbury, NY           Active       129736   129736 JJL Multiservices llc                   271 S Main St                        Woonsocket         RI    2895   8/7/2021
coincloud4589     ColeKepro 5.0        148121       148121.USA       S27689    Elk Grove Village, IL     Active       138285   138285 Main Street Market                      15 W Main St                         Ferron             UT   84523   8/7/2021
coincloud4738     ColeKepro 5.0        148269                        S27817       Shreveport, LA         Active       150639   150639 Cumberland Farms                        119 MA-6A                            Orleans            MA    2653   8/7/2021
coincloud4424     ColeKepro 5.0        147958                        S27894     Grand Rapids, MI         Active       150848   150848 Cumberland Farms                        290 County St                        Attleboro          MA    2703   8/7/2021
coincloud3011     ColeKepro 3.0        145543       145543.USA      4.92E+12                             Active       117738   117738 Pro-Play Games                          1405 SW 107th Ave #202c              Miami              FL   33174   10/2/2020
coincloud4729     ColeKepro 5.0        148260                        S28003       Shreveport, LA         Active       150810   150810 Cumberland Farms                        400 E Falmouth Hwy                   Falmouth           MA    2536   8/7/2021
coincloud4693     ColeKepro 5.0        148224       148224.USA       S29182      Sacramento, CA          Active       137511   137511 Cisco Smoke Shop                        1216 W University Dr                 Mesa               AZ   85201   8/7/2021
coincloud4840     ColeKepro 5.0        148371                        S30544        Dayton, OH            Active       144089   144089 Broward Meat & Fish of Pembroke Pines   8030 Pines Blvd                      Pembroke Pines     FL   33024   8/7/2021
coincloud2951     ColeKepro 3.0        145602                       4.72E+12                           Warehouse      113866          CCHQ                                                                                                         10/2/2020
coincloud4857     ColeKepro 5.0        148388                        S30590        Dayton, OH            Active       146545   146545 Thorntons                               605 Lyndon Ln                        Louisville         KY   40222   8/7/2021
coincloud4842     ColeKepro 5.0        148373       148373.USA       S30611        Dayton, OH            Active       146535   146535 Thorntons                               13314 Shelbyville Rd                 Louisville         KY   40223   8/7/2021
coincloud4747     ColeKepro 5.0        148278                        S32152       Shreveport, LA         Active       128476   128476 East County Thriftway                   325 S 5th St                         Elma               WA   98541   8/7/2021
coincloud4801     ColeKepro 5.0        148332       148332.USA       S32344       Westbury, NY           Active       136229   136229 Star City IGA Foodliner                 247 Main St                          Presque Isle       ME    4769   8/7/2021
coincloud5079     ColeKepro 5.0        148610                        S33372        Lubbock, TX           Active       127232   127232 Toot'n Totum                            3522 River Rd                        Amarillo           TX   79107   8/7/2021
coincloud4587     ColeKepro 5.0        148119                        S30560      New Orleans, LA       Warehouse      121891                                                                                                                       8/7/2021
coincloud4663     ColeKepro 5.0        148194       148194.USA       S33496      Sacramento, CA          Active       141985   141985 Boulevard Laundromat                    785 E St George Blvd                 St. George         UT   84770   8/7/2021
coincloud4635     ColeKepro 5.0        148167     148167USA.USA      S33514    Elk Grove Village, IL     Active       136788   136788 Kingfisher Market                       143 Davis Rd                         Happy Camp         CA   96039   8/7/2021
coincloud4791     ColeKepro 5.0        148322       148322.USA       S33547       Westbury, NY           Active       103092   103092 Kirsch Liquors                          646 Main St                          Worcester          MA    1608   8/7/2021
coincloud4702     ColeKepro 5.0        148233                        851051      Sacramento, CA        Warehouse      130141                                                                                                                       8/7/2021
coincloud4523     ColeKepro 5.0        148057                        S33556        Nashville, TN         Active       125113   125113 Area 51 STL                             6901 Gravois Ave                     St. Louis          MO   63116   8/7/2021
coincloud4816     ColeKepro 5.0        148347                        S33618        Dayton, OH            Active       146503   146503 Thorntons                               441 Redding Rd                       Lexington          KY   40517   8/7/2021
coincloud4890     ColeKepro 5.0        148421       148421.USA       S33628        Magnolia, TX        Warehouse      122390          Deadline Construction                   19475 Alford Rd                      Magnolia           TX   77355   8/7/2021
coincloud4961     ColeKepro 5.0        148492       148492.USA       S33630      Indianapolis, IN        Active       130376   130376 Needler's Fresh Market                  4775 E 126th St                      Carmel             IN   46033   8/7/2021
coincloud4848     ColeKepro 5.0        148379       148379.USA       S33726        Dayton, OH            Active       146515   146515 Thorntons                               4740 Chamberlain Ln                  Louisville         KY   40241   8/7/2021
coincloud4709     ColeKepro 5.0        148240                        S33804      Sacramento, CA        Warehouse      130612          CCHQ                                                                                                         8/7/2021
coincloud4690     ColeKepro 5.0        148221       148221.USA       S34869      Sacramento, CA          Active       103501   103501 Portland Food Mart #2                   7474 SE 72nd Ave                     Portland           OR   97206   8/7/2021
coincloud4691     ColeKepro 5.0        148222       148222USA        A11229      Sacramento, CA          Active       144093   144093 Vape Stop                               6399 Jimmy Carter Blvd               Norcross           GA   30071   8/7/2021
coincloud4324     ColeKepro 3.0        147858       147858.USA       S39485                              Active       128849   128849 Okie's Thriftway Market                 1820 Bay Ave                         Ocean Park         WA   98640   10/2/2020
coincloud4445     ColeKepro 5.0        147979                        S39800     Grand Rapids, MI         Active       150796   150796 Cumberland Farms                        1855 Berlin Turnpike                 Wethersfield       CT    6109   8/7/2021
coincloud4661     ColeKepro 5.0        148192       148192USA        S40751      Sacramento, CA        Warehouse      126248          CCHQ                                                                                                         8/7/2021
coincloud5052     ColeKepro 5.0        148583                        S44308      Indianapolis, IN        Active       151585   151585 Minit Mart                              17100 W Laraway Rd                   Joliet             IL   60433   8/7/2021
coincloud4950     ColeKepro 5.0        148481                        S44501      Indianapolis, IN        Active       130137   130137 California Marketplace                  3501 Shortcut Rd                     California         KY   41007   8/7/2021
coincloud5028     ColeKepro 5.0        148559       148559USA        S44627      Indianapolis, IN        Active       126365          ATM Advisory                            9402 Uptown Drive, Suite 300         Indianapolis       IN   46256   8/7/2021
coincloud4971     ColeKepro 5.0        148502       148502USA        S44692      Indianapolis, IN      Warehouse      127596          CCHQ                                                                                                         8/7/2021
coincloud4304     ColeKepro 3.0        147838                        S45477                              Active       140877   140877 Shoppers Value Foods                    501 A Main St                        Kenbridge          VA   23944   10/2/2020
coincloud4385     ColeKepro 4.0        147919                        S46499                            Warehouse      124034          Buck's Moving and Storage               2011 Avenue C                        Lubbock            TX   79404   6/15/2021
coincloud6356     ColeKepro 5.0        149887       149887.USA       S47012        Magnolia,TX           Active       103314   103314 Pick-Quick Mini Market                  5820 Hwy 6 N                         Houston            TX   77084   8/7/2021
coincloud4719     ColeKepro 5.0        148250       148250.USA       S47013       Shreveport, LA         Active       135616   135616 H-E-B                                   1505 E Rio Grande St                 Victoria           TX   77901   8/7/2021
coincloud4618     ColeKepro 5.0        148150       148150USA        S47027    Elk Grove Village, IL   Warehouse      134733          CCHQ                                                                                                         8/7/2021
coincloud5919     ColeKepro 5.0        149450                                       Sloan, NV          Warehouse                      Sloan                                                                                                        8/7/2021
coincloud4605     ColeKepro 5.0        148137       148137.USA      S47028       New Orleans, LA         Active       141101   141101 Sullivan's Grocery                      718 Ave G                            Kentwood           LA   70444   8/7/2021
coincloud4814     ColeKepro 5.0        148345                       S47073         Dayton, OH            Active       147545   147545 Midway Convenience Store                101 MS-404                           Grenada            MS   38901   8/7/2021
coincloud4985     ColeKepro 5.0        148516       148516.USA      S47134      Riviera Beach, FL        Active       126913   126913 Food Depot                              1201 W Taylor St                     Griffin            GA   30223   8/7/2021
coincloud4602     ColeKepro 5.0        148134                       S47186         Dayton, OH            Active       146516   146516 Thorntons                               4900 Brownsboro Rd                   Louisville         KY   40222   8/7/2021
coincloud4868     ColeKepro 5.0        148399                       S47218         Dayton, OH            Active       145530   145530 Fall River Mini Mart                    837 Bay St                           Fall River         MA    2724   8/7/2021
coincloud4671     ColeKepro 5.0        148202       148202.USA      S47277       Sacramento, CA          Active       137186   137186 CBD7                                    3601 Digital Dr #Suite 208           Lehi               UT   84043   8/7/2021
coincloud4806     ColeKepro 5.0        148337       148337.USA      S47335        Westbury, NY           Active       136307   136307 Berlin Marketplace                      19 Pleasant St                       Berlin             NH    3570   8/7/2021
coincloud5007     ColeKepro 5.0        148538       148538.USA      S47350         Magnolia, TX          Active       122415   122415 ACE Cash Express                        1400 Graham Dr                       Tomball            TX   77375   8/7/2021
coincloud5342     ColeKepro 5.0        148873                       S47361            Other              Active       127464   127464 Hava Gas                                2085 Palo Verde Blvd N               Lake Havasu City   AZ   86404   8/7/2021
coincloud4882     ColeKepro 5.0        148413       148413.USA      S47364         Magnolia, TX          Active       135618   135618 H-E-B                                   306 N Mechanic St                    El Campo           TX   77437   8/7/2021
coincloud4809     ColeKepro 5.0        148340       148340.USA      S47370        Westbury, NY           Active       101602   101602 Sip NÃ¢â‚¬â„¢ Scratch Mini Mart         701 Plantation St                    Worcester          MA    1605   8/7/2021
coincloud4757     ColeKepro 5.0        148288                       S47376        Shreveport, LA         Active       145836   145836 Farmer's Country Market                 204 S 6th St #2718                   Lamar              CO   81052   8/7/2021
coincloud4788     ColeKepro 5.0        148319     148319USA.USA     S47408        Westbury, NY           Active       141581   141581 Bradford General Store                  450 Main Rd                          Bradford           ME    4410   8/7/2021
coincloud4512     ColeKepro 5.0        148046                       S47417         Nashville, TN       Warehouse      138286                                                                                                                       8/7/2021
coincloud4735     ColeKepro 5.0        148266                       S47427        Shreveport, LA         Active       149123   149123 Malcom Gas and Food                     203 Montezuma St                     Malcom             IA   50157   8/7/2021
coincloud4980     ColeKepro 5.0        148511       148511.USA      S47456         Lubbock, TX           Active       127230   127230 Toot'n Totum                            2615 S Grand St                      Amarillo           TX   79103   8/7/2021
coincloud4874     ColeKepro 5.0        148405                       S47476       San Antonio, TX         Active       135464   135464 H-E-B                                   2950 Southmost Road                  Brownsville        TX   78521   8/7/2021
coincloud4689     ColeKepro 5.0        148220                       S49499        Shreveport, LA         Active       143957   143957 Spec's                                  2124 Boca Chica Blvd                 Brownsville        TX   78521   8/7/2021
coincloud4907     ColeKepro 5.0        148438       148438USA       S49506         Magnolia, TX        Warehouse      136295          CCHQ                                                                                                         8/7/2021
coincloud4844     ColeKepro 5.0        148375       148375.USA      S49522         Dayton, OH            Active       103803   103803 R&S Midway Market                       505 Sugar Creek Rd                   Delavan            WI   53115   8/7/2021
coincloud4834     ColeKepro 5.0        148365       148365USA       S49530     Elk Grove Village, IL   Warehouse      128149                                                                                                                       8/7/2021
coincloud4612     ColeKepro 5.0        148144       148144.USA      S49536       New Orleans, LA         Active       121926   121926 ACE                                     701 S Vienna St                      Ruston             LA   71270   8/7/2021
coincloud4920     ColeKepro 5.0        148451                       S49824         Lubbock, TX           Active       125704   125704 Main Street Market                      I, 20 Exit 73,                       Wickett            TX   79788   8/7/2021
coincloud4751     ColeKepro 5.0        148282                       S49827        Shreveport, LA         Active       150767   150767 Cumberland Farms                        583 Nashua St                        Milford            NH    3055   8/7/2021
coincloud5029     ColeKepro 5.0        148560                       S49841       Indianapolis, IN        Active       120920   120920 Brooklyn Mini Mart                      2618 Brooklyn Ave                    Fort Wayne         IN   46802   8/7/2021
coincloud4853     ColeKepro 5.0        148384       148384.USA      S49847         Dayton, OH            Active       146541   146541 Thorntons                               10320 Westport Rd                    Louisville         KY   40241   8/7/2021
coincloud4908     ColeKepro 5.0        148439       148439.USA      S49849      Riviera Beach, FL        Active       129123   129123 Total Wireless Store                    2816 SW Port St Lucie Blvd           Port St. Lucie     FL   34953   8/7/2021
coincloud151042   ColeKepro 5.0        151042                                      Sterling, VA        Warehouse                      Victory Vans                            130 Terminal Drive                   Sterling           VA   20166   8/7/2021
coincloud4650     ColeKepro 5.0        148182                        S49852      Sacramento,CA         Warehouse      126249          CCHQ                                                                                                         8/7/2021
coincloud4811     ColeKepro 5.0        148342                        S49856       Westbury, NY           Active       136309   136309 Sully's Superette                       10 N Mast St                         Goffstown          NH    3045   8/7/2021
coincloud3240     ColeKepro 3.0        145765                       4.92E+12                           Warehouse      125971          CCHQ                                                                                                         10/2/2020
coincloud4577     ColeKepro 5.0        148109       148109.USA       S63089      New Orleans, LA         Active       121918   121918 ACE                                     2060 O'Neal Ln                       Baton Rouge        LA   70816   8/7/2021
coincloud4807     ColeKepro 5.0        148338       148338.USA       S63124       Westbury, NY           Active       141579   141579 P&L Country Market                      514 Corinna Rd                       Dexter             ME    4930   8/7/2021
coincloud4558     ColeKepro 5.0        148090       148090.USA       S63241        Dayton, OH            Active       143254   143254 Cell Tech Repair                        129 Danbury Rd                       New Milford        CT    6776   8/7/2021
coincloud4697     ColeKepro 5.0        148228       148228USA        S63493      Sacramento, CA Decommissioned        123769          Decommissioned                                                                                                8/7/2021
coincloud4873     ColeKepro 5.0        148404       148404.USA       S63629      San Antonio, TX         Active       125463   125463 Feldmans Liquor & Wines                 3010 N 10th St                       McAllen            TX   78501   8/7/2021
coincloud4503     ColeKepro 5.0        148037       148037.USA       S63805        Dayton, OH            Active       146531   146531 Thorntons                               14101 Shelbyville Rd                 Louisville         KY   40245   8/7/2021
coincloud4454     ColeKepro 5.0        147988                        S69561     Grand Rapids, MI         Active       150646   150646 Cumberland Farms                        232 Winthrop St                      Rehoboth           MA    2769   8/7/2021
coincloud4771     ColeKepro 5.0        148302       148302.USA       S78535       Westbury, NY           Active       137184   137184 SMOKE n MUNCH                           348 Grafton St                       Worcester          MA    1604   8/7/2021
coincloud150942   ColeKepro 5.0        150942       150942.USA       S78573        Sterling, VA          Active       152218   152218 Royal Farms                             3505 Washington Blvd                 Arbutus            MD   21227   8/7/2021
coincloud4872     ColeKepro 5.0        148403                        S78573      San Antonio, TX         Active       135462   135462 H-E-B                                   1628 Central Blvd                    Brownsville        TX   78520   8/7/2021
coincloud4443     ColeKepro 5.0        147977       147977.USA       S79465     Grand Rapids, MI         Active       147917   147917 M&V Convenience                         2250 Rte 16                          West Ossipee       NH    3890   8/7/2021
coincloud4715     ColeKepro 5.0        148246       148246.USA       S79715     Grand Rapids, MI         Active       151112   151112 Cumberland Farms                        1131 G.A.R. Highway                  Swansea            MA    2777   8/7/2021
coincloud4871     ColeKepro 5.0        148402       148402.USA       S79725       Westbury, NY           Active       103094   103094 Hemenway Variety                        95 Westland Ave                      Boston             MA    2115    8/7/2021
coincloud4843     ColeKepro 5.0        148374                        S79732        Dayton, OH            Active       146513   146513 Thorntons                               9400 Westport Rd                     Louisville         KY   40241   8/7/2021
coincloud4642     ColeKepro 5.0        148174                        S79785    Elk Grove Village, IL     Active       128151   128151 La PeÃƒÂ±a Coin Laundry (Lavanderia)    2456 S Kedzie Ave                    Chicago            IL   60623   8/7/2021
coincloud4880     ColeKepro 5.0        148411                        S82691        Lubbock, TX           Active       127240   127240 Toot'n Totum                            3601 W 45th                          Amarillo           TX   79109   8/7/2021
coincloud4313     ColeKepro 3.0        147847                        S83596                              Active       139099   139099 Sam and Sam's                           851 Upland Ave                       Chester            PA   19013   10/2/2020
coincloud4692     ColeKepro 5.0        148223                        S83597     Grand Rapids, MI         Active       150782   150782 Cumberland Farms                        6 Old Windsor Rd                     Bloomfield         CT    6002   8/7/2021
coincloud4865     ColeKepro 5.0        148396                        S83645        Dayton, OH            Active       150723   150723 Minit Mart                              99 S Dixie Hwy                       Cave City          KY   42127   8/7/2021
coincloud4321     ColeKepro 3.0        147855       147855.USA       S85427                              Active       122180   122180 Chevron                                 1001 N 16th Ave                      Yakima             WA   98902   10/2/2020
coincloud4575     ColeKepro 5.0        148107       148107USA        S85430      New Orleans, LA       Warehouse      121910          Maloney Moving & Storage                1420 Sams Ave. Ste A-1 , B-1         New Orleans        LA   70123   8/7/2021
coincloud4657     ColeKepro 5.0        148188       148188.USA       S85438      Sacramento,CA           Active       139990   139990 Sunflower IGA                           Hwy 12 East                          Lexington          MS   39095   8/7/2021
coincloud4684     ColeKepro 5.0        148215                        S85443      Sacramento, CA          Active       144085   144085 Cherry Asian Market                     8304 NW 39th Expy                    Bethany            OK   73008   8/7/2021
coincloud4524     ColeKepro 5.0        148058                        S85451        Nashville, TN       Warehouse      129544          CCHQ                                                                                                          8/7/2021
coincloud4677     ColeKepro 5.0        148208                        S85465      Sacramento, CA          Active       130518   130518 Okanogan Market IGA                     310 2nd Ave S                        Okanogan           WA   98840   8/7/2021
coincloud4858     ColeKepro 5.0        148389       148389.USA       S85482        Dayton, OH            Active       141578   141578 Colorado Fast Break                     4001 Colorado Blvd                   Denver             CO   80216   8/7/2021
coincloud4682     ColeKepro 5.0        148213                        S85487      Sacramento, CA        Warehouse      137045          Lile International                      20427 87th Avenue South              Kent               WA   98031   8/7/2021
coincloud4633     ColeKepro 5.0        148165                        S85491        Dayton, OH            Active       139996   139996 Ken's SuperFair Foods & Shell Express   720 7th St                           Eureka             SD   57437   8/7/2021
coincloud4792     ColeKepro 5.0        148323                        S85502       Westbury, NY           Active       134900   134900 SPARK CITY SMOKE & VAPE                 815 Lafayette Blvd                   Bridgeport         CT    6604   8/7/2021
coincloud4572     ColeKepro 5.0        148104       148104.USA       S85513      New Orleans, LA         Active       139098   139098 Schexnayder's Supermarket               13660 LA-643                         Vacherie           LA   70090   8/7/2021
coincloud4681     ColeKepro 5.0        148212                        S85533       Shreveport, LA         Active       104257   104257 Snappy Mart 2                           1351 Madison Ave                     Memphis            TN   38104   8/7/2021
coincloud4494     ColeKepro 5.0        148028                        S85556     Grand Rapids, MI         Active       151378   151378 Cumberland Farms                        151 Silas Deane Highway              Wethersfield       CT    6109   8/7/2021
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coincloud6220     ColeKepro 5.0       149751                       S85605       Phoenix,AZ            Active       148597   148597 Neoga Market                          183 W 6th St                       Neoga            IL   62447    8/7/2021
coincloud4418     ColeKepro 5.0       147952        147952.USA     S85639       Revere, MA            Active       142373   142373 Sullivan's Grocery                    306 Franklin St                    New Hebron       MS   39140   8/7/2021
coincloud4368     ColeKepro 4.0       147902                       S85645                           Warehouse      126415          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   6/15/2021
coincloud4416     ColeKepro 5.0       147950        147950.USA     S85652       Revere, MA            Active       140980   140980 Star Food Mart                        906 Peach St                       Selmer           TN   38375    8/7/2021
coincloud4427     ColeKepro 5.0       147961                       S85667     Grand Rapids, MI        Active       150638   150638 Cumberland Farms                      291 Spielman Hwy                   Burlington       CT    6013    8/7/2021
coincloud4355     ColeKepro 4.0       147889        147889.USA     S85672                             Active       127205   127205 Nature's Oasis                        3385 Tuttle Rd ste 104             Shaker Heights   OH   44122   6/15/2021
coincloud5588     ColeKepro 5.0       149119        149119.USA     S87423         Kent, WA            Active       128176   128176 Everett Mall                          1402 SE Everett Mall Way           Everett          WA   98208    8/7/2021
coincloud4305     ColeKepro 3.0       147839        147839.USA     S87471                             Active       139090   139090 Sunnyway Food Market                  212 N Antrim Way                   Greencastle      PA   17225   10/2/2020
coincloud4306     ColeKepro 3.0       147840                       S89811                             Active       137519   137519 SHOP 'n SAVE                          115 North Mill St                  Shinglehouse     PA   16748   10/2/2020
coincloud885      ColeKepro 1.0       142044        142044.USA     S90021                             Active       160066   160066 H-E-B                                 9200 Legacy Dr                     Frisco           TX   75033   5/7/2020
coincloud759      ColeKepro 1.0       142044        142044.USA     S90021                             Active       103492   103492 Fresh N Fill                          401 S Pugh St                      State College    PA   16801   5/7/2020
coincloud4087     ColeKepro 3.0       147621                       S90021       Hayward, CA       Decommissioned   129739          Decommissioned                                                                                         10/2/2020
coincloud2498     ColeKepro 3.0       145163        145163.USA     S90068                             Active       119940   119940 Stripes                               5200 John Ben Shepperd Pkwy        Odessa           TX   79762   10/2/2020
coincloud2492     ColeKepro 3.0       145166        145166.USA     S90076                             Active       119966   119966 Stripes                               4400 Briarwood Ave                 Midland          TX   79707   10/2/2020
coincloud2795     ColeKepro 3.0       145419                       S90083                           Warehouse      109015          CCHQ                                                                                                   10/2/2020
coincloud530      APSM 1.1         5.41539E+14 41539000000023.US   S90083                             Active       103920   103920 Alexandria's Convenient Food Store    335 Woburn St                      Lexington        MA    2420   9/19/2019
coincloud2455     ColeKepro 3.0       145083                       S90087                           Warehouse      118900          CCHQ                                                                                                   10/2/2020
coincloud2496     ColeKepro 3.0       145164                       s90095                           Warehouse      120036          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud2494     ColeKepro 3.0       145165                       S90098                           Warehouse      120145          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud2490     ColeKepro 3.0       145167                       S90100                           Warehouse      119741          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud2476     ColeKepro 3.0       145077                       s90103                           Warehouse      119991          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud2800     ColeKepro 3.0       145423        145423.USA     S90107                             Active       119066   119066 Sentry Foods                          645 3rd St                         Prairie Du Sac   WI   53578   10/2/2020
coincloud2797     ColeKepro 3.0       145418        145418.USA     S90108                             Active       118183   118183 Garden Fresh Market                   955 W 75th St #185                 Naperville       IL   60565   10/2/2020
coincloud1592     ColeKepro 3.0       143627                       S90113                           Warehouse      124380          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1894     ColeKepro 3.0       143670        143929.USA     S90114                             Active       124410   124410 Allsup's Convenience Store            705 S Access Rd                    Clyde            TX   79510   10/2/2020
coincloud1635     ColeKepro 3.0       143670                       S90114                           Warehouse      124446          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1598     ColeKepro 3.0       143633                       S90115                           Warehouse      124426          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud3500     ColeKepro 3.0       146085        146085.USA     S90122                             Active       119063   119063 Best Wash Laundromat                  506 W Delmar Ave                   Alton            IL   62002   10/2/2020
coincloud2926     ColeKepro 3.0       145523                       S90124                           Warehouse      119943          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud1712     ColeKepro 3.0       143747                       S90143                             Active       124667   124667 Allsup's Convenience Store            801 E Walker St.                   Breckenridge     TX   76424   10/2/2020
coincloud3541     ColeKepro 3.0       146161                       S90147       Memphis, TN           Active       146475   146475 Thorntons                             4145 Lebanon Pike                  Nashville        TN   37076   10/2/2020
coincloud3552     ColeKepro 3.0       146101                       S90149                             Active       124592   124592 Yesway                                102 N Main St                      Kanawha          IA   50447   10/2/2020
coincloud1553     ColeKepro 3.0       143588                       S90156                             Active       124520   124520 OG SMOKE                              101 N Hampton Rd ##105             DeSoto           TX   75115   10/2/2020
coincloud2057     ColeKepro 3.0       144092                       S90158                           Warehouse      119948          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1627     ColeKepro 3.0       143662        143662.USA     S90160                             Active       125511   125511 Spec's Wines, Spirits & Finer Foods   900 E Harwood Rd                   Euless           TX   76039   10/2/2020
coincloud151344   ColeKepro 5.0       151344        151344.USA     S90161       Sterling, VA          Active       152259   152259 Royal Farms                           7701 German Hill Rd                Dundalk          MD   21222   8/7/2021
coincloud151345   ColeKepro 5.0       151345        151345.USA                 Las Vegas, NV        Warehouse                      Sloan                                                                                                   8/7/2021
coincloud1919     ColeKepro 3.0       143954        143954.USA     S90164                             Active       119428   119428 Circle K                              2200 McDermott Rd                  Plano            TX   75025   10/2/2020
coincloud151172   ColeKepro 5.0       151172        151172.USA     S90165       Sterling, VA          Active       152158   152158 10 Box Hill S Pkwy                    10 Box Hill S Pkwy                 Abingdon         MD   21009   8/7/2021
coincloud151173   ColeKepro 5.0       151173        151173.USA                 Las Vegas, NV        Warehouse                      Sloan                                                                                                   8/7/2021
coincloud3543     ColeKepro 3.0       146104                        S90171                            Active       124364   124364 Yesway                                100 6th Ave                        Edgemont         SD   57735   10/2/2020
coincloud1973     ColeKepro 3.0       144008                        S90176                          Warehouse      124671          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1625     ColeKepro 3.0       143660        143660.USA      S90177                            Active       124425   124425 Allsup's Convenience Store            1019 Coggin Ave                    Brownwood        TX   76801   10/2/2020
coincloud1874     ColeKepro 3.0       143909                        S90178                            Active       124409   124409 Allsup's Convenience Store            1401 N Norris St                   Clovis           NM   88101   10/2/2020
coincloud1806     ColeKepro 3.0       143841                        S90179                            Active       124686   124686 Allsup's Convenience Store            2819 TX-16                         Graham           TX   76450   10/2/2020
coincloud3497     ColeKepro 3.0       146056                        S90180                            Active       123627                                                                                                                 10/2/2020
coincloud3557     ColeKepro 3.0       146106        146106.USA      S90181                            Active       122177   122177 Paradise Vape Co                      190 Alamaha St #7c                 Kahului          HI   96732   10/2/2020
coincloud3502     ColeKepro 3.0       146135        146135.USA      S90182                            Active       119116   119116 University Avenue Market              2080 University Ave                Green Bay        WI   54302   10/2/2020
coincloud3523     ColeKepro 3.0       146165                        S90183                            Active       124569          Advanced Rigging LLC                  2190 Old 6 Road                    Victor           IA   52347   10/2/2020
coincloud1615     ColeKepro 3.0       143650        143650.USA      S90184                            Active       124676   124676 Allsup's Convenience Store            1153 US-377                        Pilot Point      TX   76258   10/2/2020
coincloud1977     ColeKepro 3.0       144012                        S90185                          Warehouse      124651          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1971     ColeKepro 3.0       144006        144006.USA      S90186                            Active       124627   124627 Allsup's Convenience Store            952 FM156                          Justin           TX   76247   10/2/2020
coincloud1629     ColeKepro 3.0       143664        143664.USA      S90201     Las Vegas, NV          Active       135666   135666 H-E-B                                 104 Hasler Blvd                    Bastrop          TX   78602   10/2/2020
coincloud1717     ColeKepro 3.0       143752                        S90203                            Active       125611   125611 Spec's Wines, Spirits & Finer Foods   971 J Elmer Weaver Fwy ## 400      Cedar Hill       TX   75104   10/2/2020
coincloud1735     ColeKepro 3.0       143770                        S90205                            Active       119406   119406 Circle K                              5526 E R L Thornton Fwy            Dallas           TX   75223   10/2/2020
coincloud1996     ColeKepro 3.0       144031        144031.USA      S90208                            Active       124680   124680 Allsup's Convenience Store            105 W Princeton Dr                 Princeton        TX   75407   10/2/2020
coincloud1699     ColeKepro 3.0       143734                        S90209                            Active       124525   124525 Yesway                                1501 N Pacific Ave                 Iowa Park        TX   76367   10/2/2020
coincloud3491     ColeKepro 3.0       146132        146132.USA      S90210                            Active       117737   117737 A Street Corner                       1623 Park St                       Alameda          CA   94501   10/2/2020
coincloud1787     ColeKepro 3.0       143822                        S90211                            Active       119412   119412 Circle K                              8015 C F Hawn Fwy                  Dallas           TX   75217   10/2/2020
coincloud1639     ColeKepro 3.0       143674                        S90213                            Active       119421   119421 Circle K                              100 E Navarro Ave                  De Leon          TX   76444   10/2/2020
coincloud5048     ColeKepro 5.0       148579        148579.USA      S90217     Indianapolis, IN       Active       126057   126057 bp                                    3000 Linden Ave                    Dayton           OH   45410    8/7/2021
coincloud3492     ColeKepro 3.0       146086        146086.USA      S90218                            Active       119758   119758 Brackett's Market IGA                 185 Front St                       Bath             ME    4530   10/2/2020
coincloud1613     ColeKepro 3.0       143648        143648.USA      S90219                            Active       124674   124674 Allsup's Convenience Store            1600 Northwest Parkway             Azle             TX   76020   10/2/2020
coincloud3312     ColeKepro 3.0   No serial # found                4.92E+12                         Warehouse      136305          CCHQ                                                                                                   10/2/2020
coincloud2000     ColeKepro 3.0       144035                        S90221                          Warehouse      124663          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud2041     ColeKepro 3.0       144076                        S90224                          Warehouse      124557          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud2038     ColeKepro 3.0       144073                        S90225                          Warehouse      124639          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1849     ColeKepro 3.0       143884                        S90227                          Warehouse      124189          HL Distribution                       1065 Texan Trail Rd                Grapevine        TX   76051   10/2/2020
coincloud1611     ColeKepro 3.0       143646        143646.USA      S90229                            Active       124421   124421 Allsup's Convenience Store            901 US-377                         Whitesboro       TX   76273   10/2/2020
coincloud2372     ColeKepro 3.0       144386                        S90230                          Warehouse      119980          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud3486     ColeKepro 3.0       146080        146080.USA      S90233    Albuquerque, NM         Active       146608   146608 Thorntons                             100 Dundee Ave                     East Dundee      IL   60118   10/2/2020
coincloud3410     ColeKepro 3.0       146001                        S90236                            Active       119765          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud1646     ColeKepro 3.0       143681                        S90239                            Active       124607   124607 Yesway                                801 S Bridge St                    Brady            TX   76825   10/2/2020
coincloud2293     ColeKepro 3.0       144340                        S90240                          Warehouse      124329          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud2168     ColeKepro 3.0       144203                       4.92E+12                         Warehouse      121825          CCHQ                                                                                                   10/2/2020
coincloud2397     ColeKepro 3.0       144412        144412.USA      S90243                            Active       120183   120183 Stripes                               411 N. Lynn Ave                    Lamesa           TX   79331   10/2/2020
coincloud2390     ColeKepro 3.0       144415        144415.USA      S90245                            Active       124549   124549 Yesway                                1015 US-54                         Guymon           OK   73942   10/2/2020
coincloud2308     ColeKepro 3.0       144328                       4.92E+12                         Warehouse      124427          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud3275     ColeKepro 3.0       145779                       4.92E+12                         Warehouse      120218          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud3480     ColeKepro 3.0       146028                        S90250                            Active       124050   124050 Allsups                               501 W McGaffey St                  Roswell          NM   88203   10/2/2020
coincloud2344     ColeKepro 3.0       144297                       4.92E+12                         Warehouse      128164          Central M&S / Lanza Trucking          2002 Directors Row                 Orlando          FL   32809   10/2/2020
coincloud3209     ColeKepro 3.0       145818                       4.92E+12                         Warehouse      121450          Coast2Coast                           6557 Garden Rd. Ste. 14            Riviera Beach    FL   33404   10/2/2020
coincloud2304     ColeKepro 3.0       144326                       4.92E+12                         Warehouse      124628          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud2295     ColeKepro 3.0       144347        144347.USA      S90254                            Active       124430   124430 Allsups                               515 S 25 Mile Ave                  Hereford         TX   79045   10/2/2020
coincloud3458     ColeKepro 3.0       146036                        S90256                            Active       124403   124403 Allsups                               712 1st St                         Olton            TX   79064   10/2/2020
coincloud3435     ColeKepro 3.0       146996        145996.USA      S90258                            Active       118009   118009 Rolling Hills Wine & Spirits          375 S Maize Rd                     Wichita          KS   67209   10/2/2020
coincloud2278     ColeKepro 3.0       144360        144360.USA      S90261                            Active       127222   127222 Toot'n Totum                          5805 S Georgia St                  Amarillo         TX   79118   10/2/2020
coincloud2300     ColeKepro 3.0       144332        144332.USA      S90263                            Active       127276   127276 Toot'n Totum                          311 23rd St                        Canyon           TX   79015   10/2/2020
coincloud2375     ColeKepro 3.0       144421                        S90265                            Active       119189   119189 High Touch Pharmacy                   344 W Grand St                     Elizabeth        NJ    7202   10/2/2020
coincloud2981     ColeKepro 3.0       145638                       4.92E+12                         Warehouse      135124          Lile International                    20427 87th Avenue South            Kent             WA   98031   10/2/2020
coincloud2373     ColeKepro 3.0       144420                        S90268                          Warehouse      120143          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud2031     ColeKepro 3.0       144066        144066.USA      S90269                            Active       124834   124834 Game X Change                         125 US-412                         Siloam Springs   AR   72761   10/2/2020
coincloud2291     ColeKepro 3.0       144326                        S90270                          Warehouse      124101          Lile International                    20427 87th Avenue South            Kent             WA   98031   10/2/2020
coincloud3534     ColeKepro 3.0       146163        146163.USA      S90271                            Active       124563   124563 Yesway                                4133 Main St                       Elk Horn         IA   51531   10/2/2020
coincloud3198     ColeKepro 3.0       145819                       4.92E+12                         Warehouse      128584          Lile International                    20427 87th Avenue South            Kent             WA   98031   10/2/2020
coincloud2382     ColeKepro 3.0       144451                        S90275                            Active       118016   118016 Get Pro Tech                          1604 7th St                        Moline           IL   61265   10/2/2020
coincloud1876     ColeKepro 3.0       143911        143911.USA      S90276                            Active       119410   119410 Circle K                              18120 Coit Rd                      Dallas           TX   75252   10/2/2020
coincloud2289     ColeKepro 3.0       144341                        S90277                            Active       125604   125604 Doc's Liquor Store                    401 West 24th Street               Plainview        TX   79072   10/2/2020
coincloud2532     ColeKepro 3.0       145053                       4.92E+12                         Warehouse      120029          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud2348     ColeKepro 3.0       144298                       4.92E+12      Sanford, FL        Warehouse      141715          Deadline Construction                 19475 Alford Rd                    Magnolia         TX   77355   10/2/2020
coincloud3231     ColeKepro 3.0       145892                       4.92E+12                         Warehouse      121348          Logic Warehouse                       4121 N Kentucky Ave.               Kansas City      MO   64161   10/2/2020
coincloud2290     ColeKepro 3.0       144339                        S90283                            Active       127255   127255 Toot'n Totum                          8800 S Soncy Rd                    Amarillo         TX   79119   10/2/2020
coincloud3196     ColeKepro 3.0       145830                       4.92E+12                         Warehouse      128862          CCHQ                                                                                                   10/2/2020
coincloud1890     ColeKepro 3.0       143925                        S90292                            Active       124351   124351 Allsup's Convenience Store            3480 US-377                        Brownwood        TX   76801   10/2/2020
coincloud2483     ColeKepro 3.0       145063        145063.USA      S90294                            Active       120154   120154 Stripes                               2412 98th St                       Lubbock          TX   79424   10/2/2020
coincloud3086     ColeKepro 3.0       145582                       4.92E+12                         Warehouse      124708          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud3117     ColeKepro 3.0       145561                       4.92E+12                         Warehouse      124653          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud3285     ColeKepro 3.0       145796                       4.92E+12                         Warehouse      119187          CCHQ                                                                                                   10/2/2020
coincloud2281     ColeKepro 3.0       144344                        S90309                            Active       124636   124636 Allsups                               404 W 5th St                       Plainview        TX   79072   10/2/2020
coincloud2798     ColeKepro 3.0       145426        145426.USA      S90310                            Active       117660   117660 Donut Mart                            3301 Coors Blvd NW #X              Albuquerque      NM   87120   10/2/2020
coincloud2487     ColeKepro 3.0       145171        145171.USA      S90311                            Active       117849   117849 Mass Beverage                         3131 Nieder Rd                     Lawrence         KS   66047   10/2/2020
coincloud2296     ColeKepro 3.0       144349                        S90312                            Active       127247   127247 Toot'n Totum                          4520 S Georgia St                  Amarillo         TX   79110   10/2/2020
coincloud2405     ColeKepro 3.0       144428        144428.USA      S90318                            Active       120164   120164 Stripes                               2106 W Front St                    Midland          TX   79701   10/2/2020
coincloud3007     ColeKepro 3.0       145627                       4.92E+12                         Warehouse      129357          CCHQ                                                                                                   10/2/2020
coincloud3125     ColeKepro 3.0       145579                       4.92E+12                         Warehouse      124642          Diversified Warehouse Inc             241 S Grandview                    Odessa           TX   79761   10/2/2020
coincloud2315     ColeKepro 3.0       144323                       4.92E+12                         Warehouse      120156          Buck's Moving and Storage             2011 Avenue C                      Lubbock          TX   79404   10/2/2020
coincloud2901     ColeKepro 3.0       145489        145489.USA      S90322                            Active       119728   119728 Stripes                               4020 Kermit Hwy                    Odessa           TX   79764   10/2/2020
coincloud3440     ColeKepro 3.0       145881        145881.USA      S90325                            Active       120168   120168 Stripes                               7801 W. University Blvd            Odessa           TX   79764   10/2/2020
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coincloud3426     ColeKepro 3.0    145885    145885.USA    S90337                              Active     125269   125269 Spec's                                    17414 Northwest Fwy                 Jersey Village      TX   77040   10/2/2020
coincloud3305     ColeKepro 3.0    145771                 4.92E+12                            Warehouse   118835          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia           CA   92870   10/2/2020
coincloud3464     ColeKepro 3.0    146040    146040.USA    S90352     Albuquerque, NM          Active     146596   146596 Thornton's                                11120 S Ridgeland Ave               Worth               IL   60482   10/2/2020
coincloud2974     ColeKepro 3.0    145623                 4.92E+12    Riviera Beach, FL       Warehouse   121456          Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach       FL   33404   10/2/2020
coincloud2931     ColeKepro 3.0    145454    145454.USA    S90359                              Active     119788   119788 Stripes                                   600 W College Blvd                  Roswell             NM   88201   10/2/2020
coincloud2979     ColeKepro 3.0    145612                 4.92E+12                            Warehouse   121570          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia           CA   92870   10/2/2020
coincloud1607     ColeKepro 3.0    143642    143642.USA    S90367                              Active     124325   124325 Yesway                                    4016 Wilbarger St                   Vernon              TX   76384   10/2/2020
coincloud2716     ColeKepro 3.0    145194                  S90375                              Active     147060   147060 Boost Mobile                              4331 The Plaza                      Charlotte           NC   28205   10/2/2020
coincloud2302     ColeKepro 3.0    144334                 4.92E+12                            Warehouse   124564          Buck's Moving and Storage                 2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud151084   ColeKepro 5.0    151084    151084.USA    S90385         Sterling, VA         Active     152082   152082 Royal Farms                               29 Grapevine Rd                     Martinsburg         WV   25405   8/7/2021
coincloud2332     ColeKepro 3.0    144283                 4.92E+12                            Warehouse   124365          Buck's Moving and Storage                 2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud4369     ColeKepro 4.0    147903    147903.USA    S90440                              Active     123330   123330 Best Western Pendleton Inn                400 SE Nye Ave                      Pendleton           OR   97801   6/15/2021
coincloud2256     ColeKepro 3.0    144382                 4.92E+12                            Warehouse   128587          CCHQ                                                                                                           10/2/2020
coincloud151109   ColeKepro 5.0    151109                                 Sterling, VA        Warehouse                   Victory Vans                              131 Terminal Drive                  Sterling            VA   20166    8/7/2021
coincloud4131     ColeKepro 3.0    147665    147665.USA     S90500                             Active     124012   124012 Allsup's Convenience Store                4400 Ridgecrest Dr SE               Rio Rancho          NM   87124   10/2/2020
coincloud2237     ColeKepro 3.0    144263                  4.92E+12                           Warehouse   119651          CCHQ                                                                                                           10/2/2020
coincloud2983     ColeKepro 3.0    145639                  4.92E+12                           Warehouse   117561          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia           CA   92870   10/2/2020
coincloud4126     ColeKepro 3.0    147660    147660.USA     S90512                             Active     124688   124688 Allsup's Convenience Store                1220 w 7th                          Clovis              NM   88101   10/2/2020
coincloud2529     ColeKepro 3.0    145050                  4.92E+12                           Warehouse   117865          CCHQ                                                                                                           10/2/2020
coincloud4102     ColeKepro 3.0    147636    147636.USA     S90522                             Active     124184   124184 Allsup's Convenience Store                2600 W 7th St                       Clovis              NM   88101   10/2/2020
coincloud2320     ColeKepro 3.0    144312                  4.92E+12                           Warehouse   124199          Buck's Moving and Storage                 2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud4108     ColeKepro 3.0    147642                   S90524                             Active     127331   127331 Allsups                                   1402 N US-84                        Slaton              TX   79354   10/2/2020
coincloud2305     ColeKepro 3.0    144333                  4.92E+12                           Warehouse   124285          Buck's Moving and Storage                 2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud2702     ColeKepro 3.0    145235    145235.USA     S92722                             Active     138879   138879 Hot Spot                                  103 Hammett Bridge Rd               Greer               SC   29650   10/2/2020
coincloud1694     ColeKepro 3.0    143729    143729.USA     S92726                             Active     124679   124679 Allsup's Convenience Store                5920 TX-78                          Sachse              TX   75048   10/2/2020
coincloud3118     ColeKepro 3.0    145573                  4.92E+12                           Warehouse   124657          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud1969     ColeKepro 3.0    144004    144004.USA     S92783                             Active     103125   103125 Cowboy                                    4050 Haltom Rd                      Fort Worth          TX   76117   10/2/2020
coincloud3520     ColeKepro 3.0    146053    146053.USA     S92787                             Active     121831   121831 Geaber's Liquors                          231 Old Tower Hill Rd               South Kingstown     RI    2879   10/2/2020
coincloud3397     ColeKepro 3.0    146012                  4.92E+12                           Warehouse   119718          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3241     ColeKepro 3.0    145920                  4.92E+12                           Warehouse   122858          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City         MO   64161   10/2/2020
coincloud2753     ColeKepro 3.0    145295    145295.USA     S92803                             Active     118824   118824 Quik & Grady's Cleaners                   210 W Oakland Ave                   Johnson City        TN   37604   10/2/2020
coincloud1802     ColeKepro 3.0    143837    143837.USA     S92804                             Active     124665   124665 Allsup's Convenience Store                314 S Center St                     Archer City         TX   76351   10/2/2020
coincloud1631     ColeKepro 3.0    143666    143666.USA     S92806                             Active     125457   125457 Spec's Wines, Spirits & Finer Foods       2341 US-377                         Westlake            TX   76262   10/2/2020
coincloud3544     ColeKepro 3.0    146125    146125.USA     S92807                             Active     120423   120423 COBORN'S                                  200 Alton Ave SE                    New Prague          MN   56071   10/2/2020
coincloud2095     ColeKepro 3.0    144130    144130.USA     S92815                             Active     138893   138893 Hot Spot                                  2187 N Main St                      Summerville         SC   29483   10/2/2020
coincloud2732     ColeKepro 3.0    145207    145207.USA     S92816                             Active     138886   138886 Hot Spot                                  553 J.C. Calhoun Dr                 Orangeburg          SC   29115   10/2/2020
coincloud2619     ColeKepro 3.0    145143                   S92817                             Active     120527   120527 Needler's Fresh Market                    736 W Main St                       Greensburg          IN   47240   10/2/2020
coincloud3221     ColeKepro 3.0    145678                  4.92E+12                           Warehouse   121574          Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach       FL   33404   10/2/2020
coincloud1634     ColeKepro 3.0    143669    143669.USA     S92831                             Active     124284   124284 Allsup's Convenience Store                102 Main St                         Lake Dallas         TX   75065   10/2/2020
coincloud2017     ColeKepro 3.0    144052    144052.USA     S92832                             Active     124825   124825 Game X Change                             501 N Main St                       Stillwater          OK   74075   10/2/2020
coincloud2383     ColeKepro 3.0    144450    144450.USA     S92906                             Active     119721   119721 Reid Super Save Market                    16660 Oak St                        Dillwyn             VA   23936   10/2/2020
coincloud3128     ColeKepro 3.0    145690                  4.92E+12                           Warehouse   124647          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3070     ColeKepro 3.0    145580                  4.92E+12                           Warehouse   124415          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3475     ColeKepro 3.0    146050                   S92908    Albuquerque, NM          Active     146633   146633 Thorntons                                 2265 W Algonquin Rd                 Lake in the Hills   IL   60156   10/2/2020
coincloud3481     ColeKepro 3.0    146027    146027.USA     S92913                             Active     124009   124009 Allsups                                   6900 Zuni Rd SE                     Albuquerque         NM   87108   10/2/2020
coincloud2380     ColeKepro 3.0    144448                   S92914                            Warehouse   119715          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3465     ColeKepro 3.0    146039                   S92916    Albuquerque, NM          Active     146626   146626 Thorntons Fuel Station                    3450 S California Ave               Chicago             IL   60632   10/2/2020
coincloud3482     ColeKepro 3.0    146046    146046.USA     S92921                             Active     123931   123931 Allsups                                   112 Arnold St                       Gallup              NM   87301   10/2/2020
coincloud3262     ColeKepro 3.0    145908                  4.92E+12    Kansas City, MO        Warehouse                   CCHQ                                                                                                           10/2/2020
coincloud3165     ColeKepro 3.0    145726                  4.92E+12                           Warehouse   124532          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud2043     ColeKepro 3.0    144078    144078.USA     S92938                             Active     124678   124678 Allsup's Convenience Store                605 N Mason St                      Bowie               TX   76230   10/2/2020
coincloud3230     ColeKepro 3.0    145890                  4.92E+12    Riviera Beach, FL      Warehouse                   Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach       FL   33404   10/2/2020
coincloud2370     ColeKepro 3.0    144387    144387.USA     S92973                             Active     119954   119954 Stripes                                   2424 N. Loop 289                    Lubbock             TX   79403   10/2/2020
coincloud3263     ColeKepro 3.0    145826                  4.92E+12                           Warehouse   122859          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City         MO   64161   10/2/2020
coincloud3370     ColeKepro 3.0    146021                  4.92E+12                           Warehouse   119766          Diversified Warehouse Inc                 241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3220     ColeKepro 3.0    145898                  4.92E+12                           Warehouse   128210          Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach       FL   33404   10/2/2020
coincloud3351     ColeKepro 3.0    145857                  4.92E+12                           Warehouse   127095          Weleski Transfer                          500 Treadway Lane                   Creighton           PA   15030   10/2/2020
coincloud3017     ColeKepro 3.0    145616                  4.92E+11                           Warehouse   121576          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H         Anaheim             CA   92806   10/2/2020
coincloud2318     ColeKepro 3.0    144311                  4.92E+11                           Warehouse   124383          Buck's Moving and Storage                 2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud2752     ColeKepro 3.0    145294    145294.USA     S93034                             Active     119928   119928 Old Town Dry Cleaners                     2530 S Pinnacle Hills Pkwy ## 300   Rogers              AR   72758   10/2/2020
coincloud2174     ColeKepro 3.0    144209                   S93035                             Active     138883   138883 Hot Spot                                  4036 Hwy 221 South                  Laurens             SC   29360   10/2/2020
coincloud2280     ColeKepro 3.0    144343    144343.USA     S93036                             Active     124428   124428 Allsups                                   305 W 1st St                        Dumas               TX   79029   10/2/2020
coincloud2735     ColeKepro 3.0    145283                   S93050                             Active     121130   121130 Sam's Wireless                            612 W Market St                     Bolivar             TN   38008   10/2/2020
coincloud2734     ColeKepro 3.0    145284                   S93054                             Active     119593   119593 Old Hickory Express                       588 Old Hickory Blvd                Jackson             TN   38305   10/2/2020
coincloud3508     ColeKepro 3.0    146185    146185.USA     S93063                             Active     119186   119186 2nd Avenue Market                         1726 2nd Ave                        Rock Island         IL   61201   10/2/2020
coincloud3477     ColeKepro 3.0    146059                   S93064    Albuquerque, NM          Active     146649   146649 Thorntons                                 180 E Rollins Rd                    Round Lake Beach    IL   60073   10/2/2020
coincloud2401     ColeKepro 3.0    144435    144435.USA     S93070                             Active     119760   119760 Stripes                                   2109 S Midkiff Rd                   Midland             TX   79701   10/2/2020
coincloud2283     ColeKepro 3.0    144362                   S93071                             Active     124198   124198 Allsups                                   2620 Olton Rd                       Plainview           TX   79072   10/2/2020
coincloud2478     ColeKepro 3.0    145068    145068.USA     S93073                             Active     115391   115391 Coins, Stamps 'N' Stuff                   8190 Hickman Rd                     Des Moines          IA   50325   10/2/2020
coincloud656      APSM 1.1        5.42E+14                3.021E+12                           Warehouse   103124          HL Distribution                           1065 Texan Trail Rd                 Grapevine           TX   76051   9/19/2019
coincloud2294     ColeKepro 3.0    144338    144338.USA     S93082                             Active     119754   119754 Stripes                                   3401 Clovis Rd                      Lubbock             TX   79415   10/2/2020
coincloud4827     ColeKepro 5.0    148358                   850065     New Orleans, LA        Warehouse   121923          HL Distribution                           1065 Texan Trail Rd                 Grapevine           TX   76051   8/7/2021
coincloud2733     ColeKepro 3.0    145296    145296.USA     S93095                             Active     119600   119600 Nashville Used & New Music                4876 Nolensville Pike               Nashville           TN   37211   10/2/2020
coincloud2719     ColeKepro 3.0    145184                   S93097                             Active     138901   138901 Hot Spot                                  3225 Asheville Hwy                  Canton              NC   28716   10/2/2020
coincloud2756     ColeKepro 3.0    145311    145311.USA     S93107                             Active     119922   119922 Rizo's Barber Studio                      2601 Central Ave #STE #35           Dodge City          KS   67801   10/2/2020
coincloud3529     ColeKepro 3.0    146189    146189.USA     S93122                             Active     122708   122708 Jacksonville County Market                1255 W Morton Ave                   Jacksonville        IL   62650   10/2/2020
coincloud2769     ColeKepro 3.0    145309    145309.USA     S93125                             Active     117929   117929 Facet Jewelry Music & Pawn                198 W Main St                       Amelia              OH   45102   10/2/2020
coincloud4544     ColeKepro 5.0    148078    148078.USA     850265       Nashville, TN        Warehouse   137110          CCHQ                                                                                                            8/7/2021
coincloud4505     ColeKepro 5.0    148039    148039.USA     850419       Nashville, TN        Warehouse   137508          CCHQ                                                                                                            8/7/2021
coincloud3436     ColeKepro 3.0    145997                   S93133                             Active     118010   118010 Hammond Retail Liquor                     10607 W Maple St ##4                Wichita             KS   67209   10/2/2020
coincloud2406     ColeKepro 3.0    144434    144434.USA     S93134                             Active     119722   119722 Stripes                                   101 E. Broadway                     Coahoma             TX   79511   10/2/2020
coincloud5280     ColeKepro 5.0    148811                   850446      MAGNOLIA,TX           Warehouse   122359          Deadline Construction                     19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud4615     ColeKepro 5.0    148147                   850475     New Orleans, LA        Warehouse   121913          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City         MO   64161    8/7/2021
coincloud1600     ColeKepro 3.0    143635                   S93137                             Active     124412   124412 Allsup's Convenience Store                500 E Wise St                       Bowie               TX   76230   10/2/2020
coincloud2898     ColeKepro 3.0    145512    145512.USA     S93138                             Active     120037   120037 Stripes                                   3401 98th St                        Lubbock             TX   79423   10/2/2020
coincloud3535     ColeKepro 3.0    146123                   S93139                             Active     124366   124366 Yesway                                    149 6th Ave                         Edgemont            SD   57735   10/2/2020
coincloud3421     ColeKepro 3.0    145967    145967.USA     S93140                             Active     119968   119968 Stripes                                   2612 TX-17                          Pecos               TX   79772   10/2/2020
coincloud4528     ColeKepro 5.0    148062    148062USA      850544       Nashville, TN        Warehouse   127698          Central M&S / Lanza Trucking              2002 Directors Row                  Orlando             FL   32809   8/7/2021
coincloud3537     ColeKepro 3.0    146126    146126.USA     S93141                             Active     124344   124344 Yesway                                    2215 Haines Ave                     Rapid City          SD   57701   10/2/2020
coincloud4548     ColeKepro 5.0    148082    148082.USA     850640       Nashville, TN        Warehouse   130534          Deadline Construction                     19475 Alford Rd                     Magnolia            TX   77355   8/7/2021
coincloud4773     ColeKepro 5.0    148304                   850811       Westbury, NY         Warehouse   135592          Lile International                        20427 87th Avenue South             Kent                WA   98031    8/7/2021
coincloud4768     ColeKepro 5.0    148299                   901753       Dayton, OH           Warehouse   125434          HL Distribution                           1065 Texan Trail Rd                 Grapevine           TX   76051   8/7/2021
coincloud2935     ColeKepro 3.0    145476                   S93144                             Active     119785   119785 Stripes                                   5801 19th St                        Lubbock             TX   79407   10/2/2020
coincloud4518     ColeKepro 5.0    148052                   901873       Nashville, TN        Warehouse   137509          Lile International                        20427 87th Avenue South             Kent                WA   98031   8/7/2021
coincloud3443     ColeKepro 3.0    146025    146025.USA     S93149                             Active     119416   119416 ARCO                                      3753 San Pablo Dam Rd               El Sobrante         CA   94803   10/2/2020
coincloud4629     ColeKepro 5.0    148161                   901975    Elk Grove Village, IL   Warehouse   127595          Lile International                        20427 87th Avenue South             Kent                WA   98031   8/7/2021
coincloud3509     ColeKepro 3.0    146238                   S93151                             Active     120640   120640 Providence Super Wash Center              929 N Main St                       Providence          RI    2904   10/2/2020
coincloud3501     ColeKepro 3.0    146167    146167.USA     S93152                             Active     115244   115244 Sunoco                                    1514 Newport Ave                    Pawtucket           RI    2861   10/2/2020
coincloud4579     ColeKepro 5.0    148111    148111.USA     902236     New Orleans, LA        Warehouse   121916          Logic Warehouse                           4121 N Kentucky Ave.                Kansas City         MO   64161   8/7/2021
coincloud2353     ColeKepro 3.0    144390    144390.USA     S93154       Sanford, FL           Active     146453   146453 Thorntons                                 425 E Brandon Blvd                  Brandon             FL   33511   10/2/2020
coincloud4607     ColeKepro 5.0    148139    148139.USA     902238     New Orleans, LA        Warehouse   121905          CCHQ                                                                                                            8/7/2021
coincloud3510     ColeKepro 3.0    146138    146138.USA     S93159                             Active     123447   123447 Eagles Nest                               1404 6th Ave                        Moline              IL   61265   10/2/2020
coincloud5022     ColeKepro 5.0    148553                   902772       Magnolia, TX         Warehouse   122383          Deadline Construction                     19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud4713     ColeKepro 5.0    148244    148224USA      940774     Grand Rapids, MI       Warehouse   123439          CCHQ                                                                                                            8/7/2021
coincloud2921     ColeKepro 3.0    145504    145504.USA     S93164                             Active     120161   120161 Stripes                                   5802 98th St                        Lubbock             TX   79424   10/2/2020
coincloud3495     ColeKepro 3.0    146088    146088.USA     S93165                             Active     119327   119327 JD's MARKET                               8808 S Colorado Blvd                Littleton           CO   80126   10/2/2020
coincloud4620     ColeKepro 5.0    148152                   940798    Elk Grove Village, IL   Warehouse   127092          CCHQ                                                                                                            8/7/2021
coincloud4510     ColeKepro 5.0    148044    148044USA      940973        Nashville, TN       Warehouse   137510          CCHQ                                                                                                           8/7/2021
coincloud4592     ColeKepro 5.0    148124    148124.USA     982252    Elk Grove Village, IL   Warehouse   128155                                                                                                                          8/7/2021
coincloud3524     ColeKepro 3.0    146166                   S93169         Victor, IA          Active     145973   145973 Your CBD Store - Macomb, IL               833 N Lafayette St #Suite 1         Macomb              IL   61455   10/2/2020
coincloud4866     ColeKepro 5.0    148397                   S30560        Dayton, OH          Warehouse   150443          Deadline Construction                     19475 Alford Rd                     Magnolia            TX   77355   8/7/2021
coincloud3518     ColeKepro 3.0    146058    146058.USA     S93179                             Active     116967   116967 Two Brothers                              2933 18th Ave Suite C               Rock Island         IL   61201   10/2/2020
coincloud3519     ColeKepro 3.0    146052    146052.USA     S93180                             Active     124977   124977 Northwoods Mall                           2200 West War Memorial Drive        Peoria              IL   61615   10/2/2020
coincloud3470     ColeKepro 3.0    146044                   S93181                             Active     124597   124597 Allsups                                   1411 west highway 60                Friona              TX   79035   10/2/2020
coincloud4319     ColeKepro 3.0    147853                   S56619                            Warehouse   128854          CCHQ                                                                                                           10/2/2020
coincloud2705     ColeKepro 3.0    145217                   S93184                             Active     138905   138905 Hot Spot                                  103 New Leicester Hwy               Asheville           NC   28806   10/2/2020
coincloud151278   ColeKepro 5.0    151278    151278.USA     S93186        Sterling, VA         Active     152253   152253 Royal Farms                               8686 Washington Blvd                Jessup              MD   20794    8/7/2021
coincloud3468     ColeKepro 3.0    146077                   S90241                            Warehouse   124119          Allstar Moving                            1600 1st Street NW                  Albuquerque         NM   87102   10/2/2020
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coincloud2899     ColeKepro 3.0   145488                S93187                        Warehouse      119710          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud3471     ColeKepro 3.0   146043                S90248                        Warehouse      124191          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3479     ColeKepro 3.0   146045   146045.USA   S93197                          Active       124570   124570 Allsups                                            312 E 11th St                     Friona             TX   79035   10/2/2020
coincloud2286     ColeKepro 3.0   144358                S90249                        Warehouse      124345          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud2284     ColeKepro 3.0   144363                S90251                        Warehouse      124320          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3473     ColeKepro 3.0   146048   146048.USA   S93209                          Active       124113   124113 Allsups                                            2201 N White Sands Blvd           Alamogordo         NM   88310   10/2/2020
coincloud2298     ColeKepro 3.0   144350                S90252                        Warehouse      124342          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud2292     ColeKepro 3.0   144348                S90267                        Warehouse      124310          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud1843     ColeKepro 3.0   143878   143878.USA   S93212                          Active       119415   119415 fm                                                 3300 Long Prairie Rd              Flower Mound       TX   75022   10/2/2020
coincloud1608     ColeKepro 3.0   143643   143643.USA   S93214                          Active       119427   119427 Circle K                                           249 Main St                       Frisco             TX   75034   10/2/2020
coincloud1866     ColeKepro 3.0   143901                S93215                          Active       119419   119419 Circle K                                           6500 US-380                       Cross Roads        TX   76227   10/2/2020
coincloud1877     ColeKepro 3.0   143912                S90274                        Warehouse      124424          HL Distribution                                    1065 Texan Trail Rd               Grapevine          TX   76051   10/2/2020
coincloud5835     ColeKepro 5.0   149366                            Sloan, NV         Warehouse                      Sloan                                                                                                                 8/7/2021
coincloud1633     ColeKepro 3.0   143668                S90278                        Warehouse      124650          HL Distribution                                    1065 Texan Trail Rd               Grapevine          TX   76051   10/2/2020
coincloud1900     ColeKepro 3.0   143935   143935.USA   S93220                          Active       124931   124931 Game X Change                                      3922 N Kickapoo Ave #Suite 4      Shawnee            OK   74804   10/2/2020
coincloud1841     ColeKepro 3.0   143876                S93225                          Active       124599   124599 Allsup's Convenience Store                         218 S Rice St                     Hamilton           TX   76531   10/2/2020
coincloud2399     ColeKepro 3.0   144437   144437.USA   S93228                          Active       119988   119988 Stripes                                            101 East IH-20                    Colorado City      TX   79512   10/2/2020
coincloud3542     ColeKepro 3.0                         S93230      Victor, IA          Active       145520   145520 Brothers Market                                    1400 G Ave                        Grundy Center      IA   50638   10/2/2020
coincloud2268     ColeKepro 3.0   144368                S90279                        Warehouse      124550          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud2265     ColeKepro 3.0   144383                S90280                        Warehouse      124286          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3530     ColeKepro 3.0   146191                S93233                          Active       119693   119693 Central Warehouse Liquor                           1060 Broad St                     Central Falls      RI    2863   10/2/2020
coincloud2314     ColeKepro 3.0   144309                S90291                        Warehouse      124371          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud2429     ColeKepro 3.0   144478                S90295                        Warehouse      120221          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud2497     ColeKepro 3.0   145176                S90297                        Warehouse      119998          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud2491     ColeKepro 3.0   145173                S90308                        Warehouse      119953          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud3550     ColeKepro 3.0   146162                S93239                          Active       124524   124524 Yesway                                             1101 N Lake Ave                   Storm Lake         IA   50588   10/2/2020
coincloud2917     ColeKepro 3.0   145495   145495.USA   S93241                          Active       120165   120165 Stripes                                            4101 S. Cedar                     Pecos              TX   79772   10/2/2020
coincloud3442     ColeKepro 3.0   146026                S90319                        Warehouse      118748          CCHQ                                                                                                                 10/2/2020
coincloud2919     ColeKepro 3.0   145496                s90321                        Warehouse      119729          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud2900     ColeKepro 3.0   145487                S90356                        Warehouse      120019          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3484     ColeKepro 3.0   146079                S93247   Albuquerque, NM        Active       146631   146631 Thorntons                                          110 Devon Ave                     Wood Dale          IL   60191   10/2/2020
coincloud2927     ColeKepro 3.0   145520                S90362                        Warehouse      120028          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3466     ColeKepro 3.0   146073   146073.USA   S93249                          Active       124309   124309 Allsups                                            2300 S 1st St                     Tucumcari          NM   88401   10/2/2020
coincloud3528     ColeKepro 3.0   146187   146187.USA   S93252                          Active       120512   120512 The Laundry Mat                                    1 East Ave                        Westerly           RI    2891   10/2/2020
coincloud3474     ColeKepro 3.0   146049                S90384                        Warehouse      124042          Allstar Moving                                     1600 1st Street NW                Albuquerque        NM   87102   10/2/2020
coincloud2751     ColeKepro 3.0   145285                S90385                        Warehouse      119904          CCHQ                                                                                                                 10/2/2020
coincloud3549     ColeKepro 3.0   146160                S93274    Memphis, TN           Active       147047   147047 Boost Mobile                                       4406 Market St                    Wilmington         NC   28403   10/2/2020
coincloud2415     ColeKepro 3.0   144440   144440.USA   S93276                          Active       119964   119964 Stripes                                            5407 Thomason Dr                  Midland            TX   79703   10/2/2020
coincloud4104     ColeKepro 3.0   147638                S90502                        Warehouse      124531          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud4106     ColeKepro 3.0   147640                S90505                        Warehouse      124422          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud4109     ColeKepro 3.0   147643                S90516                        Warehouse      124039          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3429     ColeKepro 3.0   145986   145986.USA   S93288                          Active       119398   119398 Express Mini Mart                                  4524 Asher Ave                    Little Rock        AR   72204   10/2/2020
coincloud2409     ColeKepro 3.0   144431   144431.USA   S93291                          Active       120174   120174 Stripes                                            3351 Faudree Rd                   Odessa             TX   79765   10/2/2020
coincloud3422     ColeKepro 3.0   145879   145879.USA   S93294                          Active       125360   125360 Spec's                                             1304 W Davis St #suite f          Conroe             TX   77304   10/2/2020
coincloud3424     ColeKepro 3.0   146022   146022.USA   S93313                          Active       120034   120034 Stripes                                            3210 W 16th St                    Odessa             TX   79763   10/2/2020
coincloud3434     ColeKepro 3.0   146983                S93320                          Active       117932   117932 iPhix I.T. LLC                                     516 Church St                     Ottumwa            IA   52501   10/2/2020
coincloud4105     ColeKepro 3.0   147639                S90523                        Warehouse      124194          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3457     ColeKepro 3.0   146037                S93328                          Active       124045   124045 Allsups                                            1618 S Main St                    Roswell            NM   88203   10/2/2020
coincloud2934     ColeKepro 3.0   145455                S91317                        Warehouse      119957          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3417     ColeKepro 3.0   146014   146014.USA   S93339                          Active       120018   120018 Stripes                                            2405 N Dal Paso St                Hobbs              NM   88240   10/2/2020
coincloud2473     ColeKepro 3.0   145074                S92794                        Warehouse      120006          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud2457     ColeKepro 3.0   145081                S92796                        Warehouse      120016          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3423     ColeKepro 3.0   146008                S93347                          Active       125359   125359 Spec's                                             3588 Farm to Market Rd 1488       Conroe             TX   77384   10/2/2020
coincloud3526     ColeKepro 3.0   146170                S93352      Victor, IA          Active       145532   145532 Brothers Market                                    118 S Main St                     Sigourney          IA   52591   10/2/2020
coincloud3450     ColeKepro 3.0   146034   146034.USA   S93354                          Active       119174   119174 Crest Foods                                        7212 E Reno Ave                   Oklahoma City      OK   73110   10/2/2020
coincloud3483     ColeKepro 3.0   146047                S92907                        Warehouse      124048          Allstar Moving                                     1600 1st Street NW                Albuquerque        NM   87102   10/2/2020
coincloud2374     ColeKepro 3.0   144401   144401.USA   S93370                          Active       118029   118029 Sycamore Coin and Laundromat                       1306 Sycamore School Rd           Fort Worth         TX   76134   10/2/2020
coincloud2911     ColeKepro 3.0   145508   145508.USA   S93373                          Active       120031   120031 Stripes                                            1402 Tahoka Rd                    Brownfield         TX   79316   10/2/2020
coincloud2932     ColeKepro 3.0   145457                S92926                        Warehouse      120026          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud2894     ColeKepro 3.0   145509                S93377                          Active       119784   119784 Stripes                                            3402 Avenue Q                     Lubbock            TX   79412   10/2/2020
coincloud3454     ColeKepro 3.0   146065                S93379                          Active       124200   124200 Allsusps                                           501 E Bedford St                  Dimmitt            TX   79027   10/2/2020
coincloud2381     ColeKepro 3.0   144449   144449.USA   S93380                          Active       119725   119725 Island Foods Great Valu                            6277 Cleveland St                 Chincoteague       VA   23336   10/2/2020
coincloud2369     ColeKepro 3.0   144417                S92961                        Warehouse      120007          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud3562     ColeKepro 3.0   146100   146100.USA   S93386                          Active       128063   128063 Aloha Gold Buyers                                  900 Eha St                        Wailuku            HI   96793   10/2/2020
coincloud3449     ColeKepro 3.0   146035   146035.USA   S93387                          Active       119175   119175 Crest Foods                                        249 N Douglas Blvd                Midwest City       OK   73130   10/2/2020
coincloud1127     ColeKepro 2.0   143162   143162.USA   S93390                          Active       103514   103514 Provo Centre                                       1200 Towne Centre Blvd            Provo              UT   84601   8/28/2020
coincloud2907     ColeKepro 3.0   145439                S93393                        Warehouse      119771          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud1619     ColeKepro 3.0   143654                S93394                          Active       124664   124664 Allsup's Convenience Store                         490 W Rock Island Ave             Boyd               TX   76023   10/2/2020
coincloud2941     ColeKepro 3.0   119973   145477.USA   S93395                          Active       119973   119973 Stripes                                            2715 Olton Rd                     Plainview          TX   79072   10/2/2020
coincloud2749     ColeKepro 3.0   145286                S93396                          Active       124341   124341 Yesway                                             3387 East Hwy 44                  Rapid City         SD   57703   10/2/2020
coincloud3515     ColeKepro 3.0   146192                S92978                        Warehouse      120839          ATM Advisory                                       9402 Uptown Drive, Suite 300      Indianapolis       IN   46256   10/2/2020
coincloud2493     ColeKepro 3.0   145174                S92979                        Warehouse      119755          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud2906     ColeKepro 3.0   145440   145440.USA   S93399                          Active       119938   119938 Stripes                                            2500 N Main St                    Roswell            NM   88201   10/2/2020
coincloud2387     ColeKepro 3.0   145174                S92979                        Warehouse      119759          CCHQ                                                                                                                 10/2/2020
coincloud2710     ColeKepro 3.0   145192                S93400                          Active       115249   115249 Alon                                               1014 Main St                      Junction           TX   76849   10/2/2020
coincloud2408     ColeKepro 3.0   144432                s93031                        Warehouse      119960          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud3753     ColeKepro 3.0   146316   146316.USA   S93404                          Active       124382   124382 Allsups                                            704 S Main St                     Seminole           TX   79360   10/2/2020
coincloud3741     ColeKepro 3.0   146390                S93405                          Active       124683   124683 Allsup's Convenience Store                         2310 Barrow St                    Abilene            TX   79605   10/2/2020
coincloud2771     ColeKepro 3.0   145302                S93407                          Active       120831   120831 Hugo's                                             306 14th St NW                    East Grand Forks   MN   56721   10/2/2020
coincloud2424     ColeKepro 3.0   144473                S93075                        Warehouse      120024          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3610     ColeKepro 3.0   146201   146201.USA   S93411    Burnsville, MN        Active       140990   140990 Maynard's Food Center                              108 3rd Ave S                     Clear Lake         SD   57226   10/2/2020
coincloud4266     ColeKepro 3.0   147800                S93412                          Active       123551   123551 Beer & Tobacco                                     4788 Bethel Rd                    Olive Branch       MS   38654   10/2/2020
coincloud2459     ColeKepro 3.0   145079                S93092                        Warehouse      119963          Deadline Construction                              19475 Alford Rd                   Magnolia           TX   77355   10/2/2020
coincloud3513     ColeKepro 3.0   146136   146136.USA   S93413                          Active       108542   108542 Catanga river DBA Food City                        1355 Auburn Rd                    Turner             ME    4282   10/2/2020
coincloud2277     ColeKepro 3.0   144345                S93128                        Warehouse      120173          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud3521     ColeKepro 3.0   146051                S93416                          Active       122052   122052 SI Computers Sales & Services | Logical Wireless   563 Cumberland Hill Rd            Woonsocket         RI    2895   10/2/2020
coincloud3444     ColeKepro 3.0   146024   146024.USA   S93417                          Active       119176   119176 Crest Foods                                        2200 W 15th St #124               Edmond             OK   73013   10/2/2020
coincloud2279     ColeKepro 3.0   144342                S93129                        Warehouse      120009          Buck's Moving and Storage                          2011 Avenue C                     Lubbock            TX   79404   10/2/2020
coincloud4411     ColeKepro 5.0   147945                S93968     Revere, MA           Active       143174   143174 Mann Liquor, Beer and Wine                         7158 S 76th St                    Franklin           WI   53132   8/7/2021
coincloud4287     ColeKepro 3.0   147821   147821.USA   S94054                          Active       130404   130404 Trove                                              740 Adkins Rd                     N Chesterfield     VA   23236   10/2/2020
coincloud4280     ColeKepro 3.0   147814                S94057                          Active       138200   138200 Freed's Market                                     2024 Swamp Pike                   Gilbertsville      PA   19525   10/2/2020
coincloud4290     ColeKepro 3.0   147824                S94058                          Active       130403   130403 Vintage Market                                     3103 Scottsville Rd               Charlottesville    VA   22902   10/2/2020
coincloud4289     ColeKepro 3.0   147823                S94059                          Active       123550   123550 Stoney Creek Convenience Store                     12427 Booth Rd                    Stony Creek        VA   23882   10/2/2020
coincloud151060   ColeKepro 5.0   151060   151060.USA   S94062     Sterling, VA         Active       152314   152314 Royal Farms                                        6416 Windsor Mill Rd              Woodlawn           MD   21207   8/7/2021
coincloud151061   ColeKepro 5.0   151061   151061.USA             Las Vegas, NV       Warehouse                      Sloan                                                                                                                8/7/2021
coincloud4076     ColeKepro 3.0   147610                          Hayward, CA       Decommissioned   130380          Decommissioned                                                                                                       10/2/2020
coincloud2398     ColeKepro 3.0   144413                S93135                        Warehouse      120153          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud4026     ColeKepro 3.0   147560                S94063                          Active       123558   123558 ABQ Phone Repair & Accessories                     7101 Menaul Blvd NE #C            Albuquerque        NM   87110   10/2/2020
coincloud151336   ColeKepro 5.0   151336   151336.USA   S94065     Sterling, VA         Active       152240   152240 Royal Farms                                        3209 Jarrettsville Pike           Monkton            MD   21111    8/7/2021
coincloud2939     ColeKepro 3.0   145475                S93136                        Warehouse      120160          Diversified Warehouse Inc                          241 S Grandview                   Odessa             TX   79761   10/2/2020
coincloud4441     ColeKepro 5.0   147975                S94068   Grand Rapids, MI       Active       150826   150826 Cumberland Farms                                   295 Legris Ave                    West Warwick       RI    2893   8/7/2021
coincloud4286     ColeKepro 3.0   147820   147820.USA   S94069                          Active       128669   128669 One Stop Market                                    2185 Richmond Tappahannock Hwy    Manquin            VA   23106   10/2/2020
coincloud4429     ColeKepro 5.0   147963                S94073   Grand Rapids, MI       Active       150799   150799 Cumberland Farms                                   2090 Foxon Rd                     North Branford     CT    6471    8/7/2021
coincloud4462     ColeKepro 5.0   147996   147996.USA   S94074     Revere, MA           Active       139834   139834 Morgan's                                           4306 Halls Ferry Rd               Vicksburg          MS   39180    8/7/2021
coincloud2040     ColeKepro 3.0   144075                S93142                        Warehouse      124697          HL Distribution                                    1065 Texan Trail Rd               Grapevine          TX   76051   10/2/2020
coincloud4440     ColeKepro 5.0   147974                S94076   Grand Rapids, MI       Active       150662   150662 Cumberland Farms                                   744 Branch Ave                    Providence         RI    2904    8/7/2021
coincloud4442     ColeKepro 5.0   147976                S94077   Grand Rapids, MI       Active       151083   151083 Cumberland Farms                                   741 Cromwell Ave                  Rocky Hill         CT    6067   8/7/2021
coincloud4455     ColeKepro 5.0   147989                S94078   Grand Rapids, MI       Active       150778   150778 Cumberland Farms                                   258 Boston Post Rd                Milford            CT    6460    8/7/2021
coincloud4450     ColeKepro 5.0   147984                S94079   Grand Rapids, MI       Active       150822   150822 Cumberland Farms                                   2812 Pawtucket Ave                East Providence    RI    2915    8/7/2021
coincloud4160     ColeKepro 3.0   147694                                            Decommissioned   121599          Decommissioned                                                                                                       10/2/2020
coincloud150787   ColeKepro 5.0   150787                           Sterling, VA       Warehouse                      Victory Vans                                       140 Terminal Drive                Sterling           VA   20166    8/7/2021
coincloud4452     ColeKepro 5.0   147986                S94081   Grand Rapids, MI       Active       150818   150818 Cumberland Farms                                   663 Killingly St                  Johnston           RI    2919    8/7/2021
coincloud1989     ColeKepro 3.0   144024                S93143                        Warehouse      124437          HL Distribution                                    1065 Texan Trail Rd               Grapevine          TX   76051   10/2/2020
coincloud4009     ColeKepro 3.0                         S94092                          Active       140306   140306 The Depot Express                                  102 S Elm St                      Gilman             IA   50106   10/2/2020
coincloud4015     ColeKepro 3.0   147549                S94095                          Active       124590   124590 Yesway                                             1465 4th St SE                    Mason City         IA   50401   10/2/2020
coincloud4024     ColeKepro 3.0   147558                S94100                          Active       123619   123619 Friendly Liquor                                    5126 W Howard Ave                 Milwaukee          WI   53220   10/2/2020
coincloud4037     ColeKepro 3.0   147571   147571.USA   S94101                          Active       123130   123130 Bowlero Lanes                                      3704 E Main St                    Farmington         NM   87402   10/2/2020
coincloud4295     ColeKepro 3.0   147829   147829.USA   S94102                          Active       128812   128812 Experimax Bethesda                                 4915 Fairmont Ave                 Bethesda           MD   20814   10/2/2020
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coincloud4439     ColeKepro 5.0   147973                S94103   Grand Rapids, MI     Active     151088   151088 Cumberland Farms                          1290 W Broad St                    Stratford        CT            6615    8/7/2021
coincloud4285     ColeKepro 3.0   147819                S94104                        Active     129735   129735 Taylor's Country Market                   1535 River Rd W                    Crozier          VA           23039   10/2/2020
coincloud2924     ColeKepro 3.0   145533                S93147                       Warehouse   119952          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud4035     ColeKepro 3.0   147569   147569.USA   S94106                        Active     127338   127338 Maria Mobile Wireless                     18 N 7th St                        San Jose         CA           95112   10/2/2020
coincloud4034     ColeKepro 3.0   147568   147568.USA   S94107                        Active     122644   122644 Welch Cleaners                            5607 Dollar Way Road               Pine Bluff       AR           71602   10/2/2020
coincloud4284     ColeKepro 3.0   147818   147818.USA   S94108                        Active     130061   130061 Fresh World                               2042 Daniel Stuart Square          Woodbridge       VA           22191   10/2/2020
coincloud3782     ColeKepro 3.0   146331   146331.USA   S94862                        Active     123318   123318 Vallarta Supermarkets                     42425 Jackson St                   Indio            CA           92203   10/2/2020
coincloud3868     ColeKepro 3.0   146459                S94863                        Active     141100   141100 Sunflower                                 1023 S Hwy 65 82                   Lake Village     AR           71653   10/2/2020
coincloud3420     ColeKepro 3.0   145873                S93150                       Warehouse   119946          Diversified Warehouse Inc                 241 S Grandview                    Odessa           TX           79761   10/2/2020
coincloud2897     ColeKepro 3.0   145513                S93157                       Warehouse   119975          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3478     ColeKepro 3.0   146061                S93161                       Warehouse   124404          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud2923     ColeKepro 3.0   145534                S93162                       Warehouse   119950          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3940     ColeKepro 3.0   146520                S94870                        Active     125459   125459 Feldman's Liquor & Wines                  4500 S Padre Island Hwy            Brownsville      TX           78521   10/2/2020
coincloud1818     ColeKepro 3.0   143853   143853.USA   S94871                        Active     120194   120194 Stripes                                   2015 NW Cache Rd                   Lawton           OK           73507   10/2/2020
coincloud3608     ColeKepro 3.0   146276                S94872    Burnsville, MN      Active     141002   141002 Maynard's Food Center                     202 US-81                          Arlington        SD           57212   10/2/2020
coincloud3769     ColeKepro 3.0   146344   146344.USA   S94874                        Active     123312   123312 Vallarta Supermarkets                     9011 Woodman Ave                   Los Angeles      CA           91331   10/2/2020
coincloud3778     ColeKepro 3.0   146433                S94875                        Active     118516   118516 Numero Uno Market                         310 E Manchester Ave               Los Angeles      CA           90003   10/2/2020
coincloud3594     ColeKepro 3.0   146115   146115.USA   S94876                        Active     122724   122724 Medford County Market                     160 Medford Plaza                  Medford          WI           54451   10/2/2020
coincloud3567     ColeKepro 3.0   146108   146108.USA   S94877                        Active     124129   124129 Payday Loans                              296 Alamaha St                     Kahului          HI           96732   10/2/2020
coincloud151286   ColeKepro 5.0   151286   151286.USA   S94879     Sterling, VA       Active     154393   154393 Royal Farms                               1 N Main St                        Manville         NJ            8835    8/7/2021
coincloud2925     ColeKepro 3.0   145531                S93166                       Warehouse   119942          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3761     ColeKepro 3.0   146420   146420.USA   S94880                        Active     124703   124703 Allsups                                   3808 Arden Rd                      San Angelo       TX           76901   10/2/2020
coincloud150902   ColeKepro 5.0   150902                           Sterling, VA      Warehouse                   Victory Vans                              122 Terminal Drive                 Sterling         VA           20166    8/7/2021
coincloud2895     ColeKepro 3.0   145526                S93167                       Warehouse   119939          Allstar Moving                            1600 1st Street NW                 Albuquerque      NM           87102   10/2/2020
coincloud3780     ColeKepro 3.0   146431   146431.USA   S94883    Las Vegas, NV       Active     135676   135676 H-E-B                                     5000 Gattis School Rd              Hutto            TX           78634   10/2/2020
coincloud3754     ColeKepro 3.0   146328                S94884                        Active     124662   124662 Allsup's Convenience Store                1000 S Burleson Ave                McCamey          TX           79752   10/2/2020
coincloud3606     ColeKepro 3.0   146111                S94887                        Active     124521   124521 Yesway                                    1861 5th Ave                       Belle Fourche    SD           57717   10/2/2020
coincloud3621     ColeKepro 3.0   146279   146279.USA   S94889                        Active     122943   122943 Cub Foods                                 615 W Central Entrance             Duluth           MN           55811   10/2/2020
coincloud3586     ColeKepro 3.0   146194                S94890                        Active     124005   124005 Hilo Holi Water                           284 Keawe St                       Hilo             HI           96720   10/2/2020
coincloud3788     ColeKepro 3.0   146439                            Sloan, NV        Warehouse                   Sloan                                     Sloan                              Sloan            Sloan   Sloan        10/2/2020
coincloud2937     ColeKepro 3.0   119962                S93168                       Warehouse   119962          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3798     ColeKepro 3.0   146340   146340.USA   S94896                        Active     118527          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H        Anaheim          CA           92806   10/2/2020
coincloud3656     ColeKepro 3.0   146247                S94897                        Active     120642   120642 Custer Party Store                        4315 W Dickman Rd                  Springfield      MI           49037   10/2/2020
coincloud3933     ColeKepro 3.0   146513   146513.USA   S94898                        Active     125407   125407 Spec's Wines, Spirits & Finer Foods       15540 FM624                        Robstown         TX           78380   10/2/2020
coincloud3936     ColeKepro 3.0   146516                S94901                        Active     125415   125415 Spec's Wines, Spirits & Finer Foods       10529 S Padre Island Dr ##180      Corpus Christi   TX           78418   10/2/2020
coincloud2908     ColeKepro 3.0   145527                S93171                       Warehouse   120001          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3805     ColeKepro 3.0   146332                S94907                        Active     124974   124974 Tropicana Supermarkets                    2425 CA-46                         Wasco            CA           93280   10/2/2020
coincloud3928     ColeKepro 3.0   146508   146508.USA   S94909                        Active     125393   125393 Spec's Wines, Spirits & Finer Foods       9900 IH-35 Service Road S Bldg G   Austin           TX           78748   10/2/2020
coincloud3894     ColeKepro 3.0   146476                S94910   Albuquerque, NM      Active     146667   146667 Thorntons                                 11 N US-12                         Fox Lake         IL           60020   10/2/2020
coincloud3935     ColeKepro 3.0   146515                S94911                        Active     125445   125445 Spec's Wines, Spirits & Finer Foods       4200 S Alameda St                  Corpus Christi   TX           78412   10/2/2020
coincloud3848     ColeKepro 3.0   146408                S94913    Memphis, TN         Active     142901   142901 Best Western Dodgeville Inn & Suites      1130 N Johns St                    Dodgeville       WI           53533   10/2/2020
coincloud3919     ColeKepro 3.0   146499   146499.USA   S94914                        Active     125454   125454 Spec's Wines, Spirits & Finer Foods       11751 Bandera Rd                   San Antonio      TX           78250   10/2/2020
coincloud2940     ColeKepro 3.0   145478                S93174                       Warehouse   119999          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3787     ColeKepro 3.0   146440   146440.USA   S94918                        Active     123313   123313 Vallarta Supermarkets                     1315 E Valley Pkwy                 Escondido        CA           92027   10/2/2020
coincloud3463     ColeKepro 3.0   146041                S93183                       Warehouse   124204          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX           79404   10/2/2020
coincloud3578     ColeKepro 3.0   146097   146097.USA   S94919                        Active     123044   123044 UberGeeks                                 46-028 Kawa St #A-8                Kaneohe          HI           96744   10/2/2020
coincloud3522     ColeKepro 3.0   146054                S93186                       Warehouse   120817          CCHQ                                                                                                               10/2/2020
coincloud2388     ColeKepro 3.0   144423                S93192                       Warehouse   120002          Buck's Moving and Storage                 2011 Avenue C                      Lubbock          TX          79404    10/2/2020
coincloud3806     ColeKepro 3.0   146334   146334.USA   S94923                        Active     101411   101411 Arco                                      11243 San Fernando Rd              San Fernando     CA          91340    10/2/2020
coincloud2750     ColeKepro 3.0   145293                S94924                        Active     124347   124347 Yesway                                    3343 Haines Ave                    Rapid City       SD          57701    10/2/2020
coincloud3585     ColeKepro 3.0   146184   146184.USA   S94930                        Active     124128   124128 Payday Loans Store Inc                    3-3178 Kuhio Hwy #B1               Lihue            HI          96766    10/2/2020
coincloud3666     ColeKepro 3.0   146243                S94931                        Active     118598   118598 The Fruit Basket                          6343 4th St NW                     Albuquerque      NM          87107    10/2/2020
coincloud3583     ColeKepro 3.0   146159                S94932                        Active     123618   123618 Aloha Pawn                                540 California Ave                 Wahiawa          HI          96786    10/2/2020
coincloud3736     ColeKepro 3.0   146304                S94933                        Active     124700   124700 Allsups                                   819 Commerce St                    Robert Lee       TX          76945    10/2/2020
coincloud2699     ColeKepro 3.0   145229   145229.USA   S94938                        Active     118837   118837 The Golfing Dog Group LLC DBA Washboard   100 N 1st St                       Cabot            AR          72023    10/2/2020
coincloud1842     ColeKepro 3.0   143877                S93203                       Warehouse   124455          HL Distribution                           1065 Texan Trail Rd                Grapevine        TX          76051    10/2/2020
coincloud1821     ColeKepro 3.0   143856                S93206                       Warehouse   124420          HL Distribution                           1065 Texan Trail Rd                Grapevine        TX          76051    10/2/2020
coincloud2762     ColeKepro 3.0   145305                S94941                        Active     104194   104194 Chevron                                   687 State St                       Hurricane        UT          84737    10/2/2020
coincloud3485     ColeKepro 3.0   146060                S93210                       Warehouse   124116          Allstar Moving                            1600 1st Street NW                 Albuquerque      NM          87102    10/2/2020
coincloud2715     ColeKepro 3.0   145185                S94945                        Active     138878   138878 Hot Spot                                  3228 Hwy 25 South                  Greenwood        SC          29646    10/2/2020
coincloud2758     ColeKepro 3.0   145304                S94946                        Active     124361   124361 Yesway                                    239 S Chicago St                   Hot Springs      SD          57747    10/2/2020
coincloud2577     ColeKepro 3.0   145137   145137.USA   S94947                        Active     103136   103136 Chevron                                   5133 Wichita St                    Fort Worth       TX          76119    10/2/2020
coincloud3707     ColeKepro 3.0   146294   146294.USA   S94948                        Active     123440   123440 MARKETPLACE ON THE COMMON                 6 Moulton St                       Barre            MA           1005    10/2/2020
coincloud3675     ColeKepro 3.0   146230                S94953    Memphis, TN         Active     146477   146477 Thorntons                                 300 Sam Ridley Pkwy E              Smyrna           TN          37167    10/2/2020
coincloud1934     ColeKepro 3.0   143969                S93211                       Warehouse   124694          HL Distribution                           1065 Texan Trail Rd                Grapevine        TX          76051    10/2/2020
coincloud3760     ColeKepro 3.0   146302   146302.USA   S94957                        Active     124555   124555 Yesway                                    600 S Access Rd                    Tye              TX          79563    10/2/2020
coincloud3751     ColeKepro 3.0   146381   146381.USA   S94958                        Active     124605   124605 Allsup's Convenience Store                601 Graham St                      Tuscola          TX          79562    10/2/2020
coincloud2742     ColeKepro 3.0   145317   145317.USA   S94961                        Active     122925   122925 Southern Hills Mall                       4400 Sergeant Rd #Ste 317          Sioux City       IA          51106    10/2/2020
146253.USA        ColeKepro 5.0   146253   146253.USA   S94962                        Active     146463   146463 Thorntons                                 3500 Murfreesboro Pike             Nashville        TN          37013     8/7/2021
coincloud3547     ColeKepro 3.0   146093                S94964    Memphis, TN         Active     146470   146470 Thorntons                                 243 TN-109 #N                      Lebanon          TN          37090    10/2/2020
coincloud3647     ColeKepro 3.0   146248   146248.USA   S94965                        Active     125739   125739 Shell                                     1699 Capital Cir NW                Tallahassee      FL          32303    10/2/2020
coincloud150756   ColeKepro 5.0   150756   150756.USA   S94966     Sterling, VA       Active     152257   152257 Royal Farms                               500 Joppa Farm Rd                  Joppatowne       MD          21085    8/7/2021
coincloud1660     ColeKepro 3.0   143695                S93217                       Warehouse   124641          HL Distribution                           1065 Texan Trail Rd                Grapevine        TX          76051    10/2/2020
coincloud3634     ColeKepro 3.0   146172                S94967                        Active     123562   123562 L.A. Pawn Shop                            6215 Bells Ferry Rd #Suite 300     Acworth          GA          30102    10/2/2020
coincloud3636     ColeKepro 3.0   146229   146229.USA   S94968                        Active     124829   124829 Main Street Groceries And Tobacco         614 W Main St                      Jonesborough     TN          37659    10/2/2020
coincloud3651     ColeKepro 3.0   146174   146174.USA   S94969                        Active     116401   116401 Howard's Party Store                      1366 Portage Street                Kalamazoo        MI          49001    10/2/2020
coincloud3584     ColeKepro 3.0   146153   146153.USA   S94973                        Active     125470   125470 Jack Be Click                             74-5543 Kaiwi St #a130             Kailua-Kona      HI          96740    10/2/2020
coincloud3489     ColeKepro 3.0   146031                S93219                       Warehouse   119106          CCHQ                                                                                                               10/2/2020
coincloud2393     ColeKepro 3.0   144438                S93231                       Warehouse   120219          Diversified Warehouse Inc                 241 S Grandview                    Odessa           TX          79761    10/2/2020
coincloud3873     ColeKepro 3.0   146448                S94975    Memphis, TN         Active     139365   139365 Piggly Wiggly                             164 Kienow Dr                      Randolph         WI          53956    10/2/2020
coincloud3469     ColeKepro 3.0   146070                S93232                       Warehouse   124046          Allstar Moving                            1600 1st Street NW                 Albuquerque      NM          87102    10/2/2020
coincloud2739     ColeKepro 3.0   145316   145316.USA   S94977                        Active     103757   103757 Citgo                                     10021 S Texas 6                    Sugar Land       TX          77498    10/2/2020
coincloud2644     ColeKepro 3.0   145278   145278.USA   S94979                        Active     122922   122922 Lindale Mall                              4444 1st Ave NE                    Cedar Rapids     IA          52402    10/2/2020
coincloud2371     ColeKepro 3.0   144419                S93234                       Warehouse   120148          Diversified Warehouse Inc                 241 S Grandview                    Odessa           TX          79761    10/2/2020
coincloud3576     ColeKepro 3.0   146091   146091.USA   S94981                        Active     122704   122704 Waikele Premium Outlets                   94-790 Lumiaina St                 Waipahu          HI          96797    10/2/2020
coincloud3668     ColeKepro 3.0   146231   146231.USA   S94982                        Active     123213   123213 Amigos Latinos                            4327 Airport Rd                    Santa Fe         NM          87507    10/2/2020
coincloud2176     ColeKepro 3.0   144211   144211.USA   S94983                        Active     130555   130555 iPhone Repair VB Oceanfront               527 N Birdneck Rd                  Virginia Beach   VA          23451    10/2/2020
coincloud3490     ColeKepro 3.0   146029                S93236                       Warehouse   124049          Allstar Moving                            1600 1st Street NW                 Albuquerque      NM          87102    10/2/2020
coincloud3662     ColeKepro 3.0   146244                S94985                        Active     120226   120226 50/50 Coffee House & Pub                  2122 Central Ave SE                Albuquerque      NM          87106    10/2/2020
coincloud3664     ColeKepro 3.0   146252                S94988                        Active     119329   119329 Mustard Seed Flowers                      607 San Mateo Blvd NE              Albuquerque      NM          87108    10/2/2020
coincloud2918     ColeKepro 3.0   145497                S93237                       Warehouse   119986          Diversified Warehouse Inc                 241 S Grandview                    Odessa           TX          79761    10/2/2020
coincloud3796     ColeKepro 3.0   146343   146343.USA   S94995                        Active     123308   123308 Vallarta Supermarkets                     1357 E Los Angeles Ave             Simi Valley      CA          93065    10/2/2020
coincloud2724     ColeKepro 3.0   145189                S94997                        Active     138906   138906 Hot Spot                                  1069 Sweeten Creek Rd              Asheville        NC          28803    10/2/2020
coincloud3948     ColeKepro 3.0   146528                S94998                        Active     125476   125476 Spec's Wines, Spirits & Finer Foods       4350 US-77                         Brownsville      TX          78526    10/2/2020
coincloud2395     ColeKepro 3.0   144410                S93238                       Warehouse   119708          Diversified Warehouse Inc                 241 S Grandview                    Odessa           TX          79761    10/2/2020
coincloud3758     ColeKepro 3.0   146301                S95004                        Active     125365   125365 Spec's Wines, Spirits & Finer Foods       4102 FM 762 Rd                     Rosenberg        TX          77469    10/2/2020
coincloud2580     ColeKepro 3.0   145134   145134.USA   S95007   Grand Prairie, TX    Active     150840   150840 Cumberland Farms                          479 Electric Ave                   Fitchburg        MA           1420    10/2/2020
coincloud3799     ColeKepro 3.0   146342   146342.USA   S95008                        Active     123315   123315 Vallarta Supermarkets                     8453 Reseda Blvd                   Los Angeles      CA          91324    10/2/2020
coincloud151078   ColeKepro 5.0   151078   151078.USA   S95010     Sterling, VA       Active     152305   152305 Royal Farms                               601 Southwick Dr                   Towson           MD          21204     8/7/2021
coincloud151079   ColeKepro 5.0   151079   151079.USA             Las Vegas, NV      Warehouse                   Sloan                                                                                                               8/7/2021
coincloud3488     ColeKepro 3.0   146030                S93243                       Warehouse   124055          Allstar Moving                            1600 1st Street NW                 Albuquerque        NM        87102    10/2/2020
coincloud2714     ColeKepro 3.0   145182                S95011                        Active     122701   122701 Mccurdy's Liquor                          5700 Dollarway Rd                  Pine Bluff         AR        71602    10/2/2020
coincloud3939     ColeKepro 3.0   146519   146519.USA   S95012                        Active     125399   125399 Spec's Wines, Spirits & Finer Foods       14623 I-35 N                       Selma              TX        78154    10/2/2020
coincloud3472     ColeKepro 3.0   146042                S93244                       Warehouse   124669          Buck's Moving and Storage                 2011 Avenue C                      Lubbock            TX        79404    10/2/2020
coincloud3867     ColeKepro 3.0   146458                S95015                        Active     141087   141087 SuperValu                                 2903 Bienville Rd                  Ringgold           LA        71068    10/2/2020
coincloud3706     ColeKepro 3.0   146207                S95017                        Active     122703   122703 Bestway Supermarket                       8457 Richmond Hwy                  Alexandria         VA        22309    10/2/2020
coincloud3950     ColeKepro 3.0   146530                S95018                        Active     125514   125514 Feldman's Liquor & Wines                  3500 Padre Blvd                    South Padre Island TX        78597    10/2/2020
coincloud3946     ColeKepro 3.0   146526                S95019                        Active     125626   125626 Spec's Wines, Spirits & Finer Foods       5625 S Padre Island Dr             Corpus Christi     TX        78412    10/2/2020
coincloud3619     ColeKepro 3.0   145889   145889.USA   S95020                        Active     120422   120422 COBORN'S                                  209 6th Avenue Northeast           Isanti             MN        55040    10/2/2020
coincloud3487     ColeKepro 3.0   146032                s93246                       Warehouse   124117          Allstar Moving                            1600 1st Street NW                 Albuquerque        NM        87102    10/2/2020
coincloud3869     ColeKepro 3.0   146460   146460.USA   S95023                        Active     101408   101408 Wireless1                                 824 Vermont Ave                    Los Angeles        CA        90005    10/2/2020
coincloud3763     ColeKepro 3.0   146419   146419.USA   S95024                        Active     124606   124606 Yesway                                    1800 S Gregg St                    Big Spring         TX        79720    10/2/2020
coincloud2119     ColeKepro 3.0   114154   144154.USA   S95025                        Active     124381   124381 Laundry Land JC                           1324 N Washington St               Junction City      KS        66441    10/2/2020
coincloud2621     ColeKepro 3.0   145142   145142.USA   S95027                        Active     116968   116968 Riverside Liquor 2                        1528 Locust St                     Davenport          IA        52804    10/2/2020
coincloud2366     ColeKepro 3.0   144453                S93248                       Warehouse   119958          Diversified Warehouse Inc                 241 S Grandview                    Odessa             TX        79761    10/2/2020
coincloud3725     ColeKepro 3.0   146312   146312.USA   S95029                        Active     124621   124621 Yesway                                    203 S 1st St                       Roby               TX        79543    10/2/2020
coincloud3800     ColeKepro 3.0   146341   146341.USA   S95030                        Active     118533   118533 Numero Uno Market                         10951 Rosecrans Ave                Norwalk            CA        90650    10/2/2020
coincloud3433     ColeKepro 3.0   145992                S93259                       Warehouse   124668          Buck's Moving and Storage                 2011 Avenue C                      Lubbock            TX        79404    10/2/2020
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coincloud679      APSM 1.1        5.42016E+14   42016000000047.US   S95031                           Active     101629   101629 Roadies Gas and Convenience Store     7308 N May Ave                      Oklahoma City       OK   73116   9/19/2019
coincloud151288   ColeKepro 5.0      151288                                     Sterling, VA        Warehouse                   Victory Vans                          136 Terminal Drive                  Sterling            VA   20166    8/7/2021
coincloud2400     ColeKepro 3.0      144436                         S93270                          Warehouse   120020          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3949     ColeKepro 3.0      146529                         S95033                           Active     125618   125618 Spec's Wines, Spirits & Finer Foods   2525 North Mesa street              El Paso             TX   79902   10/2/2020
coincloud1599     ColeKepro 3.0      143634        143634.USA       S95035                           Active     124318   124318 Allsup's Convenience Store            2730 Main St                        Vernon              TX   76384   10/2/2020
coincloud2407     ColeKepro 3.0      144433                         S93285                          Warehouse   124393          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3945     ColeKepro 3.0      146525                         S95038                           Active     125474   125474 Feldman's Liquor & Wines              621 Hwy 77 sunshine strip           Harlingen           TX   78550   10/2/2020
coincloud2412     ColeKepro 3.0      144443                         S93286                          Warehouse   120176          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3803     ColeKepro 3.0      146323        146323.USA       S95040                           Active     118518   118518 Numero Uno Market                     701 E Jefferson Blvd                Los Angeles         CA   90011   10/2/2020
coincloud3802     ColeKepro 3.0      146322        146322.USA       S95041                           Active     119060   119060 Oasis Laundry                         2815 W Jefferson Blvd               Los Angeles         CA   90018   10/2/2020
coincloud4567     ColeKepro 5.0      148099                         S95046    New Orleans, LA        Active     147049   147049 Boost Mobile                          200 S Broad St #Ste 100             New Orleans         LA   70119    8/7/2021
coincloud3427     ColeKepro 3.0      145875                         S93326                          Warehouse   119738          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3459     ColeKepro 3.0      146072                         S93338                          Warehouse   124529          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud150876   ColeKepro 5.0      150876                                     Sterling, VA        Warehouse                   Victory Vans                          118 Terminal Drive                  Sterling            VA   20166    8/7/2021
coincloud3428     ColeKepro 3.0      145984                         S93340                          Warehouse   117792          CCHQ                                                                                                       10/2/2020
coincloud3801     ColeKepro 3.0      146321        146321.USA       S95050                           Active     118530   118530 Numero Uno Market                     4831 WHITTIER BLVD                  LOS ANGELES         CA   90022   10/2/2020
coincloud3415     ColeKepro 3.0      145970                         S93346                          Warehouse   119979          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3672     ColeKepro 3.0      146206                         S95054      Memphis, TN          Active     146461   146461 Thorntons                             1785 New Salem Rd                   Murfreesboro        TN   37128   10/2/2020
coincloud3671     ColeKepro 3.0      146254                         S95055      Memphis, TN          Active     146465   146465 Thorntons                             2908 Medical Center Pkwy            Murfreesboro        TN   37129   10/2/2020
coincloud2534     ColeKepro 3.0      145095        145095.USA       S95057                           Active     103140   103140 Star Field Wine And Beer              2301 N Collins St ##190             Arlington           TX   76011   10/2/2020
coincloud3455     ColeKepro 3.0      146062                         S93356                          Warehouse   124390          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3836     ColeKepro 3.0      146409                         S95063      Memphis, TN          Active     141215   141215 Piggly Wiggly                         10282 W National Ave                West Allis          WI   53227   10/2/2020
coincloud3779     ColeKepro 3.0      146432        146432.USA       S95064                           Active     123317   123317 Vallarta Supermarkets                 13940 Ramona Blvd                   Baldwin Park        CA   91706   10/2/2020
coincloud3789     ColeKepro 3.0      146438                         S95065                           Active     123626   123626 Oxnard Shipping Center                12515 Oxnard St                     Los Angeles         CA   91606   10/2/2020
coincloud3978     ColeKepro 3.0      147512        147512.USA       S95066                           Active     125627   125627 Spec's Wines, Spirits & Finer Foods   2500 E Central Texas Expy           Killeen             TX   76543   10/2/2020
coincloud2245     ColeKepro 3.0      144318                         S93376                          Warehouse   119978          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3816     ColeKepro 3.0      146395        146395.USA       S95068                           Active     125193   125193 Tropicana supermarket                 8167 Bay Ave                        California City     CA   93505   10/2/2020
coincloud3837     ColeKepro 3.0      146401                         S95069                           Active     141088   141088 SuperValu                             405 S Pine St                       Vivian              LA   71082   10/2/2020
coincloud3852     ColeKepro 3.0      146406         146406.USA      S95070      Memphis, TN          Active     103382   103382 Casa de Dinero                        2882 W Walnut St #12                Rogers              AR   72756   10/2/2020
coincloud3793     ColeKepro 3.0      146347         146347.USA      S95074                           Active     118452   118452 Numero Uno Market                     1141 W Carson St                    Torrance            CA   90502   10/2/2020
coincloud545      APSM 1.1        5.41539E+14   41539000000038.US   S95075                           Active     103352   103352 Gas Mart 29                           7996 Big Bend Blvd                  Webster Groves      MO   63119   9/19/2019
coincloud2929     ColeKepro 3.0      145528                         S93384                          Warehouse   119971          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3588     ColeKepro 3.0      146179                         S93397                          Warehouse   126519          Metcalf Moving & Storage              1255 East Highway 36                St. Paul            MN   55109   10/2/2020
coincloud3943     ColeKepro 3.0      146523        146523.USA       S95101                           Active     125451   125451 Spec's Wines, Spirits & Finer Foods   1309 N Loop 1604 W                  San Antonio         TX   78258   10/2/2020
coincloud3790     ColeKepro 3.0      146437        146437.USA       S95103                           Active     118532   118532 Numero Uno Market                     1086 State College Blvd             Anaheim             CA   92806   10/2/2020
coincloud3955     ColeKepro 3.0      146535        146535.USA       S95109                           Active     125442   125442 Spec's Wines, Spirits & Finer Foods   5219 De Zavala Rd #101              San Antonio         TX   78249   10/2/2020
coincloud3460     ColeKepro 3.0      146074                         S93398                          Warehouse   124201          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud4859     ColeKepro 5.0      148390        148390.USA       S95110      Dayton, OH           Active     146530   146530 Thorntons                             2007 Brownsboro Rd                  Louisville          KY   40206   8/7/2021
coincloud3923     ColeKepro 3.0      146503        146503.USA       S95119                           Active     125722   125722 Pwi                                   18221 Tom Wells Rd                  Ehrenberg           AZ   85334   10/2/2020
coincloud3739     ColeKepro 3.0      146393                         S93402                          Warehouse   124696          HL Distribution                       1065 Texan Trail Rd                 Grapevine           TX   76051   10/2/2020
coincloud2914     ColeKepro 3.0      145500                         S93409                          Warehouse   120000          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3975     ColeKepro 3.0      147509        147509.USA       S95127                           Active     125405   125405 Spec's Wines, Spirits & Finer Foods   1100 Hwy 290 Hwy E                  Elgin               TX   78621   10/2/2020
coincloud3609     ColeKepro 3.0      146200                         S93412                          Warehouse   122939          CCHQ                                                                                                       10/2/2020
coincloud3866     ColeKepro 3.0      146457        146457.USA       S95136      Memphis, TN          Active     103380   103380 Casa de Dinero                        1900 W Huntsville Ave               Springdale          AR   72762   10/2/2020
coincloud3856     ColeKepro 3.0      146376                         S95138      Memphis, TN          Active     142575   142575 Lamar Food Mart                       2053 E Main St                      Lamar               AR   72846   10/2/2020
coincloud3877     ColeKepro 3.0      146452                         S95140      Memphis, TN          Active     145516   145516 Brothers Market                       105 Nixon St SE                     Cascade             IA   52033   10/2/2020
coincloud3809     ColeKepro 3.0      146339        146339.USA       S95144                           Active     126558   126558 Water Boy Services                    1361 N Fair Oaks Ave                Pasadena            CA   91103   10/2/2020
coincloud3970     ColeKepro 3.0      147504        147504.USA       S95145                           Active     125389   125389 Compton's Market                      10515 N Mopac Express               Austin              TX   78759   10/2/2020
coincloud3875     ColeKepro 3.0      146450        146450.USA       S95146     Memphis, TN           Active     141226   141226 Piggly Wiggly                         725 8th St                          Monroe              WI   53566   10/2/2020
coincloud3896     ColeKepro 3.0      146465                         S95150   Albuquerque, NM         Active     146651   146651 Thorntons                             2310 Elmhurst Rd                    Elk Grove Village   IL   60007   10/2/2020
coincloud3766     ColeKepro 3.0      146307                         S95152                           Active     124360   124360 Allsups                               508 Union Ave                       Rule                TX   79547   10/2/2020
coincloud3810     ColeKepro 3.0      146337        146337.USA       S95153                           Active     104122   104122 76 Gas                                101 E Las Tunas Dr                  San Gabriel         CA   91776   10/2/2020
coincloud3957     ColeKepro 3.0      146537                         S95155                           Active     125431   125431 Warehouse Liquors                     4318 Ayers St                       Corpus Christi      TX   78415   10/2/2020
coincloud3846     ColeKepro 3.0      146447                         S95156      Memphis, TN          Active     141216   141216 Piggly Wiggly                         106 W Oak St                        Boscobel            WI   53805   10/2/2020
coincloud3876     ColeKepro 3.0      146451                         S95157      Memphis, TN          Active     145517   145517 Brothers Market                       325 Central Ave W                   Clarion             IA   50525   10/2/2020
coincloud3838     ColeKepro 3.0      146399                         S95158      Memphis, TN          Active     140872   140872 SuperValue                            504 N Main St                       Warren              AR   71671   10/2/2020
coincloud3918     ColeKepro 3.0      146498                         S95159                           Active     125512   125512 Spec's Wines, Spirits & Finer Foods   900 E Harwood Rd                    Euless              TX   76039   10/2/2020
coincloud3813     ColeKepro 3.0      146330                         S95160                           Active     118451   118451 Numero Uno Market                     4373 S Vermont Ave                  Los Angeles         CA   90037   10/2/2020
coincloud3898     ColeKepro 3.0      146466        146466.USA       S95161   Albuquerque, NM         Active     146619   146619 Thorntons                             1330 S Neltnor Blvd                 West Chicago        IL   60185   10/2/2020
coincloud3413     ColeKepro 3.0      145968                         S93415                          Warehouse   119974          Diversified Warehouse Inc             241 S Grandview                     Odessa              TX   79761   10/2/2020
coincloud3773     ColeKepro 3.0      146414        146414.USA       S95165                           Active     124436   124436 Allsups                               300 E Broadway Ave                  Sweetwater          TX   79556   10/2/2020
coincloud4451     ColeKepro 5.0      147985                         S94065    Grand Rapids, MI      Warehouse   126251          CCHQ                                                                                                        8/7/2021
coincloud4162     ColeKepro 3.0      147696                         S94082                          Warehouse   124047          Allstar Moving                        1600 1st Street NW                  Albuquerque         NM   87102   10/2/2020
coincloud4027     ColeKepro 3.0      147561                         S94105                          Warehouse   123763          CCHQ                                                                                                       10/2/2020
coincloud3629     ColeKepro 3.0      146151                         S94864                          Warehouse   119403          Allstar Moving                        1600 1st Street NW                  Albuquerque         NM   87102   10/2/2020
coincloud3768     ColeKepro 3.0      146329                         S95172                           Active     124559   124559 Yesway                                712 N Chadbourne St                 San Angelo          TX   76903   10/2/2020
coincloud3774     ColeKepro 3.0      146415                         S94865                          Warehouse   121434          Ready Office Furniture                1515 N Kraemer Blvd, Unit H         Anaheim             CA   92806   10/2/2020
coincloud3770     ColeKepro 3.0      146418                         S94867                          Warehouse   124617          HL Distribution                       1065 Texan Trail Rd                 Grapevine           TX   76051   10/2/2020
coincloud3812     ColeKepro 3.0       14633        146333.USA       S95176                           Active     121399   121399 ACE                                   3797 Martin Luther King Jr Blvd     Lynwood             CA   90262   10/2/2020
coincloud3660     ColeKepro 3.0      146226                         S94868                          Warehouse   122233          CCHQ                                  10190 Covington Cross Dr.           Las Vegas           NV   89144   10/2/2020
coincloud3972     ColeKepro 3.0      147506                         S95178                           Active     125472   125472 Feldman's Liquor & Wines              1509 S Cage Blvd                    Pharr               TX   78577   10/2/2020
coincloud2772     ColeKepro 3.0      145282                         S94879                          Warehouse   125047          CCHQ                                                                                                       10/2/2020
coincloud3982     ColeKepro 3.0      147517        147517.USA       S95180                           Active     126099   126099 Airport Petroleum                     5979 S Howell Ave                   Milwaukee           WI   53207   10/2/2020
coincloud3953     ColeKepro 3.0      146533                         S95181                           Active     125900   125900 Spec's Wines, Spirits & Finer Foods   819 E Rector Dr                     San Antonio         TX   78216   10/2/2020
coincloud3839     ColeKepro 5.0      146356                         S95182      Revere, MA           Active     139999   139999 Food Depot                            2861 Terry Rd                       Jackson             MS   39212    8/7/2021
coincloud1988     ColeKepro 3.0      144023        144023.USA       S95183                           Active     119936   119936 VVM Food Mart LLC                     311 W Main St                       St Paris            OH   43072   10/2/2020
coincloud6588     ColeKepro 5.0      150119        150119.USA       S95184    New Orleans,LA        Warehouse   125430          HL Distribution                       1065 Texan Trail Rd                 Grapevine           TX   76051    8/7/2021
coincloud3954     ColeKepro 3.0      146534        146534.USA       S95185                           Active     125441   125441 Spec's Wines, Spirits & Finer Foods   1013 W University Ave ##200         Georgetown          TX   78628   10/2/2020
coincloud4954     ColeKepro 5.0      148485        148485.USA       S95186      Lubbock, TX          Active     128235   128235 Toot'n Totum                          2151 SE 34th Ave                    Amarillo            TX   79118    8/7/2021
coincloud2194     ColeKepro 3.0      144229                         S95187                           Active     123759   123759 Grandview Food Mart                   100 Wine Country Rd                 Grandview           WA   98930   10/2/2020
coincloud3942     ColeKepro 3.0      146522        146522.USA       S95189                           Active     125510   125510 Spec's Wines, Spirits & Finer Foods   23026 US-281                        San Antonio         TX   78258   10/2/2020
coincloud3931     ColeKepro 3.0      146511                         S95190                           Active     125395   125395 Spec's Wines, Spirits & Finer Foods   3550 S General Bruce Dr             Temple              TX   76504   10/2/2020
coincloud151314   ColeKepro 5.0      151314                                     Sterling, VA        Warehouse                   Victory Vans                          135 Terminal Drive                  Sterling            VA   20166    8/7/2021
coincloud3811     ColeKepro 3.0      146335        146335.USA       S95194                           Active     123310   123310 Vallarta Supermarkets                 1482 S Broadway                     Santa Maria         CA   93454   10/2/2020
coincloud151077   ColeKepro 5.0      151077                                     Sterling, VA        Warehouse                   Victory Vans                          129 Terminal Drive                  Sterling            VA   20166    8/7/2021
coincloud3771     ColeKepro 3.0      146413                         S94881                          Warehouse   125869          CCHQ                                                                                                       10/2/2020
coincloud3922     ColeKepro 3.0      146502         146502.USA      S95199                           Active     126097   126097 Piper's Fine Foods                    102 S Washington St                 Marquette           KS   67464   10/2/2020
coincloud3783     ColeKepro 3.0      146326         146326.USA      S95200                           Active     118515   118515 Numero Uno Market                     4710 S Broadway                     Los Angeles         CA   90037   10/2/2020
coincloud578      APSM 1.1        5.42539E+14   42539000000071.US   S95201                           Active     103414   103414 Cary St Mini Mart                     1317 W Cary St                      Richmond            VA   23220   9/19/2019
coincloud3791     ColeKepro 3.0      146436         146436.USA      S95202                           Active     118450   118450 Numero Uno Market                     129 E Lomita Blvd                   Carson              CA   90745   10/2/2020
coincloud3981     ColeKepro 3.0      147516         147516.USA      S95203                           Active     125276   125276 Spec's Wines, Spirits & Finer Foods   166 Hargraves Dr #Suite B400        Austin              TX   78737   10/2/2020
coincloud1594     ColeKepro 3.0      143629         143629.USA      S95204                           Active     120163   120163 Stripes                               106 N. 1st Street East              Haskell             TX   79521   10/2/2020
coincloud3772     ColeKepro 3.0      146404                         S95205                           Active     124819   124819 Game X Change                         3562 Knickerbocker Rd               San Angelo          TX   76904   10/2/2020
coincloud2849     ColeKepro 3.0      145319        145319.USA       S95207                           Active     122957   122957 Cub Foods                             1104 Lagoon Ave                     Minneapolis         MN   55408   10/2/2020
coincloud3952     ColeKepro 3.0      146532        146532.USA       S95211                           Active     125447   125447 Spec's Wines, Spirits & Finer Foods   263 Creekside Crossing              New Braunfels       TX   78130   10/2/2020
coincloud5698     ColeKepro 5.0      149229        149229.USA                     Sloan, NV         Warehouse   125432          Sloan                                                                                                       8/7/2021
coincloud3956     ColeKepro 3.0      146536                         S95214                           Active     125479   125479 Feldman's Liquor & Wines              809 E Expressway 83                 Weslaco             TX   78596   10/2/2020
coincloud3902     ColeKepro 3.0      146469                         S95218   Albuquerque, NM         Active     146640   146640 Thorntons                             1125 25th Ave                       Bellwood            IL   60104   10/2/2020
coincloud3889     ColeKepro 3.0      146478        146478.USA       S95226                           Active     124052   124052 Allsup's Convenience Store            2501 N Main St                      Roswell             NM   88201   10/2/2020
coincloud3968     ColeKepro 3.0      147502        147502.USA       S95227                           Active     125364   125364 Spec's Wines, Spirits & Finer Foods   739 TX-71                           Bastrop             TX   78602   10/2/2020
coincloud3862     ColeKepro 3.0      146453                         S95228      Memphis, TN          Active     141219   141219 Piggly Wiggly                         2465 Lineville Rd                   Howard              WI   54313   10/2/2020
coincloud3917     ColeKepro 3.0      146497                         S94902                          Warehouse   121602          Allstar Moving                        1600 1st Street NW                  Albuquerque         NM   87102   10/2/2020
coincloud3864     ColeKepro 3.0      146445                         S95230      Memphis, TN          Active     141223   141223 Piggly Wiggly                         5600 Spring St                      Racine              WI   53406   10/2/2020
coincloud3863     ColeKepro 3.0      146454        146454.USA       S95232      Memphis, TN          Active     103597   103597 Casa De Dinero                        800 S. Thompson Suite A             Springdale          AR   72764   10/2/2020
coincloud3887     ColeKepro 3.0      146479        146479.USA       S95233                           Active     124681   124681 Allsup's Convenience Store            2021 N Prince St                    Clovis              NM   88101   10/2/2020
coincloud3822     ColeKepro 3.0      146367                         S94915                          Warehouse   124353          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3886     ColeKepro 3.0      146484        146484.USA       S95234                           Active     124542   124542 Yesway                                4704 4th St                         Lubbock             TX   79416   10/2/2020
coincloud3828     ColeKepro 3.0      146352                         S94920                          Warehouse   124543          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3911     ColeKepro 3.0      146491                         S95249                           Active     138895   138895 Hot Spot                              22477 US-76                         Laurens             SC   29360   10/2/2020
coincloud3785     ColeKepro 3.0      146442                         S94921   City of Industry, CA   Warehouse   121590   121590 CCHQ                                                                                                       10/2/2020
coincloud3881     ColeKepro 3.0      146487        146487.USA       S95251                           Active     124114   124114 Allsup's Convenience Store            100 N White Sands Blvd              Alamogordo          NM   88310   10/2/2020
coincloud3908     ColeKepro 3.0      146488        146488.USA       S95252                           Active     125609   125609 Spec's Wines, Spirits & Finer Foods   2003 N Loop 1604 E #111             San Antonio         TX   78232   10/2/2020
coincloud3823     ColeKepro 3.0      146368                         S94939                          Warehouse   124431          Buck's Moving and Storage             2011 Avenue C                       Lubbock             TX   79404   10/2/2020
coincloud3880     ColeKepro 3.0      146485        146485.USA       S95253                           Active     124051   124051 Allsup's Convenience Store            411 W 2nd St                        Roswell             NM   88203   10/2/2020
coincloud3746     ColeKepro 3.0      146384                         S94942                          Warehouse   124439          HL Distribution                       1065 Texan Trail Rd                 Grapevine           TX   76051   10/2/2020
coincloud3959     ColeKepro 3.0      146539        146539.USA       S95254                           Active     135123   135123 Spec's                                9515 Gateway Blvd W #Suite A        El Paso             TX   79925   10/2/2020
coincloud3840     ColeKepro 3.0      146357        146357.USA       S95255      Memphis, TN          Active     146468   146468 Thorntons                             7102 Charlotte Pike                 Nashville           TN   37209   10/2/2020
coincloud3958     ColeKepro 3.0      146538        146538.USA       S95257                           Active     125446   125446 Spec's Wines, Spirits & Finer Foods   7933 N Mesa St #Suite A             El Paso             TX   79932   10/2/2020
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coincloud3969     ColeKepro 3.0   147503                S95258                             Active       125391   125391 Spec's Wines, Spirits & Finer Foods       201 University Oaks Blvd #Suite 600     Round Rock        TX     78664   10/2/2020
coincloud3824     ColeKepro 3.0   146370                S94956                           Warehouse      124526          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3973     ColeKepro 3.0   147507   147507.USA   S95260                             Active       125452   125452 Spec's Wines, Spirits & Finer Foods       1671 N Interstate 35 Frontage Rd #302   New Braunfels     TX     78130   10/2/2020
coincloud3977     ColeKepro 3.0   147511   147511.USA   S95261                             Active       125602   125602 Spec's Wines, Spirits & Finer Foods       13530 Ronald W Reagan Blvd #Ste 100     Cedar Park        TX     78613   10/2/2020
coincloud3910     ColeKepro 3.0   146490   146490.USA   S95262                             Active       138902   138902 Hot Spot                                  459 E Main St                           Franklin          NC     28734   10/2/2020
coincloud3650     ColeKepro 3.0   146223                S94966                           Warehouse      118672          CCHQ                                                                                                               10/2/2020
coincloud3872     ColeKepro 3.0   146445                S95263      Memphis, TN            Active       141222   141222 Piggly Wiggly                             4011 Durand Ave                         Racine            WI     53405   10/2/2020
coincloud3882     ColeKepro 3.0   146463                S95264    Albuquerque, NM          Active       146617   146617 Thorntons                                 601 North St                            Bensenville       IL     60106   10/2/2020
coincloud3853     ColeKepro 3.0   146379   146379.USA   S95272      Memphis, TN            Active       103381   103381 Casa De Dinero                            2021 W Sunset Ave #ste a                Springdale        AR     72762   10/2/2020
coincloud3906     ColeKepro 3.0   146474                S95273    Albuquerque, NM          Active       146593   146593 Thorntons                                 11975 IL-47                             Huntley           IL     60142   10/2/2020
coincloud3854     ColeKepro 3.0   146378                S95275                             Active       140707   140707 Save A Lot                                313 N Hyatt St                          Monticello        AR     71655   10/2/2020
coincloud2760     ColeKepro 3.0   145306                S94974                           Warehouse      124572          CCHQ                                                                                                               10/2/2020
coincloud3897     ColeKepro 3.0   146482   146482.USA   S95282                             Active       123936   123936 Allsup's Convenience Store                2857 W Historic Hwy 66                  Gallup            NM     87301   10/2/2020
coincloud4630     ColeKepro 5.0   148162   148162.USA   S95284   Elk Grove Village, IL     Active       130507   130507 Tech Center Computers                     6823 S Dayton St                        Greenwood Village CO     80112    8/7/2021
coincloud3847     ColeKepro 3.0   146446   146446.USA   S95287      Memphis, TN            Active       137415   137415 Piggly Wiggly                             1440 Horicon St                         Mayville          WI     53050   10/2/2020
coincloud3904     ColeKepro 3.0   146471                S95288                             Active       121594   121594 ACE Cash Express                          111 Coors Blvd NW                       Albuquerque       NM     87121   10/2/2020
coincloud6468     ColeKepro 5.0   149999   149999.USA   S95291       Westbury,NY           Active       141995   141995 Green's Corner Market                     346 Whittier Hwy                        Moultonborough NH         3254    8/7/2021
coincloud3841     ColeKepro 3.0   146358   146358.USA   S95293      Memphis, TN            Active       146473   146473 Thorntons                                 317 Myatt Dr                            Nashville         TN     37115   10/2/2020
coincloud3861     ColeKepro 3.0   146375   146375.USA   S95297      Memphis, TN            Active       146467   146467 Thorntons                                 1049 Long Hollow Pike                   Gallatin          TN     37066   10/2/2020
coincloud3764     ColeKepro 3.0   146315                S94976                           Warehouse      124558          Diversified Warehouse Inc                 241 S Grandview                         Odessa            TX     79761   10/2/2020
coincloud3857     ColeKepro 3.0   146369                S95301      Memphis, TN            Active       146474   146474 Thorntons                                 768 E Main St                           Hendersonville    TN     37075   10/2/2020
coincloud3859     ColeKepro 3.0   146374                S95303      Memphis, TN            Active       146462   146462 Thorntons                                 15025 Central Pike                      Lebanon           TN     37090   10/2/2020
coincloud3714     ColeKepro 3.0   146212   146212.USA   S95304                             Active       122492   122492 Shoppers                                  1200 Eastern Blvd                       Baltimore         MD     21221   10/2/2020
coincloud3719     ColeKepro 3.0   146293                S95310                             Active       119328   119328 Gull Party Store                          1930 Gull Rd                            Kalamazoo         MI     49048   10/2/2020
coincloud2730     ColeKepro 3.0   145205                S94984                           Warehouse      123761          Logic Warehouse                           4121 N Kentucky Ave.                    Kansas City       MO     64161   10/2/2020
coincloud3677     ColeKepro 3.0   146262                S95315                             Active       118514   118514 Numero Uno Market #112                    9990 Long Beach Blvd                    Lynwood           CA     90262   10/2/2020
coincloud3708     ColeKepro 3.0   146296   146296.USA   S95322                             Active       127201   127201 Bestway Supermarket                       3511 Hamilton St                        Hyattsville       MD     20782   10/2/2020
coincloud3818     ColeKepro 3.0   146348                S94992                           Warehouse      124312          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3713     ColeKepro 3.0   146216   146216.USA   S95332      Las Vegas, NV          Active       135780   135780 H-E-B                                     3325 W Wadley Ave                       Midland           TX     79707   10/2/2020
coincloud3717     ColeKepro 3.0   146217                S95337                             Active       118895   118895 Harding's Friendly Market                 5161 W Main St                          Kalamazoo         MI     49009   10/2/2020
coincloud3712     ColeKepro 3.0   146215   146215.USA   S95340                             Active       123331   123331 Acme Liquors                              1023 Chalkstone Ave                     Providence        RI      2908   10/2/2020
coincloud3710     ColeKepro 3.0   146289   146289.USA   S95341                             Active       120201   120201 Burgundy's Convenience                    4 W Palisade Ave                        Englewood         NJ      7631   10/2/2020
coincloud3733     ColeKepro 3.0   146396                S94999                           Warehouse      124695          HL Distribution                           1065 Texan Trail Rd                     Grapevine         TX     76051   10/2/2020
coincloud3704     ColeKepro 3.0   146211                S95343                             Active       122702   122702 Tilton Market                             1524 Tilton Rd                          Northfield        NJ      8225   10/2/2020
coincloud3711     ColeKepro 3.0   146214   146214.USA   S95344                             Active       122495   122495 Shoppers                                  5457 Baltimore National Pike            Baltimore         MD     21229   10/2/2020
coincloud3702     ColeKepro 3.0   146274   146274.USA   S95346                             Active       123129   123129 Shoppers                                  4720 Cherry Hill Rd                     College Park      MD     20740   10/2/2020
coincloud3705     ColeKepro 3.0   146208   146208.USA   S95348                             Active       121558   121558 Tanger Outlets National Harbor            6800 Oxon Hill Rd                       Fort Washington MD       20745   10/2/2020
coincloud3700     ColeKepro 3.0   146297                S95355                             Active       138899   138899 Hot Spot                                  1118 Brevard Rd                         Asheville         NC     28806   10/2/2020
coincloud3681     ColeKepro 3.0   146267                S95356                             Active       124957   124957 Lassen Market                             36648 Lassen Ave                        Huron             CA     93234   10/2/2020
coincloud151070   ColeKepro 5.0   151070   151070.USA   S95358       Sterling, VA          Active       152263   152263 Royal Farms                               4820 O'Donnell St                       Baltimore         MD     21224   8/7/2021
coincloud2545     ColeKepro 3.0   145105                S95010                           Warehouse      138366          CCHQ                                                                                                               10/2/2020
coincloud2902     ColeKepro 3.0   145490   145490.USA   S95361                             Active       120214   120214 Stripes                                   3220 Milwaukee Ave                      Lubbock           TX     79407   10/2/2020
coincloud2728     ColeKepro 3.0   145202                S95013                           Warehouse      123045          CCHQ                                                                                                               10/2/2020
coincloud150755   ColeKepro 5.0   150755                             Sterling, VA        Warehouse                      Victory Vans                              138 Terminal Drive                      Sterling          VA     20166    8/7/2021
coincloud2624     ColeKepro 3.0   145153                S95022                           Warehouse      124540          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3532     ColeKepro 3.0   146130   146130.USA   S95365                             Active       122138   122138 Handy Mart                                141 E Roller Ave                        Decatur           AR     72722   10/2/2020
coincloud2713     ColeKepro 3.0   145181   145181.USA   S95367                             Active       138869   138869 Hot Spot                                  1915 Hwy. 321 North                     Clover            SC     29710   10/2/2020
coincloud2378     ColeKepro 3.0   144424                S95368                             Active       150427   150427 Minit Mart                                203 Lombard St                          Mahomet           IL     61853   10/2/2020
coincloud3657     ColeKepro 3.0   146260                S95369                             Active       150461   150461 Minit Mart                                1580 US-60                              Ledbetter         KY     42058   10/2/2020
coincloud2741     ColeKepro 3.0   145328                S95370                             Active       117852   117852 Dunnie's Mini Mart                        3381 US Highway 117 S                   Burgaw            NC     28425   10/2/2020
coincloud3525     ColeKepro 3.0   146168                S95371        Victor, IA           Active       141218   141218 Piggly Wiggly                             158 N Washington St                     Lancaster         WI     53813   10/2/2020
coincloud2097     ColeKepro 3.0   144132                S95031                           Warehouse      122942          CCHQ                                                                                                               10/2/2020
coincloud2627     ColeKepro 3.0   145150                S95032                           Warehouse      119796          CCHQ                                                                                                               10/2/2020
coincloud3829     ColeKepro 3.0   146360                S95035                           Warehouse      124432          HL Distribution                           1065 Texan Trail Rd                     Grapevine         TX     76051   10/2/2020
coincloud2695     ColeKepro 3.0   145233                S95375                             Active       138884   138884 Hot Spot                                  2610 Hwy 56                             Pauline           SC     29374   10/2/2020
coincloud3561     ColeKepro 3.0   146099   146099.USA   S95376                             Active       130062   130062 Pauwela Store                             375 W Kuiaha Rd Ste 35                  Haiku             HI     96708   10/2/2020
coincloud2544     ColeKepro 3.0   145106                S95039                           Warehouse      121176          Lile International                        20427 87th Avenue South                 Kent              WA     98031   10/2/2020
coincloud3539     ColeKepro 3.0   146090                S95378        Victor, IA           Active       143259   143259 Casey's General Store                     111 Mormon Bridge Rd                    Crescent          IA     51526   10/2/2020
coincloud3452     ColeKepro 3.0   146068                S95379                             Active       124429   124429 Allsups                                   302 N 15th St                           Canyon            TX     79015   10/2/2020
coincloud3462     ColeKepro 3.0   146069   146069.USA   S95380                             Active       123932   123932 Allsups                                   2701 E Aztec                            Gallup            NM     87301   10/2/2020
coincloud3559     ColeKepro 3.0   146129                S95382        Victor, IA           Active       145515   145515 Brothers Market                           207 E Locust St                         Bloomfield        IA     52537   10/2/2020
coincloud3762     ColeKepro 3.0   146422                S95047                           Warehouse      124375          Diversified Warehouse Inc                 241 S Grandview                         Odessa            TX     79761   10/2/2020
coincloud2727     ColeKepro 3.0   145203                S95384                             Active       138877   138877 Hot Spot                                  675 Gossett Rd                          Spartanburg       SC     29307   10/2/2020
coincloud3533     ColeKepro 3.0   146143   146143.USA   S95385                             Active       122055   122055 High Spirits Liquor                       207 E Monroe Ave                        Lowell            AR     72745   10/2/2020
coincloud3834     ColeKepro 3.0   146363                S95049                           Warehouse      124560          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3724     ColeKepro 3.0   146306                S95052                           Warehouse      124367          HL Distribution                           1065 Texan Trail Rd                     Grapevine         TX     76051   10/2/2020
coincloud2757     ColeKepro 3.0   146183                S95390                             Active       124346   124346 Yesway                                    4030 Cheyenne Boulevard                 Rapid City        SD     57703   10/2/2020
coincloud3879     ColeKepro 3.0   146405                S95061                           Warehouse      124640          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3888     ColeKepro 3.0   146475                S95067                           Warehouse      124111          Allstar Moving                            1600 1st Street NW                      Albuquerque       NM     87102   10/2/2020
coincloud3808     ColeKepro 3.0   146338                S95078                           Warehouse      121433          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H             Anaheim           CA     92806   10/2/2020
coincloud2944     ColeKepro 3.0   145522   145522.USA   S95400                             Active       120200   120200 Stripes                                   7821 82nd St                            Lubbock           TX     79424   10/2/2020
coincloud2905     ColeKepro 3.0   145438   145438.USA   S95401                             Active       119753   119753 Stripes                                   6519 University Ave                     Lubbock           TX     79413   10/2/2020
coincloud3795     ColeKepro 3.0   146346                S95079                           Warehouse      121452          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H             Anaheim           CA     92806   10/2/2020
coincloud3878     ColeKepro 3.0   146400                S95124                           Warehouse      124036          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud3792     ColeKepro 3.0   146435                S95125                           Warehouse      121438          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H             Anaheim           CA     92806   10/2/2020
coincloud2896     ColeKepro 3.0   145511   145511.USA   S95408                             Active       119779   119779 Stripes                                   2010 S Main St                          Roswell           NM     88201   10/2/2020
coincloud3885     ColeKepro 3.0   146477                S95132                           Warehouse      124408          Buck's Moving and Storage                 2011 Avenue C                           Lubbock           TX     79404   10/2/2020
coincloud2920     ColeKepro 3.0   145498   145498.USA   S95412                             Active       125277   125277 Spec's Wines, Spirits & Finer Foods       1614 Louetta Rd                         Spring            TX     77388   10/2/2020
coincloud3448     ColeKepro 3.0   146078                S95414                             Active       124321   124321 Allsups                                   512 Ave D                               Abernathy         TX     79311   10/2/2020
coincloud2912     ColeKepro 3.0   145510                                               Decommissioned   119735          Decommissioned                                                                                                     10/2/2020
coincloud3587     ColeKepro 3.0   146118   146118.USA   S95417                             Active       120402   120402 COBORN'S                                  5698 La Centre Ave                      Albertville       MN     55301   10/2/2020
coincloud3775     ColeKepro 3.0   146416   146416USA    S93406                           Warehouse      123309          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H             Anaheim           CA     92806   10/2/2020
coincloud3767     ColeKepro 3.0   146310                S95170                           Warehouse      124659          Diversified Warehouse Inc                 241 S Grandview                         Odessa            TX     79761   10/2/2020
coincloud2915     ColeKepro 3.0   145502   145502.USA   S95420                             Active       125450   125450 Spec's Wines, Spirits & Finer Foods       18434 TX-105                            Montgomery        TX     77356   10/2/2020
coincloud3601     ColeKepro 3.0   146280   146280.USA   S95421                             Active       120409   120409 COBORN'S                                  110 1st St S                            Sauk Rapids       MN     56379   10/2/2020
coincloud3777     ColeKepro 3.0   146434                S95171                           Warehouse      121404          Ready Office Furniture                    1515 N Kraemer Blvd, Unit H             Anaheim           CA     92806   10/2/2020
coincloud3589     ColeKepro 3.0   146181   146181.USA   S95422                             Active       120418   120418 COBORN'S                                  19425 Evans St NW                       Elk River         MN     55330   10/2/2020
coincloud2916     ColeKepro 3.0   145501   145501.USA   S95424                             Active       120170   120170 Stripes                                   50 W 2nd St (Hwy 67) / SH 137           Big Lake          TX     76932   10/2/2020
coincloud3551     ColeKepro 3.0   146128   146128.USA   S95425                             Active       124323   124323 Yesway                                    101 4th Ave W                           Swea City         IA     50590   10/2/2020
coincloud3437     ColeKepro 3.0   145980                S95426                             Active       116194   116194 Frank's Beverage                          4051 W 140th St                         Cleveland         OH     44135   10/2/2020
coincloud2367     ColeKepro 3.0   144416   144416.USA   S95427                             Active       120171   120171 Stripes                                   1300 E Coliseum Dr                      Snyder            TX     79549   10/2/2020
coincloud3419     ColeKepro 3.0   145987   145987.USA   S95428                             Active       119763   119763 Stripes                                   718 W Millen Dr                         Hobbs             NM     88240   10/2/2020
coincloud3591     ColeKepro 3.0   146157                S95430                             Active       124333   124333 Yesway                                    396 Evans Ln                            Spearfish         SD     57783   10/2/2020
coincloud3592     ColeKepro 3.0   146156                S95431                             Active       124357   124357 Yesway                                    102 Bennett Ave                         Martin            SD     57551   10/2/2020
coincloud3903     ColeKepro 3.0   146470                S95173                           Warehouse      123215          CCHQ                                                                                                               10/2/2020
coincloud2396     ColeKepro 3.0   144411   144411.USA   S95433                             Active       119724   119724 Stripes                                   1101 Lamesa Hwy                         Big Spring          TX   79720   10/2/2020
coincloud2058     ColeKepro 3.0   144093                S95434                             Active       119429   119429 Circle K                                  1600 Dalrock Rd                         Rowlett             TX   75088   10/2/2020
coincloud1743     ColeKepro 3.0   143778   143778.USA   S95435                             Active       124835   124835 Game X Change                             695 W Shawnee Bypass                    Muskogee            OK   74401   10/2/2020
coincloud3451     ColeKepro 3.0   146033                S95436                             Active       123928   123928 Allsups                                   507 U.S. Rte 66                         Milan               NM   87021   10/2/2020
coincloud1930     ColeKepro 3.0   143965   143965.USA   S95441                             Active       119414   119414 Circle K                                  7601 Mid Cities Blvd                    North Richland HillsTX   76182   10/2/2020
coincloud3765     ColeKepro 3.0   146317                S95174                           Warehouse      124701          Diversified Warehouse Inc                 241 S Grandview                         Odessa              TX   79761   10/2/2020
coincloud1610     ColeKepro 3.0   143645   143645.USA   S95442                             Active       119431   119431 Circle K                                  2400 Cross Timbers Rd                   Flower Mound        TX   75028   10/2/2020
coincloud3843     ColeKepro 3.0   146355                S95179                           Warehouse      124293          Buck's Moving and Storage                 2011 Avenue C                           Lubbock             TX   79404   10/2/2020
coincloud1853     ColeKepro 3.0   143888                S95444                             Active       115251   115251 Broadway Mini-Mart                        202 E Broadway St                       Eden                TX   76837   10/2/2020
coincloud3512     ColeKepro 3.0   146082                S95445                             Active       119594   119594 Terrace Food & Liquor                     17W731 E Roosevelt Rd                   Villa Park          IL   60181   10/2/2020
coincloud3504     ColeKepro 3.0   146239   146239.USA   S95446                             Active       119064   119064 Lasting Impressions Floral Shop           10450 Lincoln Trail                     Fairview Heights IL      62208   10/2/2020
coincloud3786     ColeKepro 3.0   146441                S95195                           Warehouse      121394          CCHQ                                                                                                               10/2/2020
coincloud3432     ColeKepro 3.0   145971   145971.USA   S95449                             Active       119109   119109 Armanetti Liquors                         7321 N Harlem Ave                       Niles             IL     60714   10/2/2020
coincloud1837     ColeKepro 3.0   143872                S95450                             Active       119696   119696 F.M Deli Beer & Wine Mart                 3313 Long Prairie Rd                    Flower Mound      TX     75022   10/2/2020
coincloud2019     ColeKepro 3.0   144054                S95451                             Active       118046   118046 speed super wash & dry                    4725 TX-183                             Fort Worth        TX     76114   10/2/2020
coincloud3527     ColeKepro 3.0   146188   146188.USA   S95452      Memphis, TN            Active       146472   146472 Thorntons                                 927 Old Fort Pkwy                       Murfreesboro      TN     37129   10/2/2020
coincloud3884     ColeKepro 3.0   146461                S95196                           Warehouse      124043          Allstar Moving                            1600 1st Street NW                      Albuquerque       NM     87102   10/2/2020
coincloud3865     ColeKepro 3.0   146456                S95229      Memphis, TN          Warehouse      142576          CCHQ                                                                                                               10/2/2020
coincloud3514     ColeKepro 3.0   146083                S95455                             Active       117127   117127 YoleniÃ¢â‚¬â„¢s Providence                292 Westminster St                      Providence        RI      2903   10/2/2020
coincloud3511     ColeKepro 3.0   146137   146137.USA   S95456                             Active       120632   120632 Cityline Laundry Center                   194 Reservoir Ave                       Pawtucket         RI      2860   10/2/2020
coincloud3430     ColeKepro 3.0   145975                S95457                             Active       118839   118839 Pisco Sour Market & Peruvian Restaurant   19239 Roscoe Blvd                       Los Angeles       CA     91324   10/2/2020
coincloud3431     ColeKepro 3.0   145979   145979.USA   S95459                             Active       118836   118836 Grab N Go                                 4801 Miller Ave                         Fort Worth        TX     76119   10/2/2020
coincloud1715     ColeKepro 3.0   143750   143750.USA   S95461                             Active       124833   124833 Game X Change                             1800 S Muskogee Ave #5552               Tahlequah         OK     74464   10/2/2020
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coincloud2402     ColeKepro 3.0       144407        144407.USA     S95462                           Active     120554   120554 Stripes                                5201 E 42nd St                         Odessa              TX          79762    10/2/2020
coincloud3937     ColeKepro 3.0       146517        146517.USA     S95466                           Active     125394   125394 Spec's Wines, Spirits & Finer Foods    13015 Shops Pkwy                       Bee Cave            TX          78738    10/2/2020
coincloud3815     ColeKepro 3.0       146327                       S95468   City of Industry, CA    Active     142328   142328 Marina Tobacco Inc                     6244 Pacific Coast Hwy                 Long Beach          CA          90803    10/2/2020
coincloud3883     ColeKepro 3.0       146462                       S95245                          Warehouse   124434          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud3804     ColeKepro 3.0       146324        146324.USA     S95471                           Active     123305   123305 Vallarta Supermarkets                  901 Euclid Ave                         National City       CA          91950    10/2/2020
coincloud3603     ColeKepro 3.0       146113        146113.USA     S95473                           Active     137037   137037 Schutz Family Foods                    900 E Main St                          Sleepy Eye          MN          56085    10/2/2020
coincloud3871     ColeKepro 3.0       146444                       S95250                          Warehouse   124433          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud3890     ColeKepro 3.0       146481                       S95259                          Warehouse   124038          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud3907     ColeKepro 3.0       146373                       S95276                          Warehouse   123922          Allstar Moving                         1600 1st Street NW                     Albuquerque         NM          87102    10/2/2020
coincloud3749     ColeKepro 3.0       146387                       S95314                          Warehouse   124698          Diversified Warehouse Inc              241 S Grandview                        Odessa              TX          79761    10/2/2020
coincloud3794     ColeKepro 3.0       146325        146325.USA     S95482                           Active     123306   123306 Vallarta Supermarkets                  2394 W Lincoln Ave                     Anaheim             CA          92801    10/2/2020
coincloud2773     ColeKepro 3.0       145301                       S95484                           Active     120830   120830 Hugo's                                 1310 University Ave                    Crookston           MN          56716    10/2/2020
coincloud3560     ColeKepro 3.0       146098                       S95358      Memphis, TN         Warehouse   137629          CCHQ                                                                                                                   10/2/2020
coincloud3833     ColeKepro 3.0       146362        146362.USA     S95487                           Active     127254   127254 Toot'n Totum                           5900 Coulter St S                      Amarillo            TX           79119   10/2/2020
coincloud2776     ColeKepro 3.0       145313        145313.USA     S95489                           Active     123319   123319 The Produce Exchange                   920 E Lake St                          Minneapolis         MN           55407   10/2/2020
coincloud3807     ColeKepro 3.0       146336        146336.USA     S95490                           Active     123316   123316 Vallarta Supermarkets                  19725 Vanowen St                       Los Angeles         CA           91306   10/2/2020
coincloud3905     ColeKepro 3.0       146473                       S95492                           Active     123930   123930 Allsup's Convenience Store             616 1st St                             Grants              NM           87020   10/2/2020
coincloud3607     ColeKepro 3.0       146110                       S95494     Burnsville, MN        Active     140992   140992 Maynard's Food Center                  141 Main St                            Salem               SD           57058   10/2/2020
coincloud2620     ColeKepro 3.0       145144        145144.USA     S95498                           Active     120399   120399 Gateway Plaza                          18000 US-180                           Hurley              NM           88043   10/2/2020
coincloud3642     ColeKepro 3.0       146224                                     Sloan, NV         Warehouse                   Sloan                                  Sloan                                  Sloan               Sloan   Sloan        10/2/2020
coincloud2850     ColeKepro 3.0       145318                       S95362                          Warehouse   119780          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX           79404   10/2/2020
coincloud3612     ColeKepro 3.0       146278                       S95501     Burnsville, MN        Active     140997   140997 Maynard's Food Center                  627 1st Ave                            Westbrook           MN           56183   10/2/2020
coincloud2767     ColeKepro 3.0       145446                       S95503                           Active     120835   120835 Hugo's                                 215 Pennington Ave S                   Thief River Falls   MN           56701   10/2/2020
coincloud3614     ColeKepro 3.0       146204                       S95504     Burnsville, MN        Active     140998   140998 Maynard's Food Center                  156 N Tyler St                         Tyler               MN           56178   10/2/2020
coincloud2385     ColeKepro 3.0       144426                       S95364     Las Vegas, NV        Warehouse   123680          CCHQ                                                                                                                   10/2/2020
coincloud3461     ColeKepro 3.0       146076                       S95372                          Warehouse   124035          Buck's Moving and Storage              2011 Avenue C                          Lubbock            TX           79404    10/2/2020
coincloud3602     ColeKepro 3.0       146114        146114.USA     S95522                           Active     123622   123622 Hello Wireless                         5716 Brookdale Dr N #suite b           Brooklyn Park      MN           55443    10/2/2020
coincloud926      APSM 1.1         5.42027E+14 42027000000016.US   S95524                           Active     108120   108120 Corner Store Beer and Wine             2215 Oates Dr                          Dallas             TX           75228    9/19/2019
coincloud2021     ColeKepro 3.0       144056        144056.USA     S95529                           Active     125505   125505 Spec's Wines, Spirits & Finer Foods    1150 US-377                            Granbury           TX           76048    10/2/2020
coincloud2030     ColeKepro 3.0       144056        144056.USA     S95529                           Active     125509   125509 Spec's Wines, Spirits & Finer Foods    27100 US-380                           Little Elm         TX           75068    10/2/2020
coincloud3411     ColeKepro 3.0       146015                       S95373                          Warehouse   119969          Diversified Warehouse Inc              241 S Grandview                        Odessa             TX           79761    10/2/2020
coincloud2744     ColeKepro 3.0       145290                       S95374                          Warehouse   118534          Logic Warehouse                        4121 N Kentucky Ave.                   Kansas City        MO           64161    10/2/2020
coincloud2554     ColeKepro 3.0       145120        145120.USA     S95539    Grand Prairie, TX      Active     150753   150753 Cumberland Farms                       109 Brookside Rd                       Athol              MA            1331    10/2/2020
coincloud2379     ColeKepro 3.0       144447                       S95377                          Warehouse   117051          Logic Warehouse                        4121 N Kentucky Ave.                   Kansas City        MO           64161    10/2/2020
coincloud3453     ColeKepro 3.0       146066                       S95383                          Warehouse   124203          Buck's Moving and Storage              2011 Avenue C                          Lubbock            TX           79404    10/2/2020
coincloud3412     ColeKepro 3.0       145877                       S95386                          Warehouse   120012          Diversified Warehouse Inc              241 S Grandview                        Odessa             TX           79761    10/2/2020
coincloud2522     ColeKepro 3.0       145056        145056.USA     S95542                           Active     103648   103648 Seagoville Market                      601 E Malloy Bridge Rd                 Seagoville         TX           75159    10/2/2020
coincloud3631     ColeKepro 3.0       146245        146245.USA     S95544                           Active     122489   122489 Keys Technology                        916A Kennedy Dr                        Key West           FL           33040    10/2/2020
coincloud2536     ColeKepro 3.0       145097        145097.USA     S95545                           Active     103115   103115 El Rons                                401 W 6th St                           Irving             TX           75060    10/2/2020
coincloud2087     ColeKepro 3.0       144122                       S95392                          Warehouse   119717          Buck's Moving and Storage              2011 Avenue C                          Lubbock            TX           79404    10/2/2020
coincloud2636     ColeKepro 3.0       145146                       S95546                           Active     124340   124340 Allsups                                406 Front St                           Groom              TX           79039    10/2/2020
coincloud3641     ColeKepro 3.0       146219                       S95547                           Active     125912   125912 Nature's Corner Market - Marietta      3960 Mary Eliza Trace NW #500          Marietta           GA           30064    10/2/2020
coincloud3652     ColeKepro 3.0       146240        146240.USA     S95548                           Active     120240   120240 Healthy Habitz                         975 N Main St #suite a                 Frankenmuth        MI           48734    10/2/2020
coincloud2535     ColeKepro 3.0       145096        145096.USA     S95554    Grand Prairie, TX      Active     150738   150738 Cumberland Farms                       184 W Boylston St                      West Boylston      MA            1583    10/2/2020
coincloud2635     ColeKepro 3.0       145149        145149.USA     S95556                           Active     124298   124298 Allsups                                500 W 11th St                          Quanah             TX           79252    10/2/2020
coincloud3622     ColeKepro 3.0       146150        146150.USA     S95557                           Active     122466   122466 Stewmans Vapor                         111 N Date St                          Truth or Consequen NM           87901    10/2/2020
coincloud2643     ColeKepro 3.0       145145        145145.USA     S95558                           Active     120229   120229 Earth's Food Barn                      116 E Cherokee Ave                     Sallisaw           OK           74955    10/2/2020
coincloud2704     ColeKepro 3.0       145216                       S95560                           Active     101389   101389 Gulf                                   100 Lindbergh Rd                       Newark             NJ            7114    10/2/2020
coincloud4819     ColeKepro 5.0       148350        148350.USA     S95561       Dayton, OH          Active     144688   144688 Tobacco Express                        3552 Dempster St                       Skokie             IL           60076     8/7/2021
coincloud3951     ColeKepro 3.0       146531                       S95563                           Active     125414   125414 Spec's Wines, Spirits & Finer Foods    2036 N Zaragoza Rd                     El Paso            TX           79936    10/2/2020
coincloud3974     ColeKepro 3.0       145196        145196.USA     S95564                           Active     123546   123546 Deep Roots Market                      600 N Eugene St                        Greensboro         NC           27401    10/2/2020
coincloud2938     ColeKepro 3.0       145465                       S95397                          Warehouse   119777          Allstar Moving                         1600 1st Street NW                     Albuquerque        NM           87102    10/2/2020
coincloud3941     ColeKepro 3.0       146521        146521.USA     S95566                           Active     125613   125613 Spec's Wines, Spirits & Finer Foods    24603 W I-10                           San Antonio        TX           78257    10/2/2020
coincloud2909     ColeKepro 3.0       145525                       S95399                          Warehouse   120022          Buck's Moving and Storage              2011 Avenue C                          Lubbock            TX           79404    10/2/2020
coincloud1174     ColeKepro 2.0       143209        143209.USA     S95568                           Active     123311   123311 Vallarta Supermarkets                  9136 Sepulveda Blvd                    Los Angeles        CA           91343    8/28/2020
coincloud2622     ColeKepro 3.0       145151                       S95569                           Active     128581   128581 Viking Village Cleaners                3627 E Lake St                         Minneapolis        MN           55406    10/2/2020
coincloud2541     ColeKepro 3.0       145109        145109.USA     S95572    Grand Prairie, TX      Active     150736   150736 Cumberland Farms                       550 Kimball St                         Fitchburg          MA            1420    10/2/2020
coincloud1983     ColeKepro 3.0       144018        144018.USA     S95573                           Active     119117   119117 The Cedar Room                         13069 Cleveland Ave NW                 Uniontown          OH           44685    10/2/2020
coincloud3572     ColeKepro 3.0       146193        146193.USA     S95574                           Active     124131   124131 Payday Loans & Check Cashing           80 Pauahi St #STE 102                  Hilo               HI           96720    10/2/2020
coincloud3573     ColeKepro 3.0       146152        146152.USA     S95579                           Active     120567   120567 Simply 3D Hawaii                       98-029 Hekaha St #Building 5 Unit 36   Aiea               HI           96701    10/2/2020
coincloud3653     ColeKepro 3.0       146237        146237.USA     S95580                           Active     120370   120370 Oakridge Supermarket                   31240 Groesbeck Hwy                    Fraser             MI           48026    10/2/2020
coincloud3571     ColeKepro 3.0       146197        146197.USA     S95581                           Active     123927   123927 Hilo Loan Shop                         64 Mamo St                             Hilo               HI           96720    10/2/2020
coincloud2943     ColeKepro 3.0       145529                       S95402                          Warehouse   120215          Buck's Moving and Storage              2011 Avenue C                          Lubbock            TX           79404    10/2/2020
coincloud2567     ColeKepro 3.0       145128        145128.USA     S95583    Grand Prairie, TX      Active     150995   150995 Loaf 'N Jug                            101 Main St                            La Junta           CO           81050    10/2/2020
coincloud3574     ColeKepro 3.0       146196        146196.USA     S95585                           Active     124130   124130 Payday Loans and Check Cashing Store   87-1926 Farrington Hwy                 Waianae            HI           96792    10/2/2020
coincloud3604     ColeKepro 3.0       146112        146112.USA     S95586                           Active     120407   120407 CASHWISE                               113 Waite Ave S                        Waite Park         MN           56387    10/2/2020
coincloud2548     ColeKepro 3.0       145102                       S95588                           Active     119404   119404 Mr Pawn                                2339 Oliver                            Wichita            KS           67218    10/2/2020
coincloud151032   ColeKepro 5.0       151032        151032.USA     S95589      Sterling, VA         Active     152276   152276 Royal Farms                            4045 Wilkens Ave                       Baltimore          MD           21229     8/7/2021
coincloud151033   ColeKepro 5.0       151033        151033.USA                Las Vegas, NV        Warehouse                   Sloan                                                                                                                   8/7/2021
coincloud3597     ColeKepro 3.0       146176        146176.USA     S95590                           Active     103770   103770 Crossroads Center                      4101 W Division St                     St Cloud            MN          56301    10/2/2020
coincloud2903     ColeKepro 3.0       145515                       S95404                          Warehouse   119945          Allstar Moving                         1600 1st Street NW                     Albuquerque         NM          87102    10/2/2020
coincloud3596     ColeKepro 3.0       146117        146117.USA     S95594                           Active     120424   120424 CASHWISE                               3300 HIGHWAY 10 E.                     MOORHEAD            MN          56560    10/2/2020
coincloud2775     ColeKepro 3.0       145299                       S95595                           Active     120832   120832 Hugo's                                 101 4th St E                           Park Rapids         MN          56470    10/2/2020
coincloud3605     ColeKepro 3.0       146109                       S95596                           Active     119743   119743 Bauer's Super Value                    800 Main St                            Faulkton            SD          57438    10/2/2020
coincloud2942     ColeKepro 3.0       145524                       S95406                          Warehouse   119775          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud150780   ColeKepro 5.0       150780        150780.USA     S95603      Sterling, VA         Active     152303   152303 Royal Farms                            4015 North Point Blvd #1               Dundalk             MD          21222    8/7/2021
coincloud3738     ColeKepro 3.0   No serial # found                S95605                           Active     124102   124102 Blu Liquor                             8620 Long Point Rd                     Houston             TX          77055    10/2/2020
coincloud3755     ColeKepro 3.0       146318                       S95607                           Active     124702   124702 Allsups                                4301 College Hills Blvd                San Angelo          TX          76904    10/2/2020
coincloud2712     ColeKepro 3.0       145183                       S95609                           Active     122699   122699 Acme Liquor Store                      4314 Dollarway Rd                      Pine Bluff          AR          71602    10/2/2020
coincloud2717     ColeKepro 3.0       145370        145370.USA     S95611                           Active     122645   122645 Welch Laundry & Cleaners               3800 S Camden Rd                       Pine Bluff          AR          71603    10/2/2020
coincloud3640     ColeKepro 3.0       146251        146251.USA     S95613                           Active     124635   124635 Shoppers Value Foods                   5580 Thomaston Rd #18                  Macon               GA          31220    10/2/2020
coincloud2427     ColeKepro 3.0   No serial # found                S95617                           Active     140014   140014 Shoppers Value Foods                   822 E Northside Dr                     Clinton             MS          39056    10/2/2020
coincloud2922     ColeKepro 3.0       145535                       S95409                          Warehouse   119786          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud3673     ColeKepro 3.0       146225        146225.USA     S95620      Memphis, TN          Active     146476   146476 Thorntons                              714 Stewarts Ferry Pike                Nashville           TN          37214    10/2/2020
coincloud3644     ColeKepro 3.0       146228        146228.USA     S95621                           Active     125358   125358 Sandfly Laundry                        8405 Ferguson Ave                      Savannah            GA          31406    10/2/2020
coincloud3633     ColeKepro 3.0       146218        146218.USA     S95623                           Active     117563   117563 West Side Market                       482 W Oak Ridge Rd                     Orlando             FL          32809    10/2/2020
coincloud2910     ColeKepro 3.0       145514                       S95418                          Warehouse   120414          Diversified Warehouse Inc              241 S Grandview                        Odessa              TX          79761    10/2/2020
coincloud3556     ColeKepro 3.0       146140                       S95630                           Active     124133   124133 JUCKER HAWAI'I                         151 Kupuohi St STE H2                  Lahaina             HI          96761    10/2/2020
coincloud2641     ColeKepro 3.0       145266        145266.USA     S95632                           Active     117529   117529 La Regia Taqueria                      436 Hwy 1 W                            Iowa City           IA          52246    10/2/2020
coincloud2737     ColeKepro 3.0       145209        145209.USA     S95633                           Active     120244   120244 Halls Supermarket                      3895 James Monroe Hwy                  Colonial Beach      VA          22443    10/2/2020
coincloud5477     ColeKepro 5.0       149008        149008.USA                   Sloan, NV         Warehouse   134662          Sloan                                                                                                                   8/7/2021
coincloud2913     ColeKepro 3.0       145505                       S95419                          Warehouse   120035          Deadline Construction                  19475 Alford Rd                        Magnolia            TX          77355    10/2/2020
coincloud2557     ColeKepro 3.0       145110        145110.USA     S95635                           Active     119112   119112 La Estrellita Fashion                  2501 Easton Blvd                       Des Moines          IA          50317    10/2/2020
coincloud1999     ColeKepro 3.0       144034                       S95432                          Warehouse   124609          HL Distribution                        1065 Texan Trail Rd                    Grapevine           TX          76051    10/2/2020
coincloud3446     ColeKepro 3.0       146067                       S95443                          Warehouse   124196          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud5061     ColeKepro 5.0       148592                       S95637      Lubbock, TX          Active     127233   127233 Toot'n Totum                           5424 River Rd                          Amarillo            TX          79108    8/7/2021
coincloud3670     ColeKepro 3.0       146233                       S95638      Memphis, TN          Active     147036   147036 Freeman Foods                          268 8th Ave SW                         Wellman             IA          52356    10/2/2020
coincloud3447     ColeKepro 3.0       146064                       S95448                          Warehouse   124362          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud2770     ColeKepro 3.0       145303        145303.USA     S95639                           Active     124838   124838 Mobil                                  105 W Northland Ave                    Appleton            WI          54911    10/2/2020
coincloud3618     ColeKepro 3.0       145888                       S95640     Burnsville, MN        Active     140991   140991 Maynard's Food Center                  207 Main St                            Lakefield           MN          56150    10/2/2020
coincloud3599     ColeKepro 3.0       146180                       S95642     Burnsville, MN        Active     140987   140987 Maynard's Food Center                  108 N Crescent St                      Flandreau           SD          57028    10/2/2020
coincloud3445     ColeKepro 3.0       146063                       S95453                          Warehouse   124322          Buck's Moving and Storage              2011 Avenue C                          Lubbock             TX          79404    10/2/2020
coincloud150895   ColeKepro 5.0       150895        150895.USA     S95650      Sterling, VA         Active     152159   152159 Royal Farms                            7084 Minstrel Way                      Columbia            MD          21046    8/7/2021
coincloud2696     ColeKepro 3.0       145231                       S95650                          Warehouse   138898          CCHQ                                                                                                                   10/2/2020
coincloud3851     ColeKepro 3.0       146412                       S95653                           Active     139844   139844 Marion Corner Store                    824 Hwy 64                             Marion              AR          72364    10/2/2020
coincloud3611     ColeKepro 3.0       146202        146202.USA     S95654                           Active     123767   123767 Darold's SuperValue                    200 12th St S                          Benson              MN          56215    10/2/2020
coincloud3620     ColeKepro 3.0       146277        146277.USA     S95655                           Active     120411   120411 COBORN'S                               1725 Pine Cone Rd                      Sartell             MN          56377    10/2/2020
coincloud2410     ColeKepro 3.0       144430                       s95454                          Warehouse   119781          Diversified Warehouse Inc              241 S Grandview                        Odessa              TX          79761    10/2/2020
coincloud3893     ColeKepro 3.0       146464                       S95470                          Warehouse   121596          Allstar Moving                         1600 1st Street NW                     Albuquerque         NM          87102    10/2/2020
coincloud3595     ColeKepro 3.0       146116                       S95659                           Active     120412   120412 COBORN'S                               1400 Babcock Blvd                      Delano              MN          55328    10/2/2020
coincloud3901     ColeKepro 3.0       146468                       S95660   Albuquerque, NM         Active     146648   146648 Thorntons                              28937 IL-120                           Lakemoor            IL          60051    10/2/2020
coincloud3540     ColeKepro 3.0       146131                       S95661                           Active     124568          Advanced Rigging LLC                   2190 Old 6 Road                        Victor              IA          52347    10/2/2020
coincloud4653     ColeKepro 5.0       145200        145200.USA     S95664                          Warehouse   123920          CCHQ                                                                                                                    8/7/2021
coincloud3832     ColeKepro 3.0       146350        146350.USA     S95666                           Active     127277   127277 Toot'n Totum                           31 Hunsley Rd                          Canyon              TX          79015    10/2/2020
coincloud3927     ColeKepro 3.0       146507        146507.USA     S95668                           Active     125384   125384 Spec's Wines, Spirits & Finer Foods    12611 Hymeadow Dr                      Austin              TX          78729    10/2/2020
coincloud3703     ColeKepro 3.0       146272        146272.USA     S95669                           Active     122707   122707 Jubilee Foods                          515 E Main St                          Emmitsburg          MD          21727    10/2/2020
coincloud3735     ColeKepro 3.0       146305                       S95670                          Warehouse   124407          HL Distribution                        1065 Texan Trail Rd                    Grapevine           TX          76051    10/2/2020
coincloud3759     ColeKepro 3.0       146314                       S95673                          Warehouse   124632          Diversified Warehouse Inc              241 S Grandview                        Odessa              TX          79761    10/2/2020
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coincloud3742     ColeKepro 3.0     146391                          S95674                      Warehouse   124612          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud3626     ColeKepro 3.0     146205        146205.USA        S95675                       Active     122954   122954 Cub Foods                                   1200 S Riverfront Dr                                  Mankato            MN   56001   10/2/2020
coincloud3743     ColeKepro 3.0     146389                          S95677                      Warehouse   124379          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud3628     ColeKepro 3.0     146147        146147.USA        S95681                       Active     120416   120416 MRKTPLACE                                   330 S Main St                                         Rice Lake          WI   54868   10/2/2020
coincloud3627     ColeKepro 3.0     146149        146149USA         S95679     Burnsville, MN    Active     101556   101556 Minnoco                                     574 Old Hwy 8 NW                                      New Brighton       MN   55112   10/2/2020
coincloud3624     ColeKepro 3.0     146148                          S95683     Burnsville, MN    Active     140994   140994 Maynard's Food Center                       1049 3rd Ave                                          Mountain Lake      MN   56159   10/2/2020
coincloud3617     ColeKepro 3.0     146198                          S95684     Burnsville, MN    Active     140989   140989 Maynard's Food Center                       119 N St Paul Ave                                     Fulda              MN   56131   10/2/2020
coincloud3615     ColeKepro 3.0     146146        146146.USA        S95685                       Active     122722   122722 K & L Market                                30 Central Ave N                                      Elbow Lake         MN   56531   10/2/2020
coincloud3625     ColeKepro 3.0     146199        146199.USA        S95686                       Active     120419   120419 COBORN'S                                    1100 7th Ave S                                        Princeton          MN   55371   10/2/2020
coincloud2706     ColeKepro 3.0     145219        145219.USA        S95689                       Active     101500   101500 1 Stop Shop                                 1605 N Cedar Ave                                      Fresno             CA   93703   10/2/2020
coincloud2178     ColeKepro 3.0     144213                          S95690                      Warehouse   117082          Trinity Solutions c/o SNS Installations     833 W. Crowther Ave                                   Placentia          CA   92870   10/2/2020
coincloud5325     ColeKepro 5.0     148856                                       Sloan, NV      Warehouse                   Sloan                                                                                                                              8/7/2021
coincloud3616     ColeKepro 3.0     146145         146145.USA        S95692                      Active     122955   122955 Cub Foods                                   1800 Madison Ave                                      Mankato            MN   56001   10/2/2020
coincloud3740     ColeKepro 3.0     146392         146392.USA        S95693                      Active     124645   124645 Allsups                                     1101 Hobbs Hwy                                        Seminole           TX   79360   10/2/2020
coincloud3623     ColeKepro 3.0     146195         146195.USA        S95694                      Active     122962   122962 Cub Foods                                   1021 15th avenue se                                   ROCHESTER          MN   55904   10/2/2020
coincloud3630     ColeKepro 3.0     146255         146255.USA        S95695                      Active     104083   104083 Townsend Foodmart                           2919 Townsend Blvd                                    Jacksonville       FL   32277   10/2/2020
coincloud3784     ColeKepro 3.0     146423         146423.USA        S95703                      Active     118512          Ready Office Furniture                      1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806   10/2/2020
coincloud558      APSM 1.1        5.4153E+13   153000000051USA.U     S95704                      Active     103897   103897 Shell                                       1357 Lexington Ave                                    Mansfield          OH   44907   9/19/2019
coincloud2778     ColeKepro 3.0     145443                           S95705                      Active     118277   118277 Five Star Grocery                           3582 NC-39                                            Louisburg          NC   27549   10/2/2020
coincloud2691     ColeKepro 3.0     145334        145334.USA         S95706                      Active     101517   101517 House of Hookahs                            805 S 900 W                                           Salt Lake City     UT   84104   10/2/2020
coincloud2685     ColeKepro 3.0     144720        145335USA         4.72E+12                     Active     115447   115447 Redner's Warehouse Markets                  1361 Lincoln Hwy                                      Levittown          PA   19056   10/2/2020
coincloud2766     ColeKepro 3.0     144801                           S95708                     Warehouse   118834          CCHQ                                                                                                                              10/2/2020
coincloud2726     ColeKepro 3.0     145204        145204.USA         S95709                      Active     123552   123552 J & B Party Center Inc                      1600 Central Ave                                      Hot Springs        AR   71901   10/2/2020
coincloud3826     ColeKepro 3.0     146354                           S95711                     Warehouse   124533          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud2731     ColeKepro 3.0     145208        145208.USA         S95714                      Active     124530   124530 Wash-Tyme Laundromat                        130 Grant Ave                                         Junction City      KS   66441   10/2/2020
coincloud2761     ColeKepro 3.0     145314                           S95715                      Active     120352   120352 HEB                                         5106 Bissonnet St                                     Bellaire           TX   77401   10/2/2020
coincloud2722     ColeKepro 3.0     145186                           S95716                      Active     138891   138891 Hot Spot                                    11504 Augusta Rd                                      Honea Path         SC   29654   10/2/2020
coincloud3737     ColeKepro 3.0     146385                           S95717                     Warehouse   124622          Diversified Warehouse Inc                   241 S Grandview                                       Odessa             TX   79761   10/2/2020
coincloud3821     ColeKepro 3.0     146366                           S95721                     Warehouse   124536          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud3827     ColeKepro 3.0     146353                           S95722                     Warehouse   124294          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud3820     ColeKepro 3.0     146365                           S95723                     Warehouse   124192          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud2542     ColeKepro 3.0     145108        145108.USA         S95724                      Active     118975   118975 Ethio Mart                                  10919 Shawnee Mission Pkwy                            Shawnee            KS   66203   10/2/2020
coincloud150970   ColeKepro 5.0     150970        150970.USA         S95730     Sterling, VA     Active     152270   152270 Royal Farms                                 8268 Lark Brown Rd                                    Elkridge           MD   21075    8/7/2021
coincloud2642     ColeKepro 3.0     145268                           S95730                     Warehouse   122797          CCHQ                                                                                                                              10/2/2020
coincloud2745     ColeKepro 3.0     145288        145288.USA         S95732                      Active     122973   122973 Palm Pantry #14                             1002 Rabbit Run                                       Hopkins            SC   29061   10/2/2020
coincloud2765     ColeKepro 3.0     145431        145431.USA         S95738                      Active     125191   125191 CBD Life / Colorado's Big Discovery         2929 Galley Rd                                        Colorado Springs   CO   80909   10/2/2020
coincloud2707     ColeKepro 3.0     145218        145218.USA         S95739                      Active     138885   138885 Hot Spot                                    917 S Main St                                         New Ellenton       SC   29809   10/2/2020
coincloud2639     ColeKepro 3.0     145270                           S95741                      Active     118830   118830 Nour Cell Phones                            2410 S 34th St                                        Kansas City        KS   66106   10/2/2020
coincloud2764     ColeKepro 3.0     145432        145432.USA         S95742                      Active     128232   128232 Blazing Haze Smoke Shop                     3401 E Belknap St                                     Fort Worth         TX   76111   10/2/2020
coincloud2625     ColeKepro 3.0     145279        145279.USA         S95743                      Active     119803   119803 Campbell's Corner Store                     4605 S Seneca St                                      Wichita            KS   67217   10/2/2020
coincloud3648     ColeKepro 3.0     146258                           S95746                      Active     120655   120655 THE BUSINESS LOUNGE                         4035 Jonesboro Rd #SUITE 240                          Forest Park        GA   30297   10/2/2020
coincloud3635     ColeKepro 3.0     146242                           S95748                      Active     125198   125198 Laundry City                                1245 Veterans Memorial Hwy SW ## 35                   Mableton           GA   30126   10/2/2020
coincloud3734     ColeKepro 3.0     146397        146397.USA         S95749                      Active     124441   124441 Allsups                                     3200 Lamesa Hwy                                       Snyder             TX   79549   10/2/2020
coincloud3646     ColeKepro 3.0     146259        146259.USA         S95751                      Active     125741   125741 Shell                                       2800 N Monroe St                                      Tallahassee        FL   32303   10/2/2020
coincloud3689     ColeKepro 3.0     146261        146261USA          S95987                      Active     138900   138900 Hot Spot                                    1030 Main St                                          Bryson City        NC   28713   10/2/2020
coincloud3756     ColeKepro 3.0     146319        146319.USA         S95756                      Active     124454   124454 Allsups                                     800 N Main St                                         Andrews            TX   79714   10/2/2020
coincloud3752     ColeKepro 3.0     146386                           S95759                     Warehouse   124666          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud2748     ColeKepro 3.0     145292        145292.USA         S95762                      Active     120401   120401 CASHWISE                                    1401 33rd St South                                    Fargo              ND   58103   10/2/2020
coincloud2629     ColeKepro 3.0     145156                           S95763                     Warehouse   124324          Central M&S / Lanza Trucking                2002 Directors Row                                    Orlando            FL   32809   10/2/2020
coincloud3582     ColeKepro 3.0     146380                           S95766                      Active     124132   124132 Payday Loans and Check Cashing Store        74-5605 Luhia St                                      Kailua-Kona        HI   96740   10/2/2020
coincloud2759     ColeKepro 3.0     145308        145308.USA         S95771                      Active     124343   124343 Yesway                                      3275 Cambell St                                       Rapid City         SD   57701   10/2/2020
coincloud3663     ColeKepro 3.0     146234                           S95772                      Active     119183   119183 Hock It to Me Pawn                          526 Louisiana Blvd SE                                 Albuquerque        NM   87108   10/2/2020
coincloud2623     ColeKepro 3.0     145152        145152.USA         S95774                      Active     124348   124348 Allsups                                     1510 Ave F NW                                         Childress          TX   79201   10/2/2020
coincloud2740     ColeKepro 3.0     145326                           S95777                      Active     119108   119108 Conoco                                      370 N Main St                                         Meadow             UT   84644   10/2/2020
coincloud3665     ColeKepro 3.0     146221        146221.USA         S95778                      Active     121326   121326 Crown Jewels & Coin                         3248 San Mateo Blvd NE                                Albuquerque        NM   87110   10/2/2020
coincloud5062     ColeKepro 5.0     148593        148593.USA         S95780     Lubbock, TX      Active     128236   128236 Toot'n Totum                                8507 I-40                                             Amarillo           TX   79118    8/7/2021
coincloud3577     ColeKepro 3.0     146096        146096.USA         S95781    Las Vegas, NV     Active     141214   141214 Midvale Coin Laundromat                     7673 S Center Square                                  Midvale            UT   84047   10/2/2020
coincloud3655     ColeKepro 3.0     146246        146246.USA         S95782                      Active     119937   119937 Creston Sit N Spin Laundromat               1593 Plainfield Ave NE                                Grand Rapids       MI   49505   10/2/2020
coincloud3575     ColeKepro 3.0     146092                           S95784                      Active     129454   129454 American Made Tattoo - Aiea                 98-199 Kamehameha Hwy #E3                             Aiea               HI   96701   10/2/2020
coincloud2547     ColeKepro 3.0     145103        145103.USA         S95786                      Active     119059   119059 Buddy's Total Quick Stop                    500 E Runnels St                                      Mineral Springs    AR   71851   10/2/2020
coincloud2543     ColeKepro 3.0     145107        145107USA        382060344                     Active     124932   124932 Game X Change                               1001 W Will Rogers Blvd                               Claremore          OK   74017   10/2/2020
coincloud3667     ColeKepro 3.0     146241        146241.USA         S95787                      Active     120146   120146 Toucan Market                               1701 #1 E. University Ave                             Las Cruces         NM   88001   10/2/2020
coincloud3728     ColeKepro 3.0     146308                           S95788                     Warehouse   124654          Diversified Warehouse Inc                   241 S Grandview                                       Odessa             TX   79761   10/2/2020
coincloud3661     ColeKepro 3.0     146232                           S95789                      Active     120181   120181 ABQ Cleaners                                3002 Monte Vista Blvd NE                              Albuquerque        NM   87106   10/2/2020
coincloud3658     ColeKepro 3.0     146222        146222.USA         S95791                      Active     125243   125243 Wally's Supermarket                         3200 Gratiot Blvd                                     Marysville         MI   48040   10/2/2020
coincloud3643     ColeKepro 3.0     146175        146175.USA         S95792                      Active     122056   122056 Exxon                                       4509 Stage Rd                                         Memphis            TN   38128   10/2/2020
coincloud3659     ColeKepro 3.0     146173        146173.USA         S95793                      Active     119378   119378 Perfect Storm Comics and Games              669 Capital Ave SW                                    Battle Creek       MI   49015   10/2/2020
coincloud3494     ColeKepro 3.0     146087        146087.USA         S95794                      Active     118597          Lanza Trucking                              116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury           NY   11590   10/2/2020
coincloud3900     ColeKepro 3.0     146472                           S95795                     Warehouse   124112          Allstar Moving                              1600 1st Street NW                                    Albuquerque        NM   87102   10/2/2020
coincloud3507     ColeKepro 3.0     146057        146057.USA         S95801                      Active     120531   120531 Village Jewelers & Loan Ltd                 2310 W North Ave                                      Melrose Park       IL   60160   10/2/2020
coincloud3637     ColeKepro 3.0     146235        146235.USA         S95802                      Active     125738   125738 Shell                                       3105 Apalachee Pkwy                                   Tallahassee        FL   32311   10/2/2020
coincloud3830     ColeKepro 3.0     146361                           S95803                     Warehouse   124535          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud3639     ColeKepro 3.0     146250        146250.USA         S95808                      Active     125913   125913 Nature's Corner Market - Woodstock          200 Parkbrooke Dr                                     Woodstock          GA   30189   10/2/2020
coincloud3929     ColeKepro 3.0     146509                           S95810                      Active     125461   125461 Feldman's Liquor & Wines                    754 Boca Chica Blvd                                   Brownsville        TX   78520   10/2/2020
coincloud3844     ColeKepro 3.0     146417                           S95812    Memphis, TN       Active     141224   141224 Piggly Wiggly                               709 E Capitol Dr                                      Milwaukee          WI   53212   10/2/2020
coincloud3855     ColeKepro 3.0     146377                           S95818    Memphis, TN       Active     146464   146464 Thorntons                                   120 Luyben Hills Rd                                   Kingston Springs   TN   37082   10/2/2020
coincloud3947     ColeKepro 3.0     146527                           S95821                      Active     125453   125453 Spec's Wines, Spirits & Finer Foods         2510 US-281 #Ste 201                                  Marble Falls       TX   78654   10/2/2020
coincloud3645     ColeKepro 3.0     146236                           S95822                      Active     125856   125856 Coastal Spirits                             107 S Godley Station Blvd                             Pooler             GA   31322   10/2/2020
coincloud3797     ColeKepro 3.0     146345        146345.USA         S95825                      Active     121588   121588 ACE                                         10005 S Central Ave                                   Los Angeles        CA   90002   10/2/2020
coincloud3819     ColeKepro 3.0     146364                           S95827                     Warehouse   124307          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud3845     ColeKepro 3.0     146424                           S95828    Memphis, TN       Active     141221   141221 Piggly Wiggly                               316 W Spring St                                       Dodgeville         WI   53533   10/2/2020
coincloud3980     ColeKepro 3.0     147514        147514.USA         S95829                      Active     125403   125403 Spec's Wines, Spirits & Finer Foods         1305 Sidney Baker St                                  Kerrville          TX   78028   10/2/2020
coincloud3814     ColeKepro 3.0     146320                           S95830                     Warehouse   121587          Ready Office Furniture                      1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806   10/2/2020
coincloud3649     ColeKepro 3.0     146220        146220.USA         S95832                      Active     126095   126095 Bubbles Laundromat                          3207 Wrightsboro Rd                                   Augusta            GA   30909   10/2/2020
coincloud3979     ColeKepro 3.0     147513        147513.USA         S95833                      Active     124823   124823 Game X Change                               214 Cove Terrace Shopping Center                      Copperas Cove      TX   76522   10/2/2020
coincloud3831     ColeKepro 3.0     146351                           S95835                     Warehouse   124305          Buck's Moving and Storage                   2011 Avenue C                                         Lubbock            TX   79404   10/2/2020
coincloud3723     ColeKepro 3.0     146313                           S95843                     Warehouse   124608          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud3916     ColeKepro 3.0     146496                           S95848                      Active     138873   138873 Hot Spot                                    3883 Cross Anchor Rd                                  Enoree             SC   29335   10/2/2020
coincloud3757     ColeKepro 3.0     146300        146300.USA         S95849                      Active     124377   124377 Allsups                                     105 S Central Ave                                     Knox City          TX   79529   10/2/2020
coincloud3747     ColeKepro 3.0     146383                           S95850                      Active     124687   124687 Allsup's Convenience Store                  3401 N 10th St                                        Abilene            TX   79603   10/2/2020
coincloud2709     ColeKepro 3.0     145190                           S95851                      Active     138890   138890 Hot Spot                                    308 E Poinsett St                                     Greer              SC   29651   10/2/2020
coincloud3674     ColeKepro 3.0     146227        146227.USA         S95853    Memphis, TN       Active     146469   146469 Thorntons                                   1400 Eagle View Blvd                                  Nashville          TN   37013   10/2/2020
coincloud3825     ColeKepro 3.0     146402                           S95854                      Active     127226   127226 Toot'n Totum                                920 FM1151                                            Amarillo           TX   79118   10/2/2020
coincloud2700     ColeKepro 3.0     145228                           S95855                      Active     123404   123404 Carolina Super Mart                         2004 Randleman Rd                                     Greensboro         NC   27406   10/2/2020
coincloud3732     ColeKepro 3.0     146426                           S95857                     Warehouse   124623          Diversified Warehouse Inc                   241 S Grandview                                       Odessa             TX   79761   10/2/2020
coincloud3696     ColeKepro 3.0     146270        146270.USA         S95885                      Active     138889   138889 Hot Spot                                    2801 Gentry Memorial Hwy                              Pickens            SC   29671   10/2/2020
coincloud3686     ColeKepro 3.0     146286                           S95895                      Active     138894   138894 Hot Spot                                    3908 JC Calhoun Memorial Hwy                          Easley             SC   29640   10/2/2020
coincloud3701     ColeKepro 3.0     146298                           S95897                      Active     138896   138896 Hot Spot                                    112 E Smith St                                        Timmonsville       SC   29161   10/2/2020
coincloud3684     ColeKepro 3.0     146281                           S95900                      Active     123307   123307 Vallarta Supermarkets                       1875 N Broadway                                       Santa Maria        CA   93454   10/2/2020
coincloud3699     ColeKepro 3.0     146295        146295.USA         S95904                      Active     138881   138881 Hot Spot                                    1940 Hwy 292                                          Inman              SC   29349   10/2/2020
coincloud3691     ColeKepro 3.0     146295        146295.USA         S95904                      Active     138882   138882 Hot Spot                                    201 N Howard Ave                                      Landrum            SC   29356   10/2/2020
coincloud3682     ColeKepro 3.0     146268                           S95906                     Warehouse   121430          Ready Office Furniture                      1515 N Kraemer Blvd, Unit H                           Anaheim            CA   92806   10/2/2020
coincloud3685     ColeKepro 3.0     146287                           S95908                      Active     138904   138904 Hot Spot                                    110 Weaverville Hwy                                   Asheville          NC   28804   10/2/2020
coincloud3932     ColeKepro 3.0     146512                           S95909                      Active     125413   125413 Spec's Wines, Spirits & Finer Foods         6401 Weber Rd                                         Corpus Christi     TX   78413   10/2/2020
coincloud3688     ColeKepro 3.0     146285        146285.USA         S95910                      Active     135441   135441 Veteran Vapors                              2308 Airport Blvd #G                                  West Columbia      SC   29170   10/2/2020
coincloud3718     ColeKepro 3.0     146290                           S95912                      Active     119111   119111 J & B Discount Liquor                       110 W Stockbridge site B                              Kalamazoo          MI   49001   10/2/2020
coincloud3925     ColeKepro 3.0     146505                           S95913                      Active     150962   150962 Minit Mart                                  12 Kelli Dr                                           Clinton            IL   61727   10/2/2020
coincloud3938     ColeKepro 3.0     146518                           S95914                      Active     124822   124822 Game X Change                               3303 Williams Dr                                      Georgetown         TX   78628   10/2/2020
coincloud3680     ColeKepro 3.0     146266        146266.USA         S95916                      Active     118535   118535 Numero Uno Market #120                      420 S Long Beach Blvd                                 Compton            CA   90221   10/2/2020
coincloud3850     ColeKepro 3.0     146407                           S95477                     Warehouse   139634          CCHQ                                                                                                                              10/2/2020
coincloud3921     ColeKepro 3.0     146501        146501.USA         S95918    Las Vegas, NV     Active     135665   135665 H-E-B                                       2800 E Whitestone Blvd                                Cedar Park         TX   78613   10/2/2020
coincloud1831     ColeKepro 3.0     143866                           S95919                     Warehouse   124619          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud3920     ColeKepro 3.0     146500                           S95921                      Active     125975   125975 Total Wireless (SALE,REPAIRS & UNLOCKING)   1535 Western Ave                                      Chicago Heights    IL   60411   10/2/2020
coincloud3729     ColeKepro 3.0     146410                           S95923                     Warehouse   124693          HL Distribution                             1065 Texan Trail Rd                                   Grapevine          TX   76051   10/2/2020
coincloud3698     ColeKepro 3.0     146288                           S95924                      Active     138880   138880 Hot Spot                                    153 W Main St                                         Harleyville        SC   29448   10/2/2020
coincloud3934     ColeKepro 3.0     146514                           S95926                      Active     125440   125440 Spec's Wines, Spirits & Finer Foods         655 Sunland Park Dr #Suite F                          El Paso            TX   79912   10/2/2020
coincloud3693     ColeKepro 3.0     146275                           S95932                     Warehouse   140784          Secure Technicians Inc                      1501 S Blount St                                      Raleigh            NC   27603   10/2/2020
coincloud3715     ColeKepro 3.0     146210        146210.USA         S95933                      Active     122491   122491 Shoppers                                    1955 E Joppa Rd                                       Baltimore          MD   21234   10/2/2020
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coincloud3976     ColeKepro 3.0      147510        147510.USA         S95934                        Active     125406   125406 Spec's Wines, Spirits & Finer Foods   10601 Ranch Rd 620 N                Austin             TX   78726   10/2/2020
coincloud3971     ColeKepro 3.0      147505        147505.USA         S95935                        Active     125386   125386 Spec's Wines, Spirits & Finer Foods   5775 Airport Blvd #100              Austin             TX   78752   10/2/2020
coincloud3716     ColeKepro 3.0      146209        146209.USA         S95936                        Active     120232   120232 DC Grocery Cash and Carry             2916 V St NE #2910                  Washington         DC   20018   10/2/2020
coincloud3745     ColeKepro 3.0      146394                           S95938                       Warehouse   124690          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3721     ColeKepro 3.0      146213        146213.USA         S95939                        Active     119171   119171 Out of the Box                        114 E Main Ave                      Zeeland            MI   49464   10/2/2020
coincloud3414     ColeKepro 3.0      145974                           S95480                       Warehouse   119989          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud3891     ColeKepro 3.0      146483                           S95945                       Warehouse   124301          Buck's Moving and Storage             2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud3748     ColeKepro 3.0      146382                           S95950                       Warehouse   124643          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud3967     ColeKepro 3.0      147501         147501.USA        S95951                        Active     125619   125619 Spec's Wines, Spirits & Finer Foods   1351 S Main St #Ste 300             Boerne             TX   78006   10/2/2020
coincloud373      APSM 1.1        5.41325E+14   41325000000041.US     S95961                        Active     103064   103064 Hillsborough Mart                     1301 Hillsborough St                Raleigh            NC   27605   9/19/2019
coincloud3731     ColeKepro 3.0      146398                          S95962                        Warehouse   124423          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3697     ColeKepro 3.0      146282                           S95965                        Active     138876   138876 Hot Spot                              12340 Old Number Six Hwy            Eutawville         SC   29048   10/2/2020
coincloud3679     ColeKepro 3.0      146264        146264.USA         S95970                        Active     118513   118513 Numero Uno Market #111                10455 Laurel Canyon Blvd            Los Angeles        CA   91331   10/2/2020
coincloud2006     ColeKepro 3.0      144041        144041.USA         S95972                        Active     119694   119694 Circle K                              10433 Garland Rd                    Dallas             TX   75218   10/2/2020
coincloud3678     ColeKepro 3.0      146265        146265.USA         S95975                        Active     121414   121414 ACE Cash Express                      1330 E Alondra Blvd                 Compton            CA   90221   10/2/2020
coincloud3676     ColeKepro 3.0      146263                           S95985                       Warehouse   121436          Ready Office Furniture                1515 N Kraemer Blvd, Unit H         Anaheim            CA   92806   10/2/2020
coincloud3722     ColeKepro 3.0      146303                           S95986                        Active     124313   124313 Allsups                               409 N Broadway St                   Post               TX   79356   10/2/2020
coincloud2020     ColeKepro 3.0      144055        144055.USA         S95991                        Active     124372   124372 Allsup's Convenience Store            1001 W Main St                      Eastland           TX   76448   10/2/2020
coincloud3503     ColeKepro 3.0      146169                           S95997                       Warehouse   126954          Allstar Moving                        1600 1st Street NW                  Albuquerque        NM   87102   10/2/2020
coincloud1616     ColeKepro 3.0      143651                           S95998                       Warehouse   124649          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3546     ColeKepro 3.0      146124        146124.USA         S95999                        Active     120421   120421 CASHWISE                              495 West North St                   Owatonna           MN   55060   10/2/2020
coincloud3553     ColeKepro 3.0      146103                           S96000                        Active     124566   124566 Yesway                                121 W 7th St                        Logan              IA   51546   10/2/2020
coincloud1595     ColeKepro 3.0      143630        143630.USA         S96001                        Active     125485   125485 Spec's Wines, Spirits & Finer Foods   3606 N Loy Lake Rd                  Sherman            TX   75090   10/2/2020
coincloud1641     ColeKepro 3.0      143676        143676.USA         S96002                        Active     126508   126508 Quick Stuff                           3000 Basswood Blvd                  Fort Worth         TX   76137   10/2/2020
coincloud1732     ColeKepro 3.0      143767        143767.USA         S96003                        Active     124448   124448 Allsup's Convenience Store            913 W 8th St                        Cisco              TX   76437   10/2/2020
coincloud151363   ColeKepro 5.0      151363        151363.USA         S96004      Sterling, VA      Active     152096   152096 Royal Farms                           5351 Ritchie Marlboro Rd            Upper Marlboro     MD   20773   8/7/2021
coincloud1604     ColeKepro 3.0      143639                           S96004                       Warehouse   129039          CCHQ                                                                                                      10/2/2020
coincloud2023     ColeKepro 3.0      144058                           S96005                        Active     124385   124385 Allsups                               910 Early Blvd                      Early              TX   76802   10/2/2020
coincloud1695     ColeKepro 3.0      143730        143730.USA         S96006                        Active     125464   125464 Spec's Wines, Spirits & Finer Foods   2315 Colorado Blvd ##160            Denton             TX   76205   10/2/2020
coincloud3493     ColeKepro 3.0      146133                           S96007                       Warehouse   140978          Lile International                    20427 87th Avenue South             Kent               WA   98031   10/2/2020
coincloud1998     ColeKepro 3.0      144033                           S96008                       Warehouse   124378          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud1867     ColeKepro 3.0      143902        143902.USA         S96011                        Active     119418   119418 Circle K                              100 S Greenville Ave                Richardson         TX   75081   10/2/2020
coincloud3683     ColeKepro 3.0      146429                           S96012                        Active     138868   138868 Hot Spot                              3180 N Blackstock Rd                Spartanburg        SC   29301   10/2/2020
coincloud3687     ColeKepro 3.0      146284                           S96018                        Active     138871   138871 Hot Spot                              107 Hampton St                      Chesnee            SC   29323   10/2/2020
coincloud1789     ColeKepro 3.0      143824                           S96022                       Warehouse   124699          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud3690     ColeKepro 3.0      146273                           S96026                        Active     140783          Secure Technicians Inc                1501 S Blount St                    Raleigh            NC   27603   10/2/2020
coincloud1645     ColeKepro 3.0      143680        143680.USA         S96029                        Active     120217   120217 Stripes                               1500 IH-20 West                     Cisco              TX   76437   10/2/2020
coincloud3517     ColeKepro 3.0      146081                           S96030                        Active     122923   122923 La Estrella Mini Mart Inc             7000 W Diversey Ave                 Chicago            IL   60707   10/2/2020
coincloud1997     ColeKepro 3.0      144032        144032.USA         S96031                        Active     124630   124630 Allsup's Convenience Store            601 W Front Ave                     Electra            TX   76360   10/2/2020
coincloud3499     ColeKepro 3.0      146084                           S96032                        Active     120246   120246 Handy Foods                           604 W Main St                       Ottawa             IL   61350   10/2/2020
coincloud2495     ColeKepro 3.0      145175                           S96033                       Warehouse   120027          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2488     ColeKepro 3.0      145168        145168.USA         S96034                        Active     124317   124317 Allsups                               201 W 10th St                       Borger             TX   79007   10/2/2020
coincloud2481     ColeKepro 3.0      145065                           S96035                       Warehouse   119773          Buck's Moving and Storage             2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud2288     ColeKepro 3.0      144364                           S96036                       Warehouse   124338          Buck's Moving and Storage             2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud1903     ColeKepro 3.0      143938                           S96037                        Active     125632   125632 Pwi                                   803 Main St                         Hooks              TX   75561   10/2/2020
coincloud1617     ColeKepro 3.0      143652                           S96038                       Warehouse   124578          HL Distribution                       1065 Texan Trail Rd                 Grapevine          TX   76051   10/2/2020
coincloud1814     ColeKepro 3.0      143849                           S96039                        Active     124438   124438 Allsup's Convenience Store            449 US-180                          Albany             TX   76430   10/2/2020
coincloud1626     ColeKepro 3.0      143661        143661.USA         S96040                        Active     109045   109045 Treexel Mart                          512 E Hamilton St                   Stamford           TX   79553   10/2/2020
coincloud3405     ColeKepro 3.0      146016        146016.USA         S96041                        Active     120155   120155 Stripes                               2005 W Pierce St                    Carlsbad           NM   88220   10/2/2020
coincloud1727     ColeKepro 3.0      143762        143762.USA         S96042                        Active     119430   119430 Circle K                              4902 Lakeview Pkwy                  Rowlett            TX   75088   10/2/2020
coincloud3438     ColeKepro 3.0      146005        146005.USA         S96043                        Active     103313   103313 Waterloo Liquors                      2512 Waterloo Rd                    Stockton           CA   95205   10/2/2020
coincloud2269     ColeKepro 3.0      144369                           S96044                       Warehouse   124319          Buck's Moving and Storage             2011 Avenue C                       Lubbock            TX   79404   10/2/2020
coincloud2368     ColeKepro 3.0      144418                           S96045                       Warehouse   119776          Allstar Moving                        1600 1st Street NW                  Albuquerque        NM   87102   10/2/2020
coincloud2486     ColeKepro 3.0      145169        145169.USA         S96046                        Active     119944   119944 Stripes                               1100 E Wadley Ave                   Midland            TX   79705   10/2/2020
coincloud3558     ColeKepro 3.0      146120                           S96047                        Active     142574   142574 Shannon Hills Foodmart                13622 Sardis Rd                     Mabelvale          AR   72103   10/2/2020
coincloud2499     ColeKepro 3.0      145177                          S96048                        Warehouse   119949          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2287     ColeKepro 3.0      144357                           S96049                       Warehouse   124292          Coast2Coast                           6557 Garden Rd. Ste. 14             Riviera Beach      FL   33404   10/2/2020
coincloud2428     ColeKepro 3.0      144475                           S96050                       Warehouse   119956          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud2389     ColeKepro 3.0      144414        144414.USA         S96051                        Active     120005   120005 Stripes                               6502 19th St                        Lubbock            TX   79416   10/2/2020
coincloud2469     ColeKepro 3.0      145070        145070.USA         S96052                        Active     120030   120030 Stripes                               2411 Rankin Hwy                     Midland            TX   79701   10/2/2020
coincloud3835     ColeKepro 3.0      146403                           S95486      Memphis, TN      Warehouse   141217          Deadline Construction                 19475 Alford Rd                     Magnolia           TX   77355   10/2/2020
coincloud1815     ColeKepro 3.0      143850                           S96053                        Active     125456   125456 Spec's Wines, Spirits & Finer Foods   1613 W Northwest Hwy                Dallas             TX   75220   10/2/2020
coincloud3516     ColeKepro 3.0      146186                           S96054                        Active     121598   121598 BuyCellFix                            1530 Mineral Spring Ave             North Providence   RI    2904   10/2/2020
coincloud2425     ColeKepro 3.0      144474                           S96055                       Warehouse   120180          Diversified Warehouse Inc             241 S Grandview                     Odessa             TX   79761   10/2/2020
coincloud3404     ColeKepro 3.0      146002        146002.USA         S96056                        Active     120162   120162 Stripes                               700 E Ave East                      Alpine             TX   79830   10/2/2020
coincloud1231     ColeKepro 3.0      143266        143266.USA         S96057                        Active     124658   124658 Allsup's Convenience Store            301 N Main St                       Frederick          OK   73542   10/2/2020
coincloud3496     ColeKepro 3.0      146089        146089.USA         S96058                        Active     123040   123040 Stag Hair Care                        6730 W State St                     Boise              ID   83714   10/2/2020
coincloud1655     ColeKepro 3.0      143690        143690.USA         S96114                        Active     120209   120209 Stripes                               4605 Frankford Rd                   Dallas             TX   75287   10/2/2020
coincloud4004     ColeKepro 3.0      147538                           S97712                        Active     124581          Advanced Rigging LLC                  2190 Old 6 Road                     Victor             IA   52347   10/2/2020
coincloud4003     ColeKepro 3.0      147537                           S97713                        Active     124589          Advanced Rigging LLC                  2190 Old 6 Road                     Victor             IA   52347   10/2/2020
coincloud4013     ColeKepro 3.0      147547                           S97726                        Active     140304   140304 The Depot Express                     188 Park Ridge Rd                   Atkins             IA   52206   10/2/2020
coincloud4379     ColeKepro 4.0      147913        147913.USA         S97730                        Active     125168   125168 Swanson's                             915 Simpson Ave                     Hoquiam            WA   98550   6/15/2021
coincloud4171     ColeKepro 3.0      147705        147705.USA         S97734                        Active     123941   123941 Allsup's Convenience Store            1605 Indian School Rd NW            Albuquerque        NM   87104   10/2/2020
coincloud4172     ColeKepro 3.0      147706        147706.USA         S97738    Albuquerque, NM     Active     146652   146652 Thorntons                             2229 S Cicero Ave                   Cicero             IL   60804   10/2/2020
coincloud4017     ColeKepro 3.0      147551      147551USA.USA        S97740                        Active     124580   124580 Yesway                                527 Park Ave                        Story City         IA   50248   10/2/2020
coincloud4173     ColeKepro 3.0      147707                           S97745    Albuquerque, NM     Active     146621   146621 Thorntons                             5900 S Harlem Ave                   Summit             IL   60501   10/2/2020
coincloud4158     ColeKepro 3.0      147692                           S97746                        Active     124022   124022 Allsup's Convenience Store            305 N Guadalupe St                  Santa Fe           NM   87501   10/2/2020
coincloud4010     ColeKepro 3.0      147544                           S97750                        Active     140311   140311 The Depot Express                     220 N Augusta Ave                   Oxford             IA   52322   10/2/2020
coincloud4161     ColeKepro 3.0      147695        147695.USA         S97753                        Active     123933   123933 Allsup's Convenience Store            1801 S 2nd St                       Gallup             NM   87301   10/2/2020
coincloud4453     ColeKepro 5.0      147987        147987.USA         S97757    Grand Rapids, MI    Active     150644   150644 Cumberland Farms                      520 Wilbur Ave                      Swansea            MA    2777   8/7/2021
coincloud151081   ColeKepro 5.0      151081        151081.USA        S97759       Sterling, VA      Active     152308   152308 Royal Farms                           6901 Governor Ritchie Hwy           Glen Burnie        MD   21061   8/7/2021
coincloud151082   ColeKepro 5.0      151082        151082.USA       1.222E+12    Las Vegas, NV     Warehouse                   Sloan                                                                                                     8/7/2021
coincloud4029     ColeKepro 3.0      147563                           S97759                       Warehouse   129170          CCHQ                                                                                                      10/2/2020
coincloud4435     ColeKepro 5.0      147969                           S97761    Grand Rapids, MI    Active     150779   150779 Cumberland Farms                      333 Talcottville Rd                 Vernon         CT        6066   8/7/2021
coincloud4165     ColeKepro 3.0      147699                           S97762                       Warehouse   124602          Buck's Moving and Storage             2011 Avenue C                       Lubbock        TX       79404   10/2/2020
coincloud4412     ColeKepro 5.0      147946        147946.USA         S97763      Revere, MA        Active     137704   137704 Green Valley Marketplace              8095A Edwin Raynor Blvd             Pasadena       MD       21122   8/7/2021
coincloud4159     ColeKepro 3.0      147693        147693.USA         S97765                        Active     124013   124013 Allsup's Convenience Store            2007 Cll Lorca                      Santa Fe       NM       87505   10/2/2020
coincloud4168     ColeKepro 3.0      147702        147702.USA         S97767                        Active     124044   124044 Allsup's Convenience Store            1500 N Garden Ave                   Roswell        NM       88201   10/2/2020
coincloud4318     ColeKepro 3.0      147552        147852.USA         S97769                        Active     126644   126644 Seattle Premium Outlets               10600 Quil Ceda Blvd                Tulalip        WA       98271   10/2/2020
coincloud4343     ColeKepro 3.0      147877                           S97771                        Active     150964   150964 Minit Mart                            105 N Front St                      Braidwood      IL       60408   10/2/2020
coincloud4170     ColeKepro 3.0      147704                           S97790                       Warehouse   124041          Buck's Moving and Storage             2011 Avenue C                       Lubbock        TX       79404   10/2/2020
coincloud4167     ColeKepro 3.0      147701        147701.USA         S97794    Albuquerque, NM     Active     146650   146650 Thorntons                             2640 Mannheim Rd                    Franklin Park  IL       60131   10/2/2020
coincloud4048     ColeKepro 3.0      147582                           S97795      Hayward, CA       Active     108153   108153 King Wine & Liquor III                1120 Fulton Ave                     Sacramento     CA       95825   10/2/2020
coincloud4433     ColeKepro 5.0      147966                           S97796    Grand Rapids, MI    Active     136293   136293 Willow Grove Food Mart                7715 Willow Grove Rd                Camden Wyoming DE       19934   8/7/2021
coincloud4434     ColeKepro 5.0      147968                           S97797    Grand Rapids, MI    Active     150835   150835 Cumberland Farms                      1455 Fall River Ave                 Seekonk        MA        2771    8/7/2021
coincloud4367     ColeKepro 4.0      147901                           S97800                       Warehouse   126820          Stolen                                                                                                    6/15/2021
coincloud4205     ColeKepro 3.0      147739        147739.USA         S97801      Bighton, CO       Active     103632   103632 Solo Liquor                           13751 E Yale Ave                    Aurora             CO   80014   10/2/2020
coincloud4456     ColeKepro 5.0      147990        148029USA          S97802    Grand Rapids, MI   Warehouse   137506          CCHQ                                                                                                      8/7/2021
coincloud4330     ColeKepro 3.0      147864                           S97804                        Active     128477          Thriftway on the Willapa              701 Willapa Pl                      Raymond           WA    98577   10/2/2020
coincloud4014     ColeKepro 3.0      147548                           S97805       Victor, IA       Active     140988   140988 Maynard's Food Center                 200 Reed St                         Akron             IA    51001   10/2/2020
coincloud4413     ColeKepro 5.0      147947        147947.USA         S97806      Revere, MA        Active     108403   108403 City Liquors                          1200 Northeast Blvd Suite #E        Wilmington        DE    19802   8/7/2021
coincloud4312     ColeKepro 3.0      147846                           S97807                        Active     130405   130405 Lucky's                               2156 Huguenot Trail                 Powhatan          VA    23139   10/2/2020
coincloud4322     ColeKepro 3.0      147856        147856.USA         S97808                        Active     122726   122726 Xpress Mart Pasco                     1724 W Clark St                     Pasco             WA    99301   10/2/2020
coincloud4124     ColeKepro 3.0      147658        147658.USA         S97809                        Active     123940   123940 Allsup's Convenience Store            1525 Isleta Blvd SW                 Albuquerque       NM    87105   10/2/2020
coincloud4075     ColeKepro 3.0      147609                           S97810                       Warehouse   139459          Ready Office Furniture                1515 N Kraemer Blvd, Unit H         Anaheim           CA    92806   10/2/2020
coincloud4469     ColeKepro 5.0      148003        148003.USA         S97813      Revere, MA        Active     135808   135808 H-E-B                                 20935 U.S. Hwy 281 N                San Antonio       TX    78258   8/7/2021
coincloud4362     ColeKepro 4.0      147896                           S97814                        Active     123328   123328 One Stop Mart                         28810 Stafford Hansel Rd            Hermiston         OR    97838   6/15/2021
coincloud4198     ColeKepro 3.0      147732        147732.USA         S97815      Bighton, CO       Active     146612   146612 Thorntons                             1321 Joliet Rd                      Romeoville        IL    60446   10/2/2020
coincloud4382     ColeKepro 4.0      147916                           S97816                       Warehouse   124705          Buck's Moving and Storage             2011 Avenue C                       Lubbock           TX    79404   6/15/2021
coincloud4320     ColeKepro 3.0      147854        147854.USA         S97817                        Active     123322   123322 One Stop Mart                         8034 Valley Rd NE                   Moses Lake        WA    98837   10/2/2020
coincloud4472     ColeKepro 5.0      148006        148006.USA         S97818      Revere, MA        Active     142372   142372 Sullivan's Grocery                    263 Magnolia Dr                     Raleigh           MS    39153   8/7/2021
coincloud4078     ColeKepro 3.0      147612        147612.USA         S97819      Hayward, CA       Active     108154   108154 Kings Wine and Liquor #2              2346 Fruitridge Rd                  Sacramento        CA    95822   10/2/2020
coincloud3425     ColeKepro 3.0      145872                           S95514                       Warehouse   120169          Diversified Warehouse Inc             241 S Grandview                     Odessa            TX    79761   10/2/2020
coincloud4373     ColeKepro 4.0      147907        147907.USA         S97820                        Active     125167   125167 Swanson's                             217 N Boone St                      Aberdeen          WA    98520   6/15/2021
coincloud4431     ColeKepro 5.0      147965                           S97821    Grand Rapids, MI    Active     145012   145012 Solomon's Store                       32 Main St                          West Stewartstown NH     3597    8/7/2021
coincloud4383     ColeKepro 4.0      147917                           S97822                       Warehouse   124418          Buck's Moving and Storage             2011 Avenue C                       Lubbock           TX    79404   6/15/2021
coincloud4031     ColeKepro 3.0      147565        147565.USA         S97823                        Active     125516   125516 Jack Be Click                         3855 Ambrosia St                    Castle Rock       CO    80109   10/2/2020
coincloud4018     ColeKepro 3.0      147552                           S97824       Victor, IA       Active     145522   145522 Brothers Market                       930 Commercial St                   Lisbon            IA    52253   10/2/2020
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coincloud151125   ColeKepro 5.0   151125   151125.USA     S97825      Sterling, VA         Active       152243   152243 Royal Farms                        8755 Centre Park Dr                                   Columbia            MD   21045   8/7/2021
coincloud4060     ColeKepro 3.0   147594                  S97825     Las Vegas, NV       Warehouse      134729          CCHQ                                                                                                                      10/2/2020
coincloud4005     ColeKepro 3.0   147539                  S97829                           Active       140310   140310 The Depot Express                  117 E Railroad St                                     Norway              IA   52318   10/2/2020
coincloud4551     ColeKepro 5.0   147515   147515.USA     S97830                           Active       145838   145838 Fenn's Country Market              2001 W Main St                                        Artesia             NM   88210   8/7/2021
coincloud4019     ColeKepro 3.0   147553                  S97831                         Warehouse      122788          CCHQ                                                                                                                      10/2/2020
coincloud4020     ColeKepro 3.0   147554                  S97835                         Warehouse      122947          CCHQ                                                                                                                      10/2/2020
coincloud4040     ColeKepro 3.0   147574                  S97838                         Warehouse      124297          CCHQ                                                                                                                      10/2/2020
coincloud4001     ColeKepro 3.0   147535                  S97840                           Active       124579   124579 Yesway                             1224 N Federal Ave                                    Mason City          IA   50401   10/2/2020
coincloud4206     ColeKepro 3.0   147740                  S97842      Bighton, CO          Active       146557   146557 Thorntons                          612 E Mound Rd                                        Decatur             IL   62526   10/2/2020
coincloud4465     ColeKepro 5.0   147999                  S97846      Revere, MA           Active       141713   141713 LifeLine                           3220 Cobb Pkwy                                        Atlanta             GA   30339    8/7/2021
coincloud4204     ColeKepro 3.0   147738                  S97847      Bighton, CO          Active       146669   146669 Thorntons                          3909 U.S Hwy 31 E                                     Clarksville         IN   47129   10/2/2020
coincloud4039     ColeKepro 3.0   147573                  S97848                         Warehouse      125186          Great Plains / RSI                 22700 E I-76 Frontage Rd, Suite 100                   Brighton            CO   80603   10/2/2020
coincloud4432     ColeKepro 5.0   147966                  S97849    Grand Rapids, MI       Active       148139   148139 Vittles & Variety                  125 Scribner Blvd                                     Lewiston            ME    4240   8/7/2021
coincloud4002     ColeKepro 3.0   147536                  S97850                           Active       128171   128171 Gateway Mall                       6100 O St                                             Lincoln             NE   68505   10/2/2020
coincloud4187     ColeKepro 3.0   147721   147721.USA     S97852                           Active       125717   125717 Pwi                                1695 N Watkins Rd                                     Watkins             CO   80137   10/2/2020
coincloud150986   ColeKepro 5.0   150986   150986.USA    S97855       Sterling, VA         Active       152290   152290 Royal Farms                        400 S Camp Meade Rd #0045                             Linthicum Heights   MD   21090   8/7/2021
coincloud4085     ColeKepro 3.0   147619                  S97855     Las Vegas, NV     Decommissioned   129952          Decommissioned                                                                                                            10/2/2020
coincloud4007     ColeKepro 3.0   147541                  S97856                           Active       140315   140315 The Depot Express                  103 S Highland St                                     Williamsburg        IA   52361   10/2/2020
coincloud151014   ColeKepro 5.0   151014   151014.USA     S97859      Sterling, VA         Active       152283   152283 Royal Farms                        2500 Mountain Rd                                      Pasadena            MD   21122   8/7/2021
coincloud151296   ColeKepro 5.0   151296   151296.USA   354420803     Sterling, VA         Active       152296   152296 Royal Farms                        424 6th St #0028                                      Annapolis           MD   21403    8/7/2021
coincloud4366     ColeKepro 4.0   147900                  S97859                         Warehouse      124311          CCHQ                                                                                                                      6/15/2021
coincloud150911   ColeKepro 5.0   150911   150911.USA     S97861      Sterling, VA         Active       152110   152110 Royal Farms                        100 Monument Ave #2                                   National Harbor     MD   20745   8/7/2021
coincloud4079     ColeKepro 3.0   147613                  S97861                         Warehouse      135488          CCHQ                                                                                                                      10/2/2020
coincloud4219     ColeKepro 3.0   147753                  S97864      Bighton, CO          Active       146581   146581 Thorntons                          2208 N Peoria Rd                                      Springfield         IL   62702   10/2/2020
coincloud4184     ColeKepro 3.0   147718                  S97869                         Warehouse      126240          ATM Advisory                       9402 Uptown Drive, Suite 300                          Indianapolis        IN   46256   10/2/2020
coincloud4073     ColeKepro 3.0   147607                  S97870     Las Vegas, NV       Warehouse      129861          Decommissioned                                                                                                            10/2/2020
coincloud4023     ColeKepro 3.0   147557                  S97871                           Active       123442   123442 HomeCity Express                   365 US-6                                              Geneseo             IL   61254   10/2/2020
coincloud4360     ColeKepro 4.0   147894                  S97876                         Warehouse      124336          Logic Warehouse                    4121 N Kentucky Ave.                                  Kansas City         MO   64161   6/15/2021
coincloud4169     ColeKepro 3.0   147703   147703.USA     S97878    Albuquerque, NM        Active       146609   146609 Thorntons                          476 N York St                                         Elmhurst            IL   60126   10/2/2020
coincloud4088     ColeKepro 3.0   147622   147622.USA     S97879                           Active       138440   138440 Gridley Clothing And Smoke shop    1569 CA-99                                            Gridley             CA   95948   10/2/2020
coincloud4197     ColeKepro 3.0   147731                  S97884      Bighton, CO          Active       146588   146588 Thorntons                          107 W Spring Creek Rd                                 East Peoria         IL   61611   10/2/2020
coincloud4470     ColeKepro 5.0   148004   148004.USA     S97885      Revere, MA           Active       139997   139997 Lewis Drug                         4409 E 26th St                                        Sioux Falls         SD   57103   8/7/2021
coincloud4464     ColeKepro 5.0   147998   147998.USA     S97886      Revere, MA           Active       141717   141717 Shoppers Value Foods               1867 Nelson St #1                                     Shreveport          LA   71107   8/7/2021
coincloud4471     ColeKepro 5.0   148005   148005USA      S97887      Revere, MA         Warehouse      103349          CCHQ                                                                                                                       8/7/2021
coincloud4188     ColeKepro 3.0   147722   147722.USA     S97888      Bighton, CO          Active       146634   146634 Thorntons                          1602 Essington Rd                                     Joliet              IL   60435   10/2/2020
coincloud3418     ColeKepro 3.0   146023                  S95515                         Warehouse      119981          Diversified Warehouse Inc          241 S Grandview                                       Odessa              TX   79761   10/2/2020
coincloud4477     ColeKepro 5.0   148011   148011.USA     S97889      Revere, MA           Active       126515          Lanza Trucking                     116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury            NY   11590   8/7/2021
coincloud4466     ColeKepro 5.0   148000   148000.USA     S97892      Revere, MA           Active       141099   141099 Sullivan's Grocery                 650 N Oak Ave                                         Ruleville           MS   38771    8/7/2021
coincloud4218     ColeKepro 3.0   147752                  S97894      Bighton, CO          Active       146558   146558 Thorntons                          813 N St Joseph Ave                                   Evansville          IN   47712   10/2/2020
coincloud4222     ColeKepro 3.0   147756                  S97899                           Active       134807   134807 Dutch Creek Liquors                8250 W Coal Mine Ave #4                               Littleton           CO   80123   10/2/2020
coincloud4028     ColeKepro 3.0   147562                  S97901                         Warehouse      124771          Allstar Moving                     1600 1st Street NW                                    Albuquerque         NM   87102   10/2/2020
coincloud3985     ColeKepro 3.0   147520                  S97920                           Active       125281   125281 Essentials barber Boutique         300 Central Ave SE                                    Albuquerque         NM   87104   10/2/2020
coincloud3990     ColeKepro 3.0   147525   147525.USA     S97921                           Active       126299   126299 Liberty Convenience Store          439 Capital Ave NE                                    Battle Creek        MI   49017   10/2/2020
coincloud3997     ColeKepro 3.0   147532   147532.USA     S97922                           Active       127207   127207 Super Best                         13600 Laurel Bowie Rd                                 Laurel              MD   20708   10/2/2020
coincloud4221     ColeKepro 3.0   147755   147755.USA     S97925      Bighton, CO          Active       146582   146582 Thorntons                          420 W Dearborn St                                     Havana              IL   62644   10/2/2020
coincloud4459     ColeKepro 5.0   147993   147993USA      S97928      Revere, MA         Warehouse      138294          CCHQ                                                                                                                       8/7/2021
coincloud150896   ColeKepro 5.0   150896                              Sterling, VA       Warehouse                      Victory Vans                       119 Terminal Drive                                    Sterling            VA   20166    8/7/2021
coincloud4215     ColeKepro 3.0   147749                  S97930      Bighton, CO          Active       146605   146605 Thorntons                          24144 W Eames St                                      Channahon           IL   60410   10/2/2020
coincloud4478     ColeKepro 5.0   148012   148012.USA    S97932       Revere, MA           Active       141590   141590 Shoppers Value Foods               Hwy 1 North                                           Greenville          MS   38701   8/7/2021
coincloud4538     ColeKepro 5.0   148072                 964511        Sloan, NV         Warehouse      129546          Sloan                                                                                                                      8/7/2021
coincloud5068     ColeKepro 5.0   148599                 S97935       Lubbock, TX          Active       128229   128229 Toot'n Totum                       2601 Paramount Blvd                                   Amarillo            TX   79109   8/7/2021
coincloud4336     ColeKepro 3.0   147870   147870.USA    S97937                            Active       124304   124304 The Press                          909 S Grand Blvd                                      Spokane             WA   99202   10/2/2020
coincloud3416     ColeKepro 3.0   146011                  S95535                         Warehouse      120158          Diversified Warehouse Inc          241 S Grandview                                       Odessa              TX   79761   10/2/2020
coincloud4273     ColeKepro 3.0   147807                  S97940                         Warehouse      128672          Weleski Transfer                   500 Treadway Lane                                     Creighton           PA   15030   10/2/2020
coincloud5044     ColeKepro 5.0   148575                  S97943      Magnolia, TX         Stolen       122190          Loss Event                                                                                                                 8/7/2021
coincloud4022     ColeKepro 3.0   147556                 S97952                            Active       119062   119062 Comp U Link                        4626 Beckley Rd                                       Battle Creek        MI   49015   10/2/2020
coincloud4316     ColeKepro 3.0   147850                  S97955                           Active       120534   120534 Community Markets                  262 Sandusky St                                       Plymouth            OH   44865   10/2/2020
coincloud3965     ColeKepro 3.0   146545   146545.USA    S97956                            Active       122553   122553 88 Grill                           502 West Main Street                                  New Castle          CO   81647   10/2/2020
coincloud3590     ColeKepro 3.0   146283                2.521E+12                        Warehouse      124326          CCHQ (In Transit)                  10190 Covington Cross Dr.                             Las Vegas           NV   89144   10/2/2020
coincloud4038     ColeKepro 3.0   147572   147572.USA     S97957                           Active       119653   119653 Figaro's General Store             410 Main St                                           Boone               CO   81025   10/2/2020
coincloud4125     ColeKepro 3.0   147659                  S97958                           Active       126957   126957 Zaragoza Smoke Shop                835 N Zaragoza Rd #suite f                            El Paso             TX   79907   10/2/2020
coincloud4317     ColeKepro 3.0   147851                  S97959                           Active       123926   123926 VanHorn's Market                   2810 Capital Ave SW                                   Battle Creek        MI   49015   10/2/2020
coincloud3964     ColeKepro 3.0   146544   146544.USA     S97960                           Active       123677   123677 A & B Pawn & Jewelry               2201 Alma Hwy                                         Van Buren           AR   72956   10/2/2020
coincloud150958   ColeKepro 5.0   150958                              Sterling, VA       Warehouse                      Victory Vans                       125 Terminal Drive                                    Sterling            VA   20166    8/7/2021
coincloud3966     ColeKepro 3.0   147500                 S97962                          Warehouse      123925          CCHQ                                                                                                                      10/2/2020
coincloud4407     ColeKepro 5.0   147941                 S97971       Revere, MA           Active       140002   140002 Save A Lot                         535 E 2nd St                                          Clarksdale          MS   38614    8/7/2021
coincloud4484     ColeKepro 5.0   148018                 S97972       Revere, MA           Active       140019   140019 Sunflower IGA                      333 Hwy 12 E                                          Kosciusko           MS   39090    8/7/2021
coincloud4458     ColeKepro 5.0   147992                 S97975       Revere, MA           Active       137706   137706 Green Valley Marketplace           7280 Montgomery Rd                                    Elkridge            MD   21075    8/7/2021
coincloud4460     ColeKepro 5.0   147994   147994.USA    S97976       Revere, MA           Active       141594   141594 Sullivan's Grocery                 130 Edwards Cir                                       Flora               MS   39071   8/7/2021
coincloud4461     ColeKepro 5.0   147995   147995.USA    S97978        Sloan, NV         Warehouse      118278          Sloan                                                                                                                     8/7/2021
coincloud4310     ColeKepro 3.0   147844   147844.USA    S97979                            Active       130445   130445 EzGo Mart                          1913 Anderson Hwy                                     Cumberland          VA   23040   10/2/2020
coincloud4449     ColeKepro 5.0   147983   147983.USA    S97981     Grand Rapids, MI       Active       151077   151077 Cumberland Farms                   724 Cedar St                                          Newington           CT    6111    8/7/2021
coincloud4309     ColeKepro 3.0   147843                 S97982                            Active       130344   130344 Hadensville Store                  4834 Broad St Rd                                      Louisa              VA   23093   10/2/2020
coincloud4552     ColeKepro 5.0   147533                 S97985                          Warehouse      124115          Allstar Moving                     1600 1st Street NW                                    Albuquerque         NM   87102    8/7/2021
coincloud4482     ColeKepro 5.0   148016   148016.USA    S97986       Revere, MA           Active       140017   140017 Chandler's Supervalue              9141 Hwy 15                                           Ackerman            MS   39735    8/7/2021
coincloud4145     ColeKepro 3.0   147679   147679.USA    S97988                            Active       124030   124030 Allsup's Convenience Store         507 Paseo Del Pueblo Norte                            Taos                NM   87571   10/2/2020
coincloud4148     ColeKepro 3.0   147682   147682.USA    S97989                            Active       124014   124014 Allsup's Convenience Store         4200 Airport Rd                                       Santa Fe            NM   87507   10/2/2020
coincloud4012     ColeKepro 3.0   147546                 S97990                            Active       124571   124571 Yesway                             1920 S Federal Ave                                    Mason City          IA   50401   10/2/2020
coincloud151107   ColeKepro 5.0   151107   151107.USA    S97991       Sterling, VA         Active       152089   152089 Royal Farms                        2050 Yellow Springs Rd                                Frederick           MD   21702   8/7/2021
coincloud3963     ColeKepro 3.0   146543                 S97991                          Warehouse      121562          CCHQ                                                                                                                      10/2/2020
coincloud4146     ColeKepro 3.0   147680                 S97992                            Active       124015   124015 Allsup's Convenience Store         2640 Agua Fria St                                     Santa Fe            NM   87505   10/2/2020
coincloud4163     ColeKepro 3.0   147697                 S97994     Albuquerque, NM        Active       146628   146628 Thorntons                          2201 N Green Bay Rd                                   Waukegan            IL   60087   10/2/2020
coincloud3987     ColeKepro 3.0   147522                 S97996                            Active       127202   127202 Jason's Super Foods - Crosby       211 Main St S                                         Crosby              ND   58730   10/2/2020
coincloud4144     ColeKepro 3.0   147678                 S97998                          Warehouse      124023          Allstar Moving                     1600 1st Street NW                                    Albuquerque         NM   87102   10/2/2020
coincloud3983     ColeKepro 3.0   147518                 S98001                            Active       125723   125723 Pwi                                1715 Vado Rd                                          Vado                NM   88072   10/2/2020
coincloud4011     ColeKepro 3.0   147545                 S98003                            Active       124585   124585 Yesway                             418 S Federal Ave                                     Mason City          IA   50401   10/2/2020
coincloud4154     ColeKepro 3.0   147688                 S98008                            Active       140305   140305 The Depot Express                  100 Oakdale Blvd #Ste 100                             Coralville          IA   52241   10/2/2020
coincloud4091     ColeKepro 3.0   147625                 S98009                            Active       124574   124574 Yesway                             534 Church St                                         Ottumwa             IA   52501   10/2/2020
coincloud4476     ColeKepro 5.0   148010   148010.USA    S98010       Revere, MA           Active       138444   138444 Ideal Markets                      125 W Elm St                                          Homer City          PA   15748    8/7/2021
coincloud4147     ColeKepro 3.0   147681   147681.USA    S98011                            Active       124032   124032 Allsup's Convenience Store         1050 Paseo Del Pueblo Sur                             Taos                NM   87571   10/2/2020
coincloud4483     ColeKepro 5.0   148017   148017.USA    S98012       Revere, MA           Active       140785   140785 Super Value IGA                    606 W 1st St                                          Belzoni             MS   39038    8/7/2021
coincloud4063     ColeKepro 3.0   147597   147597.USA    S98013       Hayward, CA          Active       104176   104176 Santa Rosa Plaza                   1071 Santa Rosa Plaza                                 Santa Rosa          CA   95401   10/2/2020
coincloud4065     ColeKepro 3.0   147599                 S98014                            Active       108944   108944 Chevron                            800 5th St                                            Gonzales            CA   93926   10/2/2020
coincloud4069     ColeKepro 3.0   147603                 S98016                            Active       130052   130052 Mendota Food Center                697 Derrick Ave                                       Mendota             CA   93640   10/2/2020
coincloud4030     ColeKepro 3.0   147564   147564.USA    S98024                            Active       123624   123624 North Point Computers              62 S King St                                          Alice               TX   78332   10/2/2020
coincloud151094   ColeKepro 5.0   151094   151094.USA    S98025       Sterling, VA         Active       152169   152169 Royal Farms                        9043 Liberty Rd                                       Randallstown        MD   21133   8/7/2021
coincloud4072     ColeKepro 3.0   147606                 S98025      Las Vegas, NV       Warehouse      135762          Decommissioned                                                                                                            10/2/2020
coincloud4059     ColeKepro 3.0   147593   147593.USA    S98026      Hayward, CA           Active       104170   104170 Great Mall                         447 Great Mall Dr                                     Milpitas            CA   95035   10/2/2020
coincloud4008     ColeKepro 3.0   147542   147542.USA    S98027                            Active       124577   124577 Yesway                             1803 Superior St                                      Webster City        IA   50595   10/2/2020
coincloud4067     ColeKepro 3.0   147601                 S98028                            Active       130046   130046 Tropicana Supermarket - Coalinga   555 E Elm Ave                                         Coalinga            CA   93210   10/2/2020
coincloud4149     ColeKepro 3.0   147683   147683.USA    S98029                            Active       124021   124021 Allsup's Convenience Store         1899 St Michael's Dr                                  Santa Fe            NM   87505   10/2/2020
coincloud4267     ColeKepro 3.0   147801   147801.USA    S98031                            Active       145474   145474 Save A Lot                         402 S Main St                                         Wilkes-Barre        PA   18702   10/2/2020
coincloud4220     ColeKepro 3.0   147754   147754.USA    S98032       Bighton, CO          Active       146577   146577 Thorntons                          3001 Wabash Ave                                       Springfield         IL   62704   10/2/2020
coincloud4064     ColeKepro 3.0   147598                 S98034       Hayward, CA        Warehouse      128968          Decommissioned                                                                                                            10/2/2020
coincloud5743     ColeKepro 5.0   149274   149274.USA    S98037       Hayward, CA          Active       147420   147420 One Stop Food & Liquor             6326 Main Ave ## 2                                    Orangevale     CA        95662   8/7/2021
coincloud4335     ColeKepro 3.0   147869                 S98038                            Active       130334   130334 DM Wireless                        7909 Rainier Ave S                                    Seattle        WA        98118   10/2/2020
coincloud151298   ColeKepro 5.0   151298   151298.USA    S98041       Sterling, VA         Active       152157   152157 Royal Farms                        744 S Philadelphia Blvd                               Aberdeen       MD        21001    8/7/2021
coincloud4488     ColeKepro 5.0   148022   148022.USA    S98043       Revere, MA           Active       141692   141692 Sullivan's Grocery                 40 Hwy 184                                            East Bude      MS        39630    8/7/2021
coincloud2626     ColeKepro 3.0   145281                 S95540                          Warehouse      120510          Logic Warehouse                    4121 N Kentucky Ave.                                  Kansas City    MO        64161   10/2/2020
coincloud2736     ColeKepro 3.0   145297   145297.USA    S98046                            Active       120365   120365 AAA Pawn Shop                      132 W Kansas Ave                                      Garden City    KS        67846   10/2/2020
coincloud4480     ColeKepro 5.0   148014   148014USA     S98049       Revere, MA           Active       136293   136293 Willow Grove Food Mart             7715 Willow Grove Rd                                  Camden Wyoming DE        19934    8/7/2021
coincloud4164     ColeKepro 3.0   147698   147698.USA    S98050                            Active       124211   124211 Allsup's Convenience Store         203 US-54                                             Logan          NM        88426   10/2/2020
coincloud4485     ColeKepro 5.0   148019   148019.USA    S98055       Revere, MA           Active       137042   137042 Le's Laundry                       232 Ferry St                                          Malden         MA         2148    8/7/2021
coincloud5069     ColeKepro 5.0   148600                 S98056       Lubbock, TX          Active       127250   127250 Toot'n Totum                       421 Tascosa Rd                                        Amarillo       TX        79124    8/7/2021
coincloud4183     ColeKepro 3.0   147717   147717.USA    S98060                            Active       126298   126298 Elite Mobile Phone Repair          7233 W 103rd St                                       Palos Hills    IL        60465   10/2/2020
coincloud4090     ColeKepro 3.0   147624                 S98063                            Active       124561          Advanced Rigging LLC               2190 Old 6 Road                                       Victor         IA        52347   10/2/2020
coincloud4189     ColeKepro 3.0   147723                 S98064       Bighton, CO          Active       146611   146611 Thorntons                          2798 W Jefferson St                                   Joliet         IL        60435   10/2/2020
coincloud4186     ColeKepro 3.0   147720                 S98065                            Active       126241   126241 Harding's Friendly Market          14 W Monroe St                                        Bangor         MI        49013   10/2/2020
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coincloud4123     ColeKepro 3.0   147657   147657.USA   S98066                          Active       124018   124018 Allsup's Convenience Store                4680 Airport Rd                  Santa Fe           NM   87507   10/2/2020
coincloud4121     ColeKepro 3.0   147655                S98067                          Active       126955   126955 McCombs Smoke Shop                        10060 McCombs St ##E             El Paso            TX   79924   10/2/2020
coincloud4089     ColeKepro 3.0   147623   147623.USA   S98068                          Active       123921   123921 Allsup's Convenience Store                103 W Santa Fe Ave               Grants             NM   87002   10/2/2020
coincloud4118     ColeKepro 3.0   147652                S98070                          Active       124186   124186 Allsup's Convenience Store                728 W 21st St                    Clovis             NM   88101   10/2/2020
coincloud4120     ColeKepro 3.0   147654                S98071                      Decommissioned   126953          Decommissioned                                                                                             10/2/2020
coincloud4156     ColeKepro 3.0   147690   147690.USA   S98073                          Active       124033   124033 Allsup's Convenience Store                1032 W 2nd St                    Portales           NM   88130   10/2/2020
coincloud4185     ColeKepro 3.0   147719                S98075                          Active       126239   126239 Harding's Friendly Market                 618 N Riverview Dr               Parchment          MI   49004   10/2/2020
coincloud4119     ColeKepro 3.0   147653                S98083                        Warehouse      125041          Allstar Moving                            1600 1st Street NW               Albuquerque        NM   87102   10/2/2020
coincloud4153     ColeKepro 3.0   147687                S98085                          Active       124582   124582 Yesway                                    1976 Franklin St                 Waterloo           IA   50703   10/2/2020
coincloud4155     ColeKepro 3.0   147689   147689.USA   S98086                          Active       124573   124573 Yesway                                    2508 N Court St                  Ottumwa            IA   52501   10/2/2020
coincloud4092     ColeKepro 3.0   147626                S98091                          Active       124591          Advanced Rigging LLC                      2190 Old 6 Road                  Victor             IA   52347   10/2/2020
coincloud4094     ColeKepro 3.0   147628                S98092                          Active       124565          Advanced Rigging LLC                      2190 Old 6 Road                  Victor             IA   52347   10/2/2020
coincloud4246     ColeKepro 3.0   147780                S98094                        Warehouse      123687          ATM Advisory                              9402 Uptown Drive, Suite 300     Indianapolis       IN   46256   10/2/2020
coincloud4248     ColeKepro 3.0   147782   147782.USA   S98099                          Active       124928   124928 David's Market                            6033 N Sheridan Rd Ste N1        Chicago            IL   60660   10/2/2020
coincloud4249     ColeKepro 3.0   147783                S98106                          Active       127203   127203 Jim's IGA                                 202 N Washington St              Lacon              IL   61540   10/2/2020
coincloud3984     ColeKepro 3.0   147519   147519.USA   S98109                          Active       125718   125718 PWI                                       1040 I-70                        Palisade           CO   81526   10/2/2020
coincloud3992     ColeKepro 3.0   147527                S98110                          Active       135661   135661 H-E-B                                     15300 S IH 35                    Buda               TX   78610   10/2/2020
coincloud151190   ColeKepro 5.0   151190   151190.USA   S98111     Sterling, VA         Active       152131   152131 Royal Farms                               690 Watkins Mill Rd              Gaithersburg       MD   20879   8/7/2021
coincloud3995     ColeKepro 3.0   147530                S98111                        Warehouse      121164          CCHQ                                                                                                       10/2/2020
coincloud3996     ColeKepro 3.0   147531                S98112                        Warehouse      121894          Allstar Moving                            1600 1st Street NW               Albuquerque        NM   87102   10/2/2020
coincloud3986     ColeKepro 3.0   147521   147521.USA   S98113                          Active       141213   141213 EZ Coin Laundromat                        2629 W 7800 S                    West Jordan        UT   84088   10/2/2020
coincloud4032     ColeKepro 3.0   147566                S98117                          Active       125195   125195 CBD Life / Colorado's Big Discovery       826 E Fillmore St #B             Colorado Springs   CO   80907   10/2/2020
coincloud4481     ColeKepro 5.0   148015   148015.USA   S98118     Revere, MA           Active       139998   139998 Food Depot                                3188 W Northside Dr              Jackson            MS   39213   8/7/2021
coincloud3994     ColeKepro 3.0   147529                S98121                          Active       125914   125914 Pwi                                       1620 Elk St                      Rock Springs       WY   82901   10/2/2020
coincloud4046     ColeKepro 3.0   147580                S98122                          Stolen       128162   128162 Loss Event                                                                                                 10/2/2020
coincloud4467     ColeKepro 5.0   148001   148001.USA   S98123     Revere, MA           Active       141592   141592 Sullivan's Grocery                        215 Hwy 51 N                     Brookhaven         MS   39601    8/7/2021
coincloud3991     ColeKepro 3.0   147526                S98125                          Active       125729   125729 Pwi                                       1881 California Ave              Salt Lake City     UT   84104   10/2/2020
coincloud4043     ColeKepro 3.0   147577                S98126                          Active       128480   128480 Leonards Market                           88 W Sierra Ave                  Portola            CA   96122   10/2/2020
coincloud3962     ColeKepro 3.0   146542   146542.USA   S98127                          Active       125719   125719 Pwi                                       4115 193rd St                    Bunker Hill        KS   67626   10/2/2020
coincloud3961     ColeKepro 3.0   146541   146541.USA   S98128                          Active       125736   125736 Los Alamos Cooperative Market             95 Entrada Dr                    Los Alamos         NM   87544   10/2/2020
coincloud4479     ColeKepro 5.0   148013   148013.USA   S98129     Revere, MA           Active       138295   138295 E-Z CA$H Payday Loans                     8153 Hwy 178W                    Byhalia            MS   38611   8/7/2021
coincloud3993     ColeKepro 3.0   147528   147528.USA   S98130                          Active       135625   135625 H-E-B                                     11521 N FM 620 #Building A       Austin             TX   78726   10/2/2020
coincloud3999     ColeKepro 3.0   147524                S98131                          Active       127697   127697 Franklin Laundromat                       100 Akin Ave                     Franklin           KY   42134   10/2/2020
coincloud4457     ColeKepro 5.0   147991   147991.USA   S98133     Revere, MA           Active       141718   141718 Shoppers Value Foods                      101 Dan Reneau Dr                Ruston             LA   71270   8/7/2021
coincloud4475     ColeKepro 5.0   148009   148009.USA   S98134     Revere, MA           Active       139277   139277 AMPM                                      205 N McCarran Blvd              Sparks             NV   89431    8/7/2021
coincloud4033     ColeKepro 3.0   147567   147567.USA   S98135                          Active       125045   125045 GameTime Sports Cards & Collectables      1449 Eubank Blvd NE              Albuquerque        NM   87112   10/2/2020
coincloud4042     ColeKepro 3.0   147576   147576.USA   S98136                          Active       127581   127581 Happy Hollow Market                       1704 Senter Rd                   San Jose           CA   95112   10/2/2020
coincloud4044     ColeKepro 3.0   147578   147578.USA   S98137                          Active       128473   128473 Las MontaÃƒÂ±as Supermarket               1725 Willow Pass Rd              Concord            CA   94520   10/2/2020
coincloud4055     ColeKepro 3.0   147589                S98141    Las Vegas, NV       Warehouse      125261          CCHQ                                                                                                       10/2/2020
coincloud4247     ColeKepro 3.0   147781   147781.USA   S98143                          Active       120538   120538 Germantown Fresh Market                   2313 Dayton Germantown Pike      Germantown         OH   45327   10/2/2020
coincloud4352     ColeKepro 3.0   147886   147886.USA   S98144                          Active       123116   123116 STAR GAS STATION | MK MINI MART           101 E Mt Pleasant St             West Burlington    IA   52655   10/2/2020
coincloud4193     ColeKepro 3.0   147727                S98145     Bighton, CO          Active       146639   146639 Thorntons                                 2401 63rd St                     Woodridge          IL   60517   10/2/2020
coincloud4157     ColeKepro 3.0   147691                S98148                          Active       124017   124017 Allsup's Convenience Store                444 N Riverside Dr               EspaÃƒÂ±ola        NM   87532   10/2/2020
coincloud4093     ColeKepro 3.0   147627                S98149                          Active       140313   140313 The Depot Express                         101 1st St                       Van Horne          IA   52346   10/2/2020
coincloud4409     ColeKepro 5.0   147943   147943.USA   S98156     Revere, MA           Active       141591   141591 Shoppers Value Foods                      150 W Reed Rd                    Greenville         MS   38701   8/7/2021
coincloud4194     ColeKepro 3.0   147728                S98157     Bighton, CO          Active       146553   146553 Thorntons                                 13604 Blue Lick Rd               Memphis            IN   47143   10/2/2020
coincloud4182     ColeKepro 3.0   147716   147716.USA   S98160                          Active       119177   119177 Crest Foods                               1315 N Eastern Ave               Moore              OK   73160   10/2/2020
coincloud4191     ColeKepro 3.0   147725                S98165     Bighton, CO          Active       147777   147777 J & Q Smoke and Vape                      9632 S Pulaski Rd                Oak Lawn           IL   60453   10/2/2020
coincloud4179     ColeKepro 3.0   147713                S98166                          Active       150961   150961 Minit Mart                                9051 US-45                       Manteno            IL   60950   10/2/2020
coincloud4174     ColeKepro 3.0   147708   147708.USA   S98167                          Active       124053   124053 Allsup's Convenience Store                1300 Indian Wells Rd             Alamogordo         NM   88310   10/2/2020
coincloud4196     ColeKepro 3.0   147730   147730.USA   S98168     Bighton, CO          Active       146615   146615 Thorntons                                 400 Collins St                   Joliet             IL   60432   10/2/2020
coincloud4181     ColeKepro 3.0   147715                S98169                          Active       125182   125182 CBD Life/ Chicago's Big Discovery         617 W Golf Rd                    Des Plaines        IL   60016   10/2/2020
coincloud4195     ColeKepro 3.0   147729                S98170     Bighton, CO          Active       146627   146627 Thorntons                                 418 S Lincolnway St              North Aurora       IL   60542   10/2/2020
coincloud4192     ColeKepro 3.0   147726                S98171     Bighton, CO          Active       146585   146585 Thorntons                                 2820 Court St                    Pekin              IL   61554   10/2/2020
coincloud4354     ColeKepro 3.0   147888                S98172                          Active       124006   124006 Hammerhead Tattoo                         2521 S Archer Ave                Chicago            IL   60608   10/2/2020
coincloud4299     ColeKepro 3.0   147833   147833.USA   S98173                          Active       123765   123765 Galeton Shop 'n Save                      28 West St                       Galeton            PA   16922   10/2/2020
coincloud4356     ColeKepro 4.0   147890                S98174                          Active       125192   125192 Mt Sterling IGA                           200 Pittsfield Rd ## A           Mt Sterling        IL   62353   6/15/2021
coincloud4419     ColeKepro 5.0   147953                S98175     Revere, MA         Warehouse      143168                                                                                                                      8/7/2021
coincloud4358     ColeKepro 4.0   147892                S98176                        Warehouse      122935          ATM Advisory                              9402 Uptown Drive, Suite 300     Indianapolis       IN   46256   6/15/2021
coincloud4250     ColeKepro 3.0   147784   147784.USA   S98177                          Active       126509   126509 Basics Cooperative Natural Foods          1711 Lodge Dr                    Janesville         WI   53545   10/2/2020
coincloud4180     ColeKepro 3.0   147714                S98178                          Active       120536   120536 Community Markets                         8793 Township Rd 239             Lakeview           OH   43331   10/2/2020
coincloud4351     ColeKepro 3.0   147885                S98179                        Warehouse      130347          Lile International                        20427 87th Avenue South          Kent               WA   98031   10/2/2020
coincloud4339     ColeKepro 3.0   147873                S98180                        Warehouse      128476          CCHQ                                                                                                       10/2/2020
coincloud151185   ColeKepro 5.0   151185   151185.USA   S98181     Sterling, VA         Active       152321   152321 Royal Farms                               2620 Mountain Rd                 Joppatowne         MD   21085   8/7/2021
coincloud4251     ColeKepro 3.0   147785                S98181                        Warehouse      124105          CCHQ                                                                                                       10/2/2020
coincloud4384     ColeKepro 4.0   147918                S98182                        Warehouse      124528          Allstar Moving                            1600 1st Street NW               Albuquerque        NM   87102   6/15/2021
coincloud4176     ColeKepro 3.0   147710                S98189                        Warehouse      125200          HL Distribution                           1065 Texan Trail Rd              Grapevine          TX   76051   10/2/2020
coincloud4202     ColeKepro 3.0   147736                S98191     Bighton, CO          Active       146555   146555 Thorntons                                 1401 Corydon Pike                New Albany         IN   47150   10/2/2020
coincloud4178     ColeKepro 3.0   147712                S98192                          Active       153279   153279 Minit Mart                                20 E Division St                 Coal City          IL   60416   10/2/2020
coincloud4175     ColeKepro 3.0   147709   147709.USA   S98195                          Active       126237   126237 Harding's Friendly Market                 300 Reno Dr                      Wayland            MI   49348   10/2/2020
coincloud4111     ColeKepro 3.0   147645                S98196                        Warehouse      124288          Buck's Moving and Storage                 2011 Avenue C                    Lubbock            TX   79404   10/2/2020
coincloud4095     ColeKepro 3.0   147629   147629.USA   S98197                          Active       124576   124576 Yesway                                    502 W 2nd St                     Ottumwa            IA   52501   10/2/2020
coincloud4097     ColeKepro 3.0   147631                S98201      Victor, IA          Active       145519   145519 Brothers Market                           1022 Skylar St                   Denver             IA   50622   10/2/2020
coincloud4177     ColeKepro 3.0   147711                S98202                          Active       121362   121362 Bolt's Lake Benton Grocery                104 E Benton St                  Lake Benton        MN   56149   10/2/2020
coincloud4323     ColeKepro 3.0   147857                S98207                          Active       125046   125046 Cyber Age VR                              214 W 1st Ave                    Toppenish          WA   98948   10/2/2020
coincloud4410     ColeKepro 5.0   147944   147944.USA   S98209     Revere, MA           Active       136228   136228 MAINE Northern Lights                     421 Water St                     Gardiner           ME    4345    8/7/2021
coincloud4408     ColeKepro 5.0   147942   147942USA    S98211     Revere, MA         Warehouse      137044          CCHQ                                                                                                        8/7/2021
coincloud151041   ColeKepro 5.0   151041   151041.USA   S98211     Sterling, VA         Active       152301   152301 Royal Farms                               200 Oak Manor Dr                 Glen Burnie        MD   21061    8/7/2021
coincloud3726     ColeKepro 3.0   146311                S95565                        Warehouse      124554          HL Distribution                           1065 Texan Trail Rd              Grapevine          TX   76051   10/2/2020
coincloud4415     ColeKepro 5.0   147949   147949.USA   S98212     Revere, MA           Active       137707   137707 Food Depot                                2401 Belair Rd                   Baltimore          MD   21213   8/7/2021
coincloud4264     ColeKepro 3.0   147798   147798.USA   S98213                          Active       120549   120549 Remke - Harrison                          10501 New Haven Rd               Harrison           OH   45030   10/2/2020
coincloud4265     ColeKepro 3.0   147799   147799USA    S98255                        Warehouse      120552          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave              Placentia          CA   92870   10/2/2020
coincloud4444     ColeKepro 5.0   147978                S98222   Grand Rapids, MI       Active       150774   150774 Cumberland Farms                          471 New Park Ave                 West Hartford      CT    6110    8/7/2021
coincloud4422     ColeKepro 5.0   147956                S98235   Grand Rapids, MI       Active       150631   150631 Cumberland Farms                          1481 Watertown Ave               Waterbury          CT    6708    8/7/2021
coincloud4201     ColeKepro 3.0   147735   147735.USA   S98236                          Active       125715   125715 Pwi                                       18561 US-40                      Golden             CO   80401   10/2/2020
coincloud4096     ColeKepro 3.0   142022   142022.USA   S98241                          Active       124586   124586 Yesway                                    300 Central Ave W                Clarion            IA   50525   10/2/2020
coincloud4263     ColeKepro 3.0   147797                S98242                          Active       123684   123684 Village Food Mart                         624 Rasco Rd W                   Southaven          MS   38671   10/2/2020
coincloud4364     ColeKepro 4.0   147898   147898.USA   S98243                          Active       128845   128845 Ken's Korner Red Apple Market             11042 SR 525 #116                Clinton            WA   98269   6/15/2021
coincloud150944   ColeKepro 5.0   150944   150944.USA   S98244     Sterling, VA         Active       152187   152187 Royal Farms                               1558 Annapolis Rd                Odenton            MD   21113    8/7/2021
coincloud4238     ColeKepro 3.0   147772                S98244                        Warehouse      128337   128337 CCHQ                                                                                                       10/2/2020
coincloud4244     ColeKepro 3.0   147778   147778.USA   S98246                          Active       120526   120526 Great Scot                                13710 Deshler Rd                 North Baltimore    OH   45872   10/2/2020
coincloud4243     ColeKepro 3.0   147777                S98248                        Warehouse      121186          ATM Advisory                              9402 Uptown Drive, Suite 300     Indianapolis       IN   46256   10/2/2020
coincloud4239     ColeKepro 3.0   147773   147773.USA   S98250     Sterling, VA         Active       146738   146738 7-Eleven                                  1514 S Pike St                   Shinnston          WV   26431   10/2/2020
coincloud4240     ColeKepro 3.0   147774                S98254                          Active       120518   120518 King Saver                                725 Richmond Ave                 Marion             OH   43302   10/2/2020
coincloud4447     ColeKepro 5.0   147981                S98259   Grand Rapids, MI       Active       150784   150784 Cumberland Farms                          975 Kings Hwy E                  Fairfield          CT    6825    8/7/2021
coincloud4241     ColeKepro 3.0   147775                S98260                          Active       124624   124624 Mackinaw IGA Inc                          100 N Main St                    Mackinaw           IL   61755   10/2/2020
coincloud4428     ColeKepro 5.0   147962   147962.USA   S98263    Las Vegas, NV         Active       123436   123436 Tarkanian Basketball Academy              2730 S Rancho Dr                 Las Vegas          NV   89102    8/7/2021
coincloud4437     ColeKepro 5.0   147971                S98264   Grand Rapids, MI       Active       150668   150668 Cumberland Farms                          865 Point Judith Rd              Narragansett       RI    2882    8/7/2021
coincloud4446     ColeKepro 5.0   147980                S98265   Grand Rapids, MI       Active       151081   151081 Cumberland Farms                          1237 E Main St                   Torrington         CT    6790   8/7/2021
coincloud4448     ColeKepro 5.0   147982                S98267   Grand Rapids, MI       Active       150633   150633 Cumberland Farms                          32 Watertown Rd                  Thomaston          CT    6787    8/7/2021
coincloud4425     ColeKepro 5.0   147959   147959.USA   S98268   Grand Rapids, MI       Active       130509   130509 NorthPointe Plaza Smoke Shop              8631 Columbus Pike               Lewis Center       OH   43035    8/7/2021
coincloud4301     ColeKepro 3.0   147835                S98269                          Active       130343   130343 Country Corner                            1942 Cartersville Rd             Cartersville       VA   23027   10/2/2020
coincloud4143     ColeKepro 3.0   147677   147677.USA   S98296                          Active       124027   124027 Allsup's Convenience Store                2603 Hot Springs Blvd            Las Vegas          NM   87701   10/2/2020
coincloud4135     ColeKepro 3.0   147669   147669.USA   S98297   Albuquerque, NM        Active       146636   146636 Thorntons                                 1118 W Touhy Ave                 Park Ridge         IL   60068   10/2/2020
coincloud4152     ColeKepro 3.0   147686                S98298                          Active       124583   124583 Yesway                                    117 E San Marnan Dr              Waterloo           IA   50702   10/2/2020
coincloud4151     ColeKepro 3.0   147685                S98300                          Active       140309   140309 The Depot Express                         1290 Dubuque St NE               North Liberty      IA   52317   10/2/2020
coincloud4137     ColeKepro 3.0   147671   147671.USA   S98303   Albuquerque, NM        Active       146598   146598 Thorntons                                 8012 W 111th St                  Palos Hills        IL   60465   10/2/2020
coincloud4136     ColeKepro 3.0   147670   147670.USA   S98304   Albuquerque, NM        Active       121599   121599 ACE Cash Express                          4001 San Mateo Blvd NE           Albuquerque        NM   87110   10/2/2020
coincloud4142     ColeKepro 3.0   147676   147676.USA   S98305                          Active       123939   123939 Allsup's Convenience Store                2348 47                          Rio Communities    NM   87002   10/2/2020
coincloud4139     ColeKepro 3.0   147673   147673.USA   S98306                          Active       123942   123942 Allsup's Convenience Store                712 Camino Del Pueblo            Bernalillo         NM   87004   10/2/2020
coincloud4150     ColeKepro 3.0   147684                S98307                          Active       124584   124584 Yesway                                    1303 4th St SW                   Mason City         IA   50401   10/2/2020
coincloud4138     ColeKepro 3.0   147672   147672.USA   S98308                          Active       124020   124020 Allsup's Convenience Store                650 Cerrillos Rd                 Santa Fe           NM   87501   10/2/2020
coincloud4278     ColeKepro 3.0   147812   147812.USA   S98339                          Active       127415   127415 Colonial Market Place                     3220 Boulevard                   Colonial Heights   VA   23834   10/2/2020
coincloud4303     ColeKepro 3.0   147837   147837.USA   S98340                          Active       124620   124620 Farm Fresh - Denbigh                      353 Chatham Dr                   Newport News       VA   23602   10/2/2020
coincloud4311     ColeKepro 3.0   147845   147845.USA   S98343                          Active       140875   140875 Shoppers Value Foods                      502 E Main St                    Louisa             VA   23093   10/2/2020
coincloud4293     ColeKepro 3.0   147827                S98345                          Active       118184   118184 Super Fresh                               640 E Southside Plaza            Richmond           VA   23224   10/2/2020
coincloud4100     ColeKepro 3.0   147634                S98349                          Active       124588   124588 Yesway                                    830 N 18th St                    Centerville        IA   52544   10/2/2020
coincloud4269     ColeKepro 3.0   147803   147803.USA   S98359     Sterling, VA         Active       146739   146739 7-Eleven                                  604 Wilsonburg Rd                Clarksburg         WV   26301   10/2/2020
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coincloud4277     ColeKepro 3.0   147811                   S98361                             Active     130342   130342 Taylor's Cafe                                        1924 Sandy Hook Rd                    Goochland          VA          23063    10/2/2020
coincloud4302     ColeKepro 3.0                            S98362                             Active     134594   134594 Al's Market Place                                    3440 Anderson Hwy                     Powhatan           VA          23139    10/2/2020
coincloud4253     ColeKepro 3.0   147787    147787.USA     S98370                             Active     121814   121814 Kentwood Cleaners & Laundry                          4443 Breton Rd SE #STE F              Kentwood           MI          49508    10/2/2020
coincloud4255     ColeKepro 3.0   147789                   S98372                            Warehouse   124934          CCHQ                                                                                                                               10/2/2020
coincloud4256     ColeKepro 3.0   147790                   S98374                            Warehouse                   CCHQ                                                                                                                               10/2/2020
coincloud4361     ColeKepro 4.0   147895                   S98376                             Active     125701   125701 Pit Stop Mini Mart                                   6193 W Van Giesen St                  West Richland      WA           99353   6/15/2021
coincloud4258     ColeKepro 3.0   147792                   S98377                             Active     119745   119745 Sunshine Food Mart                                   806 Wilcox St                         Joliet             IL           60435   10/2/2020
coincloud4133     ColeKepro 3.0   147667                   S98384                            Warehouse   124016          Allstar Moving                                       1600 1st Street NW                    Albuquerque        NM           87102   10/2/2020
coincloud4116     ColeKepro 3.0   147650                   S98401                             Active     126958   126958 Yarbrough Smoke Shop / CBD Dispensary                10560 Montana Ave                     El Paso            TX           79925   10/2/2020
coincloud4128     ColeKepro 3.0   147662    147662.USA     S98402                             Active     123937   123937 Allsup's Convenience Store                           4603 NM-314                           Los Lunas          NM           87031   10/2/2020
coincloud4252     ColeKepro 3.0   147786                   S98403                             Active     139455   139455 Golden Dollar                                        7153 Ogontz Ave                       Philadelphia       PA           19138   10/2/2020
coincloud4071     ColeKepro 3.0   147605                   S98406                             Active     130057   130057 Los Amigos Food Center Orange Cove                   600 Park Blvd                         Orange Cove        CA           93646   10/2/2020
coincloud4134     ColeKepro 3.0   147668                   S98409                            Warehouse   124026          Allstar Moving                                       1600 1st Street NW                    Albuquerque        NM           87102   10/2/2020
coincloud4257     ColeKepro 3.0   147791    147791.USA     S98410                             Active     126942   126942 Campus Phone Repair                                  1525 W Tennessee St #Suite 204        Tallahassee        FL           32304   10/2/2020
coincloud4254     ColeKepro 3.0   147788    147788.USA     S98411                             Active     127200   127200 Bestway Supermarket                                  5695 Telegraph Rd                     Alexandria         VA           22303   10/2/2020
coincloud4099     ColeKepro 3.0   147633                   S98423                             Active     124537   124537 Yesway                                               1701 Iowa Ave E                       Marshalltown       IA           50158   10/2/2020
coincloud4381     ColeKepro 4.0   147915                   S98428                             Active     121600          ACE Cash Express                                     4720 Central Ave SE                   Albuquerque        NM           87108   6/15/2021
coincloud4141     ColeKepro 3.0   147675    147675.USA     S98429                             Active     124011   124011 Allsup's Convenience Store                           351 Hwy 314 SW                        Los Lunas          NM           87031   10/2/2020
coincloud4132     ColeKepro 3.0   147666    147666.USA     S98430                             Active     124010   124010 Allsup's Convenience Store                           5601 Paradise Blvd NW                 Albuquerque        NM           87114   10/2/2020
coincloud4101     ColeKepro 3.0   147635                   S98433                             Active     140307   140307 The Depot Express                                    100 S Front St                        Montezuma          IA           50171   10/2/2020
coincloud4129     ColeKepro 3.0   147663                   S98434                            Warehouse   124024          Allstar Moving                                       1600 1st Street NW                    Albuquerque        NM           87102   10/2/2020
coincloud4140     ColeKepro 3.0   147674    147674.USA     S98435                             Active     124019   124019 Allsup's Convenience Store                           3000 Cerrillos Rd                     Santa Fe           NM           87507   10/2/2020
coincloud4130     ColeKepro 3.0   147664                   S98437                            Warehouse   124025          Allstar Moving                                       1600 1st Street NW                    Albuquerque        NM           87102   10/2/2020
coincloud4098     ColeKepro 3.0   147632                   S98446                             Active     124547          Advanced Rigging LLC                                 2190 Old 6 Road                       Victor             IA           52347   10/2/2020
coincloud4115     ColeKepro 3.0   147649    147649.USA     S98447                             Active     123873   123873 Bullocks                                             630 N Broadway St                     Truth or Consequen NM           87901   10/2/2020
coincloud4112     ColeKepro 3.0   147646                   S98448                             Active     126952   126952 Alameda Smoke Shop                                   7120 Alameda Ave                      El Paso            TX           79915   10/2/2020
coincloud4103     ColeKepro 3.0   147637                   S98449                            Warehouse   124316          Buck's Moving and Storage                            2011 Avenue C                         Lubbock            TX           79404   10/2/2020
coincloud4117     ColeKepro 3.0   147651    147651.USA     S98451                             Active     126956   126956 Sean Haggerty Smoke Shop                             11100 Sean Haggerty Dr Suite# 208     El Paso            TX           79934   10/2/2020
coincloud4114     ColeKepro 3.0   147648                   S98452                             Active     126960   126960 Fairbanks Smoke Shop                                 5140 Fairbanks Dr #Suite 4            El Paso            TX           79924   10/2/2020
coincloud4113     ColeKepro 3.0   147647                   S98454         Sloan, NV          Warehouse                   Sloan                                                Sloan                                 Sloan              Sloan   Sloan        10/2/2020
coincloud151181   ColeKepro 5.0   151181                                 Sterling, VA        Warehouse                   Victory Vans                                         133 Terminal Drive                    Sterling           VA           20166    8/7/2021
coincloud4110     ColeKepro 3.0   147644                    S98455                           Warehouse   124037          Buck's Moving and Storage                            2011 Avenue C                         Lubbock            TX           79404   10/2/2020
coincloud4830     ColeKepro 5.0   148361                   S985143   Elk Grove Village, IL   Warehouse                                                                                                                                                       8/7/2021
coincloud4200     ColeKepro 3.0   147734                    S98722       Bighton, CO          Active     146597   146597 Thorntons                                            1025 S Weber Rd                       Bolingbrook        IL          60490    10/2/2020
coincloud4331     ColeKepro 3.0   147865    147865.USA      S98723                            Active     128475   128475 Methow Valley Thriftway                              920 WA Hwy 20                         Winthrop           WA          98862    10/2/2020
coincloud150730   ColeKepro 5.0   150730    150730.USA      S98724       Sterling, VA         Active     152125   152125 Royal Farms                                          935 Bethlehem Pike                    Colmar             PA          18915     8/7/2021
coincloud150731   ColeKepro 5.0   150731    150731.USA                  Las Vegas, NV        Warehouse                   Sloan                                                                                                                               8/7/2021
coincloud4210     ColeKepro 3.0   147744                   S98724                            Warehouse   130610          CCHQ                                                                                                                               10/2/2020
coincloud4333     ColeKepro 3.0   147867    147867.USA     S98725                             Active     128850   128850 Nap's Thriftway                                      112 E 1st St                          Newberg            OR          97132    10/2/2020
coincloud4282     ColeKepro 3.0   147816    147816.USA     S98726                             Active     128174   128174 Citadel Mall                                         2070 Sam Rittenberg Blvd, #200        Charleston         SC          29407    10/2/2020
coincloud4436     ColeKepro 5.0   147970                   S98728     Grand Rapids, MI        Active     150637   150637 Cumberland Farms                                     1439 New Litchfield St                Torrington         CT           6790    8/7/2021
coincloud4214     ColeKepro 3.0   147748                   S98732       Bighton, CO           Active     146624   146624 Thorntons                                            1532 N Aurora Rd                      Naperville         IL          60563    10/2/2020
coincloud4327     ColeKepro 3.0   147861    147861.USA     S98733                             Active     123323   123323 One Stop Mart                                        5219 Patton Blvd NE                   Moses Lake         WA          98837    10/2/2020
coincloud4375     ColeKepro 4.0   147909                   S98737                            Warehouse   124135          CCHQ                                                                                                                               6/15/2021
coincloud4262     ColeKepro 3.0   147796                   S98738                             Active     125597   125597 Ritz Food Mart                                       1507 Bauman St                        Ritzville          WA          99169    10/2/2020
coincloud4438     ColeKepro 5.0   147972                   S98740     Grand Rapids, MI        Active     150775   150775 Cumberland Farms                                     155 Hopmeadow St                      Weatogue           CT           6089     8/7/2021
coincloud4223     ColeKepro 3.0            147758USA.USA   S98741       Bighton, CO           Active     146630   146630 Thorntons                                            15918 Weber Rd                        Crest Hill         IL          60403    10/2/2020
coincloud4211     ColeKepro 3.0   147745                   S98742       Bighton, CO           Active     146642   146642 Thorntons                                            15800 Illinois Rte 59                 Plainfield         IL          60544    10/2/2020
coincloud4213     ColeKepro 3.0   147747                   S98744                            Warehouse   134597          CCHQ                                                                                                                               10/2/2020
coincloud4378     ColeKepro 4.0   147912                   S98745                             Active     125742          Lile International                                   20427 87th Avenue South               Kent                           98031    6/15/2021
coincloud4347     ColeKepro 3.0   147881                   S98746                             Active     124707   124707 Cascade Cleaners                                     11350 NE Halsey St                    Portland           OR          97220    10/2/2020
coincloud4365     ColeKepro 4.0   147899                   S98747                            Warehouse   120755          CCHQ                                                                                                                               6/15/2021
coincloud4296     ColeKepro 3.0   147830    147830.USA     S98748        Sterling, VA         Active     146737   146737 7-Eleven                                             4399 Buckhannon Pike                  Mt Clare           WV          26408    10/2/2020
coincloud151360   ColeKepro 5.0   151360    151360.USA     S98749        Sterling, VA         Active     152122   152122 Royal Farms                                          43101 Van Metre Dr                    Ashburn            VA          20148     8/7/2021
coincloud4294     ColeKepro 3.0   147828                   S98750                             Active     139460   139460 Jumbo Foods International                            3201 Brinkley Rd                      Temple Hills       MD          20748    10/2/2020
coincloud4332     ColeKepro 3.0   147866                   S98755                             Active     128474   128474 Hoodland Thriftway                                   68242 Hwy 26                          Welches            OR          97067    10/2/2020
coincloud4259     ColeKepro 3.0   147793                   S98757                            Warehouse   123918          CCHQ                                                                                                                               10/2/2020
coincloud4270     ColeKepro 3.0   147804    147804.USA     S98758        Sterling, VA         Active     130463   130463 Sterling Vape Company                                9733 Philadelphia Rd                  Rosedale           MD          21237    10/2/2020
coincloud4245     ColeKepro 3.0   147779                   S98759                             Active     128847   128847 Shoppers                                             1170 Smallwood Dr W                   Waldorf            MD          20603    10/2/2020
coincloud4372     ColeKepro 4.0   147906    147906.USA     S98760                             Active     130346   130346 Ralph's Thriftway                                    1908 4th Ave E                        Olympia            WA          98506    6/15/2021
coincloud4430     ColeKepro 5.0   147964    147964.USA     S98761     Grand Rapids, MI        Active     150634   150634 Cumberland Farms                                     1359 Thomaston Ave                    Waterbury          CT           6704     8/7/2021
coincloud4325     ColeKepro 3.0   147859                   S98761                            Warehouse   128465          CCHQ                                                                                                                               10/2/2020
coincloud4334     ColeKepro 3.0   147868                   S98762                             Active     128848   128848 Okie's Select Market                                 1796 Highway 401                      Naselle            WA          98638    10/2/2020
coincloud4237     ColeKepro 3.0   147771    147771.USA     S98763        Bighton, CO          Active     146551   146551 Thorntons                                            2330 S 3rd St                         Terre Haute        IN          47802    10/2/2020
coincloud4298     ColeKepro 3.0   147832    147832.USA     S98764                             Active     140876   140876 Shoppers Value Foods                                 8 East Luray Shopping Center          Luray              VA          22835    10/2/2020
coincloud4345     ColeKepro 3.0   147879    147879.USA     S98765                             Active     128177   128177 Kitsap Mall                                          10315 Silverdale Way Northwest        Silverdale         WA          98383    10/2/2020
coincloud4326     ColeKepro 3.0   147860    147860.USA     S98766                             Active     128965   128965 Wireless Doctor Iphone , Tablet Repair               14700 Greenwood Ave N                 Shoreline          WA          98133    10/2/2020
coincloud4346     ColeKepro 3.0   147880                   S98767                            Warehouse   129360          CCHQ                                                                                                                               10/2/2020
coincloud4234     ColeKepro 3.0   147768                   S98768        Bighton, CO          Active     146579   146579 Thorntons                                            1707 E Pershing Rd                    Decatur            IL          62526    10/2/2020
coincloud4275     ColeKepro 3.0   147809    147809.USA     S98769                             Active     124710   124710 D'Amore's Food Market                                4814 Broad St Rd                      Louisa             VA          23093    10/2/2020
coincloud4328     ColeKepro 3.0   147862                   S98770                             Active     123320   123320 One Stop Mart                                        1903 Jadwin Ave                       Richland           WA          99354    10/2/2020
coincloud4342     ColeKepro 3.0   147876                   S98771                             Active     128482   128482 Blanton's Market                                     13040 US Hwy 12                       Packwood           WA          98361    10/2/2020
coincloud4353     ColeKepro 3.0   147887    147887.USA     S98772                             Active     124610   124610 Nature's Living Bounty                               1923 Holland Ave                      Port Huron         MI          48060    10/2/2020
coincloud4370     ColeKepro 4.0   147904                   S98773                            Warehouse   124444          CCHQ                                                                                                                               6/15/2021
coincloud4307     ColeKepro 3.0   147841    147841.USA     S98774        Sterling, VA         Active     146741   146741 7-Eleven                                             94 Hackers Creek Rd                   Jane Lew           WV          26378    10/2/2020
coincloud2630     ColeKepro 3.0   145155                   S95565                            Warehouse   124314          Buck's Moving and Storage                            2011 Avenue C                         Lubbock            TX          79404    10/2/2020
coincloud4297     ColeKepro 3.0   147831                   S98775                             Active     130392   130392 Friendly Dollar N Plus                               3923 Hull Street Rd                   Richmond           VA          23224    10/2/2020
coincloud4380     ColeKepro 4.0   147914                   S98776                            Warehouse   126819          Lile International                                   20427 87th Avenue South               Kent               WA          98031    6/15/2021
coincloud147794   ColeKepro 3.0   147794    147794.USA     S98777                             Active     152285   152285 Royal Farms                                          427 Rehoboth Ave                      Rehoboth Beach     DE          19971    10/2/2020
coincloud4224     ColeKepro 3.0   147758    147758.USA     S98778        Bighton, CO          Active     146586   146586 Thorntons                                            2903 Woodlawn Rd                      Lincoln            IL          62656    10/2/2020
coincloud4283     ColeKepro 3.0   147817                   S98781                             Active     136605   136605 Dutch's Market                                       1564 PA-507                           Greentown          PA          18426    10/2/2020
coincloud4349     ColeKepro 3.0   147883                   S98783                             Active     129753   129753 A&J Stores                                           265 SW 2nd St PO Box 789              Stevenson          WA          98648    10/2/2020
coincloud4209     ColeKepro 3.0   147743                   S98785        Bighton, CO          Active     146591   146591 Thorntons                                            2255 E Washington St                  East Peoria        IL          61611    10/2/2020
coincloud4208     ColeKepro 3.0   147742    147742.USA     S98788                             Active     126518   126518 Springs Convenience                                  4325 S Carefree Cir                   Colorado Springs   CO          80917    10/2/2020
coincloud3598     ColeKepro 3.0   146178                   S95593                            Warehouse   139853          Metcalf Moving & Storage                             1255 East Highway 36                  St. Paul           MN          55109    10/2/2020
coincloud4348     ColeKepro 3.0   147882    147882.USA     S98790                             Active     123938   123938 Allsup's Convenience Store                           2801 Coors Blvd SW                    Albuquerque        NM          87121    10/2/2020
coincloud4231     ColeKepro 3.0   147765                   S98792        Bighton, CO          Active     146498   146498 Thorntons                                            2000 US-41 #N                         Henderson          KY          42420    10/2/2020
coincloud2125     ColeKepro 3.0   144160                   S98793                             Active     146561   146561 Thorntons                                            2250 State St                         New Albany         IN          47150    10/2/2020
coincloud4230     ColeKepro 3.0   147764    147764.USA     S98794        Bighton, CO          Active     146592   146592 Thorntons                                            1487 N Henderson St                   Galesburg          IL          61401    10/2/2020
coincloud4232     ColeKepro 3.0   147766                   S98795        Bighton, CO          Active     146589   146589 Thorntons                                            457 S Main St                         Creve Coeur        IL          61610    10/2/2020
coincloud4233     ColeKepro 3.0   147767    147767.USA     S98796        Bighton, CO          Active     146578   146578 Thorntons                                            511 Keokuk Street                     Lincoln            IL          62656    10/2/2020
coincloud4363     ColeKepro 4.0   147897                   S98797                             Active     123324   123324 Country Travel Plaza                                 790 Pence Rd                          Lind               WA          99341    6/15/2021
coincloud4207     ColeKepro 3.0   147741                   S98798        Bighton, CO          Active     146647   146647 Thorntons                                            2800 Ogden Ave                        Aurora             IL          60504    10/2/2020
coincloud4236     ColeKepro 3.0   147770                   S98802        Bighton, CO          Active     146604   146604 Thorntons                                            2609 N Farnsworth Ave                 Aurora             IL          60502    10/2/2020
coincloud4271     ColeKepro 3.0   147805    147805.USA     S98804        Sterling, VA         Active     119492   119492 7-Eleven                                             1001 Western Ave                      Pittsburgh         PA          15233    10/2/2020
coincloud4376     ColeKepro 4.0   147910    147910.USA     S98805                             Active     123321   123321 One Stop Mart & Truck Stop                           11852 Wheeler Rd NE                   Moses Lake         WA          98837    6/15/2021
coincloud4226     ColeKepro 3.0   147760                   S98806        Bighton, CO          Active     146568   146568 Thorntons                                            2665 State Rd 46                      Terre Haute        IN          47803    10/2/2020
coincloud4374     ColeKepro 4.0   147908    147908.USA     S98807                             Active     123326   123326 One Stop Mart                                        1295 NW 11th St                       Hermiston          OR          97838    6/15/2021
coincloud4228     ColeKepro 3.0   147762                   S98808        Bighton, CO          Active     146664   146664 Thorntons                                            1330 W Lake St                        Roselle            IL          60172    10/2/2020
coincloud4199     ColeKepro 3.0   147733                   S98809                            Warehouse   134744          Great Plains / RSI                                   22700 E I-76 Frontage Rd, Suite 100   Brighton           CO          80603    10/2/2020
coincloud4338     ColeKepro 3.0   147872    147872.USA     S98810                             Active     130616   130616 Hilltop Red Apple Market                             2701 Beacon Ave S                     Seattle            WA          98144    10/2/2020
coincloud4212     ColeKepro 3.0   147746                   S98813        Bighton, CO          Active     146565   146565 Thorntons                                            6880 W Washington St                  Indianapolis       IN          46241    10/2/2020
coincloud4261     ColeKepro 3.0   147795    147795.USA     S98814                             Active     124941   124941 All Star Food & Liquor                               2911 S Archer Ave                     Chicago            IL          60608    10/2/2020
coincloud4225     ColeKepro 3.0   147759    147759.USA     S98815        Bighton, CO          Active     146625   146625 Thorntons                                            400 N Independence Blvd               Romeoville         IL          60446    10/2/2020
coincloud4377     ColeKepro 4.0   147911    147911.USA     S98818                             Active     123329   123329 Red Lion Hotel Pasco Airport & Conference Center     2525 N 20th Ave                       Pasco              WA          99301    6/15/2021
coincloud5124     ColeKepro 5.0   148655                   T00164     Riviera Beach, FL       Active     134893                                                                                                                                              8/7/2021
coincloud5164     ColeKepro 5.0   148695                   T00200     Kansas City, MO         Active     143273   143273 Casey's General Store                                7724 S 22nd St                        Bellevue           NE          68147     8/7/2021
coincloud5122     ColeKepro 5.0   148653     148653.USA    T00596     Riviera Beach, FL       Active     129142   129142 Techy                                                1261 E Las Olas Blvd                  Fort Lauderdale    FL          33301    8/7/2021
coincloud5099     ColeKepro 5.0   148630     148630.USA    T00597     Riviera Beach, FL       Active     126835   126835 Food Depot                                           5600 Milgen Rd                        Columbus           GA          31907     8/7/2021
coincloud5116     ColeKepro 5.0   148647     148647.USA    T00614     Riviera Beach, FL       Active     126832   126832 Food Depot                                           11155 Tara Blvd                       Hampton            GA          30228     8/7/2021
coincloud5098     ColeKepro 5.0   148629     148629.USA    T00685     Riviera Beach, FL       Active     126936   126936 Food Depot                                           1810 N Columbia St                    Milledgeville      GA          31061     8/7/2021
coincloud5125     ColeKepro 5.0   148656     148656.USA    T00689     Riviera Beach, FL       Active     128008   128008 Mobile One Inc                                       8882 NW 7th Ave                       Miami              FL          33150     8/7/2021
coincloud5130     ColeKepro 5.0   158661   148661USA.USA   T00690     Riviera Beach, FL       Active     126916   126916 Food Depot                                           124 Bullsboro Dr                      Newnan             GA          30263     8/7/2021
coincloud5115     ColeKepro 5.0   148646     148646USA     T00691     Riviera Beach, FL      Warehouse   129133          CCHQ                                                                                                                                8/7/2021
coincloud5106     ColeKepro 5.0   148637     148637.USA    T00693     Riviera Beach, FL       Active     129132   129132 Techy By Dr Phone Fix & Computer Repair Boca Raton   9858 Glades Rd #d-1                   Boca Raton         FL          33434    8/7/2021
coincloud5112     ColeKepro 5.0   148643     148643.USA    T00696     Riviera Beach, FL       Active     129166   129166 Techy - By DrPhoneFix Parkland                       6059 Coral Ridge Dr                   Coral Springs      FL          33076    8/7/2021
coincloud5105     ColeKepro 5.0   148636                   T00711     Riviera Beach, FL      Warehouse   129163          CCHQ                                                                                                                                8/7/2021
coincloud5132     ColeKepro 5.0   148663    148663.USA     T00753     Riviera Beach, FL       Active     126828   126828 Food Depot                                           3530 GA-20                            Conyers            GA          30013     8/7/2021
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coincloud5131   ColeKepro 5.0   148662                  T00757    Riviera Beach, FL   Warehouse   130393          CCHQ                                                                                                                         8/7/2021
coincloud5162   ColeKepro 5.0   148693   148693.USA    T00768     Kansas City, MO      Active     130457   130457 STL Wireless Cell Phone, PC, and Tablet Repair Shop          12539 Bennington Place            St. Louis       MO    63146   8/7/2021
coincloud5133   ColeKepro 5.0   148664   148664.USA     T00846    Riviera Beach, FL    Active     126950   126950 Food Depot                                                   10155 Veterans Memorial Hwy       Austell         GA    30168   8/7/2021
coincloud5917   ColeKepro 5.0   149448                  T00879    Riviera Beach, FL    Active     150735   150735 Cumberland Farms                                             245 Ashland St                    North Adams     MA     1247   8/7/2021
coincloud4984   ColeKepro 5.0   148515   148515.USA     T01416       Lubbock, TX       Active     127269   127269 Toot'n Totum                                                 122 Liberal St                    Dalhart         TX    79022   8/7/2021
148697.USA      ColeKepro 5.0   148697   148697.USA     T01444    Kansas City, MO      Active     147680   147680 Quick Serve Convenience Store (76)                           1316 S Lake Dr                    Lexington       SC    29073   8/7/2021
coincloud5005   ColeKepro 5.0   148536                  T01445      Magnolia, TX      Warehouse   122374          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud4947   ColeKepro 5.0   148478   148478.USA     T01446     Indianapolis, IN    Active     130401   130401 Riverpoint Laundry Service & Coin Laundromat                 1730 W Fullerton Ave              Chicago         IL    60614   8/7/2021
coincloud3152   ColeKepro 3.0   145748   145748.USA     T01447                         Active     127342   127342 Gadget MD - Cell Phone, iPhone, Samsung, iPad, Computer Repa 19763 US-59                       Humble          TX    77338   10/2/2020
coincloud5159   ColeKepro 5.0   148690   148690.USA     T01448    Kansas City, MO      Active     130228   130228 Triangle Quick Stop                                          20190 MO-254                      Wheatland       MO    65779   8/7/2021
coincloud5217   ColeKepro 5.0   148748                  T01450    Kansas City, MO      Active     130355   130355 H & M Foodmart                                               29 Patton Rd                      Wooster         AR    72181   8/7/2021
coincloud3727   ColeKepro 3.0   146309                  S95601                        Warehouse   124675          HL Distribution                                              1065 Texan Trail Rd               Grapevine       TX    76051   10/2/2020
coincloud4899   ColeKepro 5.0   148430   148430.USA     T01452     Indianapolis, IN    Active     130222   130222 Save A Lot Danville                                          2 E Main St                       Danville        IL    61832   8/7/2021
coincloud5148   ColeKepro 5.0   148679   148679.USA     T01454    Kansas City, MO      Active     139839   139839 Moser's                                                      2020 N Bluff St                   Fulton          MO    65251   8/7/2021
coincloud4996   ColeKepro 5.0   148527                  T01456      Magnolia, TX       Active     135611   135611 H-E-B                                                        100 E Houston St                  Beeville        TX    78102   8/7/2021
coincloud5031   ColeKepro 5.0   148562                  T01506     Indianapolis, IN    Active     129754   129754 Sight 'n Sound                                               1137 W Taylor St                  Chicago         IL    60607   8/7/2021
coincloud5019   ColeKepro 5.0   148550   148550.USA     T01508      Magnolia, TX      Warehouse   122392          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud4965   ColeKepro 5.0   148496                  T01511     Indianapolis, IN   Warehouse   121824          ATM Advisory                                                 9402 Uptown Drive, Suite 300      Indianapolis    IN    46256   8/7/2021
coincloud5092   ColeKepro 5.0   148623   148623USA      T01514    Riviera Beach, FL   Warehouse   134732          Coast2Coast                                                  6557 Garden Rd. Ste. 14           Riviera Beach   FL    33404   8/7/2021
coincloud4934   ColeKepro 5.0   148465                  T01515     Indianapolis, IN   Warehouse   127209          CCHQ                                                                                                                         8/7/2021
coincloud5160   ColeKepro 5.0   148691                  T01519    Kansas City, MO      Active     130351   130351 London Food Mart                                             10465 US-64                       London          AR    72847   8/7/2021
coincloud5156   ColeKepro 5.0   148687   148687.USA     T01520    Kansas City, MO      Active     139838   139838 Moser's                                                      900 N Keene St                    Columbia        MO    65201   8/7/2021
coincloud4992   ColeKepro 5.0   148523   148523.USA     T01522      Magnolia, TX       Active     122481   122481 ACE Cash Express                                             727 S 14th St                     Kingsville      TX    78363   8/7/2021
coincloud5026   ColeKepro 5.0   148557                  T01523      Magnolia, TX      Warehouse   122393          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5174   ColeKepro 5.0   148705   148705.USA     T01525    Kansas City, MO      Active     143590   143590 Pops                                                         1458 US-321 S                     Winnsboro       SC    29180   8/7/2021
coincloud5177   ColeKepro 5.0   148708   148708USA      T01443    Kansas City, MO     Warehouse   139988          HL Distribution                                              1065 Texan Trail Rd               Grapevine       TX    76051   8/7/2021
coincloud5081   ColeKepro 5.0   148612                  T01526       Lubbock, TX       Active     127260   127260 Toot'n Totum                                                 1320 N US Hwy 87                  Dalhart         TX    79022   8/7/2021
coincloud4974   ColeKepro 5.0   148505                  T01527       Lubbock, Tx       Active     127223   127223 Toot'n Totum                                                 3101 Plains Blvd                  Amarillo        TX    79102   8/7/2021
coincloud5095   ColeKepro 5.0   148626   148626.USA     T01531    Riviera Beach, FL    Active     126933   126933 Food Depot                                                   1250 Tech Dr                      Norcross        GA    30093   8/7/2021
coincloud4994   ColeKepro 5.0   148525                  T01533       Magnolia, TX     Warehouse   122414          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud4953   ColeKepro 5.0   148484   148484.USA     T01538       Lubbock, TX       Active     127263   127263 Toot'n Totum                                                 403 N Dumas Ave                   Dumas           TX    79029   8/7/2021
coincloud5002   ColeKepro 5.0   148533                  T01554      Magnolia, TX       Active     135613   135613 H-E-B                                                        101 Calhoun Plaza                 Port Lavaca     TX    77979   8/7/2021
coincloud5017   ColeKepro 5.0   148548                  T01560       Magnolia, TX     Warehouse   122401          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5165   ColeKepro 5.0   148696                  T01564    Kansas City, MO      Active     128467   128467 Ramsey's Market                                              503 West St                       Manning         IA    51455   8/7/2021
coincloud4991   ColeKepro 5.0   148522                  T01566      Magnolia, TX      Warehouse   122375          CCHQ                                                                                                                          8/7/2021
coincloud4997   ColeKepro 5.0   148528   148528USA      T01568      Magnolia, TX      Warehouse   122427          CCHQ                                                                                                                         8/7/2021
coincloud5012   ColeKepro 5.0   148543   148543.USA     T01576      Magnolia, TX      Warehouse   122453          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5043   ColeKepro 5.0   148574   148574.USA     T01586      Magnolia, TX      Warehouse   122391          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5065   ColeKepro 5.0   148596                  T01590       Lubbock, TX       Active     127243   127243 Toot'n Totum                                                 3701 W 6th                        Amarillo        TX    79106   8/7/2021
coincloud5066   ColeKepro 5.0   148597   148597.USA     T01592    Riviera Beach, FL    Active     126922   126922 Food Depot                                                   2600 GA-138                       Stockbridge     GA    30281   8/7/2021
coincloud2339   ColeKepro 3.0   144291   144291.USA     T01593       Sanford, FL       Active     146457   146457 Thorntons                                                    9979 Progress Blvd                Riverview       FL    33578   10/2/2020
coincloud4990   ColeKepro 5.0   148521                  T01596      Magnolia, TX      Warehouse   122449          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5214   ColeKepro 5.0   148745                  T01597    Riviera Beach, FL    Active     126923   126923 SHOPPERS VALUE FOODS                                         6459 GA-42                        Rex             GA    30273   8/7/2021
coincloud5212   ColeKepro 5.0   148743   148743.USA    T01598     Riviera Beach, FL    Active     130459   130459 Holy Smokes Miami Beach                                      736 71st St                       Miami Beach     FL    33141   8/7/2021
coincloud5110   ColeKepro 5.0   148641   148641.USA     T01600    Riviera Beach, FL    Active     126837   126837 Food Depot                                                   560 Macon St                      McDonough       GA    30253   8/7/2021
coincloud5109   ColeKepro 5.0   148640                  T01602    Riviera Beach, FL    Active     118607   118607 Manha Fresh Food                                             3209 NW 7th Ave Cir               Miami           FL    33127   8/7/2021
coincloud5094   ColeKepro 5.0   148625   148625.USA     T01604    Riviera Beach, FL    Active     126934   126934 Food Depot                                                   4015 Northside Dr                 Macon           GA    31210   8/7/2021
coincloud5213   ColeKepro 5.0   148744                  T01606    Riviera Beach, FL    Active     126929   126929 Food Depot                                                   2985 Villa Rica Hwy #Ste G        Dallas          GA    30157   8/7/2021
coincloud5108   ColeKepro 5.0   148639                  T01608    Riviera Beach, FL    Active     126831   126831 Food Depot                                                   5615 Houston Rd                   Macon           GA    31216   8/7/2021
coincloud5102   ColeKepro 5.0   148633   148633.USA     T01617       Lubbock, TX       Active     127267   127267 Toot'n Totum                                                 323 Main St                       Boise City      OK    73933   8/7/2021
coincloud4955   ColeKepro 5.0   148486                  T01620       Lubbock, TX       Active     127265   127265 Toot'n Totum                                                 1407 S Main St                    Borger          TX    79007   8/7/2021
coincloud5093   ColeKepro 5.0   148624   148624.USA     T01632    Riviera Beach, FL    Active     126921   126921 Food Depot                                                   6169 US-278                       Covington       GA    30014   8/7/2021
coincloud5090   ColeKepro 5.0   148621   148621.USA     T01635    Riviera Beach, FL    Active     137387   137387 Neighbors Food Market #2                                     6041 W Sunrise Blvd               Sunrise         FL    33313   8/7/2021
coincloud5083   ColeKepro 5.0   148614   148614.USA     T01638       Lubbock, TX       Active     127215   127215 Toot'n Totum                                                 6001 I-40 Frontage Rd             Amarillo        TX    79106   8/7/2021
coincloud4936   ColeKepro 5.0   148467                  T01640     Indianapolis, IN    Active     134892   134892 Valu Time Grocery                                            2829 Apple Ave                    Muskegon        MI    49442   8/7/2021
coincloud5082   ColeKepro 5.0   148613                  T01642       Lubbock, TX       Active     127270   127270 Toot'n Totum                                                 308 S Main St                     Sunray          TX    79086   8/7/2021
coincloud6142   ColeKepro 5.0   149673                  T01643    Riviera Beach, FL    Active     129160   129160 Techy By Dr Phone Fix & Computer Repair Aventura             18557-B W Dixie Hwy               Aventura        FL    33180   8/7/2021
coincloud5038   ColeKepro 5.0   148569                  T01648       Magnolia, TX     Warehouse   122421          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5235   ColeKepro 5.0   148766                  T01654      LUBBOCK, TX        Active     122256   122256 ACE Cash Express                                             1305 E 8th St                     Odessa          TX    79761   8/7/2021
coincloud4939   ColeKepro 5.0   148470                  T01655     Indianapolis, IN    Active     130217   130217 Rockville IGA                                                1250 N Lincoln Rd                 Rockville       IN    47872   8/7/2021
coincloud5060   ColeKepro 5.0   148591   148591.USA     T01656       Lubbock, TX       Active     127214   127214 Toot'n Totum                                                 1500 S Washington St ##2660       Amarillo        TX    79102   8/7/2021
coincloud5040   ColeKepro 5.0   148571                  T01657       Magnolia, TX     Warehouse   122372          Deadline Construction                                        19475 Alford Rd                   Magnolia        TX    77355   8/7/2021
coincloud5089   ColeKepro 5.0   148620   148620.USA     T01658    Riviera Beach, FL    Active     126927   126927 Food Depot                                                   908 Hogansville Rd                LaGrange        GA    30241   8/7/2021
coincloud5075   ColeKepro 5.0   148606                  T01659       Lubbock, TX       Active     127234   127234 Toot'n Totum                                                 2601 W 3rd                        Amarillo        TX    79106   8/7/2021
coincloud5027   ColeKepro 5.0   148558                  T01660      Magnolia, TX       Stolen                     Loss Event                                                                                                                   8/7/2021
coincloud5088   ColeKepro 5.0   148619   148619.USA     T01663       Lubbock, TX       Active     127241   127241 Toot'n Totum                                                 1400 E Amarillo Blvd              Amarillo        TX    79107   8/7/2021
coincloud5091   ColeKepro 5.0   148622   148622.USA     T01664    Riviera Beach, FL    Active     126824   126824 Food Depot                                                   466 Hwy 53                        Calhoun         GA    30701   8/7/2021
coincloud4888   ColeKepro 5.0   148419   148419.USA     T01665      Magnolia, TX       Active     130484   130484 Alarabi Super Market                                         8619 Richmond Ave ##500           Houston         TX    77063   8/7/2021
coincloud5087   ColeKepro 5.0   148618   148618.USA     T01666       Lubbock, TX       Active     127227   127227 Toot'n Totum                                                 1001 N Cedar St                   Borger          TX    79007   8/7/2021
coincloud4959   ColeKepro 5.0   148490   148490.USA     T01667     Indianapolis, IN    Active     130138   130138 Riverside Market Place                                       106 Elm St                        Ludlow          KY    41016   8/7/2021
coincloud5084   ColeKepro 5.0   148615   148615.USA     T01668       Lubbock, TX       Active     127220   127220 Toot'n Totum                                                 3365 S Bell                       Amarillo        TX    79106   8/7/2021
coincloud4968   ColeKepro 5.0   148499   148499.USA     T01669     Indianapolis, IN    Active     130219   130219 West Vigo IGA                                                1000 National Ave                 Terre Haute     IN    47885   8/7/2021
coincloud4940   ColeKepro 5.0   148471   148471USA      T01671     Indianapolis, IN   Warehouse   130551          CCHQ                                                                                                                         8/7/2021
coincloud4910   ColeKepro 5.0   148441   148441.USA     T01672      Magnolia, TX      Warehouse   122173          Deadline Construction                                        19475 Alford Rd                   Magnolia         TX   77355   8/7/2021
coincloud5085   ColeKepro 5.0   148616   148616.USA     T01673       Lubbock, TX       Active     127249   127249 Toot'n Totum                                                 5041 Plains Blvd                  Amarillo         TX   79106   8/7/2021
coincloud4952   ColeKepro 5.0   148483   148483.USA     T01675     Indianapolis, IN    Active     124943   124943 Game X Change                                                130 W Tiverton Way ##165          Lexington        KY   40503   8/7/2021
coincloud5128   ColeKepro 5.0   148659   148659.USA     T01676    Riviera Beach, FL    Active     129158   129158 Techy By Dr Phone Fix & Computer Repair Weston               4442 Weston Rd                    Davie            FL   33331   8/7/2021
coincloud5057   ColeKepro 5.0   148588                  T01677       Lubbock, TX       Active     127236   127236 Toot'n Totum                                                 3601 NE 24th Ave                  Amarillo         TX   79107   8/7/2021
coincloud5041   ColeKepro 5.0   148572                  T01679       Magnolia, TX     Warehouse   122412          Deadline Construction                                        19475 Alford Rd                   Magnolia         TX   77355   8/7/2021
coincloud4943   ColeKepro 5.0   148474                  T01682     Indianapolis, IN    Active     130375   130375 ZerboÃ¢â‚¬â„¢s Market & Bistro                               3100 E West Maple Rd              Commerce Charter MI   48390   8/7/2021
coincloud5054   ColeKepro 5.0   148585                  T01684       Lubbock, TX       Active     128233   128233 Toot'n Totum                                                 8772 Coulter St S                 Amarillo         TX   79121   8/7/2021
coincloud4945   ColeKepro 5.0   148476   148476.USA    T01685      Indianapolis, IN    Active     124935   124935 Game X Change                                                1705 N Dixie Hwy #Ste 6a          Elizabethtown    KY   42701   8/7/2021
coincloud5009   ColeKepro 5.0   148540                  T01688      Magnolia, TX      Warehouse   122165          Deadline Construction                                        19475 Alford Rd                   Magnolia         TX   77355   8/7/2021
coincloud5039   ColeKepro 5.0   148570                  T01690      Magnolia, TX       Active     141013   141013 Arlan's                                                      340 Enrique M. Barrera Pkwy       San Antonio      TX   78237   8/7/2021
coincloud4889   ColeKepro 5.0   148420   148420.USA     T01692       Lubbock, TX       Active     128228   128228 Toot'n Totum                                                 100 Tascosa Rd                    Amarillo         TX   79124   8/7/2021
coincloud5058   ColeKepro 5.0   148589   148589.USA     T01694       Lubbock, TX       Active     128231   128231 Toot'n Totum                                                 2300 N Dumas Dr                   Amarillo         TX   79107   8/7/2021
coincloud5004   ColeKepro 5.0   148535                  T01696      Magnolia, TX      Warehouse   122422          Deadline Construction                                        19475 Alford Rd                   Magnolia         TX   77355   8/7/2021
coincloud5167   ColeKepro 5.0   148698   148698.USA     T01697    Kansas City, MO      Active     125596   125596 Carriage Work Laundry                                        727 Shawnee St                    Leavenworth      KS   66048   8/7/2021
coincloud5064   ColeKepro 5.0   148595   148595.USA    T01698        Lubbock, TX       Active     127251   127251 Toot'n Totum                                                 3401 Soncy Rd                     Amarillo         TX   79121   8/7/2021
coincloud5244   ColeKepro 5.0   148775   148775.USA     T01700      MAGNOLIA,TX        Active     130389   130389 Bullets Card Club                                            11907 Menchaca Rd                 Austin           TX   78748   8/7/2021
coincloud4941   ColeKepro 5.0   148472   148472USA      T01701     Indianapolis, IN   Warehouse   130382                                                                                                                                       8/7/2021
coincloud5178   ColeKepro 5.0   148709                  T01703    Kansas City, MO     Warehouse   121871          Logic Warehouse                                             4121 N Kentucky Ave.               Kansas City     MO    64161   8/7/2021
coincloud5155   ColeKepro 5.0   148686                  T01705    Kansas City, MO      Active     130233   130233 Trading Post                                                20954 Co Rd 295                    Hermitage       MO    65668   8/7/2021
coincloud5157   ColeKepro 5.0   148688                  T01708    Kansas City, MO      Active     124553   124553 The Shop, Guns & Pawn                                       105 U.S. Rte 66                    Waynesville     MO    65583   8/7/2021
coincloud5181   ColeKepro 5.0   148712   148712.USA     T01709    Kansas City, MO     Warehouse   121866          Logic Warehouse                                             4121 N Kentucky Ave.               Kansas City     MO    64161   8/7/2021
coincloud5158   ColeKepro 5.0   148689                  T01710    Kansas City, MO      Active     146049   146049 Lewis Drug                                                  136 S Phillips Ave                 Sioux Falls     SD    57104   8/7/2021
coincloud5168   ColeKepro 5.0   148699   148699.USA     T01712    Kansas City, MO      Active     108715   108715 Buzzn Smoke & Vape Shop                                     1921 S Elm Pl                      Broken Arrow    OK    74012   8/7/2021
coincloud5151   ColeKepro 5.0   148682                  T01713    Kansas City, MO      Active     146048   146048 Lewis Drug                                                  910 22nd Ave S                     Brookings       SD    57006   8/7/2021
coincloud4937   ColeKepro 5.0   148468                  T01714     Indianapolis, IN    Active     130235   130235 Roosevelt Tobacco                                           133 Roosevelt Rd #Unit F           Villa Park      IL    60181   8/7/2021
coincloud5127   ColeKepro 5.0   148658   148658USA      T01715    Riviera Beach, FL   Warehouse   136863          CCHQ                                                                                                                         8/7/2021
coincloud4877   ColeKepro 5.0   148408   148408.USA     T01724      Westbury, NY       Active     101606   101606 Donut N Donuts Coffee                                       1461 Hancock St                    Quincy          MA     2169   8/7/2021
coincloud5086   ColeKepro 5.0   148617                  T01725       Lubbock, TX       Active     127268   127268 Toot'n Totum                                                2801 N Perryton Pkwy               Pampa           TX    79065   8/7/2021
coincloud5076   ColeKepro 5.0   148607   148607.USA    T01729        Lubbock, TX       Active     127259   127259 Toot'n Totum                                                2401 S Main St                     Perryton        TX    79070   8/7/2021
coincloud5055   ColeKepro 5.0   148586   148586.USA     T01730       Lubbock, TX       Active     127266   127266 Toot'n Totum                                                312 E 1st St #2703                 Dumas           TX    79029   8/7/2021
coincloud4891   ColeKepro 5.0   148422   148422.USA     T01731     Indianapolis, IN    Active     130170   130170 El Paso IGA                                                 45 N Fayette St                    El Paso         IL    61738   8/7/2021
coincloud5294   ColeKepro 5.0   148825   148825.USA    T01732       MAGNOLIA,TX        Active     141005   141005 Arlan's                                                     513 Market St                      Galveston       TX    77550   8/7/2021
coincloud5296   ColeKepro 5.0   148827   148827USA    1.821E+12     MAGNOLIA,TX        Active     130545   130545 NEU-MART                                                    1406 Medina Hwy                    Kerrville       TX    78028   8/7/2021
coincloud5024   ColeKepro 5.0   148555   148555.USA    T01733       Magnolia, TX       Active     122379   122379 ACE Cash Express                                            19757 Eastex Fwy                   Humble          TX    77338   8/7/2021
coincloud5000   ColeKepro 5.0   148531                  T01734      Magnolia, TX      Warehouse   122479          Deadline Construction                                       19475 Alford Rd                    Magnolia        TX    77355   8/7/2021
coincloud4938   ColeKepro 5.0   148469                  T01736     Indianapolis, IN    Active     129754   129754 Sight 'n Sound                                              1137 W Taylor St                   Chicago         IL    60607   8/7/2021
coincloud4901   ColeKepro 5.0   148432                  T01737     Indianapolis, IN    Active     130161   130161 Tuscola IGA                                                 607 E Southline Rd                 Tuscola         IL    61953   8/7/2021
coincloud739    ColeKepro 1.0   142021   142021.USA     T01739                         Active     101536   101536 ampm                                                        504 Whipple Ave                    Redwood City    CA    94063   5/7/2020
coincloud5014   ColeKepro 5.0   148545   148545USA     T01740      Magnolia, TX       Warehouse   122382                                                                                                                                       8/7/2021
coincloud4951   ColeKepro 5.0   148482                  T01741    Indianapolis, IN     Active     128724   128724 Korner Market                                               1991 Bracht-Piner Rd               Morning View    KY    41063   8/7/2021
coincloud5078   ColeKepro 5.0   148609                  T01743      Lubbock, TX        Active     127252   127252 Toot'n Totum                                                6802 Wolflin Ave                   Amarillo        TX    79106   8/7/2021
coincloud4960   ColeKepro 5.0   148491   148491.USA     T01744    Indianapolis, IN     Active     124944   124944 Game X Change                                               9016 Taylorsville Rd               Jeffersontown   KY    40299   8/7/2021
coincloud5281   ColeKepro 5.0   148812   148812.USA    T01745      MAGNOLIA,TX         Active     139088   139088 CellFix Cell Phone Repair and Sales                         11134 Airline Dr                   Houston         TX    77037   8/7/2021
coincloud5282   ColeKepro 5.0   148813   148813.USA   1.821E+12    MAGNOLIA,TX         Active     141006   141006 Arlan's                                                     6500 FM 2100 #1                    Crosby          TX    77532   8/7/2021
                                     Case 23-10423-mkn                                            Doc 36-2                Entered 02/08/23 19:55:21                                                           Page 180 of 217


coincloud4946     ColeKepro 5.0     148477                          T01746     Indianapolis, IN    Active     130227   130227 Big John's Superstore                                1105 North Rte 45                   Eldorado            IL   62930    8/7/2021
coincloud4998     ColeKepro 5.0     148529        148529.USA        T01749      Magnolia, TX       Active     141007   141007 ArlanÃ¢â‚¬â„¢s                                       301 S Brazosport Blvd               Freeport            TX   77541    8/7/2021
coincloud5013     ColeKepro 5.0     148544                          T01750      Magnolia, TX      Warehouse   122364          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5063     ColeKepro 5.0     148594        148594.USA        T01751       Lubbock, TX       Active     127261   127261 Toot'n Totum                                         1515 N Hobart St                    Pampa               TX   79065    8/7/2021
coincloud5298     ColeKepro 5.0     148829        148829.USA        T01752      MAGNOLIA,TX        Active     103166   103166 J Mart                                               820 E Kingsbury St                  Seguin              TX   78155    8/7/2021
coincloud5008     ColeKepro 5.0     148539        148539.USA        T01753      Magnolia, TX      Warehouse   122199          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5018     ColeKepro 5.0     148549        148549.USA        T01754      Magnolia, TX       Active     122424   122424 ACE Cash Express                                     4502 Griggs Rd                      Houston             TX   77021    8/7/2021
coincloud5186     ColeKepro 5.0     148717                          T01755    Kansas City, MO     Warehouse   121870          Logic Warehouse                                      4121 N Kentucky Ave.                Kansas City         MO   64161    8/7/2021
coincloud5025     ColeKepro 5.0     148556        148556.USA        T01757      Magnolia, TX       Active     122176   122176 ACE Cash Express                                     3614 FM 365                         Nederland           TX   77627    8/7/2021
coincloud5074     ColeKepro 5.0     148605                          T01758       Lubbock, TX       Active     127275   127275 Toot'n Totum                                         520 E 11th St                       Hugoton             KS   67951    8/7/2021
coincloud5016     ColeKepro 5.0     148547                          T01763      Magnolia, TX      Warehouse   129858          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5153     ColeKepro 5.0     148684        148684.USA        T01765    Kansas City, MO      Active     134884   134884 Diamond Liquor                                       8200 Landers Rd                     North Little Rock   AR   72117    8/7/2021
coincloud5169     ColeKepro 5.0     148700        148700.USA        T01766    Kansas City, MO      Active     139841   139841 Moser's                                              1101 W Monroe St                    Mexico              MO   65265    8/7/2021
coincloud5182     ColeKepro 5.0     148713        148713.USA        T01767    Kansas City, MO      Active     130356   130356 Marsh's Sun Fresh Market                             4001 Mill St                        Kansas City         MO   64111    8/7/2021
coincloud5120     ColeKepro 5.0     148651        148651.USA        T01768    Riviera Beach, FL    Active     128009   128009 Gadget Hut Inc                                       798 NW 183rd St                     Miami Gardens       FL   33169    8/7/2021
coincloud5180     ColeKepro 5.0     148711                          T01773    Kansas City, MO     Warehouse   121872          Logic Warehouse                                      4121 N Kentucky Ave.                Kansas City         MO   64161    8/7/2021
coincloud5176     ColeKepro 5.0     148707                          T01774    Kansas City, MO     Warehouse   121873          Logic Warehouse                                      4121 N Kentucky Ave.                Kansas City         MO   64161    8/7/2021
coincloud5037     ColeKepro 5.0     148568                          T01775      Magnolia, TX      Warehouse   122480          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5072     ColeKepro 5.0     148603        148603.USA        T01777       Lubbock, TX       Active     128213   128213 Toot'n Totum                                         1627 N Grand St                     Amarillo            TX   79107    8/7/2021
coincloud5032     ColeKepro 5.0     148563        148563.USA        T01778      Magnolia, TX      Warehouse   122384          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5080     ColeKepro 5.0     148611                          T01779       Lubbock, TX       Active     134886   134886 Toot'n Totum                                         2104 W Pancake Blvd                 Liberal             KS   67901    8/7/2021
coincloud5071     ColeKepro 5.0     148602        148602.USA        T01781       Lubbock, TX       Active     127217   127217 Toot'n Totum                                         822 S Georgia                       Amarillo            TX   79106    8/7/2021
coincloud5001     ColeKepro 5.0     148532                          T01783      Magnolia, TX       Active     122478   122478 ACE Cash Express                                     1132 E Main St                      Alice               TX   78332    8/7/2021
coincloud4962     ColeKepro 5.0     148493        148493.USA        T01784     Indianapolis, IN    Active     123872   123872 Gingersnaps Coffeehouse & Cafe                       3125 S 3rd Pl                       Terre Haute         IN   47802    8/7/2021
coincloud5056     ColeKepro 5.0     148587        148587.USA        T01785       Lubbock, TX       Active     128230   128230 Toot'n Totum                                         1540 Coulter St S                   Amarillo            TX   79106    8/7/2021
coincloud5077     ColeKepro 5.0     148608                          T01786       Lubbock, TX       Active     127258   127258 Toot'n Totum                                         1200 N Western St                   Amarillo            TX   79106    8/7/2021
coincloud5126     ColeKepro 5.0     148657        148657.USA        T01787    Riviera Beach, FL    Active     126825   126825 Food Depot                                           4709 N Henry Blvd                   Stockbridge         GA   30281    8/7/2021
coincloud5121     ColeKepro 5.0     148652                          T01788    Riviera Beach, FL    Active     130505   130505 Techy                                                14851 Lyons Rd #120                 Delray Beach        FL   33446    8/7/2021
coincloud5097     ColeKepro 5.0     148628                          T01789    Riviera Beach, FL   Warehouse   129131          CCHQ                                                                                                                       8/7/2021
coincloud322      Slabb 1.0       5.4116E+14   4116000000003.US     T01790                         Active     103134   103134 Hookah Cash n Carry                                  1926 W Cactus Rd                    Phoenix             AZ   85029   12/18/2018
coincloud5123     ColeKepro 5.0     148654        148654.USA        T01790    Riviera Beach, FL    Active     126917   126917 Food Depot                                           200 Banks Station Road              Fayetteville        GA   30214    8/7/2021
coincloud5067     ColeKepro 5.0     148598        148598.USA        T01791       Lubbock, TX       Active     127248   127248 Toot'n Totum                                         1012 W Amarillo Blvd                Amarillo            TX   79107    8/7/2021
coincloud5118     ColeKepro 5.0     148649                          T01792    Riviera Beach, FL    Active     126830   126830 Food Depot                                           2301 US-341                         Fort Valley         GA   31030    8/7/2021
coincloud5073     ColeKepro 5.0     148604                          T01793       Lubbock, TX       Active     127264   127264 Toot'n Totum                                         1603 S Dumas Ave                    Dumas               TX   79029    8/7/2021
coincloud5096     ColeKepro 5.0     148627                          T01799    Riviera Beach, FL    Active     129328   129328 Gasparilla Outfitters                                431 Park Ave                        Boca Grande         FL   33921    8/7/2021
coincloud4902     ColeKepro 5.0     148433        148433USA         T01800     Indianapolis, IN   Warehouse   130453          CCHQ                                                                                                                       8/7/2021
coincloud5113     ColeKepro 5.0     148644        148644.USA        T01801    Riviera Beach, FL    Active     130510   130510 Techy By Dr Phone Fix & Computer Repair Wellington   11924 Forest Hill Blvd #Suite 36A   Wellington          FL   33414    8/7/2021
coincloud5101     ColeKepro 5.0     148632                          T01806    Riviera Beach, FL    Active     134730   134730 GO IT Tech - Computer & Phone Repair                 1436 E Atlantic Blvd #i             Pompano Beach       FL   33060    8/7/2021
coincloud5117     ColeKepro 5.0     148648                          T01807    Riviera Beach, FL    Active     129151   129151 Techy - ByDrPhoneFix Pembroke Pines                  400 N University Dr                 Pembroke Pines      FL   33024    8/7/2021
coincloud758      ColeKepro 1.0     142162        142162.USA        T01808                         Active     103670   103670 Shell                                                8062 Florin Rd                      Sacramento          CA   95828    5/7/2020
coincloud751      ColeKepro 1.0     142164        142164USA       354430746                        Active     103358   103358 Best Stop Market                                     3420 Lebanon Pike                   Hermitage           TN   37076    5/7/2020
coincloud5114     ColeKepro 5.0     148645                          T01809    Riviera Beach, FL    Active     129144   129144 Techy - By DrPhoneFix Miami Lakes                    18518 NW 67th Ave                   Hialeah             FL   33015    8/7/2021
coincloud4886     ColeKepro 5.0     148417        148417.USA        T01812      Magnolia, TX       Active     141011   141011 Arlan's                                              559 W San Antonio St                New Braunfels       TX   78130    8/7/2021
coincloud4887     ColeKepro 5.0     148418        148418USA         S44631      Magnolia, TX      Warehouse   122456          CCHQ                                                                                                                       8/7/2021
coincloud5172     ColeKepro 5.0     148703        148703.USA        T01817    Kansas City, MO      Active     130352   130352 4 Way Quick Stop                                     103 N 5th St                        Scranton            AR   72863    8/7/2021
coincloud5163     ColeKepro 5.0     148694        148694.USA        T01821    Kansas City, MO      Active     139843   139843 Show Me Oil Quick Shop                               804 S Main St                       Auxvasse            MO   65231    8/7/2021
coincloud5185     ColeKepro 5.0     148716        148716.USA        T01823    Kansas City, MO      Active     130354   130354 Porky's Foodmart                                     21545 AR-109                        Scranton            AR   72863    8/7/2021
coincloud5154     ColeKepro 5.0     148685        148685.USA        T01825    Kansas City, MO      Active     130229   130229 Trojan PQ                                            112 Old Wire Rd                     Washburn            MO   65772    8/7/2021
coincloud5183     ColeKepro 5.0     148714        148714.USA        T01826    Kansas City, MO      Active     150875   150875 Sprint                                               2480 Crosscreek Rd                  Hephzibah           GA   30815    8/7/2021
coincloud5227     ColeKepro 5.0     148758        148758.USA        T01858    Kansas City, MO      Active     128468   128468 Callaway Market                                      59 S. Grand Ave                     Callaway            NE   68825    8/7/2021
coincloud5170     ColeKepro 5.0     148701        148701.USA        T01874    Kansas City, MO      Active     130353   130353 Outpost Mart                                         6965 AR-22                          Subiaco             AR   72865    8/7/2021
coincloud5171     ColeKepro 5.0     148702        148702.USA        T01877    Kansas City, MO      Active     130230   130230 Country Package                                      26131 State Hwy 37                  Washburn            MO   65772    8/7/2021
coincloud5161     ColeKepro 5.0     148692                          T01885    Kansas City, MO     Warehouse   121869          Logic Warehouse                                      4121 N Kentucky Ave.                Kansas City         MO   64161    8/7/2021
coincloud5152     ColeKepro 5.0     148683                          T01911    Kansas City, MO      Active     146056   146056 Lou's Thrifty-Way                                    807 S 13th St                       Norfolk             NE   68701    8/7/2021
coincloud4976     ColeKepro 5.0     148507                          T02113      Lubbock, TX        Active     128212   128212 Toot'n Totum                                         211 S Western St                    Amarillo            TX   79106    8/7/2021
coincloud5020     ColeKepro 5.0     148551                          T02123      Magnolia, TX      Warehouse   122408          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud5033     ColeKepro 5.0     148564                          T02123      Magnolia, TX      Warehouse   122189          Deadline Construction                                19475 Alford Rd                     Magnolia            TX   77355    8/7/2021
coincloud150527   ColeKepro 5.0     150527        150527.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150528   ColeKepro 5.0     150528        150528.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150597   ColeKepro 5.0     150597        150597.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150599   ColeKepro 5.0     150599        150599.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150523   ColeKepro 5.0     150523        150523.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150575   ColeKepro 5.0     150575        150575.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150580   ColeKepro 5.0     150580        150580.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150529   ColeKepro 5.0     150529        150529.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150547   ColeKepro 5.0     150547        150547.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150578   ColeKepro 5.0     150578        150578.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150609   ColeKepro 5.0     150609        150609.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150627   ColeKepro 5.0     150627        150627.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150521   ColeKepro 5.0     150521        150521.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150590   ColeKepro 5.0     150590        150590.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150604   ColeKepro 5.0     150604        150604.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150556   ColeKepro 5.0     150556        150556.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150561   ColeKepro 5.0     150561        150561.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150544   ColeKepro 5.0     150544        150544.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150596   ColeKepro 5.0     150596        150596.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150552   ColeKepro 5.0     150552        150552.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150554   ColeKepro 5.0     150554        150554.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150605   ColeKepro 5.0     150605        150605.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150579   ColeKepro 5.0     150579        150579.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150592   ColeKepro 5.0     150592        150592.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150598   ColeKepro 5.0     150598        150598.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150553   ColeKepro 5.0     150553        150553.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150526   ColeKepro 5.0     150526        150526.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150530   ColeKepro 5.0     150530        150530.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150555   ColeKepro 5.0     150555        150555.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150603   ColeKepro 5.0     150603        150603.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150608   ColeKepro 5.0     150608        150608.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150557   ColeKepro 5.0     150557        150557.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150542   ColeKepro 5.0     150542        150542.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150550   ColeKepro 5.0     150550        150550.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150539   ColeKepro 5.0     150539        150539.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150546   ColeKepro 5.0     150546        150546.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150540   ColeKepro 5.0     150540        150540.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150607   ColeKepro 5.0     150607        150607.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150632   ColeKepro 5.0     150632        150632.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150541   ColeKepro 5.0     150541        150541.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150585   ColeKepro 5.0     150585        150585.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150549   ColeKepro 5.0     150549        150549.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150588   ColeKepro 5.0     150588        150588.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150564   ColeKepro 5.0     150564        150564.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150636   ColeKepro 5.0     150636        150636.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150641   ColeKepro 5.0     150641        150641.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150572   ColeKepro 5.0     150572        150572.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150591   ColeKepro 5.0     150591        150591.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150582   ColeKepro 5.0     150582        150582.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150593   ColeKepro 5.0     150593        150593.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150545   ColeKepro 5.0     150545        150545.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150548   ColeKepro 5.0     150548        150548.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150583   ColeKepro 5.0     150583        150583.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150560   ColeKepro 5.0     150560        150560.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150595   ColeKepro 5.0     150595        150595.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150638   ColeKepro 5.0     150638        150638.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150589   ColeKepro 5.0     150589        150589.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150606   ColeKepro 5.0     150606        150606.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150630   ColeKepro 5.0     150630        150630.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150629   ColeKepro 5.0     150629        150629.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
coincloud150642   ColeKepro 5.0     150642        150642.USA                   Las Vegas, NV      Warehouse                   Sloan                                                                                                                      8/7/2021
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coincloud150634   ColeKepro 5.0        150634         150634.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150643   ColeKepro 5.0        150643         150643.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150637   ColeKepro 5.0        150637         150637.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150644   ColeKepro 5.0        150644         150644.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150628   ColeKepro 5.0        150628         150628.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150640   ColeKepro 5.0        150640         150640.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150639   ColeKepro 5.0        150639         150639.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150645   ColeKepro 5.0        150645         150645.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150631   ColeKepro 5.0        150631         150631.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150633   ColeKepro 5.0        150633         150633.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150566   ColeKepro 5.0        150566         150566.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150565   ColeKepro 5.0        150565         150565.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150648   ColeKepro 5.0        150648         150648.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150646   ColeKepro 5.0        150646         150646.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150651   ColeKepro 5.0        150651         150651.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150652   ColeKepro 5.0        150652         150652.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150655   ColeKepro 5.0        150655         150655.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150650   ColeKepro 5.0        150650         150650.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150647   ColeKepro 5.0        150647         150647.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150653   ColeKepro 5.0        150653         150653.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150654   ColeKepro 5.0        150654         150654.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150649   ColeKepro 5.0        150649         150649.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150535   ColeKepro 5.0        150535         150535.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150600   ColeKepro 5.0        150600         150600.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150576   ColeKepro 5.0        150576         150576.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150525   ColeKepro 5.0        150525         150525.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150574   ColeKepro 5.0        150574         150574.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150581   ColeKepro 5.0        150581         150581.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150587   ColeKepro 5.0        150587         150587.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150573   ColeKepro 5.0        150573         150573.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150586   ColeKepro 5.0        150586         150586.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150577   ColeKepro 5.0        150577         150577.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150584   ColeKepro 5.0        150584         150584.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150534   ColeKepro 5.0        150534         150534.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150524   ColeKepro 5.0        150524         150524.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150538   ColeKepro 5.0        150538         150538.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150601   ColeKepro 5.0        150601         150601.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150537   ColeKepro 5.0        150537         150537.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150602   ColeKepro 5.0        150602         150602.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150522   ColeKepro 5.0        150522         150522.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150558   ColeKepro 5.0        150558         150558.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150568   ColeKepro 5.0        150568         150568.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150571   ColeKepro 5.0        150571         150571.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150559   ColeKepro 5.0        150559         150559.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150567   ColeKepro 5.0        150567         150567.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150569   ColeKepro 5.0        150569         150569.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150563   ColeKepro 5.0        150563         150563.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150570   ColeKepro 5.0        150570         150570.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150551   ColeKepro 5.0        150551         150551.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150562   ColeKepro 5.0        150562         150562.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
coincloud2721     ColeKepro 3.0        145188                         S95625                          Warehouse   123128          CCHQ                                      10190 Covington cross               Las Vegas         NV   89144   10/2/2020
coincloud6276     ColeKepro 5.0        149807         149807.USA      T05830       Raleigh, NC         Active     103218   103218 S N R Food Mart One                       7671 Dorchester Rd.                 N. Charleston     SC   29418   8/7/2021
coincloud2777     ColeKepro 3.0        145444                         S95634                          Warehouse   117218          Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                 Placentia         CA   92870   10/2/2020
coincloud150719   ColeKepro 5.0        150719         150719.USA      T05831      St Paul, MN          Active     151374   151374 Saar Marketplace                          10616 16th Ave SW                   Seattle           WA   98146   8/7/2021
coincloud6621     ColeKepro 5.0        150152         150152.USA      T05833      Raleigh,NC           Active     103222   103222 Sea Mart                                  2402 N Kings Hwy                    Myrtle Beach      SC   29577   8/7/2021
coincloud150689   ColeKepro 5.0        150689         150689.USA      T05834      St Paul, MN          Active     144550   144550 Gus Stop Convenience Stores               301 US-281                          Lake Andes        SD   57356   8/7/2021
coincloud2568     ColeKepro 3.0        145129                         S95636                          Warehouse   120408          CCHQ                                                                                                         10/2/2020
coincloud5801     ColeKepro 5.0        145201         145201.USA      S95649                          Warehouse   120039          Secure Technicians Inc                    1501 S Blount St                    Raleigh           NC   27603   8/7/2021
coincloud3914     ColeKepro 3.0        146494                         S95657                          Warehouse   139376          Secure Technicians Inc                    1501 S Blount St                    Raleigh           NC   27603   10/2/2020
coincloud4486     ColeKepro 5.0        148020         148020.USA      S98044       Revere, MA         Warehouse   130236          CCHQ                                                                                                         8/7/2021
coincloud5595     ColeKepro 5.0        149126                         T05908        Kent, WA           Active     146916   146916 Philomath Market                          1405 Main St                        Philomath         OR   97370   8/7/2021
coincloud2788     ColeKepro 3.0        145402         145402.USA      T05911                           Active     108841   108841 Elmira Market Beer and Wine               4401 S Capitol St SW                Washington        DC   20032   10/2/2020
coincloud5431     ColeKepro 5.0        148962         148962.USA      T05919   City Of Industry, CA    Active     108816   108816 Mega Mart                                 10582 Garden Grove Blvd             Garden Grove      CA   92843   8/7/2021
coincloud4766     ColeKepro 5.0        148297         148297.USA      T05923      Westbury, NY         Active     138780   138780 McKinnon's Market                         236 N Broadway                      Salem             NH    3079   8/7/2021
coincloud5010     ColeKepro 5.0        148541         148541.USA      T01451      Magnolia, TX        Warehouse   122265          CCHQ                                                                                                         8/7/2021
coincloud6617     ColeKepro 5.0        150148         150148.USA      T05980        Raleigh,NC         Active     141698   141698 Piggly Wiggly                             122 Hwy 17 N                        Surfside Beach    SC   29575   8/7/2021
coincloud150623   ColeKepro 5.0        150623         150623.USA      T05981       St Paul, MN         Active     141000   141000 Maynard's Food Center                     107 Calumet Ave SE                  De Smet           SD   57231   8/7/2021
coincloud150709   ColeKepro 5.0        150709                         T05827       St Paul, MN        Warehouse                   Metcalf Moving                            1261 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150685   ColeKepro 5.0        150685         150685.USA      T05987       St Paul, MN         Active     139549   139549 Cub Foods                                 2310 Crest View Dr                  Hudson            WI   54016   8/7/2021
coincloud150693   ColeKepro 5.0        150693         150693.USA      T06211       St Paul, MN         Active     139552   139552 Cub Foods                                 2100 Snelling Ave N                 Roseville         MN   55113   8/7/2021
coincloud150707   ColeKepro 5.0        150707         150707.USA      T06220       St Paul, MN         Active     139551   139551 Cub Foods                                 1201 Larpenteur Ave                 Roseville         MN   55113    8/7/2021
coincloud150714   ColeKepro 5.0        150714                         T05835       St Paul, MN        Warehouse                   Metcalf Moving                            1266 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150681   ColeKepro 5.0        150681         150681.USA      T06228       St Paul, MN         Active     139545   139545 Cub Foods                                 2612 S Broadway St                  Alexandria        MN   56308   8/7/2021
coincloud150611   ColeKepro 5.0        150611         150611.USA      T06230       St Paul, MN         Active     139556   139556 Cub Foods                                 5937 Nicollet Ave S                 Minneapolis       MN   55419   8/7/2021
coincloud150697   ColeKepro 5.0        150697         150697.USA      T06232       St Paul, MN         Active     123039   123039 Mail Etc Inc                              4730 University Way NE              Seattle           WA   98105   8/7/2021
coincloud5478     ColeKepro 5.0        149009         149009.USA      T06233       Raleigh, NC         Active     103193   103193 Green Valley Market                       3738 west gate city blvd suite D    Greensboro        NC   27407   8/7/2021
coincloud150710   ColeKepro 5.0        150710                         T05839       St Paul, MN        Warehouse                   Metcalf Moving                            1262 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150683   ColeKepro 5.0        150683         150683.USA      T06234       St Paul, MN         Active     139564   139564 Cub Foods                                 19216 Freeport Ave                  Elk River         MN   55330   8/7/2021
coincloud151249   ColeKepro 5.0        151249         151249.USA                  Las Vegas, NV       Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150713   ColeKepro 5.0        150713                         T05840       St Paul, MN        Warehouse                   Metcalf Moving                            1265 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150696   ColeKepro 5.0        150696         150696.USA      T06236       St Paul, MN         Active     123314   123314 Lavender laundromat                       14227 Tukwila International Blvd    Tukwila           WA   98168   8/7/2021
coincloud2787     ColeKepro 3.0        145404         145404.USA      T06251                           Active     116352   116352 Yuma Meat Market                          890 E 24th St                       Yuma              AZ   85365   10/2/2020
coincloud150691   ColeKepro 5.0        150691         150691.USA      T06267       St Paul, MN         Active     147306   147306 Prairie Pride Farm of Minnesota           710 Linder Ave                      Mankato           MN   56001   8/7/2021
coincloud150720   ColeKepro 5.0        150720                         T05841       St Paul, MN        Warehouse                   Metcalf Moving                            1267 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150701   ColeKepro 5.0        150701         150701.USA      T06646       St Paul, MN         Active     136622   136622 Carnation IGA                             31722 E Eugene St                   Carnation         WA   98014   8/7/2021
coincloud150543   ColeKepro 5.0        150543         150543.USA      T06656       St Paul, MN         Active     139554   139554 Cub Foods                                 2197 Old Hudson Rd                  St Paul           MN   55119   8/7/2021
coincloud150620   ColeKepro 5.0        150620                         T05979       St Paul, MN        Warehouse                   Metcalf Moving                            1257 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150610   ColeKepro 5.0        150610         150610.USA      T06667       St Paul, MN         Active     139548   139548 Cub Foods                                 8015 Den Rd                         Eden Prairie      MN   55344   8/7/2021
coincloud150625   ColeKepro 5.0        150625                         T06704       St Paul, MN        Warehouse                   Metcalf Moving                            1259 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150618   ColeKepro 5.0        150618                         T06830       St Paul, MN        Warehouse                   Metcalf Moving                            1255 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150690   ColeKepro 5.0        150690         150690.USA      T06691       St Paul, MN         Active     145975   145975 The Station                               2280 County Rd I                    Mounds View       MN   55112   8/7/2021
coincloud150612   ColeKepro 5.0        150612         150612.USA      T06694       St Paul, MN         Active     139555   139555 Cub Foods                                 6775 York Ave S                     Edina             MN   55435   8/7/2021
coincloud150622   ColeKepro 5.0        150622         150622.USA      T06714       St Paul, MN         Active     139561   139561 North Branch City Market                  5418 St Croix Trail                 North Branch      MN   55056   8/7/2021
coincloud6686     ColeKepro 5.0        150217         150217.USA      T06721       Raleigh,NC          Active     141702   141702 Piggly Wiggly                             221 Cherokee Rd                     Florence          SC   29501    8/7/2021
coincloud150711   ColeKepro 5.0        150711                         T06638       St Paul, MN        Warehouse                   Metcalf Moving                            1263 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150687   ColeKepro 5.0        150687         150687.USA      T06724       St Paul, MN         Active     103765   103765 River Hills Mall                          1850 Adams St                       Mankato           MN   56001   8/7/2021
coincloud150536   ColeKepro 5.0        150536         150536.USA      T06729       St Paul, MN         Active     139562   139562 Cub Foods                                 3620 Texas Ave S                    St Louis Park     MN   55426   8/7/2021
coincloud1772     ColeKepro 3.0        150692         150692.USA      T06733                           Active     139557   139557 Jerry's Foods                             5125 Vernon Ave                     Edina             MN   55436   10/2/2020
coincloud150692   ColeKepro 5.0        150692         150692.USA      T06733       St Paul, MN         Active     139559   139559 Jerry's Foods                             7760 Hargis Pkwy                    Woodbury          MN   55129   8/7/2021
coincloud150712   ColeKepro 5.0        150712                         T06657       St Paul, MN        Warehouse                   Metcalf Moving                            1264 East Highway 36                St. Paul          MN   55109    8/7/2021
coincloud150686   ColeKepro 5.0        150686         150686.USA      T06746       St Paul, MN         Active     139543   139543 Crossroads County Market                  220 S 18th Ave                      Wausau            WI   54401   8/7/2021
coincloud150617   ColeKepro 5.0        150617         150617.USA      T06751       St Paul, MN         Active     139546   139546 Cub Foods                                 200 Pioneer Trail                   Chaska            MN   55318   8/7/2021
coincloud150532   ColeKepro 5.0        150532         150532.USA      T06758       St Paul, MN         Active     148416   148416 Marathon Gas                              702 33rd Ave N                      St Cloud          MN   56303   8/7/2021
coincloud661      APSM 1.1        42016000000029US42016000000029.US   T06814                           Active     104450   104450 Phillips 66                               115 Harvest Dr                      Louisburg         KS   66053   9/19/2019
coincloud150615   ColeKepro 5.0        150615         150615.USA      T06818      St Paul, MN          Active     140995   140995 Maynard's Food Center                     409 Broadway                        Browns Valley     MN   56219   8/7/2021
coincloud150626   ColeKepro 5.0        150626                         T06230      St Paul, MN          Active     140996   140996 Maynard's Food Center                     304 N Main St                       Renville          MN   56284   8/7/2021
coincloud150619   ColeKepro 5.0        150619                         T06745      St Paul, MN         Warehouse                   Metcalf Moving                            1258 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud150613   ColeKepro 5.0        150613         150613.USA      T06829      St Paul, MN          Active     139558   139558 Cub Foods                                 10520 France Ave S                  Minneapolis       MN   55431   8/7/2021
coincloud150614   ColeKepro 5.0        150614                         T06235      St Paul, MN         Warehouse   108963          Metcalf Moving                            1256 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud6615     ColeKepro 5.0        150146                         T06833      Raleigh,NC           Active     141704   141704 Piggly Wiggly                             208 E McIntyre St                   Mullins           SC   29574   8/7/2021
coincloud150698   ColeKepro 5.0        150698         150698.USA      T06839      St Paul, MN          Active     130347   130347 Bayview Thriftway                         516 4th Ave W                       Olympia           WA   98502   8/7/2021
coincloud150621   ColeKepro 5.0        150621         150621.USA      T06854      St Paul, MN          Active     139560   139560 Cub Foods                                 2001 S Robert St                    St Paul           MN   55118   8/7/2021
coincloud150635   ColeKepro 5.0        150635         150635.USA      T06855      St Paul, MN          Active     139547   139547 Jerry's Foods                             9625 Anderson Lakes Pkwy            Eden Prairie      MN   55344   8/7/2021
coincloud150682   ColeKepro 5.0        150682                         T06823      St Paul, MN         Warehouse                   Metcalf Moving                            1260 East Highway 36                St. Paul          MN   55109   8/7/2021
coincloud4999     ColeKepro 5.0        148530         148530.USA      T06857     Magnolia, TX          Active     125362   125362 Spec's Wines, Spirits & Finer Foods       4665 Garth Rd #Suite 800            Baytown           TX   77521   8/7/2021
coincloud6637     ColeKepro 5.0        150168                         T06905      Raleigh,NC           Active     141703   141703 Piggly Wiggly                             1945 W Palmetto St                  Florence          SC   29501   8/7/2021
coincloud150688   ColeKepro 5.0        150688         150688.USA      T06972      St Paul, MN          Active     139544   139544 Cub Foods                                 3245 County Rd 10                   Brooklyn Center   MN   55429   8/7/2021
coincloud150594   ColeKepro 5.0        150594         150594.USA                 Las Vegas, NV        Warehouse                   Sloan                                                                                                        8/7/2021
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coincloud740      ColeKepro 1.0         107891            142012USA      354430878                    Active     107891   107891 BP Gas                                    840 E Grand River Ave               Howell           MI   48843     5/7/2020
coincloud485      APSM 1.1           5.41537E+14 41537000000053.USA                                   Active     101416   101416 Intown Market and Deli                    349 Decatur St SE                   Atlanta          GA   30312    9/19/2019
coincloud150990   ColeKepro 5.0         150990            150990.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151334   ColeKepro 5.0         151334            151334.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151295   ColeKepro 5.0         151295            151295.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151013   ColeKepro 5.0         151013            151013.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151057   ColeKepro 5.0         151057            151057.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151409   ColeKepro 5.0         151409            151409.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151028   ColeKepro 5.0         151028            151028.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150723   ColeKepro 5.0         150723            150723.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151005   ColeKepro 5.0         151005            151005.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151016   ColeKepro 5.0         151016            151016.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151127   ColeKepro 5.0         151127            151127.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151140   ColeKepro 5.0         151140            151140.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151396   ColeKepro 5.0         151396            151396.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150940   ColeKepro 5.0         150940            150940.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150994   ColeKepro 5.0         150994            150994.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151267   ColeKepro 5.0         151267            151267.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151265   ColeKepro 5.0         151265            151265.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150750   ColeKepro 5.0         150750            150750.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151367   ColeKepro 5.0         151367            151367.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151325   ColeKepro 5.0         151325            151325.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150852   ColeKepro 5.0         150852            150852.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150855   ColeKepro 5.0         150855            150855.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud5818     ColeKepro 5.0         149349            149349.USA                  Sanford, FL    Warehouse   121406          Central M&S/LANZA TRUCKING                2002 Directors Row                  Orlando          FL   32809    8/7/2021
coincloud151098   ColeKepro 5.0         151098            151098.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud6612     ColeKepro 5.0         150143            150143.USA                     Other        Active     104380   104380 Ontario Farmers Market                    1701 S Mountain Ave                 Ontario          CA   91762     8/7/2021
coincloud150837   ColeKepro 5.0         150837            150837.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud1079     ColeKepro 2.0         143114            143114.USA                                  Active     108924   108924 Mart N' Bottle                            3603 W Walnut Ave                   Visalia          CA   93277    8/28/2020
coincloud151153   ColeKepro 5.0         151153            151153.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud423      APSM 1.1           5.41535E+14 41535000000041.USA                                   Active     103190   103190 Briar Creek Market                        3400 Commonwealth Ave               Charlotte        NC   28205    9/19/2019
coincloud360      APSM 1.1           5.41325E+14 41325000000028.USA                                   Active     103649   103649 Gulf                                      307 Hazard Ave                      Enfield          CT    6082    9/19/2019
coincloud324      Slabb 1.0           5.4116E+14 41160000000005.USA                                   Active     103519   103519 Cindy's Mini Market                       12865 W Grand Ave                   Surprise         AZ   85374   12/18/2018
coincloud328      Slabb 1.0           5.4116E+14 41160000000009.USA                                   Active     103535   103535 Chevron                                   980 N Cooper Rd                     Chandler         AZ   85225   12/18/2018
coincloud512      APSM 1.1           5.41539E+14 41539000000005.USA                                   Active     103675   103675 Sinclair                                  213 18th St                         Greeley          CO   80631    9/19/2019
coincloud460      APSM 1.1           5.41537E+14 41537000000028.USA                                   Active     103636   103636 The Liquor Cabinet of Thornton            8600 Washington St                  Thornton         CO   80229    9/19/2019
coincloud862      ColeKepro 1.0         142081            142081.USA                                  Active     103481   103481 Express Food Mart                         3185 River Rd N                     Salem            OR   97303     5/7/2020
coincloud909      APSM 1.1           5.42018E+14 42018000000049.USA                                   Active     104169   104169 Foster Lake Market                        5401 US-20                          Sweet Home       OR   97386    9/19/2019
coincloud686      APSM 1.1           5.42018E+14 42018000000004.USA                                   Active     104359   104359 J JS Fastop 294                           5401 Watauga Rd                     Fort Worth       TX   76137    9/19/2019
coincloud890      ColeKepro 1.0         141936            141936.USA                                  Active     103491   103491                                        76 1321 Main St                        Oregon City      OR   97045     5/7/2020
coincloud647      APSM 1.1           5.42016E+14 42016000000015.USA                                   Active     104418   104418 Kwik Sak 614                              5835 Old Hickory Blvd               Nashville        TN   37076    9/19/2019
coincloud868      ColeKepro 1.0         142066            142066.USA                                  Active     104191   104191 Chevron                                   927 W Sunset Blvd                   St. George       UT   84770     5/7/2020
coincloud151316   ColeKepro 5.0         151316           151316.USA                  Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud960      APSM 1.1           5.42027E+14 42027000000050.USA                                   Active     108707   108707 The Crown Tattoo & Smoke Studio/Shop      2235s AZ-89                         Chino Valley     AZ   86323    9/19/2019
coincloud604      APSM 1.1           5.42015E+14 42015000000022.USA                                   Active     103860   103860 Convenient Food Mart                      42163 N Ridge Rd                    Elyria           OH   44035    9/19/2019
coincloud1030     ColeKepro 2.0         143065            143065.USA                                  Active     149380   149380 Allsups                                   820 Hwy 70 W                        Alamogordo       NM   88310    8/28/2020
coincloud1235     ColeKepro 3.0         143270            143270.USA                                  Active     108894   108894 Mirage Wine & Spirits                     2020 W Hwy 50                       O'Fallon         IL   62269    10/2/2020
coincloud150850   ColeKepro 5.0         150850            150850.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud1505     ColeKepro 3.0         143540            143540.USA                                  Active     124811   124811 FOOD BAZAAR                               425 Anderson Ave                    Fairview         NJ    7022    10/2/2020
coincloud1003     ColeKepro 1.0         143038            143038.USA                                  Active     108187   108187 Fast Food                                 12531 Lake June Rd                  Balch Springs    TX   75180    5/7/2020
coincloud1145     ColeKepro 2.0         143180            143180.USA                                  Active     103082   103082 Shell                                     12155 SE Foster Rd                  Portland         OR   97266    8/28/2020
coincloud1011     ColeKepro 2.0         143046            143046.USA                                  Active     108463   108463 Hillside Market                           82 Hillside St                      Boston           MA    2120    8/28/2020
coincloud150937   ColeKepro 5.0         150937            150937.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150953   ColeKepro 5.0         150953            150953.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud1213     ColeKepro 2.0         143248            143248.USA                                  Active     108828   108828 Star Liquor Market                        78 Main St                          Lakeville        MA    2347    8/28/2020
coincloud1978     ColeKepro 3.0         144013            144013.USA                                  Active     103148   103148 La Familia Mexican Market (Shell)         8540 Research Blvd                  Austin           TX   78758    10/2/2020
coincloud150842   ColeKepro 5.0         150842            150842.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud150822   ColeKepro 5.0         150822            150822.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud2080     ColeKepro 3.0         149549            144115.USA                                  Active     115417   115417 Redner's Quick Shoppe                     33 W 21st St                        Northampton     PA    18067    10/2/2020
coincloud3281     ColeKepro 3.0         145783            145783.USA                                  Active     118600   118600 P&N Pawn Shop                             1842 W Jefferson St                 Plymouth        IN    46563    10/2/2020
coincloud3056     ColeKepro 3.0         145553            145553.USA                                  Active     128161   128161 Manhattan Village                         3200 Sepulveda Blvd                 Manhattan Beach CA    90266    10/2/2020
coincloud150791   ColeKepro 5.0         150791           150791.USA                  Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud2362     ColeKepro 3.0         144385            144385.USA                                  Active     101458   101458 Citgo                                     2932 Alpine Rd                      Columbia         SC   29223    10/2/2020
coincloud3229     ColeKepro 3.0         145910            145910.USA                                  Active     104193   104193 West Haven Truck Stop                     2105 S 1100 W                       Ogden            UT   84401    10/2/2020
coincloud151262   ColeKepro 5.0         151262            151262.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151380   ColeKepro 5.0         151380            151380.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151404   ColeKepro 5.0         151404            151404.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151156   ColeKepro 5.0         151156            151156.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151342   ColeKepro 5.0         151342            151342.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151209   ColeKepro 5.0         151209            151209.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151195   ColeKepro 5.0         151195            151195.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151237   ColeKepro 5.0         151237            151237.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151169   ColeKepro 5.0         151169            151169.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud151401   ColeKepro 5.0         151401            151401.USA                 Las Vegas, NV   Warehouse                   Sloan                                                                                                         8/7/2021
coincloud886      ColeKepro 1.0         141937            141937.USA                                  Active     144465   144465 Casa de Dinero                            914 S 8th St #Suite 104             Rogers           AR   72756    5/7/2020
coincloud867      ColeKepro 1.0         142086            142086.USA                                  Active     103252   103252 Bottle Liquor Store                       550 Lexington Ave                   Clifton@         NJ    7011    5/7/2020
coincloud753      ColeKepro 1.0          14182            142182.USA                                  Active     104408   104408 Bizee Mart                                1874 Memorial Dr                    Clarksville      TN   37043     5/7/2020
coincloud325      Slabb 1.0           5.4116E+14 41160000000006.USA                                   Active     103520   103520 Happy Market                              6425 N. 47th Ave                    Glendale         AZ   85301   12/18/2018
coincloud326      Slabb 1.0            5.41E+14       41160000000007.USA                              Active     103526   103526 Snappy Family Convenience Store           702 E Roeser Rd                     Phoenix          AZ   85040   12/18/2018
coincloud329      Slabb 1.0           5.4116E+14 41160000000010.USA                                   Active     103539   103539 At Your Convenience                       8461 E Broadway Rd                  Mesa             AZ   85208   12/18/2018
coincloud355      APSM 1.1           5.41325E+14 41325000000023.USA                                   Active     103851   103851 Marathon                                  1645 Wabash Ave                     Jerome           IL   62704    9/19/2019
coincloud361      APSM 1.1           5.41325E+14 41325000000029.USA                                   Active     103760   103760 Jordan Market                             198 Burlington Ave                  Bristol          CT    6010    9/19/2019
coincloud374      APSM 1.1           5.41325E+14                                                      Active     103643   103643 Country Store                             812 W Academy St                    Fuquay-Varina    NC   27526    9/19/2019
coincloud411      APSM 1.1           5.41535E+14 41535000000029.USA                                   Active     108056   108056 Kitty's Corner                            5699 Geneva Ave N                   St Paul Park     MN   55128    9/19/2019
coincloud414      APSM 1.1           5.41535E+14 41535000000032.USA                                   Active     101593   101593 Bostonian Convenience II                  420 Medford St                      Somerville       MA    2145    9/19/2019
coincloud461      APSM 1.1           5.41537E+14 41537000000029.USA                                   Active     103422   103422 Citgo                                     6104 Oxon Hill Rd                   Oxon Hill        MD   20745    9/19/2019
coincloud462      APSM 1.1        41537000000030US41537000000030.USA                                  Active     103423   103423 Upper Marlboro Extra Fuel                 15009 Marlboro Pike                 Upper Marlboro   MD   20772    9/19/2019
coincloud480      APSM 1.1           5.41537E+14 41537000000048.USA                                   Active     103403   103403 Dollar Store Plus Gift                    2802 Graham Rd                      Falls Church     VA   22042    9/19/2019
coincloud495      APSM 1.1           5.41537E+14 41537000000063.USA                                   Active     103574   103574 SOS Liquor                                956 Embarcadero del Norte           Goleta           CA   93117    9/19/2019
coincloud513      APSM 1.1           5.41539E+14 41539000000006.USA                                   Active     103683   103683 Boulder Beer & Liquor Emporium            4700 Table Mesa Dr                  Boulder          CO   80305    9/19/2019
coincloud566      APSM 1.1           5.41539E+14 41539000000059.USA                                   Active     103690   103690 New Boulder Gas                           2995 28th St                        Boulder          CO   80301    9/19/2019
coincloud573      APSM 1.1           5.41539E+14 41539000000066.USA                                   Active     104195   104195 Alexa Liquor Barn                         2101 W Alexis Rd                    Toledo           OH   43613    9/19/2019
coincloud577      APSM 1.1           5.41539E+14 41539000000070.USA                                   Active     103944   103944 Sunoco                                    2483 Burlington Pike                Burlington       KY   41005    9/19/2019
coincloud915      APSM 1.1           5.42027E+14 42027000000005.USA                                   Active     108124   108124 Peak Food Mart                            5509 Broadway Blvd                  Garland          TX   75043    9/19/2019
coincloud965      APSM 1.1           5.42489E+13 4248900000005.USA                                    Active     108943   108943 Sunoco                                    8408 White Bluff Rd                 Savannah         GA   31406    9/19/2019
coincloud487      APSM 1.1           5.41537E+14                                                      Active     108966   108966 J & B FOOD MART                           5216 Germanton Rd                   Winston-Salem    NC   27105    9/19/2019
coincloud42       Lynna 1.0           145064.USA                                                      Active     108252   108252 Salt N Pepper                             28510 S Veterans Memorial Blvd      San Manuel       AZ   85631    1/1/2018
coincloud433      APSM 1.1           5.41537E+14                                                      Active     108914   108914 Gill Foodmart & Gas                       1930 S Mooney Blvd                  Visalia          CA   93277    9/19/2019
coincloud922      APSM 1.1           5.42027E+14                                                      Active     108154   108154 Kings Wine and Liquor #2                  2346 Fruitridge Rd                  Sacramento       CA   95822    9/19/2019
coincloud533      APSM 1.1           5.41539E+14                                                      Active     103661   103661 Alameda Discount Liquor                   6241 W Alameda Ave                  Lakewood         CO   80226    9/19/2019
coincloud509      APSM 1.1           5.41539E+14                                                      Active     103637   103637 ConuÃ¢â‚¬â„¢s Corner                      4400 W 29th Ave                     Denver           CO   80212    9/19/2019
coincloud535      APSM 1.1           5.41539E+14                                                      Active     103633   103633 L&C Liquors                               8100 W Crestline Ave A-18           Littleton        CO   80123    9/19/2019
coincloud581      APSM 1.1        41539000000074.USA                                                  Active     103640   103640 Mini Food Store                           4696 S Federal Blvd                 Englewood        CO   80110    9/19/2019
coincloud230      Slabb 1.0         0310-003-1254                                                     Active     103205   103205 Shell                                     5891 Main St                        Trumbull         CT    6611   12/18/2018
coincloud489      APSM 1.1           5.41537E+14                                                      Active     103204   103204 Turind Gas & Convenience Store            624 E. Main St.                     Bridgeport       CT    6608    9/19/2019
coincloud438      APSM 1.1          No serial # found                                                 Active     104247   104247 Ford City Mall                            7601 S Cicero Ave                   Chicago          IL   60652    9/19/2019
coincloud541      APSM 1.1           5.41539E+14                                                      Active     104008   104008 Conoco                                    2030 W Washington St                Indianapolis     IN   46222    9/19/2019
coincloud531      APSM 1.1           5.41539E+14                                                      Active     104009   104009 East Side Pantry                          4023 E 10th St                      Indianapolis     IN   46201    9/19/2019
coincloud277      Slabb 1.0         0310-003-1335                                                     Active     101437   101437 BP Gas                                    2704 Crittenden Dr                  Louisville       KY   40209   12/18/2018
coincloud561      APSM 1.1           5.41539E+14                                                      Active     103932   103932 Marathon                                  4802 Taylor Mill Rd                 Taylor Mill      KY   41015    9/19/2019
coincloud532      APSM 1.1           5.41539E+14                                                      Active     103919   103919 Convenient 38                             880 Main St                         Woburn           MA    1801    9/19/2019
coincloud491      APSM 1.1           5.41537E+14                                                      Active     101482   101482 Carroll Fuel                              2650 W Patapsco Ave                 Baltimore        MD   21230    9/19/2019
coincloud490      APSM 1.1           5.41537E+14                                                      Active     101483   101483 Sunoco                                    3300 W Baltimore St                 Baltimore        MD   21229    9/19/2019
coincloud761      ColeKepro 1.0         142159                                                        Active     103769   103769 Anoka Gas                                 703 E River Rd                      Anoka            MN   55303    5/7/2020
coincloud399      APSM 1.1          No serial # found                                                 Active     103067   103067 A.S.K. check cashing                      2510 S Wilmington St                Raleigh          NC   27603    9/19/2019
coincloud515      APSM 1.1           5.41539E+14                                                      Active     103723   103723 Mega 2 Supermarket                        8055 US Highway 64 Alternate West   Tarboro          NC   27886    9/19/2019
coincloud321      Slabb 1.0           5.4116E+14                                                      Active     103762   103762 Golden Gate Casino                        1 Fremont St                        Las Vegas        NV   89101   12/18/2018
coincloud320      Slabb 1.0           5.4116E+14                                                      Active     101402   101402 The D Casino                              301 Fremont St                      Las Vegas        NV   89101   12/18/2018
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coincloud402    APSM 1.1           5.41535E+14                             Active       103278   103278 Convenient Food Mart   342 Wilkes Barre Township Blvd   Wilkes-Barre        PA   18702    9/19/2019
coincloud335    APSM 1.1           5.41325E+14                             Active       108116   108116 Naina Mini Mart        1800 Forbes Ave                  Pittsburgh          PA   15219    9/19/2019
coincloud418    APSM 1.1           5.41535E+14                             Active       101429   101429 Citgo                  2030 Goliad Rd                   San Antonio         TX   78223    9/19/2019
coincloud720    ColeKepro 1.0         142002                               Active       104348   104348 Handy Food Stores      7903 Main St                     North Richland HillsTX   76182    5/7/2020
coincloud3248   ColeKepro 3.0    No serial # found   Kansas City, MO       Active       120276   120276 HEB                    701 W Parkwood Ave               Friendswood         TX   77546    10/2/2020
coincloud419    APSM 1.1           5.41535E+14                             Active       101427   101427 Valero                 255 N Ww White Rd                San Antonio         TX   78219    9/19/2019
coincloud576    APSM 1.1           5.41539E+14                             Active       103285   103285 Wash Em Up 4           2100 S Belmont St #B             Midland             TX   79701    9/19/2019
coincloud772    ColeKepro 1.0         141970                               Active       104201   104201 Friends Food & Gas     171 N Main St                    Springville         UT   84663    5/7/2020
coincloud518    APSM 1.1           5.41539E+14                             Active       103973          CCHQ                                                                                      9/19/2019
coincloud2      Lynna 1.0        BTM000004317                          Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud3      Lynna 1.0         BTM000004322                         Decommissioned   101396          Decommissioned                                                                             1/1/2018
coincloud6      Lynna 1.0        BTM000004333                          Decommissioned   101399          Decommissioned                                                                             1/1/2018
coincloud9      Lynna 1.0        BTM000004339                          Decommissioned   103079          Decommissioned                                                                             1/1/2018
coincloud10     Lynna 1.0        BTM000004257                          Decommissioned   101395          Decommissioned                                                                             1/1/2018
coincloud12     Lynna 1.0        BTM000004323                          Decommissioned   101620          Decommissioned                                                                             1/1/2018
coincloud15     Lynna 1.0        BTM000004325        Las Vegas, NV     Decommissioned                   Decommissioned                                                                             1/1/2018
coincloud17     Lynna 1.0        No serial # found                     Decommissioned   101410          Decommissioned                                                                             1/1/2018
coincloud21     Lynna 1.0       BTM201710110012                        Decommissioned   101411          Decommissioned                                                                             1/1/2018
coincloud22     Lynna 1.0             143205          Las Vegas, NV    Decommissioned   114731          Decommissioned                                                                             1/1/2018
coincloud24     Lynna 1.0       BTM201710110006                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud25     Lynna 1.0       BTM201710110019                        Decommissioned   101418          Decommissioned                                                                             1/1/2018
coincloud26     Lynna 1.0       BTM201710110015                        Decommissioned   101419          Decommissioned                                                                             1/1/2018
coincloud30     Lynna 1.0       BTM201712150035                        Decommissioned   104245          Decommissioned                                                                             1/1/2018
coincloud31     Lynna 1.0       BTM201712150024                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud32     Lynna 1.0       BTM201712150033                        Decommissioned   101425          Decommissioned                                                                             1/1/2018
coincloud33     Lynna 1.0       BTM201712150023                        Decommissioned   101426          Decommissioned                                                                             1/1/2018
coincloud34     Lynna 1.0       BTM201710110010                        Decommissioned   103589          Decommissioned                                                                             1/1/2018
coincloud35     Lynna 1.0       BTM201710110014                        Decommissioned   103789          Decommissioned                                                                             1/1/2018
coincloud36     Lynna 1.0       BTM201710110020                        Decommissioned   103706          Decommissioned                                                                             1/1/2018
coincloud37     Lynna 1.0       BTM201710110017                        Decommissioned   104151          Decommissioned                                                                             1/1/2018
coincloud38     Lynna 1.0       BTM201710110011                        Decommissioned   101567          Decommissioned                                                                             1/1/2018
coincloud40     Lynna 1.0       BTM201710110009                        Decommissioned   104226          Decommissioned                                                                             1/1/2018
coincloud43     Lynna 1.0       BTM201712150042                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud44     Lynna 1.0       BTM201712150026                        Decommissioned   103726          Decommissioned                                                                             1/1/2018
coincloud46     Lynna 1.0       BTM201712150038                        Decommissioned   104192          Decommissioned                                                                             1/1/2018
coincloud47     Lynna 1.0       BTM201712150025                        Decommissioned   103017          Decommissioned                                                                             1/1/2018
coincloud48     Lynna 1.0       BTM201712150030                        Decommissioned   103481          Decommissioned                                                                             1/1/2018
coincloud49     Lynna 1.0       BTM201710110004                        Decommissioned   103743          Decommissioned                                                                             1/1/2018
coincloud50     Lynna 1.0       BTM201712150041                        Decommissioned   104155          Decommissioned                                                                             1/1/2018
coincloud51     Lynna 1.0       BTM201712150031                        Decommissioned   103482          Decommissioned                                                                             1/1/2018
coincloud53     Lynna 1.0       BTM201712150037                        Decommissioned   101446          Decommissioned                                                                             1/1/2018
coincloud54     Lynna 1.0                                              Decommissioned                   Decommissioned                                                                             1/1/2018
coincloud56     Lynna 1.0       BTM201712150040                        Decommissioned   104166          Decommissioned                                                                             1/1/2018
coincloud57     Lynna 1.0       BTM201801220077                        Decommissioned   103271          Decommissioned                                                                             1/1/2018
coincloud58     Lynna 1.0       BTM201801220073                        Decommissioned   103691          Decommissioned                                                                             1/1/2018
coincloud59     Lynna 1.0        No serial # found                     Decommissioned   101452          Decommissioned                                                                             1/1/2018
coincloud63     Lynna 1.0       BTM201801220092                        Decommissioned   101456          Decommissioned                                                                             1/1/2018
coincloud64     Lynna 1.0       BTM201801220064                        Decommissioned   103031          Decommissioned                                                                             1/1/2018
coincloud65     Lynna 1.0            144000               N/a          Decommissioned   117862          Decommissioned                                                                             1/1/2018
coincloud67     Lynna 1.0       BTM201801220053                        Decommissioned   101460          Decommissioned                                                                             1/1/2018
coincloud68     Lynna 1.0       BTM201801220063                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud69     Lynna 1.0       BTM201801220058                        Decommissioned   103032          Decommissioned                                                                             1/1/2018
coincloud70     Lynna 1.0        No serial # found                     Decommissioned   104227          Decommissioned                                                                             1/1/2018
coincloud71     Lynna 1.0       BTM201801220056                        Decommissioned   101481          Decommissioned                                                                             1/1/2018
coincloud72     Bitaccess       BTM201801220061                        Decommissioned   104392          Decommissioned                                                                           12/12/2014
coincloud73     Bitaccess       BTM201801220066                        Decommissioned   103570          Decommissioned                                                                           12/12/2014
coincloud74     Bitaccess       BTM201801220072                        Decommissioned   101467          Decommissioned                                                                           12/12/2014
coincloud75     Bitaccess       BTM201801220054                        Decommissioned   101468          Decommissioned                                                                           12/12/2014
coincloud76     Bitaccess       BTM201801220079                        Decommissioned   101469          Decommissioned                                                                           12/12/2014
coincloud77     Bitaccess       BTM201801220062                        Decommissioned   103020          Decommissioned                                                                           12/12/2014
coincloud79     Bitaccess       BTM201801220074                        Decommissioned   101472          Decommissioned                                                                           12/12/2014
coincloud81     Bitaccess       BTM201801220085                        Decommissioned   101474          Decommissioned                                                                           12/12/2014
coincloud82     Bitaccess       BTM201801220091                        Decommissioned   101475          Decommissioned                                                                           12/12/2014
coincloud83     Bitaccess       BTM201801310097       Las Vegas, NV    Decommissioned   103028          Decommissioned                                                                           12/12/2014
coincloud84     Bitaccess       BTM201801220067                        Decommissioned   101477          Decommissioned                                                                           12/12/2014
coincloud85     Lynna 1.0       BTM201801220065                        Decommissioned   101478          Decommissioned                                                                             1/1/2018
coincloud87     Bitaccess       BTM201801220082                        Decommissioned   103676          Decommissioned                                                                           12/12/2014
coincloud88     Lynna 1.0       BTM201801220083                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud89     Lynna 1.0       BTM201801220089                        Decommissioned   104208          Decommissioned                                                                             1/1/2018
coincloud91     Lynna 1.0       BTM201801220080                        Decommissioned   104188          Decommissioned                                                                             1/1/2018
coincloud92     Lynna 1.0       BTM201801310093                        Decommissioned   104191          Decommissioned                                                                             1/1/2018
coincloud93     Lynna 1.0       BTM201801310098                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud94     Lynna 1.0       BTM201801220081                        Decommissioned   104371          Decommissioned                                                                             1/1/2018
coincloud95     Lynna 1.0       BTM201801310096                        Decommissioned   104201          Decommissioned                                                                             1/1/2018
coincloud96     Lynna 1.0       BTM201801220069                        Decommissioned   103705          Decommissioned                                                                             1/1/2018
coincloud97     Lynna 1.0            145115                            Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud98     Lynna 1.0       BTM201801220088                        Decommissioned   101491          Decommissioned                                                                             1/1/2018
coincloud99     Lynna 1.0       BTM201801220090                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud100    Lynna 1.0       BTM201801220084                        Decommissioned   101493          Decommissioned                                                                             1/1/2018
coincloud102    Lynna 1.0       BTM201801220087                        Decommissioned   103234          Decommissioned                                                                             1/1/2018
coincloud103    Lynna 1.0       BTM201801310110                        Decommissioned   101496          Decommissioned                                                                             1/1/2018
coincloud105    Lynna 1.0       BTM201801220068                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud107    Lynna 1.0       BTM201801310105                        Decommissioned   101500          Decommissioned                                                                             1/1/2018
coincloud109    Lynna 1.0       BMT201801310115                        Decommissioned   101502          Decommissioned                                                                             1/1/2018
coincloud111    Lynna 1.0       BTM201801310118                        Decommissioned   101504          Decommissioned                                                                             1/1/2018
coincloud113    Bitaccess       BTM201801310109                        Decommissioned   101506          Decommissioned                                                                           12/12/2014
coincloud115    Lynna 1.0       BTM201801310104                        Decommissioned   101421          Decommissioned                                                                             1/1/2018
coincloud116    Lynna 1.0       BTM201801310106                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud118    Lynna 1.0       BTM201801310112                        Decommissioned   104186          Decommissioned                                                                             1/1/2018
coincloud119    Lynna 1.0            148716                            Decommissioned   130354          Decommissioned                                                                             1/1/2018
coincloud121    Lynna 1.0       BTM201801310122                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud122    Lynna 1.0       BTM201801310099                        Decommissioned   104362          Decommissioned                                                                             1/1/2018
coincloud123    Lynna 1.0       BTM201801310108                        Decommissioned   101516          Decommissioned                                                                             1/1/2018
coincloud125    Lynna 1.0       BTM201801310117                        Decommissioned   101518          Decommissioned                                                                             1/1/2018
coincloud126    Lynna 1.0       BTM201801310101                        Decommissioned   101519          Decommissioned                                                                             1/1/2018
coincloud127    Lynna 1.0       BTM201801310107                        Decommissioned   103693          Decommissioned                                                                             1/1/2018
coincloud128    Lynna 1.0       BTM201801310125                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud129    Lynna 1.0       BTM201801310127                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud130    Lynna 1.0       BTM201801310128                        Decommissioned   101523          Decommissioned                                                                             1/1/2018
coincloud132    Lynna 1.0            148701                            Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud133    Lynna 1.0       BTM201801310130                        Decommissioned   104049          Decommissioned                                                                             1/1/2018
coincloud135    Lynna 1.0        No serial # found                     Decommissioned   101528          Decommissioned                                                                             1/1/2018
coincloud136    Lynna 1.0       BTM201803110146                        Decommissioned   101529          Decommissioned                                                                             1/1/2018
coincloud137    Lynna 1.0       BTM201803110153                        Decommissioned   101530          Decommissioned                                                                             1/1/2018
coincloud138    Lynna 1.0       BTM201803110156                        Decommissioned   101400          Decommissioned                                                                             1/1/2018
coincloud141    Lynna 1.0       BTM201803110161                        Decommissioned   103574          Decommissioned                                                                             1/1/2018
coincloud143    Lynna 1.0            149461                            Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud144    Lynna 1.0        No serial # found                     Decommissioned   101537          Decommissioned                                                                             1/1/2018
coincloud145    Lynna 1.0        No serial # found                     Decommissioned   101538          Decommissioned                                                                             1/1/2018
coincloud146    Lynna 1.0        No serial # found                     Decommissioned   101539          Decommissioned                                                                             1/1/2018
coincloud147    Lynna 1.0        No serial # found                     Decommissioned   101540          Decommissioned                                                                             1/1/2018
coincloud148    Lynna 1.0        No serial # found                     Decommissioned                   Decommissioned                                                                             1/1/2018
coincloud151    Lynna 1.0        No serial # found                     Decommissioned   101544          Decommissioned                                                                             1/1/2018
coincloud153    Lynna 1.0        No serial # found                     Decommissioned   101546          Decommissioned                                                                             1/1/2018
coincloud154    Lynna 1.0         BTM000004309                         Decommissioned   104156          Decommissioned                                                                             1/1/2018
coincloud155    Lynna 1.0       BTM201803110134                        Decommissioned   104139          Decommissioned                                                                             1/1/2018
coincloud156    Lynna 1.0       BTM201803110137                        Decommissioned                   Decommissioned                                                                            1/1/2018
coincloud158    Lynna 1.0       BTM201803110144                        Decommissioned   101551          Decommissioned                                                                             1/1/2018
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coincloud159   Lynna 1.0   BTM201803110147            Decommissioned   101552          Decommissioned                             1/1/2018
coincloud160   Lynna 1.0   BTM201803110136            Decommissioned   103528          Decommissioned                             1/1/2018
coincloud161   Lynna 1.0   BTM201803110152            Decommissioned   101554          Decommissioned                             1/1/2018
coincloud162   Lynna 1.0    BTM000004330              Decommissioned                   Decommissioned                             1/1/2018
coincloud163   Lynna 1.0   BTM201803110135            Decommissioned   103477          Decommissioned                             1/1/2018
coincloud164   Lynna 1.0   BTM201803110166            Decommissioned   104147          Decommissioned                             1/1/2018
coincloud165   Lynna 1.0   BTM201803110157            Decommissioned   103582          Decommissioned                             1/1/2018
coincloud166   Lynna 1.0        146464                Decommissioned                   Decommissioned                             1/1/2018
coincloud167   Lynna 1.0   BTM201803110170            Decommissioned   103575          Decommissioned                             1/1/2018
coincloud168   Lynna 1.0   BTM201803110133            Decommissioned   103475          Decommissioned                             1/1/2018
coincloud169   Lynna 1.0   BTM201803110164            Decommissioned   103629          Decommissioned                             1/1/2018
coincloud173   Lynna 1.0        149584                Decommissioned   121412          Decommissioned                             1/1/2018
coincloud174   Lynna 1.0   BTM201803110167            Decommissioned   101567          Decommissioned                             1/1/2018
coincloud175   Lynna 1.0   BTM201803110140            Decommissioned   103531          Decommissioned                             1/1/2018
coincloud176   Lynna 1.0   BTM201803110171            Decommissioned   104190          Decommissioned                             1/1/2018
coincloud177   Lynna 1.0   BTM201803110172            Decommissioned   103596          Decommissioned                             1/1/2018
coincloud178   Lynna 1.0   BTM201803110163            Decommissioned   103592          Decommissioned                             1/1/2018
coincloud181   Lynna 1.0   BTM201801220057            Decommissioned   101574          Decommissioned                             1/1/2018
coincloud183   Lynna 1.0    BTM000004311              Decommissioned   101393          Decommissioned                             1/1/2018
coincloud184   Lynna 1.0    No serial # found         Decommissioned   103752          Decommissioned                             1/1/2018
coincloud188   Slabb 1.0     0410-004-0019            Decommissioned   101613          Decommissioned                            12/18/2018
coincloud189   Slabb 1.0       24231376               Decommissioned   103632          Decommissioned                            12/18/2018
coincloud191   Slabb 1.0     0410-004-0020            Decommissioned                   Decommissioned                            12/18/2018
coincloud193   Slabb 1.0     0310-003-1088            Decommissioned   103080          Decommissioned                            12/18/2018
coincloud194   Slabb 1.0     0310-003-1085            Decommissioned   103081          Decommissioned                            12/18/2018
coincloud195   Slabb 1.0     0310-003-1087            Decommissioned   103044          Decommissioned                            12/18/2018
coincloud196   Slabb 1.0    No serial # found         Decommissioned   103046          Decommissioned                            12/18/2018
coincloud197   Slabb 1.0        146467                Decommissioned                   Decommissioned                            12/18/2018
coincloud198   Slabb 1.0     0310-003-1086            Decommissioned   101510          Decommissioned                            12/18/2018
coincloud199   Slabb 1.0     0310-003-1078            Decommissioned                   Decommissioned                            12/18/2018
coincloud200   Slabb 1.0     0310-003-1082            Decommissioned   104240          Decommissioned                            12/18/2018
coincloud204   Slabb 1.0    No serial # found         Decommissioned   103103          Decommissioned                            12/18/2018
coincloud205   Slabb 1.0     0310-003-1080            Decommissioned                   Decommissioned                            12/18/2018
coincloud207   Slabb 1.0     0310-003-1079            Decommissioned   103088          Decommissioned                            12/18/2018
coincloud208   Slabb 1.0     0310-003-1081            Decommissioned   101602          Decommissioned                            12/18/2018
coincloud210   Slabb 1.0     0310-003-1093            Decommissioned   103096          Decommissioned                            12/18/2018
coincloud211   Slabb 1.0     0310-003-1096            Decommissioned   103097          Decommissioned                            12/18/2018
coincloud212   Slabb 1.0     0310-003-1096            Decommissioned   103094          Decommissioned                            12/18/2018
coincloud214   Slabb 1.0     0310-003-1094            Decommissioned   103298          Decommissioned                            12/18/2018
coincloud215   Slabb 1.0     0310-003-1092            Decommissioned   104235          Decommissioned                            12/18/2018
coincloud216   Slabb 1.0     0310-003-1091            Decommissioned   103092          Decommissioned                            12/18/2018
coincloud217   Slabb 1.0     0310-003-1097            Decommissioned   103091          Decommissioned                            12/18/2018
coincloud219   Slabb 1.0     0310-003-1265            Decommissioned   101593          Decommissioned                            12/18/2018
coincloud220   Slabb 1.0     0310-003-1264            Decommissioned   101594          Decommissioned                            12/18/2018
coincloud222   Slabb 1.0     0310-003-1262            Decommissioned   103322          Decommissioned                            12/18/2018
coincloud223   Slabb 1.0     0310-003-1261            Decommissioned   103204          Decommissioned                            12/18/2018
coincloud224   Slabb 1.0     0310-003-1260            Decommissioned   103201          Decommissioned                            12/18/2018
coincloud226   Slabb 1.0     0310-003-1258            Decommissioned   103210          Decommissioned                            12/18/2018
coincloud227   Slabb 1.0     0310-003-1257            Decommissioned   103211          Decommissioned                            12/18/2018
coincloud231   Slabb 1.0     0310-003-1253            Decommissioned   104217          Decommissioned                            12/18/2018
coincloud232   Slabb 1.0     0310-003-1252            Decommissioned   103316          Decommissioned                            12/18/2018
coincloud233   Slabb 1.0     0310-003-1251            Decommissioned   103314          Decommissioned                            12/18/2018
coincloud235   Slabb 1.0     0310-003-1249            Decommissioned   103315          Decommissioned                            12/18/2018
coincloud237   Slabb 1.0     0310-003-1242            Decommissioned   104039          Decommissioned                            12/18/2018
coincloud238   Slabb 1.0     0310-003-1243            Decommissioned   104202          Decommissioned                            12/18/2018
coincloud239   Slabb 1.0     0310-003-1244            Decommissioned   103229          Decommissioned                            12/18/2018
coincloud245   Slabb 1.0     0310-003-1315            Decommissioned   103275          Decommissioned                            12/18/2018
coincloud246   Slabb 1.0     0310-003-1313            Decommissioned   103382          Decommissioned                            12/18/2018
coincloud247   Slabb 1.0     0310-003-1311            Decommissioned   103379          Decommissioned                            12/18/2018
coincloud248   Slabb 1.0     0310-003-1306            Decommissioned   103381          Decommissioned                            12/18/2018
coincloud249   Slabb 1.0     0310-003-1299            Decommissioned   103380          Decommissioned                            12/18/2018
coincloud250   Slabb 1.0     0310-003-1298            Decommissioned   103597          Decommissioned                            12/18/2018
coincloud252   Slabb 1.0     0310-003-1316            Decommissioned   103047          Decommissioned                            12/18/2018
coincloud253   Slabb 1.0     0310-003-1314            Decommissioned   103049          Decommissioned                            12/18/2018
coincloud254   Slabb 1.0     0310-003-1312            Decommissioned   103050          Decommissioned                            12/18/2018
coincloud255   Slabb 1.0     0310-003-1310            Decommissioned   108604          Decommissioned                            12/18/2018
coincloud256   Slabb 1.0     0310-003-1295            Decommissioned   103061          Decommissioned                            12/18/2018
coincloud258   Slabb 1.0     0310-003-1302            Decommissioned   103059          Decommissioned                            12/18/2018
coincloud259   Slabb 1.0     0310-003-1301            Decommissioned   103069          Decommissioned                            12/18/2018
coincloud260   Slabb 1.0     0310-003-1300            Decommissioned   103711          Decommissioned                            12/18/2018
coincloud265   Slabb 1.0     0310-003-1317            Decommissioned   103389          Decommissioned                            12/18/2018
coincloud266   Slabb 1.0     0310-003-1319            Decommissioned   103115          Decommissioned                            12/18/2018
coincloud267   Slabb 1.0     0310-003-1305            Decommissioned   103150          Decommissioned                            12/18/2018
coincloud269   Slabb 1.0     0310-003-1304            Decommissioned   103733          Decommissioned                            12/18/2018
coincloud273   Slabb 1.0     0310-003-1345            Decommissioned   101624          Decommissioned                            12/18/2018
coincloud274   Slabb 1.0     0310-003-1344            Decommissioned   101580          Decommissioned                            12/18/2018
coincloud275   Slabb 1.0     0310-003-1343            Decommissioned   101442          Decommissioned                            12/18/2018
coincloud278   Slabb 1.0     0310-003-1336            Decommissioned   101556          Decommissioned                            12/18/2018
coincloud279   Slabb 1.0     0310-003-1337            Decommissioned   103515          Decommissioned                            12/18/2018
coincloud280   Slabb 1.0     0310-003-1338            Decommissioned   103101          Decommissioned                            12/18/2018
coincloud281   Slabb 1.0     0310-003-1339            Decommissioned   103648          Decommissioned                            12/18/2018
coincloud286   Slabb 1.0     0310-003-1351            Decommissioned   104285          Decommissioned                            12/18/2018
coincloud288   Slabb 1.0     0310-003-1353            Decommissioned   103171          Decommissioned                            12/18/2018
coincloud289   Slabb 1.0     0310-003-1354            Decommissioned   103168          Decommissioned                            12/18/2018
coincloud290   Slabb 1.0     0310-003-1359            Decommissioned   103125          Decommissioned                            12/18/2018
coincloud291   Slabb 1.0     0310-003-1358            Decommissioned   103133          Decommissioned                            12/18/2018
coincloud295   Slabb 1.0     0310-003-1377            Decommissioned   103216          Decommissioned                            12/18/2018
coincloud297   Slabb 1.0     0310-003-1379            Decommissioned   103193          Decommissioned                            12/18/2018
coincloud298   Slabb 1.0     0310-003-1380            Decommissioned   103269          Decommissioned                            12/18/2018
coincloud299   Slabb 1.0     0310-003-1381            Decommissioned   103270          Decommissioned                            12/18/2018
coincloud300   Slabb 1.0     0310-003-1382            Decommissioned                   Decommissioned                            12/18/2018
coincloud301   Slabb 1.0     0310-003-1383            Decommissioned   103501          Decommissioned                            12/18/2018
coincloud302   Slabb 1.0     0310-003-1384            Decommissioned   103500          Decommissioned                            12/18/2018
coincloud303   Slabb 1.0     0310-003-1367            Decommissioned   101590          Decommissioned                            12/18/2018
coincloud307   Slabb 1.0     0310-003-1361            Decommissioned   103140          Decommissioned                            12/18/2018
coincloud308   Slabb 1.0     0310-003-1370            Decommissioned   103136          Decommissioned                            12/18/2018
coincloud309   Slabb 1.0     0310-003-1371            Decommissioned   103143          Decommissioned                            12/18/2018
coincloud310   Slabb 1.0     0310-003-1372            Decommissioned   103139          Decommissioned                            12/18/2018
coincloud311   Slabb 1.0     0310-003-1373            Decommissioned   103175          Decommissioned                            12/18/2018
coincloud312   Slabb 1.0     0310-003-1374            Decommissioned   103177          Decommissioned                            12/18/2018
coincloud314   Slabb 1.0     0310-003-1364            Decommissioned   103178          Decommissioned                            12/18/2018
coincloud315   Slabb 1.0     0310-003-1362            Decommissioned   103179          Decommissioned                            12/18/2018
coincloud316   Slabb 1.0     0310-003-1363            Decommissioned   103166          Decommissioned                            12/18/2018
coincloud318   Slabb 1.0     0310-003-1376            Decommissioned   103144          Decommissioned                            12/18/2018
coincloud331   Slabb 1.0        GB Unit               Decommissioned   103557          Decommissioned                            12/18/2018
coincloud209   Slabb 1.0     0310-003-1073            Decommissioned   103075          Decommissioned                            12/18/2018
coincloud270   Slabb 1.0     0310-003-1348            Decommissioned   101435   101435 Decommissioned                            12/18/2018
coincloud304   Slabb 1.0     0310-003-1368            Decommissioned   103218   103218 Decommissioned                            12/18/2018
coincloud317   Slabb 1.0     0310-003-1375            Decommissioned   103145   103145 Decommissioned                            12/18/2018
coincloud352   APSM 1.1        5.41E+14               Decommissioned   103306   103306 Decommissioned                             9/19/2019
coincloud407   APSM 1.1        5.42E+14               Decommissioned   103349          Decommissioned                             9/19/2019
coincloud330   Slabb 1.0        GB Unit               Decommissioned   103567   103567 Decommissioned                            12/18/2018
coincloud367   APSM 1.1        5.41E+14               Decommissioned   103368   103368 Decommissioned                             9/19/2019
coincloud372   APSM 1.1        5.41E+14               Decommissioned   103063          Decommissioned                             9/19/2019
coincloud427   APSM 1.1        5.42E+14               Decommissioned   103753   103753 Decommissioned                             9/19/2019
coincloud482   APSM 1.1        5.42E+14               Decommissioned   103462          Decommissioned                             9/19/2019
coincloud493   APSM 1.1        5.42E+14               Decommissioned                   Decommissioned                             9/19/2019
coincloud544   APSM 1.1        5.42E+14               Decommissioned   103926          Decommissioned                             9/19/2019
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coincloud552    APSM 1.1             5.42E+14                                                      Decommissioned   103378          Decommissioned                                                                                                                      9/19/2019
coincloud39     Lynna 1.0       BTM201710110009                                                        Stolen       101432          Loss Event                                                                                                                           1/1/2018
coincloud139    Lynna 1.0       BTM201803110149                                                        Stolen       101532          Loss Event                                                                                                                           1/1/2018
coincloud149    Lynna 1.0        No serial # found                                                     Stolen       101542          Loss Event                                                                                                                           1/1/2018
coincloud186    Lynna 1.0       BTM201803110141                                                        Stolen       103021          Loss Event                                                                                                                           1/1/2018
coincloud236    Slabb 1.0         0130-003-1248                                                        Stolen       103319          Loss Event                                                                                                                         12/18/2018
coincloud504    APSM 1.1         No serial # found                                                     Stolen       101569          Loss Event                                                                                                                          9/19/2019
coincloud582    APSM 1.1             5.42E+14                                                          Stolen       104280          Loss Event                                                                                                                          9/19/2019
coincloud631    APSM 1.1             5.42E+14                                                        Warehouse      103918          Lanza Trucking                         116 Magnolia Ave (Enter on Garden St, 1 block East)   Westbury         NY           11590    9/19/2019
coincloud3141   ColeKepro 3.0         145806                                       Sloan, NV         Warehouse                      Sloan                                  Sloan                                                 Sloan            Sloan   Sloan         10/2/2020
coincloud257    Slabb 1.0         0310-003-1296                                 Las Vegas, NV        Warehouse      113838          CCHQ                                                                                                                               12/18/2018
coincloud332    Slabb 1.0        No serial # found                              Las Vegas, NV        Warehouse      101389   101389 CCHQ                                                                                                                               12/18/2018
coincloud417    APSM 1.1         No serial # found                              Las Vegas, NV        Warehouse      103138          CCHQ                                                                                                                                9/19/2019
coincloud505    APSM 1.1         No serial # found                  S46651      Las Vegas, NV        Warehouse      108253          CCHQ                                                                                                                                9/19/2019
coincloud723    ColeKepro 1.0    No serial # found                                                   Warehouse      104353          CCHQ                                                                                                                                 5/7/2020
coincloud808    ColeKepro 1.0      142076.USA                                                        Warehouse      101451   101451 CCHQ                                                                                                                                 5/7/2020
coincloud431    APSM 1.1             5.42E+14                                                        Warehouse      103037          CCHQ                                                                                                                                9/19/2019
coincloud496    APSM 1.1              148492                                                         Warehouse                      CCHQ                                                                                                                                9/19/2019
coincloud90     Lynna 1.0       BTM201801310094                                                      Warehouse      104221   104221                                                                                                                                      1/1/2018
coincloud305    Slabb 1.0         0310-003-1369                                                      Warehouse      103219   103219 Secure Technicians Inc                 1501 S Blount St                                      Raleigh          NC          27603    12/18/2018
coincloud403    APSM 1.1         No serial # found                                                   Warehouse      103287          Armstrong Relocation                   1074 E. Main Street                                   Mt. Joy          PA          17552     9/19/2019
coincloud429    APSM 1.1           5.41535E+14                                                       Warehouse      101620          Decommissioned                                                                                                                      9/19/2019
coincloud434    APSM 1.1           5.41537E+14                                                       Warehouse      104170   104170 Ready Office Furniture                 1515 N Kraemer Blvd, Unit H                           Anaheim          CA          92806     9/19/2019
coincloud458    APSM 1.1           5.41537E+14                                                       Warehouse      104176   104176 CCHQ                                   10190 Covington Cross Dr.                             Las Vegas        NV          89144     9/19/2019
coincloud499    APSM 1.1           5.41537E+14                                                       Warehouse      101557                                                                                                                                              9/19/2019
coincloud506    APSM 1.1         No serial # found                                                   Warehouse      101577                                                                                                                                              9/19/2019
coincloud547    APSM 1.1           5.41539E+14                                                       Warehouse      103857           CCHQ                                  10190 Covington Cross Dr.                             Las Vegas        NV          89144     9/19/2019
coincloud548    APSM 1.1           5.41539E+14                                                       Warehouse      103855                                                                                                                                              9/19/2019
coincloud564    APSM 1.1           5.41539E+14                                                       Warehouse      103647                                                                                                                                              9/19/2019
coincloud700    APSM 1.1           5.42018E+14                                                       Warehouse      126949                                                                                                                                              9/19/2019
coincloud1013   ColeKepro 2.0         143048       143048.USA                                          Active       108429   108429 Valero                                 1513 Main St                                          Southaven        MS          38671     8/28/2020
coincloud4989   ColeKepro 5.0         145064       145064.USA                                          Active       101393   101393 Deja Vu Love Boutique                  3247 Sammy Davis Jr Dr #Suite A                       Las Vegas        NV          89109     8/7/2021
coincloud4414   ColeKepro 5.0         147948       147948.USA                     Revere, MA         Warehouse      138207                                                                                                                                              8/7/2021
coincloud4417   ColeKepro 5.0         147951       147951.USA                     Revere, MA           Active       135572   135572 Country Farms Market                   1284 Main St                                          Washburn         ME           4786      8/7/2021
coincloud4468   ColeKepro 5.0         148002       148002.USA                     Revere, MA           Active       122140   122140 Screen Doctor                          615 Central Ave                                       Pawtucket        RI           2861      8/7/2021
coincloud4522   ColeKepro 5.0         148056       148056.USA                    Nashville, TN       Warehouse      136707          CCHQ                                                                                                                                8/7/2021
coincloud4539   ColeKepro 5.0         148073       148073.USA                    Nashville, TN       Warehouse      126361          CCHQ                                                                                                                                8/7/2021
coincloud4555   ColeKepro 5.0         148087       148087.USA                    Nashville, TN       Warehouse      126959          Allstar Moving                         1600 1st Street NW                                    Albuquerque      NM          87102     8/7/2021
coincloud4835   ColeKepro 5.0         148366       148366.USA                Elk Grove Village, IL     Active       140000   140000 Save A Lot                             719 Park Ave W                                        Greenwood        MS          38930     8/7/2021
coincloud5129   ColeKepro 5.0         148660       148660.USA                 Riviera Beach, FL        Active       126833   126833 Food Depot                             4100 Redan Rd                                         Stone Mountain   GA          30083     8/7/2021
coincloud5326   ColeKepro 5.0         148857       148857.USA                 Albuquerque, NM        Warehouse      136870          Allstar Moving                         1600 1st Street NW                                    Albuquerque      NM          87102      8/7/2021
coincloud651    APSM 1.1           5.42016E+14 42016000000019.USA                                      Active       103418   103418 Citgo                                  1644 S Military Hwy                                   Chesapeake       VA          23320     9/19/2019
coincloud4557   ColeKepro 5.0         148089                                     Nashville, TN         Active       137112   137112 Ohmies Vape and Glass Emporium #4      809 US-62                                             Harrison         AR          72601      8/7/2021
coincloud4532   ColeKepro 5.0         148066                                     Nashville, TN         Active       130621   130621 Paises Unidos                          1908 S 8th St                                         Rogers           AR          72758      8/7/2021
coincloud4660   ColeKepro 5.0         148191                                   Sacramento, CA          Active       143834   143834 40th Convenience Store                 263 E 40th St                                         San Bernardino   CA          92404      8/7/2021
coincloud1097   ColeKepro 2.0         143132                                                           Active       108474   108474 Vallarta Supermarket                   1803 E. Palmdale Blvd.                                Palmdale         CA          93550     8/28/2020
coincloud5956   ColeKepro 5.0         149487                                     Hayward, CA           Active       121053   121053 ACE Cash Express                       1320 Standiford Ave                                   Modesto          CA          95350     8/7/2021
coincloud5959   ColeKepro 5.0         149490                                     Hayward, CA           Active       120975   120975 ACE Cash Express                       6640 Valley Hi Dr                                     Sacramento       CA          95823      8/7/2021
coincloud946    APSM 1.1           5.42027E+14                                                         Active       108255   108255 Broadway Discount Liquors              4615 S Broadway                                       Englewood        CO          80113     9/19/2019
coincloud959    APSM 1.1           5.42027E+14                                                         Active       108223   108223 Dayton Dollar Plus                     818 Dayton St.                                        Aurora           CO          80010     9/19/2019
coincloud941    APSM 1.1           5.42027E+14                                                         Active       108233   108233 Express Mini Market                    9660 E Alameda Ave #110                               Denver           CO          80247     9/19/2019
coincloud964    APSM 1.1           5.42489E+14                                                         Active       108234   108234 Lowry Mini Mart                        586 Dayton St                                         Aurora           CO          80010     9/19/2019
coincloud2986   ColeKepro 3.0                                                 Riviera Beach, FL        Active       128007   128007 Mobile One                             11918 NW 7th Ave                                      North Miami      FL          33168     10/2/2020
coincloud2240   ColeKepro 3.0         144288                                                           Active       134738   134738 Total Wireless                         12455 S Orange Blossom Trl                            Orlando          FL          32837     10/2/2020
coincloud838    ColeKepro 1.0         142055                                                           Active       108061   108061 M & G Tobacco Shop                     22 Canal Rd                                           Brunswick        GA          31525     5/7/2020
coincloud4016   ColeKepro 3.0         147550                                       Victor, IA          Active       145529   145529 Brothers Market                        706 IA-57                                             Parkersburg      IA          50665     10/2/2020
coincloud4006   ColeKepro 3.0         147540                                                           Active       124594   124594 Yesway                                 1905 SE 37th St                                       Grimes           IA          50111     10/2/2020
coincloud4669   ColeKepro 5.0         148200                                   Sacramento, CA          Active       142737   142737 Juliaetta Market                       1051 Main St                                          Juliaetta        ID          83535     8/7/2021
coincloud3269   ColeKepro 3.0         145679                                                           Active       124598   124598 Yesway                                 1905 E 4th Ave                                        Hutchinson       KS          67501     10/2/2020
coincloud1005   ColeKepro 1.0         143040                                                           Active       108464   108464 Beer & wine shop First United market   271 Brookline St                                      Cambridge        MA           2139      5/7/2020
coincloud4421   ColeKepro 5.0         147955                                      Revere, MA           Active       137705   137705 Green Valley Marketplace               1238 Bay Dale Dr                                      Arnold           MD          21012      8/7/2021
coincloud665    APSM 1.1          5.42016E+14                                                          Active       104427   104427 Fast Stop                              5020 Blue Ridge Cutoff                                Kansas City      MO          64133     9/19/2019
coincloud376    APSM 1.1          5.41325E+14                                                          Active       103703   103703 Cape Fear Beverage & Variety           400 W Old Rd                                          Lillington       NC          27546     9/19/2019
coincloud1263   ColeKepro 3.0         143298                                                           Active       108563   108563 S & S Food Mart                        717 E Guilford St                                     Thomasville      NC          27360     10/2/2020
coincloud3337   ColeKepro 3.0         145941                                                           Active       125179   125179 7-Eleven                               740 W Ingomar Rd                                      Pittsburgh       PA          15237     10/2/2020
coincloud4805   ColeKepro 5.0         148336                                    Westbury, NY           Active       122573   122573 Washing Well Laundromat                906 Main St                                           Pawtucket        RI           2860      8/7/2021
coincloud3632   ColeKepro 3.0    No serial # found                                                     Active       124965   124965 HB Mart                                1625 Leesburg Rd                                      Columbia         SC          29209     10/2/2020
coincloud3600   ColeKepro 3.0         146182                                                           Active       124368   124368 Yesway                                 202 Bennett Ave                                       Martin           SD          57551     10/2/2020
coincloud1223   ColeKepro 3.0         143258                                                           Active       108340   108340 Coin Laundry Wash                      1407 N Lamesa Rd                                      Midland          TX          79701     10/2/2020
coincloud1001   ColeKepro 1.0         143036                                                           Active       108414   108414 Elm's Liquor                           500 W Eldorado Pkwy ##200                             Little Elm       TX          75068      5/7/2020
coincloud2537   ColeKepro 3.0         145098                                                           Active       103133   103133 K H Food Mart                          1613 NW 21st St                                       Fort Worth       TX          76164     10/2/2020
coincloud928    APSM 1.1          5.42027E+14                                                          Active       108103   108103 Minute Mart                            3626 Saturn Rd                                        Garland          TX          75041     9/19/2019
coincloud989    ColeKepro 1.0         143024                                                           Active       108189   108189 Outback Market                         210 W McCart St                                       Krum             TX          76249     5/7/2020
coincloud5190   ColeKepro 5.0         148721                                     LUBBOCK, TX           Active       145841   145841 Super Mercado                          2208 N Big Spring St                                  Midland          TX          79705     8/7/2021
coincloud2755   ColeKepro 3.0      145307.USA                                                          Active       103525   103525 Gamer Planet                           67 W 10600 S                                          Sandy            UT          84070     10/2/2020
coincloud3322   ColeKepro 3.0         145960                                                           Active       119503   119503 7-Eleven                               419 Virginia Ave                                      Petersburg       WV          26847     10/2/2020
coincloud5696   ColeKepro 5.0         149227                                         Other         Decommissioned   101421          Decommissioned                                                                                                                       8/7/2021
coincloud962    APSM 1.1             5.42E+14                                                        Warehouse      108212          Great Plains / RSI                     22700 E I-76 Frontage Rd, Suite 100                   Brighton         CO          80603     9/19/2019
coincloud3638   ColeKepro 3.0         146257                                                         Warehouse      125740          Central M&S / Lanza Trucking           2002 Directors Row                                    Orlando          FL          32809     10/2/2020
coincloud4127   ColeKepro 3.0         147661                                                         Warehouse      124029          Allstar Moving                         1600 1st Street NW                                    Albuquerque      NM          87102     10/2/2020
coincloud2440   ColeKepro 3.0         144460                                                         Warehouse      124352          CCHQ (In Transit)                      10190 Covington Cross Dr.                             Las Vegas        NV          89144     10/2/2020
coincloud2266   ColeKepro 3.0         144384                                                         Warehouse      124443          Buck's Moving and Storage              2011 Avenue C                                         Lubbock          TX          79404     10/2/2020
coincloud1804   ColeKepro 3.0         145682                                                         Warehouse                      HL Distribution                        1065 Texan Trail Rd                                   Grapevine        TX          76051     10/2/2020
coincloud1970   ColeKepro 3.0         144005                                                         Warehouse      120198          HL Distribution                        1065 Texan Trail Rd                                   Grapevine        TX          76051     10/2/2020
coincloud861    ColeKepro 1.0         142179                                    Las Vegas, NV        Warehouse      103086          CCHQ                                                                                                                                 5/7/2020
coincloud2672   ColeKepro 3.0    No serial # found                              Las Vegas, NV        Warehouse      115383          CCHQ                                                                                                                                10/2/2020
coincloud5415   ColeKepro 5.0         148946                                    MAGNOLIA,TX          Warehouse      130547                                                                                                                                               8/7/2021
coincloud4521   ColeKepro 5.0         148055                                     Nashville, TN       Warehouse      137629                                                                                                                                               8/7/2021
coincloud4582   ColeKepro 5.0         148114                                   New Orleans, LA       Warehouse      120432   120432 CCHQ                                                                                                                                8/7/2021
coincloud4658   ColeKepro 5.0         148189                                   Sacramento,CA         Warehouse      121825          CCHQ                                                                                                                                 8/7/2021
coincloud996    ColeKepro 1.0         143031                                                         Warehouse      108300          CCHQ                                                                                                                                 5/7/2020
coincloud1067   ColeKepro 2.0         143102                                                         Warehouse      108375          CCHQ                                                                                                                                8/28/2020
coincloud1412   ColeKepro 3.0         143447                                                         Warehouse      108897          CCHQ                                                                                                                                10/2/2020
coincloud3912   ColeKepro 3.0         146492                                                         Warehouse      126424          CCHQ                                                                                                                                10/2/2020
coincloud1941   ColeKepro 3.0         143976                                                         Warehouse      121043          CCHQ                                                                                                                                10/2/2020
coincloud588    APSM 1.1             5.42E+14                                                        Warehouse      104263          CCHQ                                   10190 Covington Cross Dr.                             Las Vegas        NV          89144     9/19/2019
coincloud608    APSM 1.1          5.42015E+14                                                        Warehouse      108397                                                                                                                                              9/19/2019
coincloud770    ColeKepro 1.0    No serial # found                                                   Warehouse                       Decommissioned                                                                                                                      5/7/2020
coincloud856    ColeKepro 1.0         149582                                                         Warehouse                       Decommissioned                                                                                                                      5/7/2020
coincloud963    APSM 1.1          5.42489E+14                                                        Warehouse      108185                                                                                                                                              9/19/2019
coincloud1536   ColeKepro 3.0         143571                                                         Warehouse      113896          Secure Technicians Inc                 1501 S Blount St                                      Raleigh          NC          27603     10/2/2020
coincloud5202   ColeKepro 5.0         148733                                     LUBBOCK, TX         Warehouse      119735          Diversified Warehouse Inc              241 S Grandview                                       Odessa           TX          79761     8/7/2021
coincloud4759   ColeKepro 5.0         148290                                    Shreveport, LA         Active       145844   145844 Fresh Foods                            1302 Edison St                                        Brush            CO          80723      8/7/2021
coincloud1161   ColeKepro 2.0         143196         143196.USA                                        Active       108190   108190 Quick Mart #1                          7420 Main Street                                      The Colony       TX          75056     8/28/2020
coincloud715    ColeKepro 1.0         142020         142020.USA                                        Active       104405   104405 Zero Max                               469 Bell Rd ## B                                      Nashville        TN          37217      5/7/2020
coincloud3988   ColeKepro 3.0         142068         142068.USA                                        Active       101469   101469 XO Liquor                              3603 N Las Vegas Blvd #Suite 104                      Las Vegas        NV          89115     10/2/2020
coincloud870    ColeKepro 1.0         142069         142069.USA                                        Active       101509   101509 Drive In Liquor Mart                   232 N K St                                            Tulare           CA          93274      5/7/2020
coincloud864    ColeKepro 1.0         142085         142085.USA                                        Active       101529   101529 Fosters Donuts                         758 Tennessee St                                      Redlands         CA          92374     5/7/2020
coincloud785    ColeKepro 1.0         142104         142104.USA                                        Active       108111   108111 Barik Super Store                      13815 Polfer Rd                                       Kansas City      KS          66109      5/7/2020
coincloud3402   ColeKepro 3.0         142161         142161.USA                                        Active       101515   101515 XO Liquor                              2625 E Tropicana Ave                                  Las Vegas        NV          89121     10/2/2020
coincloud872    ColeKepro 1.0         142181         142181.USA                                        Active       104227   104227 Sunburst Food Mart                     1326 E 5600 S                                         Salt Lake City   UT          84121     5/7/2020
coincloud1017   ColeKepro 2.0         143052         143052USA                                         Active       108248   108248 Cenex KCK's                            715 S Main St                                         Olivet           MI          49076     8/28/2020
coincloud1239   ColeKepro 3.0         143274         143274.USA                                        Active       108982   108982 Rapid City Market Place                8174 Rapid City Rd NW                                 Rapid City       MI          49676     10/2/2020
coincloud1353   ColeKepro 3.0         143388         143388.USA                                        Active       108616   108616 J R C's Express                        16550 US-75                                           Bellevue         NE          68123     10/2/2020
coincloud1422   ColeKepro 3.0       220hta423        143457USA                                         Active       115393   115393 Rock Star Tattoos & Piercings          847 McCully St #Unit A                                Honolulu         HI          96826     10/2/2020
coincloud1423   ColeKepro 3.0         143458         143458USA                                         Active       113585   113585 Main Food Mart                         6229 Main Ave                                         Orangevale       CA          95662     10/2/2020
coincloud1529   ColeKepro 3.0         143564         143564.USA                                        Active       103139   103139 Whistle Stop Convenience Store         598 TX-342                                            Red Oak          TX          75154     10/2/2020
coincloud1559   ColeKepro 3.0         143594         143594USA                                         Active       108019   108019 Sunshine Food Store                    2401 S Carrier Pkwy                                   Grand Prairie    TX          75051     10/2/2020
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coincloud2177     ColeKepro 3.0   144212   144212USA                             Active     138874   138874 Hot Spot                              517 W Main St                 Easley          SC   29640   10/2/2020
coincloud2441     ColeKepro 3.0   143476   144485USA                             Active     108907   108907 LBJ Food Mart                         407 US-281                    Marble Falls    TX   78654   10/2/2020
coincloud2515     ColeKepro 3.0   144550   144495USA                             Active     115409   115409 Redner's Warehouse Markets            5462 Perkiomen Ave            Reading         PA   19606   10/2/2020
coincloud2667     ColeKepro 3.0   145376   144702USA                             Active     115435   115435 Redner's Warehouse Markets            3205 N 5th Street Hwy         Reading         PA   19605   10/2/2020
coincloud2560     ColeKepro 3.0   144595   145113USA                             Active     115438   115438 Redner's Warehouse Markets            550 7th Ave                   Scranton        PA   18508   10/2/2020
coincloud2561     ColeKepro 3.0   144596   145114USA                             Active     115423   115423 Redner's Warehouse Markets            88 Salt Creek Dr              Dover           DE   19901   10/2/2020
coincloud2570     ColeKepro 3.0   145131   145131USA                             Active     103515   103515 OKC Food Mart                         2120 W Main St                Oklahoma City   OK   73107   10/2/2020
coincloud2571     ColeKepro 3.0   144606   145132USA                             Active     115442   115442 Redner's Warehouse Markets            184 Market St                 Nesquehoning    PA   18240   10/2/2020
coincloud2718     ColeKepro 3.0   145193   145193USA                             Active     138867   138867 Hot Spot                              3000 W Blue Ridge Dr          Greenville      SC   29611   10/2/2020
coincloud2720     ColeKepro 3.0   144755   145195.USA                            Active     119927   119927 Old Town Dry Cleaners                 2905 S Walton Blvd #1         Bentonville     AR   72712   10/2/2020
coincloud2596     ColeKepro 3.0   145250   145250.USA                            Active     103237   103237 Victorian Mart                        1675 Victorian Ave.           Sparks          NV   89431   10/2/2020
coincloud2746     ColeKepro 3.0   145291   145291.USA                            Active     123554   123554 Yummy Snamy European Food & Deli      3329 E Sprague Ave            Spokane         WA   99202   10/2/2020
coincloud2841     ColeKepro 3.0   154386   145386.USA                            Active     122930   122930 Cub Foods                             1750 WEST COUNTY ROAD 42      Burnsville      MN   55337   10/2/2020
coincloud3744     ColeKepro 3.0   146428   146428.USA                            Active     125438   125438 Spec's Wines, Spirits & Finer Foods   19210 W Bellfort Blvd         Richmond        TX   77406   10/2/2020
coincloud3781     ColeKepro 3.0   146430   146430.USA                            Active     122475   122475 Global Postal Center                  21704 Devonshire St           Los Angeles     CA   91311   10/2/2020
coincloud449      APSM 1.1        148024   148024.USA                            Active     103948   103948 Nittany Mall                          2901 E College Ave            State College   PA   16801   9/19/2019
coincloud4594     ColeKepro 5.0   148126   148126.USA   Elk Grove Village, IL    Active     136616   136616 XWA International Airport             14127 Jensen Ln               Williston       ND   58801   8/7/2021
coincloud4596     ColeKepro 5.0   148128   148128.USA   Elk Grove Village, IL    Active     138367   138367 Noah smoke shop                       12416 N 28th Dr               Phoenix         AZ   85029   8/7/2021
coincloud5103     ColeKepro 5.0   148634   148634.USA    Riviera Beach, FL       Active     126931   126931 Food Depot                            180 Maple Crossing            Carrollton      GA   30117   8/7/2021
coincloud5639     ColeKepro 5.0   149170   149170.USA    Grand Prairie, TX       Active     122184   122184 ACE Cash Express                      410 E Pioneer Pkwy            Grand Prairie   TX   75051   8/7/2021
coincloud5884     ColeKepro 5.0   149415   149415.USA          Other             Active     136233   136233 The D Casino & Hotel                  301 E Fremont St              Las Vegas       NV   89101   8/7/2021
coincloud6062     ColeKepro 5.0   149593   149593.USA   City Of Industry, CA    Warehouse   121222          CCHQ                                                                                              8/7/2021
coincloud150665   ColeKepro 5.0   150665   150665.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150669   ColeKepro 5.0   150669   150669.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150671   ColeKepro 5.0   150671   150671.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150674   ColeKepro 5.0   150674   150674.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150676   ColeKepro 5.0   150676   150676.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150725   ColeKepro 5.0   150725   150725.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150726   ColeKepro 5.0   150726   150726.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150754   ColeKepro 5.0   150754   150754.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150758   ColeKepro 5.0   150758   150758.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150759   ColeKepro 5.0   150759   150759.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150760   ColeKepro 5.0   150760   150760.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150762   ColeKepro 5.0   150762   150762.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150763   ColeKepro 5.0   150763   150763.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150764   ColeKepro 5.0   150764   150764.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150765   ColeKepro 5.0   150765   150765.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150767   ColeKepro 5.0   150767   150767.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150768   ColeKepro 5.0   150768   150768.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150769   ColeKepro 5.0   150769   150769.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150770   ColeKepro 5.0   150770   150770.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150771   ColeKepro 5.0   150771   150771.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150774   ColeKepro 5.0   150774   150774.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150775   ColeKepro 5.0   150775   150775.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150776   ColeKepro 5.0   150776   150776.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150777   ColeKepro 5.0   150777   150777.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150783   ColeKepro 5.0   150783   150783.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150793   ColeKepro 5.0   150793   150793.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150794   ColeKepro 5.0   150794   150794.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150796   ColeKepro 5.0   150796   150796.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150798   ColeKepro 5.0   150798   150798.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150803   ColeKepro 5.0   150803   150803.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150808   ColeKepro 5.0   150808   150808.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150809   ColeKepro 5.0   150809   150809.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150813   ColeKepro 5.0   150813   150813.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150814   ColeKepro 5.0   150814   150814.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150815   ColeKepro 5.0   150815   150815.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150816   ColeKepro 5.0   150816   150816.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150818   ColeKepro 5.0   150818   150818.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150819   ColeKepro 5.0   150819   150819.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150820   ColeKepro 5.0   150820   150820.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150824   ColeKepro 5.0   150824   150824.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150825   ColeKepro 5.0   150825   150825.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150827   ColeKepro 5.0   150827   150827.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150828   ColeKepro 5.0   150828   150828.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150829   ColeKepro 5.0   150829   150829.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150830   ColeKepro 5.0   150830   150830.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150831   ColeKepro 5.0   150831   150831.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150832   ColeKepro 5.0   150832   150832.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150834   ColeKepro 5.0   150834   150834.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150835   ColeKepro 5.0   150835   150835.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150838   ColeKepro 5.0   150838   150838.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150844   ColeKepro 5.0   150844   150844.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150848   ColeKepro 5.0   150848   150848.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150853   ColeKepro 5.0   150853   150853.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150856   ColeKepro 5.0   150856   150856.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150867   ColeKepro 5.0   150867   150867.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150868   ColeKepro 5.0   150868   150868.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150875   ColeKepro 5.0   150875   150875.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150877   ColeKepro 5.0   150877   150877.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150879   ColeKepro 5.0   150879   150879.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150909   ColeKepro 5.0   150909   150909.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150914   ColeKepro 5.0   150914   150914.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150927   ColeKepro 5.0   150927   150927.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150928   ColeKepro 5.0   150928   150928.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150950   ColeKepro 5.0   150950   150950.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150963   ColeKepro 5.0   150963   150963.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150984   ColeKepro 5.0   150984   150984.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150995   ColeKepro 5.0   150995   150995.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150996   ColeKepro 5.0   150996   150996.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud150997   ColeKepro 5.0   150997   150997.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151001   ColeKepro 5.0   151001   151001.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151006   ColeKepro 5.0   151006   151006.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151007   ColeKepro 5.0   151007   151007.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151008   ColeKepro 5.0   151008   151008.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151010   ColeKepro 5.0   151010   151010.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151011   ColeKepro 5.0   151011   151011.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151020   ColeKepro 5.0   151020   151020.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151035   ColeKepro 5.0   151035   151035.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151048   ColeKepro 5.0   151048   151048.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151049   ColeKepro 5.0   151049   151049.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151050   ColeKepro 5.0   151050   151050.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151053   ColeKepro 5.0   151053   151053.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151055   ColeKepro 5.0   151055   151055.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151066   ColeKepro 5.0   151066   151066.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151110   ColeKepro 5.0   151110   151110.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151114   ColeKepro 5.0   151114   151114.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151115   ColeKepro 5.0   151115   151115.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151116   ColeKepro 5.0   151116   151116.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151117   ColeKepro 5.0   151117   151117.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151120   ColeKepro 5.0   151120   151120.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151133   ColeKepro 5.0   151133   151133.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151160   ColeKepro 5.0   151160   151160.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151161   ColeKepro 5.0   151161   151161.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151166   ColeKepro 5.0   151166   151166.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151183   ColeKepro 5.0   151183   151183.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151187   ColeKepro 5.0   151187   151187.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
coincloud151189   ColeKepro 5.0   151189   151189.USA      Las Vegas, NV        Warehouse                   Sloan                                                                                            8/7/2021
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coincloud151198   ColeKepro 5.0         151198        151198.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151199   ColeKepro 5.0         151199        151199.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151204   ColeKepro 5.0         151204        151204.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151205   ColeKepro 5.0         151205        151205.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151207   ColeKepro 5.0         151207        151207.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151210   ColeKepro 5.0         151210        151210.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151211   ColeKepro 5.0         151211        151211.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151212   ColeKepro 5.0         151212        151212.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151216   ColeKepro 5.0         151216        151216.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151217   ColeKepro 5.0         151217        151217.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151218   ColeKepro 5.0         151218        151218.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151219   ColeKepro 5.0         151219        151219.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151220   ColeKepro 5.0         151220        151220.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151221   ColeKepro 5.0         151221        151221.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151222   ColeKepro 5.0         151222        151222.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151223   ColeKepro 5.0         151223        151223.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151226   ColeKepro 5.0         151226        151226.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151227   ColeKepro 5.0         151227        151227.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151228   ColeKepro 5.0         151228        151228.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151230   ColeKepro 5.0         151230        151230.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151231   ColeKepro 5.0         151231        151231.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151234   ColeKepro 5.0         151234        151234.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151238   ColeKepro 5.0         151238        151238.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151239   ColeKepro 5.0         151239        151239.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151240   ColeKepro 5.0         151240        151240.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151242   ColeKepro 5.0         151242        151242.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151244   ColeKepro 5.0         151244        151244.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151245   ColeKepro 5.0         151245        151245.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151246   ColeKepro 5.0         151246        151246.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151247   ColeKepro 5.0         151247        151247.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151250   ColeKepro 5.0         151250        151250.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151252   ColeKepro 5.0         151252        151252.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151255   ColeKepro 5.0         151255        151255.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151258   ColeKepro 5.0         151258        151258.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151259   ColeKepro 5.0         151259        151259.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151260   ColeKepro 5.0         151260        151260.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151268   ColeKepro 5.0         151268        151268.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151269   ColeKepro 5.0         151269        151269.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151271   ColeKepro 5.0         151271        151271.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151273   ColeKepro 5.0         151273        151273.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151274   ColeKepro 5.0         151274        151274.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151285   ColeKepro 5.0         151285        151285.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151311   ColeKepro 5.0         151311        151311.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151317   ColeKepro 5.0         151317        151317.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151320   ColeKepro 5.0         151320        151320.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151322   ColeKepro 5.0         151322        151322.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151327   ColeKepro 5.0         151327        151327.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151362   ColeKepro 5.0         151362        151362.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151376   ColeKepro 5.0         151376        151376.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151377   ColeKepro 5.0         151377        151377.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151392   ColeKepro 5.0         151392        151392.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151398   ColeKepro 5.0         151398        151398.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151399   ColeKepro 5.0         151399        151399.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151402   ColeKepro 5.0         151402        151402.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud151405   ColeKepro 5.0         151405        151405.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud150812   ColeKepro 5.0         159812        159812.USA       Las Vegas, NV   Warehouse                   Sloan                                                                                                        8/7/2021
coincloud336      APSM 1.1           5.41325E+14 41325000000004.USA                     Active     103369   103369 Phillips 66                             3325 SW 3rd St #Lot 42               Lee's Summit       MO   64081   9/19/2019
coincloud337      APSM 1.1           5.41325E+14 41325000000005.USA                     Active     103370   103370 Phillips 66                             4251 Lindell Blvd                    St. Louis          MO   63108   9/19/2019
coincloud338      APSM 1.1           5.41325E+14 41325000000006.USA                     Active     103372   103372 Phillips 66                             699 Salt Lick Rd                     St Peters          MO   63376   9/19/2019
coincloud340      APSM 1.1           5.41325E+14 41325000000008.USA                     Active     103371   103371 Valero                                  1601 NE Douglas St                   Lee's Summit       MO   64086   9/19/2019
coincloud345      APSM 1.1           5.41325E+14 41325000000013.USA                     Active     103189   103189 Gash Mini Mart                          5622 E Independence blvd suite 125   Charlotte          NC   28212   9/19/2019
coincloud349      APSM 1.1           5.41325E+14 41325000000017.USA                     Active     103810   103810 Ashe St. Convenience Store              63 Ashe St.                          Charleston         SC   29403   9/19/2019
coincloud350      APSM 1.1           5.41325E+14 41325000000018.USA                     Active     103223   103223 JDS Quick Shop                          2796 US-701                          Conway             SC   29526   9/19/2019
coincloud351      APSM 1.1           5.41325E+14 41325000000019.USA                     Active     103227   103227 Obama Store                             5831 N Main St                       Columbia           SC   29203   9/19/2019
coincloud354      APSM 1.1           5.41325E+14 41325000000022.USA                     Active     103850   103850 Gem City Fuel Mart                      1705 Harrison St                     Quincy             IL   62301   9/19/2019
coincloud368      APSM 1.1           5.41325E+14 41325000000036.USA                     Active     103366   103366 Phillips 66                             12325 State Line Rd                  KCMO               MO   64145   9/19/2019
coincloud371      APSM 1.1           5.41325E+14 41325000000039.USA                     Active     103754   103754 BP Gas                                  300 N Main                           Chatham            IL   62629   9/19/2019
coincloud375      APSM 1.1           5.41325E+14 41325000000043.USA                     Active     103742   103742 AJ's Food Mart                          6204 Ten-Ten Rd                      Apex               NC   27539   9/19/2019
coincloud380      APSM 1.1           5.41325E+14 41325000000048.USA                     Active     103840   103840 Singh Mart #1                           13110 S Gessner Dr                   Missouri City      TX   77489   9/19/2019
coincloud408      APSM 1.1            5.4153E+13   4153000000026.USA                    Active     103771   103771 Shell                                   12340 Nicollet Ave                   Burnsville         MN   55337   9/19/2019
coincloud400      APSM 1.1           5.41535E+14 41535000000018.USA                     Active     103230   103230 Super Express                           3150 Wrightsboro Rd                  Augusta            GA   30909   9/19/2019
coincloud406      APSM 1.1           5.41535E+14 41535000000024.USA                     Active     103346   103346 Gas Mart #4                             9301 Lewis and Clark Blvd            Jennings           MO   63136   9/19/2019
coincloud409      APSM 1.1           5.41535E+14 41535000000027.USA                     Active     108054   108054 Kitty's Corner                          1530 Sherwood Ave                    St Paul            MN   55106   9/19/2019
coincloud410      APSM 1.1           5.41535E+14 41535000000028.USA                     Active     103548   103548 Roseville Tobacconist Cigars & E-Cigs   2217 Snelling Ave N                  Roseville          MN   55113   9/19/2019
coincloud412      APSM 1.1           5.41535E+14 41535000000030.USA                     Active     108058   108058 D&L Food and Gas                        626 Larpenteur Ave W                 St Paul            MN   55113   9/19/2019
coincloud413      APSM 1.1           5.41535E+14 41535000000031.USA                     Active     101444   101444 A&R Fuel Handy Shop                     700 NE Lowry Ave                     Minneapolis        MN   55418   9/19/2019
coincloud415      APSM 1.1           5.41535E+14 41535000000033.USA                     Active     101560   101560 Net Supermarket                         1845 Nicollet Ave                    Minneapolis        MN   55403   9/19/2019
coincloud424      APSM 1.1           5.41535E+14 41535000000042.USA                     Active     101415   101415 Oak Barrel Party Shoppe                 2515 S Lapeer Rd                     Orion Charter Town MI   48360   9/19/2019
coincloud425      APSM 1.1           5.41535E+14 41535000000043.USA                     Active     103107   103107 Shell                                   3025 S Memorial Dr                   Tulsa              OK   74129   9/19/2019
coincloud426      APSM 1.1           5.41535E+14 41535000000044.USA                     Active     103510   103510 Meridian Express                        4501 NW 63rd St                      Oklahoma City      OK   73132   9/19/2019
coincloud428      APSM 1.1           5.41535E+14 41535000000046.USA                     Active     101631   101631 Twins Food Mart                         1616 N Portland Ave                  Oklahoma City      OK   73107   9/19/2019
coincloud463      APSM 1.1        41537000000031US41537000000031.USA                    Active     103498   103498 Sunoco                                  322 S Centre St                      Cumberland         MD   21502   9/19/2019
coincloud468      APSM 1.1           5.41537E+14 41537000000036.USA                     Active     108283   108283 BG Mini Mart                            14 W Broad St                        Bethlehem          PA   18018   9/19/2019
coincloud469      APSM 1.1           5.41537E+14 41537000000037.USA                     Active     103302   103302 Texarkana Travel Stop                   4020 S Lake Dr                       Texarkana          TX   75501   9/19/2019
coincloud470      APSM 1.1           5.41537E+14 41537000000038.USA                     Active     103454   103454 Smithfield News                         115 Smithfield St                    Pittsburgh         PA   15222   9/19/2019
coincloud472      APSM 1.1           5.41537E+14 41537000000040.USA                     Active     103478   103478 Shell                                   1132 S Cedar Crest Blvd              Allentown          PA   18103   9/19/2019
coincloud473      APSM 1.1         BTM20171011002241537000000041.USA                    Active     101537   101537 Chevron                                 5002 E Chandler Blvd                 Phoenix            AZ   85048   9/19/2019
coincloud474      APSM 1.1           5.41537E+14 41537000000042.USA                     Active     103490   103490 Your Choice                             1 Buckhorn Rd                        Bloomsburg         PA   17815   9/19/2019
coincloud479      APSM 1.1           5.41537E+14 41537000000047.USA                     Active     103550   103550 Tiger Mart                              10898 Co Rd 4022                     Kemp               TX   75143   9/19/2019
coincloud483      APSM 1.1           5.41537E+14 41537000000051.USA                     Active     103518   103518 Quick Mart                              1091 Norfolk Ave ## 218              Virginia Beach     VA   23451   9/19/2019
coincloud488      APSM 1.1           5.41537E+14 41537000000056.USA                     Active     103921   103921 Cabot Convenience                       389 Cabot St                         Beverly            MA    1915   9/19/2019
coincloud492      APSM 1.1           5.41537E+14 41537000000060.USA                     Active     101488   101488 Easy Shop #2                            5724 E W.T. Harris Blvd ## A         Charlotte          NC   28215   9/19/2019
coincloud494      APSM 1.1           5.41537E+14 41537000000062.USA                     Active     101459   101459 Sunoco                                  4140 Broad River Rd                  Columbia           SC   29210   9/19/2019
coincloud500      APSM 1.1           5.41537E+14 41537000000068.USA                     Active     103784   103784 Quick Mart                              2815 Rice St                         Roseville          MN   55113   9/19/2019
coincloud503      APSM 1.1        41537000000071.U41537000000071.USA                    Active     101428   101428 Shell                                   13407 S Main St                      Houston            TX   77035   9/19/2019
coincloud508      APSM 1.1           5.41539E+14 41539000000001.USA                     Active     103410   103410 Shell                                   3830 Gaskins Rd                      Richmond           VA   23233   9/19/2019
coincloud510      APSM 1.1           5.41539E+14 41539000000003.USA                     Active     103650   103650 Havana Park Liquor                      10772 E Iliff Ave                    Aurora             CO   80014   9/19/2019
coincloud517      APSM 1.1           5.41539E+14 41539000000010.USA                     Active     103971   103971 Warsaw Mini-Mart                        3021 Warsaw Ave                      Cincinnati         OH   45205   9/19/2019
coincloud519      APSM 1.1        41539000000012.U41539000000012.USA                    Active     103977   103977 Ameristop Food Marts                    512 W Pike St                        Covington          KY   41011   9/19/2019
coincloud520      APSM 1.1           5.41539E+14 41539000000013.USA                     Active     103872   103872 EZ Stop convenience & Hot Food          263 N Main St                        Niles              OH   44446   9/19/2019
coincloud522      APSM 1.1           5.41539E+14 41539000000015.USA                     Active     104019   104019 Shell                                   4181 Hessen Cassel Rd                Fort Wayne         IN   46806   9/19/2019
coincloud523      APSM 1.1           5.41539E+14 41539000000016.USA                     Active     104020   104020 Shell                                   3124 E State Blvd                    Fort Wayne         IN   46805   9/19/2019
coincloud524      APSM 1.1           5.41539E+14 41539000000017.USA                     Active     104021   104021 Shell                                   10226 Leo Rd                         Fort Wayne         IN   46825   9/19/2019
coincloud525      APSM 1.1           5.41539E+14 41539000000018.USA                     Active     103876   103876 Lakeview Market                         3102 S Main St                       Akron              OH   44319   9/19/2019
coincloud527      APSM 1.1           5.41539E+14 41539000000020.USA                     Active     103896   103896 The Pony Keg                            1201 Shawnee Rd                      Lima               OH   45805   9/19/2019
coincloud528      APSM 1.1           5.41539E+14 41539000000021.USA                     Active     101436   101436 Marathon                                4548 Taylorsville Rd                 Louisville         KY   40220   9/19/2019
coincloud529      APSM 1.1           5.41539E+14 41539000000022.USA                     Active     103466   103466 Sunoco                                  4701 Jonestown Rd                    Harrisburg         PA   17109   9/19/2019
coincloud537      APSM 1.1           5.41539E+14 41539000000030.USA                     Active     104232   104232 Capital Express Mart                    14010 Cleveland Rd                   Granger            IN   46530   9/19/2019
coincloud538      APSM 1.1           5.41539E+14 41539000000031.USA                     Active     104229   104229 Marathon                                335 W McKinley Ave                   Mishawaka          IN   46545   9/19/2019
coincloud540      APSM 1.1             5.42E+14   41539000000033.USA                    Active     104228   104228 Bull Dog Convenience                    750 County Rd 15                     Elkhart            IN   46516   9/19/2019
coincloud543      APSM 1.1           5.41539E+14 41539000000036.USA                     Active     103927   103927 Lowell Quick Mart                       627 Chelmsford St                    Lowell             MA    1851   9/19/2019
coincloud546      APSM 1.1           5.41539E+14 41539000000039.USA                     Active     103854   103854 Cleveland Deli                          14939 Puritas Ave                    Cleveland          OH   44135   9/19/2019
coincloud550      APSM 1.1           5.41539E+14 41539000000043.USA                     Active     103861   103861 Clark Gas                               22492 Brookpark Rd                   Cleveland          OH   44126   9/19/2019
coincloud551      APSM 1.1             5.42E+14   41539000000044.USA                    Active     104268   104268 University Market                       1715 E Johnson Ave                   Jonesboro          AR   72401   9/19/2019
coincloud554      APSM 1.1           5.41539E+14 41539000000047.USA                     Active     103273   103273 Everest Mart                            3314 4th St                          Lubbock            TX   79415   9/19/2019
coincloud555      APSM 1.1           5.41539E+14 41539000000048.USA                     Active     104377   104377 Wash Em Up 1                            2101 Midland Dr                      Midland            TX   79701   9/19/2019
coincloud556      APSM 1.1           5.41539E+14 41539000000049.USA                     Active     103406   103406 Shell                                   9999 Brook Rd                        Glen Allen         VA   23059   9/19/2019
coincloud557      APSM 1.1           5.41539E+14 41539000000050.USA                     Active     104334   104334 FavTrip Independence                    10507 East 23rd St S                 Independence       MO   64052   9/19/2019
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coincloud559      APSM 1.1         5.41539E+14 41539000000052.USA                                Active     101445   101445 Marathon                             5901 New Cut Rd                    Louisville        KY   40214   9/19/2019
coincloud560      APSM 1.1         5.41539E+14 41539000000053.USA                                Active     103890   103890 Doc's Drive Thru                     908 W North St.                    Springfield       OH   45504   9/19/2019
coincloud567      APSM 1.1         5.41539E+14 41539000000060.USA                                Active     103873   103873 Northend Supermarket                 1645 N Park Ave                    Warren            OH   44483   9/19/2019
coincloud568      APSM 1.1         5.41539E+14 41539000000061.USA                                Active     103875   103875 Sav-Way Mart                         1105 Tuscarawas St W               Canton            OH   44702   9/19/2019
coincloud570      APSM 1.1         5.41539E+14 41539000000063.USA                                Active     103375   103375 Dollar Eagle Discounts               1552 Beechview Ave                 Pittsburgh        PA   15216   9/19/2019
coincloud571      APSM 1.1         5.41539E+14 41539000000064.USA                                Active     103724   103724 OST Food Mart                        4529 Old Spanish Trail             Houston           TX   77021   9/19/2019
coincloud572      APSM 1.1         5.41539E+14 41539000000065.USA                                Active     104262   104262 Grand Convenience                    4201 Grand Ave                     Fort Smith        AR   72904   9/19/2019
coincloud574      APSM 1.1         5.41539E+14 41539000000067.USA                                Active     104196   104196 Ray's Party Store                    653 Main St                        Toledo            OH   43605   9/19/2019
coincloud575      APSM 1.1         5.41539E+14 41539000000068.USA                                Active     103660   103660 Reeb Liquors                         11000 W Alameda Ave                Lakewood          CO   80226   9/19/2019
coincloud579      APSM 1.1         5.41539E+14 41539000000072.USA                                Active     103931   103931 Marathon                             794 Donaldson Hwy ## 1             Erlanger          KY   41018   9/19/2019
coincloud580      APSM 1.1         5.41539E+14 41539000000073.USA                                Active     103720   103720 Lakeshore Market & Gas Station       9031 Lake Shore Dr                 Nampa             ID   83686   9/19/2019
coincloud586      APSM 1.1         5.42015E+14 42015000000004.USA                                Active     108370   108370 Citgo                                3403 S Chicago Ave                 South Milwaukee   WI   53172   9/19/2019
coincloud589      APSM 1.1         5.42015E+14 42015000000007.USA                                Active     104261   104261 Fennys' Convenient Store             3515 Towson Ave                    Fort Smith        AR   72901   9/19/2019
coincloud591      APSM 1.1         5.42015E+14 42015000000010.USA                                Active     103778   103778 Piedmont Milk House                  2703 Piedmont Ave                  Duluth            MN   55811   9/19/2019
coincloud594      APSM 1.1         5.42015E+14 42015000000012.USA                                Active     104337   104337 Minny Mart                           1620 Independence Pkwy             Plano             TX   75075   9/19/2019
coincloud595      APSM 1.1         5.42015E+14 42015000000013.USA                                Active     104372   104372 Sammy Food Mart                      2018 Paisley Dr                    Arlington         TX   76015   9/19/2019
coincloud607      APSM 1.1         5.42015E+14 42015000000025.USA                                Active     103099   103099 Kwik Stop Market                     602 NW 21st Ave                    Portland          OR   97209   9/19/2019
coincloud610      APSM 1.1         5.42015E+14 42015000000028.USA                                Active     103360   103360 Kwik Stop Market                     419 W Main St                      Gallatin          TN   37066   9/19/2019
coincloud618      APSM 1.1         5.42015E+14 42015000000036.USA                                Active     104225   104225 Sunset Party Store                   515 W Michigan Ave                 Battle Creek      MI   49037   9/19/2019
coincloud620      APSM 1.1         5.42015E+14 42015000000038.USA                                Active     104243   104243 Clyde Park Foods                     4227 Clyde Park Ave SW             Wyoming           MI   49509   9/19/2019
coincloud621      APSM 1.1         5.42015E+14 42015000000039.USA                                Active     104242   104242 Ramblewood Liquors                   2771 44th St SW                    Wyoming           MI   49519   9/19/2019
coincloud626      APSM 1.1         5.42015E+14 42015000000044.USA                                Active     103625   103625 Marathon                             161 Millennium Blvd                Brunswick         GA   31525   9/19/2019
coincloud587      APSM 1.1         5.42015E+13 4201500000005.USA                                 Active     103793   103793 Red JJ Petro Mart                    6819 W Lincoln Ave                 West Allis        WI   53219   9/19/2019
coincloud638      APSM 1.1         5.42016E+14 42016000000003.USA                                Active     103940   103940 Madeira Market                       7722 Laurel Ave                    Cincinnati        OH   45243   9/19/2019
coincloud652      APSM 1.1         5.42016E+14 42016000000020.USA                                Active     103164   103164 Fine Food Mart                       2610 West Ave                      San Antonio       TX   78201   9/19/2019
coincloud669      APSM 1.1         5.42016E+14                                                   Active     104431   104431 Sinclair                             922 E Linwood Blvd                 Independence      MO   64052   9/19/2019
coincloud680      APSM 1.1           5.42E+14       42016000000048.USA                           Active     103387   103387 HAPPY MINI MART                      1300 Brodhead Rd                   Coraopolis        PA   15108   9/19/2019
coincloud697      APSM 1.1         5.42018E+14 42018000000015USA                                 Active     104323   104323 LUCKY CORNER MART                    1510 W Euless Blvd                 Euless            TX   76040   9/19/2019
coincloud698      APSM 1.1         5.42018E+14 42018000000016USA                                 Active     104319   104319 Shamrock Fina 1-Stop                 8460 Denton Dr                     Dallas            TX   75235   9/19/2019
coincloud892      ColeKepro 1.0    5.42018E+14 42018000000032USA                                 Active     103475   103475 14th & Main Market                   1408 Main St.                      Springfield       OR   97477    5/7/2020
coincloud893      APSM 1.1         5.42018E+14 42018000000033USA                                 Active     104140   104140 Sandy Smoke Shop                     38580 Pioneer Blvd                 Sandy             OR   97055   9/19/2019
coincloud894      APSM 1.1         5.42018E+14 42018000000034USA                                 Active     103472   103472 Moe's Food Mart                      516 SW 5th St                      Redmond           OR   97756   9/19/2019
coincloud899      APSM 1.1         5.42018E+14 42018000000039USA                                 Active     108128   108128 Your Stop                            2433 Parkcrest Dr                  Garland           TX   75041   9/19/2019
coincloud900      APSM 1.1         5.42018E+14 42018000000040USA                                 Active     113837   113837 Harrison Mart                        4140 SE Harrison St                Milwaukie         OR   97222   9/19/2019
coincloud902      APSM 1.1         5.42018E+14 42018000000042USA                                 Active     103477   103477 L N Minit Market                     536 E 11th Ave                     Eugene            OR   97401   9/19/2019
coincloud911      APSM 1.1         5.42027E+14 42027000000001USA                                 Active     108109   108109 Phillips 66                          102 E Buckingham Rd                Garland           TX   75040   9/19/2019
coincloud917      APSM 1.1         5.42027E+14 42027000000007USA                                 Active     108126   108126 Dairy Mart                           211 W Grubb Dr                     Mesquite          TX   75149   9/19/2019
coincloud918      APSM 1.1         5.32027E+14 42027000000008USA                                 Active     108152   108152 IV King Wine & Liquors               408 E Bidwell St                   Folsom            CA   95630   9/19/2019
coincloud930      APSM 1.1         5.42027E+14 42027000000020USA                                 Active     108057   108057 BP                                   624 Mark Twain Ave                 Hannibal          MO   63401   9/19/2019
coincloud932      APSM 1.1         5.42027E+14 42027000000022USA                                 Active     104146   104146 City Center Food Mart                9930 SW Walnut St                  Tigard            OR   97223   9/19/2019
coincloud933      APSM 1.1         5.42027E+14 42027000000023USA                                 Active     108125   108125 HarveyÃ¢â‚¬â„¢s                      3301 Broadway Blvd                 Garland           TX   75043   9/19/2019
coincloud937      APSM 1.1         5.42027E+14 42027000000027.USA                                Active     108691   108691 Lincoln Market                       3497 W Lincoln St                  Phoenix           AZ   85009   9/19/2019
coincloud151341   ColeKepro 5.0       151341            151341.USA         Las Vegas, NV        Warehouse                   CCHQ                                                                                                    8/7/2021
coincloud150172   ColeKepro 5.0       150172            150172.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud150171   ColeKepro 5.0       150171            150171.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud150183   ColeKepro 5.0       150183            150183.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud150178   ColeKepro 5.0       150178            150178.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud150175   ColeKepro 5.0       150175            150175.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud147940   ColeKepro 5.0       147940            147940.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud147936   ColeKepro 5.0       147936            147936.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud147937   ColeKepro 5.0       147937            147937.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud147938   ColeKepro 5.0       147938            147938.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud147939   ColeKepro 5.0       147939            147939.USA             Other            Warehouse                                                                                                                           8/7/2021
coincloud150481   ColeKepro 5.0       150481            150481.USA                              Warehouse                                                                                                                           8/7/2021
coincloud799      ColeKepro 1.0       141993                                                     Active     108027   108027 Chevron                              4250 W Union Hills Dr              Glendale          AZ   85308    5/7/2020
coincloud3037     ColeKepro 3.0       145646                             City of Industry, CA    Active     147417   147417 Good2Go                              90 N Hipkoe Dr                     Winslow           AZ   86047   10/2/2020
coincloud3045     ColeKepro 3.0       145647                             City of Industry, CA    Active     147418   147418 Good2Go                              I-40 EXIT 359 Grant Rd             Lupton            AZ   86508   10/2/2020
coincloud3050     ColeKepro 3.0   No serial # found                      City of Industry, CA    Active     147415   147415 Good2Go                              4525 N US-89                       Flagstaff         AZ   86004   10/2/2020
coincloud4051     ColeKepro 3.0       147585                                Hayward, CA          Active     135763   135763 Arazbiz                              109 E Santa Clara St               San Jose          CA   95113   10/2/2020
coincloud4041     ColeKepro 3.0       147575                                                     Active     155660   155660 Boost Mobile                         2439 Northgate Blvd                Sacramento        CA   95833   10/2/2020
coincloud4066     ColeKepro 3.0       147600                                Hayward, CA          Active     155662   155662 Boost Mobile                         2057 Mission St                    SF                CA   94110   10/2/2020
coincloud936      APSM 1.1        No serial # found                                              Active     108165   108165 J & M Liquor                         8940 Beverly Blvd                  Pico Rivera       CA   90660   9/19/2019
coincloud3913     ColeKepro 3.0       146493                                                     Active     103695   103695 Madison Liquor                       5926 Madison Ave                   Carmichael        CA   95608   10/2/2020
coincloud4062     ColeKepro 3.0       147596                                                     Active     129171   129171 Mobil                                3363 San Pablo Dam Rd              San Pablo         CA   94803   10/2/2020
coincloud2872     ColeKepro 3.0       145466                                                     Active     116892   116892 Quick Pick                           5210 E Olive Ave                   Fresno            CA   93727   10/2/2020
coincloud4082     ColeKepro 3.0       147616                                Hayward, CA          Active     151472   151472 Quik Stop                            3940 Walnut Blvd                   Brentwood         CA   94513   10/2/2020
coincloud4083     ColeKepro 3.0       147617                                Hayward, CA          Active     150426   150426 Quik Stop                            9321 Thornton Rd                   Stockton          CA   95209   10/2/2020
coincloud3044     ColeKepro 3.0       145645                                                     Active     138132   138132 Top Shelf Smoke Shop                 720 N Lake Ave #Suite #1           Pasadena          CA   91104   10/2/2020
coincloud1096     ColeKepro 2.0       108453                                                     Active     108453   108453 Vallarta Supermarket                 13051 Victory Blvd                 Los Angeles       CA   91606   8/28/2020
coincloud3005     ColeKepro 3.0       145631                             City of Industry, CA    Active     149125   149125 Cardenas Market                      5281 Holt Blvd                     Montclair         CA   91763   10/2/2020
coincloud6065     ColeKepro 5.0       149596                             City Of Industry, CA    Active     155264   155264 Love's                               29025 W Plaza Dr                   Santa Nella       CA   95322   8/7/2021
coincloud1128     ColeKepro 2.0       143163                                                     Active     103589   103589 Shepherd's Market                    32586 Rd 124                       Visalia           CA   93291   8/28/2020
coincloud2982     ColeKepro 3.0       145633                             City of Industry, CA    Active     147202   147202 Good2Go                              717 S Broadway                     Cortez            CO   81321   10/2/2020
coincloud2994     ColeKepro 3.0     145630.USA                            Riviera Beach, FL      Active     147197   147197 Good2Go                              401 30 Rd                          Grand Junction    CO   81504   10/2/2020
coincloud3034     ColeKepro 3.0       145665                             City of Industry, CA    Active     148952   148952 Good2Go                              902 Main St                        Silt              CO   81652   10/2/2020
coincloud2060     ColeKepro 3.0       149594                                                     Active     150532   150532 Loaf 'N Jug                          120 S Santa Fe Ave                 Pueblo            CO   81003   10/2/2020
coincloud2132     ColeKepro 3.0       150529                                                     Active     150529   150529 Loaf 'N Jug                          1002 Bonforte Blvd                 Pueblo            CO   81001   10/2/2020
coincloud2549     ColeKepro 3.0       145125                              Grand Prairie, TX      Active     150539   150539 Loaf 'N Jug                          102 US-160                         Alamosa           CO   81101   10/2/2020
coincloud2578     ColeKepro 3.0       145136                              Grand Prairie, TX      Active     150997   150997 Loaf 'N Jug                          1101 Main St                       Springfield       CO   81073   10/2/2020
coincloud150772   ColeKepro 5.0       150772                               Las Vegas, NV         Active     150772   150772 Cumberland Farms                     906 N Colony Rd                    Wallingford       CT    6492    8/7/2021
coincloud150439   ColeKepro 5.0       150439                                  Kent, WA           Active     150786   150786 Cumberland Farms                     690 Post Rd E                      Westport          CT    6880   8/7/2021
coincloud4291     ColeKepro 3.0       147825                                Sterling, VA         Active     152106   152106 Royal Farms                          30217 Commerce Dr                  Millsboro         DE   19966   10/2/2020
coincloud2328     ColeKepro 3.0       144281                                 Sanford, FL         Active     146659   146659 Thorntons                            32490 US Hwy 19 N                  Palm Harbor       FL   34684   10/2/2020
coincloud2333     ColeKepro 3.0       144282                                 Sanford, FL         Active     146456   146456 Thorntons                            2356 W Hillsborough Ave            Tampa             FL   33603   10/2/2020
coincloud2336     ColeKepro 3.0       144303                                 Sanford, FL         Active     146454   146454 Thorntons                            4103 Gunn Hwy                      Tampa             FL   33618   10/2/2020
coincloud2346     ColeKepro 3.0   No serial # found                          Sanford, FL         Active     146658   146658 Thorntons                            3780 Tampa Rd                      Oldsmar           FL   34677   10/2/2020
coincloud3188     ColeKepro 3.0       146458                                                     Active     146458   146458 Thorntons                            6405 W Hillsborough Ave            Tampa             FL   33634   10/2/2020
coincloud966      APSM 1.1         5.42489E+14                                                   Active     108144   108144 BP                                   1300 Wheaton St                    Savannah          GA   31404   9/19/2019
coincloud627      APSM 1.1         5.42015E+14                                                   Active     103626   103626 Marathon                             2 Gateway Blvd W                   Savannah          GA   31419   9/19/2019
coincloud1856     ColeKepro 3.0       149102                                                     Active     121340   121340 ACE Cash Express                     3570 Memorial Dr                   Decatur           GA   30032   10/2/2020
coincloud1492     ColeKepro 3.0       143527                                                     Active     108838   108838 Neighborhood Home                    3552 Lafayette Rd                  Evansdale         IA   50707   10/2/2020
coincloud2876     ColeKepro 3.0       145450                                                     Active     115450   115450 The CORE Comics & Games              1926 Valley Park Dr                Cedar Falls       IA   50613   10/2/2020
coincloud4107     ColeKepro 3.0       147641                             Albuquerque, NM         Active     146602   146602 Thorntons                            3503 S Cicero Ave                  Cicero            IL   60804   10/2/2020
coincloud4216     ColeKepro 3.0       147750                                Bighton, CO          Active     146576   146576 Thorntons                            3005 S 6th St                      Springfield       IL   62703   10/2/2020
coincloud1778     ColeKepro 3.0       143813                                                     Active     117466   117466 Macfood Mart at Sunoco (Brookwood)   10317 Bluffton Rd                  Fort Wayne        IN   46809   10/2/2020
coincloud1909     ColeKepro 3.0   No serial # found                                              Active     118662   118662 Rocket Fizz                          2350 N Greenwich Rd #700           Wichita           KS   67226   10/2/2020
coincloud773      ColeKepro 1.0   No serial # found                                              Active     118437   118437 Cornucopia Natural Wellness Market   150 Main St STE 8                  Northampton       MA    1060    5/7/2020
coincloud1908     ColeKepro 3.0       148750                                                     Active     151036   151036 Cumberland Farms                     297 Main St                        Athol             MA    1331   10/2/2020
coincloud2546     ColeKepro 3.0       145104                              Grand Prairie, TX      Active     151037   151037 Cumberland Farms                     35 Elm St                          Baldwinville      MA    1436   10/2/2020
coincloud2572     ColeKepro 3.0       145133                              Grand Prairie, TX      Active     151032   151032 Cumberland Farms                     163 Patriots Rd                    Templeton         MA    1468   10/2/2020
coincloud6667     ColeKepro 5.0       150198                               GRAPEVINE, TX         Active     150842   150842 Cumberland Farms                     794 Springfield St                 Feeding Hills     MA    1030   8/7/2021
coincloud150508   ColeKepro 5.0       150508                                 Kent, WA            Active     151026   151026 Cumberland Farms                     150 S Main St                      Middleborough     MA    2346    8/7/2021
coincloud151029   ColeKepro 5.0       151029                               Las Vegas, NV         Active     151029   151029 Cumberland Farms                     550 E Main St                      East Brookfield   MA    1515    8/7/2021
coincloud4281     ColeKepro 3.0       147815                                Sterling, VA         Active     152267   152267 100 W Padonia Rd                     100 W Padonia Rd                   Timonium          MD   21093   10/2/2020
coincloud4268     ColeKepro 3.0       147802                                Sterling, VA         Active     152316   152316 Royal Farms                          1630 W Joppa Rd                    Towson            MD   21204   10/2/2020
coincloud4314     ColeKepro 3.0       147848                                Sterling, VA         Active     152165   152165 ROYAL FARMS                          10633 Ocean Gateway                Berlin            MD   21811   10/2/2020
coincloud619      APSM 1.1         5.42015E+14                                                   Active     104222   104222 Food Maxx                            802 S Burdick St                   Kalamazoo         MI   49001   9/19/2019
coincloud624      APSM 1.1         5.42015E+14                                                   Active     104236   104236 Lake Michigan Sports Bar             4072 Lake Michigan Dr NW           Grand Rapids      MI   49534   9/19/2019
coincloud625      APSM 1.1         5.42015E+14                                                   Active     104239   104239 Miss Tracy's Liquor Store            1043 Franklin St SE                Grand Rapids      MI   49507   9/19/2019
coincloud678      APSM 1.1         5.42016E+14                                                   Active     104063   104063 Mobil                                32271 Ford Rd                      Garden City       MI   48135   9/19/2019
coincloud1177     ColeKepro 2.0       143212                                                     Active     108614   108614 Saigon Market                        141 28th St SE #3                  Grand Rapids      MI   49548   8/28/2020
coincloud1457     ColeKepro 3.0       143492                                                     Active     108808   108808 BP                                   3182 S Grand Blvd                  St. Louis         MO   63118   10/2/2020
coincloud5814     ColeKepro 5.0       149345                                    Other            Active     147403   147403 Good2Go                              3630 Historic Route 66             Santa Rosa        NM   88435    8/7/2021
coincloud466      APSM 1.1         5.41537E+14                                                   Active     104180   104180 Meadowood Mall                       5000 Meadowood Mall Cir            Reno              NV   89502   9/19/2019
coincloud18       Lynna 1.0         149742.USA                                                   Active     101484   101484 Sunrise Donuts                       6530 S Decatur Blvd                Las Vegas         NV   89118    1/1/2018
coincloud4986     ColeKepro 5.0       149822                                                     Active     103079   103079 Kopper Keg North                     8725 W Deer Springs Way            Las Vegas         NV   89149    8/7/2021
coincloud4987     ColeKepro 5.0       145062                                                     Active     101495   101495 US GAS                               5893 W Tropicana Ave               Las Vegas         NV   89118    8/7/2021
coincloud905      APSM 1.1         5.42027E+14                                                   Active     108110   108110 3C MARKET                            5640 Montgomery Rd                 Cincinnati        OH   45212   9/19/2019
                                         Case 23-10423-mkn                Doc 36-2                            Entered 02/08/23 19:55:21                                             Page 189 of 217


coincloud605      APSM 1.1           5.42015E+14                             Active         103880     103880 Convenient Food Mart                      1475 E Livingston Ave                Columbus          OH   43205    9/19/2019
coincloud150272   ColeKepro 5.0         150272            Mt Joy, PA         Active         150854     150854 Certified Oil                             4580 Alkire Rd                       Columbus          OH   43228    8/7/2021
coincloud1180     ColeKepro 2.0         143215                               Active         108881     108881 Market 24                                 304 N 2nd St                         Harrisburg        PA   17101    8/28/2020
coincloud1195     ColeKepro 2.0         143230                               Active         108908     108908 Shavertown Store                          155 N Memorial Hwy                   Shavertown        PA   18708    8/28/2020
coincloud632      APSM 1.1           5.42015E+14                             Active         104397     104397 Exxon                                     352 N Thompson Ln                    Murfreesboro      TN   37129   9/19/2019
coincloud3730     ColeKepro 3.0         146427                               Active         124631     124631 Allsup's Convenience Store                1633 Commercial Ave                  Anson             TX   79501    10/2/2020
coincloud653      APSM 1.1           5.42016E+14                             Active         101430     101430 Citgo                                     4722 Rigsby Ave                      San Antonio       TX   78222    9/19/2019
coincloud599      APSM 1.1           5.42015E+14                             Active         104299     104299 El Fandango Mini Super                    1928 Olive Ave                       El Paso           TX   79901   9/19/2019
coincloud405      APSM 1.1           5.41535E+14                             Active         103934     103934 Nasa food mart                            4024 NASA Road 1                     El Lago           TX   77586    9/19/2019
coincloud650      APSM 1.1           5.42016E+14                             Active         104249     104249 Shell                                     5203 Eisenhauer Rd                   San Antonio       TX   78218   9/19/2019
coincloud601      APSM 1.1           5.42015E+14                             Active         104306     104306 THE Bar                                   10310 McCombs St Suite D             El Paso           TX   79924   9/19/2019
coincloud602      APSM 1.1           5.42015E+14                             Active         104347     104347 Valero                                    2604 N Story Rd                      Irving            TX   75062    9/19/2019
coincloud457      APSM 1.1           5.41537E+14                             Active         103960     103960 Cache Valley Mall                         1300 Main St                         Logan             UT   84341    9/19/2019
coincloud3159     ColeKepro 3.0      145744.USA                              Active         104220     104220 Kwick Stop                                803 25th St                          Ogden             UT   84401    10/2/2020
coincloud628      APSM 1.1           5.42015E+14                             Active         103419     103419 Ding Wing                                 608 E Washington St                  Suffolk           VA   23434    9/19/2019
coincloud1171     ColeKepro 2.0    No serial # found                         Active         113895                                                                                                                           8/28/2020
coincloud2819     ColeKepro 3.0         145220                               Active         108859                                                                                                                           10/2/2020
coincloud1        Lynna 1.0        BTM000004283                          Decommissioned     101394            Decommissioned                                                                                                 1/1/2018
coincloud14       Lynna 1.0        BTM000004307                          Decommissioned     101407            Decommissioned                                                                                                 1/1/2018
coincloud19       Lynna 1.0        No serial # found                     Decommissioned     104220            Decommissioned                                                                                                 1/1/2018
coincloud20       Lynna 1.0       BTM201710110022                        Decommissioned                       Decommissioned                                                                                                 1/1/2018
coincloud23       Lynna 1.0        No serial # found                     Decommissioned                       Decommissioned                                                                                                 1/1/2018
coincloud41       Lynna 1.0        No serial # found                     Decommissioned     103252            Decommissioned                                                                                                 1/1/2018
coincloud52       Lynna 1.0       BTM201712150028                        Decommissioned                       Decommissioned                                                                                                 1/1/2018
coincloud117      Lynna 1.0        No serial # found                     Decommissioned                       Decommissioned                                                                                                 1/1/2018
coincloud124      Lynna 1.0       BTM201801310114                        Decommissioned     103525            Decommissioned                                                                                                 1/1/2018
coincloud185      Lynna 1.0        No serial # found                     Decommissioned                       Decommissioned                                                                                                 1/1/2018
coincloud190      Slabb 1.0         0410-004-0018                        Decommissioned     103161            Decommissioned                                                                                                12/18/2018
coincloud201      Slabb 1.0        No serial # found                     Decommissioned     103086            Decommissioned                                                                                                12/18/2018
coincloud203      Slabb 1.0         0310-003-1089                        Decommissioned     103391            Decommissioned                                                                                                12/18/2018
coincloud206      Slabb 1.0         0310-003-1075                        Decommissioned     101490            Decommissioned                                                                                                12/18/2018
coincloud218-gb   Slabb 1.0           BT300109                           Decommissioned     104380            Decommissioned                                                                                                12/18/2018
coincloud263      Slabb 1.0         0310-003-1309                        Decommissioned     103224            Decommissioned                                                                                                12/18/2018
coincloud268      Slabb 1.0         0310-003-1303                        Decommissioned     103148            Decommissioned                                                                                                12/18/2018
coincloud271      Slabb 1.0         0310-003-1347                        Decommissioned     101499            Decommissioned                                                                                                12/18/2018
coincloud2074     ColeKepro 3.0         144109          Las Vegas, NV    Decommissioned     115426     115426 CCHQ                                                                                                           10/2/2020
coincloud62       Lynna 1.0       BTM201801220078                        Decommissioned     103695     103695 Decommissioned                                                                                                 1/1/2018
coincloud603      APSM 1.1             5.42E+14                          Decommissioned     108506            Decommissioned                                                                                                 9/19/2019
coincloud3498     ColeKepro 3.0    No serial # found                     Decommissioned Decommissioned        Decommissioned                                                                                                 10/2/2020
coincloud4820     ColeKepro 5.0         148351         New Orleans, LA   Decommissioned     144563            Decommissioned                                                                                                 8/7/2021
coincloud2867     ColeKepro 3.0    No serial # found                     Decommissioned     116894            Decommissioned                                                                                                 10/2/2020
coincloud8-dev    Lynna 1.0        No serial # found                     Decommissioned     104146     104146 Decommissioned                                                                                                 1/1/2018
coincloud4        Lynna 1.0        No serial # found                         Stolen                           Loss Event                                                                                                     1/1/2018
coincloud28       Lynna 1.0          10/11/2017                              Stolen                           Loss Event                                                                                                     1/1/2018
coincloud142      Lynna 1.0        No serial # found                         Stolen                           Loss Event                                                                                                     1/1/2018
coincloud180      Lynna 1.0        No serial # found                         Stolen                           Loss Event                                                                                                     1/1/2018
coincloud974      ColeKepro 1.0         143009                             Warehouse        108539            Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                  Placentia         CA   92870    5/7/2020
coincloud1261     ColeKepro 3.0         143296                             Warehouse        108621            Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                  Placentia         CA   92870   10/2/2020
coincloud2466     ColeKepro 3.0         145091                             Warehouse        124283            Central M&S / Lanza Trucking              2002 Directors Row                   Orlando           FL   32809   10/2/2020
coincloud2355     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud2363     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud2414     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud2456     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud2471     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3579     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3580     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3581     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3776     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud4166     ColeKepro 3.0    No serial # found      Honolulu, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3554     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3555     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3563     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3564     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3565     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3566     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3568     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3569     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3570     ColeKepro 3.0    No serial # found       Kahului, HI     Warehouse                          Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H   Kahului (Maui)    HI   96732   10/2/2020
coincloud3170     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3171     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3172     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3173     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3174     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3175     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3176     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3177     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3178     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3179     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3180     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3181     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3182     ColeKepro 3.0    No serial # found       Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817    10/2/2020
coincloud3183     ColeKepro 3.0                            Kapolei, HI     Warehouse                          Courier Corporation of Hawaii             815 Waiakamilo Road Suite C          Honolulu (Oahu)   HI   96817   10/2/2020
coincloud150460   ColeKepro 5.0        150460               Victor, IA     Warehouse                          Advanced Rigging LLC                      2190 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150465   ColeKepro 5.0        150465               Victor, IA     Warehouse                          Advanced Rigging LLC                      2191 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150469   ColeKepro 5.0        150469               Victor, IA     Warehouse                          Advanced Rigging LLC                      2192 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150517   ColeKepro 5.0        150517               Victor, IA     Warehouse                          Advanced Rigging LLC                      2193 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150475   ColeKepro 5.0        150475               Victor, IA     Warehouse                          Advanced Rigging LLC                      2194 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150480   ColeKepro 5.0        150480               Victor, IA     Warehouse                          Advanced Rigging LLC                      2195 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150479   ColeKepro 5.0        150479               Victor, IA     Warehouse                          Advanced Rigging LLC                      2196 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150489   ColeKepro 5.0        150489               Victor, IA     Warehouse                          Advanced Rigging LLC                      2197 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150484   ColeKepro 5.0        150484               Victor, IA     Warehouse                          Advanced Rigging LLC                      2198 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150486   ColeKepro 5.0        150486               Victor, IA     Warehouse                          Advanced Rigging LLC                      2199 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150500   ColeKepro 5.0        150500               Victor, IA     Warehouse                          Advanced Rigging LLC                      2200 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150485   ColeKepro 5.0        150485               Victor, IA     Warehouse                          Advanced Rigging LLC                      2201 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150504   ColeKepro 5.0        150504               Victor, IA     Warehouse                          Advanced Rigging LLC                      2202 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150501   ColeKepro 5.0        150501               Victor, IA     Warehouse                          Advanced Rigging LLC                      2203 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150509   ColeKepro 5.0        150509               Victor, IA     Warehouse                          Advanced Rigging LLC                      2204 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150511   ColeKepro 5.0        150511               Victor, IA     Warehouse                          Advanced Rigging LLC                      2205 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150512   ColeKepro 5.0        150512               Victor, IA     Warehouse                          Advanced Rigging LLC                      2206 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150515   ColeKepro 5.0        150515               Victor, IA     Warehouse                          Advanced Rigging LLC                      2207 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150493   ColeKepro 5.0        150493               Victor, IA     Warehouse                          Advanced Rigging LLC                      2208 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150495   ColeKepro 5.0        150495               Victor, IA     Warehouse                          Advanced Rigging LLC                      2209 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150490   ColeKepro 5.0        150490               Victor, IA     Warehouse                          Advanced Rigging LLC                      2210 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150471   ColeKepro 5.0        150471               Victor, IA     Warehouse                          Advanced Rigging LLC                      2211 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud150369   ColeKepro 5.0        150369               Victor, IA     Warehouse                          Advanced Rigging LLC                      2212 Old 6 Road                      Victor            IA   52347    8/7/2021
coincloud4573     ColeKepro 5.0        148105          New Orleans, LA     Warehouse        121895            Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1         New Orleans       LA   70123    8/7/2021
coincloud4613     ColeKepro 5.0        148145          New Orleans, LA     Warehouse        121927            Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1         New Orleans       LA   70123    8/7/2021
coincloud4584     ColeKepro 5.0        148116          New Orleans, LA     Warehouse        121911            Logic Warehouse                           4121 N Kentucky Ave.                 Kansas City       MO   64161    8/7/2021
coincloud5323     ColeKepro 5.0        148854          Albuquerque, NM     Warehouse                          Allstar Moving                            1601 1st Street NW                   Albuquerque       NM   87102    8/7/2021
coincloud5335     ColeKepro 5.0        148866          Albuquerque, NM     Warehouse                          Allstar Moving                            1602 1st Street NW                   Albuquerque       NM   87102    8/7/2021
coincloud5336     ColeKepro 5.0        148867          Albuquerque, NM     Warehouse                          Allstar Moving                            1603 1st Street NW                   Albuquerque       NM   87102    8/7/2021
coincloud5340     ColeKepro 5.0        148871          Albuquerque, NM     Warehouse                          Allstar Moving                            1604 1st Street NW                   Albuquerque       NM   87102    8/7/2021
coincloud5360     ColeKepro 5.0        148891          Albuquerque, NM     Warehouse                          Allstar Moving                            1605 1st Street NW                   Albuquerque       NM   87102    8/7/2021
coincloud816      ColeKepro 1.0        142083                              Warehouse        108043            CCHQ                                      10190 Covington Cross Dr.            Las Vegas         NV   89144    5/7/2020
coincloud5941     ColeKepro 5.0        149472           Creighton, PA      Warehouse        121710            Weleski Transfer                          500 Treadway Lane                    Creighton         PA   15030    8/7/2021
coincloud5937     ColeKepro 5.0        149468           Creighton, PA      Warehouse                          Weleski Transfer                          504 Treadway Lane                    Creighton         PA   15030    8/7/2021
coincloud5944     ColeKepro 5.0        149475           Creighton, PA      Warehouse                          Weleski Transfer                          505 Treadway Lane                    Creighton         PA   15030    8/7/2021
coincloud150251   ColeKepro 5.0        150251            Mt Joy, PA        Warehouse                          Armstrong Relocation                      1075 E. Main Street                  Mt. Joy           PA   17552    8/7/2021
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coincloud150252   ColeKepro 5.0        150252             Mt Joy, PA          Warehouse                     Armstrong Relocation        1076 E. Main Street               Mt. Joy       PA           17552    8/7/2021
coincloud150266   ColeKepro 5.0        150266             Mt Joy, PA          Warehouse                     Armstrong Relocation        1077 E. Main Street               Mt. Joy       PA           17552    8/7/2021
coincloud3545     ColeKepro 3.0        146105             Sloan, NV           Warehouse                     Sloan                       Sloan                             Sloan         Sloan   Sloan        10/2/2020
coincloud4911     ColeKepro 5.0        148442            Magnolia, TX         Warehouse   122389            Deadline Construction       19475 Alford Rd                   Magnolia      TX           77355   8/7/2021
coincloud3456     ColeKepro 3.0        146038                                 Warehouse   124625            Buck's Moving and Storage   2011 Avenue C                     Lubbock       TX           79404   10/2/2020
coincloud3750     ColeKepro 3.0        146411                                 Warehouse   124613            HL Distribution             1065 Texan Trail Rd               Grapevine     TX           76051   10/2/2020
coincloud4272     ColeKepro 3.0   No serial # found        Sterling, VA       Warehouse                     Victory Vans                110 Terminal Drive                Sterling      VA           20166   10/2/2020
coincloud4274     ColeKepro 3.0   No serial # found        Sterling, VA       Warehouse                     Victory Vans                111 Terminal Drive                Sterling      VA           20166   10/2/2020
coincloud4276     ColeKepro 3.0   No serial # found        Sterling, VA       Warehouse                     Victory Vans                112 Terminal Drive                Sterling      VA           20166   10/2/2020
coincloud4279     ColeKepro 3.0   No serial # found        Sterling, VA       Warehouse                     Victory Vans                113 Terminal Drive                Sterling      VA           20166   10/2/2020
coincloud4288     ColeKepro 3.0   No serial # found        Sterling, VA       Warehouse                     Victory Vans                114 Terminal Drive                Sterling      VA           20166   10/2/2020
coincloud4229     ColeKepro 3.0   No serial # found        Bighton, CO        Warehouse                     CCHQ                                                                                             10/2/2020
coincloud6379     ColeKepro 5.0        149910            Charleston,SC        Warehouse                                                                                                                       8/7/2021
coincloud3052     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     CCHQ                                                                                             10/2/2020
coincloud3057     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     CCHQ                                                                                             10/2/2020
coincloud3065     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     CCHQ                                                                                             10/2/2020
coincloud3009     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     Ready Office Furniture      1515 N Kraemer Blvd, Unit H       Anaheim       CA          92806    10/2/2020
coincloud3031     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     Ready Office Furniture      1515 N Kraemer Blvd, Unit H       Anaheim       CA          92806    10/2/2020
coincloud3062     ColeKepro 3.0   No serial # found   City of Industry, CA    Warehouse                     Ready Office Furniture      1515 N Kraemer Blvd, Unit H       Anaheim       CA          92806    10/2/2020
coincloud6054     ColeKepro 5.0        149585         City Of Industry, CA    Warehouse                                                                                                                       8/7/2021
coincloud4763     ColeKepro 5.0        148294              Dayton, OH         Warehouse                                                                                                                       8/7/2021
coincloud4817     ColeKepro 5.0        148348              Dayton, OH         Warehouse                                                                                                                       8/7/2021
coincloud4619     ColeKepro 5.0        148151         Elk Grove Village, IL   Warehouse                                                                                                                       8/7/2021
coincloud4632     ColeKepro 5.0        148164         Elk Grove Village, IL   Warehouse                                                                                                                       8/7/2021
coincloud4643     ColeKepro 5.0        148175         Elk Grove Village, IL   Warehouse                                                                                                                       8/7/2021
coincloud4601     ColeKepro 5.0        148133             Elk Grove, IL       Warehouse                                                                                                                       8/7/2021
coincloud4714     ColeKepro 5.0        148245            Film Shoot NY        Warehouse                                                                                                                       8/7/2021
coincloud4716     ColeKepro 5.0        148247            Film Shoot NY        Warehouse                                                                                                                       8/7/2021
coincloud5976     ColeKepro 5.0        149507          Grand Prairie, TX      Warehouse                     CCHQ                                                                                              8/7/2021
coincloud2520     ColeKepro 3.0   No serial # found    Grand Prairie, TX      Warehouse                     HL Distribution             1065 Texan Trail Rd               Grapevine     TX          76051    10/2/2020
coincloud2524     ColeKepro 3.0   No serial # found    Grand Prairie, TX      Warehouse                     HL Distribution             1065 Texan Trail Rd               Grapevine     TX          76051    10/2/2020
coincloud2539     ColeKepro 3.0   No serial # found    Grand Prairie, TX      Warehouse                     HL Distribution             1065 Texan Trail Rd               Grapevine     TX          76051    10/2/2020
coincloud2552     ColeKepro 3.0   No serial # found    Grand Prairie, TX      Warehouse                     HL Distribution             1065 Texan Trail Rd               Grapevine     TX          76051    10/2/2020
coincloud2574     ColeKepro 3.0   No serial # found    Grand Prairie, TX      Warehouse                                                                                                                      10/2/2020
coincloud5341     ColeKepro 5.0        148872          Grand Prairie, TX      Warehouse                                                                                                                      8/7/2021
coincloud4423     ColeKepro 5.0        147957          Grand Rapids, MI       Warehouse                                                                                                                       8/7/2021
coincloud6681     ColeKepro 5.0        150212           GRAPEVINE, TX         Warehouse                                                                                                                       8/7/2021
coincloud4045     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                     WMT Logistics               31129 Wiegman Road                Hayward       CA          94544    10/2/2020
coincloud4047     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                     WMT Logistics               31129 Wiegman Road                Hayward       CA          94544    10/2/2020
coincloud4049     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                     WMT Logistics               31129 Wiegman Road                Hayward       CA          94544    10/2/2020
coincloud4050     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse   153986                                                                                                             10/2/2020
coincloud4052     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4053     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4054     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4056     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4057     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4058     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4061     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4068     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4070     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4074     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse   150425   150425                                                                                                    10/2/2020
coincloud4077     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4080     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud4086     ColeKepro 3.0   No serial # found       Hayward, CA         Warehouse                                                                                                                      10/2/2020
coincloud5857     ColeKepro 5.0        149388             Hayward, CA         Warehouse                                                                                                                       8/7/2021
coincloud5957     ColeKepro 5.0        149488             Hayward, CA         Warehouse   135488                                                                                                              8/7/2021
coincloud5140     ColeKepro 5.0        148671                  HQ             Warehouse                                                                                                                       8/7/2021
coincloud3246     ColeKepro 3.0   No serial # found     Kansas City, MO       Warehouse                     Logic Warehouse             4121 N Kentucky Ave.              Kansas City   MO          64161    10/2/2020
coincloud5175     ColeKepro 5.0        148706           Kansas City, MO       Warehouse                                                                                                                       8/7/2021
coincloud150210   ColeKepro 5.0        150210           Kansas City, MO       Warehouse                                                                                                                       8/7/2021
coincloud150230   ColeKepro 5.0        150230           Kansas City, MO       Warehouse                                                                                                                       8/7/2021
coincloud150702   ColeKepro 5.0        150702           Kansas City, MO       Warehouse                                                                                                                       8/7/2021
coincloud150705   ColeKepro 5.0        150705           Kansas City, MO       Warehouse                                                                                                                       8/7/2021
coincloud2233     ColeKepro 3.0   No serial # found         Kent, WA          Warehouse                     Lile International          20427 87th Avenue South           Kent          WA          98031    10/2/2020
coincloud5585     ColeKepro 5.0        149116               Kent, WA          Warehouse                                                                                                                       8/7/2021
coincloud5374     ColeKepro 5.0        148905            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud1108     ColeKepro 2.0        143143            Las Vegas, NV        Warehouse   108770            CCHQ                                                                                             8/28/2020
coincloud2443     ColeKepro 3.0        144483            Las Vegas, NV        Warehouse   108994            CCHQ                                                                                             10/2/2020
coincloud655      APSM 1.1            5.42E+14           Las Vegas, NV        Warehouse   127091            CCHQ                                                                                             9/19/2019
coincloud688      APSM 1.1            5.42E+14           Las Vegas, NV        Warehouse   104355            CCHQ                                                                                             9/19/2019
coincloud4514     ColeKepro 5.0        148048            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5373     ColeKepro 5.0        148904            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5380     ColeKepro 5.0        148911            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5379     ColeKepro 5.0        148910            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5376     ColeKepro 5.0        148907            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5377     ColeKepro 5.0        148908            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5232     ColeKepro 5.0        148763            Las Vegas, NV        Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5188     ColeKepro 5.0        148719             LUBBOCK, TX         Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5141     ColeKepro 5.0        148672             LUBBOCK, TX         Warehouse                                                                                                                       8/7/2021
coincloud5142     ColeKepro 5.0        148673             LUBBOCK, TX         Warehouse                                                                                                                       8/7/2021
coincloud5147     ColeKepro 5.0        148678             LUBBOCK, TX         Warehouse                                                                                                                       8/7/2021
coincloud5194     ColeKepro 5.0        148725             LUBBOCK, TX         Warehouse                                                                                                                       8/7/2021
coincloud5239     ColeKepro 5.0        148770             LUBBOCK, TX         Warehouse                                                                                                                       8/7/2021
coincloud4995     ColeKepro 5.0        148526             Magnolia, TX        Warehouse                                                                                                                       8/7/2021
coincloud5286     ColeKepro 5.0        148817            MAGNOLIA,TX          Warehouse                     CCHQ                                                                                              8/7/2021
coincloud3858     ColeKepro 3.0   No serial # found       Memphis, TN         Warehouse                     Lanigan Moving & Storage    1870 Airways Boulevard            Memphis       TN          38114    10/2/2020
coincloud4519     ColeKepro 5.0        148053             Nashville, TN       Warehouse                     Bibbeo                                                                                            8/7/2021
coincloud4535     ColeKepro 5.0        148069             Nashville, TN       Warehouse                     Bibbeo                                                                                            8/7/2021
coincloud4507     ColeKepro 5.0        148041             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4531     ColeKepro 5.0        148065             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4530     ColeKepro 5.0        148064             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4527     ColeKepro 5.0        148061             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4529     ColeKepro 5.0        148063             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4599     ColeKepro 5.0        148131             Nashville, TN       Warehouse                                                                                                                       8/7/2021
coincloud4562     ColeKepro 5.0        148094           New Orleans, LA       Warehouse                                                                                                                       8/7/2021
coincloud4581     ColeKepro 5.0        148113           New Orleans, LA       Warehouse                                                                                                                       8/7/2021
coincloud4824     ColeKepro 5.0        148355           New Orleans, LA       Warehouse   144566                                                                                                              8/7/2021
coincloud2297     ColeKepro 3.0   No serial # found        Odessa, TX         Warehouse                     Diversified Warehouse Inc   241 S Grandview                   Odessa        TX          79761    10/2/2020
coincloud5502     ColeKepro 5.0        149033                 Other           Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5503     ColeKepro 5.0        149034                 Other           Warehouse                     CCHQ                                                                                              8/7/2021
coincloud5302     ColeKepro 5.0        148833                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6100     ColeKepro 5.0        149631                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6291     ColeKepro 5.0        149822                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6217     ColeKepro 5.0        149748                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6211     ColeKepro 5.0        149742                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6609     ColeKepro 5.0        150140                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6610     ColeKepro 5.0        150141                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6611     ColeKepro 5.0        150142                 Other           Warehouse                                                                                                                       8/7/2021
coincloud6153     ColeKepro 5.0        149684              Phoenix,AZ         Warehouse                                                                                                                       8/7/2021
coincloud6187     ColeKepro 5.0        149718              Phoenix,AZ         Warehouse                                                                                                                       8/7/2021
coincloud6198     ColeKepro 5.0        149729              Phoenix,AZ         Warehouse                                                                                                                       8/7/2021
coincloud6236     ColeKepro 5.0        149767              Phoenix,AZ         Warehouse                                                                                                                       8/7/2021
coincloud6238     ColeKepro 5.0        149769              Phoenix,AZ         Warehouse                                                                                                                       8/7/2021
coincloud150412   ColeKepro 5.0        150412              Raleigh, NC        Warehouse                                                                                                                       8/7/2021
coincloud150410   ColeKepro 5.0        150410              Raleigh, NC        Warehouse                                                                                                                       8/7/2021
coincloud150520   ColeKepro 5.0        150520              Raleigh, NC        Warehouse                                                                                                                       8/7/2021
coincloud4420     ColeKepro 5.0        147954              Revere, MA         Warehouse                                                                                                                       8/7/2021
coincloud4487     ColeKepro 5.0        148021              Revere, MA         Warehouse                                                                                                                       8/7/2021
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coincloud5070     ColeKepro 5.0         148601                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5100     ColeKepro 5.0         148631                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5119     ColeKepro 5.0         148650                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5875     ColeKepro 5.0         149406                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5901     ColeKepro 5.0         149432                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5909     ColeKepro 5.0         149440                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud6109     ColeKepro 5.0         149640                     Riviera Beach, FL   Warehouse                    CCHQ                                                                                             8/7/2021
coincloud3215     ColeKepro 3.0    No serial # found               Riviera Beach, FL   Warehouse                    CCHQ                                                                                            10/2/2020
coincloud2992     ColeKepro 3.0    No serial # found               Riviera Beach, FL   Warehouse                    Coast2Coast                    6557 Garden Rd. Ste. 14             Riviera Beach   FL   33404   10/2/2020
coincloud3014     ColeKepro 3.0    No serial # found               Riviera Beach, FL   Warehouse                    Coast2Coast                    6557 Garden Rd. Ste. 14             Riviera Beach   FL   33404   10/2/2020
coincloud150376   ColeKepro 5.0         150376                     Riviera Beach, FL   Warehouse   150731                                                                                                            8/7/2021
coincloud4670     ColeKepro 5.0         148201                     Sacramento, CA      Warehouse                    Bibbeo                                                                                           8/7/2021
coincloud4662     ColeKepro 5.0         148193                     Sacramento, CA      Warehouse                    CCHQ                                                                                             8/7/2021
coincloud4705     ColeKepro 5.0         148236                     Sacramento, CA      Warehouse                    CCHQ                                                                                             8/7/2021
coincloud5975     ColeKepro 5.0         149506                      San Antonio,TX     Warehouse                    CCHQ                                                                                             8/7/2021
coincloud6096     ColeKepro 5.0         149627                      San Antonio,TX     Warehouse                    CCHQ                                                                                             8/7/2021
coincloud6131     ColeKepro 5.0         149662                      San Antonio,TX     Warehouse   122375           CCHQ                                                                                             8/7/2021
coincloud5973     ColeKepro 5.0         149504                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6003     ColeKepro 5.0         149534                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6007     ColeKepro 5.0         149538                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6040     ColeKepro 5.0         149571                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6043     ColeKepro 5.0         149574                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6163     ColeKepro 5.0         149694                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6167     ColeKepro 5.0         149698                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6169     ColeKepro 5.0         149700                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6124     ColeKepro 5.0         149655                      San Antonio,TX     Warehouse   122169                                                                                                            8/7/2021
coincloud6086     ColeKepro 5.0         149617                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6099     ColeKepro 5.0         149630                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud6084     ColeKepro 5.0         149615                      San Antonio,TX     Warehouse                                                                                                                     8/7/2021
coincloud2349     ColeKepro 3.0    No serial # found                  Sanford, FL      Warehouse                    Central M&S / Lanza Trucking   2002 Directors Row                  Orlando         FL   32809   10/2/2020
coincloud4728     ColeKepro 5.0         148259                      Shreveport, LA     Warehouse                    Bibbeo                                                                                           8/7/2021
coincloud4679     ColeKepro 5.0         148210                      Shreveport, LA     Warehouse                                                                                                                     8/7/2021
coincloud4742     ColeKepro 5.0         148273                      Shreveport, LA     Warehouse                                                                                                                     8/7/2021
coincloud4758     ColeKepro 5.0         148289                      Shreveport, LA     Warehouse                                                                                                                     8/7/2021
coincloud5581     ColeKepro 5.0         149112                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud5845     ColeKepro 5.0         149376                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud5832     ColeKepro 5.0         149363                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud5830     ColeKepro 5.0         149361                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud6008     ColeKepro 5.0         149539                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud6019     ColeKepro 5.0         149550                       Suwanee, GA       Warehouse                                                                                                                     8/7/2021
coincloud657      APSM 1.1            5.42E+14                         Texas, TX       Warehouse   101438           Decommissioned                                                                                  9/19/2019
coincloud5456     ColeKepro 5.0         148987                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5450     ColeKepro 5.0         148981                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5449     ColeKepro 5.0         148980                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5439     ColeKepro 5.0         148970                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5461     ColeKepro 5.0         148992                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5463     ColeKepro 5.0         148994                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5508     ColeKepro 5.0         149039                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud5505     ColeKepro 5.0         149036                       Tualatin, OR      Warehouse                                                                                                                     8/7/2021
coincloud4813     ColeKepro 5.0         148344                       Westbury, NY      Warehouse                                                                                                                     8/7/2021
coincloud606      APSM 1.1             5.42E+14                                        Warehouse   101414          Bibbeo                                                                                           9/19/2019
coincloud4036     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud609      APSM 1.1            5.42E+14                                         Warehouse   104257   104257 Bibbeo                                                                                           9/19/2019
coincloud1725     ColeKepro 3.0         148963                                         Warehouse                   Decommissioned                                                                                   10/2/2020
coincloud3167     ColeKepro 3.0         145727                                         Warehouse   124125          CCHQ                            10190 Covington cross               Las Vegas       NV   89144   10/2/2020
coincloud2754     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud2065     ColeKepro 3.0         148640                                         Warehouse   118607   118607 CCHQ                                                                                             10/2/2020
coincloud2089     ColeKepro 3.0         144124                                         Warehouse   108944          CCHQ                                                                                             10/2/2020
coincloud2774     ColeKepro 3.0         145300                                         Warehouse   130607          CCHQ                                                                                             10/2/2020
coincloud1131     ColeKepro 2.0         143166                                         Warehouse   113894          CCHQ                                                                                             8/28/2020
coincloud1147     ColeKepro 2.0         143182                                         Warehouse   113893          CCHQ                                                                                             8/28/2020
coincloud1241     ColeKepro 3.0         143276                                         Warehouse   108926          CCHQ                                                                                             10/2/2020
coincloud1653     ColeKepro 3.0         143688                                         Warehouse   115452          CCHQ                                                                                             10/2/2020
coincloud2573     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud2971     ColeKepro 3.0         145626                                         Warehouse   117140          CCHQ                                                                                             10/2/2020
coincloud3306     ColeKepro 3.0         145774                                         Warehouse   101409          CCHQ                                                                                             10/2/2020
coincloud4340     ColeKepro 3.0         147874                                         Warehouse   128478          CCHQ                                                                                             10/2/2020
coincloud4350     ColeKepro 3.0                                                        Warehouse   128671          CCHQ                                                                                             10/2/2020
coincloud1315     ColeKepro 3.0        143350                                          Warehouse   108669          CCHQ                                                                                             10/2/2020
coincloud2120     ColeKepro 3.0        149111                                          Warehouse                   CCHQ                                                                                             10/2/2020
Coincloud897      APSM 1.1             149472          1.821E+12                       Warehouse   122483          CCHQ                                                                                             9/19/2019
coincloud1605     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud1614     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud1677     ColeKepro 3.0        148123           850468                         Warehouse                   CCHQ                                                                                             10/2/2020
coincloud1678     ColeKepro 3.0        149547          2.521E+12                       Warehouse                   CCHQ                                                                                             10/2/2020
coincloud2376     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud2953     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud3326     ColeKepro 3.0    No serial # found                                   Warehouse                   CCHQ                                                                                             10/2/2020
coincloud766      ColeKepro 1.0        142166                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud1042     ColeKepro 2.0        148954                                          Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud2763     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3385     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3505     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3506     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3531     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3924     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud3998     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud4025     ColeKepro 3.0    No serial # found                                   Warehouse                   Bibbeo                          10550 EAST 54TH AVENUE UNIT C       DENVER          CO   80239   10/2/2020
coincloud66       Lynna 1.0       BTM201801220070                                      Warehouse   104161   104161                                                                                                   1/1/2018
coincloud583      APSM 1.1          5.42015E+14                                        Warehouse   103803   103803 CCHQ                            10190 Covington Cross Dr.           Las Vegas       NV   89144   9/19/2019
coincloud597      APSM 1.1          5.42015E+14                                        Warehouse   104360                                                                                                           9/19/2019
coincloud611      APSM 1.1          5.42015E+14                                        Warehouse   104281                                                                                                           9/19/2019
coincloud641      APSM 1.1          5.42016E+14                                        Warehouse   104414                                                                                                           9/19/2019
coincloud707      APSM 1.1          5.42016E+14                                        Warehouse   108647   108647 Amen Liquor                     351 Englewood Pkwy                  Englewood       CO   80110   9/19/2019
coincloud797      ColeKepro 1.0        147694                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud871      ColeKepro 1.0    No serial # found                                   Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud874      ColeKepro 1.0        149570                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud875      ColeKepro 1.0        143486                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud876      ColeKepro 1.0        143473                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud877      ColeKepro 1.0        148472                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud878      ColeKepro 1.0        148684                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud879      ColeKepro 1.0        149595                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud880      ColeKepro 1.0        146486                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud887      ColeKepro 1.0        149276                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud889      ColeKepro 1.0    No serial # found                                   Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud891      ColeKepro 1.0        149268                                          Warehouse                   Decommissioned                                                                                    5/7/2020
coincloud895      APSM 1.1             148756                                          Warehouse                   Decommissioned                                                                                   9/19/2019
coincloud951      APSM 1.1          5.42027E+14                                        Warehouse   108153   108153 SNS Installations               37330 Cedar Blvd., STE H            Newark          CA   94560   9/19/2019
coincloud1031     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1046     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1070     ColeKepro 2.0        148956                                          Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1073     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1082     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1089     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1090     ColeKepro 2.0    No serial # found                                   Warehouse                   Decommissioned                                                                                   8/28/2020
coincloud1106     ColeKepro 2.0        143141                                          Warehouse   108718          Daniel's Moving & Storage       6131 West Van Buren St              Phoenix         AZ   85043   8/28/2020
coincloud1355     ColeKepro 3.0        148962                                          Warehouse                   Decommissioned                                                                                   10/2/2020
coincloud1402     ColeKepro 3.0        147824                                          Warehouse                   Decommissioned                                                                                   10/2/2020
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coincloud1420   ColeKepro 3.0       148693                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1430   ColeKepro 3.0   No serial # found                 Warehouse   115392           Decommissioned                                                                            10/2/2020
coincloud1503   ColeKepro 3.0       148709                        Warehouse                                                                                                              10/2/2020
coincloud1667   ColeKepro 3.0       145637                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1737   ColeKepro 3.0       148966                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1790   ColeKepro 3.0       148656                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1796   ColeKepro 3.0       149275                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1797   ColeKepro 3.0       143832                        Warehouse   117794           Logic Warehouse           4121 N Kentucky Ave.               Kansas City     MO   64161   10/2/2020
coincloud1812   ColeKepro 3.0       148760                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1845   ColeKepro 3.0       147821                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1848   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1854   ColeKepro 3.0       147846                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1872   ColeKepro 3.0       149378                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1886   ColeKepro 3.0       149551                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1914   ColeKepro 3.0       148692                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1943   ColeKepro 3.0       148711                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1961   ColeKepro 3.0       149596                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1964   ColeKepro 3.0       148227                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud1990   ColeKepro 3.0       145621                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2004   ColeKepro 3.0       145532                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2047   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2222   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2242   ColeKepro 3.0       144274                        Warehouse   124007           Lile International        20427 87th Avenue South            Kent            WA   98031   10/2/2020
coincloud2377   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2470   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2477   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2479   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2482   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2484   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2500   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2579   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2725   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud2781   ColeKepro 3.0   No serial # found                 Warehouse                    Stolen                                                                                    10/2/2020
coincloud2792   ColeKepro 3.0   No serial # found                 Warehouse                    Stolen                                                                                    10/2/2020
coincloud2879   ColeKepro 3.0   No serial # found                 Warehouse                    Stolen                                                                                    10/2/2020
coincloud3242   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud3243   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud3253   ColeKepro 3.0   No serial # found                 Warehouse                    Decommissioned                                                                            10/2/2020
coincloud3403   ColeKepro 3.0       146208                        Warehouse                    Decommissioned                                                                            10/2/2020
coincloud4341   ColeKepro 3.0       147875                        Warehouse   128176           Everett Mall              1402 SE Everett Mall Way           Everett         WA   98208   10/2/2020
coincloud4386   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4387   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4388   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4389   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4390   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4391   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4392   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4393   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4394   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4395   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4396   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4397   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4398   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4399   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4400   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4401   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4402   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4403   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4404   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4405   ColeKepro 4.0   No serial # found                 Warehouse                                                                                                              6/15/2021
coincloud4406   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud4513   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud4988   ColeKepro 5.0   No serial # found                 Warehouse   101481                                                                                                      8/7/2021
coincloud5803   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5804   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5805   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5806   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5807   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5808   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud5809   ColeKepro 5.0   No serial # found                 Warehouse                                                                                                               8/7/2021
coincloud6672   ColeKepro 5.0       150203                        Warehouse                                                                                                               8/7/2021
coincloud1080   ColeKepro 2.0       143115        143115.USA       Active     108205   108205 Wash Em Up 6               4631 Oakwood Dr                    Odessa          TX   79761   8/28/2020
coincloud1214   ColeKepro 2.0       143249        143249USA        Active     108909   108909 Sunoco                     581 Market St                      Kingston        PA   18704   8/28/2020
coincloud1323   ColeKepro 3.0       143358        143358.USA       Active     114614   114614 Cub Foods                  15350 Cedar Ave                    Apple Valley    MN   55124   10/2/2020
coincloud536    APSM 1.1         5.41539E+14 41539000000029.USA    Active     104230   104230 Marathon                   111 E Ireland Rd                   South Bend      IN   46614   9/19/2019
coincloud590    APSM 1.1         5.42015E+14 42015000000008.USA    Active     104260   104260 Citgo                      5924 Baseline Rd                   Little Rock     AR   72209   9/19/2019
coincloud592    APSM 1.1         5.42015E+14 42015000000009.USA    Active     103777   103777 9th Ave X-Press            429 9th Ave N                      St Cloud        MN   56303   9/19/2019
coincloud616    APSM 1.1         5.42015E+14 42015000000034.USA    Active     103359   103359 Fast Stop Tobacco & Beer   706 Thompson Ln                    Nashville       TN   37204   9/19/2019
coincloud629    APSM 1.1         5.42015E+14 42015000000047.USA    Active     104307   104307 Chevron                    2302 Ebenezer Rd SE                Conyers         GA   30094   9/19/2019
coincloud630    APSM 1.1         5.42015E+14 42015000000048.USA    Active     104398   104398 Bethesda Market & Deli     4965 Bethesda-Duplex Rd            College Grove   TN   37046   9/19/2019
coincloud940    APSM 1.1         5.42027E+14 42027000000030.USA    Active     108215   108215 G & E Liquors              18680 E Iliff Ave                  Aurora          CO   80013   9/19/2019
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                                                                               Deployment Logix - Coin Cloud Storage Report for the Month of November 2022
                                                                                                                                                                                                            Vision     Kiosks/Vaults
                                                                                                                                                                              JCM Kiosk's   BNR Kiosk's                              1/2 Vaults Full Vaults  Pallets       Pallets
                                                                                                                                                                                                          Kiosk's In       To Be
           DC Location Name                             Address                             City    State   Zip Code             Contact                     Phone             In Storage    In Storage                              In Storage In Storage Received (In)  Released
                                                                                                                                                                                                           Storage       Returned
                                                                                                                                                                                 $20.00        $20.00                                  $20.00     $20.00      $10.00     (Out) $10.00
                                                                                                                                                                                                           $20.00         $20.00
Advanced Rigging LLC                      2190 Old 6 Road                     Victor                 IA      52347           Steve Van Nevel              319-530-4819             9             5            24
Allstar Moving                            1600 1st Street NW                  Albuquerque            NM      87102              Cris Lucero           505-888-1007 ext 226        10            39                                       11          4           7
Anthill Cross Docking                     300 Brogdon Rd.                     Suwanee                GA      30024               David Yu                 626-318-0939                           7                          1            3
Armstrong Relocation                      1074 E. Main Street                 Mt. Joy                PA      17552              Tony Bupp              717-492-4155 x5141                        2                          2            2
Arrow Moving and Storage                  4331 Factory Hill                   San Antonio            TX      78244          Cheryl, Ram or Q              210-359-1333                           5                          13           21
ATM Advisory                              9586 Brookes Way                    Pendleton              IN      46064          Stephen Pidgeon               317-414-8956            25            16                                       27          1           17
Buck's Moving and Storage                 2011 Avenue C                       Lubbock                TX      79404            Todd Buckner                806-441-2825            110            4            5             1            8           2
Coast2Coast                               6557 Garden Rd. Ste. 14             Riviera Beach          FL      33404            Brandon Allen               561-632-1443            44             8                                       1           7           34
Corrigan Moving                           4800 Gary Ave                       Hanover Park           IL      60133            Chris Jagalski             (630) 952-4622
Central M&S/LANZA TRUCKING                2002 Directors Row                  Orlando                FL      32809             Angel Lanza                407-302-9063             8            42                          5            57                       8
Dakota Warehouse                          1313 E Saint Patrick St             Rapid City             SD      57701              Roy Drake                 605-389-3344            13             2                                                               15
Daniel's Moving & Storage                 6131 West Van Buren St              Phoenix                AZ      85043           Adolfo Carranza              602-491-2140                                                                   32
Deadline Construction                     19475 Alford Rd                     Magnolia               TX      77355          Chuck/Jackie Bice             281-743-4726            45            100           1             1            94          2           52
Diversified Warehouse Inc                 241 S Grandview                     Odessa                 TX      79761                Gabby                   432-332-0416            102            2                                       1           8
Great Plains / RSI                        22700 E I-76 Frontage Rd, Suite 100 Brighton               CO      80603             Jeff Warner                303-472-7490            12             5                          2                                    14
HL Distribution                           1065 Texan Trail Rd                 Grapevine              TX      76051           Gautam Abbott                817-876-4501            114           33                          4            92          4
Lanigan Moving & Storage                  1870 Airways Boulevard              Memphis                TN      38114             Johnny Lyne                901-744-7070             1             9                                       8
Lanza Trucking / Arrow Transfer           123 Frost St. Unit A                Westbury               NY      11590             Angel Lanza                516-376-9729             5             7                          9
Lile International                        20427 87th Avenue South                Kent                WA      98031            Tracy Guerrero              253-458-4654            13            15                          7            17                      9             1
Logic Warehouse                           4121 N Kentucky Ave.                   Kansas City         MO      64161             Rocki Welch                816-289-1617            13             8                          7            20          1
Maloney Moving & Storage                  1420 Sams Ave. Ste A-1 , B-1           New Orleans         LA      70123          Cynthia Carmadelle            504-948-6683             2            11                          4            18
Metcalf Moving & Storage                  1255 East Highway 36                   St. Paul            MN      55109            Brian Zachay                651-484-0211             3             7                          3            9
PDX Moving                                19585 SW 118th Ave                     Tualatin            OR      97062             Chris Scala                646-220-2036                                                                   17
Ready Office Furniture                    1515 N Kraemer Blvd, Unit H            Anaheim             CA      92806         Steve/Justin Schaner           714-260-4697            24            37                          2            62                      25            2
Secure Technicians Inc                    1501 S Blount St                       Raleigh             NC      27603              David Raff                704-578-2147            13            16                                       42          1
SNS Installations                         37330 Cedar Blvd., STE H               Newark              CA      94560           Jack Marinkovich             408.223.5443             1                                                                 21
Tamarack Group                                                                   Phoenix             AZ                        Nick Cardillo              714-588-2225             1             1
TCB Global                                1051 Mary Crest Rd, Suite H            Henderson           NV      89074            Justin Mitchell             702-478-8633                                        4
Trinity Solutions c/o SNS Installations   833 W. Crowther Ave                    Placentia           CA      92870            Marcos Rivas                281-520-1480
Victory Vans                              110 Terminal Drive                     Sterling            VA      20166              Rick Yates                703-787-3635             3                         26             5            1
Weleski Transfer                          500 Treadway Lane                      Creighton           PA      15030              Ted Smith                724-331-5175             12            18                          4            17                      12
WMT Logistics                             31129 Wiegman Road                     Hayward             CA      94544             Mike Singh                 209-610-2007            15             1                                       4
Work-A-Haulics                            4100 Eastmoor Road                     Louisville          KY      40218            Scott Fitzhugh               502-451-8601
                                                                                                                                         Storage Item Totals                      598           400          60             70          564          51           193          3
                                                                                                                                                                                x $20.00      x $20.00     x $20.00      x $20.00     x $20.00    x $20.00     x $10.00    x $10.00
                                                                                                                            Mainland Storage                                  $11,960.00     $8,000.00    $1,200.00      $1,400.00   $11,280.00   $1,020.00   $1,930.00     $30.00

                                                                                                                                                                                                            Vision     Kiosks/Vaults
                                                                                                                                                                              JCM Kiosk's   BNR Kiosk's                              1/2 Vaults Full Vaults  Pallets       Pallets
                                                                                                              Zip                                                                                         Kiosk's In       To Be
         DC Location Name                              Address                              City    State                       Contact                     Phone              In Storage    In Storage
                                                                                                                                                                                                           Storage       Returned
                                                                                                                                                                                                                                     In Storage In Storage Received (In)  Released
                                                                                                             Code                                                                $45.00        $45.00                                  $45.00     $45.00      $10.00     (Out) $10.00
                                                                                                                                                                                                           $45.00         $45.00
Courier Corporation of Hawaii             815 Waiakamilo Road Suite C            Honolulu (Oahu)     HI      96817            Peggy D’urso            808.532.2600 ext 262        26
Courier Corporation of Hawaii             310 Hukilike Street, Bldg 4 Unit H     Kahului (Maui)      HI      96732             Levi Valdez                808-306-1134             9
                                                                                                                                        Storage Item Totals                       35             0            0             0            0           0            0            0
                                                                                                                                                                                x 45.00       x 45.00      x 45.00        x 45.00      x 45.00     x 45.00    x $10.00     x $10.00
                                                                                                                             Hawaii Storage                                    $1,575.00       $0.00        $0.00          $0.00       $0.00       $0.00        $0.00        $0.00

                                                                                                                       Total wearhouse Machines                       1,163
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Coin Cloud has a proprietary software service named Coin Cloud Operating System which
includes proprietary source code and backend configuration and services that run on Amazon
Web Service. This software allows our customers to buy and sell crypto currencies at our Digital
Currency Machines locations.
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CORPORATE ORGANIZATION AND SUBSIDIARY
            DOCUMENTS




                                   4
                                                                    Cash Cloud Inc.
                                                                   (DBA Coin Cloud)
                                                                                                            Case 23-10423-mkn
                                                                                                            Doc 36-2




                                       100%                                     100%           100%




                                                                       Coin Cloud Brasil
                           Evive Trading, LLC                                                Sec Vend LLC
                                                                      Ativos Digitais Ltda
                                                                                                            Entered 02/08/23 19:55:21




Note: Former subsidiary, CC Vending LLC, was dissolved on 8/3/21
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 DEPARTMENT OF THE TREASURY
 INTERNAL REVENUE SERVICE
 CINCINNATI OH    45999-0023

                                                       Date of this notice:    08-17-2022

                                                       Employer Identification Number:
                                                       XX-XXXXXXX

                                                       Form:     SS-4

                                                       Number of this notice:    CP 575 G
      SECVEND
      CHRISTOPHER MCALARY SOLE MBR
      10190 COVINGTON CROSS DR                         For assistance you may call us at:
      LAS VEGAS, NV 89144                              1-800-829-4933


                                                       IF YOU WRITE, ATTACH THE
                                                       STUB AT THE END OF THIS NOTICE.




              WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

     Thank you for applying for an Employer Identification Number (EIN). We assigned you
EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

     Taxpayers request an EIN for their business. Some taxpayers receive CP575 notices when
another person has stolen their identity and are opening a business using their information.
If you did not apply for this EIN, please contact us at the phone number or address listed
on the top of this notice.

     When filing tax documents, making payments, or replying to any related correspondence,
it is very important that you use your EIN and complete name and address exactly as shown
above. Any variation may cause a delay in processing, result in incorrect information in
your account, or even cause you to be assigned more than one EIN. If the information is
not correct as shown above, please make the correction using the attached tear-off stub
and return it to us.

     A limited liability company (LLC) may file Form 8832, Entity Classification Election,
and elect to be classified as an association taxable as a corporation. If the LLC is
eligible to be treated as a corporation that meets certain tests and it will be electing S
corporation status, it must timely file Form 2553, Election by a Small Business
Corporation. The LLC will be treated as a corporation as of the effective date of the S
corporation election and does not need to file Form 8832.

     To obtain tax forms and publications, including those referenced in this notice,
visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.
           Case 23-10423-mkn     Doc 36-2   Entered 02/08/23 19:55:21     Page 202 of 217
     (IRS USE ONLY)     575G                 08-17-2022   SECV   O   9999999999   SS-4




     IMPORTANT REMINDERS:

     *   Keep a copy of this notice in your permanent records. This notice is issued only
         one time and the IRS will not be able to generate a duplicate copy for you. You
         may give a copy of this document to anyone asking for proof of your EIN.

     *   Use this EIN and your name exactly as they appear at the top of this notice on all
         your federal tax forms.

     *   Refer to this EIN on your tax-related correspondence and documents.

     *   Provide future officers of your organization with a copy of this notice.

     Your name control associated with this EIN is SECV. You will need to provide this
     information along with your EIN, if you file your returns electronically.

     Safeguard your EIN by referring to Publication 4557, Safeguarding Taxpayer
     Data: A Guide for Your Business.

     You can get any of the forms or publications mentioned in this letter by
     visiting our website at www.irs.gov/forms-pubs or by calling 800-TAX-FORM
     (800-829-3676).

     If you have questions about your EIN, you can contact us at the phone number
     or address listed at the top of this notice. If you write, please tear off the
     stub at the bottom of this notice and include it with your letter.

     Thank you for your cooperation.




                                 Keep this part for your records.          CP 575 G (Rev. 7-2007)

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         Return this part with any correspondence
         so we may identify your account. Please                                         CP 575 G
         correct any errors in your name or address.
                                                                                  9999999999


         Your Telephone Number   Best Time to Call   DATE OF THIS NOTICE: 08-17-2022
         (     )      -                              EMPLOYER IDENTIFICATION NUMBER: XX-XXXXXXX
         _____________________   _________________   FORM: SS-4               NOBOD




      INTERNAL REVENUE SERVICE                               SECVEND
      CINCINNATI OH    45999-0023                            CHRISTOPHER MCALARY SOLE MBR
                                                             10190 COVINGTON CROSS DR
                                                             LAS VEGAS, NV 89144
                  Case 23-10423-mkn                       Doc 36-2            Entered 02/08/23 19:55:21           Page
                                                                                                 Filed in the Office of 203  of Number
                                                                                                                         Business 217
                                                                                                                         E25528512022-8
                        BARBARA K. CEGAVSKE                                                                                                   Filing Number
                        Secretary of State                                                                                                    20222552850
                        202 North Carson Street                                                                 Secretary of State            Filed On
                                                                                                                                              08/17/2022 10:38:38 AM
                        Carson City, Nevada 89701-4201                                                          State Of Nevada
                                                                                                                                              Number of Pages
                        (775) 684-5708                                                                                                        2
                        Website: www.nvsos.gov
                                   www.nvsilverflume.gov


                      Formation - Limited-Liability Company
                                          Articles of Organization                                                  Registration of
                              NRS 86 -                                                           NRS 86.544 -
                                          Limited-Liability Company                                                 Foreign Limited-Liability Company
                                          Articles of Organization                                                  Registration of Professional
                          NRS 89 -                                                               NRS 86.555 -
                                          Professional Limited-Liability Company                                    Foreign Limited-Liability Company



1. Name Being         SecVend, LLC
Registered in Nevada:
(See instructions)

2. Foreign Entity
Name: (Name in home
jurisdiction)

3. Jurisdiction of                       3a) Jurisdiction of formation:                                                                   3b) Date formed:
Formation: (Foreign
Limited-Liability Companies)             3c) I declare this entity is in good standing in the jurisdiction of its formation.

4. Registered Agent                         Commercial Registered                        Noncommercial Registered                            Office or position with Entity
for Service                                 Agent (name only below)                    Agent (name and address below)                         (title and address below)
of Process*: (check only                 Christopher McAlary
one box)
                                     Name of Registered Agent OR Title of Office or Position with Entity
                                     10190 Covington Cross Dr                                      Las Vegas                          Nevada 89144
                                     Street Address                                                City                                           Zip Code
                                                                                                                                      Nevada
                                     Mailing Address (If different from street address)            City                                           Zip Code


                                         I hereby accept appointment as Registered Agent for the above named Entity. If the registered agent is
4a. Certificate of                       unable to sign the Articles of Incorporation, submit a separate signed Registered Agent Acceptance form.
Acceptance of
Appointment of                       X Christopher McAlary                                                                                       08/15/2022
Registered Agent:                        Authorized Signature of Registered Agent or On Behalf of Registered Agent Entity                       Date

5. Management:
(Domestic Limited-Liability          Company shall be managed by: (check one box)                             Manager(s)             OR                Member(s)
Companies only)
6. Name and Address                 1) Cash Cloud Inc.
of each Manager(s) or                     Name
Managing Member(s):                       10190 Covington Cross Dr                                     Las Vegas                                  NV      89144
(NRS 86 and NRS 86.544, see              Address                                                       City                                      State    Zip Code
instructions)
Name and Address of
the Original
Manager(s) and
Member(s): ( NRS 89, see
instructions)
IMPORTANT:
   A certificate from the
   regulatory board must be
   submitted showing that each
   individual is licensed at
   the time of filing.




7. Dissolution Date:                     Latest date upon which the company is to dissolve (if existence is not perpetual):
(Domestic only)


 This form must be accompanied by appropriate fees.                                                                                                                Page 1 of 2
                                                                                                                                                              Revised: 1/1/2019
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                         BARBARA K. CEGAVSKE
                         Secretary of State                                            Formation -
                         202 North Carson Street
                         Carson City, Nevada 89701-4201                         Limited-Liability Company
                         (775) 684-5708                                                             Continued, Page 2
                         Website: www.nvsos.gov
                                    www.nvsilverflume.gov
8. Profession to be
Practiced: (NRS 89 only)
9. Series and/or
                                     Check box if a Series Limited-                  Domestic Limited-Liability Company's only:
Restricted Limited-                       Liability Company                         The Limited-Liability Company is a Restricted
Liability Company:                                                                           Limited-Liability Company
(Optional)

10. Records
Office:                          Address                                                          City                     State        Zip code
(Foreign Limited-Liability
                                 Country
Companies)

11. Street Address
of Principal Office:             Address                                                          City                     State        Zip code
(Foreign Limited-Liability
Companies)                       Country

                                *Foreign Limited-Liability Company - In the event the designated Agent for Service of
12. Name, Address               Process resigns and is not replaced or the agent's authority has been revoked or the agent
and Signature of the            cannot be found or served with exercise of reasonable diligence, then the Secretary of State
Organizer:                      is hereby appointed as the Agent for Service of Process.
(NRS 86. NRS 89 -Each
Organizer must be a
                                 I declare, to the best of my knowledge under penalty of perjury, that the information contained
licensed professional.)
                                 herein is correct and acknowledge that pursuant to NRS 239.330, it is a category C felony to
                                 knowingly offer any false or forged instrument for filing in the Office of the Secretary of State.
Name and Signature
of Manager or                      Christopher McAlary                                                                 United States
Member:                            Name                                                                                Country
(NRS 86.544 only)
                                  10190 Covington Cross Dr                             Las Vegas                             NV        89144
See instructions                  Address                                              City                                  State     Zip/Postal Code

                                   X Christopher McAlary                                                 (attach additional page if necessary)




      AN INITIAL LIST OF OFFICERS MUST ACCOMPANY THIS FILING
                                Please include any required or optional information in space below:
                                                       (attach additional page(s) if necessary)




 This form must be accompanied by appropriate fees.                                                                                            Page 2 of 2
                                                                                                                                          Revised: 1/1/2019
Case 23-10423-mkn   Doc 36-2   Entered 02/08/23 19:55:21   Page 205 of 217
18/12/2019                                                                                      Comprovante de Inscrição e de Situação Cadastral
                   Case 23-10423-mkn                                  Doc 36-2                    Entered 02/08/23 19:55:21                                      Page 206 of 217

                                                                             COMPROVANTE DE INSCRIÇÃO E DE SITUAÇÃO CADASTRAL




              Comprovante de Inscrição e de Situação Cadastral

              Cidadão,


              Con¦ra os dados de Identi¦cação da Pessoa Jurídica e, se houver qualquer divergência, providencie junto à RFB a sua
              atualização cadastral.
              A informação sobre o porte que consta neste comprovante é a declarada pelo contribuinte.



                                               REPÚBLICA FEDERATIVA DO BRASIL

                                           CADASTRO NACIONAL DA PESSOA JURÍDICA

                NÚMERO DE INSCRIÇÃO
                35.816.709/0001-44
                                                COMPROVANTE DE INSCRIÇÃO E DE SITUAÇÃO DATA DE ABERTURA
                                                                                       18/12/2019
                MATRIZ                                       CADASTRAL

                NOME EMPRESARIAL
                COIN CLOUD ATIVOS DIGITAIS BRASIL LTDA.

                TÍTULO DO ESTABELECIMENTO (NOME DE FANTASIA)                                                                           PORTE
                ********                                                                                                               DEMAIS

                CÓDIGO E DESCRIÇÃO DA ATIVIDADE ECONÔMICA PRINCIPAL
                82.99-7-99 - Outras atividades de serviços prestados principalmente às empresas não especificadas anteriormente (Não
                dispensada *)

                CÓDIGO E DESCRIÇÃO DAS ATIVIDADES ECONÔMICAS SECUNDÁRIAS
                63.11-9-00 - Tratamento de dados, provedores de serviços de aplicação e serviços de hospedagem na internet (Não
                dispensada *)
                63.99-2-00 - Outras atividades de prestação de serviços de informação não especificadas anteriormente (Não dispensada
                *)

                CÓDIGO E DESCRIÇÃO DA NATUREZA JURÍDICA
                206-2 - Sociedade Empresária Limitada

                LOGRADOURO                                                          NÚMERO            COMPLEMENTO
                AV BRIG LUIS ANTONIO                                                300               ANDAR 10 CONJ 104

                CEP                        BAIRRO/DISTRITO                          MUNICÍPIO                                            UF
                01.318-903                 BELA VISTA                               SAO PAULO                                            SP

                ENDEREÇO ELETRÔNICO                                                 TELEFONE
                ISABELA@COINCLOUDNV.COM                                             (11) 3280-4908

                ENTE FEDERATIVO RESPONSÁVEL (EFR)
                *****

                SITUAÇÃO CADASTRAL                                                                               DATA DA SITUAÇÃO CADASTRAL
                ATIVA                                                                                            18/12/2019

                MOTIVO DE SITUAÇÃO CADASTRAL




                SITUAÇÃO ESPECIAL                                                                                DATA DA SITUAÇÃO ESPECIAL
                ********                                                                                         ********



              (*) A dispensa de alvarás e licenças é direito do empreendedor que atende aos requisitos constantes na Resolução CGSIM nº 51, de 11 de
              junho de 2019, ou da legislação própria encaminhada ao CGSIM pelos entes federativos, não tendo a Receita Federal qualquer
              responsabilidade quanto às atividades dispensadas.




              Aprovado pela Instrução Normativa RFB nº 1.863, de 27 de dezembro de 2018.
              Emitido no dia 18/12/2019 às 17:21:17 (data e hora de Brasília).                                                         Página: 1/1




                ̈ CONSULTAR QSA            ˪ VOLTAR            ȭ IMPRIMIR



              A RFB agradece a sua visita. Para informações sobre política de privacidade e uso, clique aqui.




                                                     Passo a passo para o CNPJ            Consultas CNPJ          Estatísticas       Parceiros         Serviços CNPJ


servicos.receita.fazenda.gov.br/Servicos/cnpjreva/Cnpjreva_Comprovante.asp                                                                                                         1/2
18/12/2019                                                                                 Comprovante de Inscrição e de Situação Cadastral
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                                                                             COMPROVANTE DE INSCRIÇÃO E DE SITUAÇÃO CADASTRAL




                                                                                 Á 2018 PORTAL DA REDESIM. Todos direitos reservados.




servicos.receita.fazenda.gov.br/Servicos/cnpjreva/Cnpjreva_Comprovante.asp                                                                                      2/2
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           LITIGATION SUMMARIES 6HF




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Case Caption                                     Cash Cloud Inc. v. Flores
Case Number                                      A-19-807370-B
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Luis Flores
                                                 3092 Concepcion Court
                                                 Las Vegas, NV 89141
Litigation Counterparty’s Counsel’s              Gus Flangas, Esq.
Name/Address                                     Flangas Law Group
                                                 3275 South Jones Blvd., Suite 105
                                                 Las Vegas, NV 89146
Court (Agency) Name and Address                  Eight Judicial District Court, Dept. 31
                                                 Regional Justice Center
                                                 200 Lewis Ave.
                                                 Las Vegas, NV 89101
Status of Case                                   Trial Concluded, Awaiting Decision


Case Caption                                     Franco v. Cash Cloud Inc.
Case Number                                      A-21-844753-C
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Javier Franco
                                                 12503 Piazzo Street
                                                 Las Vegas, NV 89141
Litigation Counterparty’s Counsel’s              Bryan Naddafi, Esq.
Name/Address                                     Avalon Legal Group LLC
                                                 6030 S. Rainbow Blvd., Suite D1
                                                 Las Vegas, NV 89118
Court (Agency) Name and Address                  Eight Judicial District Court, Dept. 9
                                                 Regional Justice Center
                                                 200 Lewis Ave.
                                                 Las Vegas, NV 89101
Status of Case                                   Pending


Case Caption                                     Cash Cloud Inc. v. Redmond
Case Number                                      A-21-839023-B
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Amondo Redmond
                                                 888 S. Hope Street, #2904
                                                 Los Angeles, CA 90017
Litigation Counterparty’s Counsel’s              Mary Chapman, Esq.
Name/Address                                     Law Office of Mary F. Chapman, Ltd.
                                                 8440 W. Lake Mead Blvd., Suite 203
                                                 Las Vegas, NV 89128
Court (Agency) Name and Address                  Eight Judicial District Court, Dept. 16
                                                 Regional Justice Center
                                                 200 Lewis Ave.
                                                 Las Vegas, NV 89101
Status of Case                                   Pending

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Case Caption                                     Cash Cloud Inc. v. Cole Kepro International, LLC
Case Number                                      A-22-854226-B
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Cole Kepro International, LLC
                                                 4170 Distribution Cir.
                                                 North Las Vegas, NV 89030
Litigation Counterparty’s Counsel’s              Dan R. Waite, Esq.
Name/Address                                     Lewis Roca Rothgerber Christie LLP
                                                 3993 Howard Hughes Parkway, Suite 600
                                                 Las Vegas, NV 89169

                                                 David Z. Adler, Esq.
                                                 Jaffe Raitt Heuer & Wiess, P.C.
                                                 27777 Franklin Road Suite 2500
                                                 Southfield, MI 48034
Court (Agency) Name and Address                  Eight Judicial District Court, Dept. 22
                                                 Regional Justice Center
                                                 200 Lewis Ave.
                                                 Las Vegas, NV 89101
Status of Case                                   Pending


Case Caption                                     Cash Cloud Inc. v. Bitaccess Inc.
Case Number                                      CV-22-00089887-0000 (Court)
                                                 Canadian Arbitration Association (No Arbitration
                                                 Number)
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Bitaccess Inc.
                                                 267 Richmond Rd., 3rd Floor
                                                 Ottawa, Ontario, K1Z 6X3, Canada
Litigation Counterparty’s Counsel’s              Peter Mantas, Esq.
Name/Address                                     Fasken Martineau DuMoulin LLP
                                                 55 Metcalfe Street
                                                 Suite 1300
                                                 Ottawa, Ontario, K1P 6L5, Canada
Court (Agency) Name and Address                  Superior Court of Justice
                                                 161 Elgin St.
                                                 Ottawa, Ontario, K2P 2K1, Canada

                                                 Canadian Arbitration Association
                                                 80 Duncan Mill Rd 4th Floor,
                                                 North York, Ontario, M3B 1Z6, Canada
Status of Case                                   Pending




                                             2
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Case Caption                                     Despain v. Cash Cloud Inc.
Case Number                                      A-22-854327-C
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             David Despain
                                                 3318 Old Sorrel Court
                                                 Las Vegas, NV 89032
Litigation Counterparty’s Counsel’s              Bryan Naddafi, Esq.
Name/Address                                     Avalon Legal Group LLC
                                                 6030 S. Rainbow Blvd., Suite D1
                                                 Las Vegas, NV 89118
Court (Agency) Name and Address                  Eight Judicial District Court, Dept. 4
                                                 Regional Justice Center
                                                 200 Lewis Ave.
                                                 Las Vegas, NV 89101
Status of Case                                   Pending


Case Caption                                     Cennox Reactive Field Services, LLC v. Cash
                                                 Cloud Inc.
Case Number                                      6:22-cv-3274
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Cennox Reactive Field Services, LLC
                                                 1015 Windward Ridge Pkwy.
                                                 Alpharetta, GA 30005
Litigation Counterparty’s Counsel’s              Bryan Wade
Name/Address                                     Husch Blackwell LLP
                                                 3810 E. Sunshine St., Suite 300
                                                 Springfield, MO 65809
Court (Agency) Name and Address                  United States District Court
                                                 Western District of Missouri, Southern Division
                                                 222 N. John Q. Hammons Pkwy.
                                                 Springfield, MO 65806
Status of Case                                   Pending


Case Caption                                     Borden v. Bank of America, NA
Case Number                                      2:22-cv-04076-BHH
Nature of the Case                               See Litigation Summary
Litigation Counterparty Name/Address             Christine Borden (address unknown)
Litigation Counterparty’s Counsel’s              David A. Maxfield
Name/Address                                     Dave Maxfield, Attorney, LLC
                                                 808 D Lady Street
                                                 Columbia SC 29201
Court (Agency) Name and Address                  United States District Court
                                                 District of South Carolina, Charleston Division
                                                 85 Broad Street
                                                 Charleston, SC 29401
Status of Case                                   Pending

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Litigation Summary

        Cash Cloud Inc. v. Flores. The action Cash Cloud Inc. v. Flores, Case No.
A-19-807370-B, pending in the Eighth Judicial District Court in Clark County, Nevada,
arises out of the business relationship between Cash Cloud Inc. (“Cash Cloud”), Christopher
McAlary (“McAlary”), Luis Flores (“Flores”), and their respective affiliated entities involved
in retail cryptocurrency trading (e.g., bitcoin ATMs). ¬The principal issue in this action is
whether Flores is or has ever been a shareholder of Cash Cloud.¬ On December 20, 2019,
Cash Cloud filed a Complaint that sought declaratory judgment that Flores is not and has
never been a shareholder of Cash Cloud.¬ In response to the filing of the Complaint, Flores
filed a counterclaim and third-party complaint against McAlary, Min Raise Resources LLC
(“Min Raise”) and Coin Cloud LLC (“Coin Cloud”).¬ In his responsive pleading, Flores claims
that Cash Cloud and McAlary breached their respective duties to Flores by, inter alia,
failing to issue shares in Cash Cloud to Flores, failing to pay Flores as required by law
(minimum wage/overtime), and failing to return property to Flores.¬ As part of these claims,
Flores asserts that Cash Cloud is the alter ego of Min Raise.¬ Cash Cloud disputes Flores’s
contentions against it.

        Since the filing of the initial Complaint, Cash Cloud has since discovered that Flores
unlawfully attempted to access Cash Cloud’s computer system/network/Google Drive in an
effort to access and use Cash Cloud’s confidential trade secret information.¬ Despite Flores’s
denial of such claims, the Court issued a temporary restraining order and (later) a
preliminary injunction enjoining Flores from attempting to do so again.¬ The evidence
confirming Flores’s improper efforts to access Cash Cloud’s electronic information includes
the Telegram communications whereby Flores requests information from a then employee
(Javier Franco), Franco’s responsive Telegram communication containing Franco’s login
credentials, and Flores’s follow up communication stating that the information he was
looking for had not been updated.¬ Cash Cloud believes it will prevail on these claims which
seek permanent injunctive relief against Flores.

        While Cash Cloud spent significant sums in an effort to resolve this case during a
mediation session with retired U.S. Magistrate Judge Peggy Leen in March¬202o, a
resolution was not able to be reached due to Flores’s excessive demands.¬ Flores’s latest
computation of damages exceeds $36,000,000.00.¬ Cash Cloud is vigorously contesting
Flores’ claims and has successfully prevailed on certain summary judgment motions
defeating, among other claims, Flores’s Nevada statutory minimum wage and overtime
claims.

       Discovery and trial are complete. We are awaiting a decision from the judge.

        Cash Cloud has strong evidence supporting its claim for declaratory judgment that
Flores is not a shareholder.¬ Not only do Cash Cloud’s corporate records reflect that he is
not a shareholder, the discovery taken to date, including Flores’s deposition testimony, does
not provide robust support for his alter ego assertion.¬ As such, Cash Cloud’s position is that
all of the claims based upon Flores’s alter ego theory will fail.¬ Furthermore, all discovery
supports Cash Cloud in its defense of Flores’s claim that he was subjected to an intolerable
work environment (Flores admitted at trial that two days after the event he claims created

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the intolerable work environment he was making jokes about that exact event).¬ Cash
Cloud estimates Flores’s remaining minimum wage and overtime claims to be worth
approximately $150,000.00 (if not less) excluding attorney’s fees and costs, for which Flores
has already been paid $209,600.00.¬ To the extent that Cash Cloud is liable to Flores for any
compensation beyond minimum wage and overtime, which Cash Cloud contests, the only
evidence at trial on this matter pegs such an amount between $0.00 and $32,400.00 (Flores
has no expert witness to opine on the fair market value of what his salary as COO of Cash
Cloud would be).¬

       Furthermore, Cash Cloud is hopeful of receiving a judgment representing a
substantial amount of its attorney’s fees and costs expended as part of this action (which
are approximately $1,000,000.00).¬ First, two of Flores’s counterclaims are based on
statutes which provide for prevailing party attorney’s fees (NRS 613.010 and NRS 78.257).¬
Cash Cloud is confident that it will prevail on both of these counterclaims, thereby entitling
Cash Cloud to payment of its attorney’s fees associated with such counterclaims.¬ Second,
on July 28, 2020, Cash Cloud (along with McAlary, Min Raise, and Coin Cloud) served a
$500,888.00 (exclusive of interest, costs, and attorney’s fees) offer of judgment on Flores.¬
After trial, were the Court to find that Flores’s damages do not exceed $500,888.00, the
Court should award Cash Cloud, McAlary, Min Raise, and Coin Cloud their costs and
attorney’s fees from the date of service of the offer of judgment under Nevada Rule of Civil
Procedure 68.¬ Given the events at trial, Cash Cloud is confident that any judgment that
Flores could receive would be well under this offer of judgment amount.¬ Cash Cloud
believes that final judgment will be entered in its favor, with the only doubt being how
much the court will award in attorney’s fees and costs to Cash Cloud.

       Cash Cloud Inc. adv. Javier Franco.¬ The action captioned Franco v. Cash Cloud
Inc., Case No. A-21-844753-C, pending in the Eighth Judicial District Court in Clark
County, Nevada, arises out of Cash Cloud’s termination of Javier Franco (“Franco”), a
former employee of Cash Cloud.¬ In Franco’s action against Cash Cloud, he claims that he is
owed over $50,000.00 in unpaid residual payments in connection with an alleged
employment contract from February/March 2020.¬ Franco’s claims include contract claims,
as well as claims for unjust enrichment, statutory payment on termination, fraudulent
inducement, and accounting.¬ Notwithstanding Franco’s “file and see what sticks approach,”
Franco first asserted his contract and wage claim before the Nevada Division of Labor, but
his claim was closed after Cash Cloud responded to the same.¬ Discovery has not
commenced and thus Cash Cloud is unaware of the specifics of the claims beyond what is
alleged in the complaint.¬ Cash Cloud maintains that these claims should fail for two
reasons.¬ First, the principal contract Franco has sued on was not executed by Cash Cloud
and, notwithstanding the question as to whether there was ever a meeting of the minds,
because the contract purports to bind the parties for over one year, without its full
execution, it would run afoul of Nevada’s statute of frauds.¬ Second, in addition to the
foregoing, Franco’s claims are likely to fail as a result of Franco’s fraud on Cash Cloud.¬
Franco was Flores’s “inside man” as he was the one who provided Flores with the login
credentials to allow Flores to attempt to access Cash Cloud’s system/network/Google Drive.¬
This malfeasance was committed prior to the alleged contract that Franco has sued upon.¬
Because Franco had a common law and contractual duty to disclose this malfeasance to

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Cash Cloud, his failure to do so resulted in the alleged agreement Franco now contends
Cash Cloud has breached.¬ Cash Cloud has answered and asserted counterclaims against
Franco based upon his fraud and other misconduct against Cash Cloud.¬ Cash Cloud
believes a six-figure judgment will be entered in its favor in this action.

        Cash Cloud Inc. v. Redmond.¬ The action captioned Cash Cloud Inc. v. Redmond,
Case No. A-21-839023-B, pending in the Eighth Judicial District Court in Clark County,
Nevada, arises out of the improper actions defendant Amondo Redmond (“Redmond”) took
in (1) defrauding Cash Cloud as to his credentials and professional background prior to his
hiring, (2) his improper expenditures of Cash Cloud funds during his employment, and (3)
his post termination interference with Cash Cloud’s prospective contracts involving
professional athlete endorsements.¬ In response to the complaint, Redmond has asserted
one counterclaim for alleged racial discrimination under Title VII.¬ This counterclaim was
recently dismissed.¬ Redmond recently amended his pleadings and add a different claim for
racial discrimination under 28 U.S.C. 1981 and is seeking to add claims under Title VII.¬
These claims are utterly without merit.¬ Cash Cloud has insurance coverage for this
counterclaim and its insurance counsel is spear-heading the defense.¬ Notwithstanding the
counterclaim, it is believed that Cash Cloud will receive a seven-figure judgment in its favor
due to the rampant and improper spending by Redmond as well as his interference with
Cash Cloud’s contracts after his termination.
       Cash Cloud Inc. v. Cole Kepro International, LLC.¬ This action, Case No.
A-22-854226-B, is currently pending in the Eighth Judicial District Court in Clark County,
Nevada and arises out of Cole Kepro International, LLC’s (“Cole Kepro”) sale of faulty
equipment to Cash Cloud.¬ In 2021, Cash Cloud purchased over 4,000 digital currency
kiosks from Cole Kepro.¬ Unbeknownst to Cash Cloud, the kiosks sold by Cole Kepro to
Cash Cloud were defective and they did not function or operate as intended and promised.¬
As a result of the defects in the kiosks, Cash Cloud has suffered substantial financial harm
(Cash Cloud tentatively estimates the combined cost of repair and lost profits from Cole
Kepro’s defective kiosks to well exceed $10,000,000.00).¬ Cash Cloud has filed this action to
seek redress for the financial harm caused by the faulty kiosks and to get a court order
declaring that the dispute is not subject to arbitration.¬ Cole Kepro has initiated an
arbitration concerning this dispute, claiming a breach of contract (nothing beyond a
demand has been received and the demand has not enunciated any specifics about the
dispute other than it concerns the purchase of the aforementioned digital currency kiosks
and the purported purchase of 10,000 Spanner kiosks from Cole Kepro).¬ While the
purchase of the 4,000 kiosks was not subject to an arbitration agreement, Cash Cloud is not
challenging arbitration on the purported Spanners purchase (in part because the Spanners
purchase never materialized and was cancelled before any production of the Spanners
commenced).¬ Shortly after fielding the complaint, Cash Cloud filed a motion for declaratory
judgment and for a stay of the arbitration proceedings concerning the 4th Generation
kiosks.¬ In response to this motion, Cole Kepro filed a countermotion to dismiss the
complaint.¬ The hearing on the motion and countermotion was conducted on September 13,
2022, where the court granted the motion, issued declaratory judgment, stayed the
arbitration of the 4th Generation kiosk dispute, and denied the countermotion.¬ Cash Cloud
believes it will recover an eight-figure judgment from Cole Kepro.

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       Cash Cloud Inc. v. Bitaccess Inc. This action, Case No. CV-22-00089887-0000, is
currently pending in the Superior Court of Justice in Ottawa, Ontario, Canada and before
the Canadian Arbitration Association and arises out of (1) Bitccess Inc.’s (“Bitaccess”)
improper and unlawful attempt to terminate the contract between Cash Cloud and
Bitaccess by which Cash Cloud has secured the software which runs a substantial portion of
its kiosks; and (2) Bitaccess’s 2021 software update which caused all of Cash Cloud’s
machines running the software to shut down.¬

       Improper Attempt to Terminate Contract

        Since 2015, Cash Cloud has secured a perpetual, royalty-free license to use
Bitaccess’s software to operate Cash Cloud’s kiosks.¬ This contractual relationship was
updated in 2020, but the perpetual, royalty-free license remains in place.¬ Termination of
the contract could only be effectuated if (1) Cash Cloud violates the law or the terms of the
agreement; or (2) cryptocurrency is deemed to be illegal or regulations imposing operational
charges or fees renders operations unreasonably expensive.¬ Neither of these events took
place and during the August 18, 2022 hearing on Cash Cloud’s motion to enjoin termination
of the contract (including the software services), the Court deferred its decision based upon
Bitaccess’s representation that it would keep the software services in place until the court
issued its decision.¬ Despite this promise, days later, Bitaccess, terminated the software
services.¬ Upon learning of the termination of the services, the court conducted a second
hearing and issued an order requiring Bitaccess to reinstate the software services.¬ During
this second hearing, Bitaccess’s counsel stated that Lux Vending, LLC, dba Bitcoin Depot
(“Bitcoin Depot”), had taken control of Bitaccess and had forcibly caused the shutdown of
the software over Bitaccess’s officer’s objection (Cash Cloud anticipates commencing a suit
against Bitcoin Depot for this improper action). Notwithstanding the foregoing, the court
issued an order denying the injunction on procedural grounds. Cash Cloud has since taken
steps to not only appeal the decision but also to seek an injunction through arbitration.
Cash Cloud hopes to have the injunction re-entered (either by reversal or by an arbitrator)
in the near future.¬ The harm caused by Bitaccess and Bitcoin Depot is substantial
(estimated to be well over $1,000,000.00).¬ The recovery from Bitcoin Depot’s improper
conduct is expected to meet or exceed the recovery from Bitaccess in light of the tort
remedies available to Cash Cloud and the outrageousness of Bitcoin Depot’s misconduct.

¬¬¬¬¬¬¬¬¬¬¬ Faulty Software Update

¬¬¬¬¬¬¬¬¬¬¬ In September, 2021, Bitaccess pushed an update to Cash Cloud’s kiosks which
caused all of the kiosks to shutdown and remain inoperable until the kiosks could be
manually examined and the update reversed.¬ The kiosk outage lasted anywhere from days
to weeks depending on how long it took to get a technician to the machine to fix the
problem.¬ The out-of-pocket cost just to reverse the update exceeded $1,000,000.00.¬ The
loss of profits from the faulty update is estimated to be in the mid-seven figures.¬ Curiously,
Bitaccess has argued in the termination dispute that there is no written contract governing
the provision of software services (thereby disavowing the limitation of liability provisions
in the contract).¬ Notwithstanding this strategic decision by Bitaccess, full recovery of Cash

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Cloud’s lost profits remains uncertain given the limitation of liability provisions in the
contract between the parties. Regardless of the amount Cash Cloud will recover for lost
profits, Cash Cloud is confident that it will recover all of its out-of-pocket expenses caused
by the defective software update plus its attorney’s fees and costs.

       David Despain v. Cash Cloud Inc.¬ This action, Case No. A-22-854327-C, pending in
the Eighth Judicial District Court in Clark County, Nevada, arises out of the cessation of
certain residual payments to David Despain (“Despain”), a former employee of Cash Cloud.¬
Despain has asserted that he is entitled to certain continued payments after his
termination.¬ The parties have already entered into an agreement to stay the litigation
pending settlement negotiations.¬ A settlement in the five-figure range is anticipated to
reached.

       Cennox Reactive Field Services, LLC v. Cash Cloud Inc., Case No. 6:22-cv-3274,
pending in the Western District of Missouri, Southern Division, arises out of the contract
between Cennox and Cash Cloud involving equipment maintenance. Cennox claims that it
is owed $766,434.99 under the contract between the parties. Cash Cloud is unsure as to
whether that amount is owed or another lesser amount is owed. Cash Cloud is unaware as
to whether this action has been served on it yet.

        Borden v. Bank of America, Westcliff Technologies, Inc., and Cash Cloud Inc., Case
No. 2:22-cv-04076-BHH, pending in the District of South Carolina, Charleston Division,
arises out of the plaintiff ’s withdrawal of funds (approximately $100,000) from her Bank of
America account and purchase of digital currency from the Cash Cloud and Westcliff
defendants. The plaintiff alleges that she was defrauded by unnamed third parties to send
them digital currency and is claiming that the defendants violated South Carolina
consumer protection statutes by allowing her to withdraw the funds and purchase the
digital currency. Cash Cloud believes that the claims are without merit and is hopeful that
settlement negotiations will result in a settlement for nuisance value. Cash Cloud does not
believe that it has been served in the action.

       Dispute between Blackhole Investments, LLC (“Blackhole”) and Cash Cloud Inc.
While there is no pending litigation between Cash Cloud and Blackhole, Blackhole has
threatened litigation concerning a radius restriction involving 4 kiosks. We have been in
discussions to resolve the matter, but not resolution is on the horizon. The projected
damages for any such breach are not anticipated to be particularly large. However, the
threatened termination of the contract could require the accelerated repayment of the 83
BTC that would be otherwise repaid at the conclusion of the term.

Borde




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